                        Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4217 Page 1 of
                                                           1196


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                              5   Attorneys for Defendant-Appellants
                                  DARREN D. CHAKER
                              6

                              7

                              8                       UNITED STATES DISTRICT COURT
                              9                    SOUTHERN DISTRICT OF CALIFORNIA
A Professional Corporation




                             10

                             11   SCOTT A. MCMILLAN, an individual;         Case No. 3:16-cv-2186-WQH-MDD
       Los Angeles




                                  THE MCMILLAN LAW FIRM, APC,
                             12   a California professional corporation,    Hon. William Q. Hayes
                                                                            Courtroom 14B
                             13                  Plaintiffs – Appellants,
                                                                            DEFENDANT-APPELLEE
                             14         v.                                  DARREN D. CHAKER'S NOTICE
                                                                            OF LODGING DOCUMENTS
                             15   DARREN D. CHAKER, an individual,
                                  and as trustee of PLATINUM
                             16   HOLDINGS GROUP TRUST, dba                 [Filed Concurrently with Sur-Reply
                                  COUNTER FORENSICS; NICOLE                 and (Proposed) Order]
                             17   CHAKER, an individual, and as trustee
                                  of THE NICOLE CHAKER                      DATE: SEPTEMBER 12, 2022
                             18   REVOCABLE LIVING TRUST, U/A
                                  dated August 18, 2010, VANIA              NO ORAL ARGUMENT UNLESS
                             19   CHAKER, an individual and as              REQUESTED BY THE COURT
                                  beneficiary of The Island Revocable
                             20   Trust under,
                                                                            Action Filed:   August 29, 2016
                             21                  Defendants – Appellees.    Trial Date:     None
                             22                                             [PART 1 OF 2 - 1-1189]
                             23   ///
                             24   ///
                             25   ///
                             26   ///
                             27   ///
                             28   ///
                             Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4218 Page 2 of
                                                                1196


                                1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                2            Defendant-Appellant DARREN D. CHAKER (“Defendant-Appellant”)
                                3   hereby lodges a copy of the case file for United States District Court, Southern
                                4   District of California, case file designated 3:16-cv-2186-WQH-MDD, which is
                                5   attached hereto as Exhibit "A" with the Index of the documents. The case file has
                                6   been highlighted to identify, pursuant to this Court’s order of September 9, 2022, the
                                7   identifying characteristics contained therein which Defendant-Appellee seeks to be
                                8   redacted from the Record.
                                9   Dated: September 23, 2022                  ROPERS MAJESKI PC
A Professional Corporation




                               10

                               11
       Los Angeles




                                                                               By:
                                                                                     STEPHEN J. ERIGERO
                               12                                                    Attorneys for Defendant/Appellee
                                                                                     Darren D. Chaker
                               13

                               14

                               15

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                                    4867-4131-5886.1
                                                                             -2-
                                                                                         DEFENDANT-APPELLEE DARREN D. CHAKER'S
                                                                                                 NOTICE OF LODGING DOCUMENTS
Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4219 Page 3 of
                                   1196
                                       INDEX
          File/Document Name (As Obtained from PACER)            Beginning Page Number
                                                                      in Exhibit A
   01 - Objections                                                          1
   01 - ORDER of USCA as to Notice of Cross Appeal to 9th                   8
   Circuit filed by Scott A
   01 - ORDER The Motion to File Documents Under Seal filed               10
   by Defendant Darren D C
   01 - RESPONSE in Opposition re Ex Parte MOTION to                      18
   Continue Hearing Date and Opp
   01 - Summons Issued Counsel receiving this notice                      23
   electronically should print th
   01 - USCA Time Schedule Order as to Notice of Appeal to 9th            26
   Circuit filed by Sc
   1 - DECLARATION re MOTION for Extension of Time to File                28
   DEFENDANT NICOLE CHAKER
   1 - RESPONSE in Opposition re MOTION for Extension of                 113
   Time to File DEFENDANT NI
   02 - Ex Parte MOTION to Continue Hearing Date and                     121
   Opposition Date on Motion for
   02 - Exhibit V                                                        129
   02 - Objections                                                       133
   02 - ORDER of USCA as to Notice of Cross Appeal to 9th                143
   Circuit filed by Nicole
   02 - RESPONSE in Opposition re MOTION to File Documents               145
   Under Seal with Certifi
   02 - USCA Case Number 17-56676 for Notice of Appeal to 9th            159
   Circuit filed by Sco
   2 - Declaration of Scott A McMillan                                   160
   2 - MOTION for Extension of Time to File DEFENDANT                    201
   NICOLE CHAKER'S NOTICE OF MOT
   03 - CERTIFICATE OF SERVICE by Vania Chaker re                        205
   Response in Support of Motion (B
   03 - Declaration of Scott A McMillan in Opposition                    208
   03 - Exhibit W                                                        214
   03 - NOTICE OF APPEAL to the 9th Circuit as to Order Order            225
   Order by Scott A M
   03 - REPLY to Response to Motion re MOTION to Strike                  231
   MOTION to Dismiss Plainti
   03 - USCA Time Schedule Order as to Notice of Cross Appeal            243
   to 9th Circuit filed
   3 - Memo of Points and Authorities                                    245
   3 - Proof of Service                                                  256
   04 - Exhibit X                                                        258
   04 - NOTICE of Appearance by Eduardo Bravo on behalf of               265
   Darren D Chaker (Bravo E


  4862-2515-2053.1
Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4220 Page 4 of
                                   1196



   04 - Objections                                                266
   04 - ORDER The Clerk of Court is directed to close this case   273
   Signed by Judge Wil
   04 - REPLY TO RESPONSE TO MOTION (DKT # ) -                    274
   Originally e-filed as RESPONSE in S
   04 - USCA Case Number 18-55358 for Notice of Cross Appeal      283
   to 9th Circuit filed
   4 - DECLARATION re MOTION for Extension of Time to File        284
   DEFENDANT NICOLE CHAKER
   05 - Exhibit Y                                                 369
   05 - NOTICE of Appearance by Emily L Rice on behalf of         376
   Darren D Chaker (Rice Emi
   05 - Objections                                                377
   05 - ORDER The motion to seal previously filed documents is    387
   granted with respect
   05 - Supplemental Declaration of Vania Chaker                  392
   05 - USCA Time Schedule Order as to Notice of Cross Appeal     405
   to 9th Circuit filed
   5 - MOTION for Extension of Time to File DEFENDANT             407
   NICOLE CHAKER'S NOTICE OF MOT
   06 - Evidentiary Objections to Declaration of Timothy J Wing   411
   06 - Exhibit Z                                                 420
   06 - NOTICE of Appearance of E LACEY RICE by Stephen J         427
   Erigero on behalf of Darr
   06 - ORDER Defendant Darren Chaker's motion to dismiss the     428
   First Amended Complai
   06 - ORDER Re Stipulation To Extend Time To Respond To         444
   First Amended Complaint (
   06 - USCA Case Number 18-55343 for Notice of Cross Appeal      445
   to 9th Circuit filed
   07 - CERTIFICATE OF SERVICE by Scott A McMillan re             446
   Notice of Cross Appeal to 9t
   07 - Evidentiary Objections to Declaration of Joshua Van       448
   Noord
   07 - Exhibit AA                                                453
   07 - NOTICE of Appearance by Timothy W Kenna on behalf of      457
   Nicole Chaker (Kenna T
   07 - NOTICE of Appearance of EDUARDO A BRAVO by                459
   Stephen J Erigero on behalf of D
   07 - OBJECTION by Darren D Chaker re Complaint Objection       460
   to Plaintiffs' Claim o
   08 - Evidentiary Objections to Declaration of Scott McMillan   465
   08 - Exhibit BB                                                474
   08 - Joint MOTION for Extension of Time to File                478
   ResponseReply to Plaintiffs' Fir


  4862-2515-2053.1
Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4221 Page 5 of
                                   1196



   08 - MOTION to File Documents Under Seal (With                   481
   attachments)(Erigero Stephen) (an
   08 - NOTICE OF CROSS APPEAL to the 9th Circuit as to             483
   Order Order Order by Sco
   08 - REPLY to Response to Motion re MOTION to Seal a             513
   Previously Filed Document
   09 - Exhibit CC                                                  523
   09 - Memo of Points and Authorities                              534
   09 - NOTICE OF CROSS APPEAL to the 9th Circuit as to             542
   Order Order by Nicole Cha
   09 - Proof of Service Proof of Service                           564
   09 - Proposed Order                                              565
   09 - Response to Plaintiffs' Evidentiary Objections to           569
   Declaration of Vania Cha
   10 - Declaration of Eduardo A Bravo                              572
   10 - Exhibit DD                                                  672
   10 - RE-DOCKETED BY THE USDC CLERK AS NOTICE                     674
   OF CROSS APPEAL TO THE 9TH CIRCUIT
   10 - Reply iso Request for Judicial Notice                       696
   10 - RESPONSE in Opposition re MOTION to Seal a                  698
   Previously Filed Document re A
   10 - RESPONSE re MOTION to Dismiss Plaintiffs First              716
   Amended Complaint Response
   11 - Declaration of Scott A McMillan in support of request for   724
   judicial notice
   11 - Declaration of Scott A McMillan                             1169
   11 - Exhibit EE                                                  1176
   11 - NOTICE NOTICE OF CHANGE OF FIRM NAME by                     1190
   Nicole Chaker (Smith Rebecca) (4320
   11 - ORDER IT IS HEREBY ORDERED that Defendant                   1194
   Nicole Chaker's motion for an ex
   11 - Request for Judicial Notice                                 1199
   12 - Certificate of Service                                      1202
   12 - Exhibit 3                                                   1204
   12 - Exhibit GG                                                  1207
   12 - MANDATE of USCA affirming the decision of the USDC          1210
   as to Notice of Cross A
   12 - MOTION for Sanctions pursuant to or alternatively the       1216
   Court's Inherent Pow
   12 - NOTICE REQUEST FOR RULING ON DEFENDANT                      1220
   DARREN D CHAKERS OBJECTION TO PLAINT
   13 - Certificate of Service                                      1222
   13 - Exhibit 9                                                   1225
   13 - Memo of Points and Authorities                              1228



  4862-2515-2053.1
Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4222 Page 6 of
                                   1196



   13 - ORDER Granting Motion to Substitute Attorney Attorney   1255
   John M Hochhausler t
   13 - ORDER The motions to dismiss (Dkt #s ) are denied as    1257
   moot Signed by Judge
   14 - Declaration of Darren D Chaker                          1259
   Doc 1 - COMPLAINT with Jury Demand against All               1262
   Defendants ( Filing fee $ 400 receip
   Doc 1-1 - Civil Cover Sheet                                  1300
   Doc 1-2 - Exhibit C                                          1302
   Doc 1-3 - Exhibit D                                          1305
   Doc 1-4 - Exhibit E                                          1307
   Doc 1-5 - Exhibit G                                          1309
   Doc 1-6 - Exhibit H                                          1311
   Doc 1-7 - Exhibit I                                          1313
   Doc 1-8 - Exhibit J                                          1315
   Doc 1-9 - Exhibit K                                          1317
   Doc 1-10 - Exhibit L                                         1320
   Doc 1-11 - Exhibit M                                         1322
   Doc 1-19 - Exhibit U                                         1324




  4862-2515-2053.1
Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4223 Page 7 of
                                   1196




     EXHIBIT "A"
         Case 3:16-cv-02186-WQH-MDD
         Case 3:16-cv-02186-WQH-MDD Document
                                    Document 52-1
                                              127-1 Filed
                                                     Filed01/30/17
                                                           09/23/22 PageID.2670
                                                                     PageID.4224 Page
                                                                                  Page1 8ofof7
                                             1196


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                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,              )   Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                  )
               14 California professional corporation,           )   Judge: William Q. Hayes
                                                                 )   Courtroom 14B
               15                     Plaintiffs,                )
                               vs.                               )   Magistrate Hon. Mitchell D. Dembin
               16                                                )   Courtroom 11th Floor
                        DARREN D. CHAKER an individual, and )
               17       as trustee of PLATINUM HOLDINGS          )   DEFENDANT NICOLE
                        GROUP TRUST, dba COUNTER                 )   CHAKER'S EVIDENTIARY
               18       FORENSICS; NICOLE CHAKER, an             )   OBJECTIONS TO SCOTT
                        individual, and as trustee of NICOLE     )   MCMILLAN'S DECLARATION IN
               19       CHAKER REVOCABLE LIVING                  )   SUPPORT OF PLAINTIFFS’
                        TRUST, VANIA CHAKER, an individual )         OPPOSITION TO DEFENDANT
               20       and as beneficiary of The Island         )   NICOLE CHAKER'S MOTION TO
                        Revocable Trust under Declaration of     )   DISMISS AND ANTI-SLAPP
               21       Trust dated June 2, 2015, MARCUS MAC )       MOTION
                        as trustee of The Island Revocable Trust )
               22       under Declaration of Trust dated June 2, )   (Defendant's Objection to Plaintiffs'
                        2015,                                    )   Request for Juridical Notice, Reply to
               23                                                )   Opposition to Anti-SLAPP Motion,
                                      Defendants.                )   and Reply to Opposition to 12(b)(6)
               24                                                )   motion filed concurrently herewith)
               25                                                    [PER CHAMBERS, NO ORAL
                                                                     ARGUMENT UNLESS ORDERED
               26                                                    BY COURT]
               27                                                    Date: February 6, 2017
                                                                     Dept: 14B
               28                                                    Complaint Filed: August 29, 2016
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002 TWK                                  3:16-cv-02186-WQH-MD
                                                               1
         Case 3:16-cv-02186-WQH-MDD
         Case 3:16-cv-02186-WQH-MDD Document
                                    Document 52-1
                                              127-1 Filed
                                                     Filed01/30/17
                                                           09/23/22 PageID.2671
                                                                     PageID.4225 Page
                                                                                  Page2 9ofof7
                                             1196


                  1              Defendant Nicole Chaker hereby objects to portions of the Declaration of
                  2 Scott A. McMillian filed in support of Plaintiffs’ Oppsoition to Defendant Nicole
                  3 Chaker’s Anti-SLAPP Motion as set forth more fully below:
                  4 Matter to Which Objection is Made                Grounds for Objection
                  5 Paragraph 4 of Scott A. McMillan’s               Conclusory, Irrelevant and Not factual in
                  6 Declaration in Support of Request for            nature. The declarant statements are not
                  7 Judicial Notice in connection Opposition         as to any facts relevant to a determination
                  8 to Nicole Chaker’s Anti-SLAPP and                of the motion, but rather is a recitation of
                  9 12(b)(6) Motions, page 7, lines 12               procedural matters and an interpretation
               10 through 24                                         of the contents of other pleadings.
               11
               12 Paragraph 7 of Scott A. McMillian’s                Lack of personal knowledge vague.
               13 Declaration In Support of Opposition to            Federal Rules of Evidence (FRE) 802
               14 Nicole Chaker’s Anti-SLAPP and                     and 602
               15 12(b)(6) Motions, page 2, lines 25
               16 through 27.
               17
               18 Paragraph 10 of Scott A. McMillian’s               No foundation and speculation. FRE 702
               19 Declaration In Support of Opposition to            and 703. No basis for personal
               20 Nicole Chaker’s Anti-SLAPP and                     knowledge. Lacks
               21 12(b)(6) Motions, page 4, lines 2 through foundation/speculation. FRE 602.
               22 6                                                  Hearsay. FRE 801-802. Best Evidence
               23                                                    Rule. FRE 1002.
               24
               25 Paragraph 20 of Scott A. McMillian’s               Lack of personal knowledge. FRE 802.
               26 Declaration In Support of Opposition to            Lacks foundation/speculation. FRE 602.
               27 Nicole Chaker’s Anti-SLAPP and                     Irrelevant. FRE 401 and 402.
               28
    Gilbert, Kelly                                                 -2-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                          3:16-cv-02186-WQH-MD
                                                               2
        Case
        Case 3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDD Document
                                   Document 127-1 Filed01/30/17
                                            52-1 Filed  09/23/22 PageID.2672
                                                                  PageID.4226 Page
                                                                               Page310
                                                                                     of of
                                                                                        7
                                            1196


                  1 12(b)(6) Motions, page 5, lines 25
                  2 through 28 and page 6 lines 1 through 5.
                  3
                  4 Exhibit 10 to the Declaration of Scott A.     Lack of foundation. Improper document
                  5 McMillian’s Declaration In Support of         of which to take judicial notice. (See
                  6 Opposition to Nicole Chaker’s Anti-           Nicole Chaker’s Objection to Plaintiffs’
                  7 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
                  8 at page 6, line 5.
                  9
               10 Paragraph 26 of Scott A. McMillian’s            No foundation and speculation. FRE 702
               11 Declaration In Support of Opposition to         and 703. No basis for personal
               12 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               13 12(b)(6) Motions, page 8, lines 15              foundation/speculation. FRE 602.
               14 through 20.                                     Hearsay. FRE 801-802. Best Evidence
               15                                                 Rule. FRE 1002.
               16
               17 Paragraph 27 of Scott A. McMillian’s            Lack of personal knowledge. FRE 802.
               18 Declaration In Support of Opposition to         Lacks foundation/speculation. FRE 602.
               19 Nicole Chaker’s Anti-SLAPP and                  Irrelevant. FRE 401 and 402.
               20 12(b)(6) Motions, page 8, lines 21
               21 through 26
               22
               23 Exhibit 13 to Scott A. McMillian’s              Lack of foundation. Improper document
               24 Declaration In Support of Opposition to         of which to take judicial notice. (See
               25 Nicole Chaker’s Anti-SLAPP and                  Nicole Chaker’s Objection to Plaintiffs’
               26 12(b)(6) Motions, referenced at                 Request for Judicial Notice)
               27 paragraph 27, page 8, line 26.
               28
    Gilbert, Kelly                                              -3-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                      3:16-cv-02186-WQH-MD
                                                           3
        Case
        Case 3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDD Document
                                   Document 127-1 Filed01/30/17
                                            52-1 Filed  09/23/22 PageID.2673
                                                                  PageID.4227 Page
                                                                               Page411
                                                                                     of of
                                                                                        7
                                            1196


                  1 Paragraph 28 of Scott A. McMillian’s          Lack of personal knowledge. FRE 802.
                  2 Declaration In Support of Opposition to       Lacks foundation/speculation. FRE 602.
                  3 Nicole Chaker’s Anti-SLAPP and                Irrelevant. FRE 401 and 402.
                  4 12(b)(6) Motions, page 8, lines 27
                  5 through 28 and page 9, lines 1 through 7.
                  6
                  7 Exhibit 14 to Scott A. McMillian’s            Lack of foundation. Improper document
                  8 Declaration In Support of Opposition to       of which to take judicial notice. (See
                  9 Nicole Chaker’s Anti-SLAPP and                Nicole Chaker’s Objection to Plaintiffs’
               10 12(b)(6) Motions, referenced at page 9,         Request for Judicial Notice)
               11 paragraph 28, line 7.
               12
               13 Paragraph 29 of Scott A. McMillian’s            Lack of personal knowledge. FRE 802.
               14 Declaration In Support of Opposition to         Lacks foundation/speculation. FRE 602.
               15 Nicole Chaker’s Anti-SLAPP and                  Irrelevant. FRE 401 and 402.
               16 12(b)(6) Motions, page 9, lines 8 through
               17 17.
               18
               19 Exhibit 15 to Scott A. McMillian’s              Lack of foundation. Improper document
               20 Declaration In Support of Opposition to         of which to take judicial notice. (See
               21 Nicole Chaker’s Anti-SLAPP and                  Nicole Chaker’s Objection to Plaintiffs’
               22 12(b)(6) Motions, referenced at page 9,         Request for Judicial Notice)
               23 line 17.
               24 Paragraph 30 of Scott A. McMillan’s             No foundation and speculation. FRE 702
               25 Declaration In Support of Opposition to         and 703. No basis for personal
               26 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               27 12(b)(5) Motions, page 9, lines 18              foundation/speculation. FRE 602.
               28
    Gilbert, Kelly                                              -4-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                      3:16-cv-02186-WQH-MD
                                                           4
        Case
        Case 3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDD Document
                                   Document 127-1 Filed01/30/17
                                            52-1 Filed  09/23/22 PageID.2674
                                                                  PageID.4228 Page
                                                                               Page512
                                                                                     of of
                                                                                        7
                                            1196


                  1 through 28.                                  Hearsay. FRE 801-802
                  2
                  3 Exhibit 15 referenced in Scott A.            Lack of foundation. Improper document
                  4 McMillian’s Declaration In Support of        of which to take judicial notice. (See
                  5 Opposition to Nicole Chaker’s Anti-          Nicole Chaker’s Objection to Plaintiffs’
                  6 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
                  7 at page 9, paragraph 30, line 28
                  8
                  9 Paragraph 31 of Scott A. McMillian’s         No foundation and speculation. FRE 702
               10 Declaration In Support of Opposition to        and 703. No basis for personal
               11 Nicole Chaker’s Anti-SLAPP and                 knowledge. Lacks
               12 12(b)(6) Motions, page 10, lines 1             foundation/speculation. FRE 602.
               13 through 5.                                     Hearsay. FRE 801-802.
               14
               15 Exhibit 17 referenced in Scott A.              Lack of foundation. Improper document
               16 McMillian’s Declaration In Support of          of which to take judicial notice. (See
               17 Opposition to Nicole Chaker’s Anti-            Nicole Chaker’s Objection to Plaintiffs’
               18 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
               19 at page 10, paragraph 31, line 4
               20
               21 Paragraph 32 of Scott A. McMillian’s           Lack of Foundation, Speculation,
               22 Declaration In Support of Opposition to        unsupported lay opinion testimony
               23 Nicole Chaker’s Anti-SLAPP and
               24 12(b)(6) Motions, page 10, lines 6
               25 through 8
               26
               27
               28
    Gilbert, Kelly                                             -5-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                     3:16-cv-02186-WQH-MD
                                                           5
        Case
        Case 3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDD Document
                                   Document 127-1 Filed01/30/17
                                            52-1 Filed  09/23/22 PageID.2675
                                                                  PageID.4229 Page
                                                                               Page613
                                                                                     of of
                                                                                        7
                                            1196


                  1 Paragraph 38 of Scott A. McMillian’s         Lack of Foundation, Speculation,
                  2 Declaration In Support of Opposition to      unsupported lay opinion testimony
                  3 Nicole Chaker’s Anti-SLAPP and
                  4 12(b)(6) Motions, page 13, lines 6-10
                  5
                  6 Paragraph 34 of Scott A. McMillian’s         No foundation and speculation. FRE 702
                  7 Declaration In Support of Opposition to      and 703. No basis for personal
                  8 Nicole Chaker’s Anti-SLAPP and               knowledge. Lacks
                  9 12(b)(6) Motions, page 10, lines 22          foundation/speculation. FRE 602.
               10 through 24                                     Hearsay. FRE 801-802.
               11
               12 Paragraph 38 of Scott A. McMillian’s           No foundation and speculation. FRE 702
               13 Declaration In Support of Opposition to        and 703. No basis for personal
               14 Nicole Chaker’s Anti-SLAPP and                 knowledge. Lacks
               15 12(b)(6) Motions, page 13, lines 6             foundation/speculation. FRE 602.
               16 through 10.                                    Hearsay. FRE 801-802.
               17
               18 Paragraph 39 of Scott A. McMillian’s           Lack of Foundation, Speculation,
               19 Declaration In Support of Opposition to        unsupported lay opinion testimony,
               20 Nicole Chaker’s Anti-SLAPP and                 unsupported expert testimony. FRE 702
               21 12(b)(6) Motions, page 13, lines 11 to 19. and 703. No basis for personal
               22                                                knowledge. Lacks
               23                                                foundation/speculation. FRE 602.
               24
               25 Paragraph 41 of Scott A. McMillian’s           Lack of Foundation, Speculation,
               26 Declaration In Support of Opposition to        unsupported lay opinion testimony,
               27 Nicole Chaker’s Anti-SLAPP and                 unsupported expert testimony. FRE 702
               28
    Gilbert, Kelly                                             -6-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                     3:16-cv-02186-WQH-MD
                                                           6
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        Case 3:16-cv-02186-WQH-MDD
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                  1 12(b)(6) Motions, page 13, lines 23 to 28     and 703. No basis for personal
                  2 and page 14, lines 1 through 8.               knowledge. Lacks
                  3                                               foundation/speculation. FRE 602.
                  4
                  5 Paragraph 42 of Scott A. McMillian’s          Lack of Foundation, Speculation,
                  6 Declaration In Support of Opposition to       unsupported lay opinion testimony,
                  7 Nicole Chaker’s Anti-SLAPP and                unsupported expert testimony. FRE 702
                  8 12(b)(6) Motions, page 14, lines 9            and 703. No basis for personal
                  9 through 28 and page 15 line 1 through 2.      knowledge. Lacks
               10                                                 foundation/speculation. FRE 602.
               11
               12 Paragraph 50 of Scott A. McMillian’s            Conclusory, Irrelevant and Not factual in
               13 Declaration In Support of Opposition to         nature. The declarant statements are not
               14 Nicole Chaker’s Anti-SLAPP and                  as to any facts relevant to a determination
               15 12(b)(6) Motions, page 18 lines, 2              of the motion, but rather is a recitation of
               16 through 5.                                      procedural matters and an interpretation
               17                                                 of the contents of other pleadings.
               18
               19 Dated: January 30, 2017                  GILBERT, KELLY, CROWLEY & JENNETT
                                                           LLP
               20
               21
                                                           By: /s/ ARTHUR J. MCKEON, III
               22                                              ARTHUR J. MCKEON, III
                                                               REBECCA J. SMITH
               23                                              Attorneys for Defendant
                                                               NICOLE CHAKER
               24
               25
               26
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    Gilbert, Kelly                                              -7-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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Case3:16-cv-02186-WQH-MDD
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                      UNITED STATES COURT OF APPEALS
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                                FOR THE NINTH CIRCUIT
                                                                          JUN 18 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN and THE                     No. 18-55358
    MCMILLAN LAW FIRM, APC,
                                                  D.C. No. 3:16-cv-02186-WQH-MDD
                  Plaintiffs - Appellants,
                                                  U.S. District Court for Southern
     v.                                           California, San Diego

    DARREN D. CHAKER, an                          ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics; et
    al.,

                  Defendants - Appellees.


          A review of the docket demonstrates that counsel has failed to file the

  opening brief in this case.

          Pursuant to Ninth Circuit Rule 42-1, this appeal is dismissed for failure to

  prosecute. Counsel for appellants is directed to notify his/her client immediately in

  writing regarding this dismissal.

          This order served on the district court shall, 21 days after the date of the

  order, act as the mandate of this court.




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Case3:16-cv-02186-WQH-MDD
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                                            FOR THE COURT:

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                                            Ninth Circuit Rule 27-7




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 7                         UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9
10   SCOTT A. MCMILLAN, an                            Case No.: 3:16-cv-02186-WQH-MDD
     individual; THE MCMILLAN
11   LAW FIRM, APC, a California                      ORDER
12   professional corporation,

13                                  Plaintiffs,

14   v.

15   DARREN D. CHAKER, an
     individual and as trustee of
16   PLATINUM HOLDINGS
17   GROUP TRUST dba COUNTER
     FORENSICS; NICOLE
18   CHAKER, an individual and as
19   trustee of THE NICOLE
     CHAKER REVOCABLE
20   LIVING TRUST, U/A dated
21   August 18, 2010; VANIA
     CHAKER, an individual and as
22   beneficiary of The Island
23   Revocable Trust under Declaration
     of Trust dated June 2, 2015;
24   MARCUS MACK, as trustee of
25   The Island Revocable Trust under
     Declaration of Trust dated June 2,
26   2015,
27                                Defendants.
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                                                                             of 8
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 1   HAYES, Judge:
 2         The matter before the Court is the Motion to File Documents Under Seal filed by
 3   Defendant Darren D. Chaker. (ECF No. 118).
 4                             PROCEDURAL BACKGROUND
 5         On August 29, 2016, Plaintiffs Scott A. McMillan and The McMillan Law Firm,
 6   APC initiated this action by filing a Complaint against Defendants Darren D. Chaker, an
 7   individual and as trustee of Platinum Holdings Group Trust dba Counter Forensics; Vania
 8   Chaker, an individual and as trustee of Vania Chaker Trust One; and Nicole Chaker, an
 9   individual and as trustee of Nicole Chaker Trust One. (ECF No. 1). Plaintiffs brought the
10   following three causes of action: (1) violation of Racketeer Influenced and Corrupt
11   Organizations Act (“RICO”), 18 U.S.C. §1962(c), against all Defendants; (2) violation of
12   RICO, 18 U.S.C. § 1962(d), against all Defendants; and (3) civil extortion against
13   Defendants Darren Chaker and Nicole Chaker. See id. at 32-37. Plaintiffs sought
14   injunctive relief; compensatory, treble, punitive, and exemplary damages; attorneys’ fees;
15   costs; pre-judgment interest and post-judgment interest; and “other and further relief as
16   the Court deems just and proper.” Id. at 38.
17         On August 30, 2016, Plaintiffs filed a Motion to File Documents Under Seal. (ECF
18   No. 5). Plaintiffs requested to file under seal documents “which contain[] confidential
19   personal information of third parties and other confidential documents.”        Id. at 2.
20   Specifically, Plaintiffs requested to file the following five documents under seal: (1)
21   Opposition to Application for Reissuance of Request for Order (Exhibit 2); (2) Letter from
22   Chaker to McMillan (Exhibit 4); (3) Declaration of Petitioner (Exhibit 5); (4) Declaration
23   of Respondent (Exhibit A); and (5) Email from Chaker to McMillan (Exhibit B). See id.
24   On September 1, 2016, the Court issued an Order denying the Motion to File Documents
25   Under Seal filed by Plaintiffs (ECF No. 5). (ECF No. 8). The Court stated that “Plaintiffs
26   may file an amended motion to file [ ] documents under seal on or before September 12,
27   2016.” Id. at 3.
28

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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 8
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 1         On September 7, 2016, Plaintiffs filed an Amended Motion to File Documents
 2   Under Seal. (ECF No. 10). Plaintiffs requested to file the same five documents under seal
 3   as previously requested in the original Motion to File Documents Under Seal (ECF No. 5)
 4   because the documents “contain confidential personal information of third parties.” See
 5   ECF No. 10 at 4. On September 14, 2016, the Court issued an Order granting the
 6   Amended Motion to File Documents Under Seal filed by Plaintiffs (ECF No. 10). (ECF
 7   No. 12).
 8         On November 14, 2016, Defendant Darren Chaker filed a Motion to Dismiss
 9   Plaintiffs’ Complaint for failure to state a claim upon which relief can be granted pursuant
10   to Federal Rule of Civil Procedure 12(b)(6). (ECF No. 14). On November 15, 2016,
11   Defendant Darren Chaker filed a Motion to Change Venue. (ECF No. 15). On the same
12   day, Defendant Darren Chaker filed a Motion to Dismiss Plaintiffs’ Complaint pursuant
13   to California’s Anti-SLAPP Statute. (ECF No. 16).
14         On December 5, 2016, Plaintiffs filed an Amended Complaint against Defendants
15   Darren Chaker, an individual and as trustee of Platinum Holdings Group Trust dba
16   Counter Forensics; Vania Chaker, an individual and as beneficiary of The Island
17   Revocable Trust under Declaration of Trust dated June 2, 2015; Marcus Mack, as trustee
18   of The Island Revocable Trust under Declaration of Trust dated June 2, 2015; and Nicole
19   Chaker, an individual and as trustee of the Nicole Chaker Revocable Living Trust, U/A
20   dated August 18, 2010. (ECF No. 25). Plaintiffs brought the following three causes of
21   action: (1) violation of RICO, 18 U.S.C. §1962(c), against Defendant Darren Chaker; (2)
22   violation of RICO, 18 U.S.C. § 1962(d), against all Defendants; and (3) civil extortion
23   against Defendants Darren Chaker and Nicole Chaker. See id. at 33-46. Plaintiffs sought
24   injunctive relief; compensatory, treble, punitive, and exemplary damages; attorneys’ fees;
25   costs; pre-judgment interest and post-judgment interest; and “other and further relief as
26   the Court deems just and proper.” Id. at 47.
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 Case3:16-cv-02186-WQH-MDD
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 1         On December 16, 2016, Defendant Nicole Chaker filed a Motion to Strike and a
 2   Motion to Dismiss Plaintiffs’ third cause of action of the Amended Complaint pursuant to
 3   California Code of Civil Procedure§ 425.15(b). (ECF No. 36).
 4         On January 23, 2017, the Court issued an Order denying as moot the Motions to
 5   Dismiss filed by Defendant Darren Chaker (ECF Nos. 14, 16). (ECF No. 46).
 6         On February 17, 2017, Defendant Darren Chaker filed a Motion to Strike portions
 7   of the Amended Complaint pursuant to Federal Rule of Civil Procedure 12(f). (ECF No.
 8   55). On the same day, Defendant Darren Chaker filed a Motion to Dismiss Plaintiffs’
 9   Amended Complaint for failure to state a claim upon which relief can be granted pursuant
10   to Federal Rule of Civil Procedure 12(b)(6). (ECF No. 56).
11         On the same day, the Court issued an Order denying the Motion to Change Venue
12   filed by Defendant Darren Chaker (ECF No. 15). (ECF No. 57).
13         On March 3, 2017, Defendant Vania Chaker filed a Motion to Dismiss Plaintiffs’
14   Amended Complaint for insufficient service of process pursuant to Federal Rule of Civil
15   Procedure 12(b)(5) or, in the alternative, to Quash Defective Service. (ECF No. 59). On
16   March 28, 2017, Defendant Darren Chaker filed a Motion for Sanctions pursuant to
17   Federal Rule of Civil Procedure 11. (ECF No. 66).
18         On May 22, 2017, Defendant Darren Chaker filed a Motion to Seal. (ECF No. 78).
19   Defendant Darren Chaker requested to seal Exhibit FF to Plaintiffs’ Complaint and
20   Amended Complaint because Exhibit FF “contains private, personal, and confidential
21   information . . . and potentially exposes [Defendant] Darren [Chaker] to identity theft.”
22   (ECF No. 78-1 at 5). Defendant Darren Chaker further requested to seal Exhibit C to
23   Plaintiffs’ Response in opposition to Defendant Darren Chaker’s Motion for Sanctions
24   because Exhibit C “has personal information . . . .” Id.
25         On August 28, 2017, the Order issued an Order stating, in relevant part,
26                IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion
           to dismiss the First Amended Complaint is granted. (ECF No. 56). The First
27
           Amended Complaint (ECF No. 25) is dismissed without prejudice as to
28         Defendant Darren Chaker. Accordingly, Defendant Darren Chaker’s motion

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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 8
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 1         to strike portions of the First Amended Complaint pursuant to Federal Rule
           of Civil Procedure 12(f) is denied as moot. (ECF No. 55).
 2
 3                IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion
           for sanctions is denied. (ECF No. 66)[.]
 4
 5                 IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion
           to dismiss the First Amended Complaint is granted. (ECF No. 35). The First
 6
           Amended Complaint (ECF No. 25) is dismissed without prejudice as to
 7         Defendant Nicole Chaker. Defendant Nicole Chaker’s anti-SLAPP motion
           to strike and for attorneys’ fees and costs is denied as moot. (ECF No. 36).
 8
 9                IT IS HEREBY ORDERED that Defendant Vania Chaker’s motion to
           quash the service of process is granted. (ECF No. 59). The Court quashes
10
           service upon Defendant Vania Chaker and grants Plaintiffs sixty (60) days
11         from the date any amended complaint is filed upon which to perfect service
           upon Vania Chaker in accordance with the requirements of Federal Rule of
12
           Civil Procedure 4.
13
                  IT IS FURTHER ORDERED that the First Amended Complaint (ECF
14
           No. 25) is dismissed without prejudice as to Defendant Vania Chaker.
15         Plaintiffs shall file any motion for leave to file an amended complaint
           pursuant to Local Rule 7.1 and within thirty (30) days of the date this Order
16
           is issued.
17
     (ECF No. 83 at 15-16).
18
           On October 2, 2017, the Court issued an Order stating, in relevant part,
19
           IT IS HEREBY ORDERED that the motion [to seal] is GRANTED with
20
           respect to the request to seal and denied as to all other requests. (ECF No.
21         78). The Clerk of Court shall seal the following previously filed documents:
           (1) Exhibit FF to the Original Complaint (ECF No. 1-30); (2) Exhibit FF to
22
           the First Amended Complaint (ECF No. 25-29); (3) Exhibit C attached to the
23         declaration of Plaintiff Scott McMillan in support of his opposition to
           Defendant’s motion for sanctions (ECF No. 75-1 at 121-141); and, (4)
24
           Exhibits 1, 2, 4, 5, 6, 7, and 8 attached to Plaintiffs’ response in opposition
25         to the motion to seal (ECF Nos. 80-2, 80-3, 80-5, 80-6, 80-7, 80-8, 80-9).
26
     (ECF No. 84 at 5).
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 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22 PageID.4180
                                                           PageID.4238 Page
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                                                                             of 8
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 1          On October 10, 2017, the Court issued an Order directing the Clerk of the Court to
 2   close the case. (ECF No. 86).
 3          On November 5, 2017, Plaintiffs filed a Notice of Appeal as to the Court’s October
 4   10, 2017 Order (ECF No. 86) and “the prior adverse rulings.” (ECF No. 87 at 2).
 5          On December 12, 2017, Defendant Nicole Chaker filed a Motion for Extension of
 6   Time to File a Cross-Appeal pursuant to Federal Rule of Appellate Procedure 4(a)(5).
 7   (ECF No. 90). On March 8, 2018, the Court issued an Order granting the Motion for
 8   Extension of Time to File a Cross-Appeal filed by Defendant Nicole Chaker (ECF No.
 9   90). (ECF No. 99).
10          On March 13, 2018, Defendant Nicole Chaker filed a Notice of Cross-Appeal as to
11   the Court’s August 28, 2017 Order (ECF No. 83) and the Court’s October 10, 2017 Order
12   (ECF No. 86). (ECF No. 101). On March 16, 2018, Plaintiffs filed a Notice of Cross-
13   Appeal as to the Court’s March 8, 2018 Order (ECF No. 99) and “the prior adverse
14   rulings.” (ECF No. 102 at 2).
15          On February 18, 2020, the Court of Appeals affirmed this Court’s rulings. (ECF
16   No. 117).
17          On June 25, 2020, Defendant Darren Chaker filed a Motion to File Documents
18   Under Seal. (ECF No. 118).1 On July 20, 2020, Plaintiffs filed a Response in opposition.
19   (ECF No. 123). The record reflects that no Reply has been filed.
20                                      STANDARD OF REVIEW
21          “[C]ourts of this country recognize a general right to inspect and copy public
22   records and documents, including judicial records and documents.” Ctr. for Auto Safety
23   v. Chrysler Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (quoting Nixon v. Warner
24   Commc'ns, Inc., 435 U.S. 589, 597 (1978)). Courts “start with a strong presumption in
25
26
     1
       Defendant Darren Chaker requests judicial notice of the June 29, 2018 minute order entered in Scott A.
27   McMillan v. Darren D. Chaker, et. al., No. 37-2017-00036344-CU-NP-CTL (Ex. C to Bravo Decl., ECF
     No. 118-2 at 92-94). See ECF No. 118-3. The Court has not considered this minute order in resolving
28   this Order.

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 Case3:16-cv-02186-WQH-MDD
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                                                           PageID.4239 Page
                                                                        Page723
                                                                             of 8
                                                                                of
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 1   favor of access to court records” “based on the need for federal courts, although
 2   independent—indeed, particularly because they are independent—to have a measure of
 3   accountability and for the public to have confidence in the administration of justice.” Id.
 4           “[A] party seeking to seal a judicial record then bears the burden of overcoming this
 5   strong presumption by meeting the ‘compelling reasons’ standard.”                Id. (quoting
 6   Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)). “That is,
 7   the party must articulate[ ] compelling reasons supported by specific factual findings, . . .
 8   that outweigh the general history of access and the public policies favoring disclosure,
 9   such as the public interest in understanding the judicial process.” Kamakana, 447 F.3d at
10   1178-79 (first alteration in original) (citation omitted). The presumed right to access to
11   court proceedings and documents can be overcome “only by an overriding right or interest
12   based on findings that closure is essential to preserve higher values and is narrowly
13   tailored to serve that interest.” Oregonian Pub. Co. v. U.S. Dist. Court for Dist. of Oregon,
14   920 F.2d 1462, 1465 (9th Cir. 1990). The Court of Appeals in Chrysler stated, in relevant
15   part,
16           Under this stringent standard, a court may seal records only when it finds “a
             compelling reason and articulate[s] the factual basis for its ruling, without
17
             relying on hypothesis or conjecture.” . . . The court must then “conscientiously
18           balance[ ] the competing interests of the public and the party who seeks to
             keep certain judicial records secret.” . . . What constitutes a “compelling
19
             reason” is “best left to the sound discretion of the trial court.” . . . Examples
20           include when a court record might be used to “gratify private spite or promote
             public scandal,” to circulate “libelous” statements, or “as sources of business
21
             information that might harm a litigant’s competitive standing.”
22
     Chrysler, 809 F.3d at 1096-97 (first and third alterations in original) (citations omitted)
23
     (first quoting Kamakana, 447 F.3d at 1179, then quoting Nixon, 435 U.S. at 599).
24
                                             DISCUSSION
25
             Defendant Darren Chaker requests to seal portions of the Complaint (ECF No. 1)
26
     and Amended Complaint (ECF No. 25) which “include reference to a California sealed
27
     paternity case . . . involving Defendant Darren [] Chaker [ ].” (ECF No. 118-1 at 2)
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 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22 PageID.4182
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                                                                        Page824
                                                                             of 8
                                                                                of
                                     1196


 1   (emphasis omitted). Specifically, Defendant Darren Chaker requests to seal paragraphs
 2   39, 40, and 49 of the Complaint (ECF No. 1) and paragraphs 40, 41, and 50 of the
 3   Amended Complaint (ECF No. 25). See id. Plaintiffs contend that there is no compelling
 4   reason to seal paragraphs 39, 40, and 49 of the Complaint (ECF No. 1) and paragraphs 40,
 5   41, and 50 of the Amended Complaint (ECF No. 25). Plaintiffs assert that the paragraphs
 6   contain allegations against Defendant Darren Chaker regarding extortion and do not
 7   contain records from or confidential information about the paternity case. Plaintiffs assert
 8   that the paragraphs only mention the existence of the paternity case itself and that Plaintiff
 9   was an attorney in that matter. Plaintiffs contend that the paragraphs were not filed for an
10   improper purpose.
11         In this case, Defendant Darren Chaker “bears the burden of overcoming th[e] strong
12   presumption [in favor of access to court records] by meeting the ‘compelling reasons’
13   standard.” Chrysler, 809 F.3d at 1096 (quoting Kamakana, 447 F.3d at 1178). The Court
14   concludes that Defendant Darren Chaker fails to overcome the strong presumption in favor
15   of public access with respect to the allegations of Plaintiffs’ Complaint (ECF No. 1) and
16   Amended Complaint (ECF No. 25).
17                                         CONCLUSION
18         IT IS HEREBY ORDERED that the Motion to File Documents Under Seal filed by
19   Defendant Darren D. Chaker (ECF No. 118) is DENIED.
20    Dated: August 14, 2020
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 Case3:16-cv-02186-WQH-MDD
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 7
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 8   individually, and as trustee of PLATINUM HOLDINGS
     GROUP TRUST
 9
10                         UNITED STATES DISTRICT COURT
11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12 SCOTT A. MCMILLAN, an individual,         )   Case No. 3:16-CV-02186-WQH-MD
   THE MCMILLAN LAW FIRM, APC, a             )
13 California professional corporation,      )   Judge: Hon. William Q. Hayes
                                             )   Magistrate: Hon. Mitchell D. Dembin
14                 Plaintiffs,               )
                                             )   OPPOSITION TO PLAINTIFF’S
15          v.                               )   EX PARTE APPLICATION TO
                                             )   CONTINUE HEARING DATE
16   DARREN D. CHAKER an individual, and )       AND OPPOSITION DATE ON
     as trustee of PLATINUM HOLDINGS         )   MOTION FOR SANCTIONS
17   GROUP TRUST, dba COUNTER                )
     FORENSICS; NICOLE CHAKER, an            )   Opposition Date for Motion for
18   individual, and as trustee of NICOLE    )   Sanctions: April 17, 2017
     CHAKER TRUST ONE, VANIA                 )
19   CHAKER, an individual and as trustee of )   Hearing Date: May 1, 2017
     VANIA CHAKER TRUST ONE,                 )
20                                           )
                   Defendants.               )   Complaint Filed: August 29, 2016
21                                           )
                                             )   [PER CHAMBERS ORDER, NO
22                                           )
                                             )   ORAL ARGUMENT UNLESS
23                                           )   ORDERED BY COURT]
                                             )
24                                           )
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      OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO CONTINUE HEARING DATE OF DEFENDANT
                             DARREN CHAKER’S MOTION FOR SANCTIONS
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Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                                 09/23/22PageID.3092
                                                          PageID.4242Page
                                                                      Page2 of
                                                                            265of
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 1         Defendant, DARREN D. CHAKER an individual, and as trustee of PLATINUM
 2 HOLDINGS GROUP TRUST, dba COUNTER FORENSICS (referred to herein as
 3 “Defendant” or “Darren”), submits this Opposition to Plaintiff SCOTT A.
 4 MCMILLAN, an individual, THE MCMILLAN LAW FIRM, APC, a California
 5 professional corporation’s (referred to herein as “Plaintiffs” or “McMillan”), Ex Parte
 6 Application to enlarge the time to file their Opposition to Darren’s Motion for Sanctions
 7 pursuant to Fed. R. Civ. P. 11.
 8
 9         I     INTRODUCTION
10         Defendant’s Motion for Sanctions was filed on March 28, 2017, and based on the
11 hearing date, the opposition would be due on April 17, 2017, three weeks after filing
12 and service. The complaint that formed the basis for Darren’s sanctions motion alleges
13 spurious and outright false allegations entirely unrelated to the alleged claims, and
14 concerns fictional misconduct that occurred up to seven years before McMillan and
15 Darren even met. In light of the egregious, offensive and disingenuous language in the
16 Complaint, it is in the interests of justice to end this matter sooner rather than later and
17 deny Plaintiffs’ Ex Parte Application.
18
19         II    ARGUMENT
20         A. No Good Cause Was Stated to Grant an Extension
21         As stated in Darren’s Motion for Sanctions, McMillan’s RICO claims are
22 frivolous and the Court can infer that McMillan’s intent was to harass since the facts
23 demonstrate he has a motive to harass. In re Grantham Bros., 922 F.2d 1438, 1443
24 (9th Cir. 1991).
25         Although McMillan chronicles the various matters he has and that he “is behind
26 on other work,” and lists some briefs he is working on (including one that was filed on
27 March 23, 2017, five days before our motion was filed), under Fed. R. Civ. Pro. 6(b),
28 the Court has the discretion to find that good cause has not been asserted. In this case,
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      OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO CONTINUE HEARING DATE OF DEFENDANT
                             DARREN CHAKER’S MOTION FOR SANCTIONS
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 1 McMillan merely lists the sort of work that attorneys do, with no reason stated why
 2 those matters get priority over this one. As cited by Plaintiffs, the Court may use its
 3 discretion to grant or deny the extension as “a district court has the inherent power to
 4 control the disposition of the cases on its docket in a manner which will promise the
 5 economy of time and effort for itself, for counsel, and for litigants,” Filtrol Corp. v.
 6 Kelleher, 467 F. 2d 242,244 (9th Cir. 1972) (citation and internal quotation marks
 7 omitted). In this case, given the nature of the Complaint filed by Plaintiffs, coupled
 8 with the baseless assertions set forth in the Complaint, this Court should use its
 9 discretion to deny this accommodation requested by Plaintiffs.
10
11        B. Darren’s Previous Request is Distinguishable
12        McMillan states in his declaration that he had previously agreed to an extension
13 requested by Darren to file a motion to dismiss on January 25, 2017. At that time,
14 Darren’s prior counsel had declared a conflict and Darren would have been deprived of
15 counsel had he not obtained an agreement to extend the time to file a motion to dismiss
16 the complaint. Further, this occurred at no fault of Darren. Had McMillan not granted
17 the extension, this Court would have been compelled to do so at the request of new
18 counsel. In effect, McMillan agreed to do something that, as an attorney, he knew the
19 court would have done, sua sponte. As it was, Darren’s new counsel had just one week
20 from the time the substitution of attorney was signed by the court, on February 8, 2017
21 (ECF 54) to February 17, 2017, the date the motion to dismiss was filed.
22        This situation is distinguishable in that without any extension of time, McMillan
23 has three weeks respond to Darren’s Motion for Sanctions, which should have been
24 more than sufficient. Given that this entire matter wastes judicial resources in support of
25 McMillan’s effort to pursue a personal vendetta, any extension that prolongs this matter
26 should be denied.
27
28
                                                2
     OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO CONTINUE HEARING DATE OF DEFENDANT
                            DARREN CHAKER’S MOTION FOR SANCTIONS
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 1
 2
 3 III.    CONCLUSION
           For the foregoing reasons, while Defendant understands and respects that the
 4
     Court has the full discretion to grant or deny the extension request and control its own
 5
     calendar, it urges the court to deny Plaintiffs’ Ex Parte application to enlarge time to
 6
     allow them more than three weeks to respond to Defendant’s Motion for Sanctions.
 7
 8
 9 DATED:         April 12, 2017             Respectfully Submitted,
10
                                             SULLIVAN, KRIEGER, TRUONG,
11                                           SPAGNOLA & KLAUSNER, LLP
12
                                             By:    /s/ Eliot F. Krieger
13                                                  Eliot F. Krieger, SBN 159647
14                                                  ekrieger@sullivankrieger.com
                                                    Charles T. Spagnola, P.C., SBN 144983
15                                                  cspagnola@sullivankrieger.com
                                                    444 West Ocean Boulevard, Suite 1700
16                                                  Long Beach, CA 90802
17                                                  Telephone: (562) 597-7070

18                                           Attorneys for Defendant Darren Chaker and as
                                             trustee of PLATINUM HOLDINGS GROUP
19                                           TRUST, dba COUNTER FORENSICS
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      OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO CONTINUE HEARING DATE OF DEFENDANT
                             DARREN CHAKER’S MOTION FOR SANCTIONS
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                                                                      Page5 of
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 1                                CERTIFICATE OF SERVICE
 2
           I, Charles Spagnola, an attorney, certify that on the 12th day of April, 2017, I filed
 3
     the foregoing document with the Clerk of the Court for the United States District Court,
 4
     Southern District of California by using the Court’s CM/ECF system, which will send
 5
     notifications of such filing to all counsel of record.
 6
 7
 8                                             s/ Charles Spagnola
 9
                                               Charles Spagnola
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      OPPOSITION TO PLAINTIFFS’ EX PARTE APPLICATION TO CONTINUE HEARING DATE OF DEFENDANT
                             DARREN CHAKER’S MOTION FOR SANCTIONS
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AO 441   Summons in a Civil Action



                                     United States District Court
                                          SOUTHERN DISTRICT OF CALIFORNIA

    Scott A. McMillan, an individual; The McMillan Law
    Firm, APC, a California professional corporation


                                                                    Civil Action No. 16cv2186-JM-MDD
                                                     Plaintiff
                                     V.
    See Attachment




                                                   Defendant

                                               SUMMONS IN A CIVIL ACTION
    To: (Defendant's name and address)




            A lawsuit has been filed against you.
            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
    if you are the United States or a United States agency, or an office or employee of the United States described
    in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
    motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
    plaintiff or plaintiff's attorney, whose name and address are:

              Scott A McMillan
              4670 Nebo Drive, Suite 200
              La Mesa, CA 91941
              (619)464-1500


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the
    complaint. You also must file your answer or motion with the court.

    Date:               8/29/16                                  John Morrill
                                                                 CLERK OF COURT
                                                                 S/           J. Gutierrez
                                                                           Signature of Clerk or Deputy Clerk




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         Case 3:16-cv-02186-WQH-MDD
           Case  3:16-cv-02186-WQH-MDDDocument 127-1
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                                                                                        3 of
                                               1196
AO 441   Summons in a Civil Action                                                                                   (Page 2)


    Civil Action No. 16cv2186-JM-MDD                                                    Date Issued:       8/29/16

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

              This summons for (name of individual and title, if any) _______________________________________
    was received by me on (date) ___________________________.
              I personally served the summons on the individual at (place) __________________________________
              ___________________________________________________ on (date) _________________; or
              I left the summons at the individual's residence or place of abode with (name) ____________________
              _________________________________, a person of suitable age and discretion who resides there,
              on (date) ___________________, and mailed a copy to the individual's last known address; or
              I served the summons on (name of the individual) ___________________________________, who is
              designated by law to accept service of process on behalf of (name of organization) ________________
              ______________________________________________________ on (date) ____________; or
              I returned the summons unexecuted because ____________________________________________; or
              Other (specify):


              My fees are $ ____________ for travel and $ ____________ for services, for a total of $ ___________.
              I declare under penalty of perjury that this information is true.

    Date:
                                                                                   Server's Signature



                                                                                  Printed name and title



                                                                                    Server's address
                 NOTICE OF RIGHT TO CONSENT TO TRIAL BY A UNITED STATES MAGISTRATE JUDGE
    IN ACCORDANCE WITH THE PROVISION OF 28 USC 636(C) YOU ARE HEREBY NOTIFIED THAT A U.S.
    MAGISTRATE JUDGE OF THIS DISTRICT MAY, UPON CONSENT OF ALL PARTIES, CONDUCT ANY OR
    ALL PROCEDDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
    JUDGMENT.

    YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT CONSENT IS ENTIRELY
    VOLUNTARY AND SHOUL BE COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
    PARTIES CONSENT WILL THE JUDGE OR MAGISTRATE JUDGE WHOM THE CASE HAS BEEN ASSIGNED
    BE INFORMED OF YOUR DECISION.

    JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO THE U.S. COURT OF APPEALS IN
    ACCORDANCE WITH THIS STATUTE AND THE FEDERAL RULES OF APPELLATE PROCEDURE.
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           Case  3:16-cv-02186-WQH-MDDDocument 127-1
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                                               1196
AO 441   Summons in a Civil Action                                                                          (Page 3)


                                     United States District Court
                                       SOUTHERN DISTRICT OF CALIFORNIA

                                               (ATTACHMENT)

                                                                       Civil Action No. 16cv2186-JM-MDD


    Darren N. Chaker, an individual, and as trustee of Platinum Holdings Group Trust doing business as Counter
    Forensics; Nicole Chaker an individual, and as trustee of Nicole Chaker Trust One; Vania Chaker an
    individual, and as trustee of Nicole Chaker Trust One; Vania Chaker, an individual and as trustee of Vania
    Chaker Trust One




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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                            FOR THE NINTH CIRCUIT
                                                                    NOV 06 2017
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN; THE                      No. 17-56676
    MCMILLAN LAW FIRM, APC,
                                                D.C. No. 3:16-cv-02186-WQH-MDD
                Plaintiffs - Appellants,
                                                U.S. District Court for Southern
     v.                                         California, San Diego

    DARREN D. CHAKER, an                        TIME SCHEDULE ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics;
    VANIA CHAKER, an individual and
    as beneficiary of The Island
    Revocable Trust under Declaration of
    Trust dated June 2, 2015; NICOLE
    CHAKER, an individual, and as
    trustee of THE NICOLE CHAKER
    REVOCABLE LIVING TRUST,
    U/A dated August 18, 2010,

                Defendants - Appellees.



  The parties shall meet the following time schedule.

   Thu., January 4, 2018        Appellant's opening brief and excerpts of record
                                shall be served and filed pursuant to FRAP 32 and
                                9th Cir. R. 32-1.
   Mon., February 5, 2018       Appellee's answering brief and excerpts of record
                                shall be served and filed pursuant to FRAP 32 and
                                9th Cir. R. 32-1.


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  The optional appellant's reply brief shall be filed and served within 21 days of
  service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

  Failure of the appellant to comply with the Time Schedule Order will result in
  automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                              FOR THE COURT:

                                              MOLLY C. DWYER
                                              CLERK OF COURT

                                              By: John Brendan Sigel
                                              Deputy Clerk
                                              Ninth Circuit Rule 27-7




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                      6
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                           Los Angeles, California 90071-2627
                      8
                           Attorneys for Defendant
                      9    NICOLE CHAKER
                     10                                UNITED STATES DISTRICT COURT
                     11                               SOUTHERN DISTRICT OF CALIFORNIA
                     12
                     13 SCOTT A. MCMILLAN, an individual,                   )   Case No. 3:16-CV-02186-WQH-MD
                        THE MCMILLAN LAW FIRM, APC, a                       )
                     14 California professional corporation,                )   Judge: William Q. Hayes
                                                                            )   Courtroom 14B
                     15                    Plaintiffs,                      )
                                  vs.                                       )   Magistrate Hon. Mitchell D. Dembin
                     16                                                     )   Courtroom 11th Floor
                        DARREN D. CHAKER an individual,                     )
                     17 and as trustee of PLATINUM                          )   DECLARATION OF REBECCA J.
                        HOLDINGS GROUP TRUST, dba                           )   SMITH IN SUPPORT OF
                     18 COUNTER FORENSICS; NICOLE                           )   DEFENDANT NICOLE
                        CHAKER, an individual, and as trustee               )   CHAKER'S NOTICE OF MOTION
                     19 of THE NICOLE CHAKER                                )   FOR EXTENSION OF TIME TO
                        REVOCABLE LIVING TRUST, U/A                         )   FILE CROSS-APPEAL (FRAP
                     20 dated August 18, 2010, VANIA                        )   4(a)(5))
                        CHAKER, an individual and as                        )
                     21 beneficiary of The Island Revocable                 )   (Notice of Motion, Memorandum of
                        Trust under Declaration of Trust dated              )   Points and Authorities In Support Of
                     22 June 2, 2015, MARCUS MACK as                        )   Motion To Extend Time For Filing
                        trustee of The Island Revocable Trust               )   Notice of Cross-Appeal, and Proposed
                     23 under Declaration of Trust dated June 2,            )   Order filed and served concurrently
                        2015,                                               )   herewith)
                     24                                                     )
                                     Defendants.                            )   Date: January 15, 2018
                     25                                                     )   Dept: 14B
                     26
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Freeman Mathis


                     28
  & Gary, LLP
Attorneys at Law



                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                                CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
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                   Case3:16-cv-02186-WQH-MDD
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                                                                 12/12/17     PageID.4252Page
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                                                                                              2 of  of
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                      1           I, REBECCA J. SMITH, declare:
                      2           1.       I am an attorney duly licensed to practice law in the State of California,
                      3 including this court, and a partner in the law offices of Freeman Mathis & Gray LLP,
                      4 attorneys of record for Defendant Nicole Chaker in the above entitled action. I have
                      5 personal knowledge of the facts set forth herein and could competently testify thereto
                      6 if called upon to do so.
                      7           2.       This declaration is submitted in support of Defendant Nicole Chaker’s
                      8 Motion For Extension Of Time By Which To File Cross-Appeal.
                      9           3.       Attorney Timothy W. Kenna, Arthur J. McKeon, III and I represented
                     10 Nicole Chaker as defendant in this action brought by Scott A. McMillan and The
                     11 McMillan Law Firm.
                     12           4.       On Ms. Chaker’s behalf my firm filed both a Motion to Dismiss
                     13 pursuant to Federal Rules of Civil Procedure 12(b)(6) and an anti-SLAPP motion
                     14 under California Code of Civil Procedure § 425.16.
                     15           5.       On August 28, 2017, the court ruled on Nicole Chaker’s Motion,
                     16 granting the motion to dismiss in its entirety and finding that the anti-SLAPP motion
                     17 was moot based on the granting of the 12(b)(6) motion and not addressing the anti-
                     18 SLAPP motion substantively. (A true and correct copy of the Court’s Order (ECF
                     19 83) is attached hereto, designated as exhibit “A” and incorporated herein by this
                     20 reference.)
                     21           6.       In the court’s August 28,2017, order the court provided plaintiffs with
                     22 thirty (30) days to file a motion for leave to amend. A motion for leave to amend
                     23 was not filed and accordingly, on October 10, 2017, the court ordered the case
                     24 closed. (A true and correct copy of the case closure notice (ECF 86) is attached
                     25 hereto, designated as exhibit “B” and incorporated herein by this reference.)
                     26           7.       On November 5, 2017, plaintiffs filed a notice of appeal. Timothy W.
                     27 Kenna and I did not receive service of the Notice of Appeal by electronic or any
Freeman Mathis


                     28 other service.
  & Gary, LLP
Attorneys at Law



                             DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                             CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                          4582458.1 48811-00002 TWK                Page | 2                3:16-CV-02186-WQH-MD
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                   Case3:16-cv-02186-WQH-MDD
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                                                                 12/12/17     PageID.4253Page
                                                                                           Page  3785
                                                                                              3 of  of
                                                       1196


                      1           8.       Generally, our office procedure and my procedure is when a notification
                      2 is received from the court or another party in an action which would require some
                      3 action or response on behalf of our office, that all appropriate dates are placed on my
                      4 calendar. Because we did not receive a notice of appeal, neither myself, nor my
                      5 secretary, or Timothy Kenna and his secretary calendared a final date for the filing of
                      6 a Cross-Appeal.
                      7           9.       On November 9, 2017, I received a letter from the 9th Circuit Court of
                      8 Appeal advising Appellant that the notice of appeal had been received in the Clerk’s
                      9 office of the United States Court of Appeal. At the same time, I received a notice
                     10 from the 9th Circuit Court that I was not registered for electronic filing and a copy of
                     11 the scheduling order. (A true and correct copy of the notices and letters received
                     12 from the 9th Circuit Court are attached hereto, designated as exhibit “C” and
                     13 incorporated herein by this reference.)
                     14           10. Upon receipt of the above notices from the 9th Circuit Court, my office
                     15 examined the district court’s website to ascertain whether a notice of appeal had been
                     16 filed. Upon reviewing PACER we determined that a notice of appeal had in fact
                     17 been filed. This was the first notice we had of a notice of appeal having been filed.
                     18 Because this notice had not been served and was obtained from the court’s website, it
                     19 inadvertently wasn’t processed in order to have all relevant associated dates placed
                     20 on the attorney’s calendar. (A true and correct copy of the notice of appeal (ECF 87
                     21 is attached hereto, designated as exhibit “D” and incorporated herein by this
                     22 reference.)
                     23           11.      Our office had been retained to represent the interest of Nicole Chaker
                     24 in the underlying matter through her insurance carrier. Accordingly, our office,
                     25 specifically, attorney Timothy W. Kenna then notified Nicole Chaker’s insurance
                     26 carrier that an Appeal had been filed and provided a copy to the insurance carrier and
                     27 requested that our office be again appointed to represent Ms. Chaker.
Freeman Mathis


                     28
  & Gary, LLP
Attorneys at Law



                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                                CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
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                   Case3:16-cv-02186-WQH-MDD
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                                                                 12/12/17     PageID.4254Page
                                                                                           Page  3885
                                                                                              4 of  of
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                      1           12.      In addition to filing the Notice of Appeal, plaintiffs have now filed a
                      2 separate state court action, San Diego Superior Court Case No. 37-2017-00036344-
                      3 U-NP-CTL attempting to set forth causes of action for Civil Extortion and Unfair
                      4 Competition, Business & Profession Code Section 17200 based on the same
                      5 allegations which had been alleged in the action dismissed by the court. (A true and
                      6 correct copy of the state court action, without the exhibits is attached hereto,
                      7 designated as exhibit “E” and incorporated herein by this reference.) Counsel from
                      8 my office also undertook to communicate with Ms. Chaker’s insurance carrier
                      9 regarding this new state court action which had been filed.
                     10           13.      Because of the numerous issues arising in regard to the appeal of the
                     11 first action and plaintiff’s refiling of a second state court action, there was some
                     12 delay in obtaining confirmation from the insurance carrier that my firm had been
                     13 retained to represent Nicole Chaker in the appeal.
                     14           14.      Once we were notified that we had been retained to represent Nicole
                     15 Chaker in the appeal, we reviewed the notice of appeal and relevant case authority to
                     16 determine whether a cross-appeal was required under the circumstances of the case.
                     17 While it appears that all issues have been appealed by plaintiffs including both the
                     18 granting of the motion to dismiss and the court’s failure to make a determination on
                     19 the anti-SLAPP motion, because of the nature of plaintiffs’ notice of appeal, there is
                     20 some small area of question as to the issues appealed. Accordingly, in an abundance
                     21 of caution a determination was made to file a cross-appeal on Nicole Chaker’s
                     22 behalf.
                     23           15.      A notice of cross-appeal has been prepared on behalf of Nicole Chaker
                     24 and is attached hereto, designated as exhibit “F” and incorporated herein by this
                     25 reference.
                     26
                     27
Freeman Mathis


                     28
  & Gary, LLP
Attorneys at Law



                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                                CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
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                   Case3:16-cv-02186-WQH-MDD
                        3:16-cv-02186-WQH-MDD Document
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                                                        91 Filed    09/23/22PageID.3763
                                                                 12/12/17     PageID.4255Page
                                                                                           Page  3985
                                                                                              5 of  of
                                                       1196


                      1           I declare under penalty of perjury that the foregoing is true and correct.
                      2           Executed on this 12th day of December, 2017, at San Diego, California.
                      3
                      4
                                                                                   REBECCA J. SMITH
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Freeman Mathis


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  & Gary, LLP
Attorneys at Law



                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
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     3:16-cv-02186-WQH-MDD Document
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                                                                           6 of  of
                                    1196




                          Exhibit “A”
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Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1   Filed
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                                     83          09/23/22PageID.3765
                                              08/28/17
                                              12/12/17     PageID.4257Page
                                                         PageID.3514    Page  4185
                                                                           1 of
                                                                           7     of
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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         The matters before the Court are the motion to dismiss and the motion to strike
   19 Plaintiffs’ third cause of action filed by Defendant Nicole Chaker (ECF Nos. 35, 36);
   20 the motion to dismiss and motion to strike filed by Defendant Darren D. Chaker (ECF
   21 Nos. 55, 56); the motion to dismiss or alternatively to quash service filed by Defendant
   22 Vania Chaker (ECF No. 59); and, the moti
                                            on for sanctions by Defendant Darren Chaker
   23 (ECF No. 66).
   24 I. BACKGROUND
   25         On December 5, 2016, Plaintiffs Sc ott A. McMillan and The McMillan Law
   26 Firm, APC filed the First Amended Complaint (“FAC”) against Defendant Darren D.
   27 Chaker, an individual and as trustee of Platinum Holdings Group Trust, dba Counter
   28 Forensics; Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker

                                                  -1-                           16cv2186-WQH-MDD



                                           34
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1   Filed
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                                     83          09/23/22PageID.3766
                                              08/28/17
                                              12/12/17     PageID.4258Page
                                                         PageID.3515    Page  4285
                                                                           2 of
                                                                           8     of
                                                                                16
                                    1196


    1 Revocable Living Trust, U/A dates Augus t 18, 2010; Defendant Vania Chaker, an
    2 individual and as beneficiary of The IslandRevocable Trust under Declaration of Trust
    3 dated June 2, 2015; and Defe ndant Marcus Mack, as trustee of the Island Revocable
    4 Trust under Declaration of Trust dates June 2, 2015. (ECF No. 25). The FAC alleges
    5 two causes of action under the Racketeer Influenced and Corrupt Organizations
    6 (“RICO”) Act pursuant to 18 U.S.C. § 1962(c) and (d) and a civil extortion cause of
    7 action under California law.
    8 II. ALLEGATIONS OF THE FIRST AMENDED COMPLAINT (“FAC”)
    9         Plaintiff Scott McMillan is a Californi a licensed attorney practicing law and
   10 operating an unaccredited law schoo l. (ECF No. 25 at ¶5). Plaintiff McMillan Law
   11 Firm, APC is a corporationoperated by Scott McMillan. Id. ¶ 6. Defendants Vania and
   12 Nicole Chaker are Defendant Darren Chaker’s sister and mother, respectively.
   13         Plaintiffs allege that Defendants c onstitute a RICO enterprise functioning
   14 together “as a continuing unit with a common purpose to obtain the Plaintiffs’ property
   15 under fear induced by falsely imputing a deformity, disgrace, or crimes, and by threats
   16 to do an unlawful injury to the person or property . . . all in violation of Cal. Penal Code
   17 section 523 (extortion).” Id. ¶ 88. “The common purpose of the Enterprise members
   18 was to assist each other in the filing of false and meritless lawsuits under federal debt
   19 collection statutes; assist each other in th e filing of lawsuits against attorneys who
   20 opposed them . . . and to conduct a campaign of harassment, defamation, and extortion
   21 against attorneys, such as the Plaintiffs, who represented parties adverse to the interests
   22 of the Enterprise members . . . .” Id. ¶ 91. “Enterprise memberalso assisted each other
   23 in committing vandalism against Plaintiff’s property.” Id.
   24         Defendant Darren Chaker is allege d to have com mitted multiple acts of
   25 racketeering activity through acts involving extortion in violation of California Penal
   26 Code sections 518, 519, and 523. Id. ¶¶ 94-109. Plaintiffs allege that Darren Chaker
   27 sent threatening letters and com munications; posted defam atory and fabricated
   28 statements online; sent letters threatening Plaintiffs’ clients; and sent defamatory emails

                                                  -2-                              16cv2186-WQH-MDD



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Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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                                     83          09/23/22PageID.3767
                                              08/28/17
                                              12/12/17     PageID.4259Page
                                                         PageID.3516    Page  4385
                                                                           3 of
                                                                           9     of
                                                                                16
                                    1196


    1 to other attorneys and colleagues of Plaintiff McMillan. Id. Plaintiffs allege that these
    2 acts constitute extortion because Defendant “obtained from Plaintiff his i ntangible
    3 property right to practice law free of threat s, and to practice in accordance with th e
    4 California Rules of Professional Conduct” and “obtained from Plaintiffs their intangible
    5 property right to practice law and publish court decisions on the internet.” Id. at ¶¶ 99-
    6 109.
    7         Plaintiffs bring the first cause of ac tion for a violation of RICO, 18 U.S.C. §
    8 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84-114. Plaintiffs bring a second
    9 cause of action for conspiracy to viol ate RICO, 18 U.S.C. § 1962(d) against all
   10 Defendants. Id. ¶¶ 115-119. Plaintiffs bring a third cause of action for civil extortion
   11 under California law against DefendantsDarren Chaker and Nicole Chaker. Id. ¶¶ 120-
   12 133.
   13 III. LEGAL STANDARD ON RULE 12(B)(6)
   14         Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “failure to state
   15 a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Federal Rule of
   16 Civil Procedure 8(a) provides that “[a] pleading that states a claim for relief must
   17 contain . . . a short and plain statement of the claim showing that the pleader is entitled
   18 to relief.” Fed. R. Civ. P.8(a)(2). Dismissal under Rule 12(b)(6) is appropriate where
   19 the complaint lacks a cognizable legal theoryor sufficient facts to support a cognizable
   20 legal theory. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
   21         “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
   22 requires more than labels and conclusions, and a formulaic recitation of the elements
   23 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   24 (quoting Fed. R. Civ. P. 8(a)). When c onsidering a motion to dismiss, a court must
   25 accept as true all “well-pleaded factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662,
   26 679 (2009). However, a cour t is not “required to accept as true allegations that are
   27 merely conclusory, unwarrant ed deductions of fact, or unreasonable inferences.”
   28 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “In sum, for a

                                                   -3-                              16cv2186-WQH-MDD



                                             36
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
                            Document 91      Filed
                                      83 Filed
                                          Filed    09/23/22
                                                12/12/17
                                                 08/28/17   PageID.4260
                                                          PageID.3768
                                                          PageID.3517   Page
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                                                                      Page 10  4416
                                                                            4 of
                                                                              of  of
                                                                                 85
                                     1196


    1 complaint to survive a m otion to dism iss, the non-conclusory factual content, and
    2 reasonable inferences from that content, must be plausibly suggestive of a claim
    3 entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
    4 2009) (internal quotation marks omitted).
    5 IV. MOTIONS TO DISMISS BY DARREN CHAKER AND NICOLE CHAKER
    6 (ECF Nos. 35, 56)
    7         Defendant Darren Chaker contends that the FAC should be dism issed with
    8 prejudice for failure to state a claim. Defendant Darren Chaker contends that the RICO
    9 cause of action pursuant to 18 U.S.C. §1962(c) m
                                                     ust be dismissed because Plaintiffs fail
   10 to adequately allege facts to support the predicate act of extortion. (ECF No. 56-1 at
   11 10). Defendant Darren Chaker contends that Plaintiffs fail to state a claim for extortion
   12 because Plaintiffs do not allege facts to show that Defendant Darren Chaker obtained
   13 property from Plaintiffs. Id. at 13. Defendant Darren Ch aker further contends that
   14 Plaintiffs lack standing because the FAC fails to allege cognizable damages. Id. at 18.
   15 Defendant Darren Chaker contends that          the second cause of action for RICO
   16 conspiracy, 18 U.S.C. § 1962(d), fails for the same reasons as the first cause of action.
   17 Defendant Darren Chaker contends that             the Court should decline to exercise
   18 supplemental jurisdiction over the state law claim. Id. at 19-20.
   19         Defendant Nicole Chaker also contendsthe FAC should be dismissed for failure
   20 to state a claim.1 (ECF No. 35). Defendant Nicole Chaker contends that her alleged
   21 conduct is prote cted by the Noerr-Pennington doctrine. (ECF No. 35-1 at 13-16).
   22 Defendant Nicole Chaker contends that the RICO causes of action should be dismissed
   23 because Plaintiffs fail to adequately plead an enterprise with an effect on interstate
   24 commerce, a pattern of racketeering, c ognizable damages, or sufficient conduct or
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              Defendant Nicole Chaker files a request for judicial notice of document in the
   26 record of a district court case from t he United States District Court for the Central
      District of California. (ECF No. 35-3). Plaintiffs’ also file a request for judicial notice
   27 of court documents in other cases. (ECF No. 45-1). The Court denies the request for
      judicial notice as unnecessary. See, e.g., Asvesta v. Petroutsas, 580 F.3d 1000, 1010
   28 n. 12 (9th Cir. 2009) (denying request for judicial notice where judicial notice would
      be “unnecessary”).
                                                  -4-                              16cv2186-WQH-MDD



                                            37
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
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                                          Filed    09/23/22
                                                12/12/17
                                                 08/28/17   PageID.4261
                                                          PageID.3769
                                                          PageID.3518   Page
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                                                                      Page 11  4516
                                                                            5 of
                                                                              of  of
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    1 participation in enterprise affairs. Id. at 18-25. Defendant Nicole Chaker contends that
    2 the claim under § 1962(d) necessarily fails if the § 1962(c) claim is dismissed. Id. at
    3 24. Defendant Nicole Chaker contends that Plaintiffs do not sufficiently allege any
    4 cognizable injury to support the causeof action for civil extortion. Id. at 25. Defendant
    5 Nicole Chaker contends that she is          “protected by the litigation privilege under
    6 California Civil Code § 47.” Id. at 29.
    7         Plaintiffs contend that the FAC sufficien tly alleges extortion pursuant to the
    8 California Penal Code as a predicate act for the RICO claims. (ECF No. 60). Plaintiffs
    9 contend that Defendant Darren Chaker “has obtained the Plaintiffs’ property, i.e. the
   10 right to publicity, the goodwill in the business,the Plaintiff’s ability to practice law, the
   11 Plaintiff’s identity and the Plaintiffs’ logo.”Id. at 14-15. Plaintiffs further contend that
   12 the FAC alleges cognizable damages in the form of injury to a business or property.Id.
   13 at 20-21. Plaintiffs contend that federa l law, state law, and California state courts
   14 define “property” broadly toinclude the damage to intangible property interests alleged
   15 in the complaint. Id. at 20-26. Plaintiffs contend that intangible property rights were
   16 obtained by Defendant Darren Chaker. Id. at 26-30. Plaintiffs contend that the Court
   17 should exercise its supplemental jurisdiction over the state law claimof civil extortion.
   18 Id. at 30-31. Plaintiffs contend that the Noerr-Penningtondoctrine has no applicability
   19 to this case. (ECF No. 43 at 25). Plainti ffs contend that Defendant Nicole Chaker is
   20 not protected by the litigation privilege und      er California Civil Code section 47.
   21 Plaintiffs contend that the FAC adequate ly alleges that Def endant Nicole Chaker
   22 conspired to violate § 1962(c). Id. at 20. Plaintiffs contend that the FAC adequately
   23 alleges a civil extortion claim. Id. at 22-23.
   24         A. RICO, 18 U.S.C. § 1962(c)
   25         “The Racketeer Influenced and Corrupt Organizations (‘RICO’) Act . . . provides
   26 for both criminal and civil liability.” Odom v. Microsoft Corp., 486 F.3d 541, 545 (9th
   27 Cir. 2007) (citing Pub. L. No. 91-452, § 901,84 Stat. 922 (1970) (codified at 18 U.S.C.
   28 §§ 1961-1968)). “Under RICO’s civil enforcement mechanism, ‘any person injured in

                                                   -5-                             16cv2186-WQH-MDD



                                             38
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
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                                                12/12/17
                                                 08/28/17   PageID.4262
                                                          PageID.3770
                                                          PageID.3519   Page
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                                                                      Page 12  4616
                                                                            6 of
                                                                              of  of
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    1 his business or property by reason of a violation of [18 U.S.C. § 1962]may sue therefor
    2 in any appropriate United States district court and shall recover threefold the damages
    3 he sustains and the cost of the suit, incl uding a reasonable attorney’s fee . . . .’”
    4 Canyon Cty v. Sygenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008)(citing 18 U.S.C.
    5 § 1964(c)). “Subsections 1962(a) through (c) pr
                                                    ohibit certain ‘pattern[s] of racketeering
    6 activity’ in relation to an ‘enterprise.’” United Bhd. of Carpenters & Joiners of Am. v.
    7 Bldg. & Const. Trades Dep’t, AFL-CIO, 770 F.3d 834, 837 (9th Cir. 2014). “To have
    8 standing under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm
    9 qualifies as injury to his business or property; and (2) that his harm was ‘by reason of’
   10 the RICO violation, which requires the plaintiff to establish proximate causation.” Id.
   11 (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 268 (1992); Sedima,
   12 S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).
   13         Section 1962(c) provides,
   14         It shall be unlawful fo r any person employed by or associated with any
              enterprise engaged in, or the activities ofwhich affect, interstate or foreign
   15         commerce, to conduct or participate, directly or indirectly, in the conduct
              of such enterprise’s affairs through a pattern of racketeering activity or
   16         collection of unlawful debt.
   17 18 U.S.C. § 1962(c). “The elements of a civil RICO claim are as follows: (1) conduct
   18 (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as
   19 ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” United Bhd. of
   20 Carpenters, 770 F.3d at 837 (citing Living Designs, Inc. v. E.I. Dupont de Nemours &
   21 Co., 431 F.3d 353, 361 (9th Cir. 2005)).
   22         “A ‘pattern of racketeering activity’ requires at least two predicate acts of
   23 racketeering activity, as defined in 18 U.S.C. § 1961(1) within a period of ten years.”
   24 Canyon Cty, 519 F.3d at 972. “Racketeering act ivity” as defined by statute includes
   25 “any act or threat involving . . . extortion, . . . which is chargeable under State law.”
   26 18 U.S.C. § 1961(1)(A). To constitute a pred icate act of extortion for purposes of a
   27 RICO cause of action, the alleged act must satisfy the generic definition of extortion –
   28 “obtaining something of value from another with his consent inducted by the wrongful

                                                  -6-                              16cv2186-WQH-MDD



                                            39
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
                            Document 91      Filed
                                      83 Filed
                                          Filed    09/23/22
                                                12/12/17
                                                 08/28/17   PageID.4263
                                                          PageID.3771
                                                          PageID.3520   Page
                                                                      Page
                                                                      Page 13  4716
                                                                            7 of
                                                                              of  of
                                                                                 85
                                     1196


    1 use of force, fear, or threats.”    United Bhd. of Carpenters, 770 F.3d at 8 43 (citing
    2 United States v. Nardello, 393 U.S. 286 (1969)).
    3         In Scheidler v. National Organization for Women, Inc., the Supreme Court
    4 considered whether the use or threat of force,violence or fear to cause a party to “‘give
    5 up’ property rights, namely, ‘a woman’s right to seek medical services from a clinic, the
    6 right of the doctors, nurses or other clinic staff to performtheir jobs, and the right of the
    7 clinics to provide medical services free from wrongful threats, violence, coercion and
    8 fear” constituted Hobbs Act extortion or a state extortion offense for purposes of a
    9 RICO predicate act. 537 U.S. 393, 400-01 (2003)
                                                    . The Court determined that although
   10 “[t]here was no dispute . . . that petitione rs interfered with, disrupted, and in som e
   11 instances completely deprived, respondents of their ability to exercise their property
   12 rights . . . . such acts did not constitute extortion because petitioners did not ‘o btain
   13 respondents’ property.” Id. at 404-05. The Court further stated, “Petitioners may have
   14 deprived or sought to deprive respondents of their exclusive control of their business
   15 assets, but they did not acquire any such property. Petitioners neither pursued nor
   16 received ‘something of value from’ respondents that they could exercise, transfer or
   17 sell.” Id. (citing Nardello, 393 U.S. at 290)).
   18         In this case, Plaintiffs allege that the requisite predicate acts are multiple acts of
   19 extortion in violation of California Penal Code sections 518, 519, and 523.2 An act of
   20 extortion which is chargeable under stat e law can constitute racketeering activity
   21 sufficient to support a RICO claim. See 18 U.S.C. § 1961(1)(A). However, to plead
   22 extortion as a predicate act, Plaintiffs m ust allege facts to show that the act involved
   23 “obtaining something of value from another.” United Bhd. of Carpenters, 770 F.3d at
   24 843; Scheidler, 537 U.S. at 410 (“[W]here as here the Model Penal Codeand a majority
   25 of States recognize the crime of extortion as requiring a party to obtain or to seek to
   26
   27         2
               Plaintiffs allege the cause of ac tion pursuant to 18 U.S.C. § 1962(c) solely
      against Defendant Darren Chaker. Plaintiffsdo not allege the cause of action pursuant
   28 to 18 U.S.C. § 1962(c) against Defendant Nicole Chaker. (ECF No. 25 at 33; ECF No.
      43 at 6).
                                                   -7-                               16cv2186-WQH-MDD



                                             40
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
                            Document 91      Filed
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                                                12/12/17
                                                 08/28/17   PageID.4264
                                                          PageID.3772
                                                          PageID.3521   Page
                                                                      Page
                                                                      Page 14  4816
                                                                            8 of
                                                                              of  of
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                                     1196


    1 obtain property, as the Hobbs Act requires, the state extortion offense for purposes of
    2 RICO must have a sim ilar requirement.”). Plaintiffs allege that various acts by
    3 Defendant Darren Chaker constitute state extortion offenses and predicate acts under
    4 RICO because Defendant Darren Chaker obtained from Plaintiffs the “intangible right
    5 to practice law and publish decisions on theinternet” and the “intangible property right
    6 to practice law free of threats, and to practice in accordance with the California Rules
    7 of Professional Conduct.” (ECF No. 25 at ¶¶ 99-109). The Court concludes that these
    8 factual allegations are insufficient to establish that Defendant Darren Chaker obtained
    9 something of value from Plaintiffs. Scheidler, 537 U.S. at 410. Because Plaintiffs fail
   10 to sufficiently allege a predicate act, Plaintiffs fail to state a claim pursuant to 18 U.S.C.
   11 § 1962(c). See, e.g., United Bhd. of Carpenters, 770 F.3d at 837 (stating that a plaintiff
   12 must properly allege a predicate act to state a claim under RICO). The m otion to
   13 dismiss the cause of action under 18 U.S.C.§1962(c) filed by Defendant Darren Chaker
   14 is granted.
   15         B. RICO Conspiracy, 18 U.S.C. § 1962(d)
   16         Plaintiffs bring a RICO conspiracy cause of action against all Defendants and
   17 allege that
   18         commencing in 2004 and during and continuing at all tim   es to the present,
              RICO defendants conspired to violate section 1962(c), i.e. each defendant
   19         agreed that a conspirator (DARREN) would conduct or participate in the
              affairs of the Enterprise through a pattern of racketeering, including acts
   20         involving extortion in violation of California state law, as m ore fully
              described in the First Claim for Relief.
   21
        (ECF No. 25 at ¶ 116).
   22
              A civil RICO cause of action is available for a violation of 18 U.S.C. § 1962(d).
   23
        See 18 U.S.C. § 1964(c). Pursuant to 18 U .S.C. § 1962(d), it is “unla wful for any
   24
        person to conspire to violate any of the provisions of subsection (a), (b), or (c) of this
   25
        section.” 18 U.S.C. § 1962(d). InHoward v. Am. Online Inc., the Ninth Circuit Court
   26
        of Appeals held that “Plaintiffs cannot claimthat a conspiracy to violate RICO existed
   27
        if they do not adequately plead a substantive violation of RICO.” 208 F.3d 741, 751
   28
        (9th Cir. 2000). The Court has determ ined that Plaintiffs did not adequately plead a

                                                   -8-                              16cv2186-WQH-MDD



                                              41
Case
Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD  Document127-1
                            Document 91      Filed
                                      83 Filed
                                          Filed    09/23/22
                                                12/12/17
                                                 08/28/17   PageID.4265
                                                          PageID.3773
                                                          PageID.3522   Page
                                                                      Page
                                                                      Page 15  4916
                                                                            9 of
                                                                              of  of
                                                                                 85
                                     1196


    1 substantive violation of 18 U.S.C § 1962( c). The m otions to dism iss the RICO
    2 conspiracy cause of action under 18 U.S .C. § 1962(d) filed by Defendants Nicole
    3 Chaker and Darren Chaker are granted.
    4         C. Civil Extortion Under State Law
    5         The civil extortion cause of action a lleged by Plaintiffs against Defendants
    6 Darren Chaker and Nicole Chaker does not ar
                                                ise under federal law. The FAC states that
    7 this case is properly in federal court based on federal question jurisdiction3 and that this
    8 Court has supplemental jurisdiction over the remaining state law claim pursuant to 28
    9 U.S.C. § 1367(a) because it is “so related to the claims in the action within the Court’s
   10 original jurisdiction that they form part of the same case or controversy under Article
   11 III of the United States Constitution.” (ECF No. 25 at 2). The federal supplem ental
   12 jurisdiction statute provides:
   13         [I]n any civil action of which the district courts have original jurisdiction,
              the district courts shall have s upplemental jurisdiction over all other
   14         claims that are so related to claims in the action within such original
              jurisdiction that they form part of the sam e case or controversy under
   15         Article III of the United States Constitution.
   16 28 U.S.C. § 1367(a). “The         district courts m ay decline to exercise supplem ental
   17 jurisdiction over a claim under subsection (a) if . . . the district court has dismissed all
   18 claims over which it has original jurisdiction[.]” 28 U.S.C. § 1367(c).
   19         Having dismissed the only federal claim s asserted against Defendant Darren
   20 Chaker and Nicole Chaker, the Court declines to exercisesupplemental jurisdiction over
   21 this state law claim pursuant to 28 U.S.C. § 1367(c). See San Pedro Hotel Co., Inc. v.
   22 City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998). The m
                                                                  otions to dismiss the civil
   23 extortion cause of action f iled by Defendants Nicole Chaker and Darren Chaker are
   24 granted.
   25 V. MOTIONS TO STRIKE BY DARREN CHAKER AND NICOLE CHAKER
   26
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              Plaintiffs also allege, “This Court has subject-matter jurisdiction over this action
      pursuant to 28 U.S.C. § 1332.” (ECF No. 25 at ¶ 1). Plaintiffs have failed to allege
   28 sufficient facts to establish diversity jurisdiction and this statem ent appears to be in
      reference to 28 U.S.C. § 1331.
                                                   -9-                              16cv2186-WQH-MDD



                                             42
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed
                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4266
                                                        PageID.3523
                                                        PageID.3774   Page
                                                                    Page    5085
                                                                         10 of
                                                                         16     of
                                                                               16
                                    1196


    1 (ECF Nos. 55, 36)
    2         Defendant Darren Chaker filed a motion to strike portions of the FAC pursuant
    3 to Federal Rule of Civil Procedure 12(f). (ECF No. 55). The Court has dismissed the
    4 FAC as to Darren Chaker. Accordingly, the Court denies as moot Defendant Darren
    5 Chaker’s motion to strike. (ECF No. 55).
    6         Defendant Nicole Chaker filed an anti-SLAPP motion to strike the third cause of
    7 action pursuant to California Code of Civil Procedure section 425.16 and for an award
    8 of attorney’s fees pursuant to Californi a Code of Civil Procedure section 425.16(c).
    9 (ECF No. 36). As a result of the Court’s decision to decline supplemental jurisdiction
   10 over the state law civil extortion claim, th e Court does not reach the merits of this
   11 motion. The Court denies as moot Defendant Nicole Chaker’s anti-SLAPP motion to
   12 strike and for attorney’s fees and costs. (ECF No. 36).
   13 VI. MOTION TO DISMISS OR QUASH SERVICE BY VANIA CHAKER (ECF
   14 No. 59)
   15         “Specially Appearing Defendant” Vani a Chaker moves the Court pursuant to
   16 Rule 12(b)(5) for an order dism issing the co mplaint or alternatively, for an order
   17 quashing defective service. (ECF No. 59) . Defendant Vania Chaker contends that
   18 Plaintiffs failed to serve her prior to theCourt’s February 27, 2017 deadline for service.
   19 Id. at 4. Defendant Vania Chaker contends thatPlaintiffs failed to serve her by personal
   20 service on February 6, 2017 at 6:02 p.m. as represented to the Court by Plaintiffs. Id.
   21 at 3. Defendant Vania Chaker contendsthat she has “strong and convincing” evidence
   22 that Plaintiff’s purported proof of service isfabricated because Defendant Vania Chaker
   23 was not at this location at that tim e.4 Id. at 3-5. Defendant Vania Chaker further
   24
   25         4
              Defendant Vania Chaker requests judicial notice of decision of the California
      Court of Appeal, Fourth District, Division 1. (ECF No. 59-3). Plaintiffs object to the
   26 request for judicial notice. (ECF No. 64-5). The Court does not rely on this material
      in reaching its decision and denies the request for judicial notice. See, e.g., Asvesta v.
   27 Petroutsas, 580 F.3d 1000, 1010 n. 12 (9th Cir. 2009) (denying request for judicial
      notice where judicial notice would be “unnecessary”). Additionally, Defendant Vania
   28 Chaker filed evidentiary objections to declarations filed by Plaintiffs. (ECF Nos. 69-2,
      69-3, 69-4). The Court has reviewed and considered these objections. A ruling on
                                                 - 10 -                           16cv2186-WQH-MDD



                                            43
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
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                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4267
                                                        PageID.3524
                                                        PageID.3775   Page
                                                                    Page    5185
                                                                         11 of
                                                                         17     of
                                                                               16
                                    1196


    1 contends that the Summons filed by Plaintiffs incorrectly names Vania Chaker as an
    2 individual and as trustee of Vania Chaker Trust. Id. at 3. Defendant Vania Chaker
    3 contends she should be dism issed from this action because Plain tiffs have failed to
    4 complete service despite two extensions oftime and have failed to establish good cause
    5 for another extension of time. Id. at 7.
    6         Plaintiffs contend that Defendant Vania Chaker was properly served on Feburary
    7 6, 2017. Plaintiffs contend that the evid ence offered in support of Defendant Vania
    8 Chaker’s motion is not credible and does notestablish that she was not home at the time
    9 stated in the proof of service filed with the Court. 5 (ECF No. 64). Plaintiffs contend
   10 that the Court should find service proper based on the substantial compliance doctrine.
   11 Id. at 5-6. Plaintiffs request that the Court deny this motion and order Defendant Vania
   12 Chaker to respond to the complaint within ten days. Plaintiffs request that, if the Court
   13 grants any portion of the motion, the Court extend time for service, designate counsel
   14 for Vania Chaker as agent for service of process, and order that her counsel accept the
   15 service by email. Id. at 8.
   16         A. Legal Standard
   17         “Without a proper basis for jurisdiction, or in the absence of service of process,
   18 the district court has no power to render any judgment against the defendant’s person
   19 or property unless the defendant has consente d to jurisdiction or waived the lack of
   20 process.” S.E.C. v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007). “A federal court is
   21 without personal jurisdiction over a defendant unless the defendant has been served in
   22 accordance with Fed.R.Civ.P. 4.” Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986),
   23 amended, 807 F.2d 1514 (9th Cir. 1987) (citingJackson v. Hayakawa, 682 F.2d 1344,
   24 1347 (9th Cir. 1982)). Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant
   25 to move to dismiss the complaint for insufficient service of process. Fed. R. Civ. P.
   26
        these objections is not necessary to resolve this motion.
   27
              5
              Plaintiffs filed evidentiary objections to the declaration filed by Vania Chaker
   28 in support of her m otion. (ECF No. 64-4) . The Court has revi ewed and considered
      these objections. A ruling on these objections is not necessary to resolve this motion.
                                                 - 11 -                           16cv2186-WQH-MDD



                                            44
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
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                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4268
                                                        PageID.3525
                                                        PageID.3776   Page
                                                                    Page    5285
                                                                         12 of
                                                                         18     of
                                                                               16
                                    1196


    1 12(b)(5). Once a party challenges service, th e plaintiff bears the burden to show that
    2 service was valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
    3 The court has discretion to dismiss an action or quash service if there is insufficiency
    4 of process or insufficiency of service. See SHJ v. Issaquah School District No. 411, 470
    5 F.3d 1288, 1293 (9th Cir. 2006) (citing Stevens v. Security Pac. Nat’l Bank, 538 F.2d
    6 1387, 1389 (9th Cir. 1976)).
    7         Under Federal Rule of Civil Procedure 4(e), a plaintiff may serve an individual
    8 within a judicial district of the Unite    d States by (1) following state law service
    9 requirements, or (2) service m ay be effected upon an individual by (A) delivering a
   10 copy of the summons and complaint to the individual personally, (B) by leaving a copy
   11 of each “at the individual’s dwelling or usual place of abode” with someone of suitable
   12 age and discretion who resides there; or (C) by delivering a copy of each to an “agent
   13 authorized by appointment or by law to receive service of process.” Fed. R. Civ. P.
   14 4(e).
   15         California Code of Civil Procedure section 415.20(a) states,
   16         In lieu of personal delivery of a copyof the summons and complaint to the
              person to be served...a summons may be served by leaving a copy of the
   17         summons and complaint during usual office hours in his or her office, or
              if no physical address is known, at his or her usual mailing address... with
   18         the person who is apparently in charge thereof, and by thereafter mailing
              a copy of the summons and complaint by first-class mail, postage prepaid
   19         to the person to be served at the place where a copy of the summons and
              complaint were left....
   20
        Cal. Code of Civ. P. § 415.20(a).
   21
              If a party receives sufficient notice of the complaint, Rule 4 is to be “liberally
   22
        construed” to uphold service. Chan v. Soc’y Expeditions, Inc., 39 F.3d 1398, 1404 (9th
   23
        Cir. 1994). “However, ‘neither actual notice nor simply naming the defendant in the
   24
        complaint will provide personal jurisdiction without substantial compliance with Rule
   25
        4.’” Travelers Cas. & Sur. Co. of Am. v. Brenneke, 551 F.3d 1132, 1135 (9th Cir. 2009)
   26
        (citing Benny, 799 F.2d at 492 (citation and quotes omitted)).
   27
              B. Discussion
   28
              Plaintiffs filed their original complaint on August 29, 2016 (ECF No. 1) and the

                                                 - 12 -                           16cv2186-WQH-MDD



                                            45
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed
                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4269
                                                        PageID.3526
                                                        PageID.3777   Page
                                                                    Page    5385
                                                                         13 of
                                                                         19     of
                                                                               16
                                    1196


    1 FAC on December 5, 2016 (ECF No. 25). OnDecember 20, 2016, this Court issued an
    2 order granting Plaintiffs a second extension of time in which to complete service upon
    3 Defendant Vania Chaker. (ECF No. 38). The Order stated, “Plaintiffs’ new deadline
    4 to achieve service on Vania Chaker is Monday, February 27, 2017.” Id.
    5         On February 27, 2017, Plaintiffs filed Proof of Service of Sum       mons in the
    6 Complaint. (ECF No. 58). The docum ent states that Defendant Vania Chaker was
    7 served by personal service on February        6, 2017 at 6:02 p.m . in San Diego by a
    8 registered process server. (ECF No. 58). Defendant Vania Chaker asserts she was not
    9 served on February 6, 2017. Defendant Vania Chaker provides receipts frompurchases
   10 she made in Manhattan Beach, Cali fornia around the time of service on February 6,
   11 2017 to establish that she was not in San Diego at this time and date.
   12         In a declaration filed in support of Plai
                                                     ntiffs’ opposition, the process server states
   13 that on February 6, 2017 around6 p.m., he observed Vania Chaker at the address stated
   14 in the proof of service document. He states that he
   15         jogged up towards the driveway, calling out “Hey you, Vania” or words
              to that effect. When I made the st atement Ms. Chaker was in speaking
   16         distance to me, and my voice was sufficiently elevated to provide her
              notice that I was attempting to contact her. However, upon hearing my
   17         shout, Ms. Chaker, who had exited from the garage . . . made a dash for
              the front floor of the house. . . . Ms. Chaker entered the house and closed
   18         the door behind her. . . .I called out service by stating “your served Vania
              Chaker”, and I tossed the papers over the fence, . . . I was not able to
   19         actually ‘touch’ her with the papers as she was behind a closed gate, and
              I did not intend to go off the public      sidewalk onto private property.
   20         However I was within 10 yards of her, and as close as I could get in light
              of the barrier imposed by her fence.
   21
        (ECF No. 64-1 at 4).
   22
              Based on the statements offered in the declaration by the process server, the
   23
        Court cannot conclude that Plaintiffs delivered a copy of the summons and complaint
   24
        to Defendant Vania Chaker personally. See Fed. R. Civ. P. 4(e). Plaint iffs further
   25
        contend that the Court should uphold serviceas proper under the substantial compliance
   26
        doctrine. In Travelers Cas. & Sur. Co. of Am. v. Brenneke, the Ninth Circuit Court of
   27
        Appeals held,
   28
              Sufficient service m ay be found wher e there is a good faith effort to

                                                 - 13 -                           16cv2186-WQH-MDD



                                            46
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed
                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4270
                                                        PageID.3527
                                                        PageID.3778   Page
                                                                    Page    5485
                                                                         14 of
                                                                         20     of
                                                                               16
                                    1196


    1         comply with the requirem ents of Rule 4(e)(2) which has resulted in
              placement of the s ummons and co mplaint within the defendant’s
    2         immediate proximity and further com pliance with Rule 4(e)(2) is only
              prevented by the defendant’s knowing and intentional actions to evade
    3         service.
    4 551 F.3d at 1136. While Plaintiffs assert that Defendant Vania Chaker has attempted
    5 to evade service and that the process server left the papers in her proximity, Defendant
    6 Vania Chaker provides evidence that she wa s not present at the address when the
    7 alleged service was com pleted. The Court concludes that Plaintiffs have failed to
    8 satisfy their burden to dem onstrate that service upon Defendant Vania Chaker was
    9 proper under Rule 4. See id. at 1135 (“neither actual notice nor simply nam ing the
   10 defendant in the com plaint will provide personal jurisdiction without substantial
   11 compliance with Rule 4.”). Th e Court grants Defendant Vania Chaker’s m otion to
   12 quash service of process. See Issaquah School District No. 411, 470 F.3d at 1293
   13         However, the Court has dete rmined that Plaintiffs did not adequately plead a
   14 substantive violation of 18 U .S.C § 1962(c). A ccordingly, Plaintiffs’ claim for a
   15 conspiracy to violate RICO pursuant to18 U.S.C. § 1962(d) necessarily fails.See supra
   16 Part IV.B; Howard, 208 F.3d at 751. Conspiracy to violate RICO pursuant to 18 U.S.C.
   17 § 1962(d) is the only cause of action allege d against Defendant Vania Chaker. The
   18 Court dismisses the FAC without prejudice as to Defendant Vania Chaker. (ECF No.
   19 25).
   20 VII. MOTION FOR SANCTIONS BY DARREN CHAKER (ECF No. 66)
   21         Defendant Darren Chaker filed a motion for sanctions against Plaintiffs pursuant
   22 to Rule 11 of the Federal Rules of Civil Procedure, or alternatively, the Court’s inherent
   23 power. (ECF No. 66). Defendant Darren Chaker contends that sanctions are warranted
   24 because (1) the allegations in the FAC        are “factually baseless from an objective
   25 perspective, and were included in the FA C for an improper purpose”; (2) Plaintiffs’
   26 RICO claims are frivolous; and (3) Plainti ffs’ RICO claim s were brought “for the
   27 improper purpose of naming Darren’s mother . . . and sister . . . asDefendants . . . solely
   28 to harass Darren and his family.” Id. at 2.

                                                 - 14 -                           16cv2186-WQH-MDD



                                            47
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed
                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4271
                                                        PageID.3528
                                                        PageID.3779   Page
                                                                    Page    5585
                                                                         15 of
                                                                         21     of
                                                                               16
                                    1196


    1         Plaintiffs contend that the motion is without merit and that the allegations of the
    2 FAC are proper, non-frivolous, and sufficiently supported by facts. (ECF No. 75).
    3         Rule 11 of the Federal Rules of Civil Procedure provides in part,
    4         b) Representations to the Court. By presenting to the co urt a pleading,
              written motion, or other paper--whether by signing, filing, submitting, or
    5         later advocating it--an attorney or unrepresented party certifies that to the
              best of the person's knowledge, information, and belief, formed after an
    6         inquiry reasonable under the circumstances:
    7         (1) it is not being presented for any improper purpose, such as to harass,
              cause unnecessary delay, or needlessly increase the cost of litigation;
    8
              (2) the claim s, defenses, and other legal contentions are warranted by
    9         existing law or by a nonfrivolous argument for extending, modifying, or
              reversing existing law or for establishing new law;
   10
              (3) the factual contentions have evidentiary support or, if specifically so
   11         identified, will likely have evidentiary support after a reasonable
              opportunity for further investigation or discovery;...
   12
        Fed. R. Civ. P. 11(b)(3). When a “com         plaint is the prim ary focus of Rule 11
   13
        proceedings, a district cour t must conduct a two-prong analysis to determ ine (1)
   14
        whether the complaint is legally or factuallybaseless from an objective perspective, and
   15
        (2) if the attorney has conducted a reasonable and competent inquiry before signing and
   16
        filing it.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (quotation
   17
        omitted). “As shorthand for this test, weuse the word ‘frivolous’ to denote a filing that
   18
        is both baseless and m ade without a reasonable and competent inquiry.” Holgate v.
   19
        Baldwin, 425 F.3d 671, 676 (9th Cir. 2005) (quotation omitted).
   20
              After reviewing the motion and the submissions of the parties, the Court finds
   21
        that the record in this case does not support the imposition of sanctions at this stage in
   22
        the proceedings. The motion for sanctions is denied. (ECF No. 66).
   23
        VIII. CONCLUSION
   24
              IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion to dismiss
   25
        the First Amended Complaint is granted. (ECF No. 56). The First Amended Complaint
   26
        (ECF No. 25) is dism issed without prejudice as to Defendant Darren Chaker.
   27
        Accordingly, Defendant Darren Chaker’s         motion to strike portions of the First
   28
        Amended Complaint pursuant to Federal Ru le of Civil Procedure 12(f) is denied as

                                                  - 15 -                           16cv2186-WQH-MDD



                                             48
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed
                                    83           09/23/22
                                              08/28/17
                                              12/12/17    PageID.4272
                                                        PageID.3529
                                                        PageID.3780   Page
                                                                    Page    5685
                                                                         16 of
                                                                         22     of
                                                                               16
                                    1196


    1 moot. (ECF No. 55).
    2         IT IS HEREBY ORDERED that DefendantDarren Chaker’s motion for sanctions
    3 is denied. (ECF No. 66)
    4         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion to dismiss
    5 the First Amended Complaint is granted. (ECF No. 35). The First Amended Complaint
    6 (ECF No. 25) is dismissed without prejudice as to Defendant Nicole Chaker. Defendant
    7 Nicole Chaker’s anti-SLAPP motion to strike and for attorneys’ fees and costs is denied
    8 as moot. (ECF No. 36).
    9         IT IS HEREBY ORDERED that DefendantVania Chaker’s motion to quash the
   10 service of process is granted. (ECF No
                                           . 59). The Court quashes service upon Defendant
   11 Vania Chaker and grants Plaintiffs sixt y (60) days from the date any am ended
   12 complaint is filed upon which to perfectservice upon Vania Chaker in accordance with
   13 the requirements of Federal Rule of Civil Procedure 4.
   14         IT IS FURTHER ORDERED that the First Amended Complaint (ECF No. 25)
   15 is dismissed without prejudice as to Defendant Vania Chaker. Plaintiffs shall file any
   16 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   17 thirty (30) days of the date this Order is issued.
   18 DATED: August 28, 2017
   19
                                                 WILLIAM Q. HAYES
   20                                            United States District Judge
   21
   22
   23
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                                                 - 16 -                         16cv2186-WQH-MDD



                                            49
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
                                              12/12/17    PageID.4273
                                                        PageID.3781   Page
                                                                    Page    5785
                                                                         23 of of
                                    1196




                         Exhibit “B”
                                       50
Case
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD   Document127-1
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                                                 10/10/17   PageID.4274
                                                          PageID.3782
                                                           PageID.3745   Page
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                                                                             1 of  of
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    7
    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
   28

                                                  -1-                           16cv2186-WQH-MDD



                                            51
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
                                              12/12/17    PageID.4275
                                                        PageID.3783   Page
                                                                    Page    5985
                                                                         25 of of
                                    1196




                         Exhibit “C”
                                       52
   Case
   Case 3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                              Document 127-1  Filed
                                       91 Filed     09/23/22
                                                 12/12/17    PageID.4276
                                                           PageID.3784   Page
                                                                       Page    6085
                                                                            26 of of
                                       1196
                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                        November 06, 2017


       No.:                17-56676
       D.C. No.:           3:16-cv-02186-WQH-MDD
       Short Title:        Scott McMillan, et al v. Darren Chaker, et al


      Dear Appellant/Counsel

      A copy of your notice of appeal/petition has been received in the Clerk's office of
      the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
      Appeals docket number shown above has been assigned to this case. You must
      indicate this Court of Appeals docket number whenever you communicate with
      this court regarding this case.

      Please furnish this docket number immediately to the court reporter if you place an
      order, or have placed an order, for portions of the trial transcripts. The court
      reporter will need this docket number when communicating with this court.

      The due dates for filing the parties' briefs and otherwise perfecting the appeal
      have been set by the enclosed "Time Schedule Order," pursuant to applicable
      FRAP rules. These dates can be extended only by court order. Failure of the
      appellant to comply with the time schedule order will result in automatic
      dismissal of the appeal. 9th Cir. R. 42-1.

      Appellants who are filing pro se should refer to the accompanying
      information sheet regarding the filing of informal briefs.




                                               53
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
                                              12/12/17    PageID.4277
                                                        PageID.3785   Page
                                                                    Page    6185
                                                                         27 of of
                                    1196



                     UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     NOV 06 2017
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN; THE                       No. 17-56676
    MCMILLAN LAW FIRM, APC,
                                                 D.C. No. 3:16-cv-02186-WQH-MDD
                 Plaintiffs - Appellants,
                                                 U.S. District Court for Southern
     v.                                          California, San Diego

    DARREN D. CHAKER, an                         TIME SCHEDULE ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics;
    VANIA CHAKER, an individual and
    as beneficiary of The Island
    Revocable Trust under Declaration of
    Trust dated June 2, 2015; NICOLE
    CHAKER, an individual, and as
    trustee of THE NICOLE CHAKER
    REVOCABLE LIVING TRUST,
    U/A dated August 18, 2010,

                 Defendants - Appellees.




   The parties shall meet the following time schedule.

   Thu., January 4, 2018         Appellant's opening brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.
   Mon., February 5, 2018        Appellee's answering brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.

                                            54
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
                                              12/12/17    PageID.4278
                                                        PageID.3786   Page
                                                                    Page    6285
                                                                         28 of of
                                    1196
   The optional appellant's reply brief shall be filed and served within 21 days of
   service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

   Failure of the appellant to comply with the Time Schedule Order will result in
   automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: John Brendan Sigel
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7




                                         55
   Case
   Case 3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                              Document 127-1  Filed
                                       91 Filed     09/23/22
                                                 12/12/17    PageID.4279
                                                           PageID.3787   Page
                                                                       Page    6385
                                                                            29 of of
                                       1196



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                     United States Court of Appeals for the Ninth Circuit
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                             San Francisco, California 94119-3939
                                         415-355-8000
Molly C. Dwyer
Clerk of Court



                                  ATTENTION
                 YOU ARE NOT REGISTERED FOR ELECTRONIC FILING



       You are listed as counsel of record in this new appeal/petition but you are not
       registered for electronic filing with this Court. See Ninth Circuit Rule 25-5.

       Until you register for electronic filing or provide the Court with proof of an
       exemption, you will not receive further notice of filings from the Court in this case,
       including important scheduling orders and orders requiring a response. Failure to
       respond to a Court order or otherwise meet an established deadline can result in the
       dismissal of the appeal for failure to prosecute by the Clerk pursuant to Ninth
       Circuit Rule 42-1, or other action adverse to your client.

       Please register for electronic filing with the Court immediately or file a
       notice/motion to withdraw as counsel from this appeal.

       To register for electronic filing, and for more information about Ninth Circuit
       CM/ECF, visit our website at http://www.ca9.uscourts.gov/cmecf/#section-
       registration.




                                                 56
     Case
     Case 3:16-cv-02186-WQH-MDD
          3:16-cv-02186-WQH-MDD Document
                                Document 127-1  Filed
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                                                   12/12/17    PageID.4280
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17-56676 •




        Rebecca Jo Smith
        Freeman Mathis & Gary, LLP
        550 S. Hope Street
        22nd Floor
        Los Angeles, CA 90071




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       CLERK, U.S. COURT OF APPEALS                                          neopost-
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Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
                                              12/12/17    PageID.4282
                                                        PageID.3790   Page
                                                                    Page    6685
                                                                         32 of of
                                    1196




                         Exhibit “D”
                                       59
 Case
  Case3:16-cv-02186-WQH-MDD
 Case  3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
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 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Nebo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                     Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional      Judge: Hon. William Q. Hayes
12   Corporation,                              Courtroom: 14B

13   Plaintiffs,
                                               NOTICE OF APPEAL;
14   v.                                        STATEMENT OF
                                               REPRESENTATION [9TH Cir. R. 3-
15   DARREN D. CHAKER an individual,           2]
     and as trustee of PLATINUM
16   HOLDINGS GROUP TRUST, dba
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as
     trustee of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA
19   CHAKER, an individual and as
     beneficiary of The Island Revocable
20   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
21   trustee of The Island Revocable Trust
     under Declaration of Trust dated June
22   2, 2015,

23   Defendants.

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 Case
  Case3:16-cv-02186-WQH-MDD
 Case  3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
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                                                           PageID.3792
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                                                                              2 of  of
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 1           Notice is hereby given that Plaintiffs Scott A. McMillan and The McMillan
 2 Law Firm, APC ("Plaintiffs"), hereby appeal to the United States Court of Appeal
 3 for the Ninth Circuit from the order closing this case entered on October 10, 2017
 4 [ECF 86], a copy of which is attached hereto, and the prior adverse rulings.
 5 Dated: November 5, 2017                        Respectfully submitted,
 6
 7                                                /s/ Scott A. McMillan
                                                  Scott A. McMillan, SBN 212506
 8                                                Attorneys for Plaintiffs
 9
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     3:16-CV-02186                  NOTICE OF APPEAL                                     2

                                             61
Case
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
     3:16-cv-02186-WQH-MDD   Document127-1
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                                                          PageID.3793
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                                                                        Page35 696
                                                                             1 of
                                                                             3    1of
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    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
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                                            62
 Case
  Case3:16-cv-02186-WQH-MDD
 Case  3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 91      Filed
                                       87 Filed
                                           Filed    09/23/22
                                                 12/12/17
                                                  11/05/17   PageID.4286
                                                           PageID.3794
                                                            PageID.3749   Page
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                                                                              4 of  of
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 1                            NOTICE OF REPRESENTATION
                                  [Ninth Circuit Rule 3-2]
 2
 3    The McMillan Law Firm, APC             Scott A. McMillan, CBN 212506
 4    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 5                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 6
      Scott A. McMillan                      Scott A. McMillan, CBN 212506
 7    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 8                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 9
10
      Darren D. Chaker                       Represented by
11    an individual, and as trustee of       Charles Thomas Spagnola
      PLATINUM HOLDINGS GROUP                Sullivan Krieger Truong Spagnola &
12    TRUST                                  Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
13    Defendant - Appellee                   Long Beach, CA 90802
                                             562-597-7070
14                                           Fax: 562-597-7772
                                             Email:
15                                           cspagnola@sullivankrieger.com
16                                           Eliot Franklin Krieger
                                             Sullivan Krieger Truong Spagnola &
17                                           Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
18                                           Long Beach, CA 90802
                                             562-597-7070
19                                           Fax: 562-597-7772
                                             Email: ekrieger@sullivankrieger.com
20                                           Adam M Tamburelli
21                                           Sullivan, Krieger, Truong, Spagnola &
                                             Klausner, LLP
22                                           444 West Ocean Boulevard
                                             Suite 1700
23                                           Long Beach, CA 90802
                                             562-597-7070
24                                           Email:
                                             atamburelli@sullivankrieger.com
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     3:16-CV-02186                 NOTICE OF APPEAL                                  4

                                           63
 Case
  Case3:16-cv-02186-WQH-MDD
 Case  3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
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                                                                              5 of  of
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 1    Vania Chaker                              Represented by
 2    an individual and as beneficiary of The
      Island Revocable Trust under              Ryan G. Baker
 3    Declaration of Trust dated June 2,        Baker Marquart, LLP
      2015                                      2029 Century Park East
 4                                              Suite 1600
                                                Los Angeles, CA 90067
 5    Defendant - Appellee                      (424) 652-7800
                                                Fax: (424) 652-7850
 6                                              Email: rbaker@bakermarquart.com
      Nicole Chaker                             Represented by
 7    an individual, and as trustee of
      The Nicole Chaker Revocable               Rebecca Jo Smith
 8    Living Trust, U/A dated August 18,        Freeman Mathis & Gary, LLP
      2010                                      550 S. Hope St.
 9                                              22nd Floor
                                                Los Angeles, CA 90071
10    Defendant - Appellee                      213-615-7008
                                                Fax: 216-615-7100
11                                              Email: rjs@gilbertkelly.com
12
                                                Timothy W Kenna
13                                              Freeman Mathis & Gary, LLP
                                                550 South Hope Street
14                                              22nd Floor
                                                Los Angeles, CA 90071
15                                              (213)615-7116
                                                Fax: (213)615-7100
16                                              Email: t.kenna@gilbertkelly.com
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     3:16-CV-02186                 NOTICE OF APPEAL                               5

                                            64
 Case
  Case3:16-cv-02186-WQH-MDD
 Case  3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 91      Filed
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                                                                              6 of  of
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 1                               CERTIFICATE OF SERVICE
 2           I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5           On November 5, 2017, I caused service of the following documents:
 6
 7 NOTICE OF APPEAL; STATEMENT OF REPRESENTATION [9TH Cir. R.
 8 3-2].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court's Electronic Filing Program on the designated
12 recipients via electronic transmission through the CM/ECF system on the Court's
13 website. The Court's CM/ECF system will generate a Notice of Electronic Filing
14 (NEF) to the filing party, the assigned judge, and any registered users in the case.
15 The NEF will constitute service of the document(s). Registration as a CM/ECF
16 user constitutes consent to electronic service though the court's transmission
17 facilities.
18
             I certify that the foregoing is true and correct.
19
             Dated: November 5, 2017
20
                                                      /s/ Scott A. McMillan
21                                                    ______________________
22                                                    Scott A. McMillan
23
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     3:16-CV-02186                     NOTICE OF APPEAL                                   6

                                                 65
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1  Filed
                                    91 Filed     09/23/22
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                                                                    Page    7385
                                                                         39 of of
                                    1196




                         Exhibit “E”
                                       66
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4290
                                                         PageID.3798   Page
                                                                     Page    7485
                                                                          40 of of
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1    Scott A. McMillan, CBN 212506
     THE MCMILLAN LAW FIRM , APC
2    4670 Nebo Drive, Suite 200
     La Mesa, California 91941-5230
3    (619) 464-1500 x 14
     Fax: (619) 828-7399
4
     Attorney for Plaintiff,
5    Scott A. McMillan and The McMillan Law Firm, APC
6
7
8                            CALIFORNIA SUPERIOR COURT
9                                COUNTY OF SAN DIEGO
10
     SCOTT A. MCMILLAN, an individual,               Civil Case No.:
11   THE MCMILLAN LAW FIRM, APC, a
     California professional corporation,            Complaint for Damages and Injunctive
12                                                   Relief arising from
           Plaintiffs,                               1.     Civil Extortion
13                                                   2.     Unfair Competition, Bus. & Prof.
           vs.                                              Code section 17200
14
     DARREN D. CHAKER an individual, and                  DEMAND FOR JURY TRIAL
15   as trustee of PLATINUM HOLDINGS
     GROUP TRUST, dba COUNTER
16   FORENSICS; NICOLE CHAKER, an
     individual, and as trustee of THE NICOLE
17   CHAKER REVOCABLE LIVING TRUST,
     U/A dated August 18, 2010, VANIA
18   CHAKER, an individual and as beneficiary
     of The Island Revocable Trust under
19   Declaration of Trust dated June 2, 2015,
     MARCUS MACK as trustee of The Island
20   Revocable Trust under Declaration of
     Trust dated June 2, 2015, and DOES 1
21   through X, inclusive,
22         Defendants.
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                                                67
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4291
                                                         PageID.3799   Page
                                                                     Page    7585
                                                                          41 of of
                                     1196


1    Plaintiffs allege as follows:
2           1. On August 28, 2017, the United States District Court for the Southern District
3    of California entered an order of dismissal of the action Scott McMillan, et al., v. Darren
4    Chaker, et al., U.S.D.C So. Dist. Case No. 3:16-cv-2186 (“Federal Action”) entered an
5    order granting a motion to dismiss the federal claim for Racketeering, and declined to
6    exercise supplemental jurisdiction over the supplemental state claims. [ECF 83.] 28
7    U.S.C. section 1367, subdivision (d) tolls the applicable statute of limitations for such
8    claims during the pendency of the Federal Action. The Federal Action was filed on August
9    29, 2016.
10                                           THE PARTIES
11          2. Plaintiff, SCOTT A. MCMILLAN (hereinafter referred to as “Plaintiff
12   McMillan”), is a resident of the State of California, County of San Diego. Plaintiff is a
13   California licensed attorney, and is engaged in intra-state, and interstate commerce in the
14   course of his practice. Plaintiff McMillan also operates a law school, the McMillan
15   Academy of Law, a California corporation, which is unaccredited, but registered with the
16   Committee of Bar Examiners, State Bar of California. Plaintiff McMillan has a property
17   interest in the right to practice his profession as a licensed attorney.
18          3. Plaintiff, THE MCMILLAN LAW FIRM, APC, a California professional
19   corporation, (hereinafter referred to as “Plaintiff TMLF”) has its principal place of
20   business in the County of San Diego, State of California. Plaintiff McMillan operates
21   Plaintiff TMLF. TMLF has a property interest in its “goodwill” as such term is defined at
22   California Business and Professions Code sections 14100 and 14102.
23          4. Defendant, DARREN CHAKER (a.k.a. Darren Del Nero a.k.a. Darren Del Nero-
24   Chaker a.k.a. Darren Shaker, a.k.a. D. David Hunter) (hereinafter referred to as “Defendant
25   DARREN”), is presently a resident of the State of California, County of San Diego.
26   Defendant DARREN conducts business through and holds assets as trustee in PLATINUM
27   HOLDINGS GROUP TRUST, a self-settled trust. Plaintiff is further informed and believes
28   that Defendant DARREN conducts business under the pseudonym or doing-business-as


                                                Complaint                                          2

                                                    68
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4292
                                                         PageID.3800   Page
                                                                     Page    7685
                                                                          42 of of
                                     1196


1    “COUNTER FORENSICS.” Defendant DARREN was deemed a vexatious litigant in
2    Superior Court of California, County of San Diego Case Nos. 591421 (December 2, 1997)
3    and GIC757326 (June 22, 2001).
4             5. Defendant VANIA CHAKER, also know as Valentina Chanel, (hereinafter
5    referred to as “Defendant VANIA”) is presently a resident of the State of California,
6    County of San Diego, and is Defendant’s Darren’s sister. On one or more occasions,
7    VANIA has participated in the acts set forth herein, providing assistance to Defendant
8    DARREN in committing predicate acts. Plaintiff is informed and believes that Defendant
9    VANIA conducts business through and holds assets as beneficiary in a self-settled trust,
10   which shall be referred to herein as THE ISLAND REVOCABLE TRUST, dated June 2,
11   2005. Defendant Marcus Mack is sued solely in his capacity as Trustee of the THE
12   ISLAND REVOCABLE TRUST, dated June 2, 2005.
13            6. Defendant NICOLE CHAKER (hereinafter referred to as “Defendant NICOLE”),
14   is the mother of Defendant DARREN and Defendant VANIA. On one or more occasions,
15   Defendant NICOLE has participated in the acts set forth herein, providing assistance to
16   Defendant DARREN in committing predicate acts. Plaintiff is informed and believes that
17   Defendant NICOLE conducts business through and holds assets as trustee in a trust, which
18   shall be referred to herein as THE NICOLE CHAKER REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010. Defendant NICOLE is sued both individually and as trustee of said
20   trust.
21            7. Plaintiffs do not know the true names of Defendants DOES I-X, inclusive, and
22   therefore sues them by those fictitious names. Plaintiffs will amend this complaint to
23   allege their true names and capacities when ascertained. Plaintiffs are informed and believe,
24   and on the basis of that information and belief, alleges that each of those fictitiously named
25   Defendants were in some manner proximately responsible for the events and occurrences
26   alleged in this complaint, and that Plaintiff’s injuries and damages as alleged herein were
27   proximately caused by the acts of these Defendants.
28            8. Plaintiff is informed and believes, and on the basis of that information and belief,


                                                Complaint                                           3

                                                    69
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4293
                                                         PageID.3801   Page
                                                                     Page    7785
                                                                          43 of of
                                     1196


1    alleges that at all times mentioned in this complaint, Defendants were the agents and
2    employees of their co-defendants, and in doing the things alleged in this complaint were
3    acting within the course and scope of that agency and employment.
4           9. Plaintiffs are informed and believe, and based thereon alleges that Defendants
5    and each of them, including DOES 1 through X, inclusive, were the co-employers, agents,
6    servants, employees, successors, assignees, transferees, trustees, and/or joint venturers of
7    its co-defendants, and each was, as such, acting within the course, scope and authority of
8    said agency, employment and/or joint venture and was acting with the consent, permission
9    and authorization of each of the remaining Defendants. Also, Defendants, when acting as a
10   principal, may have been negligent in the selection and hiring of each and every other
11   Defendant as agent, employee and/or joint venturer. All actions of each Defendant as
12   alleged herein were ratified and approved by every other Defendant or its officers or
13   managing agents.
14         DEFENDANTS’ ENTERPRISE AND PRIOR ACTIONS IN CONCERT
15          10. Defendants rely on keeping their past conduct, criminal convictions, lawsuits,
16   and generally bad reputation out of public view. To accomplish this the defendants
17   regularly use pseudonyms, attempt to seal documents and proceedings which may alert the
18   public to information about Defendants that if known, would provide a defense or would
19   affect a fact-finder’s view on their credibility.
20          11. Defendant DARREN falsely, and in order to gain credibility with unknowing law
21   enforcement and laypersons, holds himself out as a former law enforcement officer or
22   government security employee, including at various times claiming an “Ex-cop” or to be an
23   employee of the “Diplomatic Security Service.”
24          12. Plaintiffs are informed and believe, and based thereon allege that Defendant
25   VANIA is an attorney, currently licensed to practice law in the State of California.
26   Defendant VANIA has lived at various times in California and the Pennsylvania. Defendant
27   VANIA, as a profession, both individually on her own account and to assist Defendants
28   DARREN and NICOLE, engaged in litigation based on meritless or outright false claims,


                                                Complaint                                           4

                                                    70
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4294
                                                         PageID.3802   Page
                                                                     Page    7885
                                                                          44 of of
                                     1196


1    typically relying upon the Fair Credit Reporting Act, 15 U.S.C. § 1681, and on at least one
2    occasion bringing a claim for personal injury, deriving income from such fraudulent
3    activity. As part of her pattern of racketeering activity, Defendant VANIA has attempted
4    and sometimes succeeded in collecting unlawful debts, i.e., a claim based on false or
5    meritless legal claims, and derived income from such false claims and unlawful threats of
6    suit. For instance in Vania Chaker v. Monarch Group Management, Inc., U.S.D.C. So.
7    Dist. of Cal., Case No. 06cv1534W(AJB), Defendant VANIA brought a class action
8    complaint for violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692, et
9    seq. and the California Rosenthal Fair Debt Collection Practices Act, arising from her
10   landlord’s service of a three day notice to pay rent or quit on her. Defendant VANIA has
11   brought three other cases based on allegations of violations of the Fair Debt Collection
12   Practices Act, e.g., Vania Chaker v. Collection Company of America, U.S.D.C. So. Dist.
13   of Cal., Case No. 05cv390 BEN(AJB) [unpaid T-mobile cellular phone charges]; Vania
14   Chaker v. Allied Interstate, Inc., U.S.D.C. So. Dist. of Cal., Case No. 05cv0212
15   LAB(RBB)[unpaid DirectTV bills]; Vania Chaker v. CAMCO, U.S.D.C. So. Dist. of Cal.,
16   Case No. 04cv1735 W(RBB).
17          13. Plaintiffs are informed and believe, and based thereon allege that Defendant
18   VANIA did not solely file such suits in the Southern District of California, but also assisted
19   in cases in the Central District of California, appearing as attorney in the suit brought by
20   Defendant DARREN subnom (Darren Del Nero) and Defendant NICOLE alleging
21   defendant’s violations of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692, et
22   seq.. Specifically, Defendants DARREN and NICOLE brought suit against Midland Credit
23   Management Inc., in the case of Del Nero & Chaker, et al., v. Midland Credit
24   Management Inc., U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-01040-ABC-SH.
25   Defendant DARREN and his attorneys were sanctioned $155,979.09 after the court found
26   that Defendant DARREN brought suit in bad faith and for the purpose of harassment. (Del
27   Nero v. Midland Credit Management Corp. et al., 2:04-cv-01040-ABC-SH.(Attorneys
28   fee award later vacated against Chaker’s counsel.) The Court issued an order to show cause


                                               Complaint                                            5

                                                   71
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4295
                                                         PageID.3803   Page
                                                                     Page    7985
                                                                          45 of of
                                     1196


1    re contempt for Defendant VANIA’s conduct during the jury trial, and barred her from the
2    courtroom during the remainder of the trial. The court’s basis for the order was that
3    Defendant VANIA attempted to aid a witness in answering counsel’s questions. [ECF 91.]
4    Defendant VANIA also represented Defendant DARREN subnom (Darren Del Nero) in
5    Darren Del Nero v. Reliable Adjustment Bureau Inc et al, U.S.D.C. Cen. Dist. of Cal.,
6    Case No. 2:04-cv-00969-FMC-JWJ, another case alleging violations of 15 U.S.C., § 1681.
7    In each of those instances, in a likely effort to avoid Defendant DARREN’s prefiling order
8    as a vexatious litigant, Defendant VANIA initially appeared on Defendant DARREN’s
9    behalf, then substituted out to allow Defendant DARREN to prosecute the case in propria
10   persona. Defendant VANIA engaged in such transitory representation of Defendant
11   DARREN to assist him avoiding the bar of the prefiling orders placed resulting from his
12   designation as a vexatious litigant.
13          14. As to Defendant DARREN, Plaintiffs are informed and believe, and based
14   thereon allege that Defendant DARREN holds himself out to the public as operating a
15   business called COUNTER FORENSICS. The COUNTER FORENSICS web page described
16   its services as follows:
17          “Founded in 2006, the origination of CounterForensics.com can be traced to
            the cyber security and forensics background of our consultant, Darren
18          Chaker. Mr. Chaker (www.DarrenChaker.com) previously worked in law
            enforcement, and as a security contractor in the Middle East. More recently,
19          Mr. Chaker managed electronic discovery (e-discovery) for a leading
            multinational law firm conducting large-scale digital forensic investigations,
20          and provided electronic discovery services involving civil, corporate and
            criminal matters. Mr. Chaker also implemented security enforcement
21          protocols and systems with Military Grade Communications for use between
            international offices to discuss sensitive matters. Mr. Chaker has additional
22          expertise in matters involving:
            • Software piracy;
23          • Sexual harassment via e-mail, instant messaging and other forms of electronic
            communications;
24          • Monitoring employee activity;
            • Employee sabotage;
25          • Intrusion detection;
            • Recovery of deleted files;
26          • Lost password recovery and cracking of locked files;
            • Discovery of hidden and deleted e-mails and pictures;
27          • Internet usage and unauthorized software installed on a company machine; and
            Removal of viruses, pictures, software and other data items which may be hidden
28          from the user.
            See Exhibit 6,

                                              Complaint                                         6

                                                  72
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4296
                                                         PageID.3804   Page
                                                                     Page    8085
                                                                          46 of of
                                     1196


1           https://web.archive.org/web/20150208142616/http://www.counterforensics.com/
2           (Accessed on August 23, 2016.)
3           15. At various times relevant to the facts stated herein, Defendant DARREN has
4    resided in California, Nevada and Texas, and engaged in transactions and acts affecting
5    interstate commerce:
6           16. Defendant DARREN has, as a profession, engaged in litigation based on
7    meritless or outright false claims, typically relying upon the Fair Credit Reporting Act, 15
8    U.S.C. § 1681, and on at least one occassion bringing a claim for personal injury, deriving
9    income from such fraudulent activity. As part of his pattern of racketeering activity,
10   Defendant DARREN has attempted and sometimes succeeded in collecting unlawful debts,
11   i.e., a claim based on false or meritless legal claims, and derived income from such false
12   claims and unlawful threats of suit.
13          17. In another 2005 case, attorney’s fees of $42,934.84 were awarded against
14   Defendant DARREN for filing a baseless lawsuit. (Chaker v. Richland (C.D. Cal. 2005)
15   CV 05-7851-RSWL; See also Chaker v. Imperial Collection Services (C.D. Cal. 2004)
16   CV 04-2728-PA (alleging claims under the FDCPA found to be without merit); and Del
17   Nero v. Riddle & Associates PC, et al. (C.D. Cal. 2003) CV 03-6511-GHK (same).) In a
18   2007 case, Defendant DARREN and his attorneys were sanctioned $155,979.09 after the
19   court found that Defendant DARREN brought suit in bad faith and for the purpose of
20   harassment. (Del Nero v. Midland Credit Management Corp. et al. (C.D. Cal. 2007) CV
21   04-1040 GPS.) In a 2009 case, Defendant DARREN was ordered to pay $136,316.14 for
22   bad faith due to Defendant DARREN falsely claiming identity theft. (Chaker v. Nathan
23   Enterprises Corp. (C.D. Cal. 2009) CV 04-2726-RSWL.)
24          18. Defendant DARREN filed other suits based allegations of violations of Fair
25   Credit Reporting Act, 15 U.S.C. § 1681, i.e., Darren Chaker-Del Nero v. Afni, Inc.,
26   U.S.D.C. Cen. Dist. of Cal., Case No. 2:08-cv-03405-ODW-SS; Darren D Chaker v. First
27   City Bank Credit Union, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-02727-GPS-RZ;
28   Darren D Chaker v. Factual Data Corporation, U.S.D.C. Cen. Dist. of Cal., Case No.


                                              Complaint                                             7

                                                  73
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4297
                                                         PageID.3805   Page
                                                                     Page    8185
                                                                          47 of of
                                     1196


1    2:04-cv-02729-JFW-AJW; Darren D Chaker v. European Auto House, U.S.D.C. Cen.
2    Dist. of Cal., Case No. 2:04-cv-02731-R-PJW; Darren Chaker v. Arrow Financial
3    Services LLC, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-07050-FMC-FMO.
4           19. Defendants have a pattern of attacking the attorneys which oppose them in their
5    racketeering activities, i.e., in Darren D Chaker v. Felipa R. Richland, et al., U.S.D.C.
6    Cen. Dist. of Cal., Case No. 2:05-cv-07851-RSWL-PLA, Defendant DARREN sued
7    attorney Richland and her law office, and her client Nathan Enterprises Corp. for alleged
8    violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681. Plaintiff is informed and
9    believes and based thereon alleges that during her defense of the both cases, Ms. Richland
10   was stalked, and her property vandalized. Ultimately, Ms. Richland and her client prevailed,
11   with Defendant DARREN held liable for costs and attorneys fees. [ECF 25, 26.]
12          20. Defendant DARREN, subnom Darren Chaker Del-Nero, brought additional
13   suits in the United States District Court for the District of Nevada based on allegations of
14   violation of the Fair Credit Billing Act, 15 U.S.C. § 1666, e.g., Chaker-Delnero v. Nevada
15   Federal Credit Union, et al, U.S.D.C. District of Nevada., Case No.,
16   2:06-cv-00008-BES-GWF; for violations of the Fair Debt Collections Practices Act, 15
17   U.S.C. § 1692, Chaker-Delnero v. Butler & Hailey, et al, U.S.D.C. District of Nevada.,
18   Case No. 2:06-cv-00022-KJD-LRL, Chaker-Delnero v. Clark County Collection Service,
19   LLC, U.S.D.C. District of Nevada, 2:06-cv-00123-JCM-PAL, and Chaker-Delnero v.
20   Collectco, U.S.D.C. District of Nevada, 2:06-cv-00244-RLH-GWF. In each of these cases,
21   docket entries reflect a voluntary dismissal. Plaintiff is informed and believes that in those
22   cases, the Defendants paid a sum to “buy their peace” rather than to spend attorneys fees
23   litigating the case, despite the lack of the merit to Defendant DARREN’s claims.
24          21. Defendant DARREN, subnom Darren Chaker, brought additional suit in the
25   United States District Court for the Southern District of Texas (Houston) based on
26   allegations of violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692,
27   Chaker v. The CMI Group, U.S.D.C. Southern District of Texas (Houston),
28   4:07-cv-01802F [Time Warner Communications.] In that case, the docket entries reflect a


                                               Complaint                                              8

                                                   74
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4298
                                                         PageID.3806   Page
                                                                     Page    8285
                                                                          48 of of
                                     1196


1    voluntary dismissal. Plaintiff is informed and believes that in that case, the Defendants paid
2    a sum to “buy its peace” rather than to spend attorneys fees litigating the case, despite the
3    lack of the merit to Defendant DARREN’s claims.
4           22. Defendant DARREN, subnom David Hunter, brought additional suit in the
5    United States District Court for the District of Arizona, entitled Hunter v. Receivables
6    Performance Management, LLC, U.S.D.C. District of Arizona, 2:10-cv-00665-MHM
7    [Sprint cellular phone service]. Within that suit Defendant DARREN attached letters
8    claiming an address at 11881 S. Fortuna Road, #223, Yuma, AZ 85367 [Exhibit B, ECF 1-
9    3.] In that case, the docket entries reflect a voluntary dismissal. Plaintiff is informed and
10   believes that in that case, the Defendant paid a sum to “buy its peace” rather than to spend
11   attorneys fees litigating the case, despite the lack of the merit to Defendant DARREN’s
12   claims.
13         SEX TRAFFICKING AND HISTORY OF CRIMINAL PROSECUTIONS
14          23. Plaintiff is informed and believes and based thereon alleges that Defendant
15   DARREN also engaged, within the last ten years, in human trafficking, and derived income
16   from such activity. As reflected in Exhibit A, which will be filed under seal herein,
17   Plaintiffs represented a victim of DARREN’s sex trafficking enterprise in court
18   proceedings initiated by DARREN, and as a consequence were subjected to the extortion,
19   and reprisal described herein by Defendants.
20          24. Defendant DARREN’s record of arrests and prosecutions (RAP) reveals arrests
21   for insufficient funds/check, attempting to prevent/dissuade victim/witness, receiving
22   known stolen property, vehicle theft, first degree burglary, grand theft, and being in
23   possession of an assault weapon. He was convicted of invading/looking into a tanning booth
24   (1997), and possession of an assault weapon (2006). Such crimes were punishable by a year
25   or more incarceration.
26          25. Plaintiff is informed and believes, and based thereon alleges that Defendant
27   NICOLE has suffered a felony conviction in the State of California.
28       FALSE STATEMENTS IN ORDER TO OBTAIN MONEY OR PROPERTY


                                                Complaint                                            9

                                                    75
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4299
                                                         PageID.3807   Page
                                                                     Page    8385
                                                                          49 of of
                                     1196


1           26. Defendant DARREN also obtained mortgages on real estate through false
2    statements, and thereafter rather than paying the mortgages, Defendant DARREN kept the
3    rents from such properties to fund his enterprises, and when his mortgagors sought to
4    recover their real property collateral, Defendant DARREN filed false bankruptcy petitions
5    in order to stall or avoid the foreclosure and continue to collect rental income.
6           a. Defendant DARREN used the ill-gotten proceeds of his enterprise to fund his
7           lifestyle and further his illegal activities including through the purchase of
8           computers, paying for travel, development of various domain names and online
9           presences to the detriment of Plaintiff herein.
10          b. In order to dissuade those members of law enforcement and attorneys in private
11          practice who would challenge Defendant DARREN’s criminal conduct, including
12          Plaintiff herein, Defendant DARREN used various means and threats, including
13          harassment, stalking, defaming others, vandalizing property, hacking computers,
14          spoofing emails, and identity theft.
15          c. Defendant DARREN has used the proceeds of his racketeering activity to
16          purchase computers, equipment, and Internet access services in order to engage in
17          his and Defendants VANIA and NICOLE’s frauds, and efforts to dissuade those who
18          oppose their illegal conduct, including Plaintiff herein.
19          d. On March 22, 2012, Defendant DARREN was indicted in United States v.
20          Darren David Chaker, Case No. 4:12CR00168-001, and thereafter granted pre-
21          trial release under supervision with U.S. Pretrial Services. The Indictment, attached
22          as Exhibit 1, alleges a portion of Defendants’ scheme, which Plaintiff incorporates
23          by reference here.
24          e. While on supervision with U.S. Pretrial Services, through false statements to a
25          United States officer, he violated his terms of release by failing to disclose to U.S.
26          Pretrial Services and the Court the fact that he procured a U.S. Passport using the
27          alias “D. David Hunter.”
28          f. On December 17, 2013, Defendant DARREN suffered a Judgment in a Criminal


                                               Complaint                                             10

                                                   76
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4300
                                                         PageID.3808   Page
                                                                     Page    8485
                                                                          50 of of
                                     1196


1           Case in the case entitled United States v. Darren David Chaker, Case No.
2           4:12CR00168-001, in the United States District Court for the Southern District of
3           Texas (Houston), for Bankruptcy Fraud, 18 U.S.C § 157(3). On April 14, 2016, that
4           conviction was affirmed by the United States Court of Appeals for the Fifth Circuit,
5           case number 14-20026, as reported in United States v. Chaker, 820 F.3d 204, 206
6           (5th Cir. 2016). He was sentenced to a total term of 15 months, and was additionally
7           sentenced to three years supervised release, as part of the special conditions of
8           supervision was ordered:
9           “The defendant shall provide the probation officer access to any requested
            financial information. If a fine or restitution amount has been imposed, the
10          defendant is prohibited from incurring new credit charges or opening
            additional lines of credit without approval of the probation officer.
11
            The defendant is prohibited from possessing a credit access device, such as a
12          credit card, unless first authorized by the probation officer.
13          The defendant is required to participate in anger management counseling as
            deemed necessary and approved by the probation officer. The defendant will
14          incur costs associated with such program, based on ability to pay as
            determined by the probation officer.
15
            The defendant is required to participate in a mental health program as deemed
16          necessary and approved by the probation officer. The defendant will incur
            costs associated with such program, based on ability to pay as determined by
17          the probation officer.
18          The defendant may not stalk and/or harrass other individuals to include, but
            not limited to, posting personal information of others or defaming a person's
19          character on the internet.”
20   (ECF 312, 4:12CR00168-001)
21          27. On November 7, 2016, the district court in United States v. Darren David
22   Chaker, U.S. District Court, Southern District of California, Case No.
23   3:15-cr-07012-LAB, struck the condition “The defendant may not stalk and/or harrass
24   other individuals to include, but not limited to, posting personal information of others or
25   defaming a person's character on the internet.”
26
        DEFENDANTS’ HISTORY OF EXTORTION AND WITNESS TAMPERING
27
            28. Victim Zaya: Plaintiffs are informed and believe that, in accordance with
28
     Defendants’ common plan and scheme, Defendant DARREN committed one or more acts

                                               Complaint                                           11

                                                  77
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4301
                                                         PageID.3809   Page
                                                                     Page    8585
                                                                          51 of of
                                     1196


1    of extortion against Nadine Zaya:
2          a. Plaintiff is informed and believes, and based thereon alleges, that Defendant
3          DARREN formerly had a dating relationship with Nadine Zaya. At some point
4          between August and October 2002, Defendant DARREN and Zaya, traveled from
5          Southern California to Scottsdale, Arizona. Petitioner took Zaya to a gun store,
6          where he purchased the Rifle, a licensed reproduction of a Fabrique Nationale FAL
7          (FN-FAL) battle weapon. At the gun store, petitioner told Zaya he once owned “the
8          exact same gun” but his mother had taken it away from him.
9          b. After Defendant DARREN purchased the Rifle, he made Zaya take pictures of
10         him with it. He also made Zaya pose with the Rifle. Defendant DARREN then took
11         Zaya to a firing range, where he fired the Rifle and showed her how to shoot, hold,
12         and load it. When Zaya held the Rifle, Defendant DARREN reassured her, “It’s okay.
13         Look, it’s fun. . . . You’re going to be okay. I’m an ex-cop. I know how to shoot a
14         gun.” Shortly thereafter, petitioner and Zaya returned to California with the Rifle.
15         c. On October 14, 2002, Laguna Beach police officers visited Defendant
16         DARREN’s apartment to investigate allegations that he had sexually exploited a
17         minor. A police officer entered the apartment, knocked on a bedroom door, and
18         identified himself as a police officer. After some delay, Defendant DARREN
19         emerged from the bedroom and told the officer the room belonged to him. He
20         refused, however, to permit the police officers to search it. Defendant DARREN
21         called Zaya after the police officers left the apartment. He expressed concern that
22         the fully-assembled Rifle would be considered an illegal weapon. Defendant
23         DARREN told Zaya he was going to remove parts from the Rifle to “make it legal”
24         and asked her to keep the parts. The next day, the police officers returned to
25         Defendant DARREN’s apartment with a search warrant. During the search, an
26         officer found the Rifle in petitioner’s bedroom closet. He noticed the Rifle had a
27         detachable magazine and a pistol grip, but that it was missing its bolt carrier group.
28         The officers also found unloaded magazines and pictures of petitioner posing with


                                             Complaint                                            12

                                                 78
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4302
                                                         PageID.3810   Page
                                                                     Page    8685
                                                                          52 of of
                                     1196


1        the Rifle at a firing range. In the pictures, the Rifle contained the bolt and the
2        magazine.
3        d. On November 18, 2002, the District Attorney of Orange County filed a felony
4        complaint charging defendant with one count of possession of an assault weapon
5        (Penal Code § 12280(b)) and one count of receiving stolen property (Penal Code §
6        496, subd. (a)). Shortly after the People filed the complaint, defendant began writing
7        letters to the court. In these letters, defendant claimed the police had illegally seized
8        privileged documents from his apartment. He also criticized the judges presiding
9        over his case and the attorneys assigned to represent him. On July 30, 2003 -- after
10       defendant had written six letters to various judges -- the court ordered defendant to
11       stop. The court notified defendant it would "not take action on personal
12       communications from a represented defendant when his case is pending before this
13       court." (People v. Chaker, No. G037362, 2008 Cal. App. Unpub. LEXIS 999, at
14       *4-5 (Ct. App. Feb. 4, 2008).)
15       e. Plaintiffs are informed and believe that in July 2005, the Superior Court of
16       California, County of San Diego issued a restraining order against Darren D. Chaker
17       pursuant to the Domestic Violence Protection Act (Fam. Code, § 6200 et. seq. (the
18       Act)), requiring him to stay away from Nadine Zaya for a five-year period. He
19       appealed from that order on various grounds, contending in part that Zaya's evidence
20       was insufficient to support its issuance; the Court of Appeals of California, Fourth
21       District, Division One, however, rejected his arguments and affirmed the order.
22       f. On June 15, 2006, Zaya filed a request for a temporary restraining order under
23       the Act against Chaker. In her request, Zaya stated under penalty of perjury that
24       Chaker made threatening calls to her and told her he would harm her or her family if
25       she testified in a pending criminal matter against him. (Zaya v. Chaker (Oct. 19,
26       2007, D049874) [nonpub. opn.].)
27       g. Thereafter, on or about July 19, 2006, and then again on or about December 8,
28       2006, Defendant DARREN sent nude photos of Zaya to Zaya’s brother’s employer,


                                            Complaint                                           13

                                                79
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4303
                                                         PageID.3811   Page
                                                                     Page    8785
                                                                          53 of of
                                     1196


1          which had been taken by Defendant DARREN.
2          29. Victims Frantz: Plaintiffs are informed and believe that the following is true
3    regarding Defendant DARREN’s efforts to extort San Diego attorneys James Frantz, Jodi
4    Frantz, and Charles Kim:
5          a. On or about December 2010, Jodi and James Frantz retained Charles Kim to
6          represent them in a civil protective action. Jodi Frantz sought a restraining order
7          against Defendant DARREN, in Hautaluoma v. Chaker, San Diego Superior Court
8          Case No. 717794.
9          b. Prior to the extortion attempt against James Frantz, Jodi Frantz, and Charles Kim,
10         Plaintiffs are informed and believe that Defendants engaged in acts of vandalism to
11         the property of James Frantz and Jodi Frantz, which they believed to have been
12         perpetrated and intended by Defendant DARREN to intimidate James Frantz and Jodi
13         Frantz and send a message.
14         c. In the preceding months to the extortion attempt, Jodi Franz was the victim of
15         financial fraud in the summer of 2010. Ms. Frantz had caused two of her then
16         current credit cards to be de-activated by the issuers due to fraud alerts. The recent
17         event happened in the week preceding the extortion attempt, while she was on
18         vacation. Ms. Frantz believed Chaker is responsible for the fraud. Ms. Franz
19         reported the thefts to her credit card issuers. She had unauthorized charges on credit
20         accounts from Bank of America, Union Bank, and Nordstrom. In the summer of
21         2010, Mr. Frantz also had his identity stolen, and used for credit card fraud. Mr.
22         Frantz believed Chaker was responsible for the fraud.
23         d. On December 22, 2010, at 2:54 a.m., Defendant DARREN caused a fax to be sent
24         to the office of Charles Kim. The fax included an inappropriate reference to the
25         death of James Patrick Frantz II (the son of James and Jodi Frantz). Also, Defendant
26         DARREN faxed a complete copy of a County of San Diego Investigative report
27         #10-01098 which documented the medical examiners death investigation in that
28         case. The fax referenced the social security number of Jodi Frantz and Dr. Christine


                                              Complaint                                          14

                                                  80
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4304
                                                         PageID.3812   Page
                                                                     Page    8885
                                                                          54 of of
                                     1196


1           Miller who treated Jodi Frantz. The fax contained threats to publish the social
2           security numbers and "embarrassing" medical information if Attorney Kim did not
3           agree to Chaker's demands. Also included was an apparent threat to file complaints
4           with the state bar association against Charles Kim and James Frantz if they did not
5           comply with his demands.
6           30. Victims Mateo: Nicole Mateo was in a relationship with Defendant DARREN,
7    which resulted in the birth of a daughter. Plaintiff is informed and believes that following
8    the efforts to obtain child support, Defendant DARREN initiated a campaign of harassment
9    against Wendy Mateo and her husband Steven Mateo. Steven Mateo is a deputy constable
10   with the Harris County Constable Office, in Spring, Texas. The Mateo’s hired an attorney by
11   the name of Cynthia Tracy to address Defendant DARREN’s conduct. In response,
12   Defendant DARREN initiated a harassment campaign that included sending sexually
13   explicit photos of Nicole Mateo to the employers of the Mateos, obtaining the email
14   passwords of various Mateo accounts, and sending emails containing sexually explicit
15   material through such accounts. The Mateo’s attorney, Cynthia Tracy, was targeted in a
16   blog post that also made false and defamatory statements about her. Ultimately, Attorney
17   Tracy declined to continue to represent the Mateos due to the aggravation and the expense
18   of dealing with Defendant DARREN.
19            DEFENDANTS’ EFFORTS DIRECTED AT PLAINTIFF HEREIN
20          31. Plaintiff operates a website called FEARNOTLAW.COM, and has operated that
21   site since 2005. Fearnotlaw.com maintains tens of thousands of unpublished decisions
22   from California’s court of appeals. The unpublished decisions were taken directly from the
23   website of the court of appeals and posted en masse, at various times. There was no
24   intentional targeting of Darren Chaker or any other subject of the decisions.
25          32. Defendant DARREN in this case initially contacted Plaintiff to demand removal
26   of decisions posted concerning his cases that had been decided by the Court of Appeals.
27   One of those decisions was Zaya v. Chaker, California Court of Appeal Case No.
28   D049874. In Zaya v. Chaker, the Court of Appeal affirmed a trial court’s imposition of a


                                              Complaint                                         15

                                                  81
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4305
                                                         PageID.3813   Page
                                                                     Page    8985
                                                                          55 of of
                                     1196


1    five year restraining order against Mr. Chaker imposed pursuant to the Domestic Violence
2    Protection Act, Fam. Code, 6200 et. seq. Defendant DARREN Chaker’s letter to Plaintiff
3    on November 22, 2010 contained Ms. Zaya’s original petition, which alleged that Mr.
4    Chaker posted bogus sex-service advertisements on Craigslist falsely attributed to Ms.
5    Zaya, and had threatened to post compromising photos and videos of Ms. Zaya online if she
6    testified against him in his felony assault-weapon case. Plaintiff did not remove any of the
7    appellate decisions from Fearnotlaw.com.
8           33. On or about Monday, November 22, 2010, Mr. Chaker had a letter personally
9    delivered to Plaintiff Scott McMillan’s mailbox, at his home. It was not in an envelope. He
10   addressed it to both Plaintiff Scott McMilla as "Scott" and his wife “Rebeca”. A true and
11   correct copy of that letter is attached hereto as Exhibit 3.
12          a. In the first paragraph of his letter of November 22, 2010, Mr. Chaker states:
13                 "We all have a First Amendment right to post online what we like
14          within reason. We also have the First Amendment right to re-publish public
15          records and make statements couched in opinion based upon facts. We
16          share in common public records in criminal and civil court both as a pro-per
17          plaintiff and defendant-including restraining orders despite yours was
18          dismissed. We also share that we have both filed about the same amount of
19          pro-per lawsuits–mine filed between 1994-96. Of course, I don't think any
20          less of you since its common for people to have a public record. In fact,
21          roughly 1 in 5 Californians have some kind of arrest record. Another
22          attorney with a public record is Lisa Laqua who unsuccessfully sued my
23          mother while representing a convicted felon with an active warrant for his
24          arrest at the time. Laqua had public records which contained lawsuit and
25          restraining order info too. Just Google "Lisa Laqua" which her blog
26          should be first or see http:/ /lisalaqua.blogspot.com/. . ."
27   [Exhibit 3, letter of November 22, 2010 (emphasis added).]
28          34.    In closing, Mr. Chaker then stated that Plaintiff take action by a specific


                                               Complaint                                         16

                                                   82
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4306
                                                         PageID.3814   Page
                                                                     Page    9085
                                                                          56 of of
                                     1196


1    deadline:
2                  "I encourage you to consider the attached, and/or pull the public
3           record to see the facts for yourself and if you believe the link should be
4           removed or allow all the facts to be disclosed to please do so. Again, you
5           have no obligations to comply, however, if you do, please act on this request
6           by this Tuesday no later than 3:30PM PST.
7           www.fearnotlaw.com/articles/article15009.html
8    [Exhibit 3, letter of November 22, 2010 (emphasis added).]
9           35. Plaintiff accessed the website “http:/ /lisalaqua.blogspot.com/” following his
10   receipt of that letter in 2010. The website stated numerous scandalous allegations about
11   Ms. Laqua. Thus, in reading Defendant DARREN’s letter of November 22, 2010, Plaintiff
12   reasonably understood that Defendant was threatening that if Plaintiff did not abide by his
13   demands by 3:30 p.m. on November 23, 2010. Plaintiff could expect to see scandalous
14   material posted about himself.
15          36. Defendant DARREN thereafter initiated a campaign of harassment and
16   vandalism against Plaintiff McMillan and his family. Usually during the holidays,
17   Plaintiff’s family’s cars would be vandalized. Plaintiff’s brother had the words “fearnotlaw”
18   scratched on the trunk of his BMW. In another instance, the driver’s side mirror of
19   Plaintiff’s brother’s truck was smashed. On that instance, a neighbor that heard the noise,
20   saw a black SUV driving rapidly away. Defendant DARREN owned at the time of the
21   incident a Black Dodge Durango. Plaintiff is informed and believes, and based thereon
22   alleges, that Defendant VANIA Chaker accompanied Defendant DARREN during that
23   vandalism.
24          37. Other members of Plaintiff McMillan’s family were attacked as well.
25   Plaintiff’s mother’s car had acid poured on the trunk. Plaintiff’s father’s car had its tires
26   slashed. After each event, Mr. Chaker would send Plaintiff an e-mail wishing him “happy
27   holidays” or making some other statement. It was clear to Plaintiff that Darren Chaker was
28   acknowledging the vandalism by his timing of his emails, and attempting to send a message


                                               Complaint                                             17

                                                   83
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4307
                                                         PageID.3815   Page
                                                                     Page    9185
                                                                          57 of of
                                     1196


1    and intimidate Plaintiff.
2            38. Thereafter, Defendant DARREN sent Plaintiff McMillan e-mails referring to
3    his dogs – which indicated to Plaintiff that he had come to his house and looked into his
4    back yard.
5            39. Because of Defendants’ activities, Plaintiff McMillan and his family members
6    installed security cameras around their houses. Plaintiff McMillan also installed security
7    cameras on the outside of the commercial building in La Mesa where Plaintiff TMLF has
8    its offices.
9            40. Defendant DARREN also began posting matters about Plaintiffs on the
10   Internet. These posts were false, scandalous, and libelous. They included the false
11   accusations that Plaintiffs had lost every appeal that Plaintiffs had filed, and that Plaintiff
12   was a fraud. Initially, Defendant DARREN published such false allegations and scandalous
13   statements on websites occupying domains that Defendant DARREN owned.
14           41. On June 17, 2011, Defendant DARREN notified Plaintiff that he was operating
15   a Blogger site at scott-mcmillan-law.blogspot.com. Plaintiff Scott McMillan had not
16   authorized him to use his name.
17           42. Since 2011 and through the present, derogatory and defamatory statements
18   about Plaintiffs have been posted on the internet at
19   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
20   ml#comments. Many of these statements are identical to statements Defendant DARREN
21   posted on his own websites.
22           43. Since 2011, someone has posted derogatory and defamatory statements about
23   Plaintiffs on the internet at the website domain pissedconsumer.com. Based on the
24   content, which is similar to what Defendant DARREN posted on his own website, Plaintiffs
25   are informed and believe and thereon allege the poster to be Defendant DARREN.
26           44. Through the years, clients have contacted Plaintiff McMillan to let him know
27   that they have seen the Defendant DARREN ’s posts concerning Plaintiff on the Internet.
28   Chaker’s posts were troubling to Plaintiffs’ clients.


                                                Complaint                                              18

                                                    84
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4308
                                                         PageID.3816   Page
                                                                     Page    9285
                                                                          58 of of
                                     1196


1           45. Because Defendant DARREN had posted about Plaintiff on the Internet, others
2    that had conflicts with Defendant DARREN contacted Plaintiff for advice and
3    representation in dealing with Defendant DARREN . Plaintiff has provided that
4    representation pro-bono, and advanced the expenses.
5           46. Plaintiff ultimately represented Wendy Mateo, one of the Defendant
6    DARREN’s victims, in Chaker v. Mateo, San Diego Superior Court case,
7    37-2010-00094816-CU-DF-CTL, Hon. Timothy B. Taylor, Judge presiding. Wendy Mateo
8    is the mother of Nicole Mateo. Plaintiff is informed and believes that Nicole Mateo had a
9    brief relationship with Darren Chaker, which resulted in the birth of their daughter.
10   Plaintiff began representing Ms. Wendy Mateo, the grandmother of Darren Chaker’s child
11   during the pendency of Darren Chaker’s appeal of the judgment in the Chaker v. Mateo
12   case. That appeal resulted in the published decision of Chaker v. Mateo, 209 Cal. App. 4th
13   1138 (2012). Following that appeal, the Superior Court awarded Plaintiffs attorneys fees.
14   Those attorneys fees awarded have been the subject of judgment debtor examinations and
15   orders from Judge Taylor as discussed below.
16          47. Thereafter, Plaintiff began representing Susan A. in a paternity case filed in the
17   San Diego Superior Court entitled Chaker v. A (the “Paternity Case”). Ms. A had also
18   been in a relationship with Mr. Chaker. Ms. A. sets out her experience with Chaker in her
19   declaration dated July 11, 2013, a true and correct copy of which is referenced herein as
20   Exhibit ‘A’, to be filed under seal in this court. Mr. Chaker claims that Ms. A.’s child, L, is
21   the product of that relationship. Ms. A. disputes that Mr. Chaker is the father, biological or
22   otherwise, of her child L.
23          48. On July 12, 2013, Plaintiff McMillan filed a document in the Paternity Case,
24   which included statement from Leesa Fazal, State of Nevada Office of the Attorney
25   General, who had provided her confidential investigative report for submission in the
26   Paternity Case, signed on July 11, 2013. A true and correct copy of which is referenced
27   herein as Exhibit ‘2’, to be filed under seal in this court.
28          49. On July 22, 2013, at 8:45 a.m., Officer Fazal appeared in San Diego Superior


                                                Complaint                                        19

                                                    85
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4309
                                                         PageID.3817   Page
                                                                     Page    9385
                                                                          59 of of
                                     1196


1    Court, according to Plaintiff’s subpoena to testify in the Paternity Case regarding the facts
2    alleged in the above mentioned Declaration. Officer Fazal and Plaintiff McMillan appeared
3    before the Superior Court, Judge Gerald Jessop, presiding. The court did not have time to
4    hear the case in the morning, and ordered Ms. Fazal and Mr. Chaker back to court later that
5    afternoon. As they exited the court, Defendant DARREN followed Ms. Fazal and Plaintiff
6    McMillan a short distance, and walked at a quick pace with his mobile telephone in his hand
7    and appeared to take video of them while laughing loudly. At that time, Ms. Fazal had not
8    yet testified, and Defendant DARREN’s behavior was purposefully threatening and an
9    apparent effort to intimidate Officer Fazal, prior to her testimony.
10          50. When Plaintiff McMillan and Officer Fazal returned they were accompanied by
11   licensed private investigator Richard Rivero. Following the hearing Defendant VANIA
12   approached Richard Rivero in a rapid manner, within a couple feet, and asked him what he
13   was doing there and demanded his name. Although he had not been called to testify, Rivero
14   responded that he was a witness, he would speak to Defendant VANIA in the presence of
15   court personnel, and attempted to pass her. Defendant VANIA blocked his and Plaintiff
16   McMillan and Officer Fazal’s exit, so Plaintiff, Rivero and Fazal returned to the court
17   room, and Defendant VANIA followed. Thereafter, the courtroom deputy ordered
18   Defendant VANIA to leave, and to leave Rivero, Plaintiff McMillan and Ms. Fazal alone.
19   The courtroom deputy allowed Rivero, Plaintiff McMillan and Ms. Fazal, and shortly
20   therafter, confirmed that Defendant VANIA was not awaiting them outside the courtroom.
21          51. Plaintiff McMillan, Officer Fazal and Rivero exited the courtroom, then entered
22   the elevator to descend to the lobby. After exiting the elevator and entering the lobby.
23   Defendant DARREN blocked the doorway exit and in a loud and commanding voice
24   demanded that Officer Fazal be arrested for being armed. He wanted to place her under
25   citizen's arrest. Officer Fazal was escorted to the side while the deputies determined that
26   there were no grounds to arrest. While they waited, the Defendant VANIA entered the
27   location and brushed by Rivero as she entered the elevator.
28          52. Rivero left the building with Officer Fazal, Rivero then noted Defendant


                                               Complaint                                         20

                                                   86
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4310
                                                         PageID.3818   Page
                                                                     Page    9485
                                                                          60 of of
                                     1196


1    VANIA’s black SUV following him at a high speed. Rivero pulled to the side. Defendant
2    VANIA stopped her SUV in the middle of the street adjacent to Rivero’s vehicle. Rivero
3    felt that Defendant VANIA was attempting to intimidate him. Rivero noticed Defendant
4    DARREN hunched down in the passenger’s seat so as to not be identified. Such chase was
5    intended, and did intimidate Officer FAZAL in that it gave her additional concern regarding
6    participating in the legal proceedings.
7           53. On July 24, 2013, and thereafter during the pendency of the Paternity Case,
8    Plaintiff and his client provided the United States materials and information regarding
9    Defendant DARREN, specifically that Defendant DARREN had a “go kit” which included a
10   passport under his identity “David Hunter”. Which information Plaintiff understands
11   resulted in the revocation of Defendant DARREN ’s pre-trial release. During Defendant
12   DARREN’s resulting incarceration, the Chaker v. A case was dormant.
13          54. During his incarceration, Darren Chaker’s mother, Nicole Chaker appeared at
14   least once at a hearing in that case.
15          55. Plaintiff is informed and believes, and based thereon alleges that, in that interim
16   period Defendant DARREN was incarcerated, such custody began on or about August of
17   2013 through September of 2014, also during that time, i.e., on or about January 21, 2014,
18   Plaintiff received at least one letter from Mr. Chaker that were drafted by Defendant
19   NICOLE at Defendant DARREN’S request.
20          56. On or about February 2014, while Defendant DARREN was incarcerated,
21   Defendant NICOLE sent Plaintiffs’ and his client’s mother Candy C. each a copy of the
22   same letter. A true and correct copy of which is referenced herein as Exhibit ‘4’, to be
23   filed under seal in this court. The letter contained the following demands and threats:
24                  A.     Demand against McMillan, Susan A., Candy C.:
25          “In short, while in custody, I would like to speak to my son, starting with five
26          minutes by phone, at least once a week, which means, I immediately would
27          need a phone number at all time in order to contact him. I made a similar
28          request to you last August and you chose to ignore it.”


                                               Complaint                                        21

                                                  87
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4311
                                                         PageID.3819   Page
                                                                     Page    9585
                                                                          61 of of
                                     1196


1    ¶ 2. First and Second Sentences.
2                  B.       Threat - Implied against client Susan and mother Candice:
3           “Information came to my attention, that her mother Candice was claiming her
4           and L-- from her taxes, when they were both in my care for 2 years and that
5           does not include the long list of items my sister and mother have gotten them
6           on daily basis, let alone all the restaurants they were taken to, plenty of
7           receipts and pictures that will reflect so. Susan’s sixteen year old son, J-----n,
8           was also deducted by Candice when he lived full time with his paternal
9           grandparents and father in Riverside.”
10                 C.       Threat - implied against client Susan and mother Candice:
11          “I am putting Candy “C” C-- on notice so she could save all of Susan A—‘s
12          “government aid applications” six of them, in 4 states, which are signed under
13          the penalty of perjury, all receipts which conflict greatly with what we have to
14          present. Susan failed to list her mother’s alleged support in six different
15          applications for government aid, actually they both lied to the IRS, for years.”
16                 D.       Demand against Scott McMillan:
17          Attorney McMillan, additional information came to my attention about your
18          negative opinion of me, established attorneys and the ACLU, on the internet.
19          I will ask you to immediately remove any detrimental opinion by you and
20          your friends.
21                 E.       Threat against Scott McMillan and Susan A.
22          “You never considered the fact that due to your conduct your client may
23          suffer. I should remind you the First Amendment is a 2 way street and I have
24          the right to express my opinion as well.
25                 F.       Threat against Candy C----
26          “I am copying Candy “C” C---- on this letter to place her on notice once
27          again, to retain any and all writings, including, but not limited to receipts used
28          to allegedly support Susan and L---, text messages, electronic email, phone


                                               Complaint                                         22

                                                   88
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4312
                                                         PageID.3820   Page
                                                                     Page    9685
                                                                          62 of of
                                     1196


1           records, IRS filings in several states, or other items she believes will aid in
2           her deposition in this case and on a pending civil action that will be filed in
3           the coming months. Of course your client has been on notice to retain all of
4           the above since May 2013, and trust she has not deleted any ‘writing” or lost”
5           her phone as such is against the law and basis for an adverse inference.”
6                  G.      Demand
7           “This offer is open until February 21, 2014.”
8                                                ***
9           57. Plaintiff read the content of the letter that is Exhibit 4 as implying a threat to
10   further defame Plaintiffs and make scandalous statements about Plaintiffs, and as a threat
11   against both Plaintiffs’ client Susan A. and her mother Candy C. to report alleged
12   wrongdoing by them to government authorities. Plaintiffs’ client did not agree to settle the
13   case with Mr. Chaker, and so Plaintiffs did not accede to these threats that Nicole Chaker
14   directed to Plaintiffs, Susan A., and Candice C. in Defendant DARREN’s name.
15          58. As a result of the threat against plaintiffs, Plaintiffs spent time and resources,
16   which could have spent working on cases for paying clients, and monitoring the Internet for
17   further scandalous postings. This caused the Plaintiff TMLF to lose revenue. Plaintiff
18   Scott McMillan found it vexing and upsetting.
19          59. On February 26, 2014, still while Defendant DARREN was incarcerated,
20   Defendant NICOLE filed documents in the paternity case on behalf Defendant DARREN,
21   including executing a declaration in his name, and signing his signature. Defendant
22   NICOLE is not admitted to practice to the California Bar. Within the letter to the Court
23   attached to the declaration, Defendant NICOLE repeats the implied threats to reveal Susan
24   A’s applications for government benefits. A true and correct copy of which is referenced
25   herein as Exhibit ‘5’, to be filed under seal in this court. Specifically, Defendant NICOLE
26   in Mr. Chaker’s name purports to report Susan A. for making false claims, by stating:
27          Respondent has now, after placing me . . . on six applications for governemnt
28          [sic] aid (all signed under penalty of perjury), now attests in her declaration I


                                               Complaint                                             23

                                                   89
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4313
                                                         PageID.3821   Page
                                                                     Page    9785
                                                                          63 of of
                                     1196


1           am not the father in an effort to give Attorney McMillan's motion merit.
2    [Exhibit 5, page 2, to be filed under seal.]
3           60. On or about September 18, 2014, during the pendency of the Paternity Case,
4    Plaintiff McMillan received an e-mail from Darren Chaker, a true and correct copy of
5    which is referenced herein as Exhibit ‘B’, to be filed under seal in this court. Within that
6    letter, Mr. Chaker threatens further actions against Plaintiffs unless he convinced his client
7    Susan A to grant him concessions in the paternity case. Plaintiff has excerpted the relevant
8    portions below (with redactions and substitutions to protect the privacy of third parties):
9           9/18/14
                   Time Sensitive – Reply Required by 8PM Today
10                       Confidential Settlement Communication – California Evidence
            Code §1142
11
                   Dear Scott, S, and C,
12
                   This is a request to settle pending claims . . . .
13
                            First, allow me to clarify this letter is constitutionally
14          protected communication. " ‘As a general rule, even if subject to some
            exceptions, what you may do in a certain event you may threaten to do, that is,
15          give warning of your intention to do in that event, and thus allow the other
            person the chance of avoiding the consequences' "]. Equally well established
16          is the fact that "[o]ne legitimate purpose of a demand letter is to intimidate."
            (Subrin & Main, The Integration of Law and Fact in an Uncharted Parallel
17          Procedural Universe (2004) 79 Notre Dame L.Rev. 1981, 2003 (hereafter
            Subrin & Main).)
18
                   To keep it simple, here's my offer:
19
                           • [Mr. Chaker requested concessions in the paternity action,
20          including obtaining partial custody of the child of whom he claimed to be the
            father.]
21                  ...
                            • I will remove all blogs I have control over concerning Scott
22          or his firm, and am able to remove the complaintsboard.com posting and if
            unable to remove pissedconsumer.com, I will pay up to $500 to have SEO
23          performed to push down the links as I know these sites continue to hurt the
            practice. (I understand I have negative comments about me, however I do not
24          need to impress clients with my reputation. I can assure you at least one
            client a year doesn't call due to reviews – costing you and your family
25          money.)
26                        • No blogs concerning S or C's company, have been posted, but
            various items have been set to self-publish in the event I am unable to access
27          the blog and push back the self-publish date another two weeks.
28                 In short I am agreeing to things a court would not order, but am trying
            to be amicable.

                                                Complaint                                 24

                                                    90
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4314
                                                         PageID.3822   Page
                                                                     Page    9885
                                                                          64 of of
                                     1196


1                      Scott, you once said to me "I win every time we go to court". I think
              you mischaracterize what winning is to me. In court, it is not the court ruling.
2             It's the time spent away from your office. Taking up your time and associate's
              time. Taking food out of your kids mouth. Staying up late, or ignoring kids
3             and wife while spending time on litigating the instant case. Costing you
              clients – at least one person a year doesn't call you based on my blogs –
4             which have been updated recently, scott-mcmillan-law.blogspot.com. Your
              reputation and past performance, likely increases the likelihood of opposing
5             counsel's decision to fight a pending case longer - which costs you more
              time and money. Out of court, I have a few more victories than you and will
6             always prevail in that respect, and win by having you and family spending
              money on cameras, watching the monitors, looking out the window, and
7             drawing drapes – of course there's no proof I have not done a thing nor do I
              admit such, but if you think I am responsible, indeed I win every day.
8
                     Indeed, an adversary has the right to "inflict hard blows on their
9             opponents ... " (Caro v. Smith (1997) 59 Cal.App.4th 725, 739; see also
              People v. Kalnoki (1992) 7 Ca1.App.4th Supp. 8, 11-12.) However, it is not
10            my intent to be an adversary, but to resolve and put things behind us and move
              forward. I hope calmer heads prevail and things are looked at both in a
11            business sense and in a common sense perspective.
                                                   ***
12
     (Exhibit ‘B’, To Be Filed Under Seal)
13
              61. Defendant DARREN’s September 18, 2014 e-mail quoted above confirmed
14
     Plaintiffs’ belief that Darren Chaker was responsible for derogatory remarks posted about
15
     Plaintiffs on complaintsboard.com and pissedconsumer.com, set forth in more detail
16
     below, in that he was then offering to remove or attempt to remove his posts from those
17
     sites.
18
              62. Plaintiffs’ client did not agree to settle the case with Mr. Chaker, and so
19
     Plaintiffs did not accede to these threats.
20
       Hacking Twitter and Unauthorized Access to Plaintiff McMillan’s Paypal Account
21
              63. Plaintiffs are informed and believe, and based thereon allege that Defendant
22
     DARREN Chaker thereafter attempted to hack into Plaintiff’s twitter and paypal accounts.
23
     Specifically,
24
              a. On October 22, 2014, Plaintiff McMillan received a notice from Paypal of
25
              “unusual activity” on his account. Plaintiff hadn’t attempted to sign in to his Paypal
26
              account at that time. A true and correct copy of that email is attached hereto as
27
              Exhibit ‘C’. Due to the timing of the notice, Plaintiff is informed and believes that
28
              it was Darren Chaker that hacked into Plaintiff’s account.

                                                   Complaint                                      25

                                                      91
 Case
 Case 3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document 127-1  Filed
                                     91 Filed     09/23/22
                                               12/12/17    PageID.4315
                                                         PageID.3823   Page
                                                                     Page    9985
                                                                          65 of of
                                     1196


1           b. On November 19, 2014, Plaintiff received a notice of a “suspicious sign in
2           detected on [his] twitter account.” Plaintiff hadn’t attempted to sign in to his twitter
3           account. A true and correct copy of that email is attached hereto as Exhibit ‘D’.
4           Due to the timing of the notice, Plaintiff is informed and believes that it was Darren
5           Chaker that hacked his account.
6           64. Following that threat of September 18, 2014, Mr. Chaker began posting
7    information on the scott-mcmillan-law.blogspot.com site that he operated that, among
8    other things, Plaintiff had molested his daughter. Such statement was grossly false,
9    scandalous, and libelous. The first such statement appeared on Thanksgiving Day, i.e.,
10   Thursday, November 27, 2014. A copy of that post is attached hereto as Exhibit ‘E.’
11   Plaintiff had not authorized Defendants to use Plaintiff’s name in any manner. Plaintiff had
12   not molested his daughter. That webpage has since been removed.
13          65. In order to improve the likelihood of the search engines indexing his site to
14   Plaintiff’s name, Defendant DARREN optimized that page, Exhibit ‘E’, for search engines
15   with “labels” including “4760-Nebo, attorney-sex-offender, el-cajon-sex-offender,
16   la-mesa-sex-offender. Rebecca-McMillan, scott-mcmillan-law, www.mcmillanlaw.us.”
17          66. Mr. Chaker also operated a Blogger site at
18   http://mcmillanlawfirm.blogspot.com/. Plaintiff had not authorized Defendant DARREN
19   to use the firm’s name in this manner. He published similarly false, scandalous, libelous
20   material on that site.
21          67. On or about November 28, 201[4], Defendant DARREN Chaker posted on the
22   Blogger site at scott-mcmillan-law.blogspot.com, a post entitled “Maura Larkins Linked to
23   Sex Abuse.” Within that post Chaker repeats his false statements about Plaintiff, and also
24   recited a completely fabricated association between Plaintiff and Ms. Larkins, who is
25   another individual with whom Mr. Chaker has conflict. A true and correct copy of that post
26   is attached hereto as Exhibit ‘G’.
27                                         Spoofing Emails
28          68. On December 3, 2014, Plaintiff received a “spoofed” or bogus email that


                                               Complaint                                          26

                                                   92
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3824
                                             12/12/17     PageID.4316Page
                                                                       Page
                                                                          66100 of
                                                                            of 85
                                    1196


1    purported to have been sent from Plaintiff’s own e-mail address “scott@mcmillanlaw.us”
2           a. The email stated:
3           “Scott McMillan and family are child molesters per a recent report,
            http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-
4           la-mesa.html”
5           b. A true and correct copy of the email is attached as Exhibit ‘H.’
6           c. A true and correct copy of the email with the header is attached as ‘I’.
7                                           Google Places
8           69. On December 4, 2014, a “Darren C.” posted a 2 star review for the McMillan
9    Law Firm, APC on Google places, wherein he stated:
10
            “I wish I knew of his interests in children, http://scott-mcmillan-
11          law.blogspot.com/2014/11/scott-mc.”
12          a. A screen shot of Plaintiff’s administration page for Google Places is attached
13          hereto as Exhibit ‘J’.
14          b. That post was later deleted. In light of the timing of that e-mail, the use of the
15          name “Darren C.”, and that the identical content was posted on his blogspot sites,
16          Defendant DARREN was the poster.
17          70. Defendant DARREN. Chaker sent e-mails to many members of the local legal
18   community, accusing Plaintiff of molesting his daughter. A copy of one such email dated
19   December 6, 2014 is attached hereto as Exhibit ‘K’. That e-mail was sent to Andrew
20   Griffin, an attorney for an opposing party in a bankruptcy case where Plaintiff represented a
21   creditor, who in turn, forwarded the e-mail to Plaintiff on December 8, 2014.
22          71. On December 22, 2014, at 1:57 a.m., Defendant DARREN sent Plaintiff an e-
23   mail with the subject line “Pending Paternity Case”. A copy of that email is attached hereto
24   as Exhibit ‘L.’
25          72. On December 23, 2014, at approximately 10:08 a.m., Plaintiff received an e-
26   mail from Defendant DARREN Chaker entitled “Request to See Son.” A copy of that
27   email is attached hereto as Exhibit ‘M’.
28          Threats to E-mail Colleagues in the San Diego East County Community


                                                Complaint                                           27

                                                   93
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3825
                                             12/12/17     PageID.4317Page
                                                                       Page
                                                                          67101 of
                                                                            of 85
                                    1196


1           73. On December 23, 2014, Plaintiff received an e–mail from Defendant DARREN
2    where he stated:
3           “Mr. McMillan, the reported conduct I have found is very improper and
            disgusting. I have been forced to notify numerous members of the bar about
4           my blog concerning your firm, most recently the Foothills Bar Association,
            and will start naming your daughter, I believe a former Ms. El Cajon, as the
5           likely victim. I hope you have ceased your conduct and notice to hundreds of
            people has done the public some good.
6
            Dear XXXXXX,
7
            Sex offender. As a member of the bar and likely parent, I would hope notice
8           of a report concerning La Mesa Attorney Scott McMillan, who also operates
            McMillan Academy of Law without a single applicant/graduate,
9           http://campus.lawdragon.com/schools/mcmillan-academy-of-law/ was
            reported to take part in sexual molestation of a minor. See,
10          http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-la-mesa.ht
            ml
11
            The report provides great detail and hope you pass this email along, as I have
12          distributed it to 200 attorneys in San Diego. Scott McMillan is also a
            documented family friend of Kenneth Bourke who was also arrested for child
13          molestation – see report -
            http://scott-mcmillan-law.blogspot.com/2014/09/scott-mcmillan-molest-la-
14          mesa.html
            Happy Holidays to all.
15          Darren Chaker”
16          a. A copy of that email is attached hereto as Exhibit ‘N’.
17          74. On or about June 8, 2015, Google removed the scott-mcmillan-attorney.
18   blogspot.com site, which defendants had created without Plaintiffs’ authorization.
19          75. On or about June 16, 2015, Google removed the mcmillanlawfirm.
20   blogspot.com site, which defendants had created without Plaintiffs’ authorization.
21                                   COMPLAINTSBOARD.COM
22          76. Since 2011 and through the present, a person that Plaintiff McMillan believes
23   to be Defendant DARREN based on identical content posted on his website and Mr.
24   Chaker’s statements above of September 18, 2014 that he is “able to remove the
25   complaintsboard.com posting”, has posted derogatory and defamatory statements about
26   Plaintiff on the Internet at:
27   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
28   ml#comments


                                             Complaint                                          28

                                                 94
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3826
                                             12/12/17     PageID.4318Page
                                                                       Page
                                                                          68102 of
                                                                            of 85
                                    1196


1          a. A true and correct copy of that post as published is attached hereto as Exhibit
2          ‘O.’
3          b. The poster is identified as “Tracy Law Houston.” Cynthia Tracy, Attorney at Law,
4          P.C., a family law attorney in Houston, Texas, formerly represented Nicole Mateo in
5          the custody and child support case against Darren Chaker.
6          77. Despite the removal of the blogspot sites, on August 23, 2015, a poster using
7    the name and search term “scott-mcmillan-la-mesa” posted the following as a comment to
8    the post at http://www. complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-
9    c571484.html#comments
10         a. “I located the police report about Scott McMillan, La Mesa, Attorney reportedly
           molesting children. I also found he operates his own law school out of a small, run
11         down office near the train tracks, but in the same breath says he's a leading law firm.
           With this reputation, I cannot imagine such is true.”
12         b. Attached as an image to the comment, he re-posted his November 27, 2014 post,
13         i.e., the content at Exhibit ‘B’ herein, the repost of which is attached at Exhibit ‘P.’
14         78. On September 16, 2015, a poster using the name and search term
15   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
16   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
17   ml#comments
18         a. “Scott McMillan, McMillan Law Firm, sued the hardworking Sheriff over his
           Facebook Account. The law settled for about nothing. It is unfortunate law
19         enforcement need to pay out money to defend such nuisance lawsuits, when that
           money should be going to hiring more officers, and buying newer equipment. With
20         about 60 loses in the Court of Appeal docket, astonishing he is still in office.”
21         b. That case – Karras v. Gore, U.S. D.C. So. Dist. Cal., 14cv2564-BEN-KSC – was
22         settled for a payment of attorneys fees plus the token $20. Thus, the above statement
23         is false, as the Sheriff paid attorneys fees and agreed to change practices.
24         c. Attached as an image to the comment, he posted a partial news article, a copy of
25         which is attached as Exhibit ‘Q.'
26         79. Also on September 16, 2015, a poster using the name and search term
27   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
28   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht


                                               Complaint                                         29

                                                  95
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3827
                                             12/12/17     PageID.4319Page
                                                                       Page
                                                                          69103 of
                                                                            of 85
                                    1196


1    ml#comments
2           a. “McMillan Academy of Law, run by Scott McMillan appears to have not had a
            single student go through his law firm, where the class is shared in the same space as
3           the attorney, oh and also Dean McMillan (also an attorney working out of same
            office. According to LawDragon, no one has ever graduated or even applied to that
4           law school.”
5           b. Attached as an image to the comment, he posted a webpage print-out, a copy of
6           which is attached as Exhibit ‘R.'
7           80. Also on September 16, 2015, a poster using the name and search term
8    “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
9    http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
10   ml#comments
11          a. “McMillan sued by Yelp! for posting his own reviews. Read the story in detail,
12          sad set of circumstances, especially when you need to create your own reviews.” In
13          truth and in fact, Plaintiffs had not posted their “own reviews.” Plaintiffs had
14          represented Julian McMillan, who had been sued by Yelp.
15
            b. Attached as an image to the comment, he posted a news article, a copy of which is
16
            attached as Exhibit ‘S.' Plaintiff did not post his own reviews. Indeed, in that case,
17
            Plaintiff was not accused by Yelp of posting comments. Rather, Plaintiff
18
            represented another attorney, Julian McMillan, in the case. Chaker edited out the
19
            part that would have otherwise explained that Plaintiff was not the Defendant
20
            DARREN in that action, but rather just the attorney. Contrary to Defendants’
21
            suggestion, Plaintiff was partially successful at the time of the posting of the article.
22
            Plaintiff prevailed in a motion to change venue, and counsel for Yelp paid Plaintiffs
23
            attorneys fees.
24
            81. On February 9, 2016, a poster using the name and search term “mcmillan-law-
25
     firm” posted the following as a comment to the post at
26
     http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
27
     ml#comments
28
            a. “Williams v. The Superior Court of San Diego County/Nordstrom, Inc., Court of

                                                Complaint                                          30

                                                   96
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3828
                                             12/12/17     PageID.4320Page
                                                                       Page
                                                                          70104 of
                                                                            of 85
                                    1196


1           Appeal Case Number D068765. shows Scott McMillan, McMillan Law Firm in Las
            Mesa, LOST ANOTHER case. This one where Nordstrom is vigorously defending
2           itself against allegations of attorney, law professor, and law school dean (Yes, Scott
            McMillan is all three of those titles since he runs a law school, McMillan Academy
3           of Law, out of two story office near the train tracks. Despite not a single student has
            graduated, or appears to have attended, no one has taken the bar exam either.
4           Nonetheless, this is another example of Scott McMillan losing another case -
            although he claims to be a "leading" San Diego attorney.”
5
            b. Attached as an image to the comment, the docket form , a copy of which is
6
            attached as Exhibit ‘T.’
7
            c. This statement is also false, as the court of appeals allowed the appeal to proceed
8
            in light of the law regarding final, appealable orders.
9
            d. Further, the Court entered an order of stipulated reversal of such appeal.
10
            82. On or about March 27, 2016, Plaintiff McMillan identified a post using
11
     Plaintiff TMLF’s logo and created in a manner that suggested it was posted by Plaintiff or
12
     someone else from his firm. Plaintiff did not authorize Defendant DARREN or anyone
13
     else to use the McMillan Law Firm’s logo in this manner. The latest entry was posted on or
14
     about December 17, 2015. Specifically, a poster using the name and search term
15
     “scott-mcmillan-law-firm-la-mesa” setup a bogus page entitled “The McMillan Law Firm
16
     Customer Care Service” using The McMillan Law Firm, APC logo at
17
     http://www.complaintsboard.com/the-mcmillan-law-firm-b121166
18
            a. A true and correct copy of that page is attached hereto as Exhibit ‘U.’ Notably,
19
            the bogus “customer care service” repeats the same false allegations as previously
20
            made by Chaker. i.e., that Plaintiff molested his daughter.
21
            b. This had been preceded by an email on December 8, 2014 – Plaintiff’s birthday –
22
            wherein Mr. Chaker emailed Plaintiff the following statement:
23
            Good afternoon Scott,
24
            I have been unable to locate a TM/Copyright for the domain mcmillanlaw.us
25          or for your law firm with the USPTO or U.S. Copyright Office. If there is
            such, kindly advise prior to 7PM today. If I do not receive a response, it will
26          be presumed there is no such TM/Copyright. Prior to posting additional
            material, I will extend this courtesy to you.
27
            Also, I have updated the material on
28          http://scott-mcmillan-law.blogspot.de/p/scott-mcmillan-attorney-la-mesa.ht
            ml

                                               Complaint                                         31

                                                   97
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3829
                                             12/12/17     PageID.4321Page
                                                                       Page
                                                                          71105 of
                                                                            of 85
                                    1196


1           I have also copied Maura Larkins on this email.
2           Best regards,
3           Darren”
4           c. A true and correct copy of the email dialog that occurred December 8, 2014, are
5           attached as Exhibit ‘V’.
6           d. Plaintiffs had not authorized the use of their name, the logo, or creation of a
7           customer care site on Complaintsboard.com.
8           83. Following Mr. Chaker’s posts to complaintsboard.com, individuals solicited
9    Plaintiffs purporting to be able to have the ability to remove the posts. Such third parties
10   solicited Plaintiffs to remove defendants’ posts for a charge of $4,800.
11
12                                   PISSEDCONSUMER.COM
13          84. Since 2011 and through the present and as late as February, 2016, a person
14   using a pseudonym, that Plaintiff McMillan believe to be Defendant DARREN, or the other
15   defendants, based on the content and Defendant DARREN’s statements above of September
16   18, 2014 referring to the “pissedconsumer.com” website, has posted derogatory and
17   defamatory statements about Plaintiff on the Internet at the website domain
18   “PISSEDCONSUMER.COM”:
19          85. A Google search of “scott mcmillan site:pissedconsumer.com” returns some
20   3200 results. Most of those results appear to have been posted in 2015 and 2016.
21   Plaintiffs believe that defendants have posted all of those entries. They have done so either
22   anonymously or using some variation of the key words: “The Mcmillan Law Firm -
23   La-Mesa-Attorney-Scott-McMillan”
24          86. Unlike Complaintsboard.com, Pissedconsumer.com does not remove the
25   information posted by persons such as Defendant DARREN. Specifically, the terms of
26   service of Pissedconsumer states:
27          “5. Removal of Information
            By posting information on PC, you understand and agree that the material
28          will not be removed even at your request. You shall remain solely
            responsible for the content of your postings on PC.”

                                               Complaint                                            32

                                                   98
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3830
                                             12/12/17     PageID.4322Page
                                                                       Page
                                                                          72106 of
                                                                            of 85
                                    1196


1    http://www.pissedconsumer.com/tos.txt.
2             87. The Pissedconsumer.com post that Chaker started on November 3, 2011, is
3    attached hereto as Exhibit ‘W’. Within that post he misrepresents Plaintiff’s win/loss
4    ratio.
5             88. On August 23, 2015, Defendant DARREN made the false allegation accusing
6    Plaintiff of child molestation, a copy is attached hereto as Exhibit ‘X’.
7             89. On December 4, 2015, Defendant DARREN posted a review entitled “The
8    Mcmillan Law Firm - Scott McMillan Law Firm - La Mesa - Malpractice” which falsely
9    accuses Plaintiff of malpractice, attached hereto as Exhibit ‘Y.’ Chaker falsely states that
10   an appeal in Williams v. Nordstrom, Inc. was to be dismissed, and termed it “malpractice.”
11   In fact, the appeal was not dismissed and ultimately resulted in a stipulated order of
12   reversal.
13            90. On February 11, 2016, Defendant DARREN posted a review “The Mcmillan
14   Law Firm - Scott McMillan Law Firm La Mesa,” which is attached hereto as Exhibit ‘Z.’
15   Chaker made statements that were knowingly false as he stated that the “the Court of Appeal
16   DENIED the petition after forcing the defendant incur huge amounts of attorney fees.” In
17   fact, the defendant did not file a response. Chaker had no basis to suggest that attorneys
18   fees were incurred resulting from the filing of the petition. Chaker further falsely stated
19   Plaintiff’s record as “almost 80 under his belt and a hand full of wins.”
20                                           Current Posts
21            91. To date Defendant DARREN continues to post material on his website in a
22   manner that is intended to optimize his websites to respond to search engine indexes with
23   his name. Specifically, he continues to use the tags “mcmillan-associates-la-mesa”,
24   “scott-mcmillan-la-mesa”:
25            92. On March 29, 2016, Plaintiff accessed
26   http://darren-chaker.blogspot.com/search/label/scott-mcmillan-la-mesa and retrieved the
27   attached article, a true and correct copy of which is attached hereto as Exhibit ‘AA’ which
28   incorporates the use of the tags.


                                               Complaint                                           33

                                                   99
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3831
                                             12/12/17     PageID.4323Page
                                                                       Page
                                                                          73107 of
                                                                            of 85
                                    1196


1           93. On March 29, 2016, Plaintiff accessed http://darrenchaker.us/ and retrieved the
2    attached article bearing a date of December 8, 2015, a true and correct copy is attached
3    hereto as Exhibit ‘BB’, which incorporates the use of the tags.
4           94. On March 29, 2016, Plaintiff McMillan accessed http://darrenchaker.org/ and
5    retrieved the attached article bearing a date of January 23, 2016, a true and correct copy is
6    attached hereto as Exhibit ‘CC’, which incorporates the use of the tags.
7                            Defendant DARREN’s Use of Pseudonyms
8           95. Plaintiff is informed and believe that Darren Chaker also uses the pseudonym
9    “Luis Perdomo.” On March 29, 2016, Plaintiff accessed
10   https://plus.google.com/1048021677 37415969641/posts/HySqAKY7jYR and retrieved
11   the attached page, a true and correct copy is attached hereto as Exhibit ‘DD’, incorporating
12   the same allegations and artwork published by Defendant DARREN Chaker.
13             Defendant DARREN admits that he knew that he was then barred
14                                from posting defamatory material.
15          96. On January 22, 2016, Defendant DARREN Chaker appeared for a judgment
16   debtors exam. He had been previously ordered to produce the names of the domains that he
17   holds. On the record in the Chaker v. Mateo case, he admitted that he had such logins and
18   that his use of those could, at that time, result in the revocation of his supervised release.
19   [Transcript, p. 9] Defendant DARREN was also ordered to provide the identifying
20   information as to Internet domains that he owns. A copy of relevant portions of the
21   transcript is attached hereto as Exhibit ‘EE’.
22          97. Defendant DARREN did not appear as ordered on March 11, 2016, in the
23   Superior Court to provide the information. As recited in the transcript of January 22, 2016,
24   Defendant DARREN was aware that he was required to appear at the continued examination.
25   [Exh. EE, page 31]
26          98. On March 11, 2016 Defendant DARREN failed to appear for his continued
27   judgment debtor’s examination. Judge Taylor issued a bench warrant for his appearance,
28   which remains outstanding. A copy of that bench warrant is attached hereto as Exhibit


                                                Complaint                                             34

                                                   100
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3832
                                             12/12/17     PageID.4324Page
                                                                       Page
                                                                          74108 of
                                                                            of 85
                                    1196


1    ‘FF’.
2            99. On March 11, 2016 the Superior Court in the Chaker v. Mateo case has
3    ordered the appointment of a receiver to take possession of Mr. Chaker’s personal
4    property, including his domain names for ultimate sale in order to satisfy the judgment.
5    Despite orders to do so, Defendant DARREN has not complied with the orders of the
6    Superior Court.
7              Defendant DARREN has created false accounts with Plaintiff’s name
8            100. Defendant DARREN created accounts using Plaintiff’s name and the name of
9    the McMillan Law Firm. One of those accounts is on Slideshare.net, and reflected on
10   Exhibit ‘GG’. Plaintiff surmise that he has prepared that account in order to upload his
11   defamatory material that he intends to falsely attribute to him. Plaintiff believes that
12   Defendant DARREN made that account because it is associated by Slideshare with an
13   account under the name of David Gingras, another attorney who successfully represented a
14   victim of Defendants and whom Chaker has also targeted for harassment.
15           Defendants have inflicted damage upon both Plaintiffs and their clients.
16           101. Attorneys rely upon their reputation in the community and before the courts
17   that they practice in. Defendant DARREN’s outrageous lies which he has published have
18   injured Plaintiffs’ practice. Opposing counsel in other, unrelated cases have mentioned the
19   existence of the posts. Clients have mentioned the existence of the posts and their content.
20   Plaintiff McMillan believes that jurors that Plaintiff has tried cases in front of have
21   accessed the posts and taken them into account in determining the cases. Thus, Defendants’
22   threats made on September 18, 2014 have borne out. Plaintiffs have invested substantial
23   time in developing Plaintiff McMillan’s reputation as a zealous advocate for his clients, and
24   remaining consistent to the duties of an attorney as set forth in Business and Professions
25   Code section 6068, and particularly that set forth in subsection (h):
26           “Never to reject, for any consideration personal to himself or herself, the
27           cause of the defenseless or the oppressed.”
28   (Bus. & Prof. Code 6068(h).)


                                               Complaint                                          35

                                                   101
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3833
                                             12/12/17     PageID.4325Page
                                                                       Page
                                                                          75109 of
                                                                            of 85
                                    1196


 1              102. Susan A. has been, prior to representation by Plaintiffs herein, defenseless to
 2   and oppressed by Defendants.
 3              103. Wendy Mateo was defenseless to and was oppressed by Defendants.
 4              104. Plaintiff understood that Defendants could resort to attacks of Plaintiff
 5   McMillan’s character when Plaintiff continued to represent Susan A. despite Defendants
 6   threats to engage in libel against him. Defendants then performed on their threats, and have
 7   engaged in the forewarned attacks against Plaintiff – and later Plaintiff’s family members –
 8   following January 21, 2014, and September 18, 2014.
 9                                     FIRST CLAIM FOR RELIEF
10 (Civil Extortion - Against Defendants DARREN, NICOLE, VANIA, and DOES 1 through X)
11              105. Plaintiffs repeat and reallege the averments contained in paragraphs 1-92, as
12   though fully set forth herein.
13              106. Plaintiffs are informed, believe and thereon allege that Defendants were
14   involved in a conspiracy and/or conspired to commit the foregoing acts.
15              107. Each of the Defendants were co-conspirators with one another, and agreed
16   verbally or orally, or through their actions, to jointly commit extortion against the
17   Plaintiffs. Defendants, and each of them, knowingly and intentionally did the acts and things
18   alleged in this Complaint pursuant to, and in furtherance of, such agreement. Defendants did
19   these acts, repeatedly and, with knowledge of the fact that they were, among other things,
20   illegal.
21              108. Defendants, and each of them, in pursuance of a common plan or design to
22   commit the tortious conduct described above, actively took part in it, or furthered it by
23   cooperation or request, or otherwise lent aid or encouragement to Defendant DARREN,
24   and are thereby equally liable to Plaintiffs.
25              109. Defendants, and each of them knew that the foregoing conduct constituted a
26   breach of legal duty, but nonetheless assisted Defendant DARREN, and are thereby equally
27   liable to Plaintiffs.
28              110. Defendants, and each of them breached their duties to Plaintiffs, while


                                                  Complaint                                          36

                                                     102
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3834
                                             12/12/17     PageID.4326Page
                                                                       Page
                                                                          76110 of
                                                                            of 85
                                    1196


1    assisting Defendant DARREN in accomplishing the tortious conduct, and are thereby
2    equally liable to Plaintiffs.
3              111. Defendants conduct was unlawful as a matter of law, in that Defendant
4    DARREN had been forbidden from types of expressive conduct by the terms of his Pre-
5    Trial release, the terms of his confinement and Bureau of Prisons regulations, and the
6    terms of his supervised release. Defendant NICOLE was aware of these restrictions.
7              112. Defendant NICOLE’s conduct filing legal documents under Defendant
8    DARREN’S name comprised the unlawful practice of law, prohibited by Bus. & Prof. Code
9    section 6126. A non-attorney's "[D]oing and performing services in a court of justice in any
10   matter depending therein" is the unauthorized practice of law and therefore a criminal
11   offense. (See, People v. Starski (2017) 7 Cal. App. 5th 215, 230.)
12             113. Extortion is the obtaining of property from another, with his consent, or the
13   obtaining of an official act of a public officer, induced by a wrongful use of force or fear,
14   or under color of official right. (Penal Code § 518.)
15             114. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
16   continue to practice law consistent with the California Business and Professions Code, and
17   the California Rules of Professional Conduct, with respect to the advocacy on behalf of
18   Susan A.
19             115. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
20   collect on a debt due and owing by virtue of the fee award in the Chaker v. Mateo action.
21             116. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
22   continue to collect and publish cases through the website FEARNOTLAW.COM.
23             117. Defendants obtained – without consent – the use of Plaintiffs’ name, have
24   used Plaintiff TMLF’s logo, and have damaged the goodwill associated with Plaintiffs’
25   herein.
26             118. Defendants attempted to obtain an official act of a public officer, i.e., a judge,
27   through Plaintiffs’ clients acquiesence.
28             119. Defendants wrongfully attempted to induce fear as that term is used in Penal


                                                  Complaint                                          37

                                                     103
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3835
                                             12/12/17     PageID.4327Page
                                                                       Page
                                                                          77111 of
                                                                            of 85
                                    1196


1    Code section 519, which provides in pertinent part under the heading “threats”:
2           “Fear, such as will constitute extortion, may be induced by a threat of any of
            the following:
3                   1. To do an unlawful injury to the person or property of the
                    individual threatened or of a third person.
4                   2. To accuse the individual threatened, or a relative of his or
                    her, or a member of his or her family, of a crime.
5                   3. To expose, or to impute to him, her, or them a deformity,
                    disgrace, or crime.
6                   4. To expose a secret affecting him, her, or them.
                                                   ***
7
     (Penal Code § 519)
8
            120. An attempt to extort, successful or not, is a criminal offense forbidden by the
9
     California Penal Code:
10
            Every person who attempts, by means of any threat, such as is specified in
11          Section 519 of this code, to extort money or other property from another is
            punishable by imprisonment . . . or by fine . . . or by both such fine and
12          imprisonment.
13          Cal. Penal Code § 524.
14          121. Defendants’ threats were both express, and were implied by the contents of the
15   various writings and the surrounding circumstances.
16          122. Defendants transmitted the threats comprising extortion.
17          123. Plaintiff TMLF was damaged by the loss of goodwill resulting from the false
18   statements published by Defendants’ “making good” on the threats. Plaintiff TMLF was
19   damaged by the lost advertising expenses which were negated by the false statements
20   published by defendants.
21          124. The Statutes of Limitations regarding the bringing of the present claims have
22   been tolled due to Defendants’ absence from the State of California according to California
23   Code of Civil Procedure section 351:
24          “If, when the cause of action accrues against a person, he is out of the state,
            the action may be commenced within the term herein limited, after his return
25          to the state, and if, after the cause of action accrues, he departs from the
            state, the time of his absence is not part of the time limited for the
26          commencement of the action.”
27   (Cal. Civ. Proc. Code § 351.)
28          125. As a direct and proximate result of the acts of Defendants as alleged in the


                                              Complaint                                         38

                                                 104
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3836
                                             12/12/17     PageID.4328Page
                                                                       Page
                                                                          78112 of
                                                                            of 85
                                    1196


1    First Cause of Action above, Plaintiffs were injured. Plaintiff McMillan suffered
2    economic damage, expense, and humiliation, including, but not limited to, emotional upset,
3    anxiety, mental suffering, and damage to his reputation. Plaintiff McMillan also suffered
4    loss of time. Plaintiff McMillan is therefore entitled to compensatory damages in an
5    amount which will compensate for him all the detriment proximately caused by
6    Defendants' acts, whether foreseeable or not, according to proof at time of trial, in
7    accordance with Civ. Code § 3333.
8           126. Defendants’ conduct was malicious, oppressive and/or fraudulent within the
9    meaning of California Civil Code § 3294, thereby entitling Plaintiffs to an award of
10   punitive damages in an amount according to proof at time of trial.
11   ///
12   ///
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                                               Complaint                                         39

                                                  105
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3837
                                             12/12/17     PageID.4329Page
                                                                       Page
                                                                          79113 of
                                                                            of 85
                                    1196


1                                  SECOND CAUSE OF ACTION
2                                    UNFAIR COMPETITION
3                         Business and Professions Code §§ 17200, et seq.
4                              (By all Plaintiffs against All Defendants)
5           127. Plaintiffs reallege and incorporate by reference paragraphs 1-103, and 105 to
6    126, inclusive.
7           128. California Business & Professional Code §17200 defines unfair competition
8    as “unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
9    misleading advertising and any act prohibited by Chapter 1 (commencing with Section
10   17500) of Part 3 of Division 7 of the Business and Professions Code”. Defendants’
11   conduct therefore constitutes unfair competition as defined by the California Business &
12   Professional Code §17200.
13          129. Plaintiffs have lost money and property due to the Defendants' acts and
14   practices. Thus, Plaintiffs have standing under California Business & Professional Code
15   §17204. In accordance to §17203, Plaintiffs seek injunctive relief to compel Defendants
16   to cease the practices, and for restitution of the use of the names and likenesses of
17   Plaintiffs herein.
18          130. Plaintiffs requests that the Court also issue an order to DARREN Chaker
19   requiring him to request the removal of his posts from the Internet forums in a form that
20   may be published to the third parties, i.e., Pissedconsumer.com and Complaintsboard.com,
21   that have published defendants' harrassing and defamatory posts. With such a finding, and an
22   order that Chaker remove those post, those sites would willingly do so.
23          131. Plaintiffs requests that the Court also issue an order with findings such that
24   can be published to those search engines that have indexed the posts, i.e., Google, Yahoo,
25   and Bing, and findings that such posts were placed by Defendant DARREN contrary to the
26   Judgment in this case. And that Defendant DARREN be ordered to request the removal of
27   such posts from such search indices. Plaintiff's hope and expectation is that those third
28   parties would be persuaded to remove the posts from the respective index.


                                               Complaint                                            40

                                                  106
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3838
                                             12/12/17     PageID.4330Page
                                                                       Page
                                                                          80114 of
                                                                            of 85
                                    1196


1                                      PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray for relief as follows:
3           1. For an Order enjoining Defendants, their agents, and those acting in concert or
4    conspiracy with them, temporarily during the pendency of this action and permanently
5    thereafter from and further violation of the Unfair Competition Law, including such acts
6    taken in reprisal for the refusal to abide by the acts of extortion described herein.
7           2. That the Court appoint a receiver or special master.
8           3. For compensatory damages according to proof;
9           4. For punitive and exemplary damages pursuant to Cal. Civil Code § 3294 or as
10   otherwise provided by law;
11          5. For an award of costs of suit;
12          6. For an award of pre-judgment interest and post-judgment interest in the
13   maximum amount permitted by law;
14          7. For such other and further relief as the Court deems just and proper.
15   Dated: September 27, 2017                   The McMillan Law Firm, A.P.C.
16                                               /s/ Scott A. McMillan
17                                        BY:    ______________________________
18                                               Scott A. McMillan
                                                 Attorney, In Propria Persona, and on behalf of
19                                               Plaintiff The McMillan Law Firm, A.P.C.
20
                                    DEMAND FOR JURY TRIAL
21
            Plaintiff demands a jury trial on all causes of action so determinable.
22
     Dated: September 27, 2017                   The McMillan Law Firm, A.P.C.
23
                                                 /s/ Scott A. McMillan
24
                                          BY:    ______________________________
25
                                                 Scott A. McMillan
26                                               Attorney, In Propria Persona, and on behalf of
                                                 Plaintiff The McMillan Law Firm, A.P.C.
27
28


                                                Complaint                                         41

                                                   107
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3839
                                             12/12/17     PageID.4331Page
                                                                       Page
                                                                          81115 of
                                                                            of 85
                                    1196




                          Exhibit “F”
                                       108
   Case
   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                              Document127-1  Filed
                                       91 Filed    09/23/22PageID.3840
                                                12/12/17     PageID.4332Page
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                                                                             82116 of
                                                                               of 85
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                  5      San Diego, California 92101
                         (619) 687-3000; FAX: (213) 615-7100
                  6
                         Mailing Address:
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                         Los Angeles, California 90071-2627
                  8
                         Attorneys for Defendant
                  9      NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,                  )   Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                      )
               14 California professional corporation,               )   Judge: William Q. Hayes
                                                                     )   Courtroom 14B
               15                        Plaintiffs,                 )
                                vs.                                  )   Magistrate Hon. Mitchell D. Dembin
               16                                                    )   Courtroom 11th Floor
                  DARREN D. CHAKER an individual,                    )
               17 and as trustee of PLATINUM                         )   NOTICE OF CROSS-APPEAL
                  HOLDINGS GROUP TRUST, dba                          )
               18 COUNTER FORENSICS; NICOLE                          )
                  CHAKER, an individual, and as trustee              )
               19 of THE NICOLE CHAKER                               )
                  REVOCABLE LIVING TRUST, U/A                        )
               20 dated August 18, 2010, VANIA                       )
                  CHAKER, an individual and as                       )
               21 beneficiary of The Island Revocable                )
                  Trust under Declaration of Trust dated             )
               22 June 2, 2015, MARCUS MACK as                       )
                  trustee of The Island Revocable Trust              )
               23 under Declaration of Trust dated June 2,           )
                  2015,                                              )
               24                                                    )
                               Defendants.                           )
               25                                                    )
               26               TO THE COURT, ALL INTERESTED PARTIES AND TO THEIR
               27 RESPECTIVE ATTORNEYS OF RECORD:
               28
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law                NICOLE CHAKER'S MOTION TO EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

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                                                              109
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3841
                                             12/12/17     PageID.4333Page
                                                                       Page
                                                                          83117 of
                                                                            of 85
                                    1196




     1        Notice is hereby given that defendant Nicole Chaker, hereby files this cross-
     2 appeal in the above named case to the United States District Court for the Ninth
     3 Circuit from the Order Closing the Case (ECF 86) and more specifically, the Order
     4 denying defendant Nicole Chaker’s Motion to Strike Pursuant to California Code of
     5 Civil Procedure 425.16 and motion for attorney’s fees and costs as moot in light of
     6 the granting of defendant Nicole Chaker’s motion to dismiss.
     7 Dated: December 12, 2017             GILBERT, KELLY, CROWLEY & JENNETT
                                            LLP
     8
     9
                                            By:
    10                                            TIMOTHY W. KENNA
                                                  REBECCA J. SMITH
    11                                            Attorneys for Defendant
                                                  NICOLE CHAKER
    12
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              Case3:16-cv-02186-WQH-MDD
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                                                  91 Filed    09/23/22PageID.3842
                                                           12/12/17     PageID.4334Page
                                                                                     Page
                                                                                        84118 of
                                                                                          of 85
                                                  1196


                    1                                 CERTIFICATE OF SERVICE
                    2
                    3       I am employed in the County of Los Angeles, State of California. I am over
                      the age of 18 and not a party to the within action. My business address is 550 South
                    4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                    5           On December 12, 2017, I served the within document(s) described as:
                    6
                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF DEFENDANT
                    7           NICOLE CHAKER'S NOTICE OF MOTION FOR EXTENSION OF TIME
                                TO FILE CROSS-APPEAL (FRAP 4(a)(5))
                    8
                                on the interested parties in this action as stated on the attached service list:
                    9
                   10
                          X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                   11           described via the United States District Court’s Electronic Filing Program on the
                                designated recipients via electronic transmission through the CM/ECF system on the
                   12           Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
                                Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                   13           case. The NEF will constitute service of the document(s). Registration as a CM/ECF
                                user constitutes consent to electronic service though the court’s transmission facilities.
                   14
                          X     (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                   15           sealed envelope addressed as set forth on the attached mailing list. I placed
                                each such envelope for collection and mailing following ordinary business
                   16           practices. I am readily familiar with this Firm's practice for collection and
                                processing of correspondence for mailing. Under that practice, the
                   17           correspondence would be deposited with the United States Postal Service on
                                that same day, with postage thereon fully prepaid at San Diego, California, in
                   18           the ordinary course of business. I am aware that on motion of the party
                                served, service is presumed invalid if postal cancellation date or postage meter
                   19           date is more than one day after date of deposit for mailing in affidavit.
                   20           Executed on December 12, 2017, at Los Angeles, California.
                   21           I declare under penalty of perjury that the foregoing is true and correct.
                   22
                                    ELIZABETH RUBIO
                   23               (Type or print name)                                     (Signature)
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                                                          CERTIFICATE OF SERVICE
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                                         Document127-1  Filed
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                    1                               CERTIFICATE OF SERVICE
                    2
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                      (Plaintiff)
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                      5720 OBERLIN DRIVE
                   11 SAN DIEGO, CA 92121
                      Phone: 858-642-2002
                   12 Fax: 858-642-2001
                      Email: tgrant@fmglegal.com
                   13
                      Darren D. Chaker (Defendant)
                   14
                   15
                      RYAN G. BAKER
                   16 BAKER MARQUART LLP
                      2029 CENTURY PARK EAST
                   17 SUITE 1600
                      LOS ANGELES, CA 90067
                   18 Phone: 424-652-7800
                      Fax: 424-652-7850
                   19 Email: rbaker@bakermarquart.com
                   20 Vania Chaker (Defendant)
                   21
                   22
                   23
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                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1 Filed12/29/17
                                       92 Filed  09/23/22 PageID.3855
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 4
   Attorney for Plaintiff, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
 5 LAW FIRM, APC, a California Professional corporation
 6
 7
 8                     UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              PLAINTIFFS’ OPPOSITION TO
14                                            DEFENDANT NICOLE
     v.                                       CHAKER’S NOTICE OF MOTION
15                                            FOR EXTENSION OF TIME TO
     DARREN D. CHAKER an individual,          FILE CROSS-APPEAL (FRAP
16   and as trustee of PLATINUM               4(a)(5)) ].
     HOLDINGS GROUP TRUST, dba
17   COUNTER FORENSICS; NICOLE
     CHAKER, an individual, and as trustee Hearing Date (no oral argument):
18   of THE NICOLE CHAKER                   January 15, 2018
     REVOCABLE LIVING TRUST, U/A Dept. 14B
19   dated August 18, 2010, VANIA
     CHAKER, an individual and as
20   beneficiary of The Island Revocable
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust
22   under Declaration of Trust dated June
     2, 2015,
23   Defendants.
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                                            113
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1 Filed12/29/17
                                        92 Filed  09/23/22 PageID.3856
                                                            PageID.4337 Page
                                                                         Page2121
                                                                              of 8of
                                      1196


 1 I.        INTRODUCTION
 2           Defendant Nicole Chaker seeks an extension to file a cross-appeal, despite
 3 the Motion being untimely, and providing no discernable “excusable neglect” to
 4 warrant an extension. The sole basis for Defendant’s request for an extension relies
 5 on the argument of lack of notice of Plaintiffs’ appeal. [ECF 90-1 pg 3.] However,
 6 because (1) the Notice of Appeal was filed via the Court’s ECF system, (2) defense
 7 counsel are registered for ECF filings and thus receive Notification of Electronic
 8 Filing (“NEF”) emails [See Exhibit A], (3) said counsel has never before claimed
 9 an issue with receiving notices via the NEF system, and (4) defense counsel
10 obtained the Notice of Appeal from the Court website by November 9, 2017,
11 Plaintiffs’ actual filing deadline, it is unclear how Defendant or her counsel can
12 legitimately claim to have lacked notice of Plaintiffs’ appeal. Defendant fails to
13 argue “excusable neglect” and the Motion should be denied.
14 II.       RELEVANT PROCEDURAL HISTORY
15           On August 28, 2016, Plaintiffs initiated this case by filing their complaint.
16 [ECF 1.]
17           On October 5, 2017, Defendants submitted a proposed judgment, to which
18 Plaintiffs objected, as it was misleading by implying the motions to dismiss were
19 granted on their merits. [Exhibit D.]
20           On December 5, 2016, Plaintiffs filed their First Amended Complaint. [ECF
21 25.]
22           On December 16, 2016, Defendant Nicole Chaker filed a motion to dismiss
23 [ECF 35] and motion to strike. [ECF 36.]
24           On February 17, 2017, Defendant Darren Chaker filed a motion to dismiss
25 [ECF 56] and motion to strike. [ECF 55.]
26           On March 3, 2017, Defendant Vania Chaker filed a motion to dismiss or, in
27 the alternative, quash service. [ECF 59.]
28
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                     2

                                               114
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1 Filed12/29/17
                                        92 Filed  09/23/22 PageID.3857
                                                            PageID.4338 Page
                                                                         Page3122
                                                                              of 8of
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 1           On August 28, 2017, this Court entered an order (1) granting without
 2 prejudice Defendant Darren Chaker’s motion to dismiss (motion to strike denied as
 3 moot), (2) granting without prejudice Defendant Nicole Chaker’s motion to
 4 dismiss (anti-slapp motion to strike denied as moot), and (3) granting Defendant
 5 Vania Chaker’s motion to quash service. [ECF 83.]
 6           On October 10, 2017, this Court entered an order closing this case. [ECF
 7 86.]
 8           On November 5, 2017, Plaintiffs filed their Notice of Appeal in this Court.
 9 [ECF 87.] Also on November 5, 2017, Plaintiffs’ firm received NEF receipt emails
10 listing the individuals served with the Notice of Appeal, which included
11 Defendant’s counsel. [McMillan Dec. Exh. A.]
12           On December 12, 2017, Defendant Nicole Chaker filed a motion for an
13 extension of time to file a cross-appeal. [ECF 90.]
14 III.      ARGUMENT
15           A.      Defense Counsel Received Notice of Plaintiffs’ Notice of Appeal.
16           Defense counsel states that:
17                   7. On November 5, 2017, plaintiffs filed a notice of appeal.
                     Timothy W. Kenna and I did not receive service of the
18                   Notice of Appeal by electronic or any other service.
19 [Smith Declaration ¶ 7.]
20           On November 5, 2017 at 1:56 PM, as a result of electronically filing the
21 Notice of Appeal through the EM/ECF system, as has been Plaintiffs’ practice
22 throughout this case, Plaintiffs received notification emails of the filing for
23 Document No. 87. [Exhibit A.] Listed in those emails were the following recipients
24 of the NEF, which included, among others:
25           3:16-cv-02186-WQH-MDD Notice has been electronically mailed to:
                                            ***
26                 Rebecca Jo Smith &nbsp &nbsp rjs@gilbertkelly.com
                                            ***
27                 Timothy W Kenna &nbsp &nbsp t.kenna@gilbertkelly.com,
                   charlenec@gilbertkelly.com”
28
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                   3

                                                115
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1 Filed12/29/17
                                       92 Filed  09/23/22 PageID.3858
                                                           PageID.4339 Page
                                                                        Page4123
                                                                             of 8of
                                     1196


 1 [Exhibit A.]
 2           The Electronic Case Filing Administrative Polices and Procedures Manual
 3 for the United States District Court for the Southern District of California states:
 4                   d. Service
 5                   ***
 6                   2. Service of Documents
 7                   Whenever a document is electronically filed in accordance
                     with these procedures, the CM/ECF system will generate a
 8                   “Notice of Electronic Filing” (NEF) to the filing party, the
                     assigned judge and any registered user in the case. The
 9                   NEF will constitute service of the document for purposes of
                     the Federal Rules of Civil, Criminal and Appellate
10                   Procedure. Registration as a CM/ECF user constitutes
                     consent to electronic service through the court’s
11                   transmission facilities.
12                   Each registered user of the CM/ECF system is responsible
                     for assuring that the user’s e-mail account is monitored
13                   regularly, and that e-mail notices are opened in a timely
                     manner.
14
     [McMillan Dec. Exh. B, PDF pg. 12, doc. pg. 9.]
15
             Defense counsel registered for the CM/ECF system to be notified as recipients.
16
     [McMillan Dec. Exh. C.] According to the record, Ms. Smith was assigned on
17
     December 16, 2016, and Mr. Kenna was assigned on January 26, 2017. [Id.] The
18
     Notice of Appeal was filed on November 5, 2017, and the NEF emails reflect that they
19
     were listed as recipients of the notice of the appeal. As such, defense counsel, and
20
     therefore Defendant, had notice of Plaintiffs’ filing of the Notice of Appeal on
21
     November 5, 2017.
22
             That said, defense counsel states that they were only notified of the Notice of
23
     Appeal by way of the mailed filings from the Clerk of the Ninth Circuit Court of
24
     appeals on November 9, 2017, and thereafter obtained the Notice of Appeal
25
     documents from Pacer. [Smith Dec. ¶ 9-10.] Even by that date, which Plaintiffs do not
26
     contend is the actual date of notice, Defendant’s arguments fail because she and her
27
     counsel had notice in time to file the cross-appeal.
28
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                  4

                                                116
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1 Filed12/29/17
                                        92 Filed  09/23/22 PageID.3859
                                                            PageID.4340 Page
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                                                                              of 8of
                                      1196


 1           Defense counsel argues that because they missed the email notification for
 2 Plaintiff’s filing of the Notice of Appeal and then failed to calendar the filing they,
 3 themselves, downloaded, Defendant should be allowed to file her cross-appeal after
 4 the deadline to do so has passed. [See Smith Dec. ¶ 8-10.] As noted above, “Each
 5 registered user of the CM/ECF system is responsible for assuring that the user’s e-mail
 6 account is monitored regularly, and that e-mail notices are opened in a timely
 7 manner.” [McMillan Dec. Exh. C pg. 12.]
 8           But they needed to show something. Was this a class action that bristled
             with client “consultation difficulties”? See Marx v. Loral Corp., 87 F.3d
 9           1049, 1053-54 (9th Cir. 1996). Was the client distracted by a divorce and
             job change, and had he lost his lawyer to boot? See Laurino, 279 F.3d at
10           753. Was the rule confusing or notice of the deadline unusual? See
             Pioneer, 507 U.S. at 398. No, no and no. The action was not
11           complicated; the lawyer worked at a large, sophisticated law firm; and
             the rule is as clear as legal rules get:
12
                     In a civil case, except as provided in Rules 4(a)(1)(B),
13                   4(a)(4), and 4(c), the notice of appeal required by Rule 3
                     must be filed with the district clerk within 30 days after the
14                   judgment or order appealed from is entered.
15 Pincay v. Andrews (9th Cir. 2004) 389 F.3d 853, 862 (Kozinski, dissent.)
16           Thus, defense counsel’s arguments regarding their failure to see the email are
17 not persuasive.
18           B.      There is Neither Good Cause Nor Excusable Neglect to Save the
19                   Untimeliness of the Motion.
20           Defendant’s excuse for the untimeliness of her cross-appeal and Motion for
21 extension to file the cross-appeal also fail. Defendant quotes and attempts to apply the
22 four-factor test in Pioneer, which states: “(1) the danger of prejudice to the
23 nonmovant; (2) the length of the delay and the impact on the judicial proceedings; (3)
24 the reason for the delay and (4) whether the movant acted in good faith.” [Memo pg.
25 5 citing Pioneer Inv. Serv. Co. v. Brunswick Assoc. Ltd. P’ship (1993) 507 U.S. 380.]
26 Indeed, Defendant walks through all four factors, likely in the hopes that by showing
27 at least three of the four weigh in favor of granting the Motion, the Court will ignore
28 the single most important factor: the reason for the delay.
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                 5

                                                 117
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1 Filed12/29/17
                                        92 Filed  09/23/22 PageID.3860
                                                            PageID.4341 Page
                                                                         Page6125
                                                                              of 8of
                                      1196


 1           In the typical case, the first two Pioneer factors will favor the moving
             party: “Delay always will be minimal in actual if not relative terms, and
 2           the prejudice to the non-movant will often be negligible, since the Rule
             requires a 4(a)(5) motion to be filed within thirty days of the last day for
 3           filing a timely notice of appeal.” Lowry v. McDonnell Douglas Corp.,
             211 F.3d 457, 463 (8th Cir.), cert. denied, 531 U.S. 929, 148 L. Ed. 2d
 4           248, 121 S. Ct. 309 (2000). And rarely in the decided cases is the
             absence of good faith at issue. See id. But despite the flexibility of
 5           “excusable neglect” and the existence of the four-factor test in which
             three of the factors usually weigh in favor of the party seeking the
 6           extension, we and other circuits have focused on the third factor:
             “the reason for the delay, including whether it was within the
 7           reasonable control of the movant.” Pioneer, 507 U.S. at 395. We have
             noted that the equities will rarely if ever favor a party who “fails to
 8           follow the clear dictates of a court rule” and held that where “the rule is
             entirely clear, we continue to expect that a party claiming excusable
 9           neglect will, in the ordinary course, lose under the Pioneer test.”
10 Silivanch v. Celebrity Cruises, Inc. (2d Cir. 2003) 333 F.3d 355, 366-367
11 (emphasis added.)
12           Indeed, “the four Pioneer factors do not carry equal weight; the excuse given
13 for the late filing must have the greatest import. While prejudice, length of delay,
14 and good faith might have more relevance in a close case, the reason-for- delay
15 factor will always be critical to the inquiry.” Id. at fn. 7, citing Graphic
16 Communications Int’l Union, Local 12- N v. Quebecor Printing Providence, Inc.
17 (1st Cir. 2001) 270 F.3d 1, 5-6.
18           Even in decisions for the Ninth Circuit, such as Pincay v. Andrews (9th Cir.
19 2004) 389 F.3d 853, which refused to draw a hard line on what constitutes
20 excusable neglect, the facts of this case do not meet the type of neglect experienced
21 in either Pioneer or Pincay.
22           In Pioneer, the respondents’ attorney was provided with a complete copy of
23 the case file and was assured that no bar date had been set to file claims. The
24 Supreme Court found that the Bankruptcy Court had inappropriately penalized
25 respondents for their counsel’s error, since counsel had asked the attorney
26 providing the case file about the impending deadlines, which were admittedly
27 ambiguous and would have confused even a person experienced in bankruptcy.
28 Pioneer 507 U.S. 380, 386-387.
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                    6

                                                118
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1 Filed12/29/17
                                        92 Filed  09/23/22 PageID.3861
                                                            PageID.4342 Page
                                                                         Page7126
                                                                              of 8of
                                      1196


 1           In Pincay, the appellee relied upon his paralegal to calculate the deadline
 2 filing deadline, but the paralegal misread the rule, and calendared the date for filing
 3 the notice of appeal as 60 days instead of the actual 30 days. The apellee in that
 4 case characterized the reason for his delay in filing as “the failure of a ‘carefully
 5 designed’ calendaring system operated by experienced paralegals that heretofore
 6 had worked flawlessly.” Pincay 389 F.3d 853, 859. This Court disagreed, stating
 7 that the calendaring system hadn’t failed, as “the wrong date was calendared with
 8 meticulous efficiency and accuracy...At bottom, what the
 9 sophisticated-calendaring-system excuse comes down to is that the lawyer didn't
10 bother to read the rule; instead, he relied on what a calendaring clerk told him.” Id.
11 at 862.
12           Here, defense counsel argues that the following constitutes “excusable
13 neglect or good cause”:
14           8. Generally, our office procedure and my procedure is when a
             notification is received from the court or another party in an action which
15           would require some action or response on behalf of our office, that all
             appropriate dates are placed on my calendar. Because we did not receive
16           a notice of appeal, neither myself, nor my secretary, or Timothy Kenna
             and his secretary calendared a final date for the filing of a Cross-Appeal.
17
     [Smith Dec. ¶ 8.]
18
             This is unpersuasive because (1) defense counsel are registered to receive
19
     NEF emails in relation to this case [Exhibit C], (2) NEF emails were sent on
20
     November 5, 2017 following Plaintiffs’ filing of the Notice of Appeal, wherein
21
     defense counsel was listed as being recipients of the notification [Exhibit A], and
22
     (3) defense counsel also obtained the Notice of Appeal from the Court’s website on
23
     November 9, 2017, but then inexplicably failed to calendar the dates immediately
24
     after downloading the Notice of Appeal. [Smith Dec. ¶ 8, 10.]
25
             That defense counsel had to wait for the insurance carrier to respond
26
     regarding representation is irrelevant and similarly unpersuasive as “excusable
27
     neglect” to warrant the untimely filing. [Memo pg. 9.] Whether insurance will
28
                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                   7

                                                119
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1 Filed12/29/17
                                       92 Filed  09/23/22 PageID.3862
                                                           PageID.4343 Page
                                                                        Page8127
                                                                             of 8of
                                     1196


 1 cover an appeal is not a factor, and Defendant provides no authority to that effect.
 2 In addition, Defendant could have filed the notice of appeal pro-se and later sorted
 3 out insurance coverage.
 4           Although Plaintiffs stand on their assertion that defense counsel received the
 5 November 5, 2017 notice as stated in the NEF emails attached as Exhibit A,
 6 counsel admitted to having notice by November 9, 2017 when they received
 7 paperwork from the Ninth Circuit, and when they obtained the Notice of Appeal
 8 from the Court’s website. [Smith Dec. ¶ 10.] Counsel still had, at that time, over 30
 9 days to contact the insurance carrier and receive a response regarding
10 representation before the December 11, 2017 filing deadline. Indeed, Defendant’s
11 moving papers are notably silent regarding the date on which defense counsel
12 contacted the insurance carrier. This is likely because the communications were
13 made inexcusably near the deadline such that the insurance carrier could not
14 respond within a reasonable time.
15 IV.       CONCLUSION
16           In light of the foregoing, Defendant Nicole Chaker’s Motion to Extend Time
17 to File a Cross-Appeal should be denied.
18
19 DATED: December 29, 2017
20                                                  /s/ Scott A. McMillan
21                                                  ______________________________
22                                                  Scott A. McMillan, SBN 212506
                                                    The McMillan Law Firm, APC
23
24
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27
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                      PLS’ OPP. TO DEF. NICOLE CHAKER'S NOTICE OF MOTN
     3:16-CV-02186   FOR EXT OF TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5))                  8

                                              120
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 Case   3:16-cv-02186-WQH-MDDDocument
      3:16-cv-02186-WQH-MDD   Document  71 Filed
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 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Neo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiff, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
 5 LAW FIRM, APC, a California Professional corporation
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                     Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional      Judge: Hon. William Q. Hayes
12   corporation,                              Courtroom: 14B

13                    Plaintiffs,
                                               PLAINTIFFS’ EX-PARTE
14                                             APPLICATION TO CONTINUE
            v.                                 HEARING DATE AND
15                                             OPPOSITION DATE ON MOTION
     DARREN D. CHAKER an individual,           FOR SANCTIONS FILED BY
16   and as trustee of PLATINUM                DARREN CHAKER [ECF 66].
     HOLDINGS GROUP TRUST, dba
17   COUNTER FORENSICS; NICOLE                 Opposition Date for Motion for
     CHAKER, an individual, and as             Sanctions:
18   trustee of NICOLE CHAKER TRUST            April 17, 2017
     ONE, and VANIA CHAKER, an
19   individual and as trustee of VANIA        Hearing date for Motion for
     CHAKER TRUST ONE,                         Sanctions (no oral argument):
20                                             May 1, 2017
                      Defendants.
21
22                                  INTRODUCTION
23         Plaintiffs hereby move this Court under F.R.Civ.P. 6(b)(1) for an Order
24 continuing the hearing date of May 1, 2017 and thereby enlarging the time to file the
25 opposition to Defendant Darren Chaker’s motion for sanctions styled “Motion for
26 Sanctions pursuant to Fed. R. Civ. P. 11, or, alternatively, the Court's Inherent
27 Power.” [ECF 66]. The sanctions motion was filed on March 28, 2017. Pursuant to
28 Local Civil Rule 7.1(e)(2), the opposition briefs are due on Monday, April 17, 2017.




                                            121
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
                                        71 Filed
                                            Filed04/11/17
                                                  09/23/22 PageID.3084
                                                            PageID.4345 Page
                                                                         Page2129
                                                                              of 8of
                                      1196


 1           On January 25, 2017, as a courtesy and in order to avoid the necessity of the
 2 court ruling on a contested application, undersigned entered into a joint motion with
 3 Mr. Chaker’s former attorney to extend the time for Mr. Chaker to file his motion to
 4 dismiss the complaint. [ECF 48]. That same courtesy has not been extended to
 5 Plaintiffs.
 6           On March 30, 2017, Undersigned contacted Defendant Darren Chaker’s
 7 attorneys to request a stipulation for an agreed order providing such relief.
 8 [McMillan Dec., ¶ 9.]
 9           Darren’s Chaker’s attorney Eliot F. Krieger acknowledged the request, but
10 made the following statement, which requires this application:
11           “Dear Mr. McMillian:
12           I have consulted with our client and we will not be agreeable to continue
13           the hearing date three weeks.
14           Thank you,
15           Eliot F. Krieger, P.C.”
16 [McMillan Dec., ¶ 9.]
17           Plaintiffs have also provided notice of the request, as required by Local Civil
18 Rule 7.1(g)(2), to Defendant Nicole Chaker’s and Defendant Vania Chaker’s
19 respective counsel. [McMillan Dec., ¶ 10.]
20           Plaintiffs request a two week or, if possible, a three week enlargement of time
21 to file the oppositions, from April 17, 2017, to May 1, 2017, or to May 8, 2017.
22 I.        GOOD CAUSE
23           Good cause exists sufficient enough for the Court to grant Plaintiffs’ extension
24 request. As set forth in the accompanying declaration, Scott McMillan has been
25 occupied with a number of appellate matters, has another pending brief that is due in
26 the District Court in an unrelated case, and is behind on other work. [McMillan Dec.,
27 ¶ ¶3-5.] Further, Plaintiffs’ consulting attorney has returned from an extended
28 overseas trip and is also back-logged with work.[McMillan Dec., ¶ 6.]

     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                            2

                                               122
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
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                                                  09/23/22 PageID.3085
                                                            PageID.4346 Page
                                                                         Page3130
                                                                              of 8of
                                      1196


 1 II.       EXERCISE OF DISCRETION
 2 A. Federal. Rule of Civil Procedure 6(b)
 3 Pursuant to Federal Rule of Civil Procedure 6(b),
 4           (a) Computing Time. The following rules apply in computing any time
 5           period specified in these rules, in any local rule or court order, or in any
 6           statute that does not specify a method of computing time.
 7                                              ***
 8           (b) Extending Time.
 9           (1) In General. When an act may or must be done within a specified
10           time, the court may, for good cause, extend the time:
11                   (A) with or without motion or notice if the court acts, or if
12                   a request is made, before the original time or its extension
13                   expires; or
14                   (B) on motion made after the time has expired if the party
15                   failed to act because of excusable neglect.
16 Fed. R. Civ. P. 6(b).
17           "This rule, like all the Federal Rules of Civil Procedure, '[is] to be liberally
18 construed to effectuate the general purpose of seeing that cases are tried on the
19 merits.'" Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1258-59 (9th Cir. 2010)
20 (quoting Rodgers v. Watt, 722 F.2d 456, 459 (9th Cir.1983)); see also Fed. R. Civ. P.
21 1 ("[The Federal Rules] should be construed and administered to secure the just,
22 speedy, and inexpensive determination of every action and proceeding."). With
23 respect to the distinction between Rule 6(b)(1), and Rule 6(b)(2), in Lujan v. National
24 Wildlife Federation, the Supreme Court noted that Rule 6(b)(1) allows a court to
25 grant an extension if a "request" is made before the time for filing expires. Id., 497
26 U.S. 871, 896 n.5, 110 S. Ct. 3177, 111 L. Ed. 2d 695 (1990). By contrast, the Court
27 emphasized that post-deadline extensions may be granted only "for cause shown" and
28 "upon motion." Id. at 896, 110 S. Ct. 3177.

     3:16-CV-02186    APPLICATION TO ENLARGE TIME FOR OPPOSITION                            3

                                                 123
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
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                                            Filed04/11/17
                                                  09/23/22 PageID.3086
                                                            PageID.4347 Page
                                                                         Page4131
                                                                              of 8of
                                      1196


 1           If the prescribed time period has not expired, a party must show "good cause"
 2 for an extension. Fed. R. Civ. P. 6(b)(1)(A). "[R]equests for extensions of time made
 3 before the applicable deadline has passed should 'normally . . . be granted in the
 4 absence of bad faith on the part of the party seeking relief or prejudice to the adverse
 5 party.'" Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1259 (9th Cir. 2010)
 6 (citation omitted).
 7           Here, the time has not expired for filing of the opposition.
 8           "A district court has inherent power to control the disposition of the causes on
 9 its docket in a manner which will promote economy of time and effort for itself, for
10 counsel, and for litigants." Filtrol Corp. v. Kelleher, 467 F.2d 242, 244 (9th Cir.
11 1972) (citation and internal quotation marks omitted).
12
13                                       CONCLUSION
14           In light of these various factors, Plaintiff respectfully asks this Court to grant
15 a 14 day, if not a 21 day extension, of the time period for filing the oppositions to the
16 motion.
17
18 DATED: April 11, 2017                              /s/ Scott A. McMillan
19                                                    _________________________________
20                                                    SCOTT A. MCMILLAN, SBN 212506
                                                      The McMillan Law Firm, APC
21
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     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                              4

                                                124
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
                                        71 Filed
                                            Filed04/11/17
                                                  09/23/22 PageID.3087
                                                            PageID.4348 Page
                                                                         Page5132
                                                                              of 8of
                                      1196


 1                             DECLARATION OF COUNSEL
 2           I, Scott A. McMillan, declare as follows:
 3           1. I am an attorney admitted to practice in the District Court for the Southern
 4 District of California, am a plaintiff herein, and I am the principal of The McMillan
 5 Law Firm, APC, plaintiff in this case. The facts that I state below are of my own
 6 personal knowledge and if called before this court, I could and would testify
 7 competently to the following:
 8           2. On March 28, 2017, Defendant Darren Chaker filed a motion for sanctions
 9 styled “Motion for Sanctions pursuant to Fed. R. Civ. P. 11, or, alternatively, the
10 Court's Inherent Power” [ECF 66].
11           3. Since March 28, 2017, and the preceding weeks, I’ve been occupied in the
12 briefing of several matters pending in the California Court of Appeal, Fifth District,
13 arising from summary judgment rulings entered in a wrongful death case entitled
14 Ochoa, et al., v. Setton Pistachio of Terra Bella, Inc., Superior Court of California,
15 County of Tulare, Case No. VCU 255716. The first related appeal is Ochoa et al. v.
16 Setton Pistachio of Terra Bella, Inc. et al., Fifth District No. F073978. The opening
17 brief and appendix was filed on March 23, 2017. The second related appeal is Ochoa
18 et al. v. Dole Food Company, et al., Fifth District No. F073844, and the opening
19 brief and appendix was filed on April 11, 2017. The third related appeal is Ochoa et
20 al. v. T.M. Duche Nut Co., Inc., Fifth District No. F074947 , which was filed third in
21 sequence. The TM Duche appeal was stayed on February 6, 2017, following the
22 parties tentative settlement, which was the result of negotiations occuring in January
23 2017.
24           4. On April 6, 2017, I argued before the Ninth Circuit Court of Appeals in
25 Pasadena in Lycurgan, Inc. v. Bureau of Alcohol, Tobacco etc, Ninth Circuit Case No.
26 14-56550, and Lycurgan, Inc. v. Todd Jones, Ninth Circuit Case No. 16-55341. I had
27 spent some days in preparation for that argument.
28

     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                           1

                                               125
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 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
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                                                 09/23/22 PageID.3088
                                                           PageID.4349 Page
                                                                        Page6133
                                                                             of 8of
                                     1196


 1           5. Besides those appellate matters, I’ve had a number of other motions and
 2 hearings. As a result of those appellate matters, I am back-logged.
 3
 4           6. The consulting attorney who has been assisting me in this matter has been
 5 out of town traveling in China during the last couple weeks. He just returned back
 6 from his trip, and similarly back-logged.
 7           7. I request, at a minimum, a two week continuance, and preferably a three
 8 week continuance, as I’ve got a backlog of work from the spate of appellate matters
 9 that had been deferred following my busy trial schedule between October of 2016
10 through February 2017.
11           8. On March 28, 2017, at 4:16 p.m., I sent counsel for Defendant Darren
12 Chaker an e-mail stating as follows:
13           Counsel,
14           I've had a crushing schedule over the past few months that I'm still
             crawling out from under. In the absence of a stipulation to move the
15           hearing, I will be requesting the court to continue the hearing and
             briefing schedule on Mr. Chaker's Rule 11 motion for three weeks.
16
             Please advise me whether you consent to this, and will join in a joint
17           motion for an agreed order to that effect.
18           Thank you,
19           Scott McMillan
20
             9. On March 30, 2017, I received a response from Eliot F. Kreiger, counsel for
21
     Darren Chaker stating:
22
             “Dear Mr. McMillian:
23
             I have consulted with our client and we will not be agreeable to continue
24
             the hearing date three weeks.
25
             Thank you,
26
             Eliot F. Krieger, P.C.”
27
28

     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                          2

                                               126
 Case
  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
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                                            Filed04/11/17
                                                  09/23/22 PageID.3089
                                                            PageID.4350 Page
                                                                         Page7134
                                                                              of 8of
                                      1196


 1           10. Today, I copied my request and the response to the counsel for Nicole
 2 Chaker and Vania Chaker, according to Local Civil Rule 7.1.
 3           11. On January 25, 2017, as a courtesy and in order to avoid the necessity of
 4 the court ruling on a contested application, I entered into a joint motion with Mr.
 5 Chaker’s former attorney to extend the time for Mr. Chaker to file his motion to
 6 dismiss the complaint. [ECF 48]. At that time, Mr. Chaker was changing attorneys,
 7 and the court signed a substitution allowing that change on February 8, 2017. [ECF
 8 54.]
 9           12. I was disappointed that my earlier courtesy has been repaid with Mr.
10 Chaker and his new counsel’s refusal to enter into a joint motion for a similar
11 extension.
12           13. I know of no reasons that the legitimate interests of the defendants or their
13 counsel would be affected by the relief sought.
14
15           I declare under the penalty of perjury under the laws of the United States,
16 within the meaning of 28 U.S.C. 1746, that the foregoing is true and correct and that
17 this declaration was executed in the City of La Mesa, County of San Diego, State of
18 California on April 11, 2017.
19                                                          /s/ Scott A. McMillan
20                                                   BY: _________________________
21                                                          Scott A. McMillan
22
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28

     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                             3

                                               127
 Case
  Case3:16-cv-02186-WQH-MDD
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                                            Filed04/11/17
                                                  09/23/22 PageID.3090
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                                                                         Page8135
                                                                              of 8of
                                      1196


 1                               CERTIFICATE OF SERVICE
 2           I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address is
 4 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5           On April 11, 2017, I served the following documents:
 6 PLAINTIFFS’ EX-PARTE APPLICATION TO CONTINUE HEARING DATE AND
 7 OPPOSITION DATE ON MOTION FOR SANCTIONS FILED BY DARREN
 8 CHAKER [ECF 66].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court’s Electronic Filing Program on the designated recipients
12 via electronic transmission through the CM/ECF system on the Court’s website. The
13 Court’s CM/ECF system will generate a Notice of Electronic Filing (NEF) to the
14 filing party, the assigned judge, and any registered users in the case. The NEF will
15 constitute service of the document(s). Registration as a CM/ECF user constitutes
16 consent to electronic service though the court’s transmission facilities.
17           I certify that the foregoing is true and correct.
18
19           Dated: April 11, 2017
20
21                                                    /s/ Scott A. McMillan
22                                                    ______________________
23
24
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28

     3:16-CV-02186   APPLICATION TO ENLARGE TIME FOR OPPOSITION                          4

                                                128
 Case
Case   3:16-cv-02186-WQH-MDDDocument
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                                                                              of 4 of
                                     1196




                 EXHIBIT V
                                        129
   Case
    Case3:16-cv-02186-WQH-MDD
          3:16-cv-02186-WQH-MDDDocument
                                Document127-1
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 for the typo due b using phone.

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      CCU'S8 am IIIMr8 of titigation concerning rT¥ son. As Ie my son, do you intand b
      JlU'SU91ha wmlious litigant rmtion? Do you inIBnd Ie pre&ent he tBsIirTDn)' be it with
      rna cr SlIOUl9r pason? If so, wiD you accept service for Susan's "vUillr1


      Last, as previously inforlTl9d:
      11 >1 do not reside at La Jolla Crossroads;
      2 > I do oot, and hIM rJ8\9r consented Ie sel"llice of any papers, oIher than a ~ce
      Ie Ccnunar (which I requast is sent via armil since I am unable b check rTBil cIlan,
      1tu11MlU1d be IJIBbIa Ie reply Ie timaly unless ootjfied by 9rmil) in the ewnt c:l a
      WlpoeII8 being i I9d fa records requiring such notice. Kindly refrain from placing a
      tracking coda on any papers Ie capbJre my IP as such is rather childish and am not an
      allaN.
      Erjoyycu-day,




      On Man, Dec II, 2014 III 2:20 PM, Scott A MeUm., <Sco\tGlllCII' llaw:ua> wn:JIe:
       Mr. ChIIkar,

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        C8H or the payment dtyour faeII that are-.:l.

        Scott McMillan

        On Mon, Dec 8, 2014 at 2:IM PM, DBmIn ChakIIr <dBm!ll1chBkllrOllmall.com>    wrate::
          Greetings again ScotI,



                                                                                                     Exh V
                                                        130                                          1 of 3
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 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                                  Document 127-1
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                                                         08/29/16 PageID.4354
                                                                   PageID.94 Page
                                                                              Page3 138
                                                                                    of 4 of
                                           1196
    As a point clarification "your law firm" means the content on your website
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    Enjoy your afternoon,


     Darren


    On Mon, Dec 8,2014 at 1:59 PM, Darren Chaker <darrenchaker@gmail.com> wrote:

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      courtesy to you.


      Also, I have updated the material on
      http://scott-mcmillan-Iaw.blogspot.de/p/scott-mcmillan-attorney-Ia-mesa.html


      I have also copied Maura Larkins on this email.


      Best regards,


      Darren



      Darren Chaker
      1140 Wall Street, #77
      La Jolla, CA 92038
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      the Electronic Communications Privacy Act, 18 U.S.C. Sections 2510-2521, and are may be legally
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                                                                                                   Exh V
                                                    131                                            2 of 3
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  Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDDDocument
                              Document127-1
                                        1-20 Filed
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                                                    08/29/16 PageID.4355
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                                                                               of 4 of
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   II
       Darren Chaker
       1140 Wall Street, #77
       La Jolla, CA 92038
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                                                                                                        Exh V
                                                        132                                             3 of 3
      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2677
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                                                                                   of 10
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                  1 GILBERT, KELLY, CROWLEY & JENNETT LLP
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                    ARTHUR J. MC KEON III / Bar No. 082540
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                  6
                    Mailing Address:
                  7 550 South Hope Street, 22nd Floor
                    Los Angeles, California 90071-2627
                  8
                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,         )         Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a             )
               14 California professional corporation,      )         Judge: William Q. Hayes
                                                            )         Courtroom 14B
               15               Plaintiffs,                 )
                         vs.                                )         Magistrate Hon. Mitchell D. Dembin
               16                                           )         Courtroom 11th Floor
                  DARREN D. CHAKER an individual, and )
               17 as trustee of PLATINUM HOLDINGS           )         DEFENDANT NICOLE
                  GROUP TRUST, dba COUNTER                  )         CHAKER'S OBJECTION TO
               18 FORENSICS; NICOLE CHAKER, an              )         PLAINTIFFS' REQUEST FOR
                  individual, and as trustee of NICOLE      )         JUDICIAL NOTICE IN SUPPORT
               19 CHAKER REVOCABLE LIVING                   )         OF PLAINTIFFS’ OPPOSITION
                  TRUST, U/A dated August 18, 2010,         )         TO DEFENDANT NICOLE
               20 VANIA CHAKER, an individual and as        )         CHAKER'S MOTION TO
                  beneficiary of The Island Revocable Trust )         DISMISS AND ANTI-SLAPP
               21 under Declaration of Trust dated June 2,  )         MOTION
                  2015, MARCUS MACK as trustee of The )
               22 Island Revocable Trust under Declaration            (Defendant Nicole Chaker’s
                  of Trust dated June 2, 2015                         Evidentiary Objections, Reply to
               23                                                     Opposition to Anti-SLAPP Motion and
                                Defendants.                           Reply to Opposition to 12(b)(6)
               24                                                     Motion filed concurrently herewith)
               25                                                     [PER CHAMBERS, NO ORAL
                                                                      ARGUMENT UNLESS ORDERED
               26                                                     BY COURT]
               27                                                     Date: February 6, 2017
                                                                      Dept: 14B
               28                                                     Complaint Filed: August 29, 2016
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2678
                                                                PageID.4357 Page
                                                                             Page2141  of
                                                                                   of 10
                                          1196


                  1              Defendant Nicole Chaker (“Nicole”) objects to Plaintiffs’ Request for Judicial
                  2 Notice filed in support of its Opposition to Defendant Nicole’s Motion to Dismiss
                  3 pursuant to FRCP 12(b)(5) and Anti-SLAPP motion and specifically as to the request
                  4 for judicial notice as to the following:
                  5              1. Civil Minutes for Order to Show Cause Re Contempt in United States
                  6                  District Court for the Central District of California (Western Division Los
                  7                  Angeles) Del Nero v. Midland Credit Management, Case No. CV-04-1040
                  8                  GPS (SHx), dated March 22, 2005 (hereinafter “Midland Case”) – Exhibit
                  9                  B to Scott McMillan’s Declaration (Docket No. 45-2, 45-1, 47 and 47-1);
               10                2. Civil Minutes for Order to Show Cause Re Contempt as to Vania Chaker in
               11                    Midland case. Exhibit C to Docket No. 45-2, 45-1, 47 and 47-1;
               12                3. Finding of Facts and Conclusions of Law Pursuant to FRCP 52 and LR 52-
               13                    1 in Midland case, dated July 6, 2005. Exhibit D to Docket No. 45-2, 45-1,
               14                    47 and 47-1;
               15                4. Judgement in the Midland Action. Exhibit E to Docket No. 45-2, 45-1, 47
               16                    and 47-1;
               17                5. Civil Minutes for Defendants’ Motion for Attorneys’ Fees and Related
               18                    Non-Taxable Costs in Midland case, dated November 27,2006. Exhibit F
               19                    to Docket No. 45-2, 45-1, 47 and 47-1;
               20                6. Order Awarding Attorneys’ Fees and Costs to Defendants in Midland case,
               21                    dated February 20, 2007. Exhibit G to Docket No. 45-2, 45-1, 47 and 47-1;
               22                7. Judgment for Defendants in Midland case. Exhibit H to Docket No. 45-2,
               23                    45-1, 47 and 47-1;
               24                8. Plaintiff’s Exhibit: Transcript of Ninth Circuit Oral Argument recorded
               25                    October 23, 2008 in Midland Case. Exhibit I to Docket No. 45-2, 45-1, 47
               26                    and 47-1;
               27                9. Mandate on June 6, 2009 from US Court of Appeals for the 9th Circuit in
               28                    Midland case. Exhibit J to Docket No. 45-2, 45-1, 47 and 47-1.
    Gilbert, Kelly
Crowley & Jennett LLP
                                                                   -2-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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                                                               134
      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2679
                                                                PageID.4358 Page
                                                                             Page3142  of
                                                                                   of 10
                                          1196


                  1              10.Plaintiff’s Exhibit: Municipal Court Order on February 26, 2010 of Stay
                  2                  Recommendation of Midland Funding LLC v. Kenneth Nedro in the
                  3                  Midland Case, dated March 8, 2010. Exhibit K to Docket No. 45-2, 45-1,
                  4                  47 and 47-1;
                  5              11.Defendants’ Notice of Motion and Motion for Award of Attorneys’ Fees
                  6                  and Costs in Midland case, dated March 1, 2010. Exhibit L to Docket No.
                  7                  45-2, 45-1, 47 and 47-1;
                  8              12.Plaintiff’s Exhibit: Certain excerpts from Defendants’ Answering Brief
                  9                  from Hyde & Swigart’s appeal before the Ninth Circuit in the Midland
               10                    Case, dated March 8, 2010. Exhibit M to Docket No. 47.1;
               11                13.Hyde & Swigart’s Opposition to Defendant’s Motion for Attorneys’ Fees
               12                    and Costs in Midland case dated March 8, 2010. Exhibit N to Docket 45-2,
               13                    45-1, 47 and 47-1;
               14                14.Declaration of A. Topor in Support of Defendatns’ Motion for Award of
               15                    Attorneys’ Fees and Costs in Case No. 2:04-cv-01040-ABC-SH, dated
               16                    March 18, 2010 and accompanying exhibits to such declaration. Exhibit O
               17                    to Docket No. 45-2, 45-1, 47 and 47-1
               18                This objection is based on the fact that Plaintiffs have overreached in its
               19 request for judicial notice by asking this Court to take notice of facts that are not
               20 appropriate for judicial notice, are subject to reasonable dispute as they are neither
               21 generally known within the territorial jurisdiction of the trial court nor capable of
               22 accurate and ready determination by resort to sources whose accuracy cannot be
               23 reasonable questioned, and to the extent Plaintiffs are asking the Court to take
               24 judicial notice “for the truth of these statements” in these filing, Nicole objects and
               25 respectfully asserts that those requests must be denied because they are not supported
               26 by law.
               27
               28
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Crowley & Jennett LLP
                                                                      -3-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2680
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                                                                                   of 10
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                  1 Dated: January 30, 2017                  GILBERT, KELLY, CROWLEY & JENNETT
                                                             LLP
                  2
                  3
                                                             By: /s/ ARTHUR J. MCKEON, III
                  4                                              ARTHUR J. MCKEON, III
                                                                 REBECCA J. SMITH
                  5                                              Attorneys for Defendant
                                                                 NICOLE CHAKER
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    Gilbert, Kelly
Crowley & Jennett LLP
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   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2681
                                                                PageID.4360 Page
                                                                             Page5144  of
                                                                                   of 10
                                          1196


                  1 1. The Documents and Facts Contained Within Such Documents Do Not Meet
                  2         the Requirements for Matters of Which The Court May Take Judicial Notice
                  3              Federal Rules of Evidence (FRE), Rule 201(b) contains two different tests for
                  4 determining whether a proposition of fact has attained a sufficiently high degree of
                  5 certainty that it would be consonant with fair procedure to dispense with formal
                  6 proof. The first test is whether the fact that is proposed for judicial notice is not
                  7 subject to reasonable dispute because it is generally known within the territorial
                  8 jurisdiction of the trial court. See, Cochran v. NYP Holdings, Inc., 210 F.3d 1036,
                  9 1038 (9th Cir. 2000), adopting trial court's opinion, Cochran v. NYP Holdings, Inc.,
               10 58 F.Supp.2d 1113, 1122 n. 5 (C.D.Cal. 1998) (trial court may take judicial notice
               11 that particular subject has been covered extensively in newspapers and other news
               12 media within trial court's territorial jurisdiction).
               13                The second test is whether the fact that is proposed for judicial notice is not
               14 subject to reasonable dispute because it is capable of accurate and ready
               15 determination by reference to sources the accuracy of which cannot reasonably be
               16 questioned. See, American Stores Co. v. Commissioner, 170 F.3d 1267, 1270 (10th
               17 Cir. 1999)(unpublished IRS rulings issued to private taxpayers are inappropriate for
               18 judicial notice; adjudicative facts they contain are not capable of accurate and ready
               19 determination because such rulings are not widely available), cert. denied, 528 U.S.
               20 875, 120 S.Ct. 182, 145 L.Ed.2d 153 (1099).
               21                Both tests have a common requirement: the restriction that the fact proposed
               22 for judicial notice must not be subject to reasonable dispute. Thus, if the fact is
               23 subject to reasonable dispute, it does not matter that it is generally known within the
               24 community or that it is capable of accurate and ready determination by resort to
               25 impeccable sources, it is still not properly a subject for judicial notice. See, United
               26 States v. Boyd, 289 F.3d 1254, 1259-60 (10th Cir. 2002)(techniques of narcotics
               27 collection and preservation are too varied to permit judicial notice of fact that
               28 approximately 50 gram sample of cocaine will diminish in weight by 3.34 grams
    Gilbert, Kelly
Crowley & Jennett LLP
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   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2682
                                                                PageID.4361 Page
                                                                             Page6145  of
                                                                                   of 10
                                          1196


                  1 over eight month period for purposes of harmonizing two measurements of weight of
                  2 same sample of cocaine that yielded different results).
                  3              Thus, when the adjudicative fact proposed for judicial notice fails to satisfy
                  4 either of these two tests of indisputability, judicial notice is not appropriate. See, Lee
                  5 v. County of Los Angeles, 250 F.3d 668, 689-90 (9th Cir. 2001)(trial court erred in
                  6 taking judicial notice of facts recited in record of extradition hearing that occurred in
                  7 another court record since they were reasonably disputed by allegations in plaintiff's
                  8 complaint and court record is not indisputable source of factual information.).
                  9              The advisory committee notes to FRE 201 “explain that ‘[a] high degree of
               10 indisputability is the essential prerequisite’ to taking judicial notice of adjudicative
               11 facts and that ‘the tradition [of taking judicial notice] has been one of caution in
               12 requiring that the matter be beyond reasonable controversy.’ ” Rivera v. Philip
               13 Morris, Inc., 395 F.3d 1142, 1151 (9th Cir. 2005) (quoting FRE 201(a) & (b)
               14 advisory committee's notes). “Because the effect of judicial notice is to deprive a
               15 party of an opportunity to use rebuttal evidence, cross-examination, and argument to
               16 attack contrary evidence, caution must be used in determining that a fact is beyond
               17 controversy under Rule 201(b).” Id. (quoting Wright v. Brooke Group Ltd., 114
               18 F.Supp.2d 797, 816 (N.D. Iowa 2000)). FRE 201 “was intended to obviate the need
               19 for formal fact-finding as to certain facts that are undisputed and easily verified.”
               20 Walker v. Woodford, 454 F.Supp.2d 1007, 1022 (S.D. Cal. 2006). The fact to be
               21 judicially noticed must be one that only an unreasonable person would insist on
               22 disputing. (Walker) A court may not “take judicial notice of any matter that is in
               23 dispute.” (Walker, see Lee at 689-90 .)
               24 2. Plaintiffs’ Request to Judicially Notice Pleadings From Another Action Must
               25           Be Limited To the Fact That The Pleadings Were Filed
               26                Plaintiffs ask this Court to take judicial notice of a wide array of facts that are
               27 inappropriate for judicial notice. For each of its requests, Plaintiff appears to rely on
               28 the argument that a court may take judicial notice of pleadings in other cases, citing
    Gilbert, Kelly
Crowley & Jennett LLP
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   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2683
                                                                PageID.4362 Page
                                                                             Page7146  of
                                                                                   of 10
                                          1196


                  1 to Burbank-Glendale-Pasadena Airport Authority v. City of Burbank, 136 F.3d 1360
                  2 (9th Cir. 1998) While the court in such case granted a party’s request for juridical
                  3 notice of pleadings in a related state court action, the court did not address for what
                  4 purpose the request for juridical notice had been made and provided no analysis of
                  5 why the request had been granted, merely granting and saying that it must deal with
                  6 one further administrative matter.
                  7              Neither this case, nor any other case provides authority for the proposition that
                  8 a court may take judicial notice of the substantive facts in such documents as proof
                  9 of these matters. When judicially noticing materials from another action, however,
               10 courts are careful not to blindly accept as true the statements made in those materials.
               11 Rather, the courts will limit the judicial notice to the existence of the documents, and
               12 nothing more. See Lee at 690 (“On a Rule 12(b)(6) motion to dismiss, when a court
               13 takes judicial notice of another court's opinion, it may do so not for the truth of the
               14 facts recited therein, but for the existence of the opinion, which is not subject to
               15 reasonable dispute over its authenticity”); Liberty Mut. Ins. Co. v. Rotches Pork
               16 Packers, Inc., 969 F.2d 1384, 1388-1389 (2d Cir. 1992) (a court may take judicial
               17 notice of a document filed in another court to establish the fact of that litigation and
               18 related filings, not for the truth of the matters asserted in the other litigation); cf.
               19 Taylor v. Charter Medical Corp., 162 F.3d 827, 829-830 (5th Cir. 1998) (a court
               20 cannot take judicial notice of factual findings of another court, because such findings
               21 do not constitute facts “not subject to reasonable dispute” within the meaning of Rule
               22 201); General Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1082
               23 n.6 (7th Cir. 1997) (“courts generally cannot take notice of findings of fact from
               24 other proceedings for the truth asserted therein because these findings are disputable
               25 and usually are disputed.”); United States v. Jones, 29 F.3d 1549, 1553 (11th Cir.
               26 1994) (district court erred in noticing findings of fact from related court proceeding).
               27                While plaintiffs request for judicial notice does not specifically set forth for
               28 what purpose the requested documents are being sought to be placed before the
    Gilbert, Kelly
Crowley & Jennett LLP
                                                         -7-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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                                                                139
      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2684
                                                                PageID.4363 Page
                                                                             Page8147  of
                                                                                   of 10
                                          1196


                  1 court, from the oppositions to the two motions of defendant Nicole, it is clear that
                  2 plaintiff is seeking to have statements and matters within those documents accepted
                  3 as truth. While the authenticity and existence of a particular order, motion, pleading
                  4 or judicial proceeding, which is a matter of public record, is judicially noticeable,
                  5 veracity and validity of its contents (the underlying arguments made by the parties,
                  6 disputed facts, and conclusions of applicable facts or law) are not.”); Velazquez v.
                  7 GMAC Mortg. Corp., 605 F.Supp.2d 1049, 1057 (CD. Cal. 2008) (“a court may take
                  8 judicial notice of the undisputed matters of public record, e.g., the fact that a hearing
                  9 took place, but it may not take judicial notice of disputed facts stated in public
               10 records”); Hennessy v. Penril Datacomm Networks, Inc., 69 F.3d 1344, 1354-55 (7th
               11 Cir. 1995) (holding that district court properly refused to take judicial notice of
               12 corporation's Form 10-K to determine disputed fact). Accordingly, Plaintiffs' request
               13 to have the Court take judicial notice of Exhibits B, C, D, E, F, G, H, I, J, K, L, M, N
               14 and O of Scott McMillan’s declaration for the truth of matters in those pleadings is
               15 inappropriate, unsupported by law, and should be denied. Judicial notice must be
               16 limited to the fact that these documents were filed
               17 3. Plaintiffs’ Request For Judicial Notice Is Improper Because The Facts
               18           Sought To Be Noticed Are Not Relevant To the Issues in Dispute
               19                The fact that matters sought to be proved are not reasonably disputable (and
               20 thus subject to judicial notice) does not make them admissible. FRE 201 deals only
               21 with judicial notice of “adjudicative facts”--i.e., facts in the case that normally go to
               22 the trier of fact (facts relating to the parties, their properties their actions, etc.) Courts
               23 decline to take judicial notice of facts that are irrelevant to the matters at issue.
               24 Adriana Int'l Corp. v. Lewis & Co., 913 F.2d 1406, 1410 n.2 (9th Cir. 1990)
               25 (declining to judicially notice another action brought by the defendant in the case
               26 because it had no relevance to the appeal or the underlying action). Similarly, when
               27 facts are inconsequential to the analysis in the case, or the facts sought to be
               28 judicially noticed “add nothing” to the issue, a court will decline judicial notice of
    Gilbert, Kelly
Crowley & Jennett LLP
                                                             -8-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231449.1 48811-00002                                         3:16-CV-02186-WQH-MD
                                                              140
      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          52-2 Filed  09/23/22 PageID.2685
                                                                PageID.4364 Page
                                                                             Page9148  of
                                                                                   of 10
                                          1196


                  1 those facts. Boulder Creek Co. v. Maruko, Inc., 772 F.Supp. 1150, 1151 (CD. Cal.
                  2 1991). Even if a fact has some relevance, a court may refuse to judicially notice it if
                  3 it would not influence its decision. Badillo v. City of Stockton, 956 F.2d 884, 887 n.l
                  4 (9th Cir. 1992) (although election results are judicially noticeable, judicial notice was
                  5 properly denied where the results would not influence the court's decision).
                  6 4. When Offered To Prove The Facts Stated, Court Records Are Hearsay
                  7              Plaintiffs have attempted to have this Court take judicial notice of documents
                  8 from another court to establish the truth of matters stated within them. As such the
                  9 documents would be admissible as evidence only if they satisfied some hearsay
               10 exception. Plaintiffs have asserted no such exception in their request for judidical
               11 notice. Courts have repeatedly held that in regard to judicial notice, the court can
               12 notice the existence and legal effect of court documents, but not that statements in
               13 them or true and cannot notice the truth of hearsay. (Hoag v. Diedjomaho, 200
               14 Cal.App.4th 1008 (2011); People v. Rualcava, 2013 IL App (2d) 120396, 997 N.E.2d
               15 809, 819 (App. Ct. 2nd District 2013) There is a fundamental rule that the court
               16 cannot notice the truth of testimony or judicial findings of fact. (Jorgens v. Ohio
               17 Dept. of Rehabilitation and Corrections, 492 Fed. Appx. 567, 569 (6th Cir. 2012); In
               18 re Oracle Corp. Securities Litigation, 627 F.3d 376, 385 (9th Cir., 2010) While the
               19 court may take juridical notice to show the acts of the parties in a litigation, such as a
               20 complaint being filed, return of service or that stipulations were entered into. (Sullo
               21 Investments, LLC v. Moreau, 151 Conn. App. 372, 95 A.3d 114, 1147 (2014) ; Perry
               22 v. Schaumann, App. 1986, 716 P.2d 1368, 1371) this is not what plaintiffs have
               23 requested in their request for judicial notice.
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               25 / / /
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               28 / / /
    Gilbert, Kelly
Crowley & Jennett LLP
                                                                    -9-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231449.1 48811-00002                                         3:16-CV-02186-WQH-MD
                                                              141
      Case 3:16-cv-02186-WQH-MDD
      Case 3:16-cv-02186-WQH-MDD Document
                                 Document 52-2
                                          127-1 Filed
                                                 Filed01/30/17
                                                       09/23/22 PageID.2686
                                                                 PageID.4365 Page
                                                                              Page10149 of
                                                                                     of 10
                                           1196


                  1 5. Conclusion
                  2              Based on the inappropriateness of the requests for judicial notice, defendant
                  3 Nicole Chaker respectfully requests that this court deny plaintiffs’ request for judicial
                  4 notice of the contents of the documents set forth in the request for judicial notice and
                  5 attached to Scott McMillan’s Declaration in support of the Request for Judicial
                  6 Notice as Exhibits B, C, D, E, F, G, H, I, J, K, L, M, N, and O.
                  7 Dated: January 30, 2017                     GILBERT, KELLY, CROWLEY & JENNETT
                                                                LLP
                  8
                  9
                                                                By: /s/ ARTHUR J. MCKEON, III
               10                                                   ARTHUR J. MCKEON, III
                                                                    REBECCA J. SMITH
               11                                                   Attorneys for Defendant
                                                                    NICOLE CHAKER
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    Gilbert, Kelly
Crowley & Jennett LLP
                                                                    -10-
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231449.1 48811-00002                                          3:16-CV-02186-WQH-MD
                                                              142
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      108 Filed
                                           Filed04/23/18
                                                 09/23/22 PageID.4015
                                                          PageID.4366 Page
                                                                      Page1150
                                                                            of 2of
                                     1196



                          UNITED STATES COURT OF APPEALS                      FILED
                               FOR THE NINTH CIRCUIT                          APR 23 2018
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                                                                            U.S. COURT OF APPEALS
   SCOTT A. MCMILLAN and THE                        No.    17-56676
   MCMILLAN LAW FIRM, APC,                                 18-55343

                 Plaintiffs-Appellants/Cross-       D.C. No.
   Appellees,                                       3:16-cv-02186-WQH-MDD
                                                    Southern District of California,
     v.                                             San Diego

   DARREN D. CHAKER, DBA Counter                    ORDER
   Forensics, an individual, and as trustee of
   PLATINUM HOLDINGS GROUP TRUST;
   et al.,

                 Defendants-Appellees/Cross-
   Appellants.

   Before: Peter L. Shaw, Appellate Commissioner.

          Plaintiffs’ motion (Docket Entry No. 15) to file portions of Volume 8 of the

   excerpts of record under seal is granted. Defendants’ request (contained in Docket

   No. 25) to maintain the remaining materials in Volume 8 under seal is granted.

   Plaintiffs’ opposed request (contained in the motion to seal) for a protective order

   is denied without prejudice to renewal before the district court. Because the

   declaration to plaintiffs’ motion to seal contains detailed references to the sealed

   materials in Volume 8, the motion to seal itself will be maintained under seal.

          The Clerk will publicly file the first brief on cross appeal and Volumes 1

   through 7 of the excerpts of record, and will file Volume 8 under seal.

   SVG/Sealed Documents


                                            143
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      108 Filed
                                           Filed04/23/18
                                                 09/23/22 PageID.4016
                                                          PageID.4367 Page
                                                                      Page2151
                                                                            of 2of
                                     1196



          The existing briefing schedule will continue in effect.




   SVG/Sealed Documents                      2

                                            144
Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document127-1
                                    123 Filed
                                         Filed07/20/20
                                               09/23/22 PageID.4155
                                                         PageID.4368 Page
                                                                      Page1152
                                                                           of 14
                                                                               of
                                    1196


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 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8
                        UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
12   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
13   Corporation,                             Courtroom: 14B

14   Plaintiffs,

15   v.

16   DARREN D. CHAKER an individual,          PLAINTIFFS’ MEMORANDUM
     and as trustee of PLATINUM               OF POINTS AND AUTHORITIES
17   HOLDINGS GROUP TRUST, dba                IN OPPOSITION TO DEFENDANT
     COUNTER FORENSICS; NICOLE                DARREN D. CHAKER’S MOTION
18   CHAKER, an individual, and as            TO SEAL.
     trustee of THE NICOLE CHAKER
19   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA             Hearing Date: August 3, 2020
20   CHAKER, an individual and as
     beneficiary of The Island Revocable      Complaint Filed: August 29, 2016
21   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
22   trustee of The Island Revocable Trust    [NO ORAL ARGUMENTS UNLESS
     under Declaration of Trust dated June    ORDERED BY COURT]
23   2, 2015,

24   Defendants.

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                                            145
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1
                                    123 Filed
                                         Filed07/20/20
                                               09/23/22 PageID.4156
                                                         PageID.4369 Page
                                                                      Page2153
                                                                           of 14
                                                                               of
                                    1196


 1                                              Table of Contents
 2
 3 I.      INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 4
 5 II.     RELEVANT PROCEDURAL HISTORY. . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 6
 7 III.    LEGAL STANDARD . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 8
 9 IV.     ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
10         A.       There is no Compelling Reason to Seal ¶¶ 39, 40, and 49 of the
11                  Complaint and ¶¶ 40, 41 and 50 of the FAC. . . . . . . . . . . . . . . . . . . . 3
12                  1.       The Subject Paragraphs Have No Content from the Paternity
13                           Case Itself that Would Outweigh Public Policy Favoring
14                           Disclosure
15                           .................................................. 5
16                  2.       The Subject Paragraphs, as part of both the Complaint and
17                           FAC, Were Not Filed for an Improper Purpose . . . . . . . . . . . . 7
18                  3.       Sealing Creates a Burden and the Court Should Deny
19                           Defendant’s Motion as No Compelling Reasons Exist to Meet
20                           the Standard . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
21
22 V.      CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
23
24
25
26
27
28

     3:16-CV-02186                      Opposition to Motion to Seal                                                     ii


                                                          146
 Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document127-1
                                     123 Filed
                                          Filed07/20/20
                                                09/23/22 PageID.4157
                                                          PageID.4370 Page
                                                                       Page3154
                                                                            of 14
                                                                                of
                                     1196


 1                                                   Table of Authorities
 2 Federal Decisional Authority
 3 Angioscore, Inc. v. Trireme Med., Inc. (N.D.Cal. Jan. 6, 2015, No. 12-cv-03393-
   YGR) 2015 U.S.Dist.LEXIS 1118, at *5-6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
 4
   Hagestad v. Tragesser (9th Cir. 1995) 49 F.3d 1430 . . . . . . . . . . . . . . . . . . . . . . . 3
 5
   Hardaway v. District Of Columbia Housing Authority, 843 F.3d 973(D.C. Cir.
 6 2016) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5, 6
 7 Kamakana v. City & County of Honolulu (9th Cir. 2006) 447 F.3d 1172 . . . 3, 7, 8
 8 Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978) . . . . . . . . . . . . 8
 9 Pintos v. Pacific Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010) . . . . . . . . . . . . . . . 5
10 St. Alphonsus Med. Ctr. - Nampa, Inc. v. St. Luke's Health Sys. (D.Idaho July 3,
   2014, No. 1:12-CV-00560- BLW) 2014 U.S.Dist.LEXIS 93985 . . . . . . . . . . . . 2, 3
11
   Angioscore, Inc. v. Trireme Med., Inc. (N.D.Cal. Jan. 6, 2015, No. 12-cv-03393-
12 YGR) 2015 U.S.Dist.LEXIS 1118, at *5-6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
13 Hagestad v. Tragesser (9th Cir. 1995) 49 F.3d 1430 . . . . . . . . . . . . . . . . . . . . . . . 3
14 Hardaway v. District Of Columbia Housing Authority, 843 F.3d 973(D.C. Cir.
   2016) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 7
15
   Kamakana v. City & County of Honolulu (9th Cir. 2006) 447 F.3d 1172 . . . 3, 7, 8
16
   Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978) . . . . . . . . . . . . 8
17
   Pintos v. Pacific Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010) . . . . . . . . . . . . . . . 6
18
   St. Alphonsus Med. Ctr. - Nampa, Inc. v. St. Luke's Health Sys. (D.Idaho
19
   July 3, 2014, No. 1:12-CV-00560- BLW) 2014 U.S.Dist.LEXIS 93985 . . . . . . 3, 4
20
21 Federal Statutes
22 18 U.S.C. §1962(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
23 18 U.S.C. §1962(d). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
24
       Federal Rules
25
       Civil Local Rule 79.2(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
26
       Fed. Rules of Civ. Proc. Rule 26(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
27
       Fed. Rules of Civ. Proc. Rule 5.2(d)-(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
28

       3:16-CV-02186                           Opposition to Motion to Seal                                                     iii


                                                                  147
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1
                                    123 Filed
                                         Filed07/20/20
                                               09/23/22 PageID.4158
                                                         PageID.4371 Page
                                                                      Page4155
                                                                           of 14
                                                                               of
                                    1196


 1
      State Statutes
 2
      Cal. Evid. Code § 1119. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
 3
      Cal. Fam. Code §7643(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4-6
 4
      Cal. Fam. Code §7643(b)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4-6
 5
 6 State Cases
 7 Chaker v. Davis, (S.D.Cal. Oct. 26, 2012, No. 96cv0314) 2012 U.S.Dist.LEXIS
   155556.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
 8
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23
24
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      3:16-CV-02186                           Opposition to Motion to Seal                                                    iv


                                                                148
 Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document127-1
                                     123 Filed
                                          Filed07/20/20
                                                09/23/22 PageID.4159
                                                          PageID.4372 Page
                                                                       Page5156
                                                                            of 14
                                                                                of
                                     1196


 1 I.      INTRODUCTION
 2         Defendant Darren Chaker (“Defendant”) has a long history of using litigation
 3 and other methods to intimidate, threaten, and harass his opponents. Defendant now
 4 protests that paragraphs 39, 40 and 49 of the Complaint (ECF 1); and paragraphs 40,
 5 41, and 50 of the First Amended Complaint (“FAC”) (ECF 25) should be filed under
 6 seal. The original complaint in this case was filed on August 29, 2016, and ¶¶ 40, 41,
 7 and 50 of the FAC filed December 5, 2017 are identical to ¶¶ 39, 40 and 49 of the
 8 Complaint.
 9         It has now been almost four years since Defendant has been served with the
10 Complaint and almost three years since the FAC was filed and served. After several
11 analysis-heavy motions to dismiss, strike, and apply sanctions, now Defendant
12 belatedly objects. In both instances, Defendant claims that personal information
13 protected by statute was disclosed in the filings, and so the above listed paragraphs
14 should be filed under seal. Defendant relies on Civil Local Rule 79.2(c) and Fed.
15 Rules of Civ. Proc. Rule 5.2(d)-(e), and 26(c) to request seal or a protective order.
16         Plaintiffs’ allegations in the paragraphs at issue supports Plaintiffs’ extortion
17 claims against Defendants. With respect to the paternity proceedings, the extortionate
18 efforts by Defendants which are a subject of this case, took place in connection with
19 the paternity case, i.e., Chaker v. A (the “Paternity Case”). Paragraphs 39, 40, 49 of
20 the Complaint and ¶¶ 40, 41 and 50 of the FAC all concern Defendant’s actions
21 directed at Plaintiff to intimidate and extort Plaintiff; as well as Defendant’s
22 intimidating actions directed at Plaintiff’s client through Defendant’s correspondence
23 with Plaintiff; and intimidating conduct to witnesses in the presence of Plaintiff. They
24 do not at all reveal defendant’s personal, private or familial information. All the
25 exhibits containing sensitive information from the Paternity Case were already filed
26 under seal. Defendants now attempt to use Family Code to seal portions of the
27 complaint that actually do not have to do with the Paternity Case, but rather the facts
28 that led to Plaintiff’s claim.

     3:16-CV-02186              Opposition to Motion to Seal                               1


                                             149
 Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document127-1
                                     123 Filed
                                          Filed07/20/20
                                                09/23/22 PageID.4160
                                                          PageID.4373 Page
                                                                       Page6157
                                                                            of 14
                                                                                of
                                     1196


 1         Plaintiffs request that Defendant’s motion be denied. There is no compelling
 2 reason that overcomes the public policies favoring disclosure. Defendant is wasting
 3 the Court’s time and creating an unneeded burden upon counsel and the Court.
 4 Plaintiffs also request the Court deny this motion to avoid potential challenges to
 5 authenticity, which Defendant had already tried in this case and will certainly attempt
 6 in the matter now pending in San Diego Superior Court.
 7 II.     RELEVANT PROCEDURAL HISTORY
 8         On August 29, 2016, Plaintiffs filed their original Complaint. (ECF No. 1),
 9 asserting three Causes of Action against Defendant: (1) Racketeer Influences and
10 Corrupt Organizations Act (18 U.S.C. §1962(c)); (2) Racketeer Influenced and
11 Corrupt Organizations Act (18 U.S.C. §1962(d)); and (3) Civil Extortion.
12         On December 5, 2017, Plaintiffs filed their First Amended Complaint. (ECF
13 No. 25), asserting the same causes of action against Defendant.
14         On May 22, 2017, Defendant filed ECF No. 78, Motion to Seal re: Exhibit FF
15 to the Complaint and the FAC; and Exhibit C attached to the declaration of Plaintiff
16 Scott McMillan in support of his opposition to Defendant’s motion for sanctions
17 (ECF No. 75-1 at 121-141). Plaintiff opposed this motion (ECF No. 80). The court
18 granted the motion (ECF No. 84). Defendant had the opportunity to, but did not
19 include the subject paragraphs at issue in their ECF No. 78 motion.
20         On February 17, 2017, Defendant filed a 12(b)(6) motion (ECF 56, 56-1). On
21 March 13, 2017, Plaintiff filed his opposition (ECF 60).
22         On August 28, 2017, the Court granted defendant’s motion to dismiss the First
23 Amended Complaint without prejudice and the matter was closed on October 10,
24 2017 (ECF No. 86).
25 III.    LEGAL STANDARD
26         There is a “strong presumption” in favor of access, and a party seeking to seal
27 judicial materials must identify “compelling reasons” that outweigh the “public
28 interest in understanding the public process.” (St. Alphonsus Med. Ctr. - Nampa, Inc.

     3:16-CV-02186              Opposition to Motion to Seal                             2


                                             150
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1
                                    123 Filed
                                         Filed07/20/20
                                               09/23/22 PageID.4161
                                                         PageID.4374 Page
                                                                      Page7158
                                                                           of 14
                                                                               of
                                    1196


 1 v. St. Luke’s Health Sys. (D.Idaho July 3, 2014, No. 1:12-CV-00560- BLW) 2014
 2 U.S.Dist.LEXIS 93985, at *9) (citing Kamakana v. City & County of Honolulu, 447
 3 F.3d 1172, 1178 (9th Cir. 2006) (“Kamakana”). Further:
 4
           Documents “submitted in connection with dispositive motions, the party
 5         seeking to seal the record must demonstrate”compelling reasons” that
           would overcome the public’s right to view public records and
 6         documents, including judicial records. Id. (citing Kamakana v. City &
           County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)).A “party
 7         seeking to seal judicial records must show that ‘compelling reasons
           supported by specific factual findings ... outweigh the general history of
 8         access and the public policies favoring disclosure.’” Id. (quoting
           Kamakana, 447 F.3d at 1178-79 (9th Cir. 2006)). The trial court must
 9         weigh relevant factors including the “public interest in understanding
           the judicial process and whether disclosure of the material could result
10         in improper use of the material for scandalous or libelous purposes or
           infringement upon trade secrets.” Id. at 1179-1181 n. 6 (quoting
11         Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995)). While the
           decision to grant or deny a motion to seal is within the trial court’s
12         discretion, the trial court must articulate its reasoning in deciding a
           motion to seal. Id. at 1179.
13
     Angioscore, Inc. v. Trireme Med., Inc. (N.D.Cal. Jan. 6, 2015, No. 12-cv-03393-
14
     YGR) 2015 U.S.Dist.LEXIS 1118, at *5-6.
15
16
     IV.   ARGUMENT
17
           A.    There is no Compelling Reason to Seal ¶¶ 39, 40, and 49 of the
18
                 Complaint and ¶¶ 40, 41 and 50 of the FAC.
19
           Paragraphs ¶ 39, 40, and 49 of the Complaint and ¶¶ 40, 41 and 50 of the FAC
20
     (referred to collectively as “subject paragraphs”) are allegations against Defendant
21
     for extortion around the time to and connected to the Paternity Case. However, they
22
     are not records from the Paternity Case itself and no confidential information about
23
     the paternity case was disclosed in any of the stated paragraphs. The exhibits
24
     accompanying the paragraphs were already filed under seal.
25
           Defendant must show a compelling interest that outweighs the public interest
26
     in understanding the public process, and overcome the strong presumption in favor
27
     of access. (St. Alphonsus Med. Ctr. - Nampa, Inc. v. St. Luke's Health Sys. (D.Idaho
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     3:16-CV-02186              Opposition to Motion to Seal                            3


                                             151
 Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document127-1
                                     123 Filed
                                          Filed07/20/20
                                                09/23/22 PageID.4162
                                                          PageID.4375 Page
                                                                       Page8159
                                                                            of 14
                                                                                of
                                     1196


 1 July 3, 2014, No. 1:12-CV-00560-BLW) 2014 U.S.Dist.LEXIS 93985, at *9). Indeed,
 2 Defendant argues that his family’s private life is confidential and the public has little
 3 to no right to access facts concerning Defendant’s relationship with his child.
 4 Defendant also argues that the records of the Paternity Case are sealed per statute and
 5 so this Court should seal the subject paragraphs because the Paternity Case is
 6 referenced.
 7         However, Defendant fails to point out that the only things about the Paternity
 8 Case the subject paragraphs mention are the existence of the case and that Plaintiff
 9 was an attorney in that matter. There is no mention of any facts of that case other than
10 what is accessible to the public already, as the Paternity Case can be found under the
11 court’s index search. The documents referenced from the Paternity Case were already
12 filed as exhibits under seal.
13         Because the subject paragraphs are paramount to the composition of the
14 allegations of extortion and do not actually discuss the Paternity Case itself, the
15 sealing of all the subject paragraphs would be an overbroad measure to protect
16 Defendant’s information. Defendant mischaracterized the content of the paragraphs
17 to try to fall under California’s Family Code §7643(a), which reads, in part:
18
19         all papers and records, other than the final judgment, pertaining to the action
           or proceeding, whether part of the permanent record of the court or of a file in
20         a public agency or elsewhere, are subject to inspection and copying only in
           exceptional cases upon an order of the court for good cause shown.
21
     Cal. Fam. Code §7643(a).
22
           Moreover, Defendant’s assertion that “Plaintiffs were not parties to Defendant
23
     Chaker’s Paternity Case and have no right to obtain records therefrom” is incorrect.
24
     Defendants cite to Cal. Fam. Code §7643(b)(1) which provides that “papers and
25
     records pertaining to the action or proceeding that are part of the permanent record
26
     of the court are subject to inspection and copying by the parties to the action, their
27
     attorneys...”. Plaintiff McMillan was an attorney in the Paternity Case. Defendant
28

     3:16-CV-02186               Opposition to Motion to Seal                             4


                                              152
 Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document127-1
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                                                09/23/22 PageID.4163
                                                          PageID.4376 Page
                                                                       Page9160
                                                                            of 14
                                                                                of
                                     1196


 1 knows this, yet still makes this incorrect statement to the Court.
 2         Nevertheless, the events involving Plaintiff, his client and the witnesses that
 3 are alleged in the subject paragraph are not “papers and records” of the Paternity
 4 Case. They are events that occurred surrounding the Paternity Case but that are
 5 separate and apart from the papers and records that required a filing under seal. This
 6 Court should not allow Defendant to send threatening letters and intimidate Plaintiff,
 7 his client and witnesses, then hide them under the veil of the paternity matter.
 8         There is no authority for the proposition that events that occurred surrounding
 9 paternity proceedings are "confidential" beyond what is stated in Cal. Fam. Code §§
10 7643(a)-(b)(1). There is no authority for the proposition that the conduct that forms
11 the basis of the underlying complaint, i.e., an extortionate demand, becomes
12 confidential simply because it is has some connection to a paternity proceeding. Had
13 the Legislature intended to attach confidentiality to communications made in the
14 course of a paternity proceeding it would have stated as much in the Evidence Code
15 or elsewhere in the Family Code. The Legislature made such pronouncements in
16 connection with mediation communications. (Cal. Evid. Code § 1119.)
17         For the compelling reason standard, Defendant cites to Pintos v. Pacific
18 Creditors Ass’n, 605 F.3d 665 (9th Cir. 2010) in that a party seeking to seal must (1)
19 show compelling reasons, (2) supported by specific factual findings, and (3) the
20 factual findings outweigh the public policies favoring disclosure. Defendant’s
21 reasons for requesting the seal are inaccurate and insufficient to meet the standard.
22 Accordingly, there is no compelling reason to seal the subject paragraphs.
23
24 1.      The Subject Paragraphs Have No Content from the Paternity Case Itself that
25         Would Outweigh Public Policy Favoring Disclosure
26
27         Defendant cites Hardaway v. District Of Columbia Housing Authority, 843
28 F.3d 973(D.C. Cir. 2016)(“Hardaway”) to support their contentions that: (1)

     3:16-CV-02186              Opposition to Motion to Seal                             5


                                             153
 Case 3:16-cv-02186-WQH-MDD Document 127-1
                                     123 Filed
                                           Filed
                                               07/20/20
                                                 09/23/22PageID.4164
                                                          PageID.4377Page
                                                                      Page10161
                                                                             of 14
                                                                                 of
                                     1196


 1 defendant has a strong privacy interest in keeping the details of his relationship with
 2 his child private and (2) the public has no need to access information describing
 3 Defendant’s relationship with his inner-family members.
 4         However, the subject paragraphs do not mention any of those details. The
 5 nature of a paternity matter is common knowledge and not at all unique to Defendant.
 6 Defendant’s paternity matter’s existence can be found in the court’s index search,
 7 which is already accessible to the public. Here, the subject paragraphs focus on
 8 defendant’s intimidating and extortionist actions towards Plaintiff, his client, and
 9 witnesses that occurred outside the record. Any papers or records were already filed
10 under seal in compliance with Cal. Fam. Code §§ 7643(a)-(b)(1).
11         In Hardaway, the lower court incorrectly assumed all documents were not
12 medical records, when, one document containing a doctor’s prescription of the
13 appellant’s disability had been docketed.(Id. at 980, emphasis added). This matter is
14 distinguished from Hardaway in that Plaintiff here filed the pertinent documents from
15 the Paternity Case under seal already. Because the subject paragraphs do not discuss
16 details and records from the Paternity Case and everything that did was filed as
17 exhibits under seal, there is nothing to outweigh public policy favoring disclosure
18 here.
19         The California Superior Court instructed that only a very small portion of the
20 complaint be sealed:
21         “The Court also believes that the complaint at page 23, line 27 to page
22         24, line 1 should be sealed as it appears this is language quoted from a
23         paternity case and should not be available for public review. See Family
24         Code Sec. 7643.”
25 [Defendants’ Request For Judicial Notice.]
26         That portion read:
27         “Respondent has now, after placing me . . . on six applications for
28         governemnt [sic] aid (all signed under penalty of perjury), now attests

     3:16-CV-02186              Opposition to Motion to Seal                             6


                                             154
 Case 3:16-cv-02186-WQH-MDD Document 127-1
                                     123 Filed
                                           Filed
                                               07/20/20
                                                 09/23/22PageID.4165
                                                          PageID.4378Page
                                                                      Page11162
                                                                             of 14
                                                                                 of
                                     1196


 1         in her declaration I am not the father in an effort to give Attorney
 2         McMillan's motion merit. [Exhibit 5, page 2, to be filed under seal.]”
 3 [State Court, First Amended Complaint.]
 4         It is important for any other persons that are in the same position as the
 5 Plaintiffs here be able to review and identify the patterns by which Darren Chaker
 6 operates. Sealing documents that are presumptively public, and for which there is a
 7 legitimate cause for public interest, such as these encourages future misconduct.
 8         2.    The Subject Paragraphs, as part of both the Complaint and FAC, Were
 9               Not Filed for an Improper Purpose
10         Defendant claims that Plaintiff has used his pleadings to exact a “vendetta”
11 against Defendant (Memo 5:23-24), then cites to Kamakana to support their
12 contention that Plaintiff used the pleadings to “gratify private spite, promote public
13 scandal, [or] circulate libelous statements.” (Kamakana at 1179). But “the mere fact
14 that the production of records may lead to a litigant's embarrassment, incrimination,
15 or exposure to further litigation will not, without more, compel the court to seal its
16 records.” (Id). Plaintiff did not incorporate the subject paragraphs for an improper
17 purpose (McMillan Dec. ¶4), and that the subject paragraphs may cast Defendant in
18 a negative light is not sufficient to conclude otherwise.
19         In Kamakana, the court referred to the magistrate judge’s determination that
20 deposition testimony on confidential informants and criminal investigations was
21 “years old” and “largely resulted in criminal indictments which were made public
22 over three years ago”. (Id. at 1182), Only home addresses and social security numbers
23 met the “compelling reason” standard (Id.). The court determined that the City simply
24 made conclusory statements about the content of the documents which did not rise
25 up to the level of “compelling reasons” sufficiently specific to bar the public access
26 to the documents. (Id.)
27         Kamakana is similar to this matter in that the content of the subject paragraphs
28 surrounds a confidential matter (the Paternity Case); contains information that led to

     3:16-CV-02186              Opposition to Motion to Seal                              7


                                             155
 Case 3:16-cv-02186-WQH-MDD Document 127-1
                                     123 Filed
                                           Filed
                                               07/20/20
                                                 09/23/22PageID.4166
                                                          PageID.4379Page
                                                                      Page12163
                                                                             of 14
                                                                                 of
                                     1196


 1 criminal prosecution of Defendant that is public record; and Defendant is making
 2 conclusory statements about the content of the paragraphs detailing his personal and
 3 familial information, when they in fact do not. Plaintiff does not reveal the “intimate
 4 details” of Defendant’s family, and documents pertaining to the Paternity Case were
 5 filed under seal. There is no “vendetta” in incorporating Defendant’s acts of extortion,
 6 some which were made in writing, and some to which there were witnesses to the
 7 events, as part of the allegations of the complaint. Defendant cannot just conclude the
 8 allegations made are for improper purposes because he does not like the allegations.
 9 In Kamakana, the appellate court affirmed the district court’s decision to deny the
10 motion to seal. The court should therefore deny defendant’s motion to seal in this
11 matter.
12         3.     Sealing Creates a Burden and the Court Should Deny Defendant’s
13                Motion as No Compelling Reasons Exist to Meet the Standard
14         Courts have inherent supervisory power over its own records and files, even
15 where a right of public access exists. Nixon v. Warner Communications, Inc., 435
16 U.S. 589, 598 (1978).Sealing creates an administrative burden to manage for the
17 attorneys and for the Court. (McMillan Dec. ¶5 ). As discussed above, Plaintiff did
18 not detail anything confidential about the Paternity Case itself. Plaintiff attached
19 documents acquired as an attorney of record during the course of the Paternity Case
20 as exhibits under seal. Thus, there is no compelling reason to move forward with
21 sealing what are very serious allegations against Defendant that are backed up by
22 proof. They have nothing to do with the Paternity Case except that Defendant’s illegal
23 acts were committed during the pendency of the Paternity Case or in the courtroom
24 while outside the record.
25         Moreover, Defendant has a long history of demanding as many documents that
26 refer to him being sealed such that even a Texas judge addressed it:
27               THE COURT: Okay, the sealing thing. Mr. Chaker I don't really
           understand why you get the right to seal everything but you want to
28         publicize everybody else's personal information. I just -- I just throw that

     3:16-CV-02186               Opposition to Motion to Seal                             8


                                              156
Case 3:16-cv-02186-WQH-MDD Document 127-1
                                    123 Filed
                                          Filed
                                              07/20/20
                                                09/23/22PageID.4167
                                                         PageID.4380Page
                                                                     Page13164
                                                                            of 14
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                                    1196


 1         out there. (TXSD Case No. 4:12-cr-00168 ECF 337, pg. 45:4-8)
 2 (ECF 75-1 ¶ 35, citing to Exhibit A, pg. 45:4-8 [page 66 of ECF 75-1]).
 3         In fact, Defendant previously asked this Court in 2012 to seal the entire file
 4 from a 1996 case, Chaker v. Davis, Case No. 96-cv-0314; the request was denied.
 5 (McMillan Dec. ¶ 3, Exhibit 1).
 6         It is evident that Defendant’s request to seal or for a protective order is made
 7 in a capricious effort to continue to reduce the amount of information of how he
 8 harms people, but what Defendant did that is now before the Court rightfully and
 9 should be accessible to the public.
10 V.      CONCLUSION
11         For the foregoing reasons, Plaintiffs requests that Defendant’s motion be
12 denied.
13
                                                   Respectfully submitted,
14
                                                   THE MCMILLAN LAW FIRM, APC
15 Date: July 20, 2020
16                                                 /s/ Scott A. McMillan
17                                                 Scott A. McMillan, Plaintiff In Pro
                                                   Per, Attorney for Plaintiff The
18                                                 McMillan Law Firm, APC
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     3:16-CV-02186              Opposition to Motion to Seal                             9


                                             157
 Case 3:16-cv-02186-WQH-MDD Document 127-1
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                                                 09/23/22PageID.4168
                                                          PageID.4381Page
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                                                                             of 14
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 1                            CERTIFICATE OF SERVICE
 2         I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5         On July 20, 2020, I caused service of the following documents:
 6 1.      PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO
 7         SEAL.
 8 2.      DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
 9         PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO
10         SEAL.
11   By Electronic Submission: I served the above listed document(s) described via
12 the United States District Court’s Electronic Filing Program on the designated
13 recipients via electronic transmission through the CM/ECF system on the Court’s
14 website. The Court’s CM/ECF system will generate a Notice of Electronic Filing
15 (NEF) to the filing party, the assigned judge, and any registered users in the case.
16 The NEF will constitute service of the document(s). Registration as a CM/ECF
17 user constitutes consent to electronic service though the court’s transmission
18 facilities.
19         I declare under penalty of perjury under the laws of the State of California
20 that the foregoing is true and correct. Executed on July 20, 2020, at the City of San
21 Diego, County of San Diego, California.
22
           Dated: July 20, 2020
23
                                                  /s/ Scott A. McMillan
24                                                ______________________
25                                                Scott A. McMillan
26
27
28

     3:16-CV-02186              Opposition to Motion to Seal                              10


                                            158
  Case
   Case3:16-cv-02186-WQH-MDD
         3:16-cv-02186-WQH-MDDDocument
                               Document127-1
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                                                   09/23/22 PageID.3752
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         November 06, 2017


       No.:                17-56676
       D.C. No.:           3:16-cv-02186-WQH-MDD
       Short Title:        Scott McMillan, et al v. Darren Chaker, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.




                                               159
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed12/29/17
                                    92-1 Filed  09/23/22 PageID.3863
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                                                                             of 41
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 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Neo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500 x 14
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiff, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
 5 LAW FIRM, APC, a California Professional corporation
 6
 7
 8                     UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              DECLARATION OF SCOTT A.
14                                            MCMILLAN IN SUPPORT OF
     v.                                       PLAINTIFFS’ OPPOSITION TO
15                                            DEFENDANT NICOLE
     DARREN D. CHAKER an individual,          CHAKER’S NOTICE OF MOTION
16   and as trustee of PLATINUM               FOR EXTENSION OF TIME TO
     HOLDINGS GROUP TRUST, dba                FILE CROSS-APPEAL (FRAP
17   COUNTER FORENSICS; NICOLE                4(a)(5)) ].
     CHAKER, an individual, and as trustee
18   of THE NICOLE CHAKER
     REVOCABLE LIVING TRUST, U/A Hearing Date (no oral argument):
19   dated August 18, 2010, VANIA           January 15, 2018
     CHAKER, an individual and as           Dept. 14B
20   beneficiary of The Island Revocable
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust
22   under Declaration of Trust dated June
     2, 2015,
23   Defendants.
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                                            160
 Case
 Case 3:16-cv-02186-WQH-MDD
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                            Document 127-1 Filed12/29/17
                                     92-1 Filed  09/23/22 PageID.3864
                                                           PageID.4384 Page
                                                                        Page2168  of
                                                                              of 41
                                     1196


 1                      DECLARATION OF SCOTT A. MCMILLAN
 2
 3           I, Scott A. McMillan, declare as follows:
 4           1. I am an attorney admitted to practice in the District Court for the
 5 Southern District of California, I am a plaintiff herein, and I am the principal of
 6 The McMillan Law Firm, APC, Plaintiff in this case. The facts that I state below
 7 are of my own personal knowledge and if called before this court, I could and
 8 would testify competently to the following:
 9           2. I submit this declaration in support of Plaintiffs’ opposition to Defendant
10 Nicole Chaker’s Motion for an Extension of Time to File Cross-Appeal.
11           3. On November 5, 2017, I filed Plaintiffs’ Notice of Appeal. I immediately
12 received an “Notice of Electronic Filing” email reflecting the filing. Others
13 accounts listed for receipt of online service also received the same email. A true
14 and correct copy of the NEF emails sent to myself and, by way of example, two of
15 my associates, are attached as Exhibit A.
16           4. A true and correct copy of the Electronic Case Filing Administrative
17 Policies and Procedures Manual for this Court, dated January 20, 2017, is attached
18 as Exhibit B.1
19           5. A true and correct copy of the attorney list for this case, as accessed via
20 the ECF website on December 29, 2017, is attached as Exhibit C.
21           6. With regard to the judgment in this case, Defendants submitted a
22 proposed judgment to the Court on October 5, 2017. However, I objected to it, as
23 the proposed judgment was misleading in that it failed to address the nature of the
24 dismissals, implying that they were terminated based on the merits. A true and
25
26           1
           Downloaded from
27 https://www.casd.uscourts.gov/CMECF/SitePages/PoliciesAndProcedures.aspx,
   last accessed December 29, 2017.
28
                     DECLARATION OF SCOTT A. MCMILLAN IN SUPP. OF PLS’
     3:16-CV-02186   OPPOSITION TO MTN. EXT. TIME TO FILE CROSS-APPEAL                        2

                                               161
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed12/29/17
                                    92-1 Filed  09/23/22 PageID.3865
                                                          PageID.4385 Page
                                                                       Page3169  of
                                                                             of 41
                                    1196


 1 correct copy of the email exchange is attached as Exhibit D.
 2
 3           I declare under the penalty of perjury under the laws of the United States,
 4 within the meaning of 28 U.S.C. 1746, that the foregoing is true and correct and
 5 that this declaration was executed in the City of La Mesa, County of San Diego,
 6 State of California on December 29, 2017.
 7                                                        /s/ Scott A. McMillan
 8                                                  BY: _________________________
 9                                                        Scott A. McMillan
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                     DECLARATION OF SCOTT A. MCMILLAN IN SUPP. OF PLS’
     3:16-CV-02186   OPPOSITION TO MTN. EXT. TIME TO FILE CROSS-APPEAL                     3

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Case 3:16-cv-02186-WQH-MDD
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                           Document 127-1 Filed12/29/17
                                    92-1 Filed  09/23/22 PageID.3866
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                                                                             of 41
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                            Exhibit

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                                                               164
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       405 3:16-cv-02186-WQH-MDD
       Case           6789ÿ7 ÿÿÿÿÿDocument
            3:16-cv-02186-WQH-MDD            3Document
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                                                                                           ÿPageID.4388
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                                                                                                                ÿPage
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                                                                                                                        of 41
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                                                               165
      Case
       Case 3:16-cv-02186-WQH-MDD
12/29/2017                                           Document
            The McMillan Law Firm, APC Mail - Activity
            3:16-cv-02186-WQH-MDD                                    127-1    Filed12/29/17
                                                       in Case 3:16-cv-02186-WQH-MDD
                                                     Document        92-1 Filed     09/23/22        PageID.4389
                                                                                     McMillan et alPageID.3869
                                                                                                   v.                     ofPage
                                                                                                      Chaker et al Notice Page   7173
                                                                                                                             Appeal toof   of
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                                                                                                                                           Circuit
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                                                                                                  Lauren Hanley-Brady <lbrady@tmlf.us>



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                                                                       166
      Case
       Case 3:16-cv-02186-WQH-MDD
12/29/2017                                           Document
            The McMillan Law Firm, APC Mail - Activity
            3:16-cv-02186-WQH-MDD                                    127-1    Filed12/29/17
                                                       in Case 3:16-cv-02186-WQH-MDD
                                                     Document        92-1 Filed     09/23/22        PageID.4390
                                                                                     McMillan et alPageID.3870
                                                                                                   v.                     ofPage
                                                                                                      Chaker et al Notice Page   8174
                                                                                                                             Appeal toof   of
                                                                                                                                       9th41
                                                                                                                                           Circuit
                                                                      1196
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     0] [80f9ac2828c2c2169287219c00eace203234345ac96086ed9e8f936d3e0e783771
     375c356ea785b48d2b1fd658a2aafdf0d63be4bab1d9825b83d40b6ca08041]]




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                                                                       167
      Case
       Case 3:16-cv-02186-WQH-MDD
12/29/2017                                        Document
                                                  Document 127-1
                     Gmail - Activity in Case 3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD                                     Filed
                                                               92-1McMillan
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                                                                            et12/29/17
                                                                                 v. Chaker et al PageID.4391           Page
                                                                                                 Notice of Appeal to 9th
                                                                                              PageID.3871                Circuit9175
                                                                                                                      Page            of
                                                                                                                                  of 41
                                                                   1196

                                                                                       Jessica Marshall <jmarshall4670@gmail.com>



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                                                                    168
      Case 3:16-cv-02186-WQH-MDD
12/29/2017
      Case 3:16-cv-02186-WQH-MDD                  Document 92-1127-1
                     Gmail - Activity in Case 3:16-cv-02186-WQH-MDD
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                                                                             et12/29/17        alPageID.4392
                                                                                   v. Chaker etPageID.3872           9thPage
                                                                                                 Notice of Appeal to Page     10176
                                                                                                                         Circuit    of
                                                                                                                                 of 41
                                                                   1196
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     0] [80f9ac2828c2c2169287219c00eace203234345ac96086ed9e8f936d3e0e783771
     375c356ea785b48d2b1fd658a2aafdf0d63be4bab1d9825b83d40b6ca08041]]




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                                                                    169
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3873
                                                           PageID.4393 Page
                                                                        Page11177 of
                                                                               of 41
                                     1196




                            Exhibit

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                                        170
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3874
                                                           PageID.4394 Page
                                                                        Page12178 of
                                                                               of 41
                                     1196




                      Electronic Case Filing
          Administrative Policies and Procedures Manual

                       United States District Court
                  for the Southern District of California

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                                  San Diego, California 92101

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                                             171
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3875
                                                           PageID.4395 Page
                                                                        Page13179 of
                                                                               of 41
                                     1196



                                       Electronic Case Filing
                                Administrative Policies and Procedures
                                         Table of Contents

   Section 1: The Electronic Filing System

    a.     Authorization for Electronic Filing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1
           .
    b.     Scope of Electronic Filing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              1
           .
    c.     The Official Record and Maintenance of Original Paper Documents . . .                                             2
           .
    d.     Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       2
           .
    e.     System Availability . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           4
           ..
    f.     Registration and Attorney Responsibilities . . . . . . . . . . . . . . . . . . . . . . . .                        4
           .
    g.     Logins and Passwords . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              5
           .
    h.     Privacy . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   5
           .
    i.     Technical Specifications . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .              7
           .

   Section 2: Electronic Filing and Service of Documents

    a.     Filing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
           .
    b.     Pro Se Litigants . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
           .
    c.     Case Initiating Documents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
           .
    d.     Service . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
           .
    e.     Courtesy Copies for Judicial Officers . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
           .
    f.     Signatures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
           .




                                                            172
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3876
                                                           PageID.4396 Page
                                                                        Page14180 of
                                                                               of 41
                                     1196



    g.     Motions, Applications or Other Requests for Ruling by the Court . . . .                                        12
           .
    h.     Proposed Orders and Orders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   13
           ..
    i.     Ex Parte Documents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             14
           .
    j.     Sealed and Juvenile Documents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    14
           .
    k.     Exhibits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   16
           .
    l.     Hyperlinks . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     17
           .
    m.     Technical Failures . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         17
           .
    n.     Correcting Filing or Docket Errors . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   17
           .
    o.     Transcripts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    18
           .
    p.     Exceptions to Electronic Filing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                19
           .




                                                           173
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3877
                                                           PageID.4397 Page
                                                                        Page15181 of
                                                                               of 41
                                     1196




                    Southern District of California
                        Electronic Case Filing
                 Administrative Policies and Procedures

                 Section 1: The Electronic Filing System
   a.    Authorization for Electronic Filing

          Pursuant to General Order No. 550, beginning on November 1, 2006, the
   U.S. District Court for the Southern District of California will require attorneys and
   others who have obtained permission of the court in civil and criminal cases to file
   documents with the court electronically, over the Internet, through its Case
   Management/Electronic Case Filing (CM/ECF) system. The court expects all
   attorneys practicing in this District to participate in electronic filing to the extent
   practicable.

           Electronic transmission of a document to the CM/ECF system, together with
   the transmission of a Notice of Electronic Filing from the court, constitutes filing of
   the document for purposes of Rule 5(d) of the Federal Rules of Civil Procedure and
   Rule 49(d) of the Federal Rules of Criminal Procedure, and constitutes entry of the
   document on the docket kept by the Clerk of Court under Rules 58 and 79 of the
   Federal Rules of Civil Procedure. The following court policies govern electronic
   filing in this district unless, due to extraordinary circumstances, in a particular case,
   a judicial officer determines that these policies should be modified in the interest of
   justice.

   b.    Scope of Electronic Filing

          Except as prescribed by local rule, order, or other procedure, the court has
   designated all cases to be assigned to the Electronic Filing System. Unless otherwise
   expressly provided in these rules or in exceptional circumstances preventing a
   registered user from filing electronically, all petitions, motions, memoranda of law,
   or other pleadings and documents required to be filed with the court by a registered
   user in connection with a case assigned to the Electronic Filing System must be
   electronically filed.
                                                        CASD ECF Policies and Procedures | Page 1



                                             174
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3878
                                                           PageID.4398 Page
                                                                        Page16182 of
                                                                               of 41
                                     1196




           Case initiating documents in civil cases, including but not limited to the civil
   Complaint and Notice of Removal, must be filed electronically. All sealed case
   initiating documents in civil cases must be filed in paper format. All case initiating
   documents in criminal cases, including the criminal Complaint, Information,
   Indictment and Superseding Information or Indictment, must be filed in paper
   format at the Clerk’s Office. All subsequent documents must be filed by registered
   users electronically except as provided in these rules or as ordered by the court.

   c.    The Official Record and Maintenance of Original Paper
         Documents

          The official court record will be the electronic file maintained on the court’s
   servers. This includes information transmitted to the Court in electronic format, as
   well as documents filed in paper form, scanned, and made a part of the electronic
   record to the extent permitted by the court’s policies. The official record will also
   include any documents or exhibits that may be impractical to scan. The electronic
   file maintained on the court’s servers must contain a reference to any such
   documents filed with the court. For cases initiated prior to the implementation of
   the Electronic Filing System, the official court record will include both the pre-
   implementation paper file maintained by the Clerk, as well as the post-
   implementation electronic files maintained on the court’s servers. The Clerk’s
   Office will not maintain a paper court file in any case initiated on or after the
   effective date of these procedures except as otherwise provided in these procedures.
          If an original pleading has some intrinsic value, the filing party must retain
   the original paper document for a period of five years from the date the document is
   signed, or for one year after the expiration of all time periods for appeal, whichever
   period is greater, and must provide the original paper document to the court upon
   request.

   d.    Definitions

   CASE MANAGEMENT/ELECTRONIC CASE FILING SYSTEM, referred to in
   these procedures as the system or CM/ECF, means the Internet-based system for
   filing documents and maintaining court case files in the United States District
   Court for the Southern District of California.



                                                        CASD ECF Policies and Procedures |Page 2



                                             175
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3879
                                                           PageID.4399 Page
                                                                        Page17183 of
                                                                               of 41
                                     1196



   DOCUMENT means pleadings, motions, exhibits, declarations, affidavits,
   memoranda, papers, orders, notices, and any other filing by or with the court.

   ELECTRONIC FILING means uploading a document directly from the registered
   user's computer in "Portable Document Format" (.pdf), using the CM/ECF system
   to file that document in the court's case file. Individual .pdf documents must not
   exceed ten (10) megabytes (MB) in size. Pacific Time applies to all filings. Sending a
   document or pleading to the court via e-mail other than as described below does not
   constitute "electronic filing."

   NOTICE OF ELECTRONIC FILING, referred to in these procedures as NEF, is a
   notice automatically generated by the CM/ECF system at the time a document is
   filed with the court. The notice sets forth the time of filing, the name of the attorney
   and/or party filing the document, the type of document, the text of the docket
   entry, the name of the party and/or attorney receiving the notice, and an electronic
   link (hyperlink) to the filed document which allows recipients to retrieve the
   document automatically.

   .pdf refers to Portable Document Format, a proprietary file format developed by
   Adobe Systems, Inc. A document file created with a word processor, or a paper
   document which has been scanned, must be converted to Portable Document
   Format to be electronically filed with the court. Converted files contain the
   extension “.pdf”. Documents which exist only in paper form may be scanned into
   .pdf for electronic filing. The Court recommends scanner settings at 400 pixels per
   inch (ppi). Electronic documents must be converted to .pdf directly from a word
   processing program (e.g., Microsoft Word® or Corel WordPerfect®).

   REGISTERED USER is an individual who has been issued a login and password by
   the court to electronically file documents.

   PACER (Public Access to Court Electronic Records) is an automated system that
   allows a subscriber to view, print and download court case file information over the
   Internet for a fee.




                                                       CASD ECF Policies and Procedures |Page 3



                                            176
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3880
                                                           PageID.4400 Page
                                                                        Page18184 of
                                                                               of 41
                                     1196



   e.    System Availability

          The CM/ECF system is designed to provide service 24 hours a day. The
   parties, however, are encouraged to file documents in advance of filing deadlines
   and during normal business hours. The Clerk’s Office has established a Help Desk
   (866-233-7983) to respond to questions regarding CM/ECF and the registration
   process. The Help Desk will be staffed business days from 8:30 a.m. to 4:30 p.m.
   Information can also be obtained on the court web site at www.casd.uscourts.gov.

   f.    Registration and Attorney Responsibilities

         Registration in the CM/ECF system for the purpose of electronic service of
   pleadings and other papers is mandatory for attorneys.

        All attorneys in good standing must register for the CM/ECF system by
   completing the on-line registration form on the court web site at
   www.casd.uscourts.gov.

         Registration constitutes consent to electronic service of documents by e-mail,
   as provided by the Federal Rules of Civil Procedure. An attorney may register up to
   two (2) additional e-mail addresses.

           Upon confirmation of the e-mail address, the attorney's login and password
   will be sent by e-mail. An attorney whose e-mail address, mailing address, telephone
   or fax number has changed must update the information through the CM/ECF
   utility menu and file a timely notification of the changes. Attorneys employed by
   federal, state, and local government agencies are responsible for updating their
   attorney information upon their appointment and separation from their respective
   agency.

        Electronic filing through CM/ECF is required for all attorneys beginning
   November 1, 2006, except as otherwise provided herein.

         A filing party must maintain an electronic mailbox of sufficient capacity, with
   the appropriate e-mail permissions, to receive electronic notice of case-related
   transmissions.



                                                      CASD ECF Policies and Procedures |Page 4



                                           177
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3881
                                                           PageID.4401 Page
                                                                        Page19185 of
                                                                               of 41
                                     1196



          If an attorney fails to file electronically and does so without leave of court, he
   or she must also file a "Notice of Non-Compliance with Mandatory Electronic
   Filing" setting forth the reason(s) for filing in non-electronic form.

          After leave to appear pro hac vice has been granted, attorneys will have five (5)
   days to register for electronic filing.

          An attorney may apply to the court for permission to file documents in paper
   form. Effective November 1, 2006, attorneys must show good cause to file and serve
   using non-electronic filing. Permission for non-electronic filing may be withdrawn
   at any time by the court and the attorney may be required to file documents using
   the CM/ECF system.

   g.    Logins and Passwords

          Each attorney who completes registration will be issued one login and
   password. Documents filed under an attorney's login and password will constitute
   that attorney's signature for purposes of the Local Rules and Federal Rules of Civil
   and Criminal Procedure, including Rule 11 of the Federal Rules of Civil Procedure.
   Therefore, only one password will be issued and the attorney should not permit the
   password to be used by anyone other than an authorized agent. The attorney is
   responsible for all documents filed with his or her password.

         If a registered user believes the security of an existing password has been
   compromised, the user must immediately notify the Clerk's Office and change the
   password through the CM/ECF system utility menu.

   h.    Privacy

         Unless otherwise ordered by the court, parties must refrain from including, or
   must partially redact where inclusion is necessary, the following personal identifiers
   from all pleadings and documents filed with the court, including exhibits thereto:

         1.     Social Security numbers. If an individual’s Social Security number
                must be included in a pleading or document, only the last four (4)
                digits of that number should be used.



                                                         CASD ECF Policies and Procedures |Page 5



                                             178
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3882
                                                           PageID.4402 Page
                                                                        Page20186 of
                                                                               of 41
                                     1196



         2.     Names of minor children. If the involvement of a minor child must be
                mentioned, only the initials of that child should be used.

         3.     Dates of birth. If an individual’s date of birth must be included in a
                pleading or document, only the year should be used.

         4.     Financial account numbers. If financial account numbers are relevant,
                only the last four digits of these numbers should be used.

         5.     Home address. In criminal cases, if a home address must be included
                only the city and state should be listed.

          The responsibility for redacting personal identifiers rests solely with the
   parties. The Clerk's Office will not review each document for compliance with this
   rule. A party filing a redacted document must retain the complete unredacted
   document for the duration of the case, including any period of appeal, unless
   instructed by the Court to file the complete unredacted document under seal.

          Pursuant to General Order 514-C, Social Security cases will be excluded from
   electronic public access except for access by judiciary employees, the United States
   Attorney or its representatives and the litigants in those cases.

          Without a court order, the court will not provide public electronic access to
   the following documents:

                a.     Sealed documents.

                b.     Unexecuted warrants of any kind.

                c.     Pretrial bail reports and bond supporting documents. Only the
                       conditions of release will be available to the public electronically.

                d.     Pre-Sentence reports and all sentencing materials including the
                       statement of reasons related to the judgment of conviction.
                       Only the judgment of conviction will be available to the public
                       electronically.

                e.     Juvenile records.

                                                        CASD ECF Policies and Procedures |Page 6



                                             179
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3883
                                                           PageID.4403 Page
                                                                        Page21187 of
                                                                               of 41
                                     1196




                  f.     Magistrate information sheets and financial affidavits submitted
                         by an accused.

                  g.     Pleadings and reports related to the competency or mental
                         health of a defendant.

                  h.     All abstracts of judgment so captioned in the document.

                  I.     Applications for a writ of garnishment, a writ of garnishment,
                         and a Clerk’s notice of garnishment that are so captioned in the
                         document.

                  j.     Applications for a writ of execution, a writ of execution, and a
                         Clerk’s notice of execution that are so captioned in the
                         document.

                  k.     Civil settlement documents that contain personal identifiers
                         listed above. It is the attorney’s obligation to obtain an order
                         sealing such documents.

   i.       Technical Specifications

        Current technical specifications for CM/ECF can be found at the court’s official
           web site, www.casd.uscourts.gov. Specifications may change periodically.
         Registered users may refer to the web site for the most current requirements.




                                                         CASD ECF Policies and Procedures |Page 7



                                              180
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3884
                                                           PageID.4404 Page
                                                                        Page22188 of
                                                                               of 41
                                     1196



          Section 2: Electronic Filing and Service of Documents
   a.    Filing

          Electronically filed documents must meet the requirements of Fed. R. Civ. P.
   10 (Form of Pleadings), and Local Civil Rule 5.1, as if they had been submitted on
   paper. Documents filed electronically are also subject to any page limitations set
   forth by Court order or by Local Civil Rule 7.1, Local Civil Rule 8.2, and Local
   Criminal Rule 47.1.

          Unless otherwise expressly provided in these rules or in exceptional
   circumstances preventing a registered user from filing electronically, all applications,
   motions, memoranda of law, or other pleadings and documents required to be filed
   with the Court by a registered user in connection with a case assigned to the
   Electronic Filing System must be electronically filed.

         Unless otherwise authorized by the court, E-mailing a document to the
   Clerk’s Office or to the assigned judge does not constitute “filing” of the document.

         The court may, upon the motion of a party or upon its own motion, strike
   any inappropriately filed document.

   b.    Pro Se Litigants

          Unless otherwise authorized by the court, all documents submitted for filing
   to the Clerk's Office by parties appearing without an attorney must be in legible,
   paper form. The Clerk's Office will scan and electronically file the document.

          A pro se party seeking leave to electronically file documents must file a
   motion and demonstrate the means to do so properly by stating their equipment
   and software capabilities in addition to agreeing to follow all rules and policies in
   the CM/ECF Administrative Policies and Procedures Manual. If granted leave to
   electronically file, the pro se party must register as a user with the Clerk's Office and
   as a subscriber to PACER within five (5) days.

          A pro se party must seek leave to electronically file documents in each case
   filed. If an attorney enters an appearance on behalf of a pro se party, the attorney

                                                        CASD ECF Policies and Procedures |Page 8



                                             181
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3885
                                                           PageID.4405 Page
                                                                        Page23189 of
                                                                               of 41
                                     1196



   must advise the Clerk's Office to terminate the login and password for the pro se
   party.

   c.    Case Initiating Documents

           Case initiating documents in civil cases, including but not limited to the civil
   Complaint and Notice of Removal, must be filed electronically. All sealed case
   initiating documents in civil cases must be filed in paper format. All case initiating
   documents in criminal cases, including but not limited to the criminal Complaint,
   Information, Indictment and Superseding Information or Indictment, must be filed
   in paper format at the Clerk’s Office.

   d.    Service

         1.     Summons

               The Clerk’s Office will issue each summons, and the service of a
         summons must be effected pursuant to Rule 4 of the Federal Rules of Civil
         Procedure and the Federal Rules of Criminal Procedure.

                After a summons has been served, or a waiver of service via summons
         has been received, the serving registered user must promptly scan the return
         of service or waiver and electronically file it. Non-registered filers may file the
         return of service or waiver with the Clerk's Office.

         2.     Service of Documents

                      Whenever a document is electronically filed in accordance with
         these procedures, the CM/ECF system will generate a "Notice of Electronic
         Filing" (NEF) to the filing party, the assigned judge and any registered user in
         the case. The NEF will constitute service of the document for purposes of the
         Federal Rules of Civil, Criminal and Appellate Procedure. Registration as a
         CM/ECF user constitutes consent to electronic service through the court's
         transmission facilities.

                Each registered user of the CM/ECF system is responsible for assuring
         that the user's e-mail account is monitored regularly, and that e-mail notices
         are opened in a timely manner.
                                                        CASD ECF Policies and Procedures |Page 9



                                             182
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3886
                                                           PageID.4406 Page
                                                                        Page24190 of
                                                                               of 41
                                     1196




                A certificate of service is required when a party electronically files a
         document. The certificate must state the manner in which service or notice
         was accomplished on each party. If the certificate of service is signed by
         someone other than a registered user, the filing party must scan and
         electronically file the original signed document as set forth in Section 2.f.2
         below.

                 Any document that is not filed electronically must be served as a paper
         copy.

                A party who is not a registered participant of CM/ECF is entitled to
         service of a paper copy of any electronically filed document. The filing party
         must serve the non-registered party with the document according to the
         Federal Rules of Civil Procedure.

                A non-registered filing party who files document(s) with the Clerk's
         Office for scanning and entry to CM/ECF must serve paper copies on all non-
         registered parties to the case. There will be some delay in the scanning,
         electronic filing and subsequent electronic noticing to registered users. If
         time is an issue, non-registered filers must provide a paper copy of the
         document(s) to all parties.

   e.    Courtesy Copies for Judicial Officers

          Unless otherwise ordered by the court, parties must deliver to the Clerk’s
   Office or mail directly to the judge’s chambers, within 24 hours after filing, any
   criminal or civil case filing which exceeds 20 pages in length including attachments
   and exhibits. In addition, where a party makes multiple filings in a case on the same
   day, and those filings cumulatively exceed 20 pages, a courtesy copy must be
   provided to the assigned judicial officer. If the nature of the filing is such that the
   need for a judge's immediate attention is anticipated or desired, a courtesy copy
   must be delivered on the same day as the filing. A copy of the Notice of Electronic
   Filing must precede the first page of the courtesy copy. Courtesy copies are to be
   addressed to the attention of the assigned judicial officer.




                                                      CASD ECF Policies and Procedures |Page 10



                                            183
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3887
                                                           PageID.4407 Page
                                                                        Page25191 of
                                                                               of 41
                                     1196



   f.    Signatures

         1.    Registered Users

                The registered user log-in and password required to submit documents
         to the CM/ECF system will serve as that registered user’s signature for
         purposes of Rule 11 of the Federal Rules of Civil Procedure and for all other
         purposes under the Federal Rules of Civil, Criminal and Appellate Procedure
         and the Local Rules of this court. The name of the CM/ECF registered user
         under whose log-in and password the document is submitted must be
         preceded by a “s/” and typed in the space where the signature would
         otherwise appear. The correct format for an attorney signature is as follows:

                             s/Adam Attorney
                             Attorney for (Plaintiff/Defendant)
                             E-mail: adam_attorney@lawfirm.com

         2.    Non-Registered Signatories

                If the original document requires the signature of a non-registered
         signatory, the filing party must scan and electronically file the original
         document. The electronically filed document maintained on the court’s
         servers will constitute the official version of that record. The filing party must
         retain the original document for a period of five years from the date the
         document is signed, or for one year after the expiration of all time periods for
         appeal, whichever period is greater, and must provide the original paper
         document to the Court upon request.

         3.    Criminal Defendants

                 A document required to be filed electronically which contains the
         signature of a defendant in a criminal case must be electronically filed as a
         scanned document in .pdf. The filing party is required to verify the legibility
         of the scanned document before electronically filing it with the court. The
         filing party must retain the original paper document for a period of five years
         from the date the document is signed, or for one year after the expiration of
         all time periods for appeal, whichever period is greater, and must provide the
         original paper document to the Court upon request.

                                                      CASD ECF Policies and Procedures |Page 11



                                            184
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3888
                                                           PageID.4408 Page
                                                                        Page26192 of
                                                                               of 41
                                     1196




         4.    Stipulations and Other Documents Requiring Multiple Signatures

                All stipulations must be filed as joint motions. The filer of a joint
         motion need not obtain a hearing date prior to filing the joint motion. At
         the time a joint motion is filed, the filer must e-mail a proposed order to the
         e-mail address of the assigned judicial officer pursuant to the procedures set
         forth in section 2.h below.

                The filer of any joint motion or other document requiring more than
         one signature must certify that the content of the document is acceptable to
         all persons required to sign the document by obtaining either physical
         signatures or authorization for the electronic signatures of all parties on the
         document. Physical, facsimile or electronic signatures are permitted. The
         filer must electronically file the document indicating the signatories as "s/Jane
         Doe," "s/John Smith," etc., for each electronic signature.

                 Except as otherwise ordered, parties will have one business day to file
         an Objection to Electronic Filing if they object to contents of the joint
         motion or document that contains their signature. The assigned judicial
         officer will prepare an order, or enter a text order on the docket, following the
         filing of a joint motion.

   g.    Motions, Applications, or Other Requests for Ruling by the Court

         1.    Pursuant to Local Civil Rule 7.1.b and Local Civil Rule 7.1.e, all
               hearing dates for any motion, application, or other requests for ruling
               by the Court must be obtained from the law clerk of the judge to whom
               the case is assigned before any motion, application, or other requests
               for ruling by the Court are filed electronically.

         2.    Any supporting memorandum of points and authorities, declarations,
               and exhibits associated with motions, applications, or other requests for
               ruling by the Court, must be filed as attachments to the motion in the
               CM/ECF system.




                                                     CASD ECF Policies and Procedures |Page 12



                                            185
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3889
                                                           PageID.4409 Page
                                                                        Page27193 of
                                                                               of 41
                                     1196



         3.    Civil and criminal motions, and responses thereto, must be filed
               according to the deadlines set forth in Local Civil Rule 7.1 and Local
               Criminal Rule 47.1.

         4.    A party wishing to file a motion or response on shortened time must
               file a motion for an order shortening time as required by the Local
               Rules. Counsel must e-mail a proposed order to the assigned judicial
               officer at the address indicated in section 2.h below.

         5.    The Court may, upon its own motion, strike any inappropriately filed
               document.

   h.    Proposed Orders and Orders

          Registered users SHOULD NOT FILE OR SUBMIT proposed orders within
   the electronic filing system. At the time of filing any joint motion, motion for
   continuance or extension of time, motion for an order shortening time, or similar
   non-dispositive procedural motion, the filer must also e-mail a separate proposed
   order to the assigned judicial officer at the e-mail address provided below, with a
   copy of the e-mail and proposed order also being sent to opposing counsel.

         The proposed order must be in editable word processing format (i.e.
   WordPerfect or Microsoft Word), and not in .pdf format. The proposed order
   should not contain the name and law firm information of the filing party, and
   should not contain the word “proposed” in the caption.

          The e-mail subject line should include the case number, followed by a short
   description of the attachment (i.e., 10cv1234 – Order Granting Motion for
   Continuance). These e-mail addresses are not to be utilized to communicate with
   the Court unless otherwise permitted or when communications are solicited by
   the Court. Opposing counsel will have one business day to e-mail chambers any
   objections to the proposed order.




                                                    CASD ECF Policies and Procedures |Page 13



                                           186
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3890
                                                           PageID.4410 Page
                                                                        Page28194 of
                                                                               of 41
                                     1196




                                          U.S. District Judges
    efile_moskowitz@casd.uscourts.gov                  efile_bencivengo@casd.uscourts.gov
    efile_burns@casd.uscourts.gov                      efile_curiel@casd.uscourts.gov
    efile_sabraw@casd.uscourts.gov                     efile_bashant@casd.uscourts.gov
    efile_hayes@casd.uscourts.gov                      efile_enright@casd.uscourts.gov
    efile_houston@casd.uscourts.gov                    efile_huff@casd.uscourts.gov
    efile_benitez@casd.uscourts.gov                    efile_miller@casd.uscourts.gov
    efile_sammartino@casd.uscourts.gov                 efile_whelan@casd.uscourts.gov
    efile_anello@casd.uscourts.gov                     efile_lorenz@casd.uscourts.gov
    efile_battaglia@casd.uscourts.gov


                                         U.S. Magistrate Judges
    efile_adler@casd.uscourts.gov                      efile_dembin@casd.uscourts.gov
    efile_stormes@casd.uscourts.gov                    efile_crawford@casd.uscourts.gov
    efile_major@casd.uscourts.gov                      efile_bartick@casd.uscourts.gov
    efile_lewis@casd.uscourts.gov                      efile_burkhardt@casd.uscourts.gov
    efile_gallo@casd.uscourts.gov                      efile_schopler@casd.uscourts.gov
    efile_skomal@casd.uscourts.gov                     efile_brooks@casd.uscourts.gov



   i.     Ex Parte Documents

         Ordinary Ex Parte motions, for which notice is to be provided to all parties,
   should be filed electronically. Ex Parte documents for which no notice is to be
   provided to opposing parties should be filed in paper format under seal. Ex Parte
   documents filed in the system will be served on all parties.

   j.     Sealed and Juvenile Documents

          All sealed documents in criminal cases and cases involving juveniles must be
   filed and served in paper format. Sealed documents in civil cases are to be filed
   electronically in CM/ECF and served in paper format.

                                                            CASD ECF Policies and Procedures |Page 14



                                                 187
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
                                    127-1 Filed
                                           Filed12/29/17
                                                 09/23/22 PageID.3891
                                                           PageID.4411 Page
                                                                        Page29195 of
                                                                               of 41
                                     1196




          Any document submitted for filing under seal in civil cases must be
   accompanied by a motion authorizing such filing. In civil cases the motion to seal
   will be filed as a public document using the appropriate CM/ECF event located
   under the “Sealed Documents” category. The proposed document to be filed under
   seal must be lodged electronically using the “Sealed Lodged Proposed Document”
   event located under the “Sealed Documents” category.

          If the motion to seal is granted, the judge will issue an order authorizing the
   electronic filing by the Clerk’s Office of the lodged proposed document under seal.
   If the motion to seal is denied, the document will remain lodged under seal without
   further consideration absent contrary direction from the Court.

           Electronic filing is not permitted in sealed cases. Documents intended for
   filing in sealed cases must be submitted in paper format. Ex Parte documents for
   which no notice is to be provided to opposing parties should be filed in paper
   format under seal.

         1.     Procedures for E-filing Sealed Documents in Civil Cases

                a.     To e-file any sealed document in a civil case, including motions,
                       responses, replies, declarations, etc., a filer must first e-file a
                       motion to seal using the “Motion to File Document(s) Under
                       Seal” event located in the civil events menu under “Sealed
                       Documents.” The motion will be a public entry on the docket
                       and the document will be available to the public. All parties in
                       the case will receive notice of the electronic filing. The proposed
                       sealed documents should not be attached to this public filing.

                b.     After filing the Motion to File Document(s) Under Seal, the
                       filershall immediately submit the proposed sealed documents in
                       CM/ECF using the “Sealed Lodged Proposed Document” event
                       located under the “Sealed Documents” category. The proposed
                       document must include the notation “UNDER SEAL” in the
                       caption. The proposed sealed documents will be unavailable for
                       viewing by any attorney or member of the public. However, the
                       docket text associated with the entry will be available for viewing
                       by attorneys and the public. The docket entry will not contain

                                                      CASD ECF Policies and Procedures |Page 15



                                            188
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
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                                           Filed12/29/17
                                                 09/23/22 PageID.3892
                                                           PageID.4412 Page
                                                                        Page30196 of
                                                                               of 41
                                     1196



                       specific information identifying the nature of the proposed
                       sealed document. All parties in the case will receive notice of the
                       electronic filing, however, the document itself will be
                       unavailable. Counsel must serve copies on opposing counsel in
                       a conventional manner.

                c.     Counsel must e-mail a separate proposed order in word
                       processing format to the assigned judicial officer at the e-mail
                       address provided above in Section 2.h. If the order is also to be
                       filed under seal, it must so state.

                d.     If counsel believes the motion for leave to file documents under
                       seal itself should be filed under seal, counsel shall follow the
                       same process to obtain leave to file that motion under seal.

   k.    Exhibits

          Exhibits must be submitted electronically in CM/ECF as attachments. If the
   entire exhibit exceeds ten (10) megabytes, it must be submitted in multiple segments,
   not to exceed ten (10) megabytes each.

         Pursuant to Local Civil Rule 5.1.e, except where compliance is impracticable,
   exhibits must be paged in consecutive numerical order. Each document containing
   exhibits must have, as a cover page to the exhibits, a table of contents indicating the
   page number of each of the succeeding exhibits.

          The filing party is required to verify the legibility of the scanned exhibits prior
   to electronically filing them with the court. Parties should scan documents in black
   and white, unless color is a critical feature of the information.

          Original exhibits must be retained by the submitting party for the duration of
   the case, including any period of appeal.

           A party may seek leave of the court to allow the non-electronic filing of
   exhibits when they are not convertible to electronic form (e.g. videotapes, maps,
   etc.). If leave is granted, the filing party must prepare a cover page in pleading
   format to be submitted with the exhibits. The cover page must contain a table of
   contents indicating the page number of each of the succeeding exhibits. The

                                                        CASD ECF Policies and Procedures |Page 16



                                              189
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                           Filed12/29/17
                                                 09/23/22 PageID.3893
                                                           PageID.4413 Page
                                                                        Page31197 of
                                                                               of 41
                                     1196



   caption will state what document, if any, the exhibits are supporting. The actual
   exhibits must be tabbed and bound if appropriate.

         Evidentiary and trial exhibits must be submitted directly to the appropriate
   courtroom deputy clerk and will not be filed with the court.

   l.    Hyperlinks

          In order to preserve the integrity of the court record, attorneys wishing to
   insert hyperlinks in court filings should continue to use the traditional citation
   method for the cited authority, in addition to the hyperlink. The Judiciary's policy
   on hyperlinks is that a hyperlink contained in a filing is no more than a convenient
   mechanism for accessing material cited in the document. A hyperlink reference is
   extraneous to any filed document and is not part of the court's record.

   m.    Technical Failures

          A registered user whose filing is made untimely as the result of a technical
   failure may seek appropriate relief from the court.

   n.    Correcting Filing or Docket Errors

         1.     Once a document is submitted and becomes part of the case docket,
                corrections to the docket may be made only by the Clerk's Office. The
                CM/ECF system will not permit the filing party to make changes to the
                document or docket entry once the transaction has been accepted.

         2.     The filing party should not attempt to re-file an incorrectly filed
                document.

         3.     The filing party must contact the Clerk's Office CM/ECF Help Desk as
                soon as an error has been discovered and provide the case number and
                document number. If appropriate, the Clerk's Office will make a
                docket entry indicating the document was filed in error. The filing
                party will be advised if the document needs to be re-filed.

         4.     If the Clerk's Office discovers filing or docketing errors, the filer will be
                advised of what further action, if any, is required to address the error.
                                                       CASD ECF Policies and Procedures |Page 17



                                             190
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                           Filed12/29/17
                                                 09/23/22 PageID.3894
                                                           PageID.4414 Page
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                                                                               of 41
                                     1196



                However, if the error is minor, the Clerk's Office may correct the error,
                with or without notifying the parties.

         5.     In the event it appears a document has been filed in the wrong case, the
                Clerk's Office will docket an entry indicating this possible error and
                notify the filing party. If it is confirmed as an error, the party will be
                directed to re-file the document in the correct case. The Clerk's Office
                will not delete any documents filed by a party unless ordered by the
                court.

   o.    Transcripts

          The Judicial Conference has adopted a policy regarding electronic access to
   court transcripts. The following procedures apply as to transcripts:

          Transcripts filed by contract court reporters or official transcribers will be
   submitted to the Clerk's Office in .pdf through e-mail to a designated e-mail address.
   The e-mail address for contract court reporters and official transcribers is
   ecftranscripts@casd.uscourts.gov.

          Transcripts will be electronically filed and available for viewing at the Clerk’s
   Office public terminal, but may NOT be copied or reproduced by the Clerk’s Office
   for a period of 90 days. Registered users who have purchased the transcript during
   the 90 day period will be provided remote electronic access to the transcript in
   CM/ECF. The court reporter or official transcriber will notify the Clerk’s Office
   when a registered user in a case has purchased the transcript so that access to the
   transcript can be given to the purchaser through the court’s CM/ECF system.

          Within 7 calendar days of the filing of the official transcript in CM/ECF,
   each party wishing to redact a transcript must electronically file a “Notice of Intent
   to Request Redaction.” If no such notice is filed within the allotted time, the court
   will assume redaction of personal data identifiers from the transcript is not
   necessary. If redaction is requested, within 21 calendar days from the e-filing of the
   transcript with the Clerk, or longer by order of the Court, the parties must submit to
   the court reporter or official transcriber a redaction request statement indicating by
   page and line where personal identifiers appear in the transcript and how they are to
   be redacted. The responsibility for redacting personal identifiers rests solely with
   counsel and the parties. Personal identifiers are Social Security numbers, financial

                                                      CASD ECF Policies and Procedures |Page 18



                                             191
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
                           Document 92-1
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                                           Filed12/29/17
                                                 09/23/22 PageID.3895
                                                           PageID.4415 Page
                                                                        Page33199 of
                                                                               of 41
                                     1196



   account numbers, names of minor children, dates of birth, and in criminal cases,
   home addresses.

   p.    Exceptions to Electronic Filing

         The following documents must be submitted in paper form:
         1.    Abstract of Judgment
         2.    Sealed Documents in Criminal Cases and Cases Involving Juveniles
         3.    Sealed Civil Complaint and Sealed Notice of Removal
         4.    Indictment, Information, and Waiver of Indictment
         5.    Criminal Complaint
         6.    Financial Affidavit in Support of Request for Appointment of Counsel
         7.    Bond Documents
         8.    Affidavits Related to Criminal Complaints
         9.    Application for and Affidavit Supporting Warrants Issued
         10. Writs Issued
         11. Application and Order for Pen Registers, Trap and Trace
         12. Application for and Affidavit Supporting Wiretap Orders and 15-day
               Reports
         13. Application for and Affidavit Supporting Trackers
         14. Application and Order under 18 U.S.C. § 2703(d)
         15. Reports of Medical or Mental Evaluations of Criminal Case
               Defendants
         16. Plea Agreement
         17. Letter to Sentencing Judge Recommending Downward Departure
               Under USSG § 5K1.1
         18. Stipulation of Fact and Joint Motion for Release of Material Witnesses
               (in Alien Smuggling Cases)
         19. Grand Jury Matters, including:
               a.     Minute Sheets
               b.     Grand Jury Returns
               c.     Voting Slips
               d.     Orders Appointing Alternate Jurors
               e.     Motions and Orders to Quash Subpoenas
               f.     Motions and Orders to Enforce Subpoenas
               g.     Motions and Orders for Immunity
               h.     Motions and Orders for Appointment of Counsel


                                                    CASD ECF Policies and Procedures |Page 19



                                          192
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                 09/23/22 PageID.3896
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                                     1196



               i.     Fed. R. Crim. P. Rule 6(e) Notices and Applications for
                      Criminal Contempt Information
               j.     Grand Jury Transcripts
         20.   Civil Miscellaneous Cases Filed by Unregistered Attorneys
         21.   Any other document or filing that the court orders not to be
               electronically filed, imaged or maintained in the CM/ECF system.




                                                  CASD ECF Policies and Procedures |Page 20



                                         193
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                    3:16-cv-02186-WQH-MDD McMillan et al v. Chaker et al
                                                  William Q. Hayes, presiding
                                                  Mitchell D. Dembin, referral
                                                    Date filed: 08/29/2016
                                                 Date terminated: 10/10/2017
                                                 Date of last filing: 12/12/2017

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https://ecf.casd.uscourts.gov/cgi-bin/qryAttorneys.pl?511894                                                           1/3
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    (213)615-7116                                                  1196                      TERMINATED: 08/28/2017
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                                                                                          (Defendant)
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    Charles Thomas Spagnola
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     Assigned: 02/17/2017
     ATTORNEY TO BE NOTICED


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                                                                                             the Motions to Dismiss
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                                                                                                Lauren Hanley-Brady <lbrady@tmlf.us>



  Fwd: 3:16cv02186 Judgment Granting the Motions to Dismiss
  2 messages

  Scott A McMillan <scott@mcmillanlaw.us>                                                                        Fri, Oct 6, 2017 at 7:36 AM
  To: Lauren Hanley-Brady <lbrady@tmlf.us>


    ---------- Forwarded message ----------
    From: Scott A McMillan <scott@mcmillanlaw.us>
    Date: Fri, Oct 6, 2017 at 7:36 AM
    Subject: Re: 3:16cv02186 Judgment Granting the Motions to Dismiss
    To: Celia Flippin <cflippin@sktlawyers.com>
    Cc: "efile_hayes@casd.uscourts.gov" <efile_hayes@casd.uscourts.gov>, Christopher Wong <cwong@sktlawyers.com>,
    "scott4670@gmail.com" <scott4670@gmail.com>


    Dear Judge Hayes,

    The proposed judgment does not address the nature of the dismissal. As written, the judgment is misleading and will be
    used to suggest that the matter was terminated based upon the merits.

    Unless the court has a form at hand which reflects the court declining to exercise supplemental jurisdiction, we will be
    proposing another judgment.

    Since the order of dismissal, on September 27, 2017, we filed a state proceeding in the San Diego Superior Court on the
    extortion claim entitled McMillan Law Firm, APC, et al., v. Chaker, et al., San Diego Superior Court case Number 37-2017-
    00036344-CU-NP-CTL.

    Thank you,

    Scott McMillan


    Scott A. McMillan
    The McMillan Law Firm, APC
    4670 Nebo Drive, Suite 200
    La Mesa, CA 91941-5230
    Direct (619) 393-1751 // Main (619)464-1500 x 14 // Cel (619)274-0884 // FAX (619) 828-7399
    e-mail: scott@mcmillanlaw.us
    www.mcmillanlaw.us


    On Thu, Oct 5, 2017 at 3:25 PM, Celia Flippin <cflippin@sktlawyers.com> wrote:

       Dear Judge Hayes:



       Attached please find a proposed judgment in the matter entitled Scott A. McMillan, et al. v.
       Darren D. Chaker, et al., USDC Case No. 3:16cv02186.



       Opposing counsel, Scott A McMillan, is being copied on this email.



https://mail.google.com/mail/u/0/?ui=2&ik=202fe5f987&jsver=1QCYKmIiAi4.en.&view=pt&q=label%3Atmlf-clients-chaker---not-a-client%20%22propos…   1/2
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      Case 3:16-cv-02186-WQH-MDD
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                                           Document        92-1       FiledJudgment
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                                                                                             the Motions to Dismiss
                                                                                         PageID.3903           Page         of
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       Regards,                                                      1196



       Celia Flippin



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       444 W. Ocean Blvd., Ste. 1700

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  Lauren Hanley-Brady <lbrady@tmlf.us>                                                                       Wed, Dec 13, 2017 at 2:26 PM
  To: Matthew Hodroff <mhodroff@tmlf.us>

    ---------- Forwarded message ----------
    From: Scott A McMillan <scott@mcmillanlaw.us>
    Date: Fri, Oct 6, 2017 at 7:36 AM
    [Quoted text hidden]




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    8
        Attorneys for Defendant
    9   NICOLE CHAKER
   10                       UNITED STATES DISTRICT COURT
   11                    SOUTHERN DISTRICT OF CALIFORNIA
   12
   13 SCOTT A. MCMILLAN, an individual,          )   Case No. 3:16-CV-02186-WQH-MD
      THE MCMILLAN LAW FIRM, APC, a              )
   14 California professional corporation,       )   Judge: William Q. Hayes
                                                 )   Courtroom 14B
   15              Plaintiffs,                   )
             vs.                                 )   Magistrate Hon. Mitchell D. Dembin
   16                                            )   Courtroom 11th Floor
      DARREN D. CHAKER an individual,            )
   17 and as trustee of PLATINUM                 )   DEFENDANT NICOLE
      HOLDINGS GROUP TRUST, dba                  )   CHAKER'S NOTICE OF MOTION
   18 COUNTER FORENSICS; NICOLE                  )   FOR EXTENSION OF TIME TO
      CHAKER, an individual, and as trustee      )   FILE CROSS-APPEAL (FRAP
   19 of THE NICOLE CHAKER                       )   4(a)(5))
      REVOCABLE LIVING TRUST, U/A                )
   20 dated August 18, 2010, VANIA               )   (Memorandum of Points and
      CHAKER, an individual and as               )   Authorities and Declaration of
   21 beneficiary of The Island Revocable        )   Rebecca J. Smith and [Proposed]
      Trust under Declaration of Trust dated     )   Order, filed and served concurrently
   22 June 2, 2015, MARCUS MACK as               )   herewith)
      trustee of The Island Revocable Trust      )
   23 under Declaration of Trust dated June 2,   )   Date: January 15, 2018
      2015,                                      )   Dept: 14B
   24                                            )
                   Defendants.                   )   NO ORAL ARGUMENT UNLESS
   25                                            )   REQUESTED BY THE COURT
   26
   27
   28
        NICOLE CHAKER’S NOTICE OF MOTION TO EXTEND TIME BY WHICH TO
                             FILE CROSS APPEAL
                                                 Page | 1          3:16-CV-02186-WQH-MD
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              1            TO THE COURT, ALL INTERESTED PARTIES AND TO THEIR
              2 RESPECTIVE ATTORNEYS OF RECORD:
              3            PLEASE TAKE NOTICE that on January 15, 2018 in Courtroom 14B of the
              4 above entitled court, before THE HONORABLE William Q. Hayes, presiding, at
              5 333 West Broadway, San Diego, CA 92102, defendant Nicole Chaker will and
              6 hereby does move this court for an order extending the time by which defendant
              7 Nicole Chaker has to file a Notice of Cross-Appeal pursuant to Rule 4(a)(5) of the
              8 Federal Rules of Appellate Procedure, up to and including fourteen (14) days after
              9 granting of the motion pursuant to FRAP 4(a)(5)(C) or any other date permitted by
           10 the court.
           11              This motion is made pursuant to Federal Rules of Appellate Procedure
           12 (“FRAP”) 4(a)(5) on the grounds that the failure to timely file the notice of appeal
           13 was based on excusable neglect and good cause and no prejudice will result to the
           14 other parties in this appeal by virtue of allowing a cross-appeal to now be filed. This
           15 motion is based on this notice, the Memorandum of Points and Authorities and
           16 Declaration of Rebecca J. Smith, filed and served concurrently herewith and such
           17 other oral and documentary evidence as may be presented at the hearing on this
           18 motion.
           19              NO ORAL ARGUMENT WILL BE MADE IN THIS CASE UNLESS
           20 SPECIFICALLY REQUESTED BY THE COURT.
           21 Dated: December 12, 2017                  FREEMAN MATHIS & GARY, LLP
           22
           23                                           By:
                                                              TIMOTHY W. KENNA
           24                                                 REBECCA J. SMITH
                                                              Attorneys for Defendant
           25                                                 NICOLE CHAKER
           26
           27
           28
FREEMAN MATHIS &      NICOLE CHAKER’S NOTICE OF MOTION TO EXTEND TIME BY WHICH
    GARY LLP
ATTORNEYS AT LAW                        TO FILE CROSS-APPEAL
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                    1                                 CERTIFICATE OF SERVICE
                    2
                    3       I am employed in the County of Los Angeles, State of California. I am over
                      the age of 18 and not a party to the within action. My business address is 550 South
                    4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                    5           On December 12, 2017, I served the within document(s) described as:
                    6           DEFENDANT NICOLE CHAKER’S NOTICE OF FOR EXTENSION OF
                                TIME TO FILE CROSS-APPEAL (FRAP 4(A)(5))
                    7
                                on the interested parties in this action as stated on the attached service list:
                    8
                    9
                          X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                   10           described via the United States District Court’s Electronic Filing Program on the
                                designated recipients via electronic transmission through the CM/ECF system on the
                   11           Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
                                Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                   12           case. The NEF will constitute service of the document(s). Registration as a CM/ECF
                                user constitutes consent to electronic service though the court’s transmission facilities.
                   13
                          X     (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                   14           sealed envelope addressed as set forth on the attached mailing list. I placed
                                each such envelope for collection and mailing following ordinary business
                   15           practices. I am readily familiar with this Firm's practice for collection and
                                processing of correspondence for mailing. Under that practice, the
                   16           correspondence would be deposited with the United States Postal Service on
                                that same day, with postage thereon fully prepaid at San Diego, California, in
                   17           the ordinary course of business. I am aware that on motion of the party
                                served, service is presumed invalid if postal cancellation date or postage meter
                   18           date is more than one day after date of deposit for mailing in affidavit.
                   19           Executed on December 12, 2017, at Los Angeles, California.
                   20           I declare under penalty of perjury that the foregoing is true and correct.
                   21
                                    ELIZABETH RUBIO
                   22               (Type or print name)                                     (Signature)
                   23
                   24
                   25
                   26
                   27
Freeman Mathis
  & Gary, LLP
Attorneys at Law
                   28

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                    1                               CERTIFICATE OF SERVICE
                    2
                    3 SCOTT A MCMILLAN
                      THE MCMILLAN LAW FIRM, APC
                    4 4670 NEBO DRIVE
                      SUITE 200
                    5 LA MESA, CA 91941-5230
                      Phone: (619)464-1500
                    6 Fax: (619)828-7399
                      Email: scott4670@gmail.com
                    7
                      Scott A. McMillan,
                    8 The McMillan Law Firm, APC
                      (Plaintiff)
                    9
                      TIMOTHY J. GRANT
                   10 FREDRICKSON, MAZEIKA & GRANT, LLP
                      5720 OBERLIN DRIVE
                   11 SAN DIEGO, CA 92121
                      Phone: 858-642-2002
                   12 Fax: 858-642-2001
                      Email: tgrant@fmglegal.com
                   13
                      Darren D. Chaker (Defendant)
                   14
                   15
                      RYAN G. BAKER
                   16 BAKER MARQUART LLP
                      2029 CENTURY PARK EAST
                   17 SUITE 1600
                      LOS ANGELES, CA 90067
                   18 Phone: 424-652-7800
                      Fax: 424-652-7850
                   19 Email: rbaker@bakermarquart.com
                   20 Vania Chaker (Defendant)
                   21
                   22
                   23
                   24
                   25
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                   27
Freeman Mathis
  & Gary, LLP
Attorneys at Law
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     1 Ryan G. Baker (Bar No. 214036)
        rbaker@bakermarquart.com
     2 Brian T. Grace (Bar No. 307826)
        bgrace@bakermarquart.com
     3 BAKER MARQUART LLP
       2029 Century Park East, Sixteenth Floor
     4 Los Angeles, California 90067
       Telephone: (424) 652-7800
     5 Facsimile: (424) 652-7850
     6 Attorneys for Specially Appearing
     7 Defendant Vania Chaker
     8
                             UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
    10
    11
       SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
    12 THE MCMILLAN LAW FIRM, APC,                MDD
       a California professional corporation,
    13                                            CERTIFICATE OF SERVICE
                    Plaintiffs,
    14
              vs.                                 The Hon. William Q. Hayes
    15
       DARREN D. CHAKER, an individual,           Date: April 10, 2017
    16 and as trustee of PLATINUM                 Courtroom: 14B
       HOLDINGS GROUP TRUST, dba                  Complaint Filed: August 29, 2016
    17 COUNTER FORENSICS; NICOLE
       CHAKER, an individual, and as trustee
    18 of THE NICOLE CHAKER TRUST,
       U/A dated August 18, 2010, VANIA
    19 CHAKER, and individual and as
       beneficiary of The Island Revocable
    20 Trust under Declaration of Trust dated
       June 2, 2015, MARCUS MACK as
    21 trustee of The Island Revocable Trust
       under Declaration of Trust dated June 2,
    22 2015,
    23              Defendants.
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                                                                   1                                  CERTIFICATE OF SERVICE
                                                                   2           I am admitted to the United States District Court for the Southern District of
                                                                   3   California. I am employed in Los Angeles County, California. My business address
                                                                   4   is 2029 Century Park East, Sixteenth Floor, Los Angeles, CA 90067.
                                                                   5           On April 3, 2017, I served the following documents:
                                                                   6
                                                                             • SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S REPLY
                                                                   7           IN SUPPORT OF HER MOTION TO DISMISS PLAINTIFFS’ FIRST
                                                                               AMENDED COMPLAINT, OR IN THE ALTERNATIVE, TO QUASH
                                                                   8           DEFECTIVE SERVICE
                                                                   9
                                                                             • SUPPLEMENTAL DECLARATION OF VANIA CHAKER
                                                                  10
                                                                             • EVIDENTIARY OBJECTIONS TO DECLARATION OF TIMOTHY J.
                                                                  11
                                                                               WING
                                                                  12
                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850




                                                                             • EVIDENTIARY OBJECTIONS TO DECLARATION OF JOSHUA
BAKER MARQUART LLP




                                                                  13
                                                                               VAN NOORD
                               LOS ANGELES, CA 90067




                                                                  14
                                                                  15         • EVIDENTIARY OBJECTIONS TO DECLARATION OF SCOTT
                                                                               MCMILLAN
                                                                  16
                                                                  17         • RESPONSE TO PLAINTIFFS’ EVIDETNIARY OBJECTIONS TO
                                                                               DECLARATION OF VANIA CHAKER
                                                                  18
                                                                  19         • REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                  20
                                                                  21           By Electronic Submission: I served the above listed document(s) described
                                                                  22   via the United States District Court’s Electronic Filing Program on the designated
                                                                  23   recipients via electronic transmission through the CM/ECF system on the Court’s
                                                                  24   website. The Court’s CM/ECF system will generate a Notice of Electronic Filing
                                                                  25   (NEF) to the filing party, the assigned judge, and any registered users in the case.
                                                                  26   The NEF will constitute service of the document(s). Registration as a CM/ECF user
                                                                  27   constitutes consent to electronic service through the court’s transmission facilities.
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                                                                   1        I certify that the foregoing is true and correct.
                                                                   2
                                                                   3   DATED: April 4, 2017                         BAKER MARQUART LLP
                                                                   4                                                /s/ Ryan G. Baker
                                                                   5                                                Ryan G. Baker
                                                                                                                    Brian T. Grace
                                                                   6                                                Attorneys for Specially Appearing
                                                                   7                                                Defendant Vania Chaker
                                                                   8
                                                                   9
                                                                  10
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                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850
BAKER MARQUART LLP




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                               LOS ANGELES, CA 90067




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 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Nebo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8
                        UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
     individual, THE MCMILLAN LAW
12   FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
     Corporation,                             Courtroom: 14B
13   Plaintiffs,
14   v.
15   DARREN D. CHAKER an individual,          DECLARATION OF SCOTT A.
16   and as trustee of PLATINUM               MCMILLAN IN SUPPORT OF
     HOLDINGS GROUP TRUST, dba                PLAINTIFFS’ OPPOSITION TO
17   COUNTER FORENSICS; NICOLE                DEFENDANT DARREN D.
     CHAKER, an individual, and as            CHAKER’S MOTION TO SEAL.
18   trustee of THE NICOLE CHAKER
     REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010, VANIA             Hearing Date: August 3, 2020
     CHAKER, an individual and as
20   beneficiary of The Island Revocable      Complaint Filed: August 29, 2016
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust    [NO ORAL ARGUMENTS UNLESS
22   under Declaration of Trust dated June    ORDERED BY COURT]
     2, 2015,
23   Defendants.
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 1          I, Scott McMillan, do declare as follows,
 2          1.       I am an attorney, licensed to practice in the State of California. If
 3 called before this Court, except as to those matters which I state on information
 4 and belief, I could and would testify as follows from my own personal knowledge:
 5          2.       I submit this declaration in support of Plaintiffs’ Opposition to
 6 Defendant Darren Chaker’s (“Defendant”) Motion to Seal Paragraphs 39, 40, 49 of
 7 the Complaint (ECF No. 1) and Paragraphs 40, 41, and 50 of the First Amended
 8 Complaint (“FAC”) (ECF No. 25) (referred to collectively as “subject
 9 paragraphs”).
10          3.       Defendant has a long history of requesting sealing–often belatedly.
11 For example, in 2012, Defendant requested the Hon. Judge Willam Q. Hayes to
12 seal the case file from a 1996 case. Chaker v. Davis, Case No. 96-cv-0314; the
13 request was denied. A true and correct copy of the Order denying the request to
14 seal is attached as Exhibit 1.
15          4.       Plaintiffs did not incorporate the subject paragraphs for an improper
16 purpose – both are used to support Plaintiff’s allegations in both the complaint and
17 the FAC, as is outlined in the accompanying memorandum of points and
18 authorities.
19          5.       Sealing documents creates an administrative burden to manage for the
20 attorneys and for the Court. In addition, Defendant, despite demanding whenever
21 he can that documents pertaining to him be sealed, challenged the authenticity of
22 Plaintiffs’ sealed exhibits to the FAC with motions to strike and sanctions.
23 Defendant has had almost four years in which to look over the Complaint and over
24 two-and-a-half years to look over the FAC. Had the issues with the subject
25 paragraphs been timely raised contemporaneously with the filing of the FAC, or
26 when Defendant brought the motion to file under seal (ECF No. 78),the parties
27 could have met and conferred and/or Plaintiff’s opposition could have included
28
                         DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186          PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                         2

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 1 the arguments now set forth before the court.
 2          I declare within the meaning of 28 U.S.C. § 1746, under penalty of perjury,
 3 that the foregoing is true and correct, and that this declaration was executed on
 4 July 20, 2020, in the city of La Mesa, County of San Diego, State of California,
 5 United States.
 6
 7
 8
 9                                                      /s/ Scott A. McMillan
                                                        Scott A. McMillan
10                                                      Attorneys for Plaintiffs
11
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                      DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186       PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                         3

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   6
   7                              UNITED STATES DISTRICT COURT
    8                          SOUTHERN DISTRICT OF CALIFORNIA
   9
        DARREN CHAKER,                                            CASE NO. 96cv0314
   10
                                            Plaintiff,            ORDER
   11           vs.

   12    OFFICERJ. DAVIS,
   13                                     Defendant.
   14
        HAYES, Judge:
   15
               On February 5, 1996, Plaintiff initiated this action by filing a Complaint in San Diego
   16
        County Superior Court. On February 22, 1996, Defendant removed the action to this Court,
   17
        alleging federal questionjurisdiction. (ECF No.1). On August 13, 1996, the Court dismissed
   18
        the case for lack of prosecution by Plaintiff. (ECF No. 15).
   19
               On July 30, 2012, Plaintiff filed a motion to seal the entire record of this case, along
   20
        with an ex parte application to file the motion under seaL Plaintiff contends that good cause
   21
        exists to seal the motion and entire record in this case because the documents disclose and
   22
        reference records that have been sealed by state court and local authorities. Plaintiff contends
   23
        that he has a significant privacy interest in having the records sealed because "the file acts as
   24
        a record of arrest that Plaintiff is allowed to deny."
   25
                                         RULING OF THE COURT
   26
               "Historically, courts have recognized a 'general right to inspect and copy public records
   27
        and documents, including judicial records and documents.'" Kamakana v. City and County
   28
        o/Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) quoting Nixon v. Warner Communs., Inc.,

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     I   435 U.S. 589, 597 & n.7 (1978). "A party seeking to seal a judicial record then bears the
     2 burden of overcoming this strong presumption by meeting the compelling reasons standard.
     3 That is, the party must articulate compelling reasons supported by specific factual findings ...
     4 that outweigh the general history of access and the public policies favoring disclosure, such
     5 as the public interest in understanding the judicial process." Kamakana, 447 F.3d at 1178·79
     6 (citations and quotation marks omitted). The presumed right to access to court proceedings
     7 and documents can be overcome "only by an overriding right or interest 'based on findings that
     8 closure is essential to preserve higher values and is narrowly tailored to serve that interest. '"
     9   Oregonian Publishing Co. v. United States District Court, 920 F .2d 1462, 1465 (9th Cir. 1990)
    10   quoting Press-Enterprise Co. v. Superior Court, 446 U.S. 501, 510 (1985).
    11          "Under the compelling reasons standard, a district court must weigh relevant factors,
    12 base its decision on a compelling reason, and articulate the factual basis for its ruling, without
    13 relying on hypothesis or conjecture." Pintos v. Pacific Creditors Ass 'n, 605 F.3d 665,659 (9th
    14 Cir. 20 1O)(quotations omitted). '''Relevant factors' include the 'public interest in
    15   understanding the judicial process and whether disclosure of the material could result in
    16   improper use ofthe material for scandalous or libelous purposes or infringement upon trade
    17 secrets.'" Id. at 659 n.6.
    18          Plaintiff initiated this lawsuit, failed to prosecute the case, and the case was closed.
    19 Plaintiff delayed sixteen years before filing any request for the record to be sealed. The Court
   20    finds that the strong presumption against sealing judicial proceedings outweighs Plaintiffs
   21    privacy interests in sealing the entire record in this case. Accordingly, the motion to seal the
   22    record and ex parte application to file the motion under seal are DENIED. The motion to seal
   23    the record and ex parte application to file the motion under seal shall be filed in the public
   24 record. The entire record in this case shall remain public.
   25           IT IS SO ORDERED.
   26
   27    DATED:/,,~2.-
   28                                               WILLIAM Q. HAYE
                                                    UNITED STATES D

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 Case3:16-cv-02186-WQH-MDD
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  The Mcmillan Law Firm - La-Mesa-    1196

      Attorney-Scott-McMillan
                      4 of 4 The Mcmillan Law Firm Reviews

           9San Diego, California Nov 03, 2011   563 views 18 comments




The-McMilian-Law-Firm, Scott McMillan, 4670 Nebo Drive, La Mesa, CA 91941
operates his firm and claims to be a "leading" litigation attorney. But
http://www.scott-mcmillan-Iaw.blogspot.com shows Scott McMillan
misrepesents to the public he is "leading" in any area other than losses. 50
LOSSES, one win, and this attorney represents to the public his firm is a
"leading" firm in San Diego! (?) If The McMillan Law Firm is a "leading" firm
and has lost every case on appeal, then who's the worst law firm?

I am tiered of attomeys alleging they have a high success rates and
misrepresents to the public standing within the legal community to tempt
clients to walk through his door. This might just be such the case with Scott-
McMi II a n-La -Mesa

Scott McMillan also operates the McMilian-Academy-of-Law www.maol.info -
but from my research on CalBar.org appears to not have a single graduate per
the state bar who has passed the bar exam recently. Scott McMillan runs his
'law school' out of his office 50 feet from train tracks (not the ideal place to
study nor prestigious school). Have not found a single graduate who has
passed the bar exam. Scott McMillan also went to an unaccredited law school,
which was located behind a car dealership at the time.

In sum, watch out who you hire before they represent you. Make sure the
attomey has a winning, or decent, track record.

 Comment


More Review Details

Product or service
Attorney                                                                              Exh W
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          I agree. I found this blog post about Scott McMillan
          58. O.      Reply


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          Clnrom"
          Scott-McMillan, The-McMlllan-Law-Flnn, family frlend and child
          molester, any of McMillan's frlends or couple of happy dlents want to
          stick up for him? Would you want to associate yourself with a child
          molester? See, http://scott-mcmlilan-
          law.blogspot.com{2014/09/scott-mcmlllan-molest-la-mesa.html
          log. O.       Reply



          ThII-McM"n-Uiw-F~m              Od: 211, 2014 ;111911191 911 MI.I, CI"m"
          Frlends and a couple of happy clients can't argue with the below:
          Scott McMillan, The McMillan Law Finn a liar, In polite tenns
          (mlscharacterlzl ng), see http://scott-mcmlilan-Iaw.blogspot.com
          Unethical Conduct by Scott McMillan After Suing Neighbor
          Scott McMillan sues his neighbor and loses In the trlal court and on
          appeal. The Court of Appeal found he, In short, lied In his legal
          papers by 'mlschal'8cterlzlng' events In the trlal court. Legal
          malpractice, poor pelfolTl'\ance, default notices, dismissed cases, and
          a graduate of an unaccredited law school located In a strlp mall, oh,
          and Dean of his own law school McMillan Academy of Law. La Mesa
          Attomey Scott McMillan, http://www.scottmcmlllan.us/4670 Nebo Dr Exh W
                                                                                  2 of 10
                                         216
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD
          #200, La Mesa, CA Document
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        Court of Appeal, Fourth Dlstrlct, Division 1, callfomla.
        Scott A. McMILLAN et al., Plaintiffs and Appellants, v. SCME
        MORTGAGE BROKERS, INC., Defendant and Respondent.
        No. 0052572. I (Super.Ct.No. GIE023637). I March 13, 2009. "The
        McMlllans first contend that the court erred In finding that SCME
        prevailed on their cause of action for Injunctive relief, arguing that
        only a defendant In whose favor a dismissal of the entire action Is
        given qualifies as the prevailing party under section 1032,
        subdivision (a)(4). This argument, however, mlschar.!lcterlzes the
        court's ruling. The trlal court did not declare SCME to be the
        prevailing party In the entire action, but merely noted that SCME did
        prevail In the action to the extent that the ...
         loaf' O.        Reply


        Anonymou.         Aug 06, 2013 ",6g4605
        I hired Scott to represent me against a ten1ble person and he won
        that case for me. In fact, he did such a great job that our case made
        news on many websltes. He kicked alGl# for me and for that, I am
        grateful. The case he won for me gave me many sleepless nights
        until he took It over. There Is no way I can thank him enough.
         2f' 17.      Reply



        P.rhlct     MIY 17, 2013 #6526611    9S1n OI8go, Clllbm"
        On the money. Guy Is suck a donkey.
         132f'   O.      Reply



                  AnD""" .... to Plrtllct      MIY 17, 2013 #652700   9S1n orlgo, Cllrom"
                  Scott Is such a •••. He wastes judicial resources by filing
                  unsupported garbage and Is the most unprofessional
                  attomey In San Diego. His record speaks for Itself.
                  4gf'    O.       Reply



                                 Rlchllrel to Anonymoul   Aln 30, 2013 #6711177   9S1n OI8go,
                                 Clnrom"
                                 What part of his record? The six figure fee
                                 awards? The published opinions Slapping Darren
                                 Chaker? The 7 figure jury verdicts?

                                 Yes. The record does speak for Itself.
                                 35f'..       Reply                                         Exh W
                                                                                            3 of 10
                                            217
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                            lJ131. 2014 #849207 of 11of
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                                           Indeed, the record does speak for Itself -
                                           a few wins and over a hundred losses!!!!
                                           See,
                                            http://scott-mcmlilan-law. blogspot.colTI/
                                            84. O.
                   MIc..... to Perfect    lJn 30. 2013 "671874      9Univenity P.rk. Tex••
                   Why are you posting as anonymous? Do you owe one of
                   Scott's client's money? Pay your debts I
                   11.114.        Replv


                               Phoenbc: to Hic:tI ••1    Aug 02. 2014 #850277     9EI Cajon.
                              C.nrom..
                              Owe Scott McMillan of La Mesa, notl Just saw the
                              strlng stating how great he 15, and no doubt he
                              has won a few cases, (literally) but saw his 1055
                              record on http://scott-mcmlllan-law.blogspot.colTl/
                              50 can't Imagine he 15 that great. I saw he lost an
                              additional dozen cases In the last year alone In
                              the Court of Appeal, and won one. If his track
                              record In the Court of Appeal 15 that bad, I can't
                              Imagine how It 15 at the trlal levell
                               77. O.            Replv


                               I"IIclproclty 1 to HIc:tI •• 1   Dlc 011. 2015 111075975 91.11
                               H.s •• C.nrom..
                              Before an attomey takes a case he KNOWS the
                              client has money to satisfy a potential judgment.
                              An attomey who takes a case without knowing
                              such simply wastes his time and money hoping
                              the judgment gets paid I Pm Bono work doesn't
                              feed the kids or pay the mortgage Scotti               e
                               11. O.            Replv


                                            I"IIclproclty 1 to ndprocJ;y 1      Dlc 011. 2015
                                            1110759114 91.11 H.... C• .,m..
                                           oops, meant an attomey should know If
                                           a DEFENDANT 15 able to pay a judgment.
                                           It looks like Scott McMillan has some
                                                                                                Exh W
                                                                                                4 of 10
                                            218
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                           money 08/29/16
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                                                     he is PageID.101
                                                           PageID.4442
                                                           owed  - but Page
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                                                                        being of 11of
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                                         owed Isn't paying the bills!
                                         Happy Hunting Scott! .))))
                                         24. O.
         Legl COMUmer         Nov 15, 2012 ",569388   "'San Diego, Catromil
         Why Is this review posted under so many dll'l'erent products? Looks
         like It's some punk trying to harass a business. Juvenile •••.
         Complain to the proper agency If you have a legitimate complaint,
         •••

        U    Nov 15, 2012 ",569315
        Um, ever heard of spell check? I just bumped Into this crltlque by
        accident and feel compelled to respond.
        Scott McMillan and his stat!' represented my family's estate and
        kicked •••. Scott Is a renaissance man, not to be defined by the law
        school he went to or his audacity to dream big. He's a great lawyer,
        has a great track record, and his office Is conveniently located In the
        heart of the quaint village of La Mesa, yes, next to the trolley tracks.
        You won't go wrong If you hire Scott and his crew. They're smart,
        committed, and, most Importantly, care more about people than
        fancy cars and cut!' links.
        12.114.       Reply



                  Anonyma. . to LJ      May 19, 2015 ",9116259
                  Hahahahahahal A
                   O. O.      Reply



        joIIthllnormlilguy lIIn 30, 2012 ",4111921
           I think the wrlter of this complaint Is just another attomey In the
        San Diego Area who has met his match with Scott McMillan. Attomey
        McMillan and his stat!' are professional, courteous, and competent. I
        have used their services and am generally happy with their
        performance. They know the law and are comfortable In the court
        room. While I have not met the perfect lawyer, this firm Is to receive

         2. 1.
        very high marks In every aspect of their practice of law.
                     Reply


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                                                                                        5 of 10
                                         219
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                                 09/23/22 PageID.102
                                                          PageID.4443 Page
                                                                       Page7 227
                                                                             of 11of
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         MIc"yMou_C.~rn" to JDeihenDrTTIIIlguy          "'.y 19, 2013 #653312
        J have to dlsagree ... Jf' there Is NO money In any case an attomey
        takes on ... the Issue Is DEAD! Whether It Is Scott McMillan or his
        associates or any other Attomey. NO matter what Attomey's are NOT
        about Prlnclple they are about the $$$$$$$ !
         aU- O.       Reply



                              Phoenbc: to Mic:keyMouseCltromii   }.J131, 2014 "849209
                              J agree, you cannot argue with the fact Scott
                              McMillan &.. Associates of' La Mesa have won a few
                              cases, but lost over a hundredll See http://scott-
                              mcmlilan-Iaw.blogspot.comj
                              Also, you cannot argue with the f'act Scott
                              opeli!ltes the McMillan Academy of' Law out of his
                              office. Per the State Bar, not a single student has
                              taken the test or passed.
                              98. O.       Reply




You M.,. AIM! L1_




''Tobey West, Tobias I.A. West, Todd West, Todd Goodman owner of Family
1st Horne PreselVatlons, Legal Affiliates Group, Loan Educators, Family First
Horne PreselVatlon SelVlces. Tobey uses the alias Todd ... "
                                                                                        Exh W
                                                                                        6 of 10
                                         220
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                        1- -
"She is coming up on my credit report and 1 have never used her. 1 would like
this off my credit report or 1 will call the police ... "




"Leavenworth Lawyer Gary A. Nelson engaged in the following dastardly
conduct thereby creating the "Nelson Maneuver." "The Nelson Maneuver" Get a
Law Degree and tum it into a ... "




"I purchased a pair of the concerto nightstands. The gentleman in the store
was very nice and accommodating. Unfortunately, 1 can't say the same about
their customer service line. 1..."


                                                                                       Exh W
                                                                                       7 of 10
                                                  221
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-21 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.104
                                                          PageID.4445 Page
                                                                       Page9 229
                                                                             of 11of
                                     1196




"I just got off the phone with the owner of Fake your job Dot com. What
lousy, non-existent customer service they gave me. For one ... they don't even
have SET ... "




"Investigativeguy John Mattes uncovered a great federal program last year
designed to help the unemployed.The program provided free gas cards for the
unemployed so they could look for work. Does ... "




"TAKE BACK FREE ENTERPRISE ........ BOYCOTT SANDERS THE COMMIE AND
HILLERY THE AMBASSADOR KILLER .......... VOTE FOR TRUMP ......... TAKE YOUR
COUNTRY BACK SAVE IT FOR YOUR CHILDREN .. WE HAVE SHOWN Democracy
definitely works the United States ... "                                   Exh W
                                                                           8 of 10
                                         222
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1
                                    1-21 Filed
                                          Filed08/29/16
                                                09/23/22 PageID.105
                                                          PageID.4446Page
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                                                                          10230
                                                                             of 11
                                                                                 of
                                    1196




"I was acquitted of a felony charge, unlawful use of a weapon. While this in
and of itself is worth celebrating, less positive is the fact that my arrest ... "




"My FREE canvas ended up costing me $36 then amved In a cardboard box
with NO packaging. The frame Is broken &. canvas Is rlpped. The board Is
actually broken at ... "




  Revillw. from Slin Dlaga,      C.~rnlll

  Justf1y Dot Com - Justl'ly.com - NO "Broken website, consumer charged? Rldlculous.-

  Sprfnt - HORRIBLE SERVICE

  HJH EngInes - Terrible, Don't get an engine rebUild from them

  Nutrfs)lstem - The worst customer experience ever with cancellation fees

  RIJ(/shlp credit Acceptance - Horrible company


                                                                                        Exh W
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                                          223
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1
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                                          Filed08/29/16
                                                09/23/22 PageID.106
                                                          PageID.4447Page
                                                                       Page
                                                                          11231
                                                                             of 11
                                                                                 of
  Featured reviews                  1196

  Food Network - Giada a Playboy Bunny

  Poshmark allowed a person to send cosmetics that were were used back to me.

  Kohls - POOR Packing, Completely Shattered Shipment

  Review about Centurylink Internet from Albuquerque, New Mexico

  Telus Mobility - Telus Signal weak, 3 dots!




  Recently Discussed Reviews
  Verizon - Collection agency for $6.24 bogus charge
  1 minute ago

  National American Miss - Selection Letter
  2 minutes ago

  Review about RelayRides Car Rental from Naperville, Illinois
  3 minutes ago

  Aarp - Review in Insurance category from Overland Park, Kansas
  4 minutes ago

  Michelle Rose of Concord Hospital is under investigation
  5 minutes ago




                                                                                  Exh W
                                                                                 10 of 10
                                           224
 Case
Case   3:16-cv-02186-WQH-MDDDocument
     3:16-cv-02186-WQH-MDD   Document  87 Filed
                                     127-1 Filed11/05/17
                                                 09/23/22 PageID.3746
                                                           PageID.4448 Page
                                                                        Page1232
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                                     1196


 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Nebo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   Corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              NOTICE OF APPEAL;
14   v.                                       STATEMENT OF
                                              REPRESENTATION [9TH Cir. R. 3-
15   DARREN D. CHAKER an individual,          2]
     and as trustee of PLATINUM
16   HOLDINGS GROUP TRUST, dba
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as
     trustee of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA
19   CHAKER, an individual and as
     beneficiary of The Island Revocable
20   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
21   trustee of The Island Revocable Trust
     under Declaration of Trust dated June
22   2, 2015,

23   Defendants.

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                                            225
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                                                 09/23/22 PageID.3747
                                                           PageID.4449 Page
                                                                        Page2233
                                                                             of 6of
                                     1196


 1           Notice is hereby given that Plaintiffs Scott A. McMillan and The McMillan
 2 Law Firm, APC ("Plaintiffs"), hereby appeal to the United States Court of Appeal
 3 for the Ninth Circuit from the order closing this case entered on October 10, 2017
 4 [ECF 86], a copy of which is attached hereto, and the prior adverse rulings.
 5 Dated: November 5, 2017                        Respectfully submitted,
 6
 7                                                /s/ Scott A. McMillan
                                                  Scott A. McMillan, SBN 212506
 8                                                Attorneys for Plaintiffs
 9
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     3:16-CV-02186                  NOTICE OF APPEAL                                     2

                                            226
Case
 Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD
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                                           Filed  09/23/22 PageID.3748
                                                 10/10/17   PageID.4450 Page
                                                           PageID.3745   Page3
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                                                                               of
                                                                               of 6
                                                                                  1of
                                     1196


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    7
    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional        ORDER
         corporation,
   12
                                     Plaintiffs,
   13          v.
   14    DARREN D. CHAKER, an individual,
         and as trustee of PLATINUM
   15    HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
   28

                                                   -1-                          16cv2186-WQH-MDD



                                           227
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       87 Filed
                                           Filed11/05/17
                                                 09/23/22 PageID.3749
                                                           PageID.4451 Page
                                                                        Page4235
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                                     1196


 1                            NOTICE OF REPRESENTATION
                                  [Ninth Circuit Rule 3-2]
 2
 3    The McMillan Law Firm, APC             Scott A. McMillan, CBN 212506
 4    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 5                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 6
      Scott A. McMillan                      Scott A. McMillan, CBN 212506
 7    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 8                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 9
10
      Darren D. Chaker                       Represented by
11    an individual, and as trustee of       Charles Thomas Spagnola
      PLATINUM HOLDINGS GROUP                Sullivan Krieger Truong Spagnola &
12    TRUST                                  Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
13    Defendant - Appellee                   Long Beach, CA 90802
                                             562-597-7070
14                                           Fax: 562-597-7772
                                             Email:
15                                           cspagnola@sullivankrieger.com
16                                           Eliot Franklin Krieger
                                             Sullivan Krieger Truong Spagnola &
17                                           Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
18                                           Long Beach, CA 90802
                                             562-597-7070
19                                           Fax: 562-597-7772
                                             Email: ekrieger@sullivankrieger.com
20                                           Adam M Tamburelli
21                                           Sullivan, Krieger, Truong, Spagnola &
                                             Klausner, LLP
22                                           444 West Ocean Boulevard
                                             Suite 1700
23                                           Long Beach, CA 90802
                                             562-597-7070
24                                           Email:
                                             atamburelli@sullivankrieger.com
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     3:16-CV-02186                 NOTICE OF APPEAL                                  4

                                          228
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       87 Filed
                                           Filed11/05/17
                                                 09/23/22 PageID.3750
                                                           PageID.4452 Page
                                                                        Page5236
                                                                             of 6of
                                     1196


 1    Vania Chaker                              Represented by
 2    an individual and as beneficiary of The
      Island Revocable Trust under              Ryan G. Baker
 3    Declaration of Trust dated June 2,        Baker Marquart, LLP
      2015                                      2029 Century Park East
 4                                              Suite 1600
                                                Los Angeles, CA 90067
 5    Defendant - Appellee                      (424) 652-7800
                                                Fax: (424) 652-7850
 6                                              Email: rbaker@bakermarquart.com
      Nicole Chaker                             Represented by
 7    an individual, and as trustee of
      The Nicole Chaker Revocable               Rebecca Jo Smith
 8    Living Trust, U/A dated August 18,        Freeman Mathis & Gary, LLP
      2010                                      550 S. Hope St.
 9                                              22nd Floor
                                                Los Angeles, CA 90071
10    Defendant - Appellee                      213-615-7008
                                                Fax: 216-615-7100
11                                              Email: rjs@gilbertkelly.com
12
                                                Timothy W Kenna
13                                              Freeman Mathis & Gary, LLP
                                                550 South Hope Street
14                                              22nd Floor
                                                Los Angeles, CA 90071
15                                              (213)615-7116
                                                Fax: (213)615-7100
16                                              Email: t.kenna@gilbertkelly.com
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     3:16-CV-02186                 NOTICE OF APPEAL                               5

                                            229
 Case
  Case3:16-cv-02186-WQH-MDD
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                                        87 Filed
                                            Filed11/05/17
                                                  09/23/22 PageID.3751
                                                            PageID.4453 Page
                                                                         Page6237
                                                                              of 6of
                                      1196


 1                               CERTIFICATE OF SERVICE
 2           I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5           On November 5, 2017, I caused service of the following documents:
 6
 7 NOTICE OF APPEAL; STATEMENT OF REPRESENTATION [9TH Cir. R.
 8 3-2].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court's Electronic Filing Program on the designated
12 recipients via electronic transmission through the CM/ECF system on the Court's
13 website. The Court's CM/ECF system will generate a Notice of Electronic Filing
14 (NEF) to the filing party, the assigned judge, and any registered users in the case.
15 The NEF will constitute service of the document(s). Registration as a CM/ECF
16 user constitutes consent to electronic service though the court's transmission
17 facilities.
18
             I certify that the foregoing is true and correct.
19
             Dated: November 5, 2017
20
                                                      /s/ Scott A. McMillan
21                                                    ______________________
22                                                    Scott A. McMillan
23
24
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26
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     3:16-CV-02186                     NOTICE OF APPEAL                                   6

                                                230
      Case
       Case3:16-cv-02186-WQH-MDD
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                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2630
                                                     01/30/17   PageID.4454Page
                                                                            Page  238
                                                                                1 of 12of
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                  1 GILBERT, KELLY, CROWLEY & JENNETT LLP
                    TIMOTHY W. KENNA, A PROFESSIONAL CORPORATION / Bar No. 64280
                  2 t.kenna@gilbertkelly.com
                    ARTHUR J. MC KEON III / Bar No. 082540
                  3 ajm@gilbertkelly.com
                    REBECCA J. SMITH / Bar No. 150428
                  4 rjs@gilbertkelly.com
                    401 B Street, Suite 2210
                  5 San Diego, California 92101
                    (619) 687-3000; FAX: (213) 615-7100
                  6
                    Mailing Address:
                  7 550 South Hope Street, 22nd Floor
                    Los Angeles, California 90071-2627
                  8
                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                     UNITED STATES DISTRICT COURT
               11                                 SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,              )       Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                  )
               14 California professional corporation,           )       Judge: William Q. Hayes
                                                                 )       Courtroom 14B
               15                    Plaintiffs,                 )
                              vs.                                )       Magistrate Hon. Mitchell D. Dembin
               16                                                )       Courtroom 11th Floor
                        DARREN D. CHAKER, an individual,         )
               17       and as trustee of PLATINUM               )       DEFENDANT NICOLE
                        HOLDINGS GROUP TRUST, dba                )       CHAKER'S REPLY TO
               18       COUNTER FORENSICS; NICOLE                )       PLAINTIFFS’ OPPOSITION TO
                        CHAKER, an individual, and as trustee of )       SPECIAL MOTION TO STRIKE
               19       THE NICOLE CHAKER REVOCABLE )                    PLAINTIFFS' THIRD CAUSE OF
                        LIVING TRUST, U/A dated August 18,       )       ACTION OF FIRST AMENDED
               20       2010, VANIA CHAKER, an individual        )       COMPLAINT
                        and as beneficiary of The Island         )
               21       Revocable Trust under Declaration of     )       (Defendant’s Objection to Plaintiffs'
                        Trust dated June 2, 2015, MARCUS         )       Request for Judicial Notice;
               22       MACK as trustee of The Island Revocable )        Objections to McMillan's Declaration
                        Trust under Declaration of Trust dated   )       and Reply to Opposition to 12(b)(6)
               23       June 2, 2015,                            )       motion filed concurrently herewith)
                                                                 )
               24                    Defendants.                 )       [PER CHAMBERS, NO ORAL
                                                                 )       ARGUMENT UNLESS ORDERED
               25                                                        BY COURT]
               26                                                        Date: February 6, 2017
                                                                         Dept: 14B
               27                                                        Complaint Filed: August 29, 2016
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    Gilbert, Kelly           DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
                                                                STRIKE
Crowley & Jennett LLP
   Attorneys at Law

                        4229798.1 48811-00002 TWK `                                    3:16-CV-02186-WQH-MD
                                                               231
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2631
                                                     01/30/17   PageID.4455Page
                                                                            Page  239
                                                                                2 of 12of
                                           1196


                  1                                               TABLE OF CONTENTS
                  2
                        1.      Introduction ..................................................................................................... 1
                  3
                        2.      The Anti-SLAPP Motion of Defendant Nicole Chaker is Directed
                  4             Against the State Law Claim Set Forth In The Third Cause of
                                Action Only ..................................................................................................... 1
                  5
                        3.      Mere Allegations of Extortion Does Not Take the Cause of
                  6             Action Outside of an Anti-SLAPP Motion ..................................................... 2
                  7 4.          Nicole Has Sustained Her Burden ................................................................... 5
                  8 5.          Plaintiffs Cannot Meet Their Burden .............................................................. 7
                  9 6.          CONCLUSION ............................................................................................... 9
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
               28
                                                                                      i
    Gilbert, Kelly           DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
                                                                STRIKE
Crowley & Jennett LLP
   Attorneys at Law

                        4229798.1 48811-00002 TWK `                                                               3:16-CV-02186-WQH-MD
                                                                            232
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2632
                                                     01/30/17   PageID.4456Page
                                                                            Page  240
                                                                                3 of 12of
                                           1196


                  1                                          TABLE OF AUTHORITIES
                  2
                        Federal Cases
                  3
                        Globetrotter Software, Inc. v. Elan Computer Group, Inc., 63 F.Supp.2d
                  4          1127 (N.D. Cal. 1999) ..................................................................................... 4
                  5 Hilton v. Hallmark Cards, 599 F.3d 894 (9th Cir. 2010) .......................................... 4
                  6 Summit Media, LLC v. City of Los Angeles, 530 F.Supp.2d 1084 (C.D.
                          Cal. 2008). ....................................................................................................... 4
                  7
                    United States ex rel Newsham v. Lockheed Missiles & Space Co., 190
                  8       F.3d 963 (9th Cir. 1999) .................................................................................. 4
                  9 State Cases
               10 Blanchard v. DirectTV, Inc., 123 Cal.App.4th 903 (2004) ....................................... 5
               11 Cross v. Cooper, 197 Cal.App.4th 357 (2011) .......................................................... 5
               12 Flately v. Mauro, 39 Cal.4th 299 (2006) ..................................................... 4, 5, 6, 10
               13 Fox Searchlight Pictures, Inc. v. Paladino, 89 Cal.App.4h 294 (2001) ................... 5
               14 Kashian v. Harriman, 98 Cal.App.4th 892 (2002) .................................................... 5
               15 Malin v. Singer, 217 Cal.App.4th 1283 (2013) ......................................................... 6
               16 Mendoza v. Hamzeh, 215 Cal.App.4th 799 (2013) ................................................... 6
               17 Navellier v. Sletten, 29 Cal.4th 82 (2002) ............................................................... 10
               18 Paul for Council v. Hanyecz, 85 Cal.App.4th 1356 (2001) ...................................... 5
               19 Rusheen v. Cohen, 37 Cal.4th 1048 (2006) ............................................................. 10
               20 Seltzer v. Barnes, 182 Cal.App.4th 953 (2010) ......................................................... 5
               21 Tuchscher Development Enterprises, Inc. v. San Diego Unified Port
                        Dist., 106 Cal.App.4th 1219 (2003) .............................................................. 10
               22
                  Wallace v. McCubbin, 196 Cal.App.4th 1169. (2011) ............................................ 10
               23
                  State Statutes
               24
                  Code of Civil Procedure §425.16 .............................................................................. 4
               25
               26
               27
               28
    Gilbert, Kelly                                                               -ii-
Crowley & Jennett LLP
   Attorneys at Law          DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
                                                                STRIKE
                        4229798.1 48811-00002                                                               3:16-CV-02186-WQH-MD
                                                                          233
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2633
                                                     01/30/17   PageID.4457Page
                                                                            Page  241
                                                                                4 of 12of
                                           1196


                  1         Defendant Nicole Chaker (hereinafter referred to as “Nicole”) submits the her
                  2 reply to Plaintiffs’ opposition to Nicole’s Special Motion to Strike Plaintiffs’ Third
                  3 Cause of Action of the First Amended Complaint (Anti-SLAPP Motion).
                  4 1. Introduction
                  5             First having filed a 48 page First Amended Complaint (FAC) with voluminous
                  6 exhibits totally approximately 214 pages and approximately 130 additional pages of
                  7 sealed exhibits, Plaintiffs have now filed an opposition to defendant Nicole Chaker’s
                  8 Anti-SLAPP motion which includes over 600 pages of exhibits which they have
                  9 requested the court to consider. Despite the overabundance of information thrown at
               10 defendant and the court, defendant need not reiterate its position set forth in her
               11 motions and supporting documents, but rather, need only reply to the fallacy of four
               12 arguments made by plaintiffs in their opposition. First, the anti-SLAPP motion of
               13 defendant Nicole Chaker is directed against only the state law claim set forth in the
               14 third cause of action. Second, the fact that the cause of action alleged against Nicole
               15 Chaker is for extortion, does not take the cause of action outside of an Anti-SLAPP
               16 Motion. Third, Nicole has sustained her burden to establish that the acts complained
               17 of by plaintiff were in furtherance of her right of petition or free speech and neither
               18 Scott McMillan’s declaration, nor the documents he has attempted to submit to the
               19 court alter this conclusion. Finally, Plaintiffs cannot establish a probability of
               20 prevailing on their claim against Nicole because the claim is barred by the litigation
               21 privilege.
               22 2. The Anti-SLAPP Motion of Defendant Nicole Chaker is Directed Against the
               23           State Law Claim Set Forth In The Third Cause of Action Only
               24               Plaintiffs’ argue that defendant has somehow attempted to direct the anti-
               25 SLAPP motion at the RICO causes of action. It is not. Plaintiff alludes to a
               26 statement in the motion that “Conclusory allegations of ‘extortion,’ even if those
               27 allegations are couched in terms of a RICO action do no deprive Nicole’s action of
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    Gilbert, Kelly           DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
                                                                STRIKE
Crowley & Jennett LLP
   Attorneys at Law

                        4229798.1 48811-00002 TWK `                                    3:16-CV-02186-WQH-MD
                                                             234
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2634
                                                     01/30/17   PageID.4458Page
                                                                            Page  242
                                                                                5 of 12of
                                           1196


                  1 their protected status. (Motion at 9) When read in context, it is clear that defendant
                  2 is merely asserting that the gravamen of the claim controls the application of the
                  3 Anti-SLAPP law. Specifically, a plaintiff cannot hide allegations within a cause of
                  4 action that would not be subject to Anti-SLAPP to avoid their being considered in
                  5 addressing a cause of action which is subject to the Anti-SLAPP statute.
                  6              The Ninth Circuit has held that California's anti-SLAPP statute, California
                  7 Code of Civil Procedure §425.16 [“CCP §425.16], applies to state-law claims
                  8 brought in federal district court. (United States ex rel Newsham v. Lockheed Missiles
                  9 & Space Co., 190 F.3d 963, 971 (9th Cir. 1999) [“Lockheed”]; see also Summit
               10 Media, LLC v. City of Los Angeles, 530 F.Supp.2d 1084, 1094 (C.D. Cal. 2008).) A
               11 federal-court defendant may file a special motion to strike state-law claims regardless
               12 of whether those claims are in federal court based on diversity jurisdiction or are
               13 pendent to federal-question claims. (Hilton v. Hallmark Cards, 599 F.3d 894, 900 n.2
               14 (9th Cir. 2010) - “[W]e have long held that the anti-SLAPP statute applies to state
               15 law claims that federal courts hear pursuant to their diversity jurisdiction” (citing
               16 Lockheed at 970-73); Globetrotter Software, Inc. v. Elan Computer Group, Inc., 63
               17 F.Supp.2d 1127 (N.D. Cal. 1999) -“[I]t appears that under the Erie analysis set forth
               18 in Lockheed the anti-SLAPP statute may be applied to state law claims, which, as in
               19 this case, are asserted pendent to federal question claims”.) No further inquiry need
               20 be made. This court has jurisdiction to hear the anti-SLAPP motion as to extortion
               21 claim of plaintiffs’ FAC.
               22 3. Mere Allegations of Extortion Does Not Take the Cause of Action Outside of
               23           an Anti-SLAPP Motion
               24                Plaintiffs take the position that because the allegations against Nicole concern
               25 improper threats of extortion that the Anti-SLAPP motion is inappropriate.
               26 Plaintiffs’ opposition is based virtually entirely on Flately v. Mauro, 39 Cal.4th 299
               27 (2006). [“Flately”] (Opposition pp 9,-12). Flatley held that where the defendant
               28 concedes, or the evidence conclusively establishes that the assertedly protected
    Gilbert, Kelly                                         -2-
Crowley & Jennett LLP
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                                                                STRIKE
                        4229798.1 48811-00002                                           3:16-CV-02186-WQH-MD
                                                               235
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2635
                                                     01/30/17   PageID.4459Page
                                                                            Page  243
                                                                                6 of 12of
                                           1196


                  1 speech or petition activity was illegal as a matter of law that such activity will not
                  2 support an anti-SLAPP motion. (Flately at 320.) In Flately, the defendant lawyer
                  3 admitted writing letters and making calls to the plaintiff and his attorney that, when
                  4 taken together threatened to accuse the plaintiff of a variety of crimes and disgrace
                  5 him in the public media unless he paid a large sum of money. (Flately at 306-307.)
                  6 In reaching its conclusion, the Flately court relied on Paul for Council v. Hanyecz,
                  7 85 Cal.App.4th 1356 (2001), a case in which the defendants admitted money
                  8 laundering, but argued that their laundering of campaign contributions was protected
                  9 under CCP§ 425.15 because they were acting in furtherance of their constitutional
               10 right to free speech. In relying on that case, the Flatley court underscored the limited
               11 nature of its holding:
               12           We emphasize that our conclusion that [the defendant's] communications
                            constituted criminal extortion as a matter of law are based on the specific and
               13           extreme circumstances of this case. (Flately at 332.)
               14 Courts have interpreted the ruling in Flatley as carving out a very limited exception
               15 to CCP§ 425.16, applicable only when the party opposing the anti-SLAPP motion
               16 has established that there is no factual dispute between the parties regarding the
               17 criminal conduct. (See Cross v. Cooper, 197 Cal.App.4th 357 (2011); Seltzer v.
               18 Barnes, 182 Cal.App.4th 953 (2010).) In this case, defendant has not conceded that
               19 she engaged in illegal extortion and there is nothing in the pleadings or any of the
               20 exhibits or other documentary evidence that conclusively establishes extortion.
               21                Contrary to Plaintiffs’ argument, California appellate authority specifically
               22 provides that “conduct that would otherwise come within the scope of the anti-
               23 SLAPP statute does not lose its coverage simply because it is alleged to have been
               24 unlawful or unethical. (Kashian v. Harriman, 98 Cal.App.4th 892 (2002); Fox
               25 Searchlight Pictures, Inc. v. Paladino, 89 Cal.App.4h 294 (2001).) Indeed,
               26 Blanchard v. DirectTV, Inc., 123 Cal.App.4th 903 (2004), [“Blanchard”] involved
               27 the application of the Anti-SLAPP statute to allegations of extortion against the
               28 defendant, DirectTV. Thus, contrary to Plaintiffs' assertion here, allegations of
    Gilbert, Kelly                                        -3-
Crowley & Jennett LLP
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                                                                STRIKE
                        4229798.1 48811-00002                                           3:16-CV-02186-WQH-MD
                                                               236
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2636
                                                     01/30/17   PageID.4460Page
                                                                            Page  244
                                                                                7 of 12of
                                           1196


                  1 extortion do not automatically preclude application of the anti-SLAPP statute where
                  2 the underlying activity was done in anticipation or in connection with litigation.
                  3              Plaintiffs also cite to the case of Mendoza v. Hamzeh, 215 Cal.App.4th 799
                  4 (2013) [“Mendoza”]. In that case, plaintiff filed an action against an attorney
                  5 asserting civil extortion arising out a demand letter sent by the attorney in which the
                  6 attorney indicated that he was in the process of uncovering fraud, conversion and
                  7 breach of contract and that damages exceeded $75,000. The letter further went on to
                  8 say that if the plaintiff did not agree to cooperate with the investigation and repay the
                  9 damage they would file a legal action as well as reporting the activities to the
               10 Attorney General, IRS and other entities. As in Flately, in Mendoza it was the threat
               11 to report a crime unless payment was made that the court found illegal as a matter of
               12 law. Nothing close to Flately or Mendoza is alleged to have occurred here in regard
               13 to Nicole. The facts of this case much more clearly approximate those set forth in
               14 Malin v. Singer, 217 Cal.App.4th 1283 (2013) in which the court found that the
               15 “letter” in question did not fall under the “narrow exception articulated in Flately.”
               16 (Malin at 1299) As in Malin the letters to which Plaintiffs refer make no overt threat.
               17                While Plaintiffs make sweeping arguments within their opposition that Nicole
               18 somehow made threats against individuals, when distilled to actual supportable facts
               19 against Nicole, Plaintiffs’ position is seen for what it is – smoke and mirrors.
               20 Plaintiffs have asserted that while Darren Chaker was in custody, his mother Nicole,
               21 continued his activity of extortionate threats. (McMillan Dec. ¶ 32) What were
               22 these extortionate threats? It is alleged that Nicole Chaker accessed court records
               23 and obtain copies of documents from a divorce file. (McMillan Dec. ¶ 33) While a
               24 statement is made that obtaining family court records to be published in a public
               25 forum to apply pressure or retaliate against a victim is consistent with the previous
               26 conduct of Mr. Chaker (McMillan Decl.¶ 34), there is no evidence or allegations
               27 submitted that Nicole engaged in this behavior. Plaintiffs assert that McMillan
               28 received a letter while Mr. Chaker was incarcerated and that the letter was ostensible
    Gilbert, Kelly                                         -4-
Crowley & Jennett LLP
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                                                                STRIKE
                        4229798.1 48811-00002                                        3:16-CV-02186-WQH-MD
                                                             237
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2637
                                                     01/30/17   PageID.4461Page
                                                                            Page  245
                                                                                8 of 12of
                                           1196


                  1 from Mr. Chaker. (McMillan Decl. ¶ 35) Plaintiffs has indicated that he “read the
                  2 content of the letter . . . as implying a threat to further defame me and make
                  3 scandalous statements about me, and as a threat against both my client Susan A and
                  4 her mother Candy C.” (McMillan Decl. ¶ 36) So far, none of these allegations
                  5 attribute any overt act to Nicole. What is particular telling is that Plaintiffs entire
                  6 premise of the claim against Nicole is that it is “apparent” that Nicole Chaker wrote
                  7 letters for Darren. McMillan bases his conclusion and apparently his entire claim
                  8 against Nicole on the “fact” that he knows Nicole’s and Darren’s handwriting and
                  9 can make a determination as to which individual wrote letters. This is not the subject
               10 matter of “lay opinion” and even if it was it is unsupported. Further, Mr. McMillan
               11 is clearly not a handwriting expert and accordingly, such “testimony” within the
               12 declaration could not be expert opinion.
               13 4. Nicole Has Sustained Her Burden
               14                A fatal flaw exists in plaintiffs’ FAC - there are no allegations within the
               15 complaint which attribute any acts to Nicole other than those associated with her
               16 involvement in litigation. In plaintiffs’ opposition to Nicole’s motion, plaintiffs have
               17 “added” new assertions as to Nicole which they contend support their position that
               18 she engaged in extortion and that the acts alleged were not in furtherance of Nicole’s
               19 right of petition or free speech. Plaintiffs, however, have not cured the fatal defects.
               20 In fact, plaintiff McMillan’s declaration has not included any assertions against
               21 Nicole which can be interpreted to be extortion and/or which is outside of her
               22 involvement in litigation. Specifically, the first accusation made against Nicole in
               23 Scott McMillan’s declaration is found at paragraph 32, 10 pages into his declaration.
               24 As it relates to Nicole, plaintiff McMillan’s declaration includes six (6) paragraphs
               25 which purport to outline the activity undertaken by Nciole. None of these statements
               26 are admissible as any type of fact or evidence against Nicole.
               27  Nicole continued Darren’s activities of gathering information about and making
               28           extortionate threats concerning the paternity case against his client Susan A
    Gilbert, Kelly                                                 -5-
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                                                                STRIKE
                        4229798.1 48811-00002                                           3:16-CV-02186-WQH-MD
                                                               238
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed
                                            51 Filed   09/23/22PageID.2638
                                                     01/30/17   PageID.4462Page
                                                                            Page  246
                                                                                9 of 12of
                                           1196


                  1         (McMillan Decl. ¶ 32) There are no “facts” included in this statement and no
                  2         foundation for the statement made which support an activity by Nicole;
                  3  Nicole accessed court records and made purchases of documents within Candy
                  4         C’s divorce file. (McMillan Decl. ¶ 33) Plaintiffs try to tie this activity to some
                  5         nefarious action by drawing the unsupported conclusion that “[o]btaining family
                  6         records to be published in a public form, to apply pressure or retaliate against a
                  7         victim is consistent with the previous conduct of Mr. Chaker.” There are no
                  8         assertions that Nicole the general statement is applicable to Nicole or that she
                  9         engaged in such activity.
               10  While letters written were ostensibly from Darren Chaker, it is “apparent” that
               11           Nicole wrote and sent letters on behalf of Darren. (McMillan Decl. ¶ 38) While
               12           the allegations specifically indicate that the letters were from Mr. Chaker,
               13           Plaintiffs have drawn the unsupported conclusion that because Mr. Chaker was
               14           incarcerated and the envelopes were sent from a zipcode “near” Nicole, that she
               15           must have sent them. This statement within the declaration is unsupported, lacks
               16           foundation, and is a “conclusion” not a fact;
               17  Paragraph 39 of the declaration is probably one of the most awkward of
               18           statements in Mr. McMillan’s declaration, indicating that he knows Nicole wrote
               19           the letters because he knows Darren and Nicole’s handwriting and therefore he
               20           has unilaterally drawn such conclusion. This portion of Mr. McMillan’s appears
               21           to be his expert opinion, however, Mr. McMillan is not an expert.
               22  Nicole sent a letter over Darren’s signature to the judge in the Susan A. litigation.
               23           (McMillan Decl. ¶ 41) Mr. McMillan states under penalty of perjury that he
               24           knows Nicole wrote and sent the letter because of the handwriting. As with
               25           paragraph 39, this portion of the declaration appears to be Mr. McMillan’s expert
               26           opinion, although he is not an expert.
               27  Nicole sent a letter to Chief Judge of the Fifth Circuit Court of Appeals in the
               28           United States v. Chaker, case no. 14-20026. (McMillan Decl. 42) Plaintiffs have
    Gilbert, Kelly                                                -6-
Crowley & Jennett LLP
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                                                                STRIKE
                        4229798.1 48811-00002                                         3:16-CV-02186-WQH-MD
                                                             239
      Case
      Case3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document127-1  Filed
                                          51 Filed    09/23/22PageID.2639
                                                   01/30/17     PageID.4463Page
                                                                             Page
                                                                                10247 of
                                                                                  of 12
                                          1196


                  1         attached a copy of the letter as an exhibit.1 The letter is signed by Darren Chaker.
                  2         While Plaintiffs asserts that all of the 21 pages of letters submitted to the court
                  3         were prepared and sent by Nicole, there is only one document prepared by Nicole
                  4         and that letter is a complaint to Darren’s attorney that she has not done what was
                  5         requested by Darren in filing motions in the case. This letter does not constitute
                  6         extortion and clearly is an action taken between Nicole and Darren’s attorney in
                  7         regard to strategy for litigation.
                  8         Plaintiffs also appear to be making the assertion that since Nicole failed to contest
                  9 the allegations of the FAC that she cannot sustain her burden. Nicole’s motion to
               10 strike clearly dispels this unsubstantiated conclusion. Nicole specifically disputes the
               11 allegations that she knew the contents of any of the letters or participated in their
               12 preparation and emphasizes that the only connection she had to any of the filed
               13 documents was her signing a proof of service.
               14 5. Plaintiffs Cannot Meet Their Burden
               15           The anti-SLAPP statute provides that causes of action arising from protected
               16 petitioning activity shall be subject to a special motion to strike unless the court
               17 determines that the plaintiff has established that there is a probability that the
               18 plaintiff will prevail on the claim. Plaintiffs fail in sustaining this burden. First, the
               19 defendant would refer the court to her objection to the declaration of Scott A.
               20 McMillan submitted in support of this reply and the objection to the request for
               21 judicial notice made by plaintiffs in support of their opposition, which illustrates that
               22 virtually all of the extrinsic evidence the plaintiffs’ would now request the court to
               23 look at is inadmissible.          To meet its burden under the second step of
               24 CCP§ 425.15’s two part test, plaintiffs must provide that the complaint is both
               25 legally sufficient and supported by a sufficient prima facie showing of facts to
               26       1
                   Defendant Nicole Chaker has concurrently filed an objection to McMillan’s request
               27 for judicial notice.
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    Gilbert, Kelly                                                     -7-
Crowley & Jennett LLP
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                                                                STRIKE
                        4229798.1 48811-00002                                           3:16-CV-02186-WQH-MD
                                                                 240
      Case
      Case3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document127-1  Filed
                                          51 Filed    09/23/22PageID.2640
                                                   01/30/17     PageID.4464Page
                                                                             Page
                                                                                11248 of
                                                                                  of 12
                                          1196


                  1 sustain a favorable judgment if plaintiffs’ evidence is credited. (Navellier v. Sletten,
                  2 29 Cal.4th 82, 88-89 (2002).) The evidence put forward at this stage must be
                  3 admissible. (Wallace v. McCubbin, 196 Cal.App.4th 1169 (2011).) Significantly,
                  4 courts have held that declarations may not be based upon information and eleif and
                  5 documents submitted without the proper foundation are not to be considered.
                  6 (Tuchscher Development Enterprises, Inc. v. San Diego Unified Port Dist., 106
                  7 Cal.App.4th 1219 (2003).)
                  8         Second, the claim against Nicole is barred by the litigation privilege. A plaintiff
                  9 cannot establish a probability of prevailing if the litigation privilege precludes a
               10 defendant’s liability on the claim. To effect its purposes—access to the courts
               11 without fear of later harassment by derivative tort actions, encouraging open
               12 communication and zealous advocacy, promoting complete and truthful testimony,
               13 giving finality to judgments, and avoiding endless litigation—the litigation privilege
               14 “is absolute and applies regardless of malice,” and “ ‘has been given broad
               15 application.’ ” (Rusheen v. Cohen, 37 Cal.4th 1048, 1063 (2006).) Plaintiffs have
               16 failed to identify either in their pleading or though admissible evidence any conduct
               17 of Nicole which was not a communication or act done in a judicial proceeding or to
               18 achieve the objects of the litigation.
               19           Third, Plaintiffs’ opposition appears to rely heavily (if not solely) on the Flately
               20 case, stating that Flately squarely held that the litigation privilege did not save an
               21 anti-SLAPP motion from being dismissed when allegedly extortionate statements
               22 were made in a settlement demand letter. While the Flately court did reject the
               23 defendant’s contention that because some forms of illegal litigation-related activity
               24 may be privileged under the litigation privilege, that activity is necessarily protected
               25 under the anti-SLAPP statute (Flately at 626.), such language must be read in
               26 connection with the balance of the reasoning in the case. The Supreme Court
               27 concluded in the Flately case that a letter and related telephone calls constituted
               28 criminal extortion as a matter of law. Having determined that extortion was
    Gilbert, Kelly                                        -8-
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   Attorneys at Law          DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
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                                                   01/30/17     PageID.4465Page
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                                                                                12249 of
                                                                                  of 12
                                          1196


                  1 established as a matter of law, the court went on to indicate that the allegedly
                  2 protected speech or petition activity was illegal as a matter of law. (Flately at 320.)
                  3 The Flately court however specifically indicated that its conclusion in that case was
                  4 based “on the specific and extreme circumstances of this case.” (Flately at 332.)
                  5 Here, Plaintiffs claims against Nicole are vigorously disputed and accordingly, the
                  6 holding which Plaintiffs attempt to apply in their Opposition is inapplicable and the
                  7 litigation privilege may be applied to the activity alleged against Nicole in the FAC.
                  8 6. CONCLUSION
                  9              Despite voluminous allegations within the FAC directed against Darren
               10 Chaker, the allegations and admissible evidence as to Nicole relates only to non-
               11 specific and innocuous conduct, all of which is privileged and cannot serve as the
               12 basis for any lawsuit against Nicole. Despite Plaintiffs’ position that the extortion
               13 cause of action Nicole seeks to have stricken is not subject to an anti-SLAPP motion,
               14 Plaintiffs are incorrect. Since Nicole has sustained her burden to establish that the
               15 acts complained of by plaintiffs were in furtherance of her right of petition or free
               16 speech and Plaintiffs cannot meet their burden of demonstrating a probability of
               17 prevailing on their claims, defendant Nicole Chaker respectfully requests that this
               18 court grant this motion and strike the third cause of action of Plaintiffs First
               19 Amended Complaint without leave to amend.
               20
               21 Dated: January 30, 2017                     GILBERT, KELLY, CROWLEY & JENNETT
                                                              LLP
               22
               23
                                                              By: /s/ ARTHUR J. MCKEON, III
               24                                                 ARTHUR J. MCKEON, III
                                                                  REBECCA J. SMITH
               25                                                 Attorneys for Defendant
                                                                  NICOLE CHAKER
               26
               27
               28
    Gilbert, Kelly                                                 -9-
Crowley & Jennett LLP
   Attorneys at Law          DEFENDANT NICOLE CHAKER'S REPLY TO PLAINTIFFS' OPPOSITION TO SPECIAL MOTION TO
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                     UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     MAR 20 2018
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN; THE                    No. 18-55358
    MCMILLAN LAW FIRM, APC,
                                              D.C. No. 3:16-cv-02186-WQH-MDD
                 Plaintiffs - Appellants,
                                              U.S. District Court for Southern
      v.                                      California, San Diego

    DARREN D. CHAKER, an                      TIME SCHEDULE ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics;
    VANIA CHAKER, an individual and
    as beneficiary of The Island
    Revocable Trust under Declaration of
    Trust dated June 2, 2015; NICOLE
    CHAKER, an individual, and as
    trustee of THE NICOLE CHAKER
    REVOCABLE LIVING TRUST,
    U/A dated August 18, 2010,

                 Defendants - Appellees.



   The parties shall meet the following time schedule.

   Fri., May 18, 2018            Appellants' opening brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.
   Mon., June 18, 2018           Appellees' answering brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.


                                            243
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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1
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                                                 09/23/22 PageID.4014
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   The optional appellants' reply brief shall be filed and served within 21 days of
   service of the appellees' brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

   Failure of the appellants to comply with the Time Schedule Order will result
   in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Ruben Talavera
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7




                                         244
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              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
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                                                  90-1 Filed  09/23/22 PageID.3844
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                         Attorneys for Defendant
                    9    NICOLE CHAKER
                   10                                UNITED STATES DISTRICT COURT
                   11                               SOUTHERN DISTRICT OF CALIFORNIA
                   12
                   13 SCOTT A. MCMILLAN, an individual,             )   Case No. 3:16-CV-02186-WQH-MD
                      THE MCMILLAN LAW FIRM, APC, a                 )
                   14 California professional corporation,          )   Judge: William Q. Hayes
                                                                    )   Courtroom 14B
                   15                    Plaintiffs,                )
                                vs.                                 )   Magistrate Hon. Mitchell D. Dembin
                   16                                               )   Courtroom 11th Floor
                      DARREN D. CHAKER an individual,               )
                   17 and as trustee of PLATINUM                    )   DEFENDANT NICOLE
                      HOLDINGS GROUP TRUST, dba                     )   CHAKER'S MEMORANDUM OF
                   18 COUNTER FORENSICS; NICOLE                     )   POINTS AND AUTHORITIES IN
                      CHAKER, an individual, and as trustee         )   SUPPORT OF MOTION FOR
                   19 of THE NICOLE CHAKER                          )   EXTENSION OF TIME TO FILE
                      REVOCABLE LIVING TRUST, U/A                   )   CROSS-APPEAL
                   20 dated August 18, 2010, VANIA                  )
                      CHAKER, an individual and as                  )   (Notice of Motion, Declaration of
                   21 beneficiary of The Island Revocable           )   Rebecca J. Smith, and [Proposed]
                      Trust under Declaration of Trust dated        )   Order filed and served concurrently
                   22 June 2, 2015, MARCUS MACK as                  )   herewith)
                      trustee of The Island Revocable Trust         )
                   23 under Declaration of Trust dated June 2,      )   Date: January 15, 2018
                      2015,                                         )   Dept: 14B
                   24                                               )
                                   Defendants.                      )
                   25                                               )
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                   27
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                   28
  & Gary, LLP
Attorneys at Law



                                NICOLE CHAKER’S POINTS AND AUTHORITIES IN SUPPORT OF
                                    MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                            NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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                                         Document 127-1 Filed12/12/17
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                                                                        PageID.4469 Page
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                                                                                           of 11
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                    1                     MEMORANDUM OF POINTS AND AUTHORITIES
                    2 1. INTRODUCTION AND PROCEDURAL BACKGROUND
                    3           In an abundance of caution, defendant Vania Chaker desires to file a cross-
                    4 appeal in the present matter now before the Ninth Circuit Court of Appeals.
                    5 Plaintiffs Scott A. McMillan, an attorney, and his law firm, The McMillan Law Firm,
                    6 APC, (collectively “McMillan” or “Plaintiff”) have sued Darren Chaker (“Darren”)
                    7 and his mother, Nicole and his sister Vania Chaker (“Vania”). The First Amended
                    8 Complaint (“FAC”) raised three factual scenarios. First, Plaintiff complained about
                    9 Darren’s internet posting and blogs about him. He did not allege that Vania and
                   10 Nicole participated in the internet posting and blog activity. Second, Plaintiff alleged
                   11 that Darren and Nicole filed “lawsuits” alleging violation of the Fair Debt Collection
                   12 Practices Act. It was also alleged that Nicole and Darren filed a personal injury
                   13 lawsuit. Lastly, the FAC alleges a number of issues with respect to a paternity
                   14 lawsuit filed by Darren alleging he was the biological father of the child in question.
                   15           In response to the FAC, Nicole Chaker filed both a motion to dismiss pursuant
                   16 to FRCP 12(b)(6) and an anti-SLAPP Motion. The FRCP 12(b)(6) motion was
                   17 directed at both claims in the FAC – the Cause of Action for violation of the
                   18 Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d)
                   19 (“RICO” or "1962(c)" and "1962(d)")1, the claim for civil extortion. The anti-
                   20 SLAPP motion made pursuant to California Code of Civil Procedure § 426.16 was
                   21 directed to the Pendent State Law Claims in that such arose out of Nicole Chaker’s
                   22 protected Activity. On August 28, 2017, the court rendered its opinion on the
                   23 motions stating:
                   24           IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion to
                   25           dismiss the First Amended Complaint is granted. (EOF No. 35). The First
                   26           Amended Complaint (ECOF No. 25) is dismissed without prejdudice as to
                   27
                            Two causes of action under the RICO statutes
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                        1
                   28
  & Gary, LLP
Attorneys at Law




                             NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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                                                             246
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3846
                                                                        PageID.4470 Page
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                    1        Defendant Nicole Chaker. Defendant Nicole Chaker’s anti-SLAPP Motion to
                    2        strike and for attorney’s fees and costs is denied as moot. (ECF No. 35.)
                    3        (ECF 83)
                    4 The court in such order further indicated that “Plaintiffs shall file any motion for
                    5 leave to file an amended complaint pursuant to Local Rule 7.1 and within thirty (30)
                    6 days of the date this Order is issued.” No motion for leave to file an amended
                    7 complaint having been filed, on October 10, 2017, the court issued an order directing
                    8 the Clerk of the Court to close the case, specifically stating:
                    9        On August 28, 2017, the Court granted a motion to dismiss and dismissed the
                   10        First Amended Complaint without prejudice. The Order stated, “Plaintiffs
                   11        shall file any motion for leave to file an amended complaint pursuant to Local
                   12        Rule 7.1 and within (30) days of the date this Order is issued.” (EOF No. 83).
                   13        The docket reflects that no motion for leave to file an amended complaint was
                   14        filed within this period. The Clerk of Court is directed to close this case.
                   15        (ECF 86)
                   16        Subsequently on November 5, 2017, plaintiffs filed a Notice of Appeal
                   17 indicating: “Notice is hereby given that Plaintiffs Scott A. McMillan and the
                   18 McMillan Law Firm, APC (“Plaintiffs”), hereby appeal to the United States Court of
                   19 Appeal for the Ninth Circuit from the order closing this case entered on October 10,
                   20 2017 [ECF 86], a copy of which is attached hereto, and the prior adverse ruling.”
                   21 (ECF 87) While the document indicated that the parties had been served by the
                   22 electronic submission through the United States Courts Electronic Filing Program,
                   23 defense counsel did not receive the Notice of Appeal by electornic service.
                   24        On or about November 9, 2017 defense counsel did receive a letter from the
                   25 court of appeal to appellant’s counsel acknowledging that the Clerk’s office of the
                   26 United States Court of Appeals for the Ninth Circuit had received a copy of the
                   27 notice of appeal, a copy of the scheduling order and a request from the Ninth Circuit
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                   28 Court for my office to register for electronic filing if we were to represent Nicole
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
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                                                            247
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3847
                                                                        PageID.4471 Page
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                                                                                           of 11
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                    1 Chaker as Appellee in the Appeal. This was the first notification that defense
                    2 counsel had received of the notice.
                    3         Upon receipt of the documents from the Ninth Circuit Court, defense counsel
                    4 contacted the insurance carrier for Nicole Chaker which had retained defense counsel
                    5 in the underlying trial court action, to determine whether they would be retained to
                    6 represent Nicole Chaker in the pending appeal. Unfortunately, there was some delay
                    7 in obtaining notification from the insurance carrier and once notification was
                    8 received that defense counsel had been retained to represent Ms. Chaker in the
                    9 Appeal, the time for filing a cross-appeal had expired. Accordingly, counsel on
                   10 behalf of Ms. Chaker now seeks an extension of time by which to file a Notice of
                   11 Cross-Appeal. The Notice of Cross-Appeal has been attached to this motion as an
                   12 exhibit and can be filed immediately upon permission from the Court.
                   13         There is no prejudice in this delay in filing the cross-appeal as counsel for Ms.
                   14 Chaker believes that it will be able to address all issues as Appellee in Plaintiff’s
                   15 Appeal. Rather, the cross-appeal is being filed in an abundance of caution by
                   16 counsel for Ms. Chaker in the event the Appellate Court reverses the order on the
                   17 motion to dismiss, to ensure that the Ninth Circuit Court specifically addresses the
                   18 anti-SLAPP motion of Ms. Chaker, which the lower court denied and determined to
                   19 be moot after the granting of the motion to dismiss.
                   20 2. THE COURT SHOULD FIND THAT THE LATE FILING OF THE
                   21     CROSS-APPEAL WAS DUE TO COUNSEL FOR NICOLE CHAKER’S
                   22     EXCUSABLE NEGLGECT AND EXTEND THE TIME FOR FILING THE
                   23     CROSS APPEAL.
                   24         The District Court may, upon a motion filed no later than 30 days after the
                   25 deadline for filing a notice of appeal, extend the time for filing an appeal, if the
                   26 moving party shows “excusable neglect or good cause.” (FRAP 4(a)(5)(ii).) The
                   27 instant Motion is timely because it is filed on or about December 12, 2017 and 30
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                   28 days after expiration of the original time to appeal is December 19, 2017.
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

                                                            248
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3848
                                                                        PageID.4472 Page
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                                                                                           of 11
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                    1        The district court enjoys a wide latitude in determining excusable neglect.
                    2 (Alpine State Bank v. Ohio Casualty Ins. Co. (7th Cir., Ill. Aug. 23, 1991) 941 F.2d
                    3 544.) Neglect is excusable within the meaning of the Federal Rules in unique
                    4 circumstances. For purposes of excusable neglect, courts are permitted to accept late
                    5 filings caused by inadvertence, mistake or carelessness, as well as by intervening
                    6 circumstances beyond party’s control. (United States v. Hopper (2nd Cir. N.Y. Nov.
                    7 17, 1993) 9 F.3d 257.) Although inadvertence, ignorance of rules, or mistakes
                    8 construing rules do not usually constitute excusable neglect, it is clear that excusable
                    9 neglect is somewhat elastic concept and is not limited strictly to omissions caused by
                   10 circumstances beyond control of movant. (City of Chanute v Williams Natural Gas
                   11 Co. (1994, CA10 Kan) 31 F3d 1041)
                   12        In Pioneer Inv. Serv. Co. v. Brunswick Assoc. Ltd. P’ship, 507 U.S. 380 (1993)
                   13 the Supreme Court articulated the standard for finding excusable neglect in the
                   14 bankruptcy context. The court has applied the Pioneer standard for finding excusable
                   15 neglect outside of the bankruptcy context, including specific application in the
                   16 context of a Rule 4(a)(5) motion. (In re Diet Drugs Prods. Liab. Litig., 401 F.3d 143
                   17 (3rd Cir., 2005) The determination of whether neglect is excusable is at bottom an
                   18 equitable one, taking account of all relevant circumstances surrounding the party’s
                   19 omission. Pioneer 50 U.S. at 395. Pioneer provides four factors to consider when
                   20 making this equitable determination: (1) the danger of prejudice to the nonmovant;
                   21 (2) the length of the delay and the impact on the judicial proceedings; (3) the reason
                   22 for the delay and (4) whether the movant acted in good faith.
                   23        A.     There Is No Prejudice to Plaintiffs
                   24        Plaintiffs filed their notice of appeal on November 5, 2017. At that time, the
                   25 notice of appeal did not provide the issues which were subject to the appeal. Rather,
                   26 the notice of appeal indicated that plaintiff was appealing from the order closing the
                   27 case after the granting of a motion to dismiss and all other adverse rulings. From this
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                   28 statement, it may only be concluded that the court’s entire order as to all defendants’
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Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

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              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3849
                                                                        PageID.4473 Page
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                                                                                           of 11
                                                  1196


                    1 motions are the matters from which plaintiff appeals. If this is the case, there is no
                    2 need for a cross-appeal. However, as stated herein, it is unclear exactly the matters
                    3 from which plaintiff appeals. Accordingly, in an abundance of caution, defendant
                    4 Nicole Chaker seeks to file a cross-appeal in order to ensure that the Ninth Circuit
                    5 Court addresses not only the granting of the motions to dismiss, but also the denial
                    6 by the district court as to the anti-SLAPP motion as moot. Since this issue is
                    7 presumably within plaintiffs’ appeal and could be addressed by Ms. Chaker as
                    8 Appellee there is no prejudice in allowing Ms. Chaker to file the Notice of Cross-
                    9 Appeal at this time.
                   10         An appellee who wants to defend a favorable judgment generally need not file
                   11 a cross-appeal. A cross-appeal is required only when Appellee wants a substantive
                   12 change in the district court’s judgment. (Levine v. Vilsak (9th Cir., 2009) 587 F.3d
                   13 986.) In the present action, Ms. Chaker does want to defend the favorable judgment;
                   14 however, she also wants to address the issues of the District’s court determination
                   15 that the anti-SLAPP motion was moot. It appears that this is an issue which is raised
                   16 by plaintiffs’ appeal; however, it is unclear. Since this is unclear, in order to protect
                   17 all of Ms. Chaker’s rights, Ms. Chaker seeks to file a cross-appeal in order to ensure
                   18 that the issue of the trial court’s ruling on the anti-SLAPP motion may be addressed
                   19 in the appealate court.
                   20         B.    The Length Of The Delay Is Minimal And Will Not Impact Judicial
                   21               Proceedings.
                   22         The Notice of Appeal was filed on November 5, 2017. Accordingly, Ms.
                   23 Chaker had, pursuant to the rules, up to and including November 19, 2017, by which
                   24 to file a Notice of Cross-Appeal. Ms. Chaker is filing the present motion on
                   25 December 12, 2017, and has the Notice of Cross-Appeal ready to be filed as soon as
                   26 this court grants permission. Accordingly, the request was made in less than 30 days
                   27 / / /
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                   28 / / /
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

                                                            250
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3850
                                                                        PageID.4474 Page
                                                                                     Page7258  of
                                                                                           of 11
                                                  1196


                    1 from the notice that the cross-appeal was due and the Notice of Cross-Appeal is
                    2 ready to be filed within 30 days of the date on which it should have been filed. The
                    3 time is minimal.
                    4         At the present time, Appellant’s opening brief is scheduled for January 4, 2018
                    5 and Appellee’s answer brief is due on or before February 5, 2018. Since it appears
                    6 that the issues to be briefed are either same or so closely related, the adding of the
                    7 cross-appeal should not increase the time for filing of briefs significantly and an
                    8 extension of 30 to 45 days for the filing of the briefs would be all that is necessary
                    9 (with appellant and cross-appellants briefs due on or about February 5, 2018 and
                   10 responses to such briefs due on or about March 5.)
                   11         C.    The Delay Rose As A Result of Excusable Neglect
                   12         In the present action, counsel for Nicole Chaker was not initially served with
                   13 the notice of appeal, which was filed on November 5, 2017. Accordingly, having not
                   14 received the formal notification, the time for filing of a cross-appeal (14 days
                   15 thereafter) was not automatically made in the attorney’s calendar as is set forth more
                   16 fully in the declaration of Rebecca J. Smith. On or about November 9, 2017, counsel
                   17 for Ms. Chaker did receive documents from the Ninth Circuit Court regarding the
                   18 appeal. Such documents were reviewed on November 13, 2017 and a determination
                   19 was made that plaintiffs had in fact filed a notice of appeal. Counsel for Ms. Chaker,
                   20 who had initially been retained by Ms. Chaker’s insurance carrier, then contacted
                   21 Ms. Chaker’s insurance carrier to advise that an appeal had been filed and to request
                   22 that counsel be appointed again to represent Ms. Chaker in the Appeal. There was
                   23 some delay in obtaining permission from the insurer for Ms. Chaker and by the time
                   24 permission had been received, the statutory time for filing a cross-appeal had run.
                   25         In the circumstances in the present matter two issues give rise to the excusable
                   26 neglect claimed. First, counsel for Ms. Chaker did not receive notice of the appeal in
                   27 a timely manner. Defense counsel believes that this may have been due to the fact
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                   28 that the case had been closed prior to the filing of the notice of appeal, but is unsure.
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

                                                            251
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3851
                                                                        PageID.4475 Page
                                                                                     Page8259  of
                                                                                           of 11
                                                  1196


                    1 Because such a notice was not received, the normal and customary procedure for
                    2 calendaring “responsive” dates was not employed. Specifically, when a notice from
                    3 the court or another party in an action is received, the attorney provides his secretary
                    4 or assistant with a list of all pertinent dates to be calendared on the attorney’s
                    5 calendar. When a notice of appeal was not received, no date 14 days after the notice
                    6 of appeal was placed on the attorneys’ calendar. Subsequently when counsel for Ms.
                    7 Chaker did receive notification from the Ninth Circuit Court, the receipt of such
                    8 document did not trigger the calendar of responsive dates.
                    9 Secondarily, counsel for Ms. Chaker had been retained by Ms. Chaker’s insurance
                   10 carrier. Upon receiving the documents from the Ninth Circuit Court, counsel for Ms.
                   11 Chaker notified the insurance carrier and requested that they be appointed to
                   12 represent Ms. Chaker in the appellate matter also. There was some delay in
                   13 receiving a response from the insurance carrier. This may be due to the fact that in
                   14 addition to filing the Notice of Appeal, plaintiff has also filed an action in San Diego
                   15 Superior Court addressing the same issues. An acknowledgement that defense
                   16 counsel had been retained to represent Ms. Chaker was not communicated to defense
                   17 counsel until after the time for filing the Notice of Cross-Appeal had expired.
                   18        D.     Chaker’s Counsel Has Acted In Good Faith
                   19        Counsel for Nicole Chaker have acted in good faith in bringing this motion
                   20 and seeking to file a late Cross-Appeal. The need for the Cross-Appeal is premised
                   21 on the fact that it is unclear from Plaintiffs’ Notice of Appeal, exactly what is being
                   22 appealed. Plaintiffs have indicated that they are appealing from the court’s order
                   23 closing the case and the prior adverse rulings. Accordingly, it appears that plaintiff
                   24 is appealing from the courts entire order of August 28, 2017 in which the court
                   25 granted the motions to dismiss as to Ms. Chaker and found that anti-SLAPP motion
                   26 moot based on the dismissal. If both of these issues – the court’s granting of the
                   27 motion to dismiss and not ruling on the anti-SLAPP motion are both addressed in
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                   28 plaintiffs’ appeal, then there is no need for a cross-appeal. However, if the notice of
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

                                                            252
              Case
              Case 3:16-cv-02186-WQH-MDD
                   3:16-cv-02186-WQH-MDD Document
                                         Document 127-1 Filed12/12/17
                                                  90-1 Filed  09/23/22 PageID.3852
                                                                        PageID.4476 Page
                                                                                     Page9260  of
                                                                                           of 11
                                                  1196


                    1 appeal of the plaintiffs is limited to addressing the issues on the motion to dismiss
                    2 only, then a cross-appeal is necessary in order that the court of appeal review and
                    3 determine the anti-SLAPP motion also.
                    4        In the circumstances in the present matter two issues give rise to the excusable
                    5 neglect claimed. First, counsel for Ms. Chaker did not receive notice of the appeal in
                    6 a timely manner. Defense counsel believes that this may have been due to the fact
                    7 that the case had been closed prior to the filing of the notice of appeal, but is unsure.
                    8 Because such a notice was not received, the normal and customary procedure for
                    9 calendaring “responsive” dates was not employed. Second, counsel for Ms. Chaker
                   10 had been retained by Ms. Chaker’s insurance carrier and there was some delay in
                   11 receiving a response from the insurance carrier as to whether defense counsel would
                   12 be retained to represent Ms. Chaker in the Appeal. Counsel for Chaker has now
                   13 moved expeditiously to seek to file the cross-appeal in order that both of the
                   14 foregoing issues be placed before the court.
                   15
                   16 Dated: December 12, 2017               FREEMAN MATHIS & GARY, LLP
                   17
                   18                                        By:
                                                                   TIMOTHY W. KENNA
                   19                                              REBECCA J. SMITH
                                                                   Attorneys for Defendant
                   20                                              NICOLE CHAKER
                   21
                   22
                   23
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                          NICOLE CHAKER'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO
                                            EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

                                                            253
              Case 3:16-cv-02186-WQH-MDD
              Case 3:16-cv-02186-WQH-MDD Document
                                         Document 90-1
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                                                               09/23/22 PageID.3853
                                                                         PageID.4477 Page
                                                                                      Page10261 of
                                                                                             of 11
                                                   1196


                    1                                 CERTIFICATE OF SERVICE
                    2
                    3       I am employed in the County of Los Angeles, State of California. I am over
                      the age of 18 and not a party to the within action. My business address is 550 South
                    4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                    5           On December 12, 2017, I served the within document(s) described as:
                    6           DEFENDANT NICOLE CHAKER'S MEMORANDUM OF POINTS AND
                                AUTHORITIES IN SUPPORT OF MOTION FOR EXTENSION OF TIME
                    7           TO FILE CROSS-APPEAL
                    8           on the interested parties in this action as stated on the attached service list:
                    9
                   10     X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                                described via the United States District Court’s Electronic Filing Program on the
                   11           designated recipients via electronic transmission through the CM/ECF system on the
                                Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
                   12           Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                                case. The NEF will constitute service of the document(s). Registration as a CM/ECF
                   13           user constitutes consent to electronic service though the court’s transmission facilities.
                   14     X     (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                                sealed envelope addressed as set forth on the attached mailing list. I placed
                   15           each such envelope for collection and mailing following ordinary business
                                practices. I am readily familiar with this Firm's practice for collection and
                   16           processing of correspondence for mailing. Under that practice, the
                                correspondence would be deposited with the United States Postal Service on
                   17           that same day, with postage thereon fully prepaid at San Diego, California, in
                                the ordinary course of business. I am aware that on motion of the party
                   18           served, service is presumed invalid if postal cancellation date or postage meter
                                date is more than one day after date of deposit for mailing in affidavit.
                   19
                                Executed on December 12, 2017, at Los Angeles, California.
                   20
                                I declare under penalty of perjury that the foregoing is true and correct.
                   21
                   22               ELIZABETH RUBIO
                                    (Type or print name)                                     (Signature)
                   23
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                                                          CERTIFICATE OF SERVICE
                        4583800.1 48811-00002 TWK                                             3:16-CV-02186-WQH-MD
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              Case 3:16-cv-02186-WQH-MDD
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                                                               09/23/22 PageID.3854
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                                                                                      Page11262 of
                                                                                             of 11
                                                   1196


                    1                               CERTIFICATE OF SERVICE
                    2
                    3 SCOTT A MCMILLAN
                      THE MCMILLAN LAW FIRM, APC
                    4 4670 NEBO DRIVE
                      SUITE 200
                    5 LA MESA, CA 91941-5230
                      Phone: (619)464-1500
                    6 Fax: (619)828-7399
                      Email: scott4670@gmail.com
                    7
                      Scott A. McMillan,
                    8 The McMillan Law Firm, APC
                      (Plaintiff)
                    9
                      TIMOTHY J. GRANT
                   10 FREDRICKSON, MAZEIKA & GRANT, LLP
                      5720 OBERLIN DRIVE
                   11 SAN DIEGO, CA 92121
                      Phone: 858-642-2002
                   12 Fax: 858-642-2001
                      Email: tgrant@fmglegal.com
                   13
                      Darren D. Chaker (Defendant)
                   14
                   15
                      RYAN G. BAKER
                   16 BAKER MARQUART LLP
                      2029 CENTURY PARK EAST
                   17 SUITE 1600
                      LOS ANGELES, CA 90067
                   18 Phone: 424-652-7800
                      Fax: 424-652-7850
                   19 Email: rbaker@bakermarquart.com
                   20 Vania Chaker (Defendant)
                   21
                   22
                   23
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                                                      CERTIFICATE OF SERVICE
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 Case3:16-cv-02186-WQH-MDD
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                                      92-2 Filed 09/23/22 PageID.3904
                                                          PageID.4479 Page
                                                                      Page 1263
                                                                             of 2of
                                     1196


 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Neo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500 x 14
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiff, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
 5 LAW FIRM, APC, a California Professional corporation
 6
 7
 8                     UNITED STATES DISTRICT COURT
 9                   SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              PROOF OF SERVICE
14   v.
15                                          Hearing Date (no oral argument):
     DARREN D. CHAKER an individual, January 15, 2018
16   and as trustee of PLATINUM             Dept. 14B
     HOLDINGS GROUP TRUST, dba
17   COUNTER FORENSICS; NICOLE
     CHAKER, an individual, and as trustee
18   of THE NICOLE CHAKER
     REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010, VANIA
     CHAKER, an individual and as
20   beneficiary of The Island Revocable
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust
22   under Declaration of Trust dated June
     2, 2015,
23   Defendants.
24
25
26
27
28




                                            256
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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                                       92-2 Filed 09/23/22 PageID.3905
                                                           PageID.4480 Page
                                                                       Page 2264
                                                                              of 2of
                                      1196


 1                                   PROOF OF SERVICE
 2
 3           I am admitted to the United States District Court for the Southern District of
 4 California. I am employed in San Diego County, California. My business address
 5 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 6           On December 29, 2017, I caused service of the following documents:
 7           1.      PLAINTIFFS’ OPPOSITION TO DEFENDANT NICOLE
 8                   CHAKER’S NOTICE OF MOTION FOR EXTENSION OF
 9                   TIME TO FILE CROSS-APPEAL (FRAP 4(a)(5)) ]
10
11           2.      DECLARATION OF SCOTT A. MCMILLAN; EXHIBITS
12
13   By Electronic Submission: I served the above listed document(s) described via
14 the United States District Court’s Electronic Filing Program on the designated
15 recipients via electronic transmission through the CM/ECF system on the Court’s
16 website. The Court’s CM/ECF system will generate a Notice of Electronic Filing
17 (NEF) to the filing party, the assigned judge, and any registered users in the case.
18 The NEF will constitute service of the document(s). Registration as a CM/ECF
19 user constitutes consent to electronic service though the court’s transmission
20 facilities.
21           I certify that the foregoing is true and correct.
22
23           Dated: December 29, 2017
24
25                                                    /s/ Scott A. McMillan
26                                                    ______________________
27
28

     3:16-CV-02186                      PROOF OF SERVICE                                  2

                                                257
 Case3:16-cv-02186-WQH-MDD
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                                                  08/29/16 PageID.4481
                                                           PageID.107 Page
                                                                       Page1265
                                                                             of 7of
                                      1196




                 EXHIBIT X
                                       258
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
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                                                  08/29/16 PageID.4482
                                                           PageID.108 Page
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                                                                             of 7of
          The Mcmillan Law Firm - Scott
                                      1196

            McMillan La Mesa Attorney
                        3 of 4 The Mcmillan Law Firm Reviews

        9La Mesa, California Aug 23, 2015   73 views 0 comments   100% FULL




Several reports concerning McMillan and Associates attorney Scott McMillan
have circulated about child molestation. McMillan Academy of Law is also next
to the train track in east San Diego, but Scott McMillan manages to teach
students the law in the small two room office how to become attorneys.

However, the California State Bar did not state one person has graduated
from the school. Given the fact many attorneys let ethics slide, I do not feel
this is such the case here.

Please be vigilent and reports conduct you believe is out of the
ordinary. Understand it may take years for police to investigate such a case
and start the investigation.

 Comment


More Review Details


Website             *****
Staff               *****
Customer service    *****
Reason of review:
Poor customer service

Monetary loss:
$25000

Review category                                                          Exh X
Lawyers
                                                                         1 of 6
                                            259
Case
  Case3:16-cv-02186-WQH-MDD
Review  3:16-cv-02186-WQH-MDD Document
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                                        1-22 Filed
                                             Filed 09/23/22
                                                   08/29/16 PageID.4483
                                                            PageID.109 Page
                                                                        Page3267
                                                                              of 7of
5 out of 5                             1196



                         review #687705 by anonymous
                    Author wants to be contacted by the company.


        Share           o     f       o     Helpful?   No     o     Yes   18
                        1      ../    1                ../    o     ../   18

                         Had the same issue     Yes    6
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                     Post a comment to start a discussion.




You May Also Like




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                                                                          2 of 6
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 Case3:16-cv-02186-WQH-MDD
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                              Document127-1
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                                            Filed 09/23/22
                                                  08/29/16 PageID.4484
                                                           PageID.110 Page
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                                                                             of 7of
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"Durlng the perlod May 2013 to May 2014 I used the legal services of a
Pakistani citizen In Dubal. His name Is Shakeel A. Mlan and he Is frem the ... "


                        ~   The Manilian law FInn - Scott
                             McMIllan Law FInn La Mesa
"Another of, IIteli!llly dozens of appeals and wrlts flied by McMillan-law-Finn In
la Mesa, Scott McMillan and Michelle Volk, where the Court of Appeal DENIED
the petition after fon::lng the ... "




"Leavenworth Lawyer Gary A. Nelson engaged In the following dastardly
conduct thereby creating the "Nelson Maneuver." 'The Nelson Maneuver" Get a
Law Degree and tum It Into a ... "




                                                                         Exh X
                                                                         3 of 6
                                       261
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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                                                           PageID.111 Page
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                                                                             of 7of
                                      1196




"A few weeks ago, I bought from a seller on eBay, who I trusted, and bought
from. I bought HAUNTED PSYCHOKINESIS RING MOVE MATTER WITH YOUR
MINDI from her, for... "




"I also had a bad experlence with one of these ready pac salads. I was tossng
my salad after just adding the extl'l!l Ingredients that come with salad
bowl .... "




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                      ... ,
                                             0"_"  ~_



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                                                        $11 .86        ~- ~;

"I ordered a blouse that did not an1ve to the dimensions advertised,
Customer Service did not respond at all. I submitted a formal complaint about
this already. I ordered an ... "                                     Exh X
                                                                     4 of 6
                                                262
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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                                                           PageID.112 Page
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                                                                             of 7of
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"I have the feeling that, whoever created this app, Initially had a good team
of programmers but then fired them all, to save money, after the app was
launched .... "



                                            .L
                                        .",,' ,",,...
                                                  ~




"I Rakesh Khanna have bought a jeans at levi's store at 2nd floor ambience
mall today 28 man::h 2016 at 04:14 pm.... before the payement I told the
manager that I... "




  IlIIvlllWil from Ui M_.,     C.~rnlll

  san DftJgo Auto Connectfon - Bait and Switch

  OS CD Keys - SCAM COMPANY

  WtJimmtjTlII5harlna

  The HcmffflJfl LlJw Flrm - Scott McMillan Law Firm La Mesa

  Lumfness AIrbrush - Luminous Air

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 Case3:16-cv-02186-WQH-MDD
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                                                                       Page7271
                                                                             of 7of
  Featured reviews                    1196

  Food Network - Giada a Playboy Bunny

  Poshmark allowed a person to send cosmetics that were were used back to me.

  Kohls - POOR Packing, Completely Shattered Shipment

  Review about Centurylink Internet from Albuquerque, New Mexico

  Telus Mobility - Telus Signal weak, 3 dots!




  Recently Discussed Reviews
  Home Depot - Review in Supermarkets and Malls category from Chandler, Arizona
  1 minute ago

  Pampered Touch Salon - Sabrina Turgeon is a crackhead psycho   ***
  1 minute ago

  Verizon - Collection agency for $6.24 bogus charge
  4 minutes ago

  National American Miss - Selection Letter
  6 minutes ago

  Review about RelayRides Car Rental from Naperville, Illinois
  6 minutes ago




                                                                           Exh X
                                                                           6 of 6
                                           264
  Case
   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                               Document127-1
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                                                   09/23/22 PageID.4154
                                                            PageID.4488 Page
                                                                        Page1272
                                                                              of 1of
                                       1196
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                         for the
                                            SOUTHERN DISTRICT OF CALIFORNIA



SCOTT A. MCMILLAN, et al.                                      )
                             Plaintiff                         )
                    v.                                         )      Case No. 3:16-cv-2186-WQH-MDD
DARREN D. CHAKER, et al.                                       )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant DARREN D. CHAKER


Date: July 17, 2020                                                  /s/ Eduardo A. Bravo
                                                                                          Attorney's signature

                                                                     EDUARDO A. BRAVO 327967
                                                                                      Printed name and bar number

                                                                     ROPERS MAJESKI PC
                                                                     445 South Figueroa Street, Suite 3000
                                                                     Los Angeles, California 90071
                                                                                                Address

                                                                     eduardo.bravo@ropers.com
                                                                                            E-mail address

                                                                     (213) 312-2000
                                                                                           Telephone number


                                                                     (213) 312-2001
                                                                                             FAX number




                                                                                                              American LegalNet, Inc.
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                                                             265
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2642
                                                                PageID.4489 Page
                                                                            Page 1273
                                                                                   of 7of
                                           1196


                  1 GILBERT, KELLY, CROWLEY & JENNETT LLP
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                    ARTHUR J. MC KEON III / Bar No. 082540
                  3 ajm@gilbertkelly.com
                    REBECCA J. SMITH / Bar No. 150428
                  4 rjs@gilbertkelly.com
                    401 B Street, Suite 2210
                  5 San Diego, California 92101
                    (619) 687-3000; FAX: (213) 615-7100
                  6
                    Mailing Address:
                  7 550 South Hope Street, 22nd Floor
                    Los Angeles, California 90071-2627
                  8
                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,              )   Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                  )
               14 California professional corporation,           )   Judge: William Q. Hayes
                                                                 )   Courtroom 14B
               15                     Plaintiffs,                )
                               vs.                               )   Magistrate Hon. Mitchell D. Dembin
               16                                                )   Courtroom 11th Floor
                        DARREN D. CHAKER an individual, and )
               17       as trustee of PLATINUM HOLDINGS          )   DEFENDANT NICOLE
                        GROUP TRUST, dba COUNTER                 )   CHAKER'S EVIDENTIARY
               18       FORENSICS; NICOLE CHAKER, an             )   OBJECTIONS TO SCOTT
                        individual, and as trustee of NICOLE     )   MCMILLAN'S DECLARATION IN
               19       CHAKER REVOCABLE LIVING                  )   SUPPORT OF PLAINTIFFS’
                        TRUST, VANIA CHAKER, an individual )         OPPOSITION TO DEFENDANT
               20       and as beneficiary of The Island         )   NICOLE CHAKER'S MOTION TO
                        Revocable Trust under Declaration of     )   DISMISS AND ANTI-SLAPP
               21       Trust dated June 2, 2015, MARCUS MAC )       MOTION
                        as trustee of The Island Revocable Trust )
               22       under Declaration of Trust dated June 2, )   (Defendant's Objection to Plaintiffs'
                        2015,                                    )   Request for Juridical Notice, Reply to
               23                                                )   Opposition to Anti-SLAPP Motion,
                                      Defendants.                )   and Reply to Opposition to 12(b)(6)
               24                                                )   motion filed concurrently herewith)
               25                                                    [PER CHAMBERS, NO ORAL
                                                                     ARGUMENT UNLESS ORDERED
               26                                                    BY COURT]
               27                                                    Date: February 6, 2017
                                                                     Dept: 14B
               28                                                    Complaint Filed: August 29, 2016
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002 TWK                                  3:16-cv-02186-WQH-MD
                                                              266
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2643
                                                                PageID.4490 Page
                                                                            Page 2274
                                                                                   of 7of
                                           1196


                  1              Defendant Nicole Chaker hereby objects to portions of the Declaration of
                  2 Scott A. McMillian filed in support of Plaintiffs’ Oppsoition to Defendant Nicole
                  3 Chaker’s Anti-SLAPP Motion as set forth more fully below:
                  4 Matter to Which Objection is Made                Grounds for Objection
                  5 Paragraph 4 of Scott A. McMillan’s               Conclusory, Irrelevant and Not factual in
                  6 Declaration in Support of Request for            nature. The declarant statements are not
                  7 Judicial Notice in connection Opposition         as to any facts relevant to a determination
                  8 to Nicole Chaker’s Anti-SLAPP and                of the motion, but rather is a recitation of
                  9 12(b)(6) Motions, page 7, lines 12               procedural matters and an interpretation
               10 through 24                                         of the contents of other pleadings.
               11
               12 Paragraph 7 of Scott A. McMillian’s                Lack of personal knowledge vague.
               13 Declaration In Support of Opposition to            Federal Rules of Evidence (FRE) 802
               14 Nicole Chaker’s Anti-SLAPP and                     and 602
               15 12(b)(6) Motions, page 2, lines 25
               16 through 27.
               17
               18 Paragraph 10 of Scott A. McMillian’s               No foundation and speculation. FRE 702
               19 Declaration In Support of Opposition to            and 703. No basis for personal
               20 Nicole Chaker’s Anti-SLAPP and                     knowledge. Lacks
               21 12(b)(6) Motions, page 4, lines 2 through foundation/speculation. FRE 602.
               22 6                                                  Hearsay. FRE 801-802. Best Evidence
               23                                                    Rule. FRE 1002.
               24
               25 Paragraph 20 of Scott A. McMillian’s               Lack of personal knowledge. FRE 802.
               26 Declaration In Support of Opposition to            Lacks foundation/speculation. FRE 602.
               27 Nicole Chaker’s Anti-SLAPP and                     Irrelevant. FRE 401 and 402.
               28
    Gilbert, Kelly                                                 -2-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                          3:16-cv-02186-WQH-MD
                                                             267
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2644
                                                                PageID.4491 Page
                                                                            Page 3275
                                                                                   of 7of
                                           1196


                  1 12(b)(6) Motions, page 5, lines 25
                  2 through 28 and page 6 lines 1 through 5.
                  3
                  4 Exhibit 10 to the Declaration of Scott A.     Lack of foundation. Improper document
                  5 McMillian’s Declaration In Support of         of which to take judicial notice. (See
                  6 Opposition to Nicole Chaker’s Anti-           Nicole Chaker’s Objection to Plaintiffs’
                  7 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
                  8 at page 6, line 5.
                  9
               10 Paragraph 26 of Scott A. McMillian’s            No foundation and speculation. FRE 702
               11 Declaration In Support of Opposition to         and 703. No basis for personal
               12 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               13 12(b)(6) Motions, page 8, lines 15              foundation/speculation. FRE 602.
               14 through 20.                                     Hearsay. FRE 801-802. Best Evidence
               15                                                 Rule. FRE 1002.
               16
               17 Paragraph 27 of Scott A. McMillian’s            Lack of personal knowledge. FRE 802.
               18 Declaration In Support of Opposition to         Lacks foundation/speculation. FRE 602.
               19 Nicole Chaker’s Anti-SLAPP and                  Irrelevant. FRE 401 and 402.
               20 12(b)(6) Motions, page 8, lines 21
               21 through 26
               22
               23 Exhibit 13 to Scott A. McMillian’s              Lack of foundation. Improper document
               24 Declaration In Support of Opposition to         of which to take judicial notice. (See
               25 Nicole Chaker’s Anti-SLAPP and                  Nicole Chaker’s Objection to Plaintiffs’
               26 12(b)(6) Motions, referenced at                 Request for Judicial Notice)
               27 paragraph 27, page 8, line 26.
               28
    Gilbert, Kelly                                              -3-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231450.1 48811-00002                                      3:16-cv-02186-WQH-MD
                                                          268
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2645
                                                                PageID.4492 Page
                                                                            Page 4276
                                                                                   of 7of
                                           1196


                  1 Paragraph 28 of Scott A. McMillian’s          Lack of personal knowledge. FRE 802.
                  2 Declaration In Support of Opposition to       Lacks foundation/speculation. FRE 602.
                  3 Nicole Chaker’s Anti-SLAPP and                Irrelevant. FRE 401 and 402.
                  4 12(b)(6) Motions, page 8, lines 27
                  5 through 28 and page 9, lines 1 through 7.
                  6
                  7 Exhibit 14 to Scott A. McMillian’s            Lack of foundation. Improper document
                  8 Declaration In Support of Opposition to       of which to take judicial notice. (See
                  9 Nicole Chaker’s Anti-SLAPP and                Nicole Chaker’s Objection to Plaintiffs’
               10 12(b)(6) Motions, referenced at page 9,         Request for Judicial Notice)
               11 paragraph 28, line 7.
               12
               13 Paragraph 29 of Scott A. McMillian’s            Lack of personal knowledge. FRE 802.
               14 Declaration In Support of Opposition to         Lacks foundation/speculation. FRE 602.
               15 Nicole Chaker’s Anti-SLAPP and                  Irrelevant. FRE 401 and 402.
               16 12(b)(6) Motions, page 9, lines 8 through
               17 17.
               18
               19 Exhibit 15 to Scott A. McMillian’s              Lack of foundation. Improper document
               20 Declaration In Support of Opposition to         of which to take judicial notice. (See
               21 Nicole Chaker’s Anti-SLAPP and                  Nicole Chaker’s Objection to Plaintiffs’
               22 12(b)(6) Motions, referenced at page 9,         Request for Judicial Notice)
               23 line 17.
               24 Paragraph 30 of Scott A. McMillan’s             No foundation and speculation. FRE 702
               25 Declaration In Support of Opposition to         and 703. No basis for personal
               26 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               27 12(b)(5) Motions, page 9, lines 18              foundation/speculation. FRE 602.
               28
    Gilbert, Kelly                                              -4-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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                                                          269
      Case
       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2646
                                                                PageID.4493 Page
                                                                            Page 5277
                                                                                   of 7of
                                           1196


                  1 through 28.                                   Hearsay. FRE 801-802
                  2
                  3 Exhibit 15 referenced in Scott A.             Lack of foundation. Improper document
                  4 McMillian’s Declaration In Support of         of which to take judicial notice. (See
                  5 Opposition to Nicole Chaker’s Anti-           Nicole Chaker’s Objection to Plaintiffs’
                  6 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
                  7 at page 9, paragraph 30, line 28
                  8
                  9 Paragraph 31 of Scott A. McMillian’s          No foundation and speculation. FRE 702
               10 Declaration In Support of Opposition to         and 703. No basis for personal
               11 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               12 12(b)(6) Motions, page 10, lines 1              foundation/speculation. FRE 602.
               13 through 5.                                      Hearsay. FRE 801-802.
               14
               15 Exhibit 17 referenced in Scott A.               Lack of foundation. Improper document
               16 McMillian’s Declaration In Support of           of which to take judicial notice. (See
               17 Opposition to Nicole Chaker’s Anti-             Nicole Chaker’s Objection to Plaintiffs’
               18 SLAPP and 12(b)(6) Motions, referenced Request for Judicial Notice)
               19 at page 10, paragraph 31, line 4
               20
               21 Paragraph 32 of Scott A. McMillian’s            Lack of Foundation, Speculation,
               22 Declaration In Support of Opposition to         unsupported lay opinion testimony
               23 Nicole Chaker’s Anti-SLAPP and
               24 12(b)(6) Motions, page 10, lines 6
               25 through 8
               26
               27
               28
    Gilbert, Kelly                                              -5-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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                                                          270
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       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2647
                                                                PageID.4494 Page
                                                                            Page 6278
                                                                                   of 7of
                                           1196


                  1 Paragraph 38 of Scott A. McMillian’s          Lack of Foundation, Speculation,
                  2 Declaration In Support of Opposition to       unsupported lay opinion testimony
                  3 Nicole Chaker’s Anti-SLAPP and
                  4 12(b)(6) Motions, page 13, lines 6-10
                  5
                  6 Paragraph 34 of Scott A. McMillian’s          No foundation and speculation. FRE 702
                  7 Declaration In Support of Opposition to       and 703. No basis for personal
                  8 Nicole Chaker’s Anti-SLAPP and                knowledge. Lacks
                  9 12(b)(6) Motions, page 10, lines 22           foundation/speculation. FRE 602.
               10 through 24                                      Hearsay. FRE 801-802.
               11
               12 Paragraph 38 of Scott A. McMillian’s            No foundation and speculation. FRE 702
               13 Declaration In Support of Opposition to         and 703. No basis for personal
               14 Nicole Chaker’s Anti-SLAPP and                  knowledge. Lacks
               15 12(b)(6) Motions, page 13, lines 6              foundation/speculation. FRE 602.
               16 through 10.                                     Hearsay. FRE 801-802.
               17
               18 Paragraph 39 of Scott A. McMillian’s            Lack of Foundation, Speculation,
               19 Declaration In Support of Opposition to         unsupported lay opinion testimony,
               20 Nicole Chaker’s Anti-SLAPP and                  unsupported expert testimony. FRE 702
               21 12(b)(6) Motions, page 13, lines 11 to 19. and 703. No basis for personal
               22                                                 knowledge. Lacks
               23                                                 foundation/speculation. FRE 602.
               24
               25 Paragraph 41 of Scott A. McMillian’s            Lack of Foundation, Speculation,
               26 Declaration In Support of Opposition to         unsupported lay opinion testimony,
               27 Nicole Chaker’s Anti-SLAPP and                  unsupported expert testimony. FRE 702
               28
    Gilbert, Kelly                                              -6-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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                                                          271
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       Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDD Document
                                   Document127-1 Filed 01/30/17
                                            51-1 Filed 09/23/22 PageID.2648
                                                                PageID.4495 Page
                                                                            Page 7279
                                                                                   of 7of
                                           1196


                  1 12(b)(6) Motions, page 13, lines 23 to 28     and 703. No basis for personal
                  2 and page 14, lines 1 through 8.               knowledge. Lacks
                  3                                               foundation/speculation. FRE 602.
                  4
                  5 Paragraph 42 of Scott A. McMillian’s          Lack of Foundation, Speculation,
                  6 Declaration In Support of Opposition to       unsupported lay opinion testimony,
                  7 Nicole Chaker’s Anti-SLAPP and                unsupported expert testimony. FRE 702
                  8 12(b)(6) Motions, page 14, lines 9            and 703. No basis for personal
                  9 through 28 and page 15 line 1 through 2.      knowledge. Lacks
               10                                                 foundation/speculation. FRE 602.
               11
               12 Paragraph 50 of Scott A. McMillian’s            Conclusory, Irrelevant and Not factual in
               13 Declaration In Support of Opposition to         nature. The declarant statements are not
               14 Nicole Chaker’s Anti-SLAPP and                  as to any facts relevant to a determination
               15 12(b)(6) Motions, page 18 lines, 2              of the motion, but rather is a recitation of
               16 through 5.                                      procedural matters and an interpretation
               17                                                 of the contents of other pleadings.
               18
               19 Dated: January 30, 2017                  GILBERT, KELLY, CROWLEY & JENNETT
                                                           LLP
               20
               21
                                                           By: /s/ ARTHUR J. MCKEON, III
               22                                              ARTHUR J. MCKEON, III
                                                               REBECCA J. SMITH
               23                                              Attorneys for Defendant
                                                               NICOLE CHAKER
               24
               25
               26
               27
               28
    Gilbert, Kelly                                              -7-
Crowley & Jennett LLP
   Attorneys at Law      DEFENDANT NICOLE CHAKER'S OBJECTION TO DECLARATION OF SCOTT MCMILLIAN IN SUPPORT
                                        OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 1of
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    7
    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
   28

                                                  -1-                           16cv2186-WQH-MDD



                                           273
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
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                                           Filed04/03/17
                                                 09/23/22 PageID.3030
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                                                                             of 9of
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     6 Attorneys for Specially Appearing
     7 Defendant Vania Chaker
     8
                             UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
    10
    11
       SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
    12 THE MCMILLAN LAW FIRM, APC,                MDD
       a California professional corporation,
    13                                            SPECIALLY APPEARING
                    Plaintiffs,                   DEFENDANT VANIA CHAKER’S
    14                                            REPLY IN SUPPORT OF HER
              vs.                                 MOTION TO DISMISS
    15                                            PLAINTIFFS’ FIRST AMENDED
       DARREN D. CHAKER, an individual,           COMPLAINT, OR IN THE
    16 and as trustee of PLATINUM                 ALTERNATIVE, TO QUASH
       HOLDINGS GROUP TRUST, dba                  DEFECTIVE SERVICE
    17 COUNTER FORENSICS; NICOLE
       CHAKER, an individual, and as trustee      [Filed concurrently with the
    18 of THE NICOLE CHAKER TRUST,                Supplemental Declaration of Vania
       U/A dated August 18, 2010, VANIA           Chaker; Evidentiary Objections to the
    19 CHAKER, and individual and as              Declarations of Timothy J. Wang,
       beneficiary of The Island Revocable        Joshua Van Noord, and Scott McMillan;
    20 Trust under Declaration of Trust dated     Response to Plaintiffs’ Objections to the
       June 2, 2015, MARCUS MACK as               Declaration of Specially Appearing
    21 trustee of The Island Revocable Trust      Defendant Vania Chaker; and Specially
       under Declaration of Trust dated June 2,   Appearing Defendant’s Reply in Support
    22 2015,                                      of Request for Judicial Notice]
    23              Defendants.                   The Hon. William Q. Hayes
    24                                            Date: April 10, 2017
                                                  Courtroom: 14B
    25                                            Complaint Filed: August 29, 2016
    26                                            [PER CHAMBERS ORDER, NO
                                                  ORAL ARGUMENT UNLESS THE
    27                                            COURT ORDERS]
    28

            SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S REPLY ISO MOTION TO DISMISS/QUASH
                                           274
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                 3:16-cv-02186-WQH-MDDDocument
                                                                       Document127-1
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                                                                                           09/23/22 PageID.3031
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                                                                                                                       of 9of
                                                                               1196



                                                                   1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   2   I.    INTRODUCTION
                                                                   3         For years, Plaintiffs Scott A. McMillan and his 2-attorney law firm, The
                                                                   4   McMillan Law Firm, APC, have pursued a bizarre vendetta against defendant
                                                                   5   Darren Chaker. McMillan’s latest “firm announcement,” dated October 4, 2012
                                                                   6   states: “Darren Chaker, a vexatious litigant with a criminal history, failed in his
                                                                   7   appeal of the dismissal of his SLAPP suit against the Firm's client Wendy Mateo.”
                                                                   8   Apparently unsatisfied with his prior efforts to aggravate Mr. Chaker, McMillan, a
                                                                   9   practicing attorney for 16 years, now seeks to escalate his prolonged feud with a
                                                                  10   nonsensical tome masquerading as a RICO action.             Because he needs co-
                                                                  11   conspirators to allege RICO, McMillan has added Mr. Chaker’s mother and sister,
                                                                  12   specially appearing defendant Vania Chaker. However, plaintiffs have not served
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                                                                  13   Vania Chaker in the allotted time. Accordingly, she should be dismissed from this
                               LOS ANGELES, CA 90067




                                                                  14   action.
                                                                  15         Procedurally proper service is fundamental to a federal court’s exercise of
                                                                  16   jurisdiction over a defendant. Omni Captial Inter., Ltd. v. Rudolf Wolff & Co., Ltd.,
                                                                  17   484 U.S. 97, 97-8 (1987). “[I]n the absence of proper service of process, the district
                                                                  18   court has no power to render any judgment against the defendant's person or
                                                                  19   property unless the defendant has consented to jurisdiction or waived the lack of
                                                                  20   process.” S.E.C. v. Ross, 504 F.3d 1130, 1138-39 (9th Cir. 2007).
                                                                  21         Plaintiffs claim they personally served defendant Vania Chaker on February
                                                                  22   6, 2017, at 6:02 p.m. But Ms. Chaker was not home at the time of that purported
                                                                  23   service. She provided evidence that she was in Los Angeles County and not at her
                                                                  24   home when plaintiffs claim to have effected service. In response to plaintiffs’
                                                                  25   attempts to draw negative inferences from her previously filed declaration, Ms.
                                                                  26   Chaker located additional evidence reflecting her whereabouts the evening of
                                                                  27   February 6. (Supplemental Declaration of Vania Chaker (“Supp. Chaker Decl.”), ¶¶
                                                                  28
                                                                                                                    SPECIALLY APPEARING DEFENANT’S REPLY
                                                                                                                1   ISO OF HER MOTION TO DISMISS OR IN THE
                                                                                                          275       ALTERNATIVE QUASH DEFECTIVE SERVICE
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                                           Case3:16-cv-02186-WQH-MDD
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                                                                                                                       of 9of
                                                                               1196



                                                                   1   3-8.) The additional evidence includes a receipt from a Beverly Hills restaurant, at
                                                                   2   which Ms. Chaker ate dinner at approximately 6 p.m., as well as the paper receipt
                                                                   3   evidencing her 8:04 p.m. purchase from the Manhattan Beach Pottery Barn, along
                                                                   4   with a receipt for a subsequent purchase at 8:32 p.m. from another store in
                                                                   5   Manhattan Beach. (Id., ¶¶ 4-7, Exs. A-C.) To remove any doubt that she in fact
                                                                   6   made those purchases, Ms. Chaker submits the relevant portions of her credit card
                                                                   7   statement. (Id., ¶ 8, Ex. D.) Ms. Chaker was not served in this action.
                                                                   8          Moreover, the “proof” plaintiffs offer that Ms. Chaker was properly served is
                                                                   9   no proof at all.1 Timothy J. Wing, the process server who purports he served Ms.
                                                                  10   Chaker on February 6, 2017, saw a person that night in the driveway he believed to
                                                                  11   be female wearing a jacket and “hoodie.” (Declaration of Timothy J. Wing (“Wing
                                                                  12   Decl.”), ¶ 13-15.) Mr. Wing assumed that person was Ms. Chaker. (Id.) He then
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                                                                  13   called out to that person “your [sic] served Vania Chaker” and tossed the FAC and
                               LOS ANGELES, CA 90067




                                                                  14   summons over the property’s fence even though, by his own admission, the person
                                                                  15   was no longer present. (Id., ¶ 14.) This does not qualify as proper personal service
                                                                  16   under the Federal Rules nor does it constitute substantial compliance with the
                                                                  17   personal service requirements. It is no surprise that Ms. Chaker only learned that
                                                                  18   plaintiffs claimed to have served her when another person provided her with a copy
                                                                  19   of the false proof of service filed on February 27, 2017. (Chaker Decl. at ¶ 9.)
                                                                  20          Mr. McMillan is no ordinary litigant. He has practiced law for over 16 years,
                                                                  21   runs his own law firm and claims to be the dean of a law school. He obtained
                                                                  22   extensions for service on two separate occasions and had more than ample time to
                                                                  23   effectuate service, yet he failed to do so within the time permitted by this Court.
                                                                  24   Plaintiffs’ false proof of service, filed on the last day of the time for service, should
                                                                  25
                                                                          1
                                                                  26       Ms. Chaker has submitted evidentiary objections to the declarations Plaintiffs
                                                                       submitted in support of their opposition.
                                                                  27
                                                                  28
                                                                                                                     SPECIALLY APPEARING DEFENANT’S REPLY
                                                                                                                 2   ISO OF HER MOTION TO DISMISS OR IN THE
                                                                                                           276       ALTERNATIVE QUASH DEFECTIVE SERVICE
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                 3:16-cv-02186-WQH-MDDDocument
                                                                       Document127-1
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                                                                                           09/23/22 PageID.3033
                                                                                                     PageID.4500 Page
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                                                                                                                       of 9of
                                                                               1196



                                                                   1   not permit them to avoid the consequences of their inaction. This Court should
                                                                   2   dismiss Ms. Chaker from this case.
                                                                   3   II.   LEGAL ARGUMENT
                                                                   4         A)     Proper Service of Process is an Important Jurisdictional
                                                                   5                Requirement.
                                                                   6         It is well established that “[b]efore a federal court may exercise jurisdiction
                                                                   7   over a defendant, the procedural requirement of service of summons must be
                                                                   8   satisfied.” Omni Capital, 484 U.S. at 108. “Service of process, under longstanding
                                                                   9   tradition in our system of justice, is fundamental to any procedural imposition on a
                                                                  10   named defendant.” Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S.
                                                                  11   344, 350 (1999). Without proper service of process (or waiver of service by the
                                                                  12   defendant), the district court has no power to adjudicate the rights of the parties.
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                                                                  13   S.E.C. v. Ross, 504 F.3d at 1138-39.           Accordingly, failure to timely serve a
                               LOS ANGELES, CA 90067




                                                                  14   defendant pursuant to the Federal Rules provides grounds for dismissal. Townsel v.
                                                                  15   Contra Costa County, Cal., 820 F.2d 319, 320 (9th Cir. 1987).
                                                                  16         B)     Strong and Convincing Evidence Demonstrates that Ms. Chaker
                                                                  17                was Never Served.
                                                                  18         A signed return of service, which generally constitutes prima facie evidence
                                                                  19   of valid service, can be overcome by strong and convincing evidence demonstrating
                                                                  20   a failure to serve. SEC v. Internet Solutions for Business Inc., 509 F.3d 1161, 1163
                                                                  21   (9th Cir. 2007). Evidence that the defendant was not at the location of purported
                                                                  22   service, coupled with the defendant’s sworn testimony, constitutes strong and
                                                                  23   convincing evidence to rebut the presumption of service. See Durukan Am., LLC v.
                                                                  24   Rain Trading, Inc., 787 F.3d 1161, 1164 (7th Cir. 2015). In Durukan, the
                                                                  25   “combined evidence of employment records showing [defendant’s] expected
                                                                  26   presence at a distant worksite and his sworn affidavit asserting that he was actually
                                                                  27   at that site is more than sufficient to contradict the affidavits of service...” Id.
                                                                  28
                                                                                                                       SPECIALLY APPEARING DEFENANT’S REPLY
                                                                                                                  3    ISO OF HER MOTION TO DISMISS OR IN THE
                                                                                                            277        ALTERNATIVE QUASH DEFECTIVE SERVICE
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                 3:16-cv-02186-WQH-MDDDocument
                                                                       Document127-1
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                                                                                     Filed04/03/17
                                                                                           09/23/22 PageID.3034
                                                                                                     PageID.4501 Page
                                                                                                                  Page5285
                                                                                                                       of 9of
                                                                               1196



                                                                   1          Plaintiffs contend that Ms. Chaker’s evidence in support of her Motion to
                                                                   2   Dismiss was “untrustworthy” because it did not explain where she was at exactly
                                                                   3   6:02 p.m., February 6, 2017. (Opp. at 4-5.) Plaintiffs also question the validity of
                                                                   4   the Pottery Barn receipt Ms. Chaker submitted because she received it via e-mail.
                                                                   5   (Id. at 4.) Initially, Ms. Chaker’s statement was clear: “On February 6, 2017, at 6:02
                                                                   6   p.m., I was not at my home in San Diego. I was in Los Angeles County that
                                                                   7   evening.” In any event, Ms. Chaker, has again searched her records to locate
                                                                   8   additional evidence of her whereabouts the evening of February 6. At 6:02 p.m., she
                                                                   9   was hundreds of miles from where plaintiffs claim she was personally served.
                                                                  10   (Supp. Chaker Decl., ¶ 4.)
                                                                  11          Plaintiffs’ process server, Timothy J. Wing, asserts that he personally served
                                                                  12   Ms. Chaker at her home in San Diego on February 6, 2017, at 6:02 p.m. (Wing
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                                                                  13   Decl., ¶¶ 13-15.) But Ms. Chaker was in Los Angeles at that time preparing to eat
                               LOS ANGELES, CA 90067




                                                                  14   dinner. (Supp. Chaker Decl., ¶ 4.) From approximately 6:00 to 6:30 p.m., Ms.
                                                                  15   Chaker dined at the Cheesecake Factory in Beverly Hills, California. (Id.) Her
                                                                  16   receipt shows she placed her order at 6:08 p.m. and paid at 6:38 p.m. (Id., Ex. A.)
                                                                  17   After dinner, she drove south to Manhattan Beach where she stopped to purchase a
                                                                  18   few items for her home. Her first purchase was at the Pottery Barn at 8:04 p.m.
                                                                  19   (Id.; Chaker Decl., ¶ 5.) She then walked next door to Williams Sonoma and
                                                                  20   purchased two items at 8:32 p.m. (Supp. Chaker Decl., ¶ 6.) Ms. Chaker’s receipts 2
                                                                  21   and accompanying credit card statement confirm that she made these purchases.
                                                                  22   (Id., Exs. B-D.)
                                                                  23          This evidence directly contradicts plaintiffs’ proof of service. Accordingly,
                                                                  24
                                                                  25      2
                                                                            In addition to the automatically generated e-mail receipt from the Pottery Barn
                                                                  26   that Plaintiffs have taken issue with, Ms. Chaker was able to locate the paper receipt
                                                                       she received from the store for the purchase. (Supp. Chaker Decl., Ex. B.)
                                                                  27
                                                                  28
                                                                                                                     SPECIALLY APPEARING DEFENANT’S REPLY
                                                                                                                4    ISO OF HER MOTION TO DISMISS OR IN THE
                                                                                                          278        ALTERNATIVE QUASH DEFECTIVE SERVICE
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                 3:16-cv-02186-WQH-MDDDocument
                                                                       Document127-1
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                                                                                     Filed04/03/17
                                                                                           09/23/22 PageID.3035
                                                                                                     PageID.4502 Page
                                                                                                                  Page6286
                                                                                                                       of 9of
                                                                               1196



                                                                   1   any presumption of validity created by their proof of service has been rebutted.
                                                                   2         C)     Plaintiffs’ Attempts to Serve Ms. Chaker Did Not Substantially
                                                                   3                Comply with the Federal Rules of Civil Procedure and Do Not
                                                                   4                Qualify as Valid Service.
                                                                   5         A defendant must be served in accordance with Rule 4(e) of the Federal Rules
                                                                   6   of Civil Procedure, or there is no personal jurisdiction. Beecher v. Wallace, 381
                                                                   7   F.2d 372 (9th Cir. 1967.) These procedural requirements for service exist to protect
                                                                   8   a defendant’s due process rights and ensure that notice is reasonably calculated “to
                                                                   9   apprise interested parties of the pendency of the action and afford them an
                                                                  10   opportunity to present their objections.” S.E.C. v. Ross, 504 F.3d at 1138.
                                                                  11   However, the Ninth Circuit has recognized that procedurally improper or invalid
                                                                  12   service may still be deemed valid if the plaintiffs substantially complied with Rule 4
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                                                                  13   requirements. Jackson v. Hayakawa, 682 F.2d 1344, 1347 (9th Cir. 1982). In order
                               LOS ANGELES, CA 90067




                                                                  14   to prove substantial compliance, the plaintiffs must show that: “(a) the party that had
                                                                  15   to be served personally received actual notice [within 90 days], (b) the defendant
                                                                  16   would suffer no prejudice from the defect in service, (c) there is a justifiable excuse
                                                                  17   for the failure to serve properly, and (d) the plaintiff would be severely prejudiced if
                                                                  18   his complaint were dismissed.” Borzeka v. Heckler, 739 F.2d 444, 447 (9th Cir.
                                                                  19   1984) (emphasis added).
                                                                  20         Here, plaintiffs have not carried that burden. Neither their “evidence” nor the
                                                                  21   case law supports a finding of substantial compliance with Rule 4 because Ms.
                                                                  22   Chaker did not receive actual notice from plaintiffs’ service attempts and plaintiffs
                                                                  23   offer no justifiable excuse for failing to server her properly.
                                                                  24         Plaintiffs rely on Travelers Cas. and Sur. Co. of Am. v. Brenneke, 551 F.3d
                                                                  25   1132, 1136 (9th Cir. 2009), and Errion v. Connell, 236 F.2d 447, 457 (9th Cir.
                                                                  26   1956), to argue that Mr. Wing’s service attempt on February 6, 2017, substantially
                                                                  27   complied with Rule 4. (Opp. at. 6.) That reliance is misplaced. In Travelers, the
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                                                                                                                       of 9of
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                                                                   1   service substantially complied because the defendant answered to his name when
                                                                   2   called by the process server, the process server successfully served the defendant in
                                                                   3   the past so he could be identified, and the process server saw the defendant through
                                                                   4   a window and pointed to him and said “you have been served” before placing the
                                                                   5   documents on the defendant’s doorstep in plain view. Id. at 1134. Moreover, the
                                                                   6   defendant offered no evidence to rebut the process server’s factual statements. Id. at
                                                                   7   1136. Similarly, in Errion, the process server saw the defendant, spoke to her, and
                                                                   8   when she ducked behind a door, told her brother he was serving her. The process
                                                                   9   server then threw the papers through a hole in the screen door. Id. at 457.
                                                                  10         In stark contrast, Mr. Wing testifies that he saw someone in Ms. Chaker’s
                                                                  11   driveway he believed to be female wearing a jacket and “hoodie.” (Wing Decl., ¶
                                                                  12   13-15.) Mr. Wing assumed that person was Ms. Chaker even though he had never
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                                                                  13   seen her before. (Id.) He then called out to that person “your [sic] served Vania
                               LOS ANGELES, CA 90067




                                                                  14   Chaker” and tossed the FAC and summons over the property’s fence. (Id., ¶ 14.)
                                                                  15   Nothing from Mr. Wing’s testimony suggests that the person he saw was aware he
                                                                  16   threw the papers over the fence. Of course, that person was not Ms. Chaker, in any
                                                                  17   event. Moreover, unlike the defendant in Travelers, Ms. Chaker has provided strong
                                                                  18   evidence that she was not at home when Mr. Wing purportedly served her.
                                                                  19         Plaintiffs also offer the testimony of Joshua Van Noord in an apparent attempt
                                                                  20   to satisfy Rule 4 based on a handful of service attempts. Mr. Van Noord declares
                                                                  21   that he attempted to serve Ms. Chaker twice in November 2016 and again on March
                                                                  22   26, 2017, a month after this Court’s deadline for service and the day plaintiffs filed
                                                                  23   their opposition. (Declaration of Joshua Van Noord (“Van Noord Decl.”), ¶¶ 5-13.)
                                                                  24   But such efforts to serve obviously do not constitute service. On November 27, Mr.
                                                                  25   Van Noord yelled “Hello?!” outside Ms. Chaker’s property and “placed the service
                                                                  26   packet consisting of a complaint, civil case cover sheet, and the second-amended
                                                                  27   summons over the locked fence onto the driveway.” (Id., ¶ 11.) On March 26, he
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                                                                                                                       of 9of
                                                                               1196



                                                                   1   knocked on Ms. Chaker’s door and waited for 45 minutes within sight of her
                                                                   2   driveway. (Id., ¶ 13.) These attempts clearly fall short of substantial compliance
                                                                   3   with Rule 4.
                                                                   4         Plaintiffs did not substantially comply with the Rule 4 requirements.
                                                                   5   Plaintiffs have not served Ms. Chaker.
                                                                   6         D)       The Court Should Exercise Discretion to Dismiss Ms. Chaker from
                                                                   7                  this Action, Because Plaintiffs Failed to Serve Her Before the
                                                                   8                  February 27, 2017 Deadline.
                                                                   9         When a plaintiff fails to properly serve a defendant within the time allotted by
                                                                  10   Federal Rule of Civil Procedure 4(m), the court has discretion to dismiss the action
                                                                  11   against that defendant. Stevens v. Sec. Pac. Nat. Bank, 538 F.2d 1387, 1389 (9th
                                                                  12   Cir. 1976) (“The choice between dismissal and quashing service of process is in the
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                                                                  13   district court’s discretion.”)
                               LOS ANGELES, CA 90067




                                                                  14         At plaintiffs’ request, this Court has previously extended the time for service
                                                                  15   twice. (Dkt. 20; 38.) Yet plaintiffs have not properly served Ms. Chaker and failed
                                                                  16   to do so by this Court’s February 27, 2017 deadline. Plaintiff McMillan – who is an
                                                                  17   experienced litigator and owns his own law firm (and, according to his website, is
                                                                  18   also the dean of a law school) – understands the Federal Rules. He should be held
                                                                  19   accountable.
                                                                  20         Plaintiffs’ false proof of service, filed the last day of the service window,
                                                                  21   cannot save their meritless RICO action against Ms. Chaker. The date of the alleged
                                                                  22   proof is also telling. If plaintiffs were having such a difficult time serving Ms.
                                                                  23   Chaker, as they claim, they would not have waited over three weeks to file the proof
                                                                  24   of service. The evidence suggests that plaintiffs simply ran out of time again and
                                                                  25   filed a false proof of service hoping to keep their action alive. The Court should not
                                                                  26   reward litigants like McMillan who should clearly know better. No more extensions
                                                                  27   are warranted and this Court should dismiss the FAC against Ms. Chaker with
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                                                                                                                       of 9of
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                                                                   1   prejudice.
                                                                   2   III.   CONCLUSION
                                                                   3          For the foregoing reasons, Specially Appearing Defendant Vania Chaker
                                                                   4   respectfully requests that the Court dismiss plaintiffs’ FAC without leave to amend.
                                                                   5   In the alternative, she requests that the Court quash plaintiffs’ purported service.
                                                                   6
                                                                   7   DATED: April 3, 2017                          BAKER MARQUART LLP
                                                                   8                                                 /s/ Ryan G. Baker
                                                                   9                                                 Ryan G. Baker
                                                                                                                     Brian T. Grace
                                                                  10                                                 Attorneys for Specially Appearing
                                                                  11                                                 Defendant Vania Chaker
                                                                  12
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                               LOS ANGELES, CA 90067




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   Case3:16-cv-02186-WQH-MDD
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                               Document127-1
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                           March 20, 2018


       No.:                18-55358
       D.C. No.:           3:16-cv-02186-WQH-MDD
       Short Title:        Scott McMillan, et al v. Darren Chaker, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.




                                               283
              Case
               Case3:16-cv-02186-WQH-MDD
                    3:16-cv-02186-WQH-MDD Document
                                           Document127-1 Filed
                                                    91 Filed   09/23/22PageID.3759
                                                             12/12/17   PageID.4507Page
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                    8
                         Attorneys for Defendant
                    9    NICOLE CHAKER
                   10                                UNITED STATES DISTRICT COURT
                   11                               SOUTHERN DISTRICT OF CALIFORNIA
                   12
                   13 SCOTT A. MCMILLAN, an individual,                   )   Case No. 3:16-CV-02186-WQH-MD
                      THE MCMILLAN LAW FIRM, APC, a                       )
                   14 California professional corporation,                )   Judge: William Q. Hayes
                                                                          )   Courtroom 14B
                   15                    Plaintiffs,                      )
                                vs.                                       )   Magistrate Hon. Mitchell D. Dembin
                   16                                                     )   Courtroom 11th Floor
                      DARREN D. CHAKER an individual,                     )
                   17 and as trustee of PLATINUM                          )   DECLARATION OF REBECCA J.
                      HOLDINGS GROUP TRUST, dba                           )   SMITH IN SUPPORT OF
                   18 COUNTER FORENSICS; NICOLE                           )   DEFENDANT NICOLE
                      CHAKER, an individual, and as trustee               )   CHAKER'S NOTICE OF MOTION
                   19 of THE NICOLE CHAKER                                )   FOR EXTENSION OF TIME TO
                      REVOCABLE LIVING TRUST, U/A                         )   FILE CROSS-APPEAL (FRAP
                   20 dated August 18, 2010, VANIA                        )   4(a)(5))
                      CHAKER, an individual and as                        )
                   21 beneficiary of The Island Revocable                 )   (Notice of Motion, Memorandum of
                      Trust under Declaration of Trust dated              )   Points and Authorities In Support Of
                   22 June 2, 2015, MARCUS MACK as                        )   Motion To Extend Time For Filing
                      trustee of The Island Revocable Trust               )   Notice of Cross-Appeal, and Proposed
                   23 under Declaration of Trust dated June 2,            )   Order filed and served concurrently
                      2015,                                               )   herewith)
                   24                                                     )
                                   Defendants.                            )   Date: January 15, 2018
                   25                                                     )   Dept: 14B
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law



                              DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                              CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
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                                                              284
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               Case3:16-cv-02186-WQH-MDD
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                                                                                        2 of 85of
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                    1           I, REBECCA J. SMITH, declare:
                    2           1.       I am an attorney duly licensed to practice law in the State of California,
                    3 including this court, and a partner in the law offices of Freeman Mathis & Gray LLP,
                    4 attorneys of record for Defendant Nicole Chaker in the above entitled action. I have
                    5 personal knowledge of the facts set forth herein and could competently testify thereto
                    6 if called upon to do so.
                    7           2.       This declaration is submitted in support of Defendant Nicole Chaker’s
                    8 Motion For Extension Of Time By Which To File Cross-Appeal.
                    9           3.       Attorney Timothy W. Kenna, Arthur J. McKeon, III and I represented
                   10 Nicole Chaker as defendant in this action brought by Scott A. McMillan and The
                   11 McMillan Law Firm.
                   12           4.       On Ms. Chaker’s behalf my firm filed both a Motion to Dismiss
                   13 pursuant to Federal Rules of Civil Procedure 12(b)(6) and an anti-SLAPP motion
                   14 under California Code of Civil Procedure § 425.16.
                   15           5.       On August 28, 2017, the court ruled on Nicole Chaker’s Motion,
                   16 granting the motion to dismiss in its entirety and finding that the anti-SLAPP motion
                   17 was moot based on the granting of the 12(b)(6) motion and not addressing the anti-
                   18 SLAPP motion substantively. (A true and correct copy of the Court’s Order (ECF
                   19 83) is attached hereto, designated as exhibit “A” and incorporated herein by this
                   20 reference.)
                   21           6.       In the court’s August 28,2017, order the court provided plaintiffs with
                   22 thirty (30) days to file a motion for leave to amend. A motion for leave to amend
                   23 was not filed and accordingly, on October 10, 2017, the court ordered the case
                   24 closed. (A true and correct copy of the case closure notice (ECF 86) is attached
                   25 hereto, designated as exhibit “B” and incorporated herein by this reference.)
                   26           7.       On November 5, 2017, plaintiffs filed a notice of appeal. Timothy W.
                   27 Kenna and I did not receive service of the Notice of Appeal by electronic or any
Freeman Mathis


                   28 other service.
  & Gary, LLP
Attorneys at Law



                           DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                           CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                        4582458.1 48811-00002 TWK                Page | 2                3:16-CV-02186-WQH-MD
                                                                285
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               Case3:16-cv-02186-WQH-MDD
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                                                             12/12/17   PageID.4509Page
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                                                                                        3 of 85of
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                    1           8.       Generally, our office procedure and my procedure is when a notification
                    2 is received from the court or another party in an action which would require some
                    3 action or response on behalf of our office, that all appropriate dates are placed on my
                    4 calendar. Because we did not receive a notice of appeal, neither myself, nor my
                    5 secretary, or Timothy Kenna and his secretary calendared a final date for the filing of
                    6 a Cross-Appeal.
                    7           9.       On November 9, 2017, I received a letter from the 9th Circuit Court of
                    8 Appeal advising Appellant that the notice of appeal had been received in the Clerk’s
                    9 office of the United States Court of Appeal. At the same time, I received a notice
                   10 from the 9th Circuit Court that I was not registered for electronic filing and a copy of
                   11 the scheduling order. (A true and correct copy of the notices and letters received
                   12 from the 9th Circuit Court are attached hereto, designated as exhibit “C” and
                   13 incorporated herein by this reference.)
                   14           10. Upon receipt of the above notices from the 9th Circuit Court, my office
                   15 examined the district court’s website to ascertain whether a notice of appeal had been
                   16 filed. Upon reviewing PACER we determined that a notice of appeal had in fact
                   17 been filed. This was the first notice we had of a notice of appeal having been filed.
                   18 Because this notice had not been served and was obtained from the court’s website, it
                   19 inadvertently wasn’t processed in order to have all relevant associated dates placed
                   20 on the attorney’s calendar. (A true and correct copy of the notice of appeal (ECF 87
                   21 is attached hereto, designated as exhibit “D” and incorporated herein by this
                   22 reference.)
                   23           11.      Our office had been retained to represent the interest of Nicole Chaker
                   24 in the underlying matter through her insurance carrier. Accordingly, our office,
                   25 specifically, attorney Timothy W. Kenna then notified Nicole Chaker’s insurance
                   26 carrier that an Appeal had been filed and provided a copy to the insurance carrier and
                   27 requested that our office be again appointed to represent Ms. Chaker.
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  & Gary, LLP
Attorneys at Law



                              DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                              CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                        4582458.1 48811-00002 TWK               Page | 3                3:16-CV-02186-WQH-MD
                                                                286
              Case
               Case3:16-cv-02186-WQH-MDD
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                                                    91 Filed   09/23/22PageID.3762
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                                                                                    Page  294
                                                                                        4 of 85of
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                    1           12.      In addition to filing the Notice of Appeal, plaintiffs have now filed a
                    2 separate state court action, San Diego Superior Court Case No. 37-2017-00036344-
                    3 U-NP-CTL attempting to set forth causes of action for Civil Extortion and Unfair
                    4 Competition, Business & Profession Code Section 17200 based on the same
                    5 allegations which had been alleged in the action dismissed by the court. (A true and
                    6 correct copy of the state court action, without the exhibits is attached hereto,
                    7 designated as exhibit “E” and incorporated herein by this reference.) Counsel from
                    8 my office also undertook to communicate with Ms. Chaker’s insurance carrier
                    9 regarding this new state court action which had been filed.
                   10           13.      Because of the numerous issues arising in regard to the appeal of the
                   11 first action and plaintiff’s refiling of a second state court action, there was some
                   12 delay in obtaining confirmation from the insurance carrier that my firm had been
                   13 retained to represent Nicole Chaker in the appeal.
                   14           14.      Once we were notified that we had been retained to represent Nicole
                   15 Chaker in the appeal, we reviewed the notice of appeal and relevant case authority to
                   16 determine whether a cross-appeal was required under the circumstances of the case.
                   17 While it appears that all issues have been appealed by plaintiffs including both the
                   18 granting of the motion to dismiss and the court’s failure to make a determination on
                   19 the anti-SLAPP motion, because of the nature of plaintiffs’ notice of appeal, there is
                   20 some small area of question as to the issues appealed. Accordingly, in an abundance
                   21 of caution a determination was made to file a cross-appeal on Nicole Chaker’s
                   22 behalf.
                   23           15.      A notice of cross-appeal has been prepared on behalf of Nicole Chaker
                   24 and is attached hereto, designated as exhibit “F” and incorporated herein by this
                   25 reference.
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  & Gary, LLP
Attorneys at Law



                              DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                              CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                        4582458.1 48811-00002 TWK                Page | 4                3:16-CV-02186-WQH-MD
                                                                287
              Case
               Case3:16-cv-02186-WQH-MDD
                    3:16-cv-02186-WQH-MDD Document
                                           Document127-1 Filed
                                                    91 Filed   09/23/22PageID.3763
                                                             12/12/17   PageID.4511Page
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                                                                                        5 of 85of
                                                   1196


                    1           I declare under penalty of perjury that the foregoing is true and correct.
                    2           Executed on this 12th day of December, 2017, at San Diego, California.
                    3
                    4
                                                                                 REBECCA J. SMITH
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                              DECLARATION OF REBECCA J. SMITH IN SUPPORT OF NICOLE
                              CHAKER’S MOTION TO EXTEND TIME TO FILE CROSS-APPEAL
                        4582458.1 48811-00002 TWK              Page | 5                3:16-CV-02186-WQH-MD
                                                              288
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      91 Filed   09/23/22PageID.3764
                                               12/12/17   PageID.4512Page
                                                                      Page  296
                                                                          6 of 85of
                                     1196




                          Exhibit “A”
                                       289
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed
                                      91         09/23/22PageID.3765
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                                               12/12/17   PageID.4513Page
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                                                                          1 of
                                                                          7    16of
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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         The matters before the Court are the motion to dismiss and the motion to strike
   19 Plaintiffs’ third cause of action filed by Defendant Nicole Chaker (ECF Nos. 35, 36);
   20 the motion to dismiss and motion to strike filed by Defendant Darren D. Chaker (ECF
   21 Nos. 55, 56); the motion to dismiss or alternatively to quash service filed by Defendant
   22 Vania Chaker (ECF No. 59); and, the moti
                                            on for sanctions by Defendant Darren Chaker
   23 (ECF No. 66).
   24 I. BACKGROUND
   25         On December 5, 2016, Plaintiffs Sc ott A. McMillan and The McMillan Law
   26 Firm, APC filed the First Amended Complaint (“FAC”) against Defendant Darren D.
   27 Chaker, an individual and as trustee of Platinum Holdings Group Trust, dba Counter
   28 Forensics; Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker

                                                  -1-                           16cv2186-WQH-MDD



                                          290
Case
 Case3:16-cv-02186-WQH-MDD
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                                               08/28/17
                                               12/12/17   PageID.4514Page
                                                         PageID.3515  Page  298
                                                                          2 of
                                                                          8    16of
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    1 Revocable Living Trust, U/A dates Augus t 18, 2010; Defendant Vania Chaker, an
    2 individual and as beneficiary of The IslandRevocable Trust under Declaration of Trust
    3 dated June 2, 2015; and Defe ndant Marcus Mack, as trustee of the Island Revocable
    4 Trust under Declaration of Trust dates June 2, 2015. (ECF No. 25). The FAC alleges
    5 two causes of action under the Racketeer Influenced and Corrupt Organizations
    6 (“RICO”) Act pursuant to 18 U.S.C. § 1962(c) and (d) and a civil extortion cause of
    7 action under California law.
    8 II. ALLEGATIONS OF THE FIRST AMENDED COMPLAINT (“FAC”)
    9         Plaintiff Scott McMillan is a Californi a licensed attorney practicing law and
   10 operating an unaccredited law schoo l. (ECF No. 25 at ¶5). Plaintiff McMillan Law
   11 Firm, APC is a corporationoperated by Scott McMillan. Id. ¶ 6. Defendants Vania and
   12 Nicole Chaker are Defendant Darren Chaker’s sister and mother, respectively.
   13         Plaintiffs allege that Defendants c onstitute a RICO enterprise functioning
   14 together “as a continuing unit with a common purpose to obtain the Plaintiffs’ property
   15 under fear induced by falsely imputing a deformity, disgrace, or crimes, and by threats
   16 to do an unlawful injury to the person or property . . . all in violation of Cal. Penal Code
   17 section 523 (extortion).” Id. ¶ 88. “The common purpose of the Enterprise members
   18 was to assist each other in the filing of false and meritless lawsuits under federal debt
   19 collection statutes; assist each other in th e filing of lawsuits against attorneys who
   20 opposed them . . . and to conduct a campaign of harassment, defamation, and extortion
   21 against attorneys, such as the Plaintiffs, who represented parties adverse to the interests
   22 of the Enterprise members . . . .” Id. ¶ 91. “Enterprise memberalso assisted each other
   23 in committing vandalism against Plaintiff’s property.” Id.
   24         Defendant Darren Chaker is allege d to have com mitted multiple acts of
   25 racketeering activity through acts involving extortion in violation of California Penal
   26 Code sections 518, 519, and 523. Id. ¶¶ 94-109. Plaintiffs allege that Darren Chaker
   27 sent threatening letters and com munications; posted defam atory and fabricated
   28 statements online; sent letters threatening Plaintiffs’ clients; and sent defamatory emails

                                                  -2-                              16cv2186-WQH-MDD



                                            291
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed
                                      91         09/23/22PageID.3767
                                               08/28/17
                                               12/12/17   PageID.4515Page
                                                         PageID.3516  Page  299
                                                                          3 of
                                                                          9    16of
                                                                               85
                                     1196


    1 to other attorneys and colleagues of Plaintiff McMillan. Id. Plaintiffs allege that these
    2 acts constitute extortion because Defendant “obtained from Plaintiff his i ntangible
    3 property right to practice law free of threat s, and to practice in accordance with th e
    4 California Rules of Professional Conduct” and “obtained from Plaintiffs their intangible
    5 property right to practice law and publish court decisions on the internet.” Id. at ¶¶ 99-
    6 109.
    7         Plaintiffs bring the first cause of ac tion for a violation of RICO, 18 U.S.C. §
    8 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84-114. Plaintiffs bring a second
    9 cause of action for conspiracy to viol ate RICO, 18 U.S.C. § 1962(d) against all
   10 Defendants. Id. ¶¶ 115-119. Plaintiffs bring a third cause of action for civil extortion
   11 under California law against DefendantsDarren Chaker and Nicole Chaker. Id. ¶¶ 120-
   12 133.
   13 III. LEGAL STANDARD ON RULE 12(B)(6)
   14         Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “failure to state
   15 a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Federal Rule of
   16 Civil Procedure 8(a) provides that “[a] pleading that states a claim for relief must
   17 contain . . . a short and plain statement of the claim showing that the pleader is entitled
   18 to relief.” Fed. R. Civ. P.8(a)(2). Dismissal under Rule 12(b)(6) is appropriate where
   19 the complaint lacks a cognizable legal theoryor sufficient facts to support a cognizable
   20 legal theory. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
   21         “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
   22 requires more than labels and conclusions, and a formulaic recitation of the elements
   23 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   24 (quoting Fed. R. Civ. P. 8(a)). When c onsidering a motion to dismiss, a court must
   25 accept as true all “well-pleaded factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662,
   26 679 (2009). However, a cour t is not “required to accept as true allegations that are
   27 merely conclusory, unwarrant ed deductions of fact, or unreasonable inferences.”
   28 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “In sum, for a

                                                   -3-                              16cv2186-WQH-MDD



                                            292
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3768
                                                 12/12/17
                                                  08/28/17    PageID.4516Page
                                                            PageID.3517    Page
                                                                         Page 10 300
                                                                               4 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 complaint to survive a m otion to dism iss, the non-conclusory factual content, and
     2 reasonable inferences from that content, must be plausibly suggestive of a claim
     3 entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
     4 2009) (internal quotation marks omitted).
     5 IV. MOTIONS TO DISMISS BY DARREN CHAKER AND NICOLE CHAKER
     6 (ECF Nos. 35, 56)
     7         Defendant Darren Chaker contends that the FAC should be dism issed with
     8 prejudice for failure to state a claim. Defendant Darren Chaker contends that the RICO
     9 cause of action pursuant to 18 U.S.C. §1962(c) m
                                                      ust be dismissed because Plaintiffs fail
   10 to adequately allege facts to support the predicate act of extortion. (ECF No. 56-1 at
   11 10). Defendant Darren Chaker contends that Plaintiffs fail to state a claim for extortion
   12 because Plaintiffs do not allege facts to show that Defendant Darren Chaker obtained
   13 property from Plaintiffs. Id. at 13. Defendant Darren Ch aker further contends that
   14 Plaintiffs lack standing because the FAC fails to allege cognizable damages. Id. at 18.
   15 Defendant Darren Chaker contends that           the second cause of action for RICO
   16 conspiracy, 18 U.S.C. § 1962(d), fails for the same reasons as the first cause of action.
   17 Defendant Darren Chaker contends that              the Court should decline to exercise
   18 supplemental jurisdiction over the state law claim. Id. at 19-20.
   19          Defendant Nicole Chaker also contendsthe FAC should be dismissed for failure
   20 to state a claim.1 (ECF No. 35). Defendant Nicole Chaker contends that her alleged
   21 conduct is prote cted by the Noerr-Pennington doctrine. (ECF No. 35-1 at 13-16).
   22 Defendant Nicole Chaker contends that the RICO causes of action should be dismissed
   23 because Plaintiffs fail to adequately plead an enterprise with an effect on interstate
   24 commerce, a pattern of racketeering, c ognizable damages, or sufficient conduct or
   25
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              Defendant Nicole Chaker files a request for judicial notice of document in the
   26 record of a district court case from t he United States District Court for the Central
      District of California. (ECF No. 35-3). Plaintiffs’ also file a request for judicial notice
   27 of court documents in other cases. (ECF No. 45-1). The Court denies the request for
      judicial notice as unnecessary. See, e.g., Asvesta v. Petroutsas, 580 F.3d 1000, 1010
   28 n. 12 (9th Cir. 2009) (denying request for judicial notice where judicial notice would
      be “unnecessary”).
                                                   -4-                              16cv2186-WQH-MDD



                                             293
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3769
                                                 12/12/17
                                                  08/28/17    PageID.4517Page
                                                            PageID.3518    Page
                                                                         Page 11 301
                                                                               5 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 participation in enterprise affairs. Id. at 18-25. Defendant Nicole Chaker contends that
     2 the claim under § 1962(d) necessarily fails if the § 1962(c) claim is dismissed. Id. at
     3 24. Defendant Nicole Chaker contends that Plaintiffs do not sufficiently allege any
     4 cognizable injury to support the causeof action for civil extortion. Id. at 25. Defendant
     5 Nicole Chaker contends that she is         “protected by the litigation privilege under
     6 California Civil Code § 47.” Id. at 29.
     7         Plaintiffs contend that the FAC sufficien tly alleges extortion pursuant to the
     8 California Penal Code as a predicate act for the RICO claims. (ECF No. 60). Plaintiffs
     9 contend that Defendant Darren Chaker “has obtained the Plaintiffs’ property, i.e. the
   10 right to publicity, the goodwill in the business,the Plaintiff’s ability to practice law, the
   11 Plaintiff’s identity and the Plaintiffs’ logo.”Id. at 14-15. Plaintiffs further contend that
   12 the FAC alleges cognizable damages in the form of injury to a business or property.Id.
   13 at 20-21. Plaintiffs contend that federa l law, state law, and California state courts
   14 define “property” broadly toinclude the damage to intangible property interests alleged
   15 in the complaint. Id. at 20-26. Plaintiffs contend that intangible property rights were
   16 obtained by Defendant Darren Chaker. Id. at 26-30. Plaintiffs contend that the Court
   17 should exercise its supplemental jurisdiction over the state law claimof civil extortion.
   18 Id. at 30-31. Plaintiffs contend that the Noerr-Penningtondoctrine has no applicability
   19 to this case. (ECF No. 43 at 25). Plainti ffs contend that Defendant Nicole Chaker is
   20 not protected by the litigation privilege und      er California Civil Code section 47.
   21 Plaintiffs contend that the FAC adequate ly alleges that Def endant Nicole Chaker
   22 conspired to violate § 1962(c). Id. at 20. Plaintiffs contend that the FAC adequately
   23 alleges a civil extortion claim. Id. at 22-23.
   24          A. RICO, 18 U.S.C. § 1962(c)
   25          “The Racketeer Influenced and Corrupt Organizations (‘RICO’) Act . . . provides
   26 for both criminal and civil liability.” Odom v. Microsoft Corp., 486 F.3d 541, 545 (9th
   27 Cir. 2007) (citing Pub. L. No. 91-452, § 901,84 Stat. 922 (1970) (codified at 18 U.S.C.
   28 §§ 1961-1968)). “Under RICO’s civil enforcement mechanism, ‘any person injured in

                                                   -5-                             16cv2186-WQH-MDD



                                            294
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3770
                                                 12/12/17
                                                  08/28/17    PageID.4518Page
                                                            PageID.3519    Page
                                                                         Page 12 302
                                                                               6 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 his business or property by reason of a violation of [18 U.S.C. § 1962]may sue therefor
     2 in any appropriate United States district court and shall recover threefold the damages
     3 he sustains and the cost of the suit, incl uding a reasonable attorney’s fee . . . .’”
     4 Canyon Cty v. Sygenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008)(citing 18 U.S.C.
     5 § 1964(c)). “Subsections 1962(a) through (c) pr
                                                     ohibit certain ‘pattern[s] of racketeering
     6 activity’ in relation to an ‘enterprise.’” United Bhd. of Carpenters & Joiners of Am. v.
     7 Bldg. & Const. Trades Dep’t, AFL-CIO, 770 F.3d 834, 837 (9th Cir. 2014). “To have
     8 standing under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm
     9 qualifies as injury to his business or property; and (2) that his harm was ‘by reason of’
   10 the RICO violation, which requires the plaintiff to establish proximate causation.” Id.
   11 (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 268 (1992); Sedima,
   12 S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).
   13          Section 1962(c) provides,
   14          It shall be unlawful fo r any person employed by or associated with any
               enterprise engaged in, or the activities ofwhich affect, interstate or foreign
   15          commerce, to conduct or participate, directly or indirectly, in the conduct
               of such enterprise’s affairs through a pattern of racketeering activity or
   16          collection of unlawful debt.
   17 18 U.S.C. § 1962(c). “The elements of a civil RICO claim are as follows: (1) conduct
   18 (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as
   19 ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” United Bhd. of
   20 Carpenters, 770 F.3d at 837 (citing Living Designs, Inc. v. E.I. Dupont de Nemours &
   21 Co., 431 F.3d 353, 361 (9th Cir. 2005)).
   22          “A ‘pattern of racketeering activity’ requires at least two predicate acts of
   23 racketeering activity, as defined in 18 U.S.C. § 1961(1) within a period of ten years.”
   24 Canyon Cty, 519 F.3d at 972. “Racketeering act ivity” as defined by statute includes
   25 “any act or threat involving . . . extortion, . . . which is chargeable under State law.”
   26 18 U.S.C. § 1961(1)(A). To constitute a pred icate act of extortion for purposes of a
   27 RICO cause of action, the alleged act must satisfy the generic definition of extortion –
   28 “obtaining something of value from another with his consent inducted by the wrongful

                                                   -6-                              16cv2186-WQH-MDD



                                             295
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3771
                                                 12/12/17
                                                  08/28/17    PageID.4519Page
                                                            PageID.3520    Page
                                                                         Page 13 303
                                                                               7 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 use of force, fear, or threats.”    United Bhd. of Carpenters, 770 F.3d at 8 43 (citing
     2 United States v. Nardello, 393 U.S. 286 (1969)).
     3         In Scheidler v. National Organization for Women, Inc., the Supreme Court
     4 considered whether the use or threat of force,violence or fear to cause a party to “‘give
     5 up’ property rights, namely, ‘a woman’s right to seek medical services from a clinic, the
     6 right of the doctors, nurses or other clinic staff to performtheir jobs, and the right of the
     7 clinics to provide medical services free from wrongful threats, violence, coercion and
     8 fear” constituted Hobbs Act extortion or a state extortion offense for purposes of a
     9 RICO predicate act. 537 U.S. 393, 400-01 (2003)
                                                     . The Court determined that although
   10 “[t]here was no dispute . . . that petitione rs interfered with, disrupted, and in som e
   11 instances completely deprived, respondents of their ability to exercise their property
   12 rights . . . . such acts did not constitute extortion because petitioners did not ‘o btain
   13 respondents’ property.” Id. at 404-05. The Court further stated, “Petitioners may have
   14 deprived or sought to deprive respondents of their exclusive control of their business
   15 assets, but they did not acquire any such property. Petitioners neither pursued nor
   16 received ‘something of value from’ respondents that they could exercise, transfer or
   17 sell.” Id. (citing Nardello, 393 U.S. at 290)).
   18          In this case, Plaintiffs allege that the requisite predicate acts are multiple acts of
   19 extortion in violation of California Penal Code sections 518, 519, and 523.2 An act of
   20 extortion which is chargeable under stat e law can constitute racketeering activity
   21 sufficient to support a RICO claim. See 18 U.S.C. § 1961(1)(A). However, to plead
   22 extortion as a predicate act, Plaintiffs m ust allege facts to show that the act involved
   23 “obtaining something of value from another.” United Bhd. of Carpenters, 770 F.3d at
   24 843; Scheidler, 537 U.S. at 410 (“[W]here as here the Model Penal Codeand a majority
   25 of States recognize the crime of extortion as requiring a party to obtain or to seek to
   26
   27          2
               Plaintiffs allege the cause of ac tion pursuant to 18 U.S.C. § 1962(c) solely
      against Defendant Darren Chaker. Plaintiffsdo not allege the cause of action pursuant
   28 to 18 U.S.C. § 1962(c) against Defendant Nicole Chaker. (ECF No. 25 at 33; ECF No.
      43 at 6).
                                                    -7-                               16cv2186-WQH-MDD



                                             296
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3772
                                                 12/12/17
                                                  08/28/17    PageID.4520Page
                                                            PageID.3521    Page
                                                                         Page 14 304
                                                                               8 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 obtain property, as the Hobbs Act requires, the state extortion offense for purposes of
     2 RICO must have a sim ilar requirement.”). Plaintiffs allege that various acts by
     3 Defendant Darren Chaker constitute state extortion offenses and predicate acts under
     4 RICO because Defendant Darren Chaker obtained from Plaintiffs the “intangible right
     5 to practice law and publish decisions on theinternet” and the “intangible property right
     6 to practice law free of threats, and to practice in accordance with the California Rules
     7 of Professional Conduct.” (ECF No. 25 at ¶¶ 99-109). The Court concludes that these
     8 factual allegations are insufficient to establish that Defendant Darren Chaker obtained
     9 something of value from Plaintiffs. Scheidler, 537 U.S. at 410. Because Plaintiffs fail
   10 to sufficiently allege a predicate act, Plaintiffs fail to state a claim pursuant to 18 U.S.C.
   11 § 1962(c). See, e.g., United Bhd. of Carpenters, 770 F.3d at 837 (stating that a plaintiff
   12 must properly allege a predicate act to state a claim under RICO). The m otion to
   13 dismiss the cause of action under 18 U.S.C.§1962(c) filed by Defendant Darren Chaker
   14 is granted.
   15          B. RICO Conspiracy, 18 U.S.C. § 1962(d)
   16          Plaintiffs bring a RICO conspiracy cause of action against all Defendants and
   17 allege that
   18          commencing in 2004 and during and continuing at all tim   es to the present,
               RICO defendants conspired to violate section 1962(c), i.e. each defendant
   19          agreed that a conspirator (DARREN) would conduct or participate in the
               affairs of the Enterprise through a pattern of racketeering, including acts
   20          involving extortion in violation of California state law, as m ore fully
               described in the First Claim for Relief.
   21
        (ECF No. 25 at ¶ 116).
   22
               A civil RICO cause of action is available for a violation of 18 U.S.C. § 1962(d).
   23
        See 18 U.S.C. § 1964(c). Pursuant to 18 U .S.C. § 1962(d), it is “unla wful for any
   24
        person to conspire to violate any of the provisions of subsection (a), (b), or (c) of this
   25
        section.” 18 U.S.C. § 1962(d). InHoward v. Am. Online Inc., the Ninth Circuit Court
   26
        of Appeals held that “Plaintiffs cannot claimthat a conspiracy to violate RICO existed
   27
        if they do not adequately plead a substantive violation of RICO.” 208 F.3d 741, 751
   28
        (9th Cir. 2000). The Court has determ ined that Plaintiffs did not adequately plead a

                                                   -8-                              16cv2186-WQH-MDD



                                             297
Case
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document  91     Filed
                                        83 Filed
                                           Filed    09/23/22PageID.3773
                                                 12/12/17
                                                  08/28/17    PageID.4521Page
                                                            PageID.3522    Page
                                                                         Page 15 305
                                                                               9 of
                                                                                 of16of
                                                                                    85
                                      1196


     1 substantive violation of 18 U.S.C § 1962( c). The m otions to dism iss the RICO
     2 conspiracy cause of action under 18 U.S .C. § 1962(d) filed by Defendants Nicole
     3 Chaker and Darren Chaker are granted.
     4         C. Civil Extortion Under State Law
     5         The civil extortion cause of action a lleged by Plaintiffs against Defendants
     6 Darren Chaker and Nicole Chaker does not ar
                                                 ise under federal law. The FAC states that
     7 this case is properly in federal court based on federal question jurisdiction3 and that this
     8 Court has supplemental jurisdiction over the remaining state law claim pursuant to 28
     9 U.S.C. § 1367(a) because it is “so related to the claims in the action within the Court’s
   10 original jurisdiction that they form part of the same case or controversy under Article
   11 III of the United States Constitution.” (ECF No. 25 at 2). The federal supplem ental
   12 jurisdiction statute provides:
   13          [I]n any civil action of which the district courts have original jurisdiction,
               the district courts shall have s upplemental jurisdiction over all other
   14          claims that are so related to claims in the action within such original
               jurisdiction that they form part of the sam e case or controversy under
   15          Article III of the United States Constitution.
   16 28 U.S.C. § 1367(a). “The         district courts m ay decline to exercise supplem ental
   17 jurisdiction over a claim under subsection (a) if . . . the district court has dismissed all
   18 claims over which it has original jurisdiction[.]” 28 U.S.C. § 1367(c).
   19          Having dismissed the only federal claim s asserted against Defendant Darren
   20 Chaker and Nicole Chaker, the Court declines to exercisesupplemental jurisdiction over
   21 this state law claim pursuant to 28 U.S.C. § 1367(c). See San Pedro Hotel Co., Inc. v.
   22 City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998). The m
                                                                  otions to dismiss the civil
   23 extortion cause of action f iled by Defendants Nicole Chaker and Darren Chaker are
   24 granted.
   25 V. MOTIONS TO STRIKE BY DARREN CHAKER AND NICOLE CHAKER
   26
   27          3
              Plaintiffs also allege, “This Court has subject-matter jurisdiction over this action
      pursuant to 28 U.S.C. § 1332.” (ECF No. 25 at ¶ 1). Plaintiffs have failed to allege
   28 sufficient facts to establish diversity jurisdiction and this statem ent appears to be in
      reference to 28 U.S.C. § 1331.
                                                   -9-                               16cv2186-WQH-MDD



                                             298
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed
                                    83          09/23/22PageID.3774
                                             08/28/17
                                             12/12/17     PageID.4522Page
                                                        PageID.3523    Page
                                                                          10306
                                                                          16     of
                                                                             of 85
                                                                                16
                                    1196


    1 (ECF Nos. 55, 36)
    2         Defendant Darren Chaker filed a motion to strike portions of the FAC pursuant
    3 to Federal Rule of Civil Procedure 12(f). (ECF No. 55). The Court has dismissed the
    4 FAC as to Darren Chaker. Accordingly, the Court denies as moot Defendant Darren
    5 Chaker’s motion to strike. (ECF No. 55).
    6         Defendant Nicole Chaker filed an anti-SLAPP motion to strike the third cause of
    7 action pursuant to California Code of Civil Procedure section 425.16 and for an award
    8 of attorney’s fees pursuant to Californi a Code of Civil Procedure section 425.16(c).
    9 (ECF No. 36). As a result of the Court’s decision to decline supplemental jurisdiction
   10 over the state law civil extortion claim, th e Court does not reach the merits of this
   11 motion. The Court denies as moot Defendant Nicole Chaker’s anti-SLAPP motion to
   12 strike and for attorney’s fees and costs. (ECF No. 36).
   13 VI. MOTION TO DISMISS OR QUASH SERVICE BY VANIA CHAKER (ECF
   14 No. 59)
   15         “Specially Appearing Defendant” Vani a Chaker moves the Court pursuant to
   16 Rule 12(b)(5) for an order dism issing the co mplaint or alternatively, for an order
   17 quashing defective service. (ECF No. 59) . Defendant Vania Chaker contends that
   18 Plaintiffs failed to serve her prior to theCourt’s February 27, 2017 deadline for service.
   19 Id. at 4. Defendant Vania Chaker contends thatPlaintiffs failed to serve her by personal
   20 service on February 6, 2017 at 6:02 p.m. as represented to the Court by Plaintiffs. Id.
   21 at 3. Defendant Vania Chaker contendsthat she has “strong and convincing” evidence
   22 that Plaintiff’s purported proof of service isfabricated because Defendant Vania Chaker
   23 was not at this location at that tim e.4 Id. at 3-5. Defendant Vania Chaker further
   24
   25         4
              Defendant Vania Chaker requests judicial notice of decision of the California
      Court of Appeal, Fourth District, Division 1. (ECF No. 59-3). Plaintiffs object to the
   26 request for judicial notice. (ECF No. 64-5). The Court does not rely on this material
      in reaching its decision and denies the request for judicial notice. See, e.g., Asvesta v.
   27 Petroutsas, 580 F.3d 1000, 1010 n. 12 (9th Cir. 2009) (denying request for judicial
      notice where judicial notice would be “unnecessary”). Additionally, Defendant Vania
   28 Chaker filed evidentiary objections to declarations filed by Plaintiffs. (ECF Nos. 69-2,
      69-3, 69-4). The Court has reviewed and considered these objections. A ruling on
                                                 - 10 -                           16cv2186-WQH-MDD



                                           299
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed
                                    83          09/23/22PageID.3775
                                             08/28/17
                                             12/12/17     PageID.4523Page
                                                        PageID.3524    Page
                                                                          11307
                                                                          17     of
                                                                             of 85
                                                                                16
                                    1196


    1 contends that the Summons filed by Plaintiffs incorrectly names Vania Chaker as an
    2 individual and as trustee of Vania Chaker Trust. Id. at 3. Defendant Vania Chaker
    3 contends she should be dism issed from this action because Plain tiffs have failed to
    4 complete service despite two extensions oftime and have failed to establish good cause
    5 for another extension of time. Id. at 7.
    6         Plaintiffs contend that Defendant Vania Chaker was properly served on Feburary
    7 6, 2017. Plaintiffs contend that the evid ence offered in support of Defendant Vania
    8 Chaker’s motion is not credible and does notestablish that she was not home at the time
    9 stated in the proof of service filed with the Court. 5 (ECF No. 64). Plaintiffs contend
   10 that the Court should find service proper based on the substantial compliance doctrine.
   11 Id. at 5-6. Plaintiffs request that the Court deny this motion and order Defendant Vania
   12 Chaker to respond to the complaint within ten days. Plaintiffs request that, if the Court
   13 grants any portion of the motion, the Court extend time for service, designate counsel
   14 for Vania Chaker as agent for service of process, and order that her counsel accept the
   15 service by email. Id. at 8.
   16         A. Legal Standard
   17         “Without a proper basis for jurisdiction, or in the absence of service of process,
   18 the district court has no power to render any judgment against the defendant’s person
   19 or property unless the defendant has consente d to jurisdiction or waived the lack of
   20 process.” S.E.C. v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007). “A federal court is
   21 without personal jurisdiction over a defendant unless the defendant has been served in
   22 accordance with Fed.R.Civ.P. 4.” Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986),
   23 amended, 807 F.2d 1514 (9th Cir. 1987) (citingJackson v. Hayakawa, 682 F.2d 1344,
   24 1347 (9th Cir. 1982)). Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant
   25 to move to dismiss the complaint for insufficient service of process. Fed. R. Civ. P.
   26
        these objections is not necessary to resolve this motion.
   27
              5
              Plaintiffs filed evidentiary objections to the declaration filed by Vania Chaker
   28 in support of her m otion. (ECF No. 64-4) . The Court has revi ewed and considered
      these objections. A ruling on these objections is not necessary to resolve this motion.
                                                 - 11 -                           16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
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                                             08/28/17
                                             12/12/17     PageID.4524Page
                                                        PageID.3525    Page
                                                                          12308
                                                                          18     of
                                                                             of 85
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    1 12(b)(5). Once a party challenges service, th e plaintiff bears the burden to show that
    2 service was valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
    3 The court has discretion to dismiss an action or quash service if there is insufficiency
    4 of process or insufficiency of service. See SHJ v. Issaquah School District No. 411, 470
    5 F.3d 1288, 1293 (9th Cir. 2006) (citing Stevens v. Security Pac. Nat’l Bank, 538 F.2d
    6 1387, 1389 (9th Cir. 1976)).
    7         Under Federal Rule of Civil Procedure 4(e), a plaintiff may serve an individual
    8 within a judicial district of the Unite     d States by (1) following state law service
    9 requirements, or (2) service m ay be effected upon an individual by (A) delivering a
   10 copy of the summons and complaint to the individual personally, (B) by leaving a copy
   11 of each “at the individual’s dwelling or usual place of abode” with someone of suitable
   12 age and discretion who resides there; or (C) by delivering a copy of each to an “agent
   13 authorized by appointment or by law to receive service of process.” Fed. R. Civ. P.
   14 4(e).
   15         California Code of Civil Procedure section 415.20(a) states,
   16         In lieu of personal delivery of a copyof the summons and complaint to the
              person to be served...a summons may be served by leaving a copy of the
   17         summons and complaint during usual office hours in his or her office, or
              if no physical address is known, at his or her usual mailing address... with
   18         the person who is apparently in charge thereof, and by thereafter mailing
              a copy of the summons and complaint by first-class mail, postage prepaid
   19         to the person to be served at the place where a copy of the summons and
              complaint were left....
   20
        Cal. Code of Civ. P. § 415.20(a).
   21
              If a party receives sufficient notice of the complaint, Rule 4 is to be “liberally
   22
        construed” to uphold service. Chan v. Soc’y Expeditions, Inc., 39 F.3d 1398, 1404 (9th
   23
        Cir. 1994). “However, ‘neither actual notice nor simply naming the defendant in the
   24
        complaint will provide personal jurisdiction without substantial compliance with Rule
   25
        4.’” Travelers Cas. & Sur. Co. of Am. v. Brenneke, 551 F.3d 1132, 1135 (9th Cir. 2009)
   26
        (citing Benny, 799 F.2d at 492 (citation and quotes omitted)).
   27
              B. Discussion
   28
              Plaintiffs filed their original complaint on August 29, 2016 (ECF No. 1) and the

                                                  - 12 -                          16cv2186-WQH-MDD



                                            301
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
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                                    83          09/23/22PageID.3777
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                                             12/12/17     PageID.4525Page
                                                        PageID.3526    Page
                                                                          13309
                                                                          19     of
                                                                             of 85
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    1 FAC on December 5, 2016 (ECF No. 25). OnDecember 20, 2016, this Court issued an
    2 order granting Plaintiffs a second extension of time in which to complete service upon
    3 Defendant Vania Chaker. (ECF No. 38). The Order stated, “Plaintiffs’ new deadline
    4 to achieve service on Vania Chaker is Monday, February 27, 2017.” Id.
    5         On February 27, 2017, Plaintiffs filed Proof of Service of Sum       mons in the
    6 Complaint. (ECF No. 58). The docum ent states that Defendant Vania Chaker was
    7 served by personal service on February        6, 2017 at 6:02 p.m . in San Diego by a
    8 registered process server. (ECF No. 58). Defendant Vania Chaker asserts she was not
    9 served on February 6, 2017. Defendant Vania Chaker provides receipts frompurchases
   10 she made in Manhattan Beach, Cali fornia around the time of service on February 6,
   11 2017 to establish that she was not in San Diego at this time and date.
   12         In a declaration filed in support of Plai
                                                     ntiffs’ opposition, the process server states
   13 that on February 6, 2017 around6 p.m., he observed Vania Chaker at the address stated
   14 in the proof of service document. He states that he
   15         jogged up towards the driveway, calling out “Hey you, Vania” or words
              to that effect. When I made the st atement Ms. Chaker was in speaking
   16         distance to me, and my voice was sufficiently elevated to provide her
              notice that I was attempting to contact her. However, upon hearing my
   17         shout, Ms. Chaker, who had exited from the garage . . . made a dash for
              the front floor of the house. . . . Ms. Chaker entered the house and closed
   18         the door behind her. . . .I called out service by stating “your served Vania
              Chaker”, and I tossed the papers over the fence, . . . I was not able to
   19         actually ‘touch’ her with the papers as she was behind a closed gate, and
              I did not intend to go off the public      sidewalk onto private property.
   20         However I was within 10 yards of her, and as close as I could get in light
              of the barrier imposed by her fence.
   21
        (ECF No. 64-1 at 4).
   22
              Based on the statements offered in the declaration by the process server, the
   23
        Court cannot conclude that Plaintiffs delivered a copy of the summons and complaint
   24
        to Defendant Vania Chaker personally. See Fed. R. Civ. P. 4(e). Plaint iffs further
   25
        contend that the Court should uphold serviceas proper under the substantial compliance
   26
        doctrine. In Travelers Cas. & Sur. Co. of Am. v. Brenneke, the Ninth Circuit Court of
   27
        Appeals held,
   28
              Sufficient service m ay be found wher e there is a good faith effort to

                                                 - 13 -                           16cv2186-WQH-MDD



                                           302
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Case3:16-cv-02186-WQH-MDD
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                                             12/12/17     PageID.4526Page
                                                        PageID.3527    Page
                                                                          14310
                                                                          20     of
                                                                             of 85
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    1         comply with the requirem ents of Rule 4(e)(2) which has resulted in
              placement of the s ummons and co mplaint within the defendant’s
    2         immediate proximity and further com pliance with Rule 4(e)(2) is only
              prevented by the defendant’s knowing and intentional actions to evade
    3         service.
    4 551 F.3d at 1136. While Plaintiffs assert that Defendant Vania Chaker has attempted
    5 to evade service and that the process server left the papers in her proximity, Defendant
    6 Vania Chaker provides evidence that she wa s not present at the address when the
    7 alleged service was com pleted. The Court concludes that Plaintiffs have failed to
    8 satisfy their burden to dem onstrate that service upon Defendant Vania Chaker was
    9 proper under Rule 4. See id. at 1135 (“neither actual notice nor simply nam ing the
   10 defendant in the com plaint will provide personal jurisdiction without substantial
   11 compliance with Rule 4.”). Th e Court grants Defendant Vania Chaker’s m otion to
   12 quash service of process. See Issaquah School District No. 411, 470 F.3d at 1293
   13         However, the Court has dete rmined that Plaintiffs did not adequately plead a
   14 substantive violation of 18 U .S.C § 1962(c). A ccordingly, Plaintiffs’ claim for a
   15 conspiracy to violate RICO pursuant to18 U.S.C. § 1962(d) necessarily fails.See supra
   16 Part IV.B; Howard, 208 F.3d at 751. Conspiracy to violate RICO pursuant to 18 U.S.C.
   17 § 1962(d) is the only cause of action allege d against Defendant Vania Chaker. The
   18 Court dismisses the FAC without prejudice as to Defendant Vania Chaker. (ECF No.
   19 25).
   20 VII. MOTION FOR SANCTIONS BY DARREN CHAKER (ECF No. 66)
   21         Defendant Darren Chaker filed a motion for sanctions against Plaintiffs pursuant
   22 to Rule 11 of the Federal Rules of Civil Procedure, or alternatively, the Court’s inherent
   23 power. (ECF No. 66). Defendant Darren Chaker contends that sanctions are warranted
   24 because (1) the allegations in the FAC        are “factually baseless from an objective
   25 perspective, and were included in the FA C for an improper purpose”; (2) Plaintiffs’
   26 RICO claims are frivolous; and (3) Plainti ffs’ RICO claim s were brought “for the
   27 improper purpose of naming Darren’s mother . . . and sister . . . asDefendants . . . solely
   28 to harass Darren and his family.” Id. at 2.

                                                  - 14 -                          16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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                                    83          09/23/22PageID.3779
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                                             12/12/17     PageID.4527Page
                                                        PageID.3528    Page
                                                                          15311
                                                                          21     of
                                                                             of 85
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    1         Plaintiffs contend that the motion is without merit and that the allegations of the
    2 FAC are proper, non-frivolous, and sufficiently supported by facts. (ECF No. 75).
    3         Rule 11 of the Federal Rules of Civil Procedure provides in part,
    4         b) Representations to the Court. By presenting to the co urt a pleading,
              written motion, or other paper--whether by signing, filing, submitting, or
    5         later advocating it--an attorney or unrepresented party certifies that to the
              best of the person's knowledge, information, and belief, formed after an
    6         inquiry reasonable under the circumstances:
    7         (1) it is not being presented for any improper purpose, such as to harass,
              cause unnecessary delay, or needlessly increase the cost of litigation;
    8
              (2) the claim s, defenses, and other legal contentions are warranted by
    9         existing law or by a nonfrivolous argument for extending, modifying, or
              reversing existing law or for establishing new law;
   10
              (3) the factual contentions have evidentiary support or, if specifically so
   11         identified, will likely have evidentiary support after a reasonable
              opportunity for further investigation or discovery;...
   12
        Fed. R. Civ. P. 11(b)(3). When a “com         plaint is the prim ary focus of Rule 11
   13
        proceedings, a district cour t must conduct a two-prong analysis to determ ine (1)
   14
        whether the complaint is legally or factuallybaseless from an objective perspective, and
   15
        (2) if the attorney has conducted a reasonable and competent inquiry before signing and
   16
        filing it.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (quotation
   17
        omitted). “As shorthand for this test, weuse the word ‘frivolous’ to denote a filing that
   18
        is both baseless and m ade without a reasonable and competent inquiry.” Holgate v.
   19
        Baldwin, 425 F.3d 671, 676 (9th Cir. 2005) (quotation omitted).
   20
              After reviewing the motion and the submissions of the parties, the Court finds
   21
        that the record in this case does not support the imposition of sanctions at this stage in
   22
        the proceedings. The motion for sanctions is denied. (ECF No. 66).
   23
        VIII. CONCLUSION
   24
              IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion to dismiss
   25
        the First Amended Complaint is granted. (ECF No. 56). The First Amended Complaint
   26
        (ECF No. 25) is dism issed without prejudice as to Defendant Darren Chaker.
   27
        Accordingly, Defendant Darren Chaker’s         motion to strike portions of the First
   28
        Amended Complaint pursuant to Federal Ru le of Civil Procedure 12(f) is denied as

                                                  - 15 -                           16cv2186-WQH-MDD



                                            304
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed
                                    83          09/23/22PageID.3780
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                                             12/12/17     PageID.4528Page
                                                        PageID.3529    Page
                                                                          16312
                                                                          22     of
                                                                             of 85
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    1 moot. (ECF No. 55).
    2         IT IS HEREBY ORDERED that DefendantDarren Chaker’s motion for sanctions
    3 is denied. (ECF No. 66)
    4         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion to dismiss
    5 the First Amended Complaint is granted. (ECF No. 35). The First Amended Complaint
    6 (ECF No. 25) is dismissed without prejudice as to Defendant Nicole Chaker. Defendant
    7 Nicole Chaker’s anti-SLAPP motion to strike and for attorneys’ fees and costs is denied
    8 as moot. (ECF No. 36).
    9         IT IS HEREBY ORDERED that DefendantVania Chaker’s motion to quash the
   10 service of process is granted. (ECF No
                                           . 59). The Court quashes service upon Defendant
   11 Vania Chaker and grants Plaintiffs sixt y (60) days from the date any am ended
   12 complaint is filed upon which to perfectservice upon Vania Chaker in accordance with
   13 the requirements of Federal Rule of Civil Procedure 4.
   14         IT IS FURTHER ORDERED that the First Amended Complaint (ECF No. 25)
   15 is dismissed without prejudice as to Defendant Vania Chaker. Plaintiffs shall file any
   16 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   17 thirty (30) days of the date this Order is issued.
   18 DATED: August 28, 2017
   19
                                                 WILLIAM Q. HAYES
   20                                            United States District Judge
   21
   22
   23
   24
   25
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   28

                                                 - 16 -                         16cv2186-WQH-MDD



                                           305
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Case3:16-cv-02186-WQH-MDD
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                           Document127-1  Filed
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                                                                          23313 of
                                                                            of 85
                                    1196




                          Exhibit “B”
                                       306
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Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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     7
     8                       UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional        ORDER
         corporation,
   12
                                     Plaintiffs,
   13          v.
   14    DARREN D. CHAKER, an individual,
         and as trustee of PLATINUM
   15    HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
   28

                                                   -1-                          16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3783
                                             12/12/17     PageID.4531Page
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                                                                          25315 of
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                                       308
  Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                             Document127-1  Filed
                                      91 Filed    09/23/22PageID.3784
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                        November 06, 2017


       No.:                17-56676
       D.C. No.:           3:16-cv-02186-WQH-MDD
       Short Title:        Scott McMillan, et al v. Darren Chaker, et al


      Dear Appellant/Counsel

      A copy of your notice of appeal/petition has been received in the Clerk's office of
      the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
      Appeals docket number shown above has been assigned to this case. You must
      indicate this Court of Appeals docket number whenever you communicate with
      this court regarding this case.

      Please furnish this docket number immediately to the court reporter if you place an
      order, or have placed an order, for portions of the trial transcripts. The court
      reporter will need this docket number when communicating with this court.

      The due dates for filing the parties' briefs and otherwise perfecting the appeal
      have been set by the enclosed "Time Schedule Order," pursuant to applicable
      FRAP rules. These dates can be extended only by court order. Failure of the
      appellant to comply with the time schedule order will result in automatic
      dismissal of the appeal. 9th Cir. R. 42-1.

      Appellants who are filing pro se should refer to the accompanying
      information sheet regarding the filing of informal briefs.




                                              309
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3785
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                     UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     NOV 06 2017
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                                                                     U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN; THE                    No. 17-56676
    MCMILLAN LAW FIRM, APC,
                                              D.C. No. 3:16-cv-02186-WQH-MDD
                 Plaintiffs - Appellants,
                                              U.S. District Court for Southern
      v.                                      California, San Diego

    DARREN D. CHAKER, an                      TIME SCHEDULE ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics;
    VANIA CHAKER, an individual and
    as beneficiary of The Island
    Revocable Trust under Declaration of
    Trust dated June 2, 2015; NICOLE
    CHAKER, an individual, and as
    trustee of THE NICOLE CHAKER
    REVOCABLE LIVING TRUST,
    U/A dated August 18, 2010,

                 Defendants - Appellees.




   The parties shall meet the following time schedule.

   Thu., January 4, 2018         Appellant's opening brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.
    Mon., February 5, 2018       Appellee's answering brief and excerpts of record
                                 shall be served and filed pursuant to FRAP 32 and
                                 9th Cir. R. 32-1.

                                            310
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3786
                                             12/12/17     PageID.4534Page
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                                                                          28318 of
                                                                            of 85
                                    1196
   The optional appellant's reply brief shall be filed and served within 21 days of
   service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R. 32-1.

   Failure of the appellant to comply with the Time Schedule Order will result in
   automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: John Brendan Sigel
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7




                                        311
  Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                             Document127-1  Filed
                                      91 Filed    09/23/22PageID.3787
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                                                                            29319 of
                                                                              of 85
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                                    Post Office Box 193939
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                                         415-355-8000
Molly C. Dwyer
Clerk of Court



                                  ATTENTION
                 YOU ARE NOT REGISTERED FOR ELECTRONIC FILING



       You are listed as counsel of record in this new appeal/petition but you are not
       registered for electronic filing with this Court. See Ninth Circuit Rule 25-5.

       Until you register for electronic filing or provide the Court with proof of an
       exemption, you will not receive further notice of filings from the Court in this case,
       including important scheduling orders and orders requiring a response. Failure to
       respond to a Court order or otherwise meet an established deadline can result in the
       dismissal of the appeal for failure to prosecute by the Clerk pursuant to Ninth
       Circuit Rule 42-1, or other action adverse to your client.

       Please register for electronic filing with the Court immediately or file a
       notice/motion to withdraw as counsel from this appeal.

       To register for electronic filing, and for more information about Ninth Circuit
       CM/ECF, visit our website at http://www.ca9.uscourts.gov/cmecf/#section-
       registration.




                                                312
     Case
     Case3:16-cv-02186-WQH-MDD
          3:16-cv-02186-WQH-MDD Document
                                Document127-1  Filed
                                         91 Filed    09/23/22PageID.3788
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17-56676 •




        Rebecca Jo Smith
        Freeman Mathis & Gary, LLP
        550 S. Hope Street
        22nd Floor
        Los Angeles, CA 90071




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314
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Case3:16-cv-02186-WQH-MDD
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                           Document127-1  Filed
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                                                                          32322 of
                                                                            of 85
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                          Exhibit “D”
                                       315
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Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
      3:16-cv-02186-WQH-MDD Document
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                                      91     Filed
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                                                 11/05/17    PageID.4539Page
                                                            PageID.3746   Page
                                                                         Page 1323
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 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   Corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              NOTICE OF APPEAL;
14   v.                                       STATEMENT OF
                                              REPRESENTATION [9TH Cir. R. 3-
15   DARREN D. CHAKER an individual,          2]
     and as trustee of PLATINUM
16   HOLDINGS GROUP TRUST, dba
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as
     trustee of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA
19   CHAKER, an individual and as
     beneficiary of The Island Revocable
20   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
21   trustee of The Island Revocable Trust
     under Declaration of Trust dated June
22   2, 2015,

23   Defendants.

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Case
 Case3:16-cv-02186-WQH-MDD
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 1           Notice is hereby given that Plaintiffs Scott A. McMillan and The McMillan
 2 Law Firm, APC ("Plaintiffs"), hereby appeal to the United States Court of Appeal
 3 for the Ninth Circuit from the order closing this case entered on October 10, 2017
 4 [ECF 86], a copy of which is attached hereto, and the prior adverse rulings.
 5 Dated: November 5, 2017                        Respectfully submitted,
 6
 7                                                /s/ Scott A. McMillan
                                                  Scott A. McMillan, SBN 212506
 8                                                Attorneys for Plaintiffs
 9
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     3:16-CV-02186                  NOTICE OF APPEAL                                     2

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     7
     8                       UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional        ORDER
         corporation,
   12
                                     Plaintiffs,
   13          v.
   14    DARREN D. CHAKER, an individual,
         and as trustee of PLATINUM
   15    HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
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                                           318
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 Case3:16-cv-02186-WQH-MDD
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                                                                             36 of 6
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 1                            NOTICE OF REPRESENTATION
                                  [Ninth Circuit Rule 3-2]
 2
 3    The McMillan Law Firm, APC             Scott A. McMillan, CBN 212506
 4    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 5                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 6
      Scott A. McMillan                      Scott A. McMillan, CBN 212506
 7    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 8                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 9
10
      Darren D. Chaker                       Represented by
11    an individual, and as trustee of       Charles Thomas Spagnola
      PLATINUM HOLDINGS GROUP                Sullivan Krieger Truong Spagnola &
12    TRUST                                  Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
13    Defendant - Appellee                   Long Beach, CA 90802
                                             562-597-7070
14                                           Fax: 562-597-7772
                                             Email:
15                                           cspagnola@sullivankrieger.com
16                                           Eliot Franklin Krieger
                                             Sullivan Krieger Truong Spagnola &
17                                           Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
18                                           Long Beach, CA 90802
                                             562-597-7070
19                                           Fax: 562-597-7772
                                             Email: ekrieger@sullivankrieger.com
20                                           Adam M Tamburelli
21                                           Sullivan, Krieger, Truong, Spagnola &
                                             Klausner, LLP
22                                           444 West Ocean Boulevard
                                             Suite 1700
23                                           Long Beach, CA 90802
                                             562-597-7070
24                                           Email:
                                             atamburelli@sullivankrieger.com
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     3:16-CV-02186                 NOTICE OF APPEAL                                  4

                                          319
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 Case3:16-cv-02186-WQH-MDD
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                                                 11/05/17    PageID.4543Page
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                                                                             37 of 6
                                                                                   85of
                                     1196


 1    Vania Chaker                              Represented by
 2    an individual and as beneficiary of The
      Island Revocable Trust under              Ryan G. Baker
 3    Declaration of Trust dated June 2,        Baker Marquart, LLP
      2015                                      2029 Century Park East
 4                                              Suite 1600
                                                Los Angeles, CA 90067
 5    Defendant - Appellee                      (424) 652-7800
                                                Fax: (424) 652-7850
 6                                              Email: rbaker@bakermarquart.com
      Nicole Chaker                             Represented by
 7    an individual, and as trustee of
      The Nicole Chaker Revocable               Rebecca Jo Smith
 8    Living Trust, U/A dated August 18,        Freeman Mathis & Gary, LLP
      2010                                      550 S. Hope St.
 9                                              22nd Floor
                                                Los Angeles, CA 90071
10    Defendant - Appellee                      213-615-7008
                                                Fax: 216-615-7100
11                                              Email: rjs@gilbertkelly.com
12
                                                Timothy W Kenna
13                                              Freeman Mathis & Gary, LLP
                                                550 South Hope Street
14                                              22nd Floor
                                                Los Angeles, CA 90071
15                                              (213)615-7116
                                                Fax: (213)615-7100
16                                              Email: t.kenna@gilbertkelly.com
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     3:16-CV-02186                 NOTICE OF APPEAL                               5

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                                                                              38 of 6
                                                                                    85of
                                      1196


 1                               CERTIFICATE OF SERVICE
 2           I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5           On November 5, 2017, I caused service of the following documents:
 6
 7 NOTICE OF APPEAL; STATEMENT OF REPRESENTATION [9TH Cir. R.
 8 3-2].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court's Electronic Filing Program on the designated
12 recipients via electronic transmission through the CM/ECF system on the Court's
13 website. The Court's CM/ECF system will generate a Notice of Electronic Filing
14 (NEF) to the filing party, the assigned judge, and any registered users in the case.
15 The NEF will constitute service of the document(s). Registration as a CM/ECF
16 user constitutes consent to electronic service though the court's transmission
17 facilities.
18
             I certify that the foregoing is true and correct.
19
             Dated: November 5, 2017
20
                                                      /s/ Scott A. McMillan
21                                                    ______________________
22                                                    Scott A. McMillan
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     3:16-CV-02186                     NOTICE OF APPEAL                                   6

                                                321
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Case3:16-cv-02186-WQH-MDD
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                                                                          39329 of
                                                                            of 85
                                    1196




                          Exhibit “E”
                                       322
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3798
                                             12/12/17     PageID.4546Page
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                                                                          40330 of
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1    Scott A. McMillan, CBN 212506
     THE MCMILLAN LAW FIRM , APC
2    4670 Nebo Drive, Suite 200
     La Mesa, California 91941-5230
3    (619) 464-1500 x 14
     Fax: (619) 828-7399
4
     Attorney for Plaintiff,
5    Scott A. McMillan and The McMillan Law Firm, APC
6
7
8                            CALIFORNIA SUPERIOR COURT
9                                COUNTY OF SAN DIEGO
10
     SCOTT A. MCMILLAN, an individual,            Civil Case No.:
11   THE MCMILLAN LAW FIRM, APC, a
     California professional corporation,         Complaint for Damages and Injunctive
12                                                Relief arising from
           Plaintiffs,                            1.     Civil Extortion
13                                                2.     Unfair Competition, Bus. & Prof.
           vs.                                           Code section 17200
14
     DARREN D. CHAKER an individual, and                DEMAND FOR JURY TRIAL
15   as trustee of PLATINUM HOLDINGS
     GROUP TRUST, dba COUNTER
16   FORENSICS; NICOLE CHAKER, an
     individual, and as trustee of THE NICOLE
17   CHAKER REVOCABLE LIVING TRUST,
     U/A dated August 18, 2010, VANIA
18   CHAKER, an individual and as beneficiary
     of The Island Revocable Trust under
19   Declaration of Trust dated June 2, 2015,
     MARCUS MACK as trustee of The Island
20   Revocable Trust under Declaration of
     Trust dated June 2, 2015, and DOES 1
21   through X, inclusive,
22         Defendants.
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                                            323
Case
Case3:16-cv-02186-WQH-MDD
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                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3799
                                             12/12/17     PageID.4547Page
                                                                       Page
                                                                          41331 of
                                                                            of 85
                                    1196


1    Plaintiffs allege as follows:
2           1. On August 28, 2017, the United States District Court for the Southern District
3    of California entered an order of dismissal of the action Scott McMillan, et al., v. Darren
4    Chaker, et al., U.S.D.C So. Dist. Case No. 3:16-cv-2186 (“Federal Action”) entered an
5    order granting a motion to dismiss the federal claim for Racketeering, and declined to
6    exercise supplemental jurisdiction over the supplemental state claims. [ECF 83.] 28
7    U.S.C. section 1367, subdivision (d) tolls the applicable statute of limitations for such
8    claims during the pendency of the Federal Action. The Federal Action was filed on August
9    29, 2016.
10                                           THE PARTIES
11          2. Plaintiff, SCOTT A. MCMILLAN (hereinafter referred to as “Plaintiff
12   McMillan”), is a resident of the State of California, County of San Diego. Plaintiff is a
13   California licensed attorney, and is engaged in intra-state, and interstate commerce in the
14   course of his practice. Plaintiff McMillan also operates a law school, the McMillan
15   Academy of Law, a California corporation, which is unaccredited, but registered with the
16   Committee of Bar Examiners, State Bar of California. Plaintiff McMillan has a property
17   interest in the right to practice his profession as a licensed attorney.
18          3. Plaintiff, THE MCMILLAN LAW FIRM, APC, a California professional
19   corporation, (hereinafter referred to as “Plaintiff TMLF”) has its principal place of
20   business in the County of San Diego, State of California. Plaintiff McMillan operates
21   Plaintiff TMLF. TMLF has a property interest in its “goodwill” as such term is defined at
22   California Business and Professions Code sections 14100 and 14102.
23          4. Defendant, DARREN CHAKER (a.k.a. Darren Del Nero a.k.a. Darren Del Nero-
24   Chaker a.k.a. Darren Shaker, a.k.a. D. David Hunter) (hereinafter referred to as “Defendant
25   DARREN”), is presently a resident of the State of California, County of San Diego.
26   Defendant DARREN conducts business through and holds assets as trustee in PLATINUM
27   HOLDINGS GROUP TRUST, a self-settled trust. Plaintiff is further informed and believes
28   that Defendant DARREN conducts business under the pseudonym or doing-business-as


                                                Complaint                                          2

                                                   324
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3800
                                             12/12/17     PageID.4548Page
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                                                                          42332 of
                                                                            of 85
                                    1196


1    “COUNTER FORENSICS.” Defendant DARREN was deemed a vexatious litigant in
2    Superior Court of California, County of San Diego Case Nos. 591421 (December 2, 1997)
3    and GIC757326 (June 22, 2001).
4             5. Defendant VANIA CHAKER, also know as Valentina Chanel, (hereinafter
5    referred to as “Defendant VANIA”) is presently a resident of the State of California,
6    County of San Diego, and is Defendant’s Darren’s sister. On one or more occasions,
7    VANIA has participated in the acts set forth herein, providing assistance to Defendant
8    DARREN in committing predicate acts. Plaintiff is informed and believes that Defendant
9    VANIA conducts business through and holds assets as beneficiary in a self-settled trust,
10   which shall be referred to herein as THE ISLAND REVOCABLE TRUST, dated June 2,
11   2005. Defendant Marcus Mack is sued solely in his capacity as Trustee of the THE
12   ISLAND REVOCABLE TRUST, dated June 2, 2005.
13            6. Defendant NICOLE CHAKER (hereinafter referred to as “Defendant NICOLE”),
14   is the mother of Defendant DARREN and Defendant VANIA. On one or more occasions,
15   Defendant NICOLE has participated in the acts set forth herein, providing assistance to
16   Defendant DARREN in committing predicate acts. Plaintiff is informed and believes that
17   Defendant NICOLE conducts business through and holds assets as trustee in a trust, which
18   shall be referred to herein as THE NICOLE CHAKER REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010. Defendant NICOLE is sued both individually and as trustee of said
20   trust.
21            7. Plaintiffs do not know the true names of Defendants DOES I-X, inclusive, and
22   therefore sues them by those fictitious names. Plaintiffs will amend this complaint to
23   allege their true names and capacities when ascertained. Plaintiffs are informed and believe,
24   and on the basis of that information and belief, alleges that each of those fictitiously named
25   Defendants were in some manner proximately responsible for the events and occurrences
26   alleged in this complaint, and that Plaintiff’s injuries and damages as alleged herein were
27   proximately caused by the acts of these Defendants.
28            8. Plaintiff is informed and believes, and on the basis of that information and belief,


                                                Complaint                                           3

                                                   325
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3801
                                             12/12/17     PageID.4549Page
                                                                       Page
                                                                          43333 of
                                                                            of 85
                                    1196


1    alleges that at all times mentioned in this complaint, Defendants were the agents and
2    employees of their co-defendants, and in doing the things alleged in this complaint were
3    acting within the course and scope of that agency and employment.
4           9. Plaintiffs are informed and believe, and based thereon alleges that Defendants
5    and each of them, including DOES 1 through X, inclusive, were the co-employers, agents,
6    servants, employees, successors, assignees, transferees, trustees, and/or joint venturers of
7    its co-defendants, and each was, as such, acting within the course, scope and authority of
8    said agency, employment and/or joint venture and was acting with the consent, permission
9    and authorization of each of the remaining Defendants. Also, Defendants, when acting as a
10   principal, may have been negligent in the selection and hiring of each and every other
11   Defendant as agent, employee and/or joint venturer. All actions of each Defendant as
12   alleged herein were ratified and approved by every other Defendant or its officers or
13   managing agents.
14         DEFENDANTS’ ENTERPRISE AND PRIOR ACTIONS IN CONCERT
15          10. Defendants rely on keeping their past conduct, criminal convictions, lawsuits,
16   and generally bad reputation out of public view. To accomplish this the defendants
17   regularly use pseudonyms, attempt to seal documents and proceedings which may alert the
18   public to information about Defendants that if known, would provide a defense or would
19   affect a fact-finder’s view on their credibility.
20          11. Defendant DARREN falsely, and in order to gain credibility with unknowing law
21   enforcement and laypersons, holds himself out as a former law enforcement officer or
22   government security employee, including at various times claiming an “Ex-cop” or to be an
23   employee of the “Diplomatic Security Service.”
24          12. Plaintiffs are informed and believe, and based thereon allege that Defendant
25   VANIA is an attorney, currently licensed to practice law in the State of California.
26   Defendant VANIA has lived at various times in California and the Pennsylvania. Defendant
27   VANIA, as a profession, both individually on her own account and to assist Defendants
28   DARREN and NICOLE, engaged in litigation based on meritless or outright false claims,


                                                Complaint                                           4

                                                    326
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3802
                                             12/12/17     PageID.4550Page
                                                                       Page
                                                                          44334 of
                                                                            of 85
                                    1196


1    typically relying upon the Fair Credit Reporting Act, 15 U.S.C. § 1681, and on at least one
2    occasion bringing a claim for personal injury, deriving income from such fraudulent
3    activity. As part of her pattern of racketeering activity, Defendant VANIA has attempted
4    and sometimes succeeded in collecting unlawful debts, i.e., a claim based on false or
5    meritless legal claims, and derived income from such false claims and unlawful threats of
6    suit. For instance in Vania Chaker v. Monarch Group Management, Inc., U.S.D.C. So.
7    Dist. of Cal., Case No. 06cv1534W(AJB), Defendant VANIA brought a class action
8    complaint for violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692, et
9    seq. and the California Rosenthal Fair Debt Collection Practices Act, arising from her
10   landlord’s service of a three day notice to pay rent or quit on her. Defendant VANIA has
11   brought three other cases based on allegations of violations of the Fair Debt Collection
12   Practices Act, e.g., Vania Chaker v. Collection Company of America, U.S.D.C. So. Dist.
13   of Cal., Case No. 05cv390 BEN(AJB) [unpaid T-mobile cellular phone charges]; Vania
14   Chaker v. Allied Interstate, Inc., U.S.D.C. So. Dist. of Cal., Case No. 05cv0212
15   LAB(RBB)[unpaid DirectTV bills]; Vania Chaker v. CAMCO, U.S.D.C. So. Dist. of Cal.,
16   Case No. 04cv1735 W(RBB).
17          13. Plaintiffs are informed and believe, and based thereon allege that Defendant
18   VANIA did not solely file such suits in the Southern District of California, but also assisted
19   in cases in the Central District of California, appearing as attorney in the suit brought by
20   Defendant DARREN subnom (Darren Del Nero) and Defendant NICOLE alleging
21   defendant’s violations of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692, et
22   seq.. Specifically, Defendants DARREN and NICOLE brought suit against Midland Credit
23   Management Inc., in the case of Del Nero & Chaker, et al., v. Midland Credit
24   Management Inc., U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-01040-ABC-SH.
25   Defendant DARREN and his attorneys were sanctioned $155,979.09 after the court found
26   that Defendant DARREN brought suit in bad faith and for the purpose of harassment. (Del
27   Nero v. Midland Credit Management Corp. et al., 2:04-cv-01040-ABC-SH.(Attorneys
28   fee award later vacated against Chaker’s counsel.) The Court issued an order to show cause


                                               Complaint                                            5

                                                  327
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3803
                                             12/12/17     PageID.4551Page
                                                                       Page
                                                                          45335 of
                                                                            of 85
                                    1196


1    re contempt for Defendant VANIA’s conduct during the jury trial, and barred her from the
2    courtroom during the remainder of the trial. The court’s basis for the order was that
3    Defendant VANIA attempted to aid a witness in answering counsel’s questions. [ECF 91.]
4    Defendant VANIA also represented Defendant DARREN subnom (Darren Del Nero) in
5    Darren Del Nero v. Reliable Adjustment Bureau Inc et al, U.S.D.C. Cen. Dist. of Cal.,
6    Case No. 2:04-cv-00969-FMC-JWJ, another case alleging violations of 15 U.S.C., § 1681.
7    In each of those instances, in a likely effort to avoid Defendant DARREN’s prefiling order
8    as a vexatious litigant, Defendant VANIA initially appeared on Defendant DARREN’s
9    behalf, then substituted out to allow Defendant DARREN to prosecute the case in propria
10   persona. Defendant VANIA engaged in such transitory representation of Defendant
11   DARREN to assist him avoiding the bar of the prefiling orders placed resulting from his
12   designation as a vexatious litigant.
13          14. As to Defendant DARREN, Plaintiffs are informed and believe, and based
14   thereon allege that Defendant DARREN holds himself out to the public as operating a
15   business called COUNTER FORENSICS. The COUNTER FORENSICS web page described
16   its services as follows:
17          “Founded in 2006, the origination of CounterForensics.com can be traced to
            the cyber security and forensics background of our consultant, Darren
18          Chaker. Mr. Chaker (www.DarrenChaker.com) previously worked in law
            enforcement, and as a security contractor in the Middle East. More recently,
19          Mr. Chaker managed electronic discovery (e-discovery) for a leading
            multinational law firm conducting large-scale digital forensic investigations,
20          and provided electronic discovery services involving civil, corporate and
            criminal matters. Mr. Chaker also implemented security enforcement
21          protocols and systems with Military Grade Communications for use between
            international offices to discuss sensitive matters. Mr. Chaker has additional
22          expertise in matters involving:
            • Software piracy;
23          • Sexual harassment via e-mail, instant messaging and other forms of electronic
            communications;
24          • Monitoring employee activity;
            • Employee sabotage;
25          • Intrusion detection;
            • Recovery of deleted files;
26          • Lost password recovery and cracking of locked files;
            • Discovery of hidden and deleted e-mails and pictures;
27          • Internet usage and unauthorized software installed on a company machine; and
            Removal of viruses, pictures, software and other data items which may be hidden
28          from the user.
            See Exhibit 6,

                                              Complaint                                         6

                                                 328
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3804
                                             12/12/17     PageID.4552Page
                                                                       Page
                                                                          46336 of
                                                                            of 85
                                    1196


1           https://web.archive.org/web/20150208142616/http://www.counterforensics.com/
2           (Accessed on August 23, 2016.)
3           15. At various times relevant to the facts stated herein, Defendant DARREN has
4    resided in California, Nevada and Texas, and engaged in transactions and acts affecting
5    interstate commerce:
6           16. Defendant DARREN has, as a profession, engaged in litigation based on
7    meritless or outright false claims, typically relying upon the Fair Credit Reporting Act, 15
8    U.S.C. § 1681, and on at least one occassion bringing a claim for personal injury, deriving
9    income from such fraudulent activity. As part of his pattern of racketeering activity,
10   Defendant DARREN has attempted and sometimes succeeded in collecting unlawful debts,
11   i.e., a claim based on false or meritless legal claims, and derived income from such false
12   claims and unlawful threats of suit.
13          17. In another 2005 case, attorney’s fees of $42,934.84 were awarded against
14   Defendant DARREN for filing a baseless lawsuit. (Chaker v. Richland (C.D. Cal. 2005)
15   CV 05-7851-RSWL; See also Chaker v. Imperial Collection Services (C.D. Cal. 2004)
16   CV 04-2728-PA (alleging claims under the FDCPA found to be without merit); and Del
17   Nero v. Riddle & Associates PC, et al. (C.D. Cal. 2003) CV 03-6511-GHK (same).) In a
18   2007 case, Defendant DARREN and his attorneys were sanctioned $155,979.09 after the
19   court found that Defendant DARREN brought suit in bad faith and for the purpose of
20   harassment. (Del Nero v. Midland Credit Management Corp. et al. (C.D. Cal. 2007) CV
21   04-1040 GPS.) In a 2009 case, Defendant DARREN was ordered to pay $136,316.14 for
22   bad faith due to Defendant DARREN falsely claiming identity theft. (Chaker v. Nathan
23   Enterprises Corp. (C.D. Cal. 2009) CV 04-2726-RSWL.)
24          18. Defendant DARREN filed other suits based allegations of violations of Fair
25   Credit Reporting Act, 15 U.S.C. § 1681, i.e., Darren Chaker-Del Nero v. Afni, Inc.,
26   U.S.D.C. Cen. Dist. of Cal., Case No. 2:08-cv-03405-ODW-SS; Darren D Chaker v. First
27   City Bank Credit Union, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-02727-GPS-RZ;
28   Darren D Chaker v. Factual Data Corporation, U.S.D.C. Cen. Dist. of Cal., Case No.


                                              Complaint                                             7

                                                 329
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3805
                                             12/12/17     PageID.4553Page
                                                                       Page
                                                                          47337 of
                                                                            of 85
                                    1196


1    2:04-cv-02729-JFW-AJW; Darren D Chaker v. European Auto House, U.S.D.C. Cen.
2    Dist. of Cal., Case No. 2:04-cv-02731-R-PJW; Darren Chaker v. Arrow Financial
3    Services LLC, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-07050-FMC-FMO.
4           19. Defendants have a pattern of attacking the attorneys which oppose them in their
5    racketeering activities, i.e., in Darren D Chaker v. Felipa R. Richland, et al., U.S.D.C.
6    Cen. Dist. of Cal., Case No. 2:05-cv-07851-RSWL-PLA, Defendant DARREN sued
7    attorney Richland and her law office, and her client Nathan Enterprises Corp. for alleged
8    violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681. Plaintiff is informed and
9    believes and based thereon alleges that during her defense of the both cases, Ms. Richland
10   was stalked, and her property vandalized. Ultimately, Ms. Richland and her client prevailed,
11   with Defendant DARREN held liable for costs and attorneys fees. [ECF 25, 26.]
12          20. Defendant DARREN, subnom Darren Chaker Del-Nero, brought additional
13   suits in the United States District Court for the District of Nevada based on allegations of
14   violation of the Fair Credit Billing Act, 15 U.S.C. § 1666, e.g., Chaker-Delnero v. Nevada
15   Federal Credit Union, et al, U.S.D.C. District of Nevada., Case No.,
16   2:06-cv-00008-BES-GWF; for violations of the Fair Debt Collections Practices Act, 15
17   U.S.C. § 1692, Chaker-Delnero v. Butler & Hailey, et al, U.S.D.C. District of Nevada.,
18   Case No. 2:06-cv-00022-KJD-LRL, Chaker-Delnero v. Clark County Collection Service,
19   LLC, U.S.D.C. District of Nevada, 2:06-cv-00123-JCM-PAL, and Chaker-Delnero v.
20   Collectco, U.S.D.C. District of Nevada, 2:06-cv-00244-RLH-GWF. In each of these cases,
21   docket entries reflect a voluntary dismissal. Plaintiff is informed and believes that in those
22   cases, the Defendants paid a sum to “buy their peace” rather than to spend attorneys fees
23   litigating the case, despite the lack of the merit to Defendant DARREN’s claims.
24          21. Defendant DARREN, subnom Darren Chaker, brought additional suit in the
25   United States District Court for the Southern District of Texas (Houston) based on
26   allegations of violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692,
27   Chaker v. The CMI Group, U.S.D.C. Southern District of Texas (Houston),
28   4:07-cv-01802F [Time Warner Communications.] In that case, the docket entries reflect a


                                               Complaint                                              8

                                                  330
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3806
                                             12/12/17     PageID.4554Page
                                                                       Page
                                                                          48338 of
                                                                            of 85
                                    1196


1    voluntary dismissal. Plaintiff is informed and believes that in that case, the Defendants paid
2    a sum to “buy its peace” rather than to spend attorneys fees litigating the case, despite the
3    lack of the merit to Defendant DARREN’s claims.
4           22. Defendant DARREN, subnom David Hunter, brought additional suit in the
5    United States District Court for the District of Arizona, entitled Hunter v. Receivables
6    Performance Management, LLC, U.S.D.C. District of Arizona, 2:10-cv-00665-MHM
7    [Sprint cellular phone service]. Within that suit Defendant DARREN attached letters
8    claiming an address at 11881 S. Fortuna Road, #223, Yuma, AZ 85367 [Exhibit B, ECF 1-
9    3.] In that case, the docket entries reflect a voluntary dismissal. Plaintiff is informed and
10   believes that in that case, the Defendant paid a sum to “buy its peace” rather than to spend
11   attorneys fees litigating the case, despite the lack of the merit to Defendant DARREN’s
12   claims.
13         SEX TRAFFICKING AND HISTORY OF CRIMINAL PROSECUTIONS
14          23. Plaintiff is informed and believes and based thereon alleges that Defendant
15   DARREN also engaged, within the last ten years, in human trafficking, and derived income
16   from such activity. As reflected in Exhibit A, which will be filed under seal herein,
17   Plaintiffs represented a victim of DARREN’s sex trafficking enterprise in court
18   proceedings initiated by DARREN, and as a consequence were subjected to the extortion,
19   and reprisal described herein by Defendants.
20          24. Defendant DARREN’s record of arrests and prosecutions (RAP) reveals arrests
21   for insufficient funds/check, attempting to prevent/dissuade victim/witness, receiving
22   known stolen property, vehicle theft, first degree burglary, grand theft, and being in
23   possession of an assault weapon. He was convicted of invading/looking into a tanning booth
24   (1997), and possession of an assault weapon (2006). Such crimes were punishable by a year
25   or more incarceration.
26          25. Plaintiff is informed and believes, and based thereon alleges that Defendant
27   NICOLE has suffered a felony conviction in the State of California.
28       FALSE STATEMENTS IN ORDER TO OBTAIN MONEY OR PROPERTY


                                                Complaint                                            9

                                                   331
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3807
                                             12/12/17     PageID.4555Page
                                                                       Page
                                                                          49339 of
                                                                            of 85
                                    1196


1           26. Defendant DARREN also obtained mortgages on real estate through false
2    statements, and thereafter rather than paying the mortgages, Defendant DARREN kept the
3    rents from such properties to fund his enterprises, and when his mortgagors sought to
4    recover their real property collateral, Defendant DARREN filed false bankruptcy petitions
5    in order to stall or avoid the foreclosure and continue to collect rental income.
6           a. Defendant DARREN used the ill-gotten proceeds of his enterprise to fund his
7           lifestyle and further his illegal activities including through the purchase of
8           computers, paying for travel, development of various domain names and online
9           presences to the detriment of Plaintiff herein.
10          b. In order to dissuade those members of law enforcement and attorneys in private
11          practice who would challenge Defendant DARREN’s criminal conduct, including
12          Plaintiff herein, Defendant DARREN used various means and threats, including
13          harassment, stalking, defaming others, vandalizing property, hacking computers,
14          spoofing emails, and identity theft.
15          c. Defendant DARREN has used the proceeds of his racketeering activity to
16          purchase computers, equipment, and Internet access services in order to engage in
17          his and Defendants VANIA and NICOLE’s frauds, and efforts to dissuade those who
18          oppose their illegal conduct, including Plaintiff herein.
19          d. On March 22, 2012, Defendant DARREN was indicted in United States v.
20          Darren David Chaker, Case No. 4:12CR00168-001, and thereafter granted pre-
21          trial release under supervision with U.S. Pretrial Services. The Indictment, attached
22          as Exhibit 1, alleges a portion of Defendants’ scheme, which Plaintiff incorporates
23          by reference here.
24          e. While on supervision with U.S. Pretrial Services, through false statements to a
25          United States officer, he violated his terms of release by failing to disclose to U.S.
26          Pretrial Services and the Court the fact that he procured a U.S. Passport using the
27          alias “D. David Hunter.”
28          f. On December 17, 2013, Defendant DARREN suffered a Judgment in a Criminal


                                               Complaint                                             10

                                                   332
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3808
                                             12/12/17     PageID.4556Page
                                                                       Page
                                                                          50340 of
                                                                            of 85
                                    1196


1           Case in the case entitled United States v. Darren David Chaker, Case No.
2           4:12CR00168-001, in the United States District Court for the Southern District of
3           Texas (Houston), for Bankruptcy Fraud, 18 U.S.C § 157(3). On April 14, 2016, that
4           conviction was affirmed by the United States Court of Appeals for the Fifth Circuit,
5           case number 14-20026, as reported in United States v. Chaker, 820 F.3d 204, 206
6           (5th Cir. 2016). He was sentenced to a total term of 15 months, and was additionally
7           sentenced to three years supervised release, as part of the special conditions of
8           supervision was ordered:
9           “The defendant shall provide the probation officer access to any requested
            financial information. If a fine or restitution amount has been imposed, the
10          defendant is prohibited from incurring new credit charges or opening
            additional lines of credit without approval of the probation officer.
11
            The defendant is prohibited from possessing a credit access device, such as a
12          credit card, unless first authorized by the probation officer.
13          The defendant is required to participate in anger management counseling as
            deemed necessary and approved by the probation officer. The defendant will
14          incur costs associated with such program, based on ability to pay as
            determined by the probation officer.
15
            The defendant is required to participate in a mental health program as deemed
16          necessary and approved by the probation officer. The defendant will incur
            costs associated with such program, based on ability to pay as determined by
17          the probation officer.
18          The defendant may not stalk and/or harrass other individuals to include, but
            not limited to, posting personal information of others or defaming a person's
19          character on the internet.”
20   (ECF 312, 4:12CR00168-001)
21          27. On November 7, 2016, the district court in United States v. Darren David
22   Chaker, U.S. District Court, Southern District of California, Case No.
23   3:15-cr-07012-LAB, struck the condition “The defendant may not stalk and/or harrass
24   other individuals to include, but not limited to, posting personal information of others or
25   defaming a person's character on the internet.”
26
        DEFENDANTS’ HISTORY OF EXTORTION AND WITNESS TAMPERING
27
            28. Victim Zaya: Plaintiffs are informed and believe that, in accordance with
28
     Defendants’ common plan and scheme, Defendant DARREN committed one or more acts

                                               Complaint                                           11

                                                  333
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3809
                                             12/12/17     PageID.4557Page
                                                                       Page
                                                                          51341 of
                                                                            of 85
                                    1196


1    of extortion against Nadine Zaya:
2          a. Plaintiff is informed and believes, and based thereon alleges, that Defendant
3          DARREN formerly had a dating relationship with Nadine Zaya. At some point
4          between August and October 2002, Defendant DARREN and Zaya, traveled from
5          Southern California to Scottsdale, Arizona. Petitioner took Zaya to a gun store,
6          where he purchased the Rifle, a licensed reproduction of a Fabrique Nationale FAL
7          (FN-FAL) battle weapon. At the gun store, petitioner told Zaya he once owned “the
8          exact same gun” but his mother had taken it away from him.
9          b. After Defendant DARREN purchased the Rifle, he made Zaya take pictures of
10         him with it. He also made Zaya pose with the Rifle. Defendant DARREN then took
11         Zaya to a firing range, where he fired the Rifle and showed her how to shoot, hold,
12         and load it. When Zaya held the Rifle, Defendant DARREN reassured her, “It’s okay.
13         Look, it’s fun. . . . You’re going to be okay. I’m an ex-cop. I know how to shoot a
14         gun.” Shortly thereafter, petitioner and Zaya returned to California with the Rifle.
15         c. On October 14, 2002, Laguna Beach police officers visited Defendant
16         DARREN’s apartment to investigate allegations that he had sexually exploited a
17         minor. A police officer entered the apartment, knocked on a bedroom door, and
18         identified himself as a police officer. After some delay, Defendant DARREN
19         emerged from the bedroom and told the officer the room belonged to him. He
20         refused, however, to permit the police officers to search it. Defendant DARREN
21         called Zaya after the police officers left the apartment. He expressed concern that
22         the fully-assembled Rifle would be considered an illegal weapon. Defendant
23         DARREN told Zaya he was going to remove parts from the Rifle to “make it legal”
24         and asked her to keep the parts. The next day, the police officers returned to
25         Defendant DARREN’s apartment with a search warrant. During the search, an
26         officer found the Rifle in petitioner’s bedroom closet. He noticed the Rifle had a
27         detachable magazine and a pistol grip, but that it was missing its bolt carrier group.
28         The officers also found unloaded magazines and pictures of petitioner posing with


                                             Complaint                                            12

                                                334
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3810
                                             12/12/17     PageID.4558Page
                                                                       Page
                                                                          52342 of
                                                                            of 85
                                    1196


1        the Rifle at a firing range. In the pictures, the Rifle contained the bolt and the
2        magazine.
3        d. On November 18, 2002, the District Attorney of Orange County filed a felony
4        complaint charging defendant with one count of possession of an assault weapon
5        (Penal Code § 12280(b)) and one count of receiving stolen property (Penal Code §
6        496, subd. (a)). Shortly after the People filed the complaint, defendant began writing
7        letters to the court. In these letters, defendant claimed the police had illegally seized
8        privileged documents from his apartment. He also criticized the judges presiding
9        over his case and the attorneys assigned to represent him. On July 30, 2003 -- after
10       defendant had written six letters to various judges -- the court ordered defendant to
11       stop. The court notified defendant it would "not take action on personal
12       communications from a represented defendant when his case is pending before this
13       court." (People v. Chaker, No. G037362, 2008 Cal. App. Unpub. LEXIS 999, at
14       *4-5 (Ct. App. Feb. 4, 2008).)
15       e. Plaintiffs are informed and believe that in July 2005, the Superior Court of
16       California, County of San Diego issued a restraining order against Darren D. Chaker
17       pursuant to the Domestic Violence Protection Act (Fam. Code, § 6200 et. seq. (the
18       Act)), requiring him to stay away from Nadine Zaya for a five-year period. He
19       appealed from that order on various grounds, contending in part that Zaya's evidence
20       was insufficient to support its issuance; the Court of Appeals of California, Fourth
21       District, Division One, however, rejected his arguments and affirmed the order.
22       f. On June 15, 2006, Zaya filed a request for a temporary restraining order under
23       the Act against Chaker. In her request, Zaya stated under penalty of perjury that
24       Chaker made threatening calls to her and told her he would harm her or her family if
25       she testified in a pending criminal matter against him. (Zaya v. Chaker (Oct. 19,
26       2007, D049874) [nonpub. opn.].)
27       g. Thereafter, on or about July 19, 2006, and then again on or about December 8,
28       2006, Defendant DARREN sent nude photos of Zaya to Zaya’s brother’s employer,


                                            Complaint                                           13

                                               335
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3811
                                             12/12/17     PageID.4559Page
                                                                       Page
                                                                          53343 of
                                                                            of 85
                                    1196


1          which had been taken by Defendant DARREN.
2          29. Victims Frantz: Plaintiffs are informed and believe that the following is true
3    regarding Defendant DARREN’s efforts to extort San Diego attorneys James Frantz, Jodi
4    Frantz, and Charles Kim:
5          a. On or about December 2010, Jodi and James Frantz retained Charles Kim to
6          represent them in a civil protective action. Jodi Frantz sought a restraining order
7          against Defendant DARREN, in Hautaluoma v. Chaker, San Diego Superior Court
8          Case No. 717794.
9          b. Prior to the extortion attempt against James Frantz, Jodi Frantz, and Charles Kim,
10         Plaintiffs are informed and believe that Defendants engaged in acts of vandalism to
11         the property of James Frantz and Jodi Frantz, which they believed to have been
12         perpetrated and intended by Defendant DARREN to intimidate James Frantz and Jodi
13         Frantz and send a message.
14         c. In the preceding months to the extortion attempt, Jodi Franz was the victim of
15         financial fraud in the summer of 2010. Ms. Frantz had caused two of her then
16         current credit cards to be de-activated by the issuers due to fraud alerts. The recent
17         event happened in the week preceding the extortion attempt, while she was on
18         vacation. Ms. Frantz believed Chaker is responsible for the fraud. Ms. Franz
19         reported the thefts to her credit card issuers. She had unauthorized charges on credit
20         accounts from Bank of America, Union Bank, and Nordstrom. In the summer of
21         2010, Mr. Frantz also had his identity stolen, and used for credit card fraud. Mr.
22         Frantz believed Chaker was responsible for the fraud.
23         d. On December 22, 2010, at 2:54 a.m., Defendant DARREN caused a fax to be sent
24         to the office of Charles Kim. The fax included an inappropriate reference to the
25         death of James Patrick Frantz II (the son of James and Jodi Frantz). Also, Defendant
26         DARREN faxed a complete copy of a County of San Diego Investigative report
27         #10-01098 which documented the medical examiners death investigation in that
28         case. The fax referenced the social security number of Jodi Frantz and Dr. Christine


                                              Complaint                                          14

                                                 336
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3812
                                             12/12/17     PageID.4560Page
                                                                       Page
                                                                          54344 of
                                                                            of 85
                                    1196


1           Miller who treated Jodi Frantz. The fax contained threats to publish the social
2           security numbers and "embarrassing" medical information if Attorney Kim did not
3           agree to Chaker's demands. Also included was an apparent threat to file complaints
4           with the state bar association against Charles Kim and James Frantz if they did not
5           comply with his demands.
6           30. Victims Mateo: Nicole Mateo was in a relationship with Defendant DARREN,
7    which resulted in the birth of a daughter. Plaintiff is informed and believes that following
8    the efforts to obtain child support, Defendant DARREN initiated a campaign of harassment
9    against Wendy Mateo and her husband Steven Mateo. Steven Mateo is a deputy constable
10   with the Harris County Constable Office, in Spring, Texas. The Mateo’s hired an attorney by
11   the name of Cynthia Tracy to address Defendant DARREN’s conduct. In response,
12   Defendant DARREN initiated a harassment campaign that included sending sexually
13   explicit photos of Nicole Mateo to the employers of the Mateos, obtaining the email
14   passwords of various Mateo accounts, and sending emails containing sexually explicit
15   material through such accounts. The Mateo’s attorney, Cynthia Tracy, was targeted in a
16   blog post that also made false and defamatory statements about her. Ultimately, Attorney
17   Tracy declined to continue to represent the Mateos due to the aggravation and the expense
18   of dealing with Defendant DARREN.
19            DEFENDANTS’ EFFORTS DIRECTED AT PLAINTIFF HEREIN
20          31. Plaintiff operates a website called FEARNOTLAW.COM, and has operated that
21   site since 2005. Fearnotlaw.com maintains tens of thousands of unpublished decisions
22   from California’s court of appeals. The unpublished decisions were taken directly from the
23   website of the court of appeals and posted en masse, at various times. There was no
24   intentional targeting of Darren Chaker or any other subject of the decisions.
25          32. Defendant DARREN in this case initially contacted Plaintiff to demand removal
26   of decisions posted concerning his cases that had been decided by the Court of Appeals.
27   One of those decisions was Zaya v. Chaker, California Court of Appeal Case No.
28   D049874. In Zaya v. Chaker, the Court of Appeal affirmed a trial court’s imposition of a


                                              Complaint                                         15

                                                 337
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3813
                                             12/12/17     PageID.4561Page
                                                                       Page
                                                                          55345 of
                                                                            of 85
                                    1196


1    five year restraining order against Mr. Chaker imposed pursuant to the Domestic Violence
2    Protection Act, Fam. Code, 6200 et. seq. Defendant DARREN Chaker’s letter to Plaintiff
3    on November 22, 2010 contained Ms. Zaya’s original petition, which alleged that Mr.
4    Chaker posted bogus sex-service advertisements on Craigslist falsely attributed to Ms.
5    Zaya, and had threatened to post compromising photos and videos of Ms. Zaya online if she
6    testified against him in his felony assault-weapon case. Plaintiff did not remove any of the
7    appellate decisions from Fearnotlaw.com.
8           33. On or about Monday, November 22, 2010, Mr. Chaker had a letter personally
9    delivered to Plaintiff Scott McMillan’s mailbox, at his home. It was not in an envelope. He
10   addressed it to both Plaintiff Scott McMilla as "Scott" and his wife “Rebeca”. A true and
11   correct copy of that letter is attached hereto as Exhibit 3.
12          a. In the first paragraph of his letter of November 22, 2010, Mr. Chaker states:
13                 "We all have a First Amendment right to post online what we like
14          within reason. We also have the First Amendment right to re-publish public
15          records and make statements couched in opinion based upon facts. We
16          share in common public records in criminal and civil court both as a pro-per
17          plaintiff and defendant-including restraining orders despite yours was
18          dismissed. We also share that we have both filed about the same amount of
19          pro-per lawsuits–mine filed between 1994-96. Of course, I don't think any
20          less of you since its common for people to have a public record. In fact,
21          roughly 1 in 5 Californians have some kind of arrest record. Another
22          attorney with a public record is Lisa Laqua who unsuccessfully sued my
23          mother while representing a convicted felon with an active warrant for his
24          arrest at the time. Laqua had public records which contained lawsuit and
25          restraining order info too. Just Google "Lisa Laqua" which her blog
26          should be first or see http:/ /lisalaqua.blogspot.com/. . ."
27   [Exhibit 3, letter of November 22, 2010 (emphasis added).]
28          34.    In closing, Mr. Chaker then stated that Plaintiff take action by a specific


                                               Complaint                                         16

                                                   338
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3814
                                             12/12/17     PageID.4562Page
                                                                       Page
                                                                          56346 of
                                                                            of 85
                                    1196


1    deadline:
2                  "I encourage you to consider the attached, and/or pull the public
3           record to see the facts for yourself and if you believe the link should be
4           removed or allow all the facts to be disclosed to please do so. Again, you
5           have no obligations to comply, however, if you do, please act on this request
6           by this Tuesday no later than 3:30PM PST.
7           www.fearnotlaw.com/articles/article15009.html
8    [Exhibit 3, letter of November 22, 2010 (emphasis added).]
9           35. Plaintiff accessed the website “http:/ /lisalaqua.blogspot.com/” following his
10   receipt of that letter in 2010. The website stated numerous scandalous allegations about
11   Ms. Laqua. Thus, in reading Defendant DARREN’s letter of November 22, 2010, Plaintiff
12   reasonably understood that Defendant was threatening that if Plaintiff did not abide by his
13   demands by 3:30 p.m. on November 23, 2010. Plaintiff could expect to see scandalous
14   material posted about himself.
15          36. Defendant DARREN thereafter initiated a campaign of harassment and
16   vandalism against Plaintiff McMillan and his family. Usually during the holidays,
17   Plaintiff’s family’s cars would be vandalized. Plaintiff’s brother had the words “fearnotlaw”
18   scratched on the trunk of his BMW. In another instance, the driver’s side mirror of
19   Plaintiff’s brother’s truck was smashed. On that instance, a neighbor that heard the noise,
20   saw a black SUV driving rapidly away. Defendant DARREN owned at the time of the
21   incident a Black Dodge Durango. Plaintiff is informed and believes, and based thereon
22   alleges, that Defendant VANIA Chaker accompanied Defendant DARREN during that
23   vandalism.
24          37. Other members of Plaintiff McMillan’s family were attacked as well.
25   Plaintiff’s mother’s car had acid poured on the trunk. Plaintiff’s father’s car had its tires
26   slashed. After each event, Mr. Chaker would send Plaintiff an e-mail wishing him “happy
27   holidays” or making some other statement. It was clear to Plaintiff that Darren Chaker was
28   acknowledging the vandalism by his timing of his emails, and attempting to send a message


                                               Complaint                                             17

                                                   339
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3815
                                             12/12/17     PageID.4563Page
                                                                       Page
                                                                          57347 of
                                                                            of 85
                                    1196


1    and intimidate Plaintiff.
2            38. Thereafter, Defendant DARREN sent Plaintiff McMillan e-mails referring to
3    his dogs – which indicated to Plaintiff that he had come to his house and looked into his
4    back yard.
5            39. Because of Defendants’ activities, Plaintiff McMillan and his family members
6    installed security cameras around their houses. Plaintiff McMillan also installed security
7    cameras on the outside of the commercial building in La Mesa where Plaintiff TMLF has
8    its offices.
9            40. Defendant DARREN also began posting matters about Plaintiffs on the
10   Internet. These posts were false, scandalous, and libelous. They included the false
11   accusations that Plaintiffs had lost every appeal that Plaintiffs had filed, and that Plaintiff
12   was a fraud. Initially, Defendant DARREN published such false allegations and scandalous
13   statements on websites occupying domains that Defendant DARREN owned.
14           41. On June 17, 2011, Defendant DARREN notified Plaintiff that he was operating
15   a Blogger site at scott-mcmillan-law.blogspot.com. Plaintiff Scott McMillan had not
16   authorized him to use his name.
17           42. Since 2011 and through the present, derogatory and defamatory statements
18   about Plaintiffs have been posted on the internet at
19   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
20   ml#comments. Many of these statements are identical to statements Defendant DARREN
21   posted on his own websites.
22           43. Since 2011, someone has posted derogatory and defamatory statements about
23   Plaintiffs on the internet at the website domain pissedconsumer.com. Based on the
24   content, which is similar to what Defendant DARREN posted on his own website, Plaintiffs
25   are informed and believe and thereon allege the poster to be Defendant DARREN.
26           44. Through the years, clients have contacted Plaintiff McMillan to let him know
27   that they have seen the Defendant DARREN ’s posts concerning Plaintiff on the Internet.
28   Chaker’s posts were troubling to Plaintiffs’ clients.


                                                Complaint                                              18

                                                   340
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3816
                                             12/12/17     PageID.4564Page
                                                                       Page
                                                                          58348 of
                                                                            of 85
                                    1196


1           45. Because Defendant DARREN had posted about Plaintiff on the Internet, others
2    that had conflicts with Defendant DARREN contacted Plaintiff for advice and
3    representation in dealing with Defendant DARREN . Plaintiff has provided that
4    representation pro-bono, and advanced the expenses.
5           46. Plaintiff ultimately represented Wendy Mateo, one of the Defendant
6    DARREN’s victims, in Chaker v. Mateo, San Diego Superior Court case,
7    37-2010-00094816-CU-DF-CTL, Hon. Timothy B. Taylor, Judge presiding. Wendy Mateo
8    is the mother of Nicole Mateo. Plaintiff is informed and believes that Nicole Mateo had a
9    brief relationship with Darren Chaker, which resulted in the birth of their daughter.
10   Plaintiff began representing Ms. Wendy Mateo, the grandmother of Darren Chaker’s child
11   during the pendency of Darren Chaker’s appeal of the judgment in the Chaker v. Mateo
12   case. That appeal resulted in the published decision of Chaker v. Mateo, 209 Cal. App. 4th
13   1138 (2012). Following that appeal, the Superior Court awarded Plaintiffs attorneys fees.
14   Those attorneys fees awarded have been the subject of judgment debtor examinations and
15   orders from Judge Taylor as discussed below.
16          47. Thereafter, Plaintiff began representing Susan A. in a paternity case filed in the
17   San Diego Superior Court entitled Chaker v. A (the “Paternity Case”). Ms. A had also
18   been in a relationship with Mr. Chaker. Ms. A. sets out her experience with Chaker in her
19   declaration dated July 11, 2013, a true and correct copy of which is referenced herein as
20   Exhibit ‘A’, to be filed under seal in this court. Mr. Chaker claims that Ms. A.’s child, L, is
21   the product of that relationship. Ms. A. disputes that Mr. Chaker is the father, biological or
22   otherwise, of her child L.
23          48. On July 12, 2013, Plaintiff McMillan filed a document in the Paternity Case,
24   which included statement from Leesa Fazal, State of Nevada Office of the Attorney
25   General, who had provided her confidential investigative report for submission in the
26   Paternity Case, signed on July 11, 2013. A true and correct copy of which is referenced
27   herein as Exhibit ‘2’, to be filed under seal in this court.
28          49. On July 22, 2013, at 8:45 a.m., Officer Fazal appeared in San Diego Superior


                                                Complaint                                        19

                                                   341
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3817
                                             12/12/17     PageID.4565Page
                                                                       Page
                                                                          59349 of
                                                                            of 85
                                    1196


1    Court, according to Plaintiff’s subpoena to testify in the Paternity Case regarding the facts
2    alleged in the above mentioned Declaration. Officer Fazal and Plaintiff McMillan appeared
3    before the Superior Court, Judge Gerald Jessop, presiding. The court did not have time to
4    hear the case in the morning, and ordered Ms. Fazal and Mr. Chaker back to court later that
5    afternoon. As they exited the court, Defendant DARREN followed Ms. Fazal and Plaintiff
6    McMillan a short distance, and walked at a quick pace with his mobile telephone in his hand
7    and appeared to take video of them while laughing loudly. At that time, Ms. Fazal had not
8    yet testified, and Defendant DARREN’s behavior was purposefully threatening and an
9    apparent effort to intimidate Officer Fazal, prior to her testimony.
10          50. When Plaintiff McMillan and Officer Fazal returned they were accompanied by
11   licensed private investigator Richard Rivero. Following the hearing Defendant VANIA
12   approached Richard Rivero in a rapid manner, within a couple feet, and asked him what he
13   was doing there and demanded his name. Although he had not been called to testify, Rivero
14   responded that he was a witness, he would speak to Defendant VANIA in the presence of
15   court personnel, and attempted to pass her. Defendant VANIA blocked his and Plaintiff
16   McMillan and Officer Fazal’s exit, so Plaintiff, Rivero and Fazal returned to the court
17   room, and Defendant VANIA followed. Thereafter, the courtroom deputy ordered
18   Defendant VANIA to leave, and to leave Rivero, Plaintiff McMillan and Ms. Fazal alone.
19   The courtroom deputy allowed Rivero, Plaintiff McMillan and Ms. Fazal, and shortly
20   therafter, confirmed that Defendant VANIA was not awaiting them outside the courtroom.
21          51. Plaintiff McMillan, Officer Fazal and Rivero exited the courtroom, then entered
22   the elevator to descend to the lobby. After exiting the elevator and entering the lobby.
23   Defendant DARREN blocked the doorway exit and in a loud and commanding voice
24   demanded that Officer Fazal be arrested for being armed. He wanted to place her under
25   citizen's arrest. Officer Fazal was escorted to the side while the deputies determined that
26   there were no grounds to arrest. While they waited, the Defendant VANIA entered the
27   location and brushed by Rivero as she entered the elevator.
28          52. Rivero left the building with Officer Fazal, Rivero then noted Defendant


                                               Complaint                                         20

                                                  342
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3818
                                             12/12/17     PageID.4566Page
                                                                       Page
                                                                          60350 of
                                                                            of 85
                                    1196


1    VANIA’s black SUV following him at a high speed. Rivero pulled to the side. Defendant
2    VANIA stopped her SUV in the middle of the street adjacent to Rivero’s vehicle. Rivero
3    felt that Defendant VANIA was attempting to intimidate him. Rivero noticed Defendant
4    DARREN hunched down in the passenger’s seat so as to not be identified. Such chase was
5    intended, and did intimidate Officer FAZAL in that it gave her additional concern regarding
6    participating in the legal proceedings.
7           53. On July 24, 2013, and thereafter during the pendency of the Paternity Case,
8    Plaintiff and his client provided the United States materials and information regarding
9    Defendant DARREN, specifically that Defendant DARREN had a “go kit” which included a
10   passport under his identity “David Hunter”. Which information Plaintiff understands
11   resulted in the revocation of Defendant DARREN ’s pre-trial release. During Defendant
12   DARREN’s resulting incarceration, the Chaker v. A case was dormant.
13          54. During his incarceration, Darren Chaker’s mother, Nicole Chaker appeared at
14   least once at a hearing in that case.
15          55. Plaintiff is informed and believes, and based thereon alleges that, in that interim
16   period Defendant DARREN was incarcerated, such custody began on or about August of
17   2013 through September of 2014, also during that time, i.e., on or about January 21, 2014,
18   Plaintiff received at least one letter from Mr. Chaker that were drafted by Defendant
19   NICOLE at Defendant DARREN’S request.
20          56. On or about February 2014, while Defendant DARREN was incarcerated,
21   Defendant NICOLE sent Plaintiffs’ and his client’s mother Candy C. each a copy of the
22   same letter. A true and correct copy of which is referenced herein as Exhibit ‘4’, to be
23   filed under seal in this court. The letter contained the following demands and threats:
24                  A.     Demand against McMillan, Susan A., Candy C.:
25          “In short, while in custody, I would like to speak to my son, starting with five
26          minutes by phone, at least once a week, which means, I immediately would
27          need a phone number at all time in order to contact him. I made a similar
28          request to you last August and you chose to ignore it.”


                                               Complaint                                        21

                                                 343
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3819
                                             12/12/17     PageID.4567Page
                                                                       Page
                                                                          61351 of
                                                                            of 85
                                    1196


1    ¶ 2. First and Second Sentences.
2                  B.       Threat - Implied against client Susan and mother Candice:
3           “Information came to my attention, that her mother Candice was claiming her
4           and L-- from her taxes, when they were both in my care for 2 years and that
5           does not include the long list of items my sister and mother have gotten them
6           on daily basis, let alone all the restaurants they were taken to, plenty of
7           receipts and pictures that will reflect so. Susan’s sixteen year old son, J-----n,
8           was also deducted by Candice when he lived full time with his paternal
9           grandparents and father in Riverside.”
10                 C.       Threat - implied against client Susan and mother Candice:
11          “I am putting Candy “C” C-- on notice so she could save all of Susan A—‘s
12          “government aid applications” six of them, in 4 states, which are signed under
13          the penalty of perjury, all receipts which conflict greatly with what we have to
14          present. Susan failed to list her mother’s alleged support in six different
15          applications for government aid, actually they both lied to the IRS, for years.”
16                 D.       Demand against Scott McMillan:
17          Attorney McMillan, additional information came to my attention about your
18          negative opinion of me, established attorneys and the ACLU, on the internet.
19          I will ask you to immediately remove any detrimental opinion by you and
20          your friends.
21                 E.       Threat against Scott McMillan and Susan A.
22          “You never considered the fact that due to your conduct your client may
23          suffer. I should remind you the First Amendment is a 2 way street and I have
24          the right to express my opinion as well.
25                 F.       Threat against Candy C----
26          “I am copying Candy “C” C---- on this letter to place her on notice once
27          again, to retain any and all writings, including, but not limited to receipts used
28          to allegedly support Susan and L---, text messages, electronic email, phone


                                               Complaint                                         22

                                                   344
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3820
                                             12/12/17     PageID.4568Page
                                                                       Page
                                                                          62352 of
                                                                            of 85
                                    1196


1           records, IRS filings in several states, or other items she believes will aid in
2           her deposition in this case and on a pending civil action that will be filed in
3           the coming months. Of course your client has been on notice to retain all of
4           the above since May 2013, and trust she has not deleted any ‘writing” or lost”
5           her phone as such is against the law and basis for an adverse inference.”
6                  G.      Demand
7           “This offer is open until February 21, 2014.”
8                                                ***
9           57. Plaintiff read the content of the letter that is Exhibit 4 as implying a threat to
10   further defame Plaintiffs and make scandalous statements about Plaintiffs, and as a threat
11   against both Plaintiffs’ client Susan A. and her mother Candy C. to report alleged
12   wrongdoing by them to government authorities. Plaintiffs’ client did not agree to settle the
13   case with Mr. Chaker, and so Plaintiffs did not accede to these threats that Nicole Chaker
14   directed to Plaintiffs, Susan A., and Candice C. in Defendant DARREN’s name.
15          58. As a result of the threat against plaintiffs, Plaintiffs spent time and resources,
16   which could have spent working on cases for paying clients, and monitoring the Internet for
17   further scandalous postings. This caused the Plaintiff TMLF to lose revenue. Plaintiff
18   Scott McMillan found it vexing and upsetting.
19          59. On February 26, 2014, still while Defendant DARREN was incarcerated,
20   Defendant NICOLE filed documents in the paternity case on behalf Defendant DARREN,
21   including executing a declaration in his name, and signing his signature. Defendant
22   NICOLE is not admitted to practice to the California Bar. Within the letter to the Court
23   attached to the declaration, Defendant NICOLE repeats the implied threats to reveal Susan
24   A’s applications for government benefits. A true and correct copy of which is referenced
25   herein as Exhibit ‘5’, to be filed under seal in this court. Specifically, Defendant NICOLE
26   in Mr. Chaker’s name purports to report Susan A. for making false claims, by stating:
27          Respondent has now, after placing me . . . on six applications for governemnt
28          [sic] aid (all signed under penalty of perjury), now attests in her declaration I


                                               Complaint                                             23

                                                  345
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3821
                                             12/12/17     PageID.4569Page
                                                                       Page
                                                                          63353 of
                                                                            of 85
                                    1196


1           am not the father in an effort to give Attorney McMillan's motion merit.
2    [Exhibit 5, page 2, to be filed under seal.]
3           60. On or about September 18, 2014, during the pendency of the Paternity Case,
4    Plaintiff McMillan received an e-mail from Darren Chaker, a true and correct copy of
5    which is referenced herein as Exhibit ‘B’, to be filed under seal in this court. Within that
6    letter, Mr. Chaker threatens further actions against Plaintiffs unless he convinced his client
7    Susan A to grant him concessions in the paternity case. Plaintiff has excerpted the relevant
8    portions below (with redactions and substitutions to protect the privacy of third parties):
9           9/18/14
                   Time Sensitive – Reply Required by 8PM Today
10                       Confidential Settlement Communication – California Evidence
            Code §1142
11
                   Dear Scott, S, and C,
12
                   This is a request to settle pending claims . . . .
13
                            First, allow me to clarify this letter is constitutionally
14          protected communication. " ‘As a general rule, even if subject to some
            exceptions, what you may do in a certain event you may threaten to do, that is,
15          give warning of your intention to do in that event, and thus allow the other
            person the chance of avoiding the consequences' "]. Equally well established
16          is the fact that "[o]ne legitimate purpose of a demand letter is to intimidate."
            (Subrin & Main, The Integration of Law and Fact in an Uncharted Parallel
17          Procedural Universe (2004) 79 Notre Dame L.Rev. 1981, 2003 (hereafter
            Subrin & Main).)
18
                   To keep it simple, here's my offer:
19
                           • [Mr. Chaker requested concessions in the paternity action,
20          including obtaining partial custody of the child of whom he claimed to be the
            father.]
21                  ...
                            • I will remove all blogs I have control over concerning Scott
22          or his firm, and am able to remove the complaintsboard.com posting and if
            unable to remove pissedconsumer.com, I will pay up to $500 to have SEO
23          performed to push down the links as I know these sites continue to hurt the
            practice. (I understand I have negative comments about me, however I do not
24          need to impress clients with my reputation. I can assure you at least one
            client a year doesn't call due to reviews – costing you and your family
25          money.)
26                        • No blogs concerning S or C's company, have been posted, but
            various items have been set to self-publish in the event I am unable to access
27          the blog and push back the self-publish date another two weeks.
28                 In short I am agreeing to things a court would not order, but am trying
            to be amicable.

                                                Complaint                                 24

                                                    346
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3822
                                             12/12/17     PageID.4570Page
                                                                       Page
                                                                          64354 of
                                                                            of 85
                                    1196


1                      Scott, you once said to me "I win every time we go to court". I think
              you mischaracterize what winning is to me. In court, it is not the court ruling.
2             It's the time spent away from your office. Taking up your time and associate's
              time. Taking food out of your kids mouth. Staying up late, or ignoring kids
3             and wife while spending time on litigating the instant case. Costing you
              clients – at least one person a year doesn't call you based on my blogs –
4             which have been updated recently, scott-mcmillan-law.blogspot.com. Your
              reputation and past performance, likely increases the likelihood of opposing
5             counsel's decision to fight a pending case longer - which costs you more
              time and money. Out of court, I have a few more victories than you and will
6             always prevail in that respect, and win by having you and family spending
              money on cameras, watching the monitors, looking out the window, and
7             drawing drapes – of course there's no proof I have not done a thing nor do I
              admit such, but if you think I am responsible, indeed I win every day.
8
                     Indeed, an adversary has the right to "inflict hard blows on their
9             opponents ... " (Caro v. Smith (1997) 59 Cal.App.4th 725, 739; see also
              People v. Kalnoki (1992) 7 Ca1.App.4th Supp. 8, 11-12.) However, it is not
10            my intent to be an adversary, but to resolve and put things behind us and move
              forward. I hope calmer heads prevail and things are looked at both in a
11            business sense and in a common sense perspective.
                                                   ***
12
     (Exhibit ‘B’, To Be Filed Under Seal)
13
              61. Defendant DARREN’s September 18, 2014 e-mail quoted above confirmed
14
     Plaintiffs’ belief that Darren Chaker was responsible for derogatory remarks posted about
15
     Plaintiffs on complaintsboard.com and pissedconsumer.com, set forth in more detail
16
     below, in that he was then offering to remove or attempt to remove his posts from those
17
     sites.
18
              62. Plaintiffs’ client did not agree to settle the case with Mr. Chaker, and so
19
     Plaintiffs did not accede to these threats.
20
       Hacking Twitter and Unauthorized Access to Plaintiff McMillan’s Paypal Account
21
              63. Plaintiffs are informed and believe, and based thereon allege that Defendant
22
     DARREN Chaker thereafter attempted to hack into Plaintiff’s twitter and paypal accounts.
23
     Specifically,
24
              a. On October 22, 2014, Plaintiff McMillan received a notice from Paypal of
25
              “unusual activity” on his account. Plaintiff hadn’t attempted to sign in to his Paypal
26
              account at that time. A true and correct copy of that email is attached hereto as
27
              Exhibit ‘C’. Due to the timing of the notice, Plaintiff is informed and believes that
28
              it was Darren Chaker that hacked into Plaintiff’s account.

                                                   Complaint                                      25

                                                     347
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3823
                                             12/12/17     PageID.4571Page
                                                                       Page
                                                                          65355 of
                                                                            of 85
                                    1196


1           b. On November 19, 2014, Plaintiff received a notice of a “suspicious sign in
2           detected on [his] twitter account.” Plaintiff hadn’t attempted to sign in to his twitter
3           account. A true and correct copy of that email is attached hereto as Exhibit ‘D’.
4           Due to the timing of the notice, Plaintiff is informed and believes that it was Darren
5           Chaker that hacked his account.
6           64. Following that threat of September 18, 2014, Mr. Chaker began posting
7    information on the scott-mcmillan-law.blogspot.com site that he operated that, among
8    other things, Plaintiff had molested his daughter. Such statement was grossly false,
9    scandalous, and libelous. The first such statement appeared on Thanksgiving Day, i.e.,
10   Thursday, November 27, 2014. A copy of that post is attached hereto as Exhibit ‘E.’
11   Plaintiff had not authorized Defendants to use Plaintiff’s name in any manner. Plaintiff had
12   not molested his daughter. That webpage has since been removed.
13          65. In order to improve the likelihood of the search engines indexing his site to
14   Plaintiff’s name, Defendant DARREN optimized that page, Exhibit ‘E’, for search engines
15   with “labels” including “4760-Nebo, attorney-sex-offender, el-cajon-sex-offender,
16   la-mesa-sex-offender. Rebecca-McMillan, scott-mcmillan-law, www.mcmillanlaw.us.”
17          66. Mr. Chaker also operated a Blogger site at
18   http://mcmillanlawfirm.blogspot.com/. Plaintiff had not authorized Defendant DARREN
19   to use the firm’s name in this manner. He published similarly false, scandalous, libelous
20   material on that site.
21          67. On or about November 28, 201[4], Defendant DARREN Chaker posted on the
22   Blogger site at scott-mcmillan-law.blogspot.com, a post entitled “Maura Larkins Linked to
23   Sex Abuse.” Within that post Chaker repeats his false statements about Plaintiff, and also
24   recited a completely fabricated association between Plaintiff and Ms. Larkins, who is
25   another individual with whom Mr. Chaker has conflict. A true and correct copy of that post
26   is attached hereto as Exhibit ‘G’.
27                                         Spoofing Emails
28          68. On December 3, 2014, Plaintiff received a “spoofed” or bogus email that


                                               Complaint                                          26

                                                  348
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3824
                                             12/12/17     PageID.4572Page
                                                                       Page
                                                                          66356 of
                                                                            of 85
                                    1196


1    purported to have been sent from Plaintiff’s own e-mail address “scott@mcmillanlaw.us”
2           a. The email stated:
3           “Scott McMillan and family are child molesters per a recent report,
            http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-
4           la-mesa.html”
5           b. A true and correct copy of the email is attached as Exhibit ‘H.’
6           c. A true and correct copy of the email with the header is attached as ‘I’.
7                                           Google Places
8           69. On December 4, 2014, a “Darren C.” posted a 2 star review for the McMillan
9    Law Firm, APC on Google places, wherein he stated:
10
            “I wish I knew of his interests in children, http://scott-mcmillan-
11          law.blogspot.com/2014/11/scott-mc.”
12          a. A screen shot of Plaintiff’s administration page for Google Places is attached
13          hereto as Exhibit ‘J’.
14          b. That post was later deleted. In light of the timing of that e-mail, the use of the
15          name “Darren C.”, and that the identical content was posted on his blogspot sites,
16          Defendant DARREN was the poster.
17          70. Defendant DARREN. Chaker sent e-mails to many members of the local legal
18   community, accusing Plaintiff of molesting his daughter. A copy of one such email dated
19   December 6, 2014 is attached hereto as Exhibit ‘K’. That e-mail was sent to Andrew
20   Griffin, an attorney for an opposing party in a bankruptcy case where Plaintiff represented a
21   creditor, who in turn, forwarded the e-mail to Plaintiff on December 8, 2014.
22          71. On December 22, 2014, at 1:57 a.m., Defendant DARREN sent Plaintiff an e-
23   mail with the subject line “Pending Paternity Case”. A copy of that email is attached hereto
24   as Exhibit ‘L.’
25          72. On December 23, 2014, at approximately 10:08 a.m., Plaintiff received an e-
26   mail from Defendant DARREN Chaker entitled “Request to See Son.” A copy of that
27   email is attached hereto as Exhibit ‘M’.
28          Threats to E-mail Colleagues in the San Diego East County Community


                                                Complaint                                           27

                                                  349
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3825
                                             12/12/17     PageID.4573Page
                                                                       Page
                                                                          67357 of
                                                                            of 85
                                    1196


1           73. On December 23, 2014, Plaintiff received an e–mail from Defendant DARREN
2    where he stated:
3           “Mr. McMillan, the reported conduct I have found is very improper and
            disgusting. I have been forced to notify numerous members of the bar about
4           my blog concerning your firm, most recently the Foothills Bar Association,
            and will start naming your daughter, I believe a former Ms. El Cajon, as the
5           likely victim. I hope you have ceased your conduct and notice to hundreds of
            people has done the public some good.
6
            Dear XXXXXX,
7
            Sex offender. As a member of the bar and likely parent, I would hope notice
8           of a report concerning La Mesa Attorney Scott McMillan, who also operates
            McMillan Academy of Law without a single applicant/graduate,
9           http://campus.lawdragon.com/schools/mcmillan-academy-of-law/ was
            reported to take part in sexual molestation of a minor. See,
10          http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-la-mesa.ht
            ml
11
            The report provides great detail and hope you pass this email along, as I have
12          distributed it to 200 attorneys in San Diego. Scott McMillan is also a
            documented family friend of Kenneth Bourke who was also arrested for child
13          molestation – see report -
            http://scott-mcmillan-law.blogspot.com/2014/09/scott-mcmillan-molest-la-
14          mesa.html
            Happy Holidays to all.
15          Darren Chaker”
16          a. A copy of that email is attached hereto as Exhibit ‘N’.
17          74. On or about June 8, 2015, Google removed the scott-mcmillan-attorney.
18   blogspot.com site, which defendants had created without Plaintiffs’ authorization.
19          75. On or about June 16, 2015, Google removed the mcmillanlawfirm.
20   blogspot.com site, which defendants had created without Plaintiffs’ authorization.
21                                   COMPLAINTSBOARD.COM
22          76. Since 2011 and through the present, a person that Plaintiff McMillan believes
23   to be Defendant DARREN based on identical content posted on his website and Mr.
24   Chaker’s statements above of September 18, 2014 that he is “able to remove the
25   complaintsboard.com posting”, has posted derogatory and defamatory statements about
26   Plaintiff on the Internet at:
27   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
28   ml#comments


                                             Complaint                                          28

                                                350
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3826
                                             12/12/17     PageID.4574Page
                                                                       Page
                                                                          68358 of
                                                                            of 85
                                    1196


1          a. A true and correct copy of that post as published is attached hereto as Exhibit
2          ‘O.’
3          b. The poster is identified as “Tracy Law Houston.” Cynthia Tracy, Attorney at Law,
4          P.C., a family law attorney in Houston, Texas, formerly represented Nicole Mateo in
5          the custody and child support case against Darren Chaker.
6          77. Despite the removal of the blogspot sites, on August 23, 2015, a poster using
7    the name and search term “scott-mcmillan-la-mesa” posted the following as a comment to
8    the post at http://www. complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-
9    c571484.html#comments
10         a. “I located the police report about Scott McMillan, La Mesa, Attorney reportedly
           molesting children. I also found he operates his own law school out of a small, run
11         down office near the train tracks, but in the same breath says he's a leading law firm.
           With this reputation, I cannot imagine such is true.”
12         b. Attached as an image to the comment, he re-posted his November 27, 2014 post,
13         i.e., the content at Exhibit ‘B’ herein, the repost of which is attached at Exhibit ‘P.’
14         78. On September 16, 2015, a poster using the name and search term
15   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
16   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
17   ml#comments
18         a. “Scott McMillan, McMillan Law Firm, sued the hardworking Sheriff over his
           Facebook Account. The law settled for about nothing. It is unfortunate law
19         enforcement need to pay out money to defend such nuisance lawsuits, when that
           money should be going to hiring more officers, and buying newer equipment. With
20         about 60 loses in the Court of Appeal docket, astonishing he is still in office.”
21         b. That case – Karras v. Gore, U.S. D.C. So. Dist. Cal., 14cv2564-BEN-KSC – was
22         settled for a payment of attorneys fees plus the token $20. Thus, the above statement
23         is false, as the Sheriff paid attorneys fees and agreed to change practices.
24         c. Attached as an image to the comment, he posted a partial news article, a copy of
25         which is attached as Exhibit ‘Q.'
26         79. Also on September 16, 2015, a poster using the name and search term
27   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
28   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht


                                               Complaint                                         29

                                                 351
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3827
                                             12/12/17     PageID.4575Page
                                                                       Page
                                                                          69359 of
                                                                            of 85
                                    1196


1    ml#comments
2           a. “McMillan Academy of Law, run by Scott McMillan appears to have not had a
            single student go through his law firm, where the class is shared in the same space as
3           the attorney, oh and also Dean McMillan (also an attorney working out of same
            office. According to LawDragon, no one has ever graduated or even applied to that
4           law school.”
5           b. Attached as an image to the comment, he posted a webpage print-out, a copy of
6           which is attached as Exhibit ‘R.'
7           80. Also on September 16, 2015, a poster using the name and search term
8    “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
9    http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
10   ml#comments
11          a. “McMillan sued by Yelp! for posting his own reviews. Read the story in detail,
12          sad set of circumstances, especially when you need to create your own reviews.” In
13          truth and in fact, Plaintiffs had not posted their “own reviews.” Plaintiffs had
14          represented Julian McMillan, who had been sued by Yelp.
15
            b. Attached as an image to the comment, he posted a news article, a copy of which is
16
            attached as Exhibit ‘S.' Plaintiff did not post his own reviews. Indeed, in that case,
17
            Plaintiff was not accused by Yelp of posting comments. Rather, Plaintiff
18
            represented another attorney, Julian McMillan, in the case. Chaker edited out the
19
            part that would have otherwise explained that Plaintiff was not the Defendant
20
            DARREN in that action, but rather just the attorney. Contrary to Defendants’
21
            suggestion, Plaintiff was partially successful at the time of the posting of the article.
22
            Plaintiff prevailed in a motion to change venue, and counsel for Yelp paid Plaintiffs
23
            attorneys fees.
24
            81. On February 9, 2016, a poster using the name and search term “mcmillan-law-
25
     firm” posted the following as a comment to the post at
26
     http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
27
     ml#comments
28
            a. “Williams v. The Superior Court of San Diego County/Nordstrom, Inc., Court of

                                                Complaint                                          30

                                                  352
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3828
                                             12/12/17     PageID.4576Page
                                                                       Page
                                                                          70360 of
                                                                            of 85
                                    1196


1           Appeal Case Number D068765. shows Scott McMillan, McMillan Law Firm in Las
            Mesa, LOST ANOTHER case. This one where Nordstrom is vigorously defending
2           itself against allegations of attorney, law professor, and law school dean (Yes, Scott
            McMillan is all three of those titles since he runs a law school, McMillan Academy
3           of Law, out of two story office near the train tracks. Despite not a single student has
            graduated, or appears to have attended, no one has taken the bar exam either.
4           Nonetheless, this is another example of Scott McMillan losing another case -
            although he claims to be a "leading" San Diego attorney.”
5
            b. Attached as an image to the comment, the docket form , a copy of which is
6
            attached as Exhibit ‘T.’
7
            c. This statement is also false, as the court of appeals allowed the appeal to proceed
8
            in light of the law regarding final, appealable orders.
9
            d. Further, the Court entered an order of stipulated reversal of such appeal.
10
            82. On or about March 27, 2016, Plaintiff McMillan identified a post using
11
     Plaintiff TMLF’s logo and created in a manner that suggested it was posted by Plaintiff or
12
     someone else from his firm. Plaintiff did not authorize Defendant DARREN or anyone
13
     else to use the McMillan Law Firm’s logo in this manner. The latest entry was posted on or
14
     about December 17, 2015. Specifically, a poster using the name and search term
15
     “scott-mcmillan-law-firm-la-mesa” setup a bogus page entitled “The McMillan Law Firm
16
     Customer Care Service” using The McMillan Law Firm, APC logo at
17
     http://www.complaintsboard.com/the-mcmillan-law-firm-b121166
18
            a. A true and correct copy of that page is attached hereto as Exhibit ‘U.’ Notably,
19
            the bogus “customer care service” repeats the same false allegations as previously
20
            made by Chaker. i.e., that Plaintiff molested his daughter.
21
            b. This had been preceded by an email on December 8, 2014 – Plaintiff’s birthday –
22
            wherein Mr. Chaker emailed Plaintiff the following statement:
23
            Good afternoon Scott,
24
            I have been unable to locate a TM/Copyright for the domain mcmillanlaw.us
25          or for your law firm with the USPTO or U.S. Copyright Office. If there is
            such, kindly advise prior to 7PM today. If I do not receive a response, it will
26          be presumed there is no such TM/Copyright. Prior to posting additional
            material, I will extend this courtesy to you.
27
            Also, I have updated the material on
28          http://scott-mcmillan-law.blogspot.de/p/scott-mcmillan-attorney-la-mesa.ht
            ml

                                               Complaint                                         31

                                                  353
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3829
                                             12/12/17     PageID.4577Page
                                                                       Page
                                                                          71361 of
                                                                            of 85
                                    1196


1           I have also copied Maura Larkins on this email.
2           Best regards,
3           Darren”
4           c. A true and correct copy of the email dialog that occurred December 8, 2014, are
5           attached as Exhibit ‘V’.
6           d. Plaintiffs had not authorized the use of their name, the logo, or creation of a
7           customer care site on Complaintsboard.com.
8           83. Following Mr. Chaker’s posts to complaintsboard.com, individuals solicited
9    Plaintiffs purporting to be able to have the ability to remove the posts. Such third parties
10   solicited Plaintiffs to remove defendants’ posts for a charge of $4,800.
11
12                                   PISSEDCONSUMER.COM
13          84. Since 2011 and through the present and as late as February, 2016, a person
14   using a pseudonym, that Plaintiff McMillan believe to be Defendant DARREN, or the other
15   defendants, based on the content and Defendant DARREN’s statements above of September
16   18, 2014 referring to the “pissedconsumer.com” website, has posted derogatory and
17   defamatory statements about Plaintiff on the Internet at the website domain
18   “PISSEDCONSUMER.COM”:
19          85. A Google search of “scott mcmillan site:pissedconsumer.com” returns some
20   3200 results. Most of those results appear to have been posted in 2015 and 2016.
21   Plaintiffs believe that defendants have posted all of those entries. They have done so either
22   anonymously or using some variation of the key words: “The Mcmillan Law Firm -
23   La-Mesa-Attorney-Scott-McMillan”
24          86. Unlike Complaintsboard.com, Pissedconsumer.com does not remove the
25   information posted by persons such as Defendant DARREN. Specifically, the terms of
26   service of Pissedconsumer states:
27          “5. Removal of Information
            By posting information on PC, you understand and agree that the material
28          will not be removed even at your request. You shall remain solely
            responsible for the content of your postings on PC.”

                                               Complaint                                            32

                                                  354
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3830
                                             12/12/17     PageID.4578Page
                                                                       Page
                                                                          72362 of
                                                                            of 85
                                    1196


1    http://www.pissedconsumer.com/tos.txt.
2             87. The Pissedconsumer.com post that Chaker started on November 3, 2011, is
3    attached hereto as Exhibit ‘W’. Within that post he misrepresents Plaintiff’s win/loss
4    ratio.
5             88. On August 23, 2015, Defendant DARREN made the false allegation accusing
6    Plaintiff of child molestation, a copy is attached hereto as Exhibit ‘X’.
7             89. On December 4, 2015, Defendant DARREN posted a review entitled “The
8    Mcmillan Law Firm - Scott McMillan Law Firm - La Mesa - Malpractice” which falsely
9    accuses Plaintiff of malpractice, attached hereto as Exhibit ‘Y.’ Chaker falsely states that
10   an appeal in Williams v. Nordstrom, Inc. was to be dismissed, and termed it “malpractice.”
11   In fact, the appeal was not dismissed and ultimately resulted in a stipulated order of
12   reversal.
13            90. On February 11, 2016, Defendant DARREN posted a review “The Mcmillan
14   Law Firm - Scott McMillan Law Firm La Mesa,” which is attached hereto as Exhibit ‘Z.’
15   Chaker made statements that were knowingly false as he stated that the “the Court of Appeal
16   DENIED the petition after forcing the defendant incur huge amounts of attorney fees.” In
17   fact, the defendant did not file a response. Chaker had no basis to suggest that attorneys
18   fees were incurred resulting from the filing of the petition. Chaker further falsely stated
19   Plaintiff’s record as “almost 80 under his belt and a hand full of wins.”
20                                           Current Posts
21            91. To date Defendant DARREN continues to post material on his website in a
22   manner that is intended to optimize his websites to respond to search engine indexes with
23   his name. Specifically, he continues to use the tags “mcmillan-associates-la-mesa”,
24   “scott-mcmillan-la-mesa”:
25            92. On March 29, 2016, Plaintiff accessed
26   http://darren-chaker.blogspot.com/search/label/scott-mcmillan-la-mesa and retrieved the
27   attached article, a true and correct copy of which is attached hereto as Exhibit ‘AA’ which
28   incorporates the use of the tags.


                                               Complaint                                           33

                                                  355
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3831
                                             12/12/17     PageID.4579Page
                                                                       Page
                                                                          73363 of
                                                                            of 85
                                    1196


1           93. On March 29, 2016, Plaintiff accessed http://darrenchaker.us/ and retrieved the
2    attached article bearing a date of December 8, 2015, a true and correct copy is attached
3    hereto as Exhibit ‘BB’, which incorporates the use of the tags.
4           94. On March 29, 2016, Plaintiff McMillan accessed http://darrenchaker.org/ and
5    retrieved the attached article bearing a date of January 23, 2016, a true and correct copy is
6    attached hereto as Exhibit ‘CC’, which incorporates the use of the tags.
7                            Defendant DARREN’s Use of Pseudonyms
8           95. Plaintiff is informed and believe that Darren Chaker also uses the pseudonym
9    “Luis Perdomo.” On March 29, 2016, Plaintiff accessed
10   https://plus.google.com/1048021677 37415969641/posts/HySqAKY7jYR and retrieved
11   the attached page, a true and correct copy is attached hereto as Exhibit ‘DD’, incorporating
12   the same allegations and artwork published by Defendant DARREN Chaker.
13             Defendant DARREN admits that he knew that he was then barred
14                                from posting defamatory material.
15          96. On January 22, 2016, Defendant DARREN Chaker appeared for a judgment
16   debtors exam. He had been previously ordered to produce the names of the domains that he
17   holds. On the record in the Chaker v. Mateo case, he admitted that he had such logins and
18   that his use of those could, at that time, result in the revocation of his supervised release.
19   [Transcript, p. 9] Defendant DARREN was also ordered to provide the identifying
20   information as to Internet domains that he owns. A copy of relevant portions of the
21   transcript is attached hereto as Exhibit ‘EE’.
22          97. Defendant DARREN did not appear as ordered on March 11, 2016, in the
23   Superior Court to provide the information. As recited in the transcript of January 22, 2016,
24   Defendant DARREN was aware that he was required to appear at the continued examination.
25   [Exh. EE, page 31]
26          98. On March 11, 2016 Defendant DARREN failed to appear for his continued
27   judgment debtor’s examination. Judge Taylor issued a bench warrant for his appearance,
28   which remains outstanding. A copy of that bench warrant is attached hereto as Exhibit


                                                Complaint                                             34

                                                   356
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3832
                                             12/12/17     PageID.4580Page
                                                                       Page
                                                                          74364 of
                                                                            of 85
                                    1196


1    ‘FF’.
2            99. On March 11, 2016 the Superior Court in the Chaker v. Mateo case has
3    ordered the appointment of a receiver to take possession of Mr. Chaker’s personal
4    property, including his domain names for ultimate sale in order to satisfy the judgment.
5    Despite orders to do so, Defendant DARREN has not complied with the orders of the
6    Superior Court.
7              Defendant DARREN has created false accounts with Plaintiff’s name
8            100. Defendant DARREN created accounts using Plaintiff’s name and the name of
9    the McMillan Law Firm. One of those accounts is on Slideshare.net, and reflected on
10   Exhibit ‘GG’. Plaintiff surmise that he has prepared that account in order to upload his
11   defamatory material that he intends to falsely attribute to him. Plaintiff believes that
12   Defendant DARREN made that account because it is associated by Slideshare with an
13   account under the name of David Gingras, another attorney who successfully represented a
14   victim of Defendants and whom Chaker has also targeted for harassment.
15           Defendants have inflicted damage upon both Plaintiffs and their clients.
16           101. Attorneys rely upon their reputation in the community and before the courts
17   that they practice in. Defendant DARREN’s outrageous lies which he has published have
18   injured Plaintiffs’ practice. Opposing counsel in other, unrelated cases have mentioned the
19   existence of the posts. Clients have mentioned the existence of the posts and their content.
20   Plaintiff McMillan believes that jurors that Plaintiff has tried cases in front of have
21   accessed the posts and taken them into account in determining the cases. Thus, Defendants’
22   threats made on September 18, 2014 have borne out. Plaintiffs have invested substantial
23   time in developing Plaintiff McMillan’s reputation as a zealous advocate for his clients, and
24   remaining consistent to the duties of an attorney as set forth in Business and Professions
25   Code section 6068, and particularly that set forth in subsection (h):
26           “Never to reject, for any consideration personal to himself or herself, the
27           cause of the defenseless or the oppressed.”
28   (Bus. & Prof. Code 6068(h).)


                                               Complaint                                          35

                                                   357
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3833
                                             12/12/17     PageID.4581Page
                                                                       Page
                                                                          75365 of
                                                                            of 85
                                    1196


 1              102. Susan A. has been, prior to representation by Plaintiffs herein, defenseless to
 2   and oppressed by Defendants.
 3              103. Wendy Mateo was defenseless to and was oppressed by Defendants.
 4              104. Plaintiff understood that Defendants could resort to attacks of Plaintiff
 5   McMillan’s character when Plaintiff continued to represent Susan A. despite Defendants
 6   threats to engage in libel against him. Defendants then performed on their threats, and have
 7   engaged in the forewarned attacks against Plaintiff – and later Plaintiff’s family members –
 8   following January 21, 2014, and September 18, 2014.
 9                                     FIRST CLAIM FOR RELIEF
10 (Civil Extortion - Against Defendants DARREN, NICOLE, VANIA, and DOES 1 through X)
11              105. Plaintiffs repeat and reallege the averments contained in paragraphs 1-92, as
12   though fully set forth herein.
13              106. Plaintiffs are informed, believe and thereon allege that Defendants were
14   involved in a conspiracy and/or conspired to commit the foregoing acts.
15              107. Each of the Defendants were co-conspirators with one another, and agreed
16   verbally or orally, or through their actions, to jointly commit extortion against the
17   Plaintiffs. Defendants, and each of them, knowingly and intentionally did the acts and things
18   alleged in this Complaint pursuant to, and in furtherance of, such agreement. Defendants did
19   these acts, repeatedly and, with knowledge of the fact that they were, among other things,
20   illegal.
21              108. Defendants, and each of them, in pursuance of a common plan or design to
22   commit the tortious conduct described above, actively took part in it, or furthered it by
23   cooperation or request, or otherwise lent aid or encouragement to Defendant DARREN,
24   and are thereby equally liable to Plaintiffs.
25              109. Defendants, and each of them knew that the foregoing conduct constituted a
26   breach of legal duty, but nonetheless assisted Defendant DARREN, and are thereby equally
27   liable to Plaintiffs.
28              110. Defendants, and each of them breached their duties to Plaintiffs, while


                                                  Complaint                                          36

                                                     358
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3834
                                             12/12/17     PageID.4582Page
                                                                       Page
                                                                          76366 of
                                                                            of 85
                                    1196


1    assisting Defendant DARREN in accomplishing the tortious conduct, and are thereby
2    equally liable to Plaintiffs.
3              111. Defendants conduct was unlawful as a matter of law, in that Defendant
4    DARREN had been forbidden from types of expressive conduct by the terms of his Pre-
5    Trial release, the terms of his confinement and Bureau of Prisons regulations, and the
6    terms of his supervised release. Defendant NICOLE was aware of these restrictions.
7              112. Defendant NICOLE’s conduct filing legal documents under Defendant
8    DARREN’S name comprised the unlawful practice of law, prohibited by Bus. & Prof. Code
9    section 6126. A non-attorney's "[D]oing and performing services in a court of justice in any
10   matter depending therein" is the unauthorized practice of law and therefore a criminal
11   offense. (See, People v. Starski (2017) 7 Cal. App. 5th 215, 230.)
12             113. Extortion is the obtaining of property from another, with his consent, or the
13   obtaining of an official act of a public officer, induced by a wrongful use of force or fear,
14   or under color of official right. (Penal Code § 518.)
15             114. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
16   continue to practice law consistent with the California Business and Professions Code, and
17   the California Rules of Professional Conduct, with respect to the advocacy on behalf of
18   Susan A.
19             115. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
20   collect on a debt due and owing by virtue of the fee award in the Chaker v. Mateo action.
21             116. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
22   continue to collect and publish cases through the website FEARNOTLAW.COM.
23             117. Defendants obtained – without consent – the use of Plaintiffs’ name, have
24   used Plaintiff TMLF’s logo, and have damaged the goodwill associated with Plaintiffs’
25   herein.
26             118. Defendants attempted to obtain an official act of a public officer, i.e., a judge,
27   through Plaintiffs’ clients acquiesence.
28             119. Defendants wrongfully attempted to induce fear as that term is used in Penal


                                                  Complaint                                          37

                                                     359
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3835
                                             12/12/17     PageID.4583Page
                                                                       Page
                                                                          77367 of
                                                                            of 85
                                    1196


1    Code section 519, which provides in pertinent part under the heading “threats”:
2           “Fear, such as will constitute extortion, may be induced by a threat of any of
            the following:
3                   1. To do an unlawful injury to the person or property of the
                    individual threatened or of a third person.
4                   2. To accuse the individual threatened, or a relative of his or
                    her, or a member of his or her family, of a crime.
5                   3. To expose, or to impute to him, her, or them a deformity,
                    disgrace, or crime.
6                   4. To expose a secret affecting him, her, or them.
                                                   ***
7
     (Penal Code § 519)
8
            120. An attempt to extort, successful or not, is a criminal offense forbidden by the
9
     California Penal Code:
10
            Every person who attempts, by means of any threat, such as is specified in
11          Section 519 of this code, to extort money or other property from another is
            punishable by imprisonment . . . or by fine . . . or by both such fine and
12          imprisonment.
13          Cal. Penal Code § 524.
14          121. Defendants’ threats were both express, and were implied by the contents of the
15   various writings and the surrounding circumstances.
16          122. Defendants transmitted the threats comprising extortion.
17          123. Plaintiff TMLF was damaged by the loss of goodwill resulting from the false
18   statements published by Defendants’ “making good” on the threats. Plaintiff TMLF was
19   damaged by the lost advertising expenses which were negated by the false statements
20   published by defendants.
21          124. The Statutes of Limitations regarding the bringing of the present claims have
22   been tolled due to Defendants’ absence from the State of California according to California
23   Code of Civil Procedure section 351:
24          “If, when the cause of action accrues against a person, he is out of the state,
            the action may be commenced within the term herein limited, after his return
25          to the state, and if, after the cause of action accrues, he departs from the
            state, the time of his absence is not part of the time limited for the
26          commencement of the action.”
27   (Cal. Civ. Proc. Code § 351.)
28          125. As a direct and proximate result of the acts of Defendants as alleged in the


                                              Complaint                                         38

                                                 360
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3836
                                             12/12/17     PageID.4584Page
                                                                       Page
                                                                          78368 of
                                                                            of 85
                                    1196


1    First Cause of Action above, Plaintiffs were injured. Plaintiff McMillan suffered
2    economic damage, expense, and humiliation, including, but not limited to, emotional upset,
3    anxiety, mental suffering, and damage to his reputation. Plaintiff McMillan also suffered
4    loss of time. Plaintiff McMillan is therefore entitled to compensatory damages in an
5    amount which will compensate for him all the detriment proximately caused by
6    Defendants' acts, whether foreseeable or not, according to proof at time of trial, in
7    accordance with Civ. Code § 3333.
8           126. Defendants’ conduct was malicious, oppressive and/or fraudulent within the
9    meaning of California Civil Code § 3294, thereby entitling Plaintiffs to an award of
10   punitive damages in an amount according to proof at time of trial.
11   ///
12   ///
13   ///
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                                               Complaint                                         39

                                                  361
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3837
                                             12/12/17     PageID.4585Page
                                                                       Page
                                                                          79369 of
                                                                            of 85
                                    1196


1                                  SECOND CAUSE OF ACTION
2                                    UNFAIR COMPETITION
3                         Business and Professions Code §§ 17200, et seq.
4                              (By all Plaintiffs against All Defendants)
5           127. Plaintiffs reallege and incorporate by reference paragraphs 1-103, and 105 to
6    126, inclusive.
7           128. California Business & Professional Code §17200 defines unfair competition
8    as “unlawful, unfair or fraudulent business act or practice and unfair, deceptive, untrue or
9    misleading advertising and any act prohibited by Chapter 1 (commencing with Section
10   17500) of Part 3 of Division 7 of the Business and Professions Code”. Defendants’
11   conduct therefore constitutes unfair competition as defined by the California Business &
12   Professional Code §17200.
13          129. Plaintiffs have lost money and property due to the Defendants' acts and
14   practices. Thus, Plaintiffs have standing under California Business & Professional Code
15   §17204. In accordance to §17203, Plaintiffs seek injunctive relief to compel Defendants
16   to cease the practices, and for restitution of the use of the names and likenesses of
17   Plaintiffs herein.
18          130. Plaintiffs requests that the Court also issue an order to DARREN Chaker
19   requiring him to request the removal of his posts from the Internet forums in a form that
20   may be published to the third parties, i.e., Pissedconsumer.com and Complaintsboard.com,
21   that have published defendants' harrassing and defamatory posts. With such a finding, and an
22   order that Chaker remove those post, those sites would willingly do so.
23          131. Plaintiffs requests that the Court also issue an order with findings such that
24   can be published to those search engines that have indexed the posts, i.e., Google, Yahoo,
25   and Bing, and findings that such posts were placed by Defendant DARREN contrary to the
26   Judgment in this case. And that Defendant DARREN be ordered to request the removal of
27   such posts from such search indices. Plaintiff's hope and expectation is that those third
28   parties would be persuaded to remove the posts from the respective index.


                                               Complaint                                            40

                                                  362
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3838
                                             12/12/17     PageID.4586Page
                                                                       Page
                                                                          80370 of
                                                                            of 85
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1                                      PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray for relief as follows:
3           1. For an Order enjoining Defendants, their agents, and those acting in concert or
4    conspiracy with them, temporarily during the pendency of this action and permanently
5    thereafter from and further violation of the Unfair Competition Law, including such acts
6    taken in reprisal for the refusal to abide by the acts of extortion described herein.
7           2. That the Court appoint a receiver or special master.
8           3. For compensatory damages according to proof;
9           4. For punitive and exemplary damages pursuant to Cal. Civil Code § 3294 or as
10   otherwise provided by law;
11          5. For an award of costs of suit;
12          6. For an award of pre-judgment interest and post-judgment interest in the
13   maximum amount permitted by law;
14          7. For such other and further relief as the Court deems just and proper.
15   Dated: September 27, 2017                   The McMillan Law Firm, A.P.C.
16                                               /s/ Scott A. McMillan
17                                        BY:    ______________________________
18                                               Scott A. McMillan
                                                 Attorney, In Propria Persona, and on behalf of
19                                               Plaintiff The McMillan Law Firm, A.P.C.
20
                                    DEMAND FOR JURY TRIAL
21
            Plaintiff demands a jury trial on all causes of action so determinable.
22
     Dated: September 27, 2017                   The McMillan Law Firm, A.P.C.
23
                                                 /s/ Scott A. McMillan
24
                                          BY:    ______________________________
25
                                                 Scott A. McMillan
26                                               Attorney, In Propria Persona, and on behalf of
                                                 Plaintiff The McMillan Law Firm, A.P.C.
27
28


                                                Complaint                                         41

                                                   363
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3839
                                             12/12/17     PageID.4587Page
                                                                       Page
                                                                          81371 of
                                                                            of 85
                                    1196




                          Exhibit “F”
                                       364
   Case
   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                              Document127-1  Filed
                                       91 Filed    09/23/22PageID.3840
                                                12/12/17     PageID.4588Page
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                                                                             82372 of
                                                                               of 85
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                  2      t.kenna@gilbertkelly.com
                         ARTHUR J. MC KEON III / Bar No. 082540
                  3      ajm@gilbertkelly.com
                         REBECCA J. SMITH / Bar No. 150428
                  4      rjs@gilbertkelly.com
                         401 B Street, Suite 2210
                  5      San Diego, California 92101
                         (619) 687-3000; FAX: (213) 615-7100
                  6
                         Mailing Address:
                  7      550 South Hope Street, 22nd Floor
                         Los Angeles, California 90071-2627
                  8
                         Attorneys for Defendant
                  9      NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,                  )   Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                      )
               14 California professional corporation,               )   Judge: William Q. Hayes
                                                                     )   Courtroom 14B
               15                        Plaintiffs,                 )
                                vs.                                  )   Magistrate Hon. Mitchell D. Dembin
               16                                                    )   Courtroom 11th Floor
                  DARREN D. CHAKER an individual,                    )
               17 and as trustee of PLATINUM                         )   NOTICE OF CROSS-APPEAL
                  HOLDINGS GROUP TRUST, dba                          )
               18 COUNTER FORENSICS; NICOLE                          )
                  CHAKER, an individual, and as trustee              )
               19 of THE NICOLE CHAKER                               )
                  REVOCABLE LIVING TRUST, U/A                        )
               20 dated August 18, 2010, VANIA                       )
                  CHAKER, an individual and as                       )
               21 beneficiary of The Island Revocable                )
                  Trust under Declaration of Trust dated             )
               22 June 2, 2015, MARCUS MACK as                       )
                  trustee of The Island Revocable Trust              )
               23 under Declaration of Trust dated June 2,           )
                  2015,                                              )
               24                                                    )
                               Defendants.                           )
               25                                                    )
               26               TO THE COURT, ALL INTERESTED PARTIES AND TO THEIR
               27 RESPECTIVE ATTORNEYS OF RECORD:
               28
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law                NICOLE CHAKER'S MOTION TO EXTEND TIME BY WHICH TO FILE CROSS-APPEAL

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                                                              365
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    91 Filed    09/23/22PageID.3841
                                             12/12/17     PageID.4589Page
                                                                       Page
                                                                          83373 of
                                                                            of 85
                                    1196




     1        Notice is hereby given that defendant Nicole Chaker, hereby files this cross-
     2 appeal in the above named case to the United States District Court for the Ninth
     3 Circuit from the Order Closing the Case (ECF 86) and more specifically, the Order
     4 denying defendant Nicole Chaker’s Motion to Strike Pursuant to California Code of
     5 Civil Procedure 425.16 and motion for attorney’s fees and costs as moot in light of
     6 the granting of defendant Nicole Chaker’s motion to dismiss.
     7 Dated: December 12, 2017             GILBERT, KELLY, CROWLEY & JENNETT
                                            LLP
     8
     9
                                            By:
    10                                            TIMOTHY W. KENNA
                                                  REBECCA J. SMITH
    11                                            Attorneys for Defendant
                                                  NICOLE CHAKER
    12
    13
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                                           366
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              Case3:16-cv-02186-WQH-MDD
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                                                  91 Filed    09/23/22PageID.3842
                                                           12/12/17     PageID.4590Page
                                                                                     Page
                                                                                        84374 of
                                                                                          of 85
                                                  1196


                    1                                 CERTIFICATE OF SERVICE
                    2
                    3       I am employed in the County of Los Angeles, State of California. I am over
                      the age of 18 and not a party to the within action. My business address is 550 South
                    4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                    5           On December 12, 2017, I served the within document(s) described as:
                    6
                                DECLARATION OF REBECCA J. SMITH IN SUPPORT OF DEFENDANT
                    7           NICOLE CHAKER'S NOTICE OF MOTION FOR EXTENSION OF TIME
                                TO FILE CROSS-APPEAL (FRAP 4(a)(5))
                    8
                                on the interested parties in this action as stated on the attached service list:
                    9
                   10
                          X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                   11           described via the United States District Court’s Electronic Filing Program on the
                                designated recipients via electronic transmission through the CM/ECF system on the
                   12           Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
                                Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                   13           case. The NEF will constitute service of the document(s). Registration as a CM/ECF
                                user constitutes consent to electronic service though the court’s transmission facilities.
                   14
                          X     (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                   15           sealed envelope addressed as set forth on the attached mailing list. I placed
                                each such envelope for collection and mailing following ordinary business
                   16           practices. I am readily familiar with this Firm's practice for collection and
                                processing of correspondence for mailing. Under that practice, the
                   17           correspondence would be deposited with the United States Postal Service on
                                that same day, with postage thereon fully prepaid at San Diego, California, in
                   18           the ordinary course of business. I am aware that on motion of the party
                                served, service is presumed invalid if postal cancellation date or postage meter
                   19           date is more than one day after date of deposit for mailing in affidavit.
                   20           Executed on December 12, 2017, at Los Angeles, California.
                   21           I declare under penalty of perjury that the foregoing is true and correct.
                   22
                                    ELIZABETH RUBIO
                   23               (Type or print name)                                     (Signature)
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                                                          CERTIFICATE OF SERVICE
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                                                  91 Filed    09/23/22PageID.3843
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                    1                               CERTIFICATE OF SERVICE
                    2
                    3 SCOTT A MCMILLAN
                      THE MCMILLAN LAW FIRM, APC
                    4 4670 NEBO DRIVE
                      SUITE 200
                    5 LA MESA, CA 91941-5230
                      Phone: (619)464-1500
                    6 Fax: (619)828-7399
                      Email: scott4670@gmail.com
                    7
                      Scott A. McMillan,
                    8 The McMillan Law Firm, APC
                      (Plaintiff)
                    9
                      TIMOTHY J. GRANT
                   10 FREDRICKSON, MAZEIKA & GRANT, LLP
                      5720 OBERLIN DRIVE
                   11 SAN DIEGO, CA 92121
                      Phone: 858-642-2002
                   12 Fax: 858-642-2001
                      Email: tgrant@fmglegal.com
                   13
                      Darren D. Chaker (Defendant)
                   14
                   15
                      RYAN G. BAKER
                   16 BAKER MARQUART LLP
                      2029 CENTURY PARK EAST
                   17 SUITE 1600
                      LOS ANGELES, CA 90067
                   18 Phone: 424-652-7800
                      Fax: 424-652-7850
                   19 Email: rbaker@bakermarquart.com
                   20 Vania Chaker (Defendant)
                   21
                   22
                   23
                   24
                   25
                   26
                   27
Freeman Mathis


                   28
  & Gary, LLP
Attorneys at Law




                                                      CERTIFICATE OF SERVICE
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                              Document127-1
                                       1-23 Filed
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                                                  08/29/16 PageID.4592
                                                           PageID.114 Page
                                                                       Page1376
                                                                             of 7of
                                      1196




                 EXHIBIT Y
                                       369
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
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       The Mcmillan Law Firm - Scott  1196

               Law Firm - La Mesa -
               Malpractice
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Scott McMillan, La Mesa, was fined WITH his client by San Diego Superlor
Court for almost $16,000 and Is now fighting II losing battle In the Court of
Appeal case NO.DD690S1 where the court Is on the *** of not entertaining
the appeal McMillan Law Firm filed.

It Is hon1ble Scott McMillan put his client In jeopardy of paying thousands of
doliars.To make matters worse, McMillan Law Firm Is suing Nordstrorns who
hired II Los Angeles law firm who doesn't play 'nice nice' like San Diego
attomeys do.

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                                                370
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 Case3:16-cv-02186-WQH-MDD
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                                                  08/29/16 PageID.4594
                                                           PageID.116 Page
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More Review Details                   1196


Staff   *****
Reason of review:
Not as described

Preferred solution:
For Scott McMillan La Mesa Attorney to dislcose to clients his huge loss rate, and he
graduated from an unaccredited law school.

Review category
Lawyers

Review rating
5 out of 5


                            review #744929 by anonymous
                      Author wants to be contacted by the company.


         Share             o      f       o     Helpful?    No      o      Yes    28
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                            Had the same issue       Yes     7
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                        Post a comment to start a discussion.
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 Case3:16-cv-02186-WQH-MDD
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You M.,. A_ LIm




"Attorney Hermes Eraclldes from the law firm of Eraclldes Gelman Hall Indek
Goodman a. Waters owns a house address: 4136 Roberts Point Clr, Sarasota
Florlda 34242. The house was presented ... •


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                         •""''',,......,....
"I cancelled my account with them back In October and they stili continued
charging my bank they took $340 out of my bank all at once. Before 1 signed
up...•




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                                                                       Page5380
                                                                             of 7of
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"I am so sick and furlous with myself that I called on Cordell and Cordell for
anything. Cordell and Cordell Is a money-making machine and that's all they
care ... "




"A few weeks ago, I bought from a seller on eBay, who I trusted, and bought
from. I bought HAUNTED PSYCHOKINESIS RING MOVE MATTER WITH YOUR
MINDI from her, for... "




"I also had a bad experlence with one of these ready pac salads. I was tossng
my salad after just adding the extra Ingredients that come with saladExh Y
bowl .... "                                                          4 of 6

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 Case3:16-cv-02186-WQH-MDD
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Nunc Interdum lacus sit amet orel. Maecenas egestas arcu quls ligula mattls
placeli!llt. Nullam accumsan lorem... •




"I have been to Outback Steakhouses all over the nation. (Over 100 times
from Seattle, WA to Conway, AR.) A couple of times they made a mistake but
they always made ... "


                                            ___ .. ...... M.... ....

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''The Seller Kenneth Lund sold the product as new, but when It was shipped to
me It was used products out of a junk yard. Contacted Paypal. They...Exh
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                                            374
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 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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                                                  08/29/16 PageID.4598
                                                           PageID.120 Page
                                                                       Page7382
                                                                             of 7of
                                      1196
  Reviews from La Mesa, California
  San Diego Auto Connection - Bait and Switch

  CJS CD Keys - SCAM COMPANY

  Walmart/Tasharina

  The Mcmillan Law Firm - Scott McMillan Law Firm La Mesa

  Luminess Airbrush - Luminous Air




  Featured reviews
  Food Network - Giada a Playboy Bunny

  Poshmark allowed a person to send cosmetics that were were used back to me.

  Kohls - POOR Packing, Completely Shattered Shipment

  Review about Centurylink Internet from Albuquerque, New Mexico

  Telus Mobility - Telus Signal weak, 3 dots!




  Recently Discussed Reviews
  Home Depot - Review in Supermarkets and Malls category from Chandler, Arizona
  3 minutes ago

  Pampered Touch Salon - Sabrina Turgeon is a crackhead psycho   ***
  3 minutes ago

  Verizon - Collection agency for $6.24 bogus charge
  6 minutes ago

  National American Miss - Selection Letter
  8 minutes ago

  Review about RelayRides Car Rental from Naperville, Illinois
  8 minutes ago




                                                                           Exh Y
                                                                           6 of 6

                                           375
  Case
   Case3:16-cv-02186-WQH-MDD
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                               Document127-1
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                                                                              of 1of
                                       1196
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                         for the
                                            SOUTHERN DISTRICT OF CALIFORNIA



SCOTT A. MCMILLAN, et al.                                      )
                             Plaintiff                         )
                    v.                                         )      Case No. :16-cv-2186-WQH-MDD
DARREN D. CHAKER, et al.                                       )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant DARREN D. CHAKER


Date: July 17, 2020                                                  /s/ E. Lacey Rice
                                                                                          Attorney's signature

                                                                     E. LACEY RICE 266748
                                                                                      Printed name and bar number

                                                                     ROPERS MAJESKI PC
                                                                     445 South Figueroa Street, Suite 3000
                                                                     Los Angeles, California 90071
                                                                                                Address

                                                                     lacey.rice@ropers.com
                                                                                            E-mail address

                                                                     (213) 312-2000
                                                                                           Telephone number


                                                                     (213) 312-2001
                                                                                             FAX number




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      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2649
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                  1 GILBERT, KELLY, CROWLEY & JENNETT LLP
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                    ARTHUR J. MC KEON III / Bar No. 082540
                  3 ajm@gilbertkelly.com
                    REBECCA J. SMITH / Bar No. 150428
                  4 rjs@gilbertkelly.com
                    401 B Street, Suite 2210
                  5 San Diego, California 92101
                    (619) 687-3000; FAX: (213) 615-7100
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                    Mailing Address:
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                    Los Angeles, California 90071-2627
                  8
                    Attorneys for Defendant
                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,         )         Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a             )
               14 California professional corporation,      )         Judge: William Q. Hayes
                                                            )         Courtroom 14B
               15               Plaintiffs,                 )
                         vs.                                )         Magistrate Hon. Mitchell D. Dembin
               16                                           )         Courtroom 11th Floor
                  DARREN D. CHAKER an individual, and )
               17 as trustee of PLATINUM HOLDINGS           )         DEFENDANT NICOLE
                  GROUP TRUST, dba COUNTER                  )         CHAKER'S OBJECTION TO
               18 FORENSICS; NICOLE CHAKER, an              )         PLAINTIFFS' REQUEST FOR
                  individual, and as trustee of NICOLE      )         JUDICIAL NOTICE IN SUPPORT
               19 CHAKER REVOCABLE LIVING                   )         OF PLAINTIFFS’ OPPOSITION
                  TRUST, U/A dated August 18, 2010,         )         TO DEFENDANT NICOLE
               20 VANIA CHAKER, an individual and as        )         CHAKER'S MOTION TO
                  beneficiary of The Island Revocable Trust )         DISMISS AND ANTI-SLAPP
               21 under Declaration of Trust dated June 2,  )         MOTION
                  2015, MARCUS MACK as trustee of The )
               22 Island Revocable Trust under Declaration            (Defendant Nicole Chaker’s
                  of Trust dated June 2, 2015                         Evidentiary Objections, Reply to
               23                                                     Opposition to Anti-SLAPP Motion and
                                Defendants.                           Reply to Opposition to 12(b)(6)
               24                                                     Motion filed concurrently herewith)
               25                                                     [PER CHAMBERS, NO ORAL
                                                                      ARGUMENT UNLESS ORDERED
               26                                                     BY COURT]
               27                                                     Date: February 6, 2017
                                                                      Dept: 14B
               28                                                     Complaint Filed: August 29, 2016
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case
      Case 3:16-cv-02186-WQH-MDD
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                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2650
                                                                PageID.4601 Page
                                                                             Page2385  of
                                                                                   of 10
                                          1196


                  1              Defendant Nicole Chaker (“Nicole”) objects to Plaintiffs’ Request for Judicial
                  2 Notice filed in support of its Opposition to Defendant Nicole’s Motion to Dismiss
                  3 pursuant to FRCP 12(b)(5) and Anti-SLAPP motion and specifically as to the request
                  4 for judicial notice as to the following:
                  5              1. Civil Minutes for Order to Show Cause Re Contempt in United States
                  6                  District Court for the Central District of California (Western Division Los
                  7                  Angeles) Del Nero v. Midland Credit Management, Case No. CV-04-1040
                  8                  GPS (SHx), dated March 22, 2005 (hereinafter “Midland Case”) – Exhibit
                  9                  B to Scott McMillan’s Declaration (Docket No. 45-2, 45-1, 47 and 47-1);
               10                2. Civil Minutes for Order to Show Cause Re Contempt as to Vania Chaker in
               11                    Midland case. Exhibit C to Docket No. 45-2, 45-1, 47 and 47-1;
               12                3. Finding of Facts and Conclusions of Law Pursuant to FRCP 52 and LR 52-
               13                    1 in Midland case, dated July 6, 2005. Exhibit D to Docket No. 45-2, 45-1,
               14                    47 and 47-1;
               15                4. Judgement in the Midland Action. Exhibit E to Docket No. 45-2, 45-1, 47
               16                    and 47-1;
               17                5. Civil Minutes for Defendants’ Motion for Attorneys’ Fees and Related
               18                    Non-Taxable Costs in Midland case, dated November 27,2006. Exhibit F
               19                    to Docket No. 45-2, 45-1, 47 and 47-1;
               20                6. Order Awarding Attorneys’ Fees and Costs to Defendants in Midland case,
               21                    dated February 20, 2007. Exhibit G to Docket No. 45-2, 45-1, 47 and 47-1;
               22                7. Judgment for Defendants in Midland case. Exhibit H to Docket No. 45-2,
               23                    45-1, 47 and 47-1;
               24                8. Plaintiff’s Exhibit: Transcript of Ninth Circuit Oral Argument recorded
               25                    October 23, 2008 in Midland Case. Exhibit I to Docket No. 45-2, 45-1, 47
               26                    and 47-1;
               27                9. Mandate on June 6, 2009 from US Court of Appeals for the 9th Circuit in
               28                    Midland case. Exhibit J to Docket No. 45-2, 45-1, 47 and 47-1.
    Gilbert, Kelly                                                 -2-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2651
                                                                PageID.4602 Page
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                  1              10.Plaintiff’s Exhibit: Municipal Court Order on February 26, 2010 of Stay
                  2                  Recommendation of Midland Funding LLC v. Kenneth Nedro in the
                  3                  Midland Case, dated March 8, 2010. Exhibit K to Docket No. 45-2, 45-1,
                  4                  47 and 47-1;
                  5              11.Defendants’ Notice of Motion and Motion for Award of Attorneys’ Fees
                  6                  and Costs in Midland case, dated March 1, 2010. Exhibit L to Docket No.
                  7                  45-2, 45-1, 47 and 47-1;
                  8              12.Plaintiff’s Exhibit: Certain excerpts from Defendants’ Answering Brief
                  9                  from Hyde & Swigart’s appeal before the Ninth Circuit in the Midland
               10                    Case, dated March 8, 2010. Exhibit M to Docket No. 47.1;
               11                13.Hyde & Swigart’s Opposition to Defendant’s Motion for Attorneys’ Fees
               12                    and Costs in Midland case dated March 8, 2010. Exhibit N to Docket 45-2,
               13                    45-1, 47 and 47-1;
               14                14.Declaration of A. Topor in Support of Defendatns’ Motion for Award of
               15                    Attorneys’ Fees and Costs in Case No. 2:04-cv-01040-ABC-SH, dated
               16                    March 18, 2010 and accompanying exhibits to such declaration. Exhibit O
               17                    to Docket No. 45-2, 45-1, 47 and 47-1
               18                This objection is based on the fact that Plaintiffs have overreached in its
               19 request for judicial notice by asking this Court to take notice of facts that are not
               20 appropriate for judicial notice, are subject to reasonable dispute as they are neither
               21 generally known within the territorial jurisdiction of the trial court nor capable of
               22 accurate and ready determination by resort to sources whose accuracy cannot be
               23 reasonable questioned, and to the extent Plaintiffs are asking the Court to take
               24 judicial notice “for the truth of these statements” in these filing, Nicole objects and
               25 respectfully asserts that those requests must be denied because they are not supported
               26 by law.
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               28
    Gilbert, Kelly                                                    -3-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
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      Case 3:16-cv-02186-WQH-MDD
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                                 Document 127-1 Filed01/30/17
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                  1 Dated: January 30, 2017                  GILBERT, KELLY, CROWLEY & JENNETT
                                                             LLP
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                  3
                                                             By: /s/ ARTHUR J. MCKEON, III
                  4                                              ARTHUR J. MCKEON, III
                                                                 REBECCA J. SMITH
                  5                                              Attorneys for Defendant
                                                                 NICOLE CHAKER
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    Gilbert, Kelly                                                -4-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
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                                          51-2 Filed  09/23/22 PageID.2653
                                                                PageID.4604 Page
                                                                             Page5388  of
                                                                                   of 10
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                  1 1. The Documents and Facts Contained Within Such Documents Do Not Meet
                  2         the Requirements for Matters of Which The Court May Take Judicial Notice
                  3              Federal Rules of Evidence (FRE), Rule 201(b) contains two different tests for
                  4 determining whether a proposition of fact has attained a sufficiently high degree of
                  5 certainty that it would be consonant with fair procedure to dispense with formal
                  6 proof. The first test is whether the fact that is proposed for judicial notice is not
                  7 subject to reasonable dispute because it is generally known within the territorial
                  8 jurisdiction of the trial court. See, Cochran v. NYP Holdings, Inc., 210 F.3d 1036,
                  9 1038 (9th Cir. 2000), adopting trial court's opinion, Cochran v. NYP Holdings, Inc.,
               10 58 F.Supp.2d 1113, 1122 n. 5 (C.D.Cal. 1998) (trial court may take judicial notice
               11 that particular subject has been covered extensively in newspapers and other news
               12 media within trial court's territorial jurisdiction).
               13                The second test is whether the fact that is proposed for judicial notice is not
               14 subject to reasonable dispute because it is capable of accurate and ready
               15 determination by reference to sources the accuracy of which cannot reasonably be
               16 questioned. See, American Stores Co. v. Commissioner, 170 F.3d 1267, 1270 (10th
               17 Cir. 1999)(unpublished IRS rulings issued to private taxpayers are inappropriate for
               18 judicial notice; adjudicative facts they contain are not capable of accurate and ready
               19 determination because such rulings are not widely available), cert. denied, 528 U.S.
               20 875, 120 S.Ct. 182, 145 L.Ed.2d 153 (1099).
               21                Both tests have a common requirement: the restriction that the fact proposed
               22 for judicial notice must not be subject to reasonable dispute. Thus, if the fact is
               23 subject to reasonable dispute, it does not matter that it is generally known within the
               24 community or that it is capable of accurate and ready determination by resort to
               25 impeccable sources, it is still not properly a subject for judicial notice. See, United
               26 States v. Boyd, 289 F.3d 1254, 1259-60 (10th Cir. 2002)(techniques of narcotics
               27 collection and preservation are too varied to permit judicial notice of fact that
               28 approximately 50 gram sample of cocaine will diminish in weight by 3.34 grams
    Gilbert, Kelly                                      -5-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2654
                                                                PageID.4605 Page
                                                                             Page6389  of
                                                                                   of 10
                                          1196


                  1 over eight month period for purposes of harmonizing two measurements of weight of
                  2 same sample of cocaine that yielded different results).
                  3              Thus, when the adjudicative fact proposed for judicial notice fails to satisfy
                  4 either of these two tests of indisputability, judicial notice is not appropriate. See, Lee
                  5 v. County of Los Angeles, 250 F.3d 668, 689-90 (9th Cir. 2001)(trial court erred in
                  6 taking judicial notice of facts recited in record of extradition hearing that occurred in
                  7 another court record since they were reasonably disputed by allegations in plaintiff's
                  8 complaint and court record is not indisputable source of factual information.).
                  9              The advisory committee notes to FRE 201 “explain that ‘[a] high degree of
               10 indisputability is the essential prerequisite’ to taking judicial notice of adjudicative
               11 facts and that ‘the tradition [of taking judicial notice] has been one of caution in
               12 requiring that the matter be beyond reasonable controversy.’ ” Rivera v. Philip
               13 Morris, Inc., 395 F.3d 1142, 1151 (9th Cir. 2005) (quoting FRE 201(a) & (b)
               14 advisory committee's notes). “Because the effect of judicial notice is to deprive a
               15 party of an opportunity to use rebuttal evidence, cross-examination, and argument to
               16 attack contrary evidence, caution must be used in determining that a fact is beyond
               17 controversy under Rule 201(b).” Id. (quoting Wright v. Brooke Group Ltd., 114
               18 F.Supp.2d 797, 816 (N.D. Iowa 2000)). FRE 201 “was intended to obviate the need
               19 for formal fact-finding as to certain facts that are undisputed and easily verified.”
               20 Walker v. Woodford, 454 F.Supp.2d 1007, 1022 (S.D. Cal. 2006). The fact to be
               21 judicially noticed must be one that only an unreasonable person would insist on
               22 disputing. (Walker) A court may not “take judicial notice of any matter that is in
               23 dispute.” (Walker, see Lee at 689-90 .)
               24 2. Plaintiffs’ Request to Judicially Notice Pleadings From Another Action Must
               25           Be Limited To the Fact That The Pleadings Were Filed
               26                Plaintiffs ask this Court to take judicial notice of a wide array of facts that are
               27 inappropriate for judicial notice. For each of its requests, Plaintiff appears to rely on
               28 the argument that a court may take judicial notice of pleadings in other cases, citing
    Gilbert, Kelly                                         -6-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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                                                                382
      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2655
                                                                PageID.4606 Page
                                                                             Page7390  of
                                                                                   of 10
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                  1 to Burbank-Glendale-Pasadena Airport Authority v. City of Burbank, 136 F.3d 1360
                  2 (9th Cir. 1998) While the court in such case granted a party’s request for juridical
                  3 notice of pleadings in a related state court action, the court did not address for what
                  4 purpose the request for juridical notice had been made and provided no analysis of
                  5 why the request had been granted, merely granting and saying that it must deal with
                  6 one further administrative matter.
                  7              Neither this case, nor any other case provides authority for the proposition that
                  8 a court may take judicial notice of the substantive facts in such documents as proof
                  9 of these matters. When judicially noticing materials from another action, however,
               10 courts are careful not to blindly accept as true the statements made in those materials.
               11 Rather, the courts will limit the judicial notice to the existence of the documents, and
               12 nothing more. See Lee at 690 (“On a Rule 12(b)(6) motion to dismiss, when a court
               13 takes judicial notice of another court's opinion, it may do so not for the truth of the
               14 facts recited therein, but for the existence of the opinion, which is not subject to
               15 reasonable dispute over its authenticity”); Liberty Mut. Ins. Co. v. Rotches Pork
               16 Packers, Inc., 969 F.2d 1384, 1388-1389 (2d Cir. 1992) (a court may take judicial
               17 notice of a document filed in another court to establish the fact of that litigation and
               18 related filings, not for the truth of the matters asserted in the other litigation); cf.
               19 Taylor v. Charter Medical Corp., 162 F.3d 827, 829-830 (5th Cir. 1998) (a court
               20 cannot take judicial notice of factual findings of another court, because such findings
               21 do not constitute facts “not subject to reasonable dispute” within the meaning of Rule
               22 201); General Elec. Capital Corp. v. Lease Resolution Corp., 128 F.3d 1074, 1082
               23 n.6 (7th Cir. 1997) (“courts generally cannot take notice of findings of fact from
               24 other proceedings for the truth asserted therein because these findings are disputable
               25 and usually are disputed.”); United States v. Jones, 29 F.3d 1549, 1553 (11th Cir.
               26 1994) (district court erred in noticing findings of fact from related court proceeding).
               27                While plaintiffs request for judicial notice does not specifically set forth for
               28 what purpose the requested documents are being sought to be placed before the
    Gilbert, Kelly                                       -7-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2656
                                                                PageID.4607 Page
                                                                             Page8391  of
                                                                                   of 10
                                          1196


                  1 court, from the oppositions to the two motions of defendant Nicole, it is clear that
                  2 plaintiff is seeking to have statements and matters within those documents accepted
                  3 as truth. While the authenticity and existence of a particular order, motion, pleading
                  4 or judicial proceeding, which is a matter of public record, is judicially noticeable,
                  5 veracity and validity of its contents (the underlying arguments made by the parties,
                  6 disputed facts, and conclusions of applicable facts or law) are not.”); Velazquez v.
                  7 GMAC Mortg. Corp., 605 F.Supp.2d 1049, 1057 (CD. Cal. 2008) (“a court may take
                  8 judicial notice of the undisputed matters of public record, e.g., the fact that a hearing
                  9 took place, but it may not take judicial notice of disputed facts stated in public
               10 records”); Hennessy v. Penril Datacomm Networks, Inc., 69 F.3d 1344, 1354-55 (7th
               11 Cir. 1995) (holding that district court properly refused to take judicial notice of
               12 corporation's Form 10-K to determine disputed fact). Accordingly, Plaintiffs' request
               13 to have the Court take judicial notice of Exhibits B, C, D, E, F, G, H, I, J, K, L, M, N
               14 and O of Scott McMillan’s declaration for the truth of matters in those pleadings is
               15 inappropriate, unsupported by law, and should be denied. Judicial notice must be
               16 limited to the fact that these documents were filed
               17 3. Plaintiffs’ Request For Judicial Notice Is Improper Because The Facts
               18           Sought To Be Noticed Are Not Relevant To the Issues in Dispute
               19                The fact that matters sought to be proved are not reasonably disputable (and
               20 thus subject to judicial notice) does not make them admissible. FRE 201 deals only
               21 with judicial notice of “adjudicative facts”--i.e., facts in the case that normally go to
               22 the trier of fact (facts relating to the parties, their properties their actions, etc.) Courts
               23 decline to take judicial notice of facts that are irrelevant to the matters at issue.
               24 Adriana Int'l Corp. v. Lewis & Co., 913 F.2d 1406, 1410 n.2 (9th Cir. 1990)
               25 (declining to judicially notice another action brought by the defendant in the case
               26 because it had no relevance to the appeal or the underlying action). Similarly, when
               27 facts are inconsequential to the analysis in the case, or the facts sought to be
               28 judicially noticed “add nothing” to the issue, a court will decline judicial notice of
    Gilbert, Kelly                                           -8-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
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      Case
      Case 3:16-cv-02186-WQH-MDD
           3:16-cv-02186-WQH-MDD Document
                                 Document 127-1 Filed01/30/17
                                          51-2 Filed  09/23/22 PageID.2657
                                                                PageID.4608 Page
                                                                             Page9392  of
                                                                                   of 10
                                          1196


                  1 those facts. Boulder Creek Co. v. Maruko, Inc., 772 F.Supp. 1150, 1151 (CD. Cal.
                  2 1991). Even if a fact has some relevance, a court may refuse to judicially notice it if
                  3 it would not influence its decision. Badillo v. City of Stockton, 956 F.2d 884, 887 n.l
                  4 (9th Cir. 1992) (although election results are judicially noticeable, judicial notice was
                  5 properly denied where the results would not influence the court's decision).
                  6 4. When Offered To Prove The Facts Stated, Court Records Are Hearsay
                  7              Plaintiffs have attempted to have this Court take judicial notice of documents
                  8 from another court to establish the truth of matters stated within them. As such the
                  9 documents would be admissible as evidence only if they satisfied some hearsay
               10 exception. Plaintiffs have asserted no such exception in their request for judidical
               11 notice. Courts have repeatedly held that in regard to judicial notice, the court can
               12 notice the existence and legal effect of court documents, but not that statements in
               13 them or true and cannot notice the truth of hearsay. (Hoag v. Diedjomaho, 200
               14 Cal.App.4th 1008 (2011); People v. Rualcava, 2013 IL App (2d) 120396, 997 N.E.2d
               15 809, 819 (App. Ct. 2nd District 2013) There is a fundamental rule that the court
               16 cannot notice the truth of testimony or judicial findings of fact. (Jorgens v. Ohio
               17 Dept. of Rehabilitation and Corrections, 492 Fed. Appx. 567, 569 (6th Cir. 2012); In
               18 re Oracle Corp. Securities Litigation, 627 F.3d 376, 385 (9th Cir., 2010) While the
               19 court may take juridical notice to show the acts of the parties in a litigation, such as a
               20 complaint being filed, return of service or that stipulations were entered into. (Sullo
               21 Investments, LLC v. Moreau, 151 Conn. App. 372, 95 A.3d 114, 1147 (2014) ; Perry
               22 v. Schaumann, App. 1986, 716 P.2d 1368, 1371) this is not what plaintiffs have
               23 requested in their request for judicial notice.
               24 / / /
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               26 / / /
               27 / / /
               28 / / /
    Gilbert, Kelly                                                  -9-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231449.1 48811-00002                                         3:16-CV-02186-WQH-MD
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      Case 3:16-cv-02186-WQH-MDD
      Case 3:16-cv-02186-WQH-MDD Document
                                 Document 51-2
                                          127-1 Filed
                                                 Filed01/30/17
                                                       09/23/22 PageID.2658
                                                                 PageID.4609 Page
                                                                              Page10393 of
                                                                                     of 10
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                  1 5. Conclusion
                  2              Based on the inappropriateness of the requests for judicial notice, defendant
                  3 Nicole Chaker respectfully requests that this court deny plaintiffs’ request for judicial
                  4 notice of the contents of the documents set forth in the request for judicial notice and
                  5 attached to Scott McMillan’s Declaration in support of the Request for Judicial
                  6 Notice as Exhibits B, C, D, E, F, G, H, I, J, K, L, M, N, and O.
                  7 Dated: January 30, 2017                     GILBERT, KELLY, CROWLEY & JENNETT
                                                                LLP
                  8
                  9
                                                                By: /s/ ARTHUR J. MCKEON, III
               10                                                   ARTHUR J. MCKEON, III
                                                                    REBECCA J. SMITH
               11                                                   Attorneys for Defendant
                                                                    NICOLE CHAKER
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    Gilbert, Kelly                                                  -10-
Crowley & Jennett LLP
   Attorneys at Law       DEFENDANT NICOLE CHAKER'S OBJECTION TO PLAINTIFFS' REQUEST FOR JURIDICAL NOTICE IN
                                     SUPPORT OF ITS OPPOSITION TO DEFENDANT'S ANTI-SLAPP MOTION
                        4231449.1 48811-00002                                          3:16-CV-02186-WQH-MD
                                                              386
 Case 3:16-cv-02186-WQH-MDD Document 127-1 Filed 09/23/22 PageID.4610 Page 394 of
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     8                        UNITED STATES DISTRICT COURT
     9                     SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                          CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional           ORDER
         corporation,
   12
                                       Plaintiffs,
   13              v.
    14   DARREN D. CHJ\KER, an individual,
         and as trustee of PLATINUM
    15   HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et ar.,
   16
                                    Defendants.
   17 HJ\YES,Judge:
   18          The matter before the Court is the Motion to Seal or for Protective Order filed
   19 by Defendant Darren D. Chaker. (ECF No. 78).
   20 I. BACKGROUND
   21          On August 29, 2016, Plaintiffs Scott A. McMillan and The McMillan Law Firm
   22 ("Plaintiffs") initiated this action by filing a complaint alleging causes of action for
   23 violations of the Racketeer Influenced and Corrupt Organizations Act and civil
   24 extortion against Defendant Darren D. Chaker ("Defendant") and other defendants.
   25 (ECF No. 1). On December 5, 2016, Plaintiffs filed the First Amended Complaint
   26 alleging the same causes of action. 1 (ECF No. 25).
   27
   28          1
                The Court granted a motion to dismiss the First Amended Complaint on August
         28, 2017. (ECF No. 83).
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                                            387
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1 Filed10/02/17
                                       84 Filed  09/23/22 PageID.3531
                                                           PageID.4611 Page
                                                                        Page2395
                                                                             of 5of
                                     1196                                        .'

     1         On May 22, 2017, Defendant filed the Motion to Seal or for Protective Order.
     2 (ECF No. 78). Defendant requests that the Court seal the following three previously
     3 filed documents: (1) Exhibit FF to the Original Complaint (ECF No. 1-30); (2) Exhibit
     4 FF to the First Amended Complaint (ECF No. 25-29); and (3) Exhibit C attached to the
     5 declaration of Plaintiff Scott McMillan in support of his opposition to Defendant's
     6 motion for sanctions (ECF No. 75-1 at 121-141). Alternatively, Defendant moves the
     7 Court for a protective order pursuant to Federal Rule of Civil Procedure 5.2(e ). On
     8 June 12, 2017, Plaintiff filed a response in opposition. (ECF No. 80). On June 19,
     9 2017, Defendant filed a reply. (ECF No. 81 ).
    10 II. CONTENTIONS
    11         Defendant contends that the Court should seal the three exhibits pursuant to
    12 common law or Federal Rule of Civil Procedure 5.2. Defendant contends that Exhibit
    13 FF to the original complaint and Exhibit FF to the first amended complaint contain
    14 personal and confidential information and could expose Defendant to identify theft.
    15 Defendant contends that the two Exhibits FF contain his date of birth, social security
    16 number, driver's license numbers, and other personal identifying details. Defendant
    17 contends that Plaintiff violated Rule 5.2 by filing Exhibit FF because Plaintiff did not
    18 redact the month and date ofbirth and the first five digits of Defendant's social security
    19 number. Defendant contends that the personal information in the exhibits is immaterial
    20 to this litigation and its inclusion in the record serves no public interest. Defendant
    21   contends that Exhibit C contains personal information such as addresses, dates of birth,
    22 driver's license information of Defendant's sister, medical information, and other
    23 personal information. Further, Defendant requests that the Court order that all counsel
    24 be restrained from publicly disseminating any portion of the sealed documents in this
    25 matter and that all documents shall be filed in compliance with Federal Rule of Civil
    26 Procedure 5.2. (ECF No. 78-1 ). Defendant contends that Exhibits 1, 2, 4, 6, 7 and 8
    27 to Plaintiffs opposition to this motion (ECF No. 80) should be stricken or
    28 alternatively, sealed and/or fully redacted because these exhibits contain the same

                                                   -2-                             16cv2186-WQH-MDD



                                            388
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        Case
         Case3:16-cv-02186-WQH-MDD
               3:16-cv-02186-WQH-MDDDocument
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                                               84 Filed  09/23/22 PageID.3532
                                                                   PageID.4612 Page
                                                                                Page3396
                                                                                     of 5of
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            1 personal information that is the subject of the motion to seal. (ECF No. 81 at 7).
            2 Defendant contends that Plaintiffs should be sanctioned for knowingly refiling this
            3 information in bad faith. Id.
            4         Plaintiffs contend that there is no compelling reason to seal Exhibit FF or Exhibit
            5 C. (ECF No. 80 at 7, 15). Plaintiffs contend that there are no social security numbers
            6 listed in Exhibit FF and the addresses included in the exhibit are "primarily
            7 thoroughfares or commercial buildings." Id. at 8. Plaintiffs contend that the month and
            8 dates of birth can be redacted and driver's license numbers are not protected
            9 information. Id. at 11. Plaintiffs contend that sensitive information in Exhibit C was
           10 redacted prior to filing and that the exhibit does not list Defendant's personal address
           11   or full date of birth. Id. at 15-18. Plaintiffs contend that Defendant does not have
           12 standing to request the Court seal documents containing personal information about
           13 Vania Chaker. Id. Plaintiffs contend that Exhibit FF and Exhibit C were not filed for
           14 an improper purpose. Plaintiffs contend that sealing the documents is an overbroad
           15 measure and "proposes that the best way to balance the interests ofDefendant and the
           16 public access would be to file the original exhibits under seal, and file the attached
           17 proposed redacted versions on the public record." Id. at 8.
           18 III. LEGAL STANDARDS
           19          "Historically, courts have recognized a' general right to inspect and copy public
           20 records and documents, includingjudicial records and documents."' Kamakana v. City
           21   and Cty. ofHonolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner
           22 Commc 'ns., Inc., 435 U.S. 589, 597 & n.7 (1978). "A party seeking to seal a judicial
           23 record then bears the burden of overcoming this strong presumption by meeting the
           24 compelling reasons standard. That is, the party must articulate compelling reasons
           25 supported by specific factual findings ... that outweigh the general history of access
           26 and the public policies favoring disclosure ...." Id. at 1178-79 (citations and
           27 quotation marks omitted). The presumed right to access court proceedings and
           28 documents can be overcome "only by an overriding right or interest 'based on findings

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 Case3:16-cv-02186-WQH-MDD
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                                       84 Filed  09/23/22 PageID.3533
                                                           PageID.4613 Page
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                                                                             of 5of
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     1 that closure is essential to preserve higher values and is narrowly tailored to serve that
     2 interest."' Oregonian Pub/ 'g Co. v. United States District Court, 920 F.2d 1462, 1465
     3 (9th Cir. 1990) (quoting Press-Enterprise Co. v. Superior Court, 446 U.S. 501, 510
     4 (1985)).
     5         "Under the compelling reasons standard, the district court must weigh relevant
     6 factors, base its decision on a compelling reason, and articulate the factual basis for its
     7 ruling, without relying on hypothesis or conjecture." Pintos v. Pac. Creditors Ass 'n,
     8 605 F.3d 665, 679 (9th Cir. 2010) (quotations omitted). "'Relevant factors' include the
     9 'public interest in understanding the judicial process and whether disclosures of the
    10 material could result in improper use of the material for scandalous or libelous
    11 purposes or infringement upon trade secrets."' Id. at 659 n.6 (quoting Hagestad v.
    12 Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995)); see also Kamakana, 447 F.3d at 1179
    13   ("In general, 'compelling reasons' sufficient to outweigh the public's interest in
    14 disclosure and justify sealing court records exist when such 'court files might have
    15 become a vehicle for improper purposes,' such as the use of records to gratify private
    16 spite, promote public scandal, circulate libelous statements, or release trade secrets.").
    17         Further, Rule 5.2 provides,
    18         Unless the court orders otherwise, in an electronic or paper filing with the
               court that contains an individual's social-security number
    19         taxpayer-identification number, or birth date, the name of an individuai
               known to be a minor, or a financial-account number, a party or nonparty
    20         making the filing may include only:
    21         (1) the last four digits of the             social-security   number and
               taxpayer-identification number;
    22
               (2) the year of the individual's birth;
    23
               (3) the minor's initials; and
    24
               (4) the last four digits of the financial-account number.
    25
    26 Fed. R. Civ. P. 5.2(a). Rule 5.2 provides exemptions from this redaction requirement
    27 for certain documents, including "the official record of a state-court proceeding." Fed.
    28 R. Civ. P. 5.2(b).

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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1 Filed10/02/17
                                       84 Filed  09/23/22 PageID.3534
                                                           PageID.4614 Page
                                                                        Page5398
                                                                             of 5of
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    1 IV. RULING OF THE COURT
    2         The Court has reviewed the three exhibits. Exhibit FF to the Original Complaint
    3 (ECF No. 1-30), Exhibit FF to the First Amended Complaint (ECF No. 25-29), and
    4 Exhibit C attached to the declaration of Plaintiff Scott McMillan in support of his
    5 opposition to Defendant's motion for sanctions (ECF No. 75-1at121-141) contain
    6 personal and confidential identifying information related to Defendant.                The
    7 confidential information contained in these exhibits, such as addresses, financial
    8 information, driver's license information, and a possible social security number, "could
    9 become a vehicle for improper purposes" and justifies sealing the exhibits. Kamakana,
   10 447 F.3d at 1179.       The Court finds that Defendant has carried his burden of
   11   overcoming the strong presumption in favor of public access by articulating compelling
   12 reasons, supported by specific factual findings, for sealing the documents. Further,
   13 because Exhibits 1, 2, 4, 5, 6, 7 and 8 attached to Plaintiffs' response in opposition to
   14 the motion to seal contain most of the same personal information, the Court finds that
   15 Defendant has carried his burden to seal these exhibits as well.
   16         IT IS HEREBY ORDERED that the motion is GRANTED with respect to the
   17 request to seal and denied as to all other requests. (ECF No. 78). The Clerk of Court
   18 shall seal the following previously filed documents: (1) Exhibit FF to the Original
   19 Complaint (ECF No. 1-30); (2) Exhibit FF to the First Amended Complaint (ECF No.
   20 25-29); (3) Exhibit C attached to the declaration of Plaintiff Scott McMillan in support
   21   of his opposition to Defendant's motion for sanctions (ECF No. 75-1 at 121-141); and,
   22 (4) Exhibits 1, 2, 4, 5, 6, 7, and 8 attached to Plaintiffs' response in opposition to the
   23 motion to seal (ECF Nos. 80-2, 80-3, 80-5, 80-6, 80-7, 80-8, 80-9).
   24

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                                            391
Case
Case 3:16-cv-02186-WQH-MDD
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                           Document 127-1
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                                          Filed04/03/17
                                                09/23/22 PageID.3039
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       Telephone: (424) 652-7800
     5 Facsimile: (424) 652-7850
     6
     7 Attorney for Specially Appearing
       Defendant Vania Chaker
     8
     9                        UNITED STATES DISTRICT COURT
    10                     SOUTHERN DISTRICT OF CALIFORNIA
    11
    12 SCOTT A. MCMILLAN, an individual,            CASE NO. 3:16-CV-02186-WQH-
       THE MCMILLAN LAW FIRM, APC,                  MDD
    13 a California professional corporation,
                                                    SUPPLEMENTAL DECLARATION
    14              Plaintiffs,                     OF SPECIALLY APPEARING
                                                    DEFENDANT VANIA CHAKER IN
    15        vs.                                   SUPPORT OF HER NOTICE OF
                                                    MOTION AND MOTION TO
    16 DARREN D. CHAKER, an individual,             DISMISS PLAINTIFFS’ FIRST
       and as trustee of PLATINUM                   AMENDED COMPLAINT, OR, IN
    17 HOLDINGS GROUP TRUST, dba                    THE ALTERNATIVE, TO QUASH
       COUNTER FORENSICS; NICOLE                    DEFECTIVE SERVICE
    18 CHAKER, an individual, and as trustee
       of THE NICOLE CHAKER TRUST,                  The Hon. William Q. Hayes
    19 U/A dated August 18, 2010, VANIA
       CHAKER, and individual and as                Date: April 10, 2017
    20 beneficiary of The Island Revocable          Courtroom: 14B
       Trust under Declaration of Trust dated       Complaint Filed: August 29, 2016
    21 June 2, 2015, MARCUS MACK as
       trustee of The Island Revocable Trust
    22 under Declaration of Trust dated June 2,
       2015,
    23
                    Defendants.
    24
    25
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                                                  SUPPLEMENTAL DECLARATION OF VANIA CHAKER
                                          392
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                                          Case 3:16-cv-02186-WQH-MDD
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                                                                                          09/23/22 PageID.3040
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                                                                   1                SUPPLEMENTAL DECLARATION OF VANIA CHAKER
                                                                   2           I, VANIA CHAKER, declare:
                                                                   3           1.    I am a resident of San Diego County and named as a defendant in this
                                                                   4   case.
                                                                   5           2.    I make this supplemental declaration in support of my Motion to
                                                                   6   Dismiss Plaintiffs’ First Amended Complaint, or, in the Alternative, to Quash
                                                                   7   Service (the “Motion”). Unless otherwise indicated, I make this declaration based
                                                                   8   on my own personal knowledge, and, if called to testify regarding any of the
                                                                   9   statements in this declaration, I could and would testify competently thereto.
                                                                  10           3.    Prior to filing the Motion, I searched files for records of my activities
                                                                  11   the night of February 6, 2017. After filing the Motion, I continued to search my
                                                                  12   records to find additional documentation reflecting my activities the evening of
                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850
BAKER MARQUART LLP




                                                                  13   February 6, 2017. Locating evidence of my activities was complicated by a couple
                               LOS ANGELES, CA 90067




                                                                  14   of factors. First, I was not aware the plaintiffs claimed to have served me until I was
                                                                  15   informed on February 27, 2017 that plaintiffs had filed a proof of service, which was
                                                                  16   three weeks after the purported service. Second, I do not keep a copy of all
                                                                  17   purchase receipts, and the receipts I maintain are not routinely stored in a particular
                                                                  18   location.
                                                                  19           4.    I have located further documentary evidence to refresh my recollection
                                                                  20   of my activities on the evening of February 6, 2017. From approximately 6:00 to
                                                                  21   6:30 p.m., I was having dinner, and located a receipt from the Cheesecake Factory,
                                                                  22   located at 364 N. Beverly Drive, Beverly Hills, California where I often dine.
                                                                  23   Attached as Exhibit A is a true and correct copy of the receipt associated with dinner.
                                                                  24           5.    After dinner that evening, I shopped at a Pottery Barn store, located at
                                                                  25   3200 North Sepulveda Boulevard, Manhattan Beach, California. I purchased an
                                                                  26   item from that Pottery Barn store at approximately 8:04 p.m. Attached as Exhibit B
                                                                  27   is a true and correct copy of the paper receipt I received from the store. I had
                                                                  28   previously submitted the email receipt associate with that purchase, but I was

                                                                                                                       SUPPLEMENTAL DECLARATION OF VANIA
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Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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                                                09/23/22 PageID.3041
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                                    1196




                                       394
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Case 3:16-cv-02186-WQH-MDD
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                                       395
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD
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                           Document 69-1
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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                                            of 2of
                                     1196



                    UNITED STATES COURT OF APPEALS
                                                                 FILED
                            FOR THE NINTH CIRCUIT
                                                                MAR 16 2018
                                                                MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




    SCOTT A. MCMILLAN; THE                   No. 17-56676
    MCMILLAN LAW FIRM, APC,
                                             D.C. No. 3:16-cv-02186-WQH-MDD
                Plaintiffs - Appellants,
                                             U.S. District Court for Southern
      v.                                     California, San Diego

    DARREN D. CHAKER, an                     TIME SCHEDULE ORDER
    individual, and as trustee of
    PLATINUM HOLDINGS GROUP
    TRUST, DBA Counter Forensics;
    VANIA CHAKER, an individual and
    as beneficiary of The Island
    Revocable Trust under Declaration of
    Trust dated June 2, 2015; NICOLE
    CHAKER, an individual, and as
    trustee of THE NICOLE CHAKER
    REVOCABLE LIVING TRUST,
    U/A dated August 18, 2010,

                Defendants - Appellees.




    SCOTT A. MCMILLAN; THE                   No. 18-55343
    MCMILLAN LAW FIRM, APC,
                                             D.C. No. 3:16-cv-02186-WQH-MDD
                Plaintiffs - Appellees,
                                             U.S. District Court for Southern
      v.                                     California, San Diego




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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1 Filed03/16/18
                                      105 Filed  09/23/22 PageID.4011
                                                          PageID.4629 Page
                                                                      Page2413
                                                                            of 2of
                                     1196

    NICOLE CHAKER, an individual,
    and as trustee of THE NICOLE
    CHAKER REVOCABLE LIVING
    TRUST, U/A dated August 18, 2010,

                 Defendant - Appellant.



   This order vacates all brief due dates set by previously issued time schedule orders.
   The parties shall meet the following cross appeal time schedule.

   Fri., March 23, 2018          Mediation Questionnaire due. If your registration for
                                 Appellate ECF is confirmed after this date, the
                                 Mediation Questionnaire is due within one day of
                                 receiving the email from PACER confirming your
                                 registration.
   Tue., March 20, 2018          The party(s) who filed the first appeal shall file and
                                 serve the first brief on cross-appeal pursuant to
                                 FRAP 28.1.
   Thu., April 19, 2018          The party(s) who filed the second appeal shall file
                                 and serve the second brief on cross-appeal pursuant
                                 to FRAP 28.1.
   Mon., May 21, 2018            The third brief on cross-appeal shall be filed and
                                 served pursuant to FRAP 28.1.

   The optional cross appeal reply brief shall be filed and served within 21 days
   of service of the third brief on cross appeal, pursuant to FRAP 28.1.

   Failure of the appellants to comply with the Time Schedule Order will result
   in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: John Brendan Sigel
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7



                                           406
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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1 Filed12/12/17
                                       90 Filed  09/23/22 PageID.3755
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                                                                             of 4of
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    9   NICOLE CHAKER
   10                       UNITED STATES DISTRICT COURT
   11                    SOUTHERN DISTRICT OF CALIFORNIA
   12
   13 SCOTT A. MCMILLAN, an individual,          )   Case No. 3:16-CV-02186-WQH-MD
      THE MCMILLAN LAW FIRM, APC, a              )
   14 California professional corporation,       )   Judge: William Q. Hayes
                                                 )   Courtroom 14B
   15              Plaintiffs,                   )
             vs.                                 )   Magistrate Hon. Mitchell D. Dembin
   16                                            )   Courtroom 11th Floor
      DARREN D. CHAKER an individual,            )
   17 and as trustee of PLATINUM                 )   DEFENDANT NICOLE
      HOLDINGS GROUP TRUST, dba                  )   CHAKER'S NOTICE OF MOTION
   18 COUNTER FORENSICS; NICOLE                  )   FOR EXTENSION OF TIME TO
      CHAKER, an individual, and as trustee      )   FILE CROSS-APPEAL (FRAP
   19 of THE NICOLE CHAKER                       )   4(a)(5))
      REVOCABLE LIVING TRUST, U/A                )
   20 dated August 18, 2010, VANIA               )   (Memorandum of Points and
      CHAKER, an individual and as               )   Authorities and Declaration of
   21 beneficiary of The Island Revocable        )   Rebecca J. Smith and [Proposed]
      Trust under Declaration of Trust dated     )   Order, filed and served concurrently
   22 June 2, 2015, MARCUS MACK as               )   herewith)
      trustee of The Island Revocable Trust      )
   23 under Declaration of Trust dated June 2,   )   Date: January 15, 2018
      2015,                                      )   Dept: 14B
   24                                            )
                   Defendants.                   )   NO ORAL ARGUMENT UNLESS
   25                                            )   REQUESTED BY THE COURT
   26
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   28
        NICOLE CHAKER’S NOTICE OF MOTION TO EXTEND TIME BY WHICH TO
                             FILE CROSS APPEAL
                                                 Page | 1          3:16-CV-02186-WQH-MD
                                         407
     Case
      Case3:16-cv-02186-WQH-MDD
            3:16-cv-02186-WQH-MDDDocument
                                  Document127-1 Filed12/12/17
                                            90 Filed  09/23/22 PageID.3756
                                                                PageID.4631 Page
                                                                             Page2415
                                                                                  of 4of
                                          1196


              1            TO THE COURT, ALL INTERESTED PARTIES AND TO THEIR
              2 RESPECTIVE ATTORNEYS OF RECORD:
              3            PLEASE TAKE NOTICE that on January 15, 2018 in Courtroom 14B of the
              4 above entitled court, before THE HONORABLE William Q. Hayes, presiding, at
              5 333 West Broadway, San Diego, CA 92102, defendant Nicole Chaker will and
              6 hereby does move this court for an order extending the time by which defendant
              7 Nicole Chaker has to file a Notice of Cross-Appeal pursuant to Rule 4(a)(5) of the
              8 Federal Rules of Appellate Procedure, up to and including fourteen (14) days after
              9 granting of the motion pursuant to FRAP 4(a)(5)(C) or any other date permitted by
           10 the court.
           11              This motion is made pursuant to Federal Rules of Appellate Procedure
           12 (“FRAP”) 4(a)(5) on the grounds that the failure to timely file the notice of appeal
           13 was based on excusable neglect and good cause and no prejudice will result to the
           14 other parties in this appeal by virtue of allowing a cross-appeal to now be filed. This
           15 motion is based on this notice, the Memorandum of Points and Authorities and
           16 Declaration of Rebecca J. Smith, filed and served concurrently herewith and such
           17 other oral and documentary evidence as may be presented at the hearing on this
           18 motion.
           19              NO ORAL ARGUMENT WILL BE MADE IN THIS CASE UNLESS
           20 SPECIFICALLY REQUESTED BY THE COURT.
           21 Dated: December 12, 2017                  FREEMAN MATHIS & GARY, LLP
           22
           23                                           By:
                                                              TIMOTHY W. KENNA
           24                                                 REBECCA J. SMITH
                                                              Attorneys for Defendant
           25                                                 NICOLE CHAKER
           26
           27
           28
FREEMAN MATHIS &      NICOLE CHAKER’S NOTICE OF MOTION TO EXTEND TIME BY WHICH
    GARY LLP
ATTORNEYS AT LAW                        TO FILE CROSS-APPEAL
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               Case3:16-cv-02186-WQH-MDD
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                                           Document127-1 Filed12/12/17
                                                     90 Filed  09/23/22 PageID.3757
                                                                         PageID.4632 Page
                                                                                      Page3416
                                                                                           of 4of
                                                   1196


                    1                                 CERTIFICATE OF SERVICE
                    2
                    3       I am employed in the County of Los Angeles, State of California. I am over
                      the age of 18 and not a party to the within action. My business address is 550 South
                    4 Hope Street, 22nd Floor, Los Angeles, CA 90071-2627.
                    5           On December 12, 2017, I served the within document(s) described as:
                    6           DEFENDANT NICOLE CHAKER’S NOTICE OF FOR EXTENSION OF
                                TIME TO FILE CROSS-APPEAL (FRAP 4(A)(5))
                    7
                                on the interested parties in this action as stated on the attached service list:
                    8
                    9
                          X      (BY ELECTRONIC SUBMISSION): I served the above listed document(s)
                   10           described via the United States District Court’s Electronic Filing Program on the
                                designated recipients via electronic transmission through the CM/ECF system on the
                   11           Court’s website. The Court’s CM/ECF system will generate a Notice of Electronic
                                Filing (NEF) to the filing party, the assigned judge, and any registered users in the
                   12           case. The NEF will constitute service of the document(s). Registration as a CM/ECF
                                user constitutes consent to electronic service though the court’s transmission facilities.
                   13
                          X     (BY U.S. MAIL): By placing a true copy of the foregoing document(s) in a
                   14           sealed envelope addressed as set forth on the attached mailing list. I placed
                                each such envelope for collection and mailing following ordinary business
                   15           practices. I am readily familiar with this Firm's practice for collection and
                                processing of correspondence for mailing. Under that practice, the
                   16           correspondence would be deposited with the United States Postal Service on
                                that same day, with postage thereon fully prepaid at San Diego, California, in
                   17           the ordinary course of business. I am aware that on motion of the party
                                served, service is presumed invalid if postal cancellation date or postage meter
                   18           date is more than one day after date of deposit for mailing in affidavit.
                   19           Executed on December 12, 2017, at Los Angeles, California.
                   20           I declare under penalty of perjury that the foregoing is true and correct.
                   21
                                    ELIZABETH RUBIO
                   22               (Type or print name)                                     (Signature)
                   23
                   24
                   25
                   26
                   27
Freeman Mathis
  & Gary, LLP
Attorneys at Law
                   28

                                                          CERTIFICATE OF SERVICE
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                                                                                           of 4of
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                    1                               CERTIFICATE OF SERVICE
                    2
                    3 SCOTT A MCMILLAN
                      THE MCMILLAN LAW FIRM, APC
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                   20 Vania Chaker (Defendant)
                   21
                   22
                   23
                   24
                   25
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                   27
Freeman Mathis
  & Gary, LLP
Attorneys at Law
                   28

                                                      CERTIFICATE OF SERVICE
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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                 09/23/22 PageID.3052
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                                                                             of 9of
                                     1196



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     8
                             UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
    10
    11
       SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
    12 THE MCMILLAN LAW FIRM, APC,                MDD
       a California professional corporation,
    13                                            SPECIALLY APPEARING
                    Plaintiffs,                   DEFENDANT VANIA CHAKER’S
    14                                            EVIDENTIARY OBJECTIONS TO
              vs.                                 THE DECLARATION OF
    15                                            TIMOTHY J. WING IN
       DARREN D. CHAKER, an individual,           OPPOSITION TO DEFENDANT
    16 and as trustee of PLATINUM                 VANIA CHAKER’S MOTION TO
       HOLDINGS GROUP TRUST, dba                  DISMISS PLAINTIFFS’ FIRST
    17 COUNTER FORENSICS; NICOLE                  AMENDED COMPLAINT, OR, IN
       CHAKER, an individual, and as trustee      THE ALTERNATIVE, TO QUASH
    18 of THE NICOLE CHAKER TRUST,                DEFECTIVE SERVICE
       U/A dated August 18, 2010, VANIA
    19 CHAKER, and individual and as
       beneficiary of The Island Revocable        The Hon. William Q. Hayes
    20 Trust under Declaration of Trust dated
       June 2, 2015, MARCUS MACK as               Date: April 10, 2017
    21 trustee of The Island Revocable Trust      Courtroom: 14B
       under Declaration of Trust dated June 2,   Complaint Filed: August 29, 2016
    22 2015,
                                                  [PER CHAMBERS ORDER, NO
    23              Defendants.                   ORAL ARGUMENT UNLESS
                                                  ORDERED BY THE COURT]
    24
    25
    26
    27
    28
               SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                          DECLARATION OF TIMOTHY J. WING
                                           411
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
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                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3053
                                                                                                    PageID.4635 Page
                                                                                                                Page 2419
                                                                                                                       of 9of
                                                                               1196



                                                                   1         Specially Appearing Defendant Vania Chaker hereby submits the following
                                                                   2   Evidentiary Objections to the Declaration of Timothy J. Wing in Opposition to
                                                                   3   Specially Appearing Defendant Vania Chaker’s Motion to Dismiss Plaintiffs’ First
                                                                   4   Amended Complaint, or in the Alternative, to Quash Defective Service (Dkt. 59)
                                                                   5   (the “Wing Declaration”):
                                                                   6
                                                                   7   ¶         Testimony                               Objections
                                                                       ¶4        “I served the documents that had        Foundation/Lack of Personal
                                                                   8             been provided to me upon Vania          Knowledge. (Fed. R. Evid. 602,
                                                                   9             Chaker on February 6, 2017.”            et seq.). Argumentative and
                                                                                                                         Calls for a Legal Conclusion.
                                                                  10
                                                                  11                                                      Mr. Wing’s testimony lacks
                                                                                                                         foundation. He has not
                                                                  12                                                     established that he has any
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                                                                                                                         personal knowledge as to Vania
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                                                                  13
                                                                                                                         Chaker’s identity, appearance or
                               LOS ANGELES, CA 90067




                                                                  14                                                     residence.
                                                                  15
                                                                                                                         Mr. Wing’s claim that he
                                                                  16                                                     “served” Vania Chaker is an
                                                                  17                                                     improper legal conclusion.
                                                                  18   ¶7        “As is my usual practice, I perform     Foundation/Lack of Personal
                                                                  19             surveillance on everything that may     Knowledge (Fed. R. E. 602.).
                                                                                 aid or hinder my service. In this       Relevance (Fed. R. Evid. 402,
                                                                  20             instance, I saw that the complete       403.).
                                                                  21             security camera coverage of the
                                                                                 property would result in my being       Mr. Wing’s testimony lacks
                                                                  22             seen, observed, most likely video-      foundation. Mr. Wing does not
                                                                  23             recorded, and most of all provided      have personal knowledge
                                                                                 “notice” to Ms. Chaker that there was   regarding the identity of the
                                                                  24             an effort to serve Ms. Chaker with      owner(s) or occupant(s) of the
                                                                  25             papers. I expected that Ms. Chaker      house he allegedly “surveilled.”
                                                                                 would maintain the video evidence of    Mr. Wing also has no basis to
                                                                  26             the service.”                           testify as to why the house had
                                                                  27                                                     security cameras or what, if
                                                                                                                         anything, the occupants of the
                                                                  28
                                                                                                                     SPECIALLY APPEARING DEFENANT VANIA
                                                                                                             1      CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                       412              DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
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                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3054
                                                                                                    PageID.4636 Page
                                                                                                                Page 3420
                                                                                                                       of 9of
                                                                               1196



                                                                   1                                                house would have done had they
                                                                                                                    observed Mr. Wing on the
                                                                   2                                                security system.
                                                                   3
                                                                                                                    Mr. Wing’s alleged surveillance
                                                                   4                                                practices and opinions regarding
                                                                   5                                                the security cameras are
                                                                                                                    irrelevant to the claims and
                                                                   6                                                issues in this case.
                                                                   7
                                                                   8   ¶8   “The best evidence of my efforts and    Foundation/Lack of Personal
                                                                   9        my presence at the property, and the    Knowledge (Fed. R. E. 602.)
                                                                            presence of Ms. Chaker, would be the    Argumentative and Calls for a
                                                                  10        cameras that recorded our presence      Legal Conclusion. Relevance
                                                                  11        on February 6,2017. The LED             (Fed. R. Evid. 402, 403.).
                                                                            lighting on the cameras was on,
                                                                  12        indicating to me that there was at      Mr. Wing’s testimony lacks
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                                                                            least a power source for the cameras.   foundation. Mr. Wing does not
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                                                                  13
                                                                                                                    know whether the cameras at the
                               LOS ANGELES, CA 90067




                                                                  14                                                property recorded his alleged
                                                                  15                                                “efforts,” the functionality of the
                                                                                                                    cameras, whether the cameras
                                                                  16                                                were in working order on the
                                                                  17                                                date in question or what the LED
                                                                                                                    lighting on the cameras
                                                                  18                                                signified.
                                                                  19
                                                                                                                    Mr. Wing’s testimony as to what
                                                                  20                                                the “best evidence” is of his
                                                                  21                                                efforts is an improper legal
                                                                                                                    conclusion.
                                                                  22
                                                                  23                                                Mr. Wing’s speculation
                                                                                                                    regarding the functionality of
                                                                  24                                                cameras he allegedly observed is
                                                                  25                                                irrelevant to legal and factual
                                                                                                                    issues in this motion.
                                                                  26
                                                                  27   ¶9   “My first attempt to deliver the        Foundation/Lack of Personal
                                                                            summons and complaint to Vania          Knowledge (Fed. R. E. 602.).
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                        2      CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                  413              DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
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                                                                                           09/23/22 PageID.3055
                                                                                                    PageID.4637 Page
                                                                                                                Page 4421
                                                                                                                       of 9of
                                                                               1196



                                                                   1         Chaker occurred in the first week of     Relevance (Fed. R. Evid. 402,
                                                                             the New Year, 2017. In many of my        403.).
                                                                   2         attempts I noticed the gate to the
                                                                   3         driveway was sometimes open,             Mr. Wing lacks personal
                                                                             sometimes partly open, sometimes         knowledge as to whether the
                                                                   4         closed, and sometimes locked. I          driveway was used for two
                                                                   5         never did see more than one vehicle      vehicles. Mr. Wing’s admitted
                                                                             in the driveway. But, I suspected        “suspicion” that the driveway
                                                                   6         from the way the first SUV was           was also used for two vehicles
                                                                   7         parked that the driveway was used for    lacks foundation. From his
                                                                             two vehicles.                            personal observations, he only
                                                                   8                                                  ever observed one car parked in
                                                                   9                                                  the driveway.

                                                                  10                                                  Mr. Wing’s testimony and
                                                                  11                                                  allegedly observations about the
                                                                                                                      position of the gate and
                                                                  12                                                  speculation about the number of
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                                                                                                                      cars sometimes in the driveway
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                                                                  13
                                                                                                                      is irrelevant to the legal and
                               LOS ANGELES, CA 90067




                                                                  14                                                  factual issues in this motion.
                                                                  15
                                                                  16
                                                                  17   ¶10   “On the date of my successful            Foundation/Lack of Personal
                                                                             service, February 6, 2017, I had gone    Knowledge (Fed. R. E. 602.).
                                                                  18         to the address, it was in the midst of   Argumentative and Calls for a
                                                                  19         the rainy conditions that were           Legal Conclusion. Relevance
                                                                             ongoing in San Diego, at the time. I     (Fed. R. Evid. 402, 403.).
                                                                  20         first arrived at the property about      Vague and Ambiguous.
                                                                  21         5:45 p.m., or so, approaching from
                                                                             the street to the south. I parked my     Mr. Wing’s testimony is
                                                                  22         vehicle south of the property, facing    irrelevant to the legal and factual
                                                                  23         north, which provide me a vantage        issues in this case.
                                                                             point to observe that there were in
                                                                  24         fact two black SUV-type vehicles in      Mr. Wing lacks personal
                                                                  25         the driveway. I was unable to see any    knowledge as to what vehicles
                                                                             license plates, or even if any license   “belonged” at the house in
                                                                  26         plates were on the vehicles, but since   question. He further admittedly
                                                                  27         the gate was close, my assumption        lacks personal knowledge as to
                                                                             was that the vehicles belonged there.    either the license plate numbers
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          3    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    414            DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
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                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3056
                                                                                                    PageID.4638 Page
                                                                                                                Page 5422
                                                                                                                       of 9of
                                                                               1196



                                                                   1                                                  or the make and model of the
                                                                                                                      “SUV-type” vehicles he
                                                                   2                                                  observed. Mr. Wing also lacks
                                                                   3                                                  personal knowledge as to
                                                                                                                      whether the position of the gate
                                                                   4                                                  “meant” anything regarding
                                                                   5                                                  whether the SUVs “belonged” at
                                                                                                                      the residence. It is also not clear
                                                                   6                                                  what the term “belongs” means
                                                                   7                                                  in this context. A visitor to a
                                                                                                                      house might park her car in the
                                                                   8                                                  driveway with the owner’s
                                                                   9                                                  permission and therefore
                                                                                                                      “belong” the house. Similarly,
                                                                  10                                                  delivery persons or Uber drivers
                                                                  11                                                  might park in a driveway with
                                                                                                                      the owner’s permission and
                                                                  12                                                  therefore “belong” at the house.
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                                                                  13
                                                                                                                       Additionally, in paragraph 9,
                               LOS ANGELES, CA 90067




                                                                  14                                                  Mr. Wing declares that he
                                                                  15                                                  “never did see more than one
                                                                                                                      vehicle in the driveway,”
                                                                  16                                                  contradicting his prior testimony
                                                                  17                                                  in this declaration. Mr. Wing’s
                                                                                                                      testimony is not credible.
                                                                  18
                                                                  19                                                  Mr. Wing’s statement that
                                                                                                                      February 6, 2017 was “the date
                                                                  20                                                  of my successful service” is an
                                                                  21                                                  improper legal conclusion.
                                                                  22   ¶11   “I parked my vehicle south of the        Foundation/Lack of Personal
                                                                  23         property, across the street; southeast   Knowledge (Fed. R. E. 602.).
                                                                             of the property. As I had observed       Relevance (Fed. R. Evid. 402,
                                                                  24         cameras covering not only the            403.).
                                                                  25         driveway but the sidewalk as well, I
                                                                             assumed that any vehicles traversing     Mr. Wing’s testimony is
                                                                  26         north-south along the street would be    irrelevant to the legal and factual
                                                                  27         observed. I had expected that I          issues in this motion. Mr.
                                                                             would be visible through the cameras,    Wing’s speculation regarding
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          4    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    415            DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-2 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3057
                                                                                                    PageID.4639 Page
                                                                                                                Page 6423
                                                                                                                       of 9of
                                                                               1196



                                                                   1         but I took a chance that the rain might which vehicles might be
                                                                             be of assistance in providing me        observed by cameras, the effect
                                                                   2         “cover.”                                of rain on the cameras and
                                                                   3                                                 whether he would be observed
                                                                                                                     by the cameras (and what might
                                                                   4                                                 happen if he was recorded by the
                                                                   5                                                 cameras) is irrelevant to the
                                                                                                                     factual and legal issues in this
                                                                   6                                                 motion.
                                                                   7
                                                                                                                      Mr. Wing’s testimony lacks
                                                                   8                                                  foundation. He has not
                                                                   9                                                  established that the cameras he
                                                                                                                      observed were functioning or
                                                                  10                                                  capable of observing or
                                                                  11                                                  recording him.
                                                                  12   ¶13   “Realizing my opportunity to serve       Foundation/Lack of Personal
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                                                                             Ms. Chaker, I then grabbed the           Knowledge (Fed. R. E. 602.)
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                                                                  13
                                                                             documents – the summons and the          Relevance (Fed. R. Evid. 402,
                               LOS ANGELES, CA 90067




                                                                  14         First Amended Complaint, and             403.). Vague and Ambiguous.
                                                                  15         proceeded to get out of the vehicle. I
                                                                             jogged up towards the driveway,          Mr. Wing’s testimony is
                                                                  16         calling out “Hey you, Vania”, or         irrelevant to the legal and factual
                                                                  17         words to that effect. When I made        issues in this motion.
                                                                             that statement Ms. Chaker was in
                                                                  18         speaking distance to me, and my          Mr. Wing’s testimony also lacks
                                                                  19         voice was sufficiently elevated to       foundation and personal
                                                                             provide her notice that I was            knowledge. Mr. Wing does not
                                                                  20         attempting to contact her. However,      know whether the individual in
                                                                  21         upon hearing my shout, Ms. Chaker,       the driveway was Ms. Chaker.
                                                                             who had exited from the garage and       Nor does he know whether the
                                                                  22         was opening the door to one of the       person in the driveway heard his
                                                                  23         SUV’s, quickly closed the car door,      allegedly “sufficiently elevated”
                                                                             and made a dash for the front door of    voice over the rain, or the
                                                                  24         the house. At the same time, the         reasons that the woman might
                                                                  25         garage door began closing from what      have had to enter the garage
                                                                             I assumed was a result of her            when an unknown man in the
                                                                  26         activating the garage door remote        rain ran towards her screaming.
                                                                  27         control. Ms. Chaker entered the          Mr. Wing’s also admits that he
                                                                             house and closed the door behind         does not recall the words he said
                                                                  28
                                                                                                                 SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          5     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    416             DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-2 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3058
                                                                                                    PageID.4640 Page
                                                                                                                Page 7424
                                                                                                                       of 9of
                                                                               1196



                                                                   1         her.”                                      on that date. Mr. Wing also does
                                                                                                                        not know why the garage door
                                                                   2                                                    began to close or who (if
                                                                   3                                                    anyone) activated the garage
                                                                                                                        door opener.
                                                                   4
                                                                   5                                                    Mr. Wing’s testimony about his
                                                                                                                        “sufficiently elevated” voice is
                                                                   6                                                    vague and ambiguous.
                                                                   7
                                                                       ¶14   “The person that I served, i.e., Vania     Foundation/Lack of Personal
                                                                   8         Chaker, I recall by the way of             Knowledge (Fed. R. E. 602.)
                                                                   9         description was female by dress, at        Argumentative and Calls for a
                                                                             mid 5-6 feet tall, more short,             Legal Conclusion. Relevance
                                                                  10         somewhat heavier for the height,           (Fed. R. Evid. 402, 403.).
                                                                  11         wearing a jacket and I believe with a
                                                                             “hoodie.” However, I was able to see       Mr. Wing’s testimony is
                                                                  12         for a brief time brown hair, long          irrelevant to the legal and factual
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                                                                             brown hair. I called out service by        issues in this motion.
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                                                                  13
                                                                             stating “your served Vania Chaker”,
                               LOS ANGELES, CA 90067




                                                                  14         and I tossed the papers over the           Mr. Wing’s testimony lacks
                                                                  15         fence. I returned to my vehicle after      foundation. He has not
                                                                             waving to all the cameras. When I          established that he has personal
                                                                  16         drove north towards Governor Drive         knowledge that the person he
                                                                  17         and pass the house, I again waved to       observed and called out to was
                                                                             the cameras.”                              Vania Chaker.
                                                                  18
                                                                  19                                                    Mr. Wing’s statement that he
                                                                                                                        “served” Vania Chaker by
                                                                  20                                                    throwing papers over the fence
                                                                  21                                                    of a residence is an improper
                                                                                                                        legal conclusion.
                                                                  22
                                                                  23   ¶15   “In light of her appearing to be in        Foundation/Lack of Personal
                                                                  24         control of the premises of 5654            Knowledge (Fed. R. E. 602.)
                                                                             Scripps Street, San Diego, CA 92122,       Argumentative and Calls for a
                                                                  25
                                                                             which I’m informed is her property         Legal Conclusion. Relevance
                                                                  26         that she has title to, the fact that she   (Fed. R. Evid. 402, 403.).
                                                                             ran when I called her name, the fact       Argumentative and Calls for a
                                                                  27
                                                                             that she was in control of one of the      Legal Conclusion.
                                                                  28         two vehicles parked in the driveway
                                                                                                                  SPECIALLY APPEARING DEFENANT VANIA
                                                                                                           6     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                     417             DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-2 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3059
                                                                                                    PageID.4641 Page
                                                                                                                Page 8425
                                                                                                                       of 9of
                                                                               1196



                                                                   1   behind the closed gate, I am confident     Mr. Wing’s testimony is
                                                                       that I served Vania Chaker. I was not      irrelevant to the legal and factual
                                                                   2   able to actually “touch” her with the      issues in this motion. Mr.
                                                                   3   papers as she was behind a closed          Wing’s “confidence” that he
                                                                       gate, and I did not intend to go off the   served Vania Chaker is
                                                                   4   public sidewalk onto private property.     irrelevant as to whether he
                                                                   5   However, I was within 10 yards of          properly legally served Vania
                                                                       her, and as close as I could get in        Chaker. The alleged facts noted
                                                                   6   light of the barrier imposed by her        by Mr. Wing – the address, the
                                                                   7   fence.”                                    fact that a woman allegedly fled
                                                                                                                  from an unknown man running
                                                                   8                                              at her and screaming the rain, or
                                                                   9                                              the fact that the woman was “in
                                                                                                                  control” (whatever Mr. Wing
                                                                  10                                              means by that term) of a vehicle
                                                                  11                                              parked in the driveway does not
                                                                                                                  establish that the woman Mr.
                                                                  12                                              Wing observed was Vania
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                                                                                                                  Chaker.
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                                                                  13
                               LOS ANGELES, CA 90067




                                                                  14                                              Mr. Wing’s testimony lacks
                                                                  15                                              foundation. He has not
                                                                                                                  established that he has personal
                                                                  16                                              knowledge that the person he
                                                                  17                                              observed was Vania Chaker.
                                                                  18                                              Mr. Wing’s statement that he
                                                                  19                                              “served” Vania Chaker is an
                                                                                                                  improper legal conclusion.
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
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                                                                                                            SPECIALLY APPEARING DEFENANT VANIA
                                                                                                     7     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                               418             DECLARATION OF TIMOTHY J. WING
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
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                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3060
                                                                                                    PageID.4642 Page
                                                                                                                Page 9426
                                                                                                                       of 9of
                                                                               1196



                                                                   1
                                                                   2   DATED: April 3, 2017             BAKER MARQUART LLP
                                                                   3                                    /s/ Ryan G. Baker
                                                                   4                                    Ryan G. Baker
                                                                                                        Brian T. Grace
                                                                   5                                    Attorneys for Specially Appearing
                                                                   6                                    Defendant Vania Chaker
                                                                   7
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                                                                                                           SPECIALLY APPEARING DEFENANT VANIA
                                                                                                    8     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                              419             DECLARATION OF TIMOTHY J. WING
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                                                                             of 7of
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                 EXHIBIT Z
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 Case3:16-cv-02186-WQH-MDD
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  Reviews from La Mesa, California
  San Diego Auto Connection - Bait and Switch

  CJS CD Keys - SCAM COMPANY

  Walmart/Tasharina

  The Mcmillan Law Firm - Scott McMillan Law Firm La Mesa

  Luminess Airbrush - Luminous Air




  Featured reviews
  Review about Apex Vitality Miracle Bust from Woodland Hills, California

  Telus Mobility - Telus Signal weak, 3 dots!

  Screaming Owl- Easter dresses

  Food Network - Giada a Playboy Bunny

  Steak N Shake - Wouldn't honer there own advertised price.




  Recently Discussed Reviews
  Review about Luna Flooring Carpet Installation from Upper Marlboro, Maryland
  less than a minute ago

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  1 minute ago

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  6 minutes ago

  Verizon - Collection agency for $6.24 bogus charge
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                                           421
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
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                                                  08/29/16 PageID.4645
                                                           PageID.123 Page
                                                                       Page3429
                                                                             of 7of
        The Mcmillan Law Firm - Scott 1196

         McMillan Law Firm La Mesa
                           1 of 4 The Mcmillan Law Firm Reviews

                     9 La Mesa, California Feb 11   25 views 0 comments



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Another of, literally dozens of appeals and writs filed by McMilian-Law-Firm in
La Mesa, Scott McMillan and Michelle Volk, where the Court of Appeal DENIED
the petition after forcing the defendants to incur huge amounts of attomey
fees.Scott McMillan is the dean of his own law school too, but does not have
a single graduate!

Possibly Scott McMillan should take a class on appeals as he has almost 80
under his belt and a hand full of wins.In my opinion, this is huge waste of
judicial resources where Scott McMillan graduated from a law school behind a
Ford dealership in La Mesa.

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 Comment


More Review Details
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Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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Staff
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W~s~e
Diversity of Products or Services
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Reliability                             *****
Reason of review:
Other

Product or service
The Mcmillan Law Firm Legal Services

Review category
Lawyers

Review rating
4 out of 5


                            review #787855 by anonymous


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                        Post a comment to start a discussion.
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Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
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                                                                             of 7of
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You M.,. A_ LIm




"Howard Tanner Esq Lawyer Is totally Incompetent. I was scammed out of
$10,000 dollars by this sleazy lawyer. I paid him his legal fees, In cash,
upfrnnt as requested by... •


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"I cancelled my account with them back In October and they stili continued
charging my bank they took $340 out of my bank all at once. Before 1 signed
up...•




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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 7of
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"I hired Howard Tanner Esq located at 30 Vesey St, New York, NY, Phone #
(212) 962-1333 to defend me In court because I was am!lsted for shoplifting. I
am...•




"A few weeks ago, I bought from a seller on eBay, who I trusted, and bought
from. I bought HAUNTED PSYCHOKINESIS RING MOVE MATTER WITH YOUR
MINDI from her, for... •




"I also had a bad experlence with one of these ready pac salads. I was tossng
my salad after just adding the extra Ingredients that come with salad
bowl ....•
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Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
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                                                  08/29/16 PageID.4649
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"I honestly would call and complain but this place isnt worth it. Before they
delivered outstanding curly cheese fries, bombass shrimps and amazing garlic
bread. Now i The bacon is dry,no ... "




"We brought a coach and loveseat and have had 4 repairs so far and it is still
not fixed. We asked them to exchange it for better fumiture and the ... "




"I got two Oreos made wrong. And it devastates me because Oreos are my
favorite cookies and 1 look forward to a perfect Oreo but 1 am very
dissatisfied .... "
                                                                    Exh Z
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                                      426
  Case
   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                         for the
                                                   SOUTHERN DISTRICT



SCOTT A. MCMILLAN, et al.                                      )
                             Plaintiff                         )
                    v.                                         )      Case No. 3:16-cv-2186-WQH-MDD
DARREN D. CHAKER, et al.                                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant DARREN D. CHAKER


Date: June 29, 2020                                                  /s/ E. Lacey Rice
                                                                                          Attorney's signature

                                                                     E. LACEY RICE        266748
                                                                                      Printed name and bar number

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                                                                     445 South Figueroa Street, Suite 3000
                                                                     Los Angeles, California 90071
                                                                                                Address

                                                                     lacey.rice@ropers.com
                                                                                            E-mail address

                                                                     (213) 312-2000
                                                                                           Telephone number


                                                                     (213) 312-2001
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Case
 Case3:16-cv-02186-WQH-MDD
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                                                                          1 of 16of
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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10   SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
        individual; THE MCMILLAN LAW
   11   FIRM, APC, a California professional        ORDER
        corporation,
   12
                                    Plaintiffs,
   13         v.
   14   DARREN D. CHAKER, an individual,
        and as trustee of PLATINUM
   15   HOLDINGS GROUP TRUST doing
        business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         The matters before the Court are the motion to dismiss and the motion to strike
   19 Plaintiffs’ third cause of action filed by Defendant Nicole Chaker (ECF Nos. 35, 36);
   20 the motion to dismiss and motion to strike filed by Defendant Darren D. Chaker (ECF
   21 Nos. 55, 56); the motion to dismiss or alternatively to quash service filed by Defendant
   22 Vania Chaker (ECF No. 59); and, the motion for sanctions by Defendant Darren Chaker
   23 (ECF No. 66).
   24 I. BACKGROUND
   25         On December 5, 2016, Plaintiffs Scott A. McMillan and The McMillan Law
   26 Firm, APC filed the First Amended Complaint (“FAC”) against Defendant Darren D.
   27 Chaker, an individual and as trustee of Platinum Holdings Group Trust, dba Counter
   28 Forensics; Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker

                                                  -1-                           16cv2186-WQH-MDD



                                           428
Case
 Case3:16-cv-02186-WQH-MDD
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                                               08/28/17   PageID.4652Page
                                                                      Page  436
                                                                          2 of 16of
                                     1196


    1 Revocable Living Trust, U/A dates August 18, 2010; Defendant Vania Chaker, an
    2 individual and as beneficiary of The Island Revocable Trust under Declaration of Trust
    3 dated June 2, 2015; and Defendant Marcus Mack, as trustee of the Island Revocable
    4 Trust under Declaration of Trust dates June 2, 2015. (ECF No. 25). The FAC alleges
    5 two causes of action under the Racketeer Influenced and Corrupt Organizations
    6 (“RICO”) Act pursuant to 18 U.S.C. § 1962(c) and (d) and a civil extortion cause of
    7 action under California law.
    8 II. ALLEGATIONS OF THE FIRST AMENDED COMPLAINT (“FAC”)
    9         Plaintiff Scott McMillan is a California licensed attorney practicing law and
   10 operating an unaccredited law school. (ECF No. 25 at ¶5). Plaintiff McMillan Law
   11 Firm, APC is a corporation operated by Scott McMillan. Id. ¶ 6. Defendants Vania and
   12 Nicole Chaker are Defendant Darren Chaker’s sister and mother, respectively.
   13         Plaintiffs allege that Defendants constitute a RICO enterprise functioning
   14 together “as a continuing unit with a common purpose to obtain the Plaintiffs’ property
   15 under fear induced by falsely imputing a deformity, disgrace, or crimes, and by threats
   16 to do an unlawful injury to the person or property . . . all in violation of Cal. Penal Code
   17 section 523 (extortion).” Id. ¶ 88. “The common purpose of the Enterprise members
   18 was to assist each other in the filing of false and meritless lawsuits under federal debt
   19 collection statutes; assist each other in the filing of lawsuits against attorneys who
   20 opposed them . . . and to conduct a campaign of harassment, defamation, and extortion
   21 against attorneys, such as the Plaintiffs, who represented parties adverse to the interests
   22 of the Enterprise members . . . .” Id. ¶ 91. “Enterprise member also assisted each other
   23 in committing vandalism against Plaintiff’s property.” Id.
   24         Defendant Darren Chaker is alleged to have committed multiple acts of
   25 racketeering activity through acts involving extortion in violation of California Penal
   26 Code sections 518, 519, and 523. Id. ¶¶ 94-109. Plaintiffs allege that Darren Chaker
   27 sent threatening letters and communications; posted defamatory and fabricated
   28 statements online; sent letters threatening Plaintiffs’ clients; and sent defamatory emails

                                                   -2-                             16cv2186-WQH-MDD



                                            429
Case
 Case3:16-cv-02186-WQH-MDD
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                                               08/28/17   PageID.4653Page
                                                                      Page  437
                                                                          3 of 16of
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    1 to other attorneys and colleagues of Plaintiff McMillan. Id. Plaintiffs allege that these
    2 acts constitute extortion because Defendant “obtained from Plaintiff his intangible
    3 property right to practice law free of threats, and to practice in accordance with the
    4 California Rules of Professional Conduct” and “obtained from Plaintiffs their intangible
    5 property right to practice law and publish court decisions on the internet.” Id. at ¶¶ 99-
    6 109.
    7         Plaintiffs bring the first cause of action for a violation of RICO, 18 U.S.C. §
    8 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84-114. Plaintiffs bring a second
    9 cause of action for conspiracy to violate RICO, 18 U.S.C. § 1962(d) against all
   10 Defendants. Id. ¶¶ 115-119. Plaintiffs bring a third cause of action for civil extortion
   11 under California law against Defendants Darren Chaker and Nicole Chaker. Id. ¶¶ 120-
   12 133.
   13 III. LEGAL STANDARD ON RULE 12(B)(6)
   14         Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “failure to state
   15 a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Federal Rule of
   16 Civil Procedure 8(a) provides that “[a] pleading that states a claim for relief must
   17 contain . . . a short and plain statement of the claim showing that the pleader is entitled
   18 to relief.” Fed. R. Civ. P. 8(a)(2). Dismissal under Rule 12(b)(6) is appropriate where
   19 the complaint lacks a cognizable legal theory or sufficient facts to support a cognizable
   20 legal theory. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
   21         “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
   22 requires more than labels and conclusions, and a formulaic recitation of the elements
   23 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   24 (quoting Fed. R. Civ. P. 8(a)). When considering a motion to dismiss, a court must
   25 accept as true all “well-pleaded factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662,
   26 679 (2009). However, a court is not “required to accept as true allegations that are
   27 merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”
   28 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “In sum, for a

                                                   -3-                              16cv2186-WQH-MDD



                                            430
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               08/28/17   PageID.4654Page
                                                                      Page  438
                                                                          4 of 16of
                                     1196


    1 complaint to survive a motion to dismiss, the non-conclusory factual content, and
    2 reasonable inferences from that content, must be plausibly suggestive of a claim
    3 entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
    4 2009) (internal quotation marks omitted).
    5 IV. MOTIONS TO DISMISS BY DARREN CHAKER AND NICOLE CHAKER
    6 (ECF Nos. 35, 56)
    7         Defendant Darren Chaker contends that the FAC should be dismissed with
    8 prejudice for failure to state a claim. Defendant Darren Chaker contends that the RICO
    9 cause of action pursuant to 18 U.S.C. §1962(c) must be dismissed because Plaintiffs fail
   10 to adequately allege facts to support the predicate act of extortion. (ECF No. 56-1 at
   11 10). Defendant Darren Chaker contends that Plaintiffs fail to state a claim for extortion
   12 because Plaintiffs do not allege facts to show that Defendant Darren Chaker obtained
   13 property from Plaintiffs. Id. at 13. Defendant Darren Chaker further contends that
   14 Plaintiffs lack standing because the FAC fails to allege cognizable damages. Id. at 18.
   15 Defendant Darren Chaker contends that the second cause of action for RICO
   16 conspiracy, 18 U.S.C. § 1962(d), fails for the same reasons as the first cause of action.
   17 Defendant Darren Chaker contends that the Court should decline to exercise
   18 supplemental jurisdiction over the state law claim. Id. at 19-20.
   19         Defendant Nicole Chaker also contends the FAC should be dismissed for failure
   20 to state a claim.1 (ECF No. 35). Defendant Nicole Chaker contends that her alleged
   21 conduct is protected by the Noerr-Pennington doctrine. (ECF No. 35-1 at 13-16).
   22 Defendant Nicole Chaker contends that the RICO causes of action should be dismissed
   23 because Plaintiffs fail to adequately plead an enterprise with an effect on interstate
   24 commerce, a pattern of racketeering, cognizable damages, or sufficient conduct or
   25
              1
              Defendant Nicole Chaker files a request for judicial notice of document in the
   26 record of a district court case from the United States District Court for the Central
      District of California. (ECF No. 35-3). Plaintiffs’ also file a request for judicial notice
   27 of court documents in other cases. (ECF No. 45-1). The Court denies the request for
      judicial notice as unnecessary. See, e.g., Asvesta v. Petroutsas, 580 F.3d 1000, 1010
   28 n. 12 (9th Cir. 2009) (denying request for judicial notice where judicial notice would
      be “unnecessary”).
                                                  -4-                              16cv2186-WQH-MDD



                                            431
Case
 Case3:16-cv-02186-WQH-MDD
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                                      83 Filed   09/23/22PageID.3518
                                               08/28/17   PageID.4655Page
                                                                      Page  439
                                                                          5 of 16of
                                     1196


    1 participation in enterprise affairs. Id. at 18-25. Defendant Nicole Chaker contends that
    2 the claim under § 1962(d) necessarily fails if the § 1962(c) claim is dismissed. Id. at
    3 24. Defendant Nicole Chaker contends that Plaintiffs do not sufficiently allege any
    4 cognizable injury to support the cause of action for civil extortion. Id. at 25. Defendant
    5 Nicole Chaker contends that she is “protected by the litigation privilege under
    6 California Civil Code § 47.” Id. at 29.
    7          Plaintiffs contend that the FAC sufficiently alleges extortion pursuant to the
    8 California Penal Code as a predicate act for the RICO claims. (ECF No. 60). Plaintiffs
    9 contend that Defendant Darren Chaker “has obtained the Plaintiffs’ property, i.e. the
   10 right to publicity, the goodwill in the business, the Plaintiff’s ability to practice law, the
   11 Plaintiff’s identity and the Plaintiffs’ logo.” Id. at 14-15. Plaintiffs further contend that
   12 the FAC alleges cognizable damages in the form of injury to a business or property. Id.
   13 at 20-21. Plaintiffs contend that federal law, state law, and California state courts
   14 define “property” broadly to include the damage to intangible property interests alleged
   15 in the complaint. Id. at 20-26. Plaintiffs contend that intangible property rights were
   16 obtained by Defendant Darren Chaker. Id. at 26-30. Plaintiffs contend that the Court
   17 should exercise its supplemental jurisdiction over the state law claim of civil extortion.
   18 Id. at 30-31. Plaintiffs contend that the Noerr-Pennington doctrine has no applicability
   19 to this case. (ECF No. 43 at 25). Plaintiffs contend that Defendant Nicole Chaker is
   20 not protected by the litigation privilege under California Civil Code section 47.
   21 Plaintiffs contend that the FAC adequately alleges that Defendant Nicole Chaker
   22 conspired to violate § 1962(c). Id. at 20. Plaintiffs contend that the FAC adequately
   23 alleges a civil extortion claim. Id. at 22-23.
   24          A. RICO, 18 U.S.C. § 1962(c)
   25          “The Racketeer Influenced and Corrupt Organizations (‘RICO’) Act . . . provides
   26 for both criminal and civil liability.” Odom v. Microsoft Corp., 486 F.3d 541, 545 (9th
   27 Cir. 2007) (citing Pub. L. No. 91-452, § 901, 84 Stat. 922 (1970) (codified at 18 U.S.C.
   28 §§ 1961-1968)). “Under RICO’s civil enforcement mechanism, ‘any person injured in

                                                    -5-                              16cv2186-WQH-MDD



                                             432
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed   09/23/22PageID.3519
                                               08/28/17   PageID.4656Page
                                                                      Page  440
                                                                          6 of 16of
                                     1196


    1 his business or property by reason of a violation of [18 U.S.C. § 1962] may sue therefor
    2 in any appropriate United States district court and shall recover threefold the damages
    3 he sustains and the cost of the suit, including a reasonable attorney’s fee . . . .’”
    4 Canyon Cty v. Sygenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008) (citing 18 U.S.C.
    5 § 1964(c)). “Subsections 1962(a) through (c) prohibit certain ‘pattern[s] of racketeering
    6 activity’ in relation to an ‘enterprise.’” United Bhd. of Carpenters & Joiners of Am. v.
    7 Bldg. & Const. Trades Dep’t, AFL-CIO, 770 F.3d 834, 837 (9th Cir. 2014). “To have
    8 standing under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm
    9 qualifies as injury to his business or property; and (2) that his harm was ‘by reason of’
   10 the RICO violation, which requires the plaintiff to establish proximate causation.” Id.
   11 (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 268 (1992); Sedima,
   12 S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).
   13         Section 1962(c) provides,
   14         It shall be unlawful for any person employed by or associated with any
              enterprise engaged in, or the activities of which affect, interstate or foreign
   15         commerce, to conduct or participate, directly or indirectly, in the conduct
              of such enterprise’s affairs through a pattern of racketeering activity or
   16         collection of unlawful debt.
   17 18 U.S.C. § 1962(c). “The elements of a civil RICO claim are as follows: (1) conduct
   18 (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as
   19 ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” United Bhd. of
   20 Carpenters, 770 F.3d at 837 (citing Living Designs, Inc. v. E.I. Dupont de Nemours &
   21 Co., 431 F.3d 353, 361 (9th Cir. 2005)).
   22         “A ‘pattern of racketeering activity’ requires at least two predicate acts of
   23 racketeering activity, as defined in 18 U.S.C. § 1961(1) within a period of ten years.”
   24 Canyon Cty, 519 F.3d at 972. “Racketeering activity” as defined by statute includes
   25 “any act or threat involving . . . extortion, . . . which is chargeable under State law.”
   26 18 U.S.C. § 1961(1)(A). To constitute a predicate act of extortion for purposes of a
   27 RICO cause of action, the alleged act must satisfy the generic definition of extortion –
   28 “obtaining something of value from another with his consent inducted by the wrongful

                                                   -6-                               16cv2186-WQH-MDD



                                             433
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed   09/23/22PageID.3520
                                               08/28/17   PageID.4657Page
                                                                      Page  441
                                                                          7 of 16of
                                     1196


    1 use of force, fear, or threats.” United Bhd. of Carpenters, 770 F.3d at 843 (citing
    2 United States v. Nardello, 393 U.S. 286 (1969)).
    3         In Scheidler v. National Organization for Women, Inc., the Supreme Court
    4 considered whether the use or threat of force, violence or fear to cause a party to “‘give
    5 up’ property rights, namely, ‘a woman’s right to seek medical services from a clinic, the
    6 right of the doctors, nurses or other clinic staff to perform their jobs, and the right of the
    7 clinics to provide medical services free from wrongful threats, violence, coercion and
    8 fear” constituted Hobbs Act extortion or a state extortion offense for purposes of a
    9 RICO predicate act. 537 U.S. 393, 400-01 (2003). The Court determined that although
   10 “[t]here was no dispute . . . that petitioners interfered with, disrupted, and in some
   11 instances completely deprived, respondents of their ability to exercise their property
   12 rights . . . . such acts did not constitute extortion because petitioners did not ‘obtain
   13 respondents’ property.” Id. at 404-05. The Court further stated, “Petitioners may have
   14 deprived or sought to deprive respondents of their exclusive control of their business
   15 assets, but they did not acquire any such property. Petitioners neither pursued nor
   16 received ‘something of value from’ respondents that they could exercise, transfer or
   17 sell.” Id. (citing Nardello, 393 U.S. at 290)).
   18         In this case, Plaintiffs allege that the requisite predicate acts are multiple acts of
   19 extortion in violation of California Penal Code sections 518, 519, and 523.2 An act of
   20 extortion which is chargeable under state law can constitute racketeering activity
   21 sufficient to support a RICO claim. See 18 U.S.C. § 1961(1)(A). However, to plead
   22 extortion as a predicate act, Plaintiffs must allege facts to show that the act involved
   23 “obtaining something of value from another.” United Bhd. of Carpenters, 770 F.3d at
   24 843; Scheidler, 537 U.S. at 410 (“[W]here as here the Model Penal Code and a majority
   25 of States recognize the crime of extortion as requiring a party to obtain or to seek to
   26
   27         2
               Plaintiffs allege the cause of action pursuant to 18 U.S.C. § 1962(c) solely
      against Defendant Darren Chaker. Plaintiffs do not allege the cause of action pursuant
   28 to 18 U.S.C. § 1962(c) against Defendant Nicole Chaker. (ECF No. 25 at 33; ECF No.
      43 at 6).
                                                   -7-                               16cv2186-WQH-MDD



                                             434
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed   09/23/22PageID.3521
                                               08/28/17   PageID.4658Page
                                                                      Page  442
                                                                          8 of 16of
                                     1196


    1 obtain property, as the Hobbs Act requires, the state extortion offense for purposes of
    2 RICO must have a similar requirement.”). Plaintiffs allege that various acts by
    3 Defendant Darren Chaker constitute state extortion offenses and predicate acts under
    4 RICO because Defendant Darren Chaker obtained from Plaintiffs the “intangible right
    5 to practice law and publish decisions on the internet” and the “intangible property right
    6 to practice law free of threats, and to practice in accordance with the California Rules
    7 of Professional Conduct.” (ECF No. 25 at ¶¶ 99-109). The Court concludes that these
    8 factual allegations are insufficient to establish that Defendant Darren Chaker obtained
    9 something of value from Plaintiffs. Scheidler, 537 U.S. at 410. Because Plaintiffs fail
   10 to sufficiently allege a predicate act, Plaintiffs fail to state a claim pursuant to 18 U.S.C.
   11 § 1962(c). See, e.g., United Bhd. of Carpenters, 770 F.3d at 837 (stating that a plaintiff
   12 must properly allege a predicate act to state a claim under RICO). The motion to
   13 dismiss the cause of action under 18 U.S.C.§ 1962(c) filed by Defendant Darren Chaker
   14 is granted.
   15          B. RICO Conspiracy, 18 U.S.C. § 1962(d)
   16          Plaintiffs bring a RICO conspiracy cause of action against all Defendants and
   17 allege that
   18          commencing in 2004 and during and continuing at all times to the present,
               RICO defendants conspired to violate section 1962(c), i.e. each defendant
   19          agreed that a conspirator (DARREN) would conduct or participate in the
               affairs of the Enterprise through a pattern of racketeering, including acts
   20          involving extortion in violation of California state law, as more fully
               described in the First Claim for Relief.
   21
        (ECF No. 25 at ¶ 116).
   22
               A civil RICO cause of action is available for a violation of 18 U.S.C. § 1962(d).
   23
        See 18 U.S.C. § 1964(c). Pursuant to 18 U.S.C. § 1962(d), it is “unlawful for any
   24
        person to conspire to violate any of the provisions of subsection (a), (b), or (c) of this
   25
        section.” 18 U.S.C. § 1962(d). In Howard v. Am. Online Inc., the Ninth Circuit Court
   26
        of Appeals held that “Plaintiffs cannot claim that a conspiracy to violate RICO existed
   27
        if they do not adequately plead a substantive violation of RICO.” 208 F.3d 741, 751
   28
        (9th Cir. 2000). The Court has determined that Plaintiffs did not adequately plead a

                                                    -8-                              16cv2186-WQH-MDD



                                             435
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed
                                      83 Filed   09/23/22PageID.3522
                                               08/28/17   PageID.4659Page
                                                                      Page  443
                                                                          9 of 16of
                                     1196


    1 substantive violation of 18 U.S.C § 1962(c). The motions to dismiss the RICO
    2 conspiracy cause of action under 18 U.S.C. § 1962(d) filed by Defendants Nicole
    3 Chaker and Darren Chaker are granted.
    4         C. Civil Extortion Under State Law
    5         The civil extortion cause of action alleged by Plaintiffs against Defendants
    6 Darren Chaker and Nicole Chaker does not arise under federal law. The FAC states that
    7 this case is properly in federal court based on federal question jurisdiction3 and that this
    8 Court has supplemental jurisdiction over the remaining state law claim pursuant to 28
    9 U.S.C. § 1367(a) because it is “so related to the claims in the action within the Court’s
   10 original jurisdiction that they form part of the same case or controversy under Article
   11 III of the United States Constitution.” (ECF No. 25 at 2). The federal supplemental
   12 jurisdiction statute provides:
   13         [I]n any civil action of which the district courts have original jurisdiction,
              the district courts shall have supplemental jurisdiction over all other
   14         claims that are so related to claims in the action within such original
              jurisdiction that they form part of the same case or controversy under
   15         Article III of the United States Constitution.
   16 28 U.S.C. § 1367(a). “The district courts may decline to exercise supplemental
   17 jurisdiction over a claim under subsection (a) if . . . the district court has dismissed all
   18 claims over which it has original jurisdiction[.]” 28 U.S.C. § 1367(c).
   19         Having dismissed the only federal claims asserted against Defendant Darren
   20 Chaker and Nicole Chaker, the Court declines to exercise supplemental jurisdiction over
   21 this state law claim pursuant to 28 U.S.C. § 1367(c). See San Pedro Hotel Co., Inc. v.
   22 City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998). The motions to dismiss the civil
   23 extortion cause of action filed by Defendants Nicole Chaker and Darren Chaker are
   24 granted.
   25 V. MOTIONS TO STRIKE BY DARREN CHAKER AND NICOLE CHAKER
   26
   27         3
              Plaintiffs also allege, “This Court has subject-matter jurisdiction over this action
      pursuant to 28 U.S.C. § 1332.” (ECF No. 25 at ¶ 1). Plaintiffs have failed to allege
   28 sufficient facts to establish diversity jurisdiction and this statement appears to be in
      reference to 28 U.S.C. § 1331.
                                                   -9-                              16cv2186-WQH-MDD



                                            436
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3523
                                             08/28/17     PageID.4660Page
                                                                       Page
                                                                          10444 of
                                                                            of 16
                                    1196


    1 (ECF Nos. 55, 36)
    2         Defendant Darren Chaker filed a motion to strike portions of the FAC pursuant
    3 to Federal Rule of Civil Procedure 12(f). (ECF No. 55). The Court has dismissed the
    4 FAC as to Darren Chaker. Accordingly, the Court denies as moot Defendant Darren
    5 Chaker’s motion to strike. (ECF No. 55).
    6         Defendant Nicole Chaker filed an anti-SLAPP motion to strike the third cause of
    7 action pursuant to California Code of Civil Procedure section 425.16 and for an award
    8 of attorney’s fees pursuant to California Code of Civil Procedure section 425.16(c).
    9 (ECF No. 36). As a result of the Court’s decision to decline supplemental jurisdiction
   10 over the state law civil extortion claim, the Court does not reach the merits of this
   11 motion. The Court denies as moot Defendant Nicole Chaker’s anti-SLAPP motion to
   12 strike and for attorney’s fees and costs. (ECF No. 36).
   13 VI. MOTION TO DISMISS OR QUASH SERVICE BY VANIA CHAKER (ECF
   14 No. 59)
   15         “Specially Appearing Defendant” Vania Chaker moves the Court pursuant to
   16 Rule 12(b)(5) for an order dismissing the complaint or alternatively, for an order
   17 quashing defective service. (ECF No. 59). Defendant Vania Chaker contends that
   18 Plaintiffs failed to serve her prior to the Court’s February 27, 2017 deadline for service.
   19 Id. at 4. Defendant Vania Chaker contends that Plaintiffs failed to serve her by personal
   20 service on February 6, 2017 at 6:02 p.m. as represented to the Court by Plaintiffs. Id.
   21 at 3. Defendant Vania Chaker contends that she has “strong and convincing” evidence
   22 that Plaintiff’s purported proof of service is fabricated because Defendant Vania Chaker
   23 was not at this location at that time.4 Id. at 3-5. Defendant Vania Chaker further
   24
   25         4
              Defendant Vania Chaker requests judicial notice of decision of the California
      Court of Appeal, Fourth District, Division 1. (ECF No. 59-3). Plaintiffs object to the
   26 request for judicial notice. (ECF No. 64-5). The Court does not rely on this material
      in reaching its decision and denies the request for judicial notice. See, e.g., Asvesta v.
   27 Petroutsas, 580 F.3d 1000, 1010 n. 12 (9th Cir. 2009) (denying request for judicial
      notice where judicial notice would be “unnecessary”). Additionally, Defendant Vania
   28 Chaker filed evidentiary objections to declarations filed by Plaintiffs. (ECF Nos. 69-2,
      69-3, 69-4). The Court has reviewed and considered these objections. A ruling on
                                                  - 10 -                           16cv2186-WQH-MDD



                                            437
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3524
                                             08/28/17     PageID.4661Page
                                                                       Page
                                                                          11445 of
                                                                            of 16
                                    1196


    1 contends that the Summons filed by Plaintiffs incorrectly names Vania Chaker as an
    2 individual and as trustee of Vania Chaker Trust. Id. at 3. Defendant Vania Chaker
    3 contends she should be dismissed from this action because Plaintiffs have failed to
    4 complete service despite two extensions of time and have failed to establish good cause
    5 for another extension of time. Id. at 7.
    6         Plaintiffs contend that Defendant Vania Chaker was properly served on Feburary
    7 6, 2017. Plaintiffs contend that the evidence offered in support of Defendant Vania
    8 Chaker’s motion is not credible and does not establish that she was not home at the time
    9 stated in the proof of service filed with the Court.5 (ECF No. 64). Plaintiffs contend
   10 that the Court should find service proper based on the substantial compliance doctrine.
   11 Id. at 5-6. Plaintiffs request that the Court deny this motion and order Defendant Vania
   12 Chaker to respond to the complaint within ten days. Plaintiffs request that, if the Court
   13 grants any portion of the motion, the Court extend time for service, designate counsel
   14 for Vania Chaker as agent for service of process, and order that her counsel accept the
   15 service by email. Id. at 8.
   16         A. Legal Standard
   17         “Without a proper basis for jurisdiction, or in the absence of service of process,
   18 the district court has no power to render any judgment against the defendant’s person
   19 or property unless the defendant has consented to jurisdiction or waived the lack of
   20 process.” S.E.C. v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007). “A federal court is
   21 without personal jurisdiction over a defendant unless the defendant has been served in
   22 accordance with Fed.R.Civ.P. 4.” Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986),
   23 amended, 807 F.2d 1514 (9th Cir. 1987) (citing Jackson v. Hayakawa, 682 F.2d 1344,
   24 1347 (9th Cir. 1982)). Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant
   25 to move to dismiss the complaint for insufficient service of process. Fed. R. Civ. P.
   26
        these objections is not necessary to resolve this motion.
   27
              5
              Plaintiffs filed evidentiary objections to the declaration filed by Vania Chaker
   28 in support of her motion. (ECF No. 64-4). The Court has reviewed and considered
      these objections. A ruling on these objections is not necessary to resolve this motion.
                                                 - 11 -                           16cv2186-WQH-MDD



                                           438
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3525
                                             08/28/17     PageID.4662Page
                                                                       Page
                                                                          12446 of
                                                                            of 16
                                    1196


    1 12(b)(5). Once a party challenges service, the plaintiff bears the burden to show that
    2 service was valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
    3 The court has discretion to dismiss an action or quash service if there is insufficiency
    4 of process or insufficiency of service. See SHJ v. Issaquah School District No. 411, 470
    5 F.3d 1288, 1293 (9th Cir. 2006) (citing Stevens v. Security Pac. Nat’l Bank, 538 F.2d
    6 1387, 1389 (9th Cir. 1976)).
    7         Under Federal Rule of Civil Procedure 4(e), a plaintiff may serve an individual
    8 within a judicial district of the United States by (1) following state law service
    9 requirements, or (2) service may be effected upon an individual by (A) delivering a
   10 copy of the summons and complaint to the individual personally, (B) by leaving a copy
   11 of each “at the individual’s dwelling or usual place of abode” with someone of suitable
   12 age and discretion who resides there; or (C) by delivering a copy of each to an “agent
   13 authorized by appointment or by law to receive service of process.” Fed. R. Civ. P.
   14 4(e).
   15         California Code of Civil Procedure section 415.20(a) states,
   16         In lieu of personal delivery of a copy of the summons and complaint to the
              person to be served...a summons may be served by leaving a copy of the
   17         summons and complaint during usual office hours in his or her office, or
              if no physical address is known, at his or her usual mailing address... with
   18         the person who is apparently in charge thereof, and by thereafter mailing
              a copy of the summons and complaint by first-class mail, postage prepaid
   19         to the person to be served at the place where a copy of the summons and
              complaint were left....
   20
        Cal. Code of Civ. P. § 415.20(a).
   21
              If a party receives sufficient notice of the complaint, Rule 4 is to be “liberally
   22
        construed” to uphold service. Chan v. Soc’y Expeditions, Inc., 39 F.3d 1398, 1404 (9th
   23
        Cir. 1994). “However, ‘neither actual notice nor simply naming the defendant in the
   24
        complaint will provide personal jurisdiction without substantial compliance with Rule
   25
        4.’” Travelers Cas. & Sur. Co. of Am. v. Brenneke, 551 F.3d 1132, 1135 (9th Cir. 2009)
   26
        (citing Benny, 799 F.2d at 492 (citation and quotes omitted)).
   27
              B. Discussion
   28
              Plaintiffs filed their original complaint on August 29, 2016 (ECF No. 1) and the

                                                  - 12 -                          16cv2186-WQH-MDD



                                            439
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3526
                                             08/28/17     PageID.4663Page
                                                                       Page
                                                                          13447 of
                                                                            of 16
                                    1196


    1 FAC on December 5, 2016 (ECF No. 25). On December 20, 2016, this Court issued an
    2 order granting Plaintiffs a second extension of time in which to complete service upon
    3 Defendant Vania Chaker. (ECF No. 38). The Order stated, “Plaintiffs’ new deadline
    4 to achieve service on Vania Chaker is Monday, February 27, 2017.” Id.
    5         On February 27, 2017, Plaintiffs filed Proof of Service of Summons in the
    6 Complaint. (ECF No. 58). The document states that Defendant Vania Chaker was
    7 served by personal service on February 6, 2017 at 6:02 p.m. in San Diego by a
    8 registered process server. (ECF No. 58). Defendant Vania Chaker asserts she was not
    9 served on February 6, 2017. Defendant Vania Chaker provides receipts from purchases
   10 she made in Manhattan Beach, California around the time of service on February 6,
   11 2017 to establish that she was not in San Diego at this time and date.
   12         In a declaration filed in support of Plaintiffs’ opposition, the process server states
   13 that on February 6, 2017 around 6 p.m., he observed Vania Chaker at the address stated
   14 in the proof of service document. He states that he
   15         jogged up towards the driveway, calling out “Hey you, Vania” or words
              to that effect. When I made the statement Ms. Chaker was in speaking
   16         distance to me, and my voice was sufficiently elevated to provide her
              notice that I was attempting to contact her. However, upon hearing my
   17         shout, Ms. Chaker, who had exited from the garage . . . made a dash for
              the front floor of the house. . . . Ms. Chaker entered the house and closed
   18         the door behind her. . . . I called out service by stating “your served Vania
              Chaker”, and I tossed the papers over the fence, . . . I was not able to
   19         actually ‘touch’ her with the papers as she was behind a closed gate, and
              I did not intend to go off the public sidewalk onto private property.
   20         However I was within 10 yards of her, and as close as I could get in light
              of the barrier imposed by her fence.
   21
        (ECF No. 64-1 at 4).
   22
              Based on the statements offered in the declaration by the process server, the
   23
        Court cannot conclude that Plaintiffs delivered a copy of the summons and complaint
   24
        to Defendant Vania Chaker personally. See Fed. R. Civ. P. 4(e). Plaintiffs further
   25
        contend that the Court should uphold service as proper under the substantial compliance
   26
        doctrine. In Travelers Cas. & Sur. Co. of Am. v. Brenneke, the Ninth Circuit Court of
   27
        Appeals held,
   28
              Sufficient service may be found where there is a good faith effort to

                                                   - 13 -                            16cv2186-WQH-MDD



                                             440
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3527
                                             08/28/17     PageID.4664Page
                                                                       Page
                                                                          14448 of
                                                                            of 16
                                    1196


    1         comply with the requirements of Rule 4(e)(2) which has resulted in
              placement of the summons and complaint within the defendant’s
    2         immediate proximity and further compliance with Rule 4(e)(2) is only
              prevented by the defendant’s knowing and intentional actions to evade
    3         service.
    4 551 F.3d at 1136. While Plaintiffs assert that Defendant Vania Chaker has attempted
    5 to evade service and that the process server left the papers in her proximity, Defendant
    6 Vania Chaker provides evidence that she was not present at the address when the
    7 alleged service was completed. The Court concludes that Plaintiffs have failed to
    8 satisfy their burden to demonstrate that service upon Defendant Vania Chaker was
    9 proper under Rule 4. See id. at 1135 (“neither actual notice nor simply naming the
   10 defendant in the complaint will provide personal jurisdiction without substantial
   11 compliance with Rule 4.”). The Court grants Defendant Vania Chaker’s motion to
   12 quash service of process. See Issaquah School District No. 411, 470 F.3d at 1293
   13         However, the Court has determined that Plaintiffs did not adequately plead a
   14 substantive violation of 18 U.S.C § 1962(c). Accordingly, Plaintiffs’ claim for a
   15 conspiracy to violate RICO pursuant to 18 U.S.C. § 1962(d) necessarily fails. See supra
   16 Part IV.B; Howard, 208 F.3d at 751. Conspiracy to violate RICO pursuant to 18 U.S.C.
   17 § 1962(d) is the only cause of action alleged against Defendant Vania Chaker. The
   18 Court dismisses the FAC without prejudice as to Defendant Vania Chaker. (ECF No.
   19 25).
   20 VII. MOTION FOR SANCTIONS BY DARREN CHAKER (ECF No. 66)
   21         Defendant Darren Chaker filed a motion for sanctions against Plaintiffs pursuant
   22 to Rule 11 of the Federal Rules of Civil Procedure, or alternatively, the Court’s inherent
   23 power. (ECF No. 66). Defendant Darren Chaker contends that sanctions are warranted
   24 because (1) the allegations in the FAC are “factually baseless from an objective
   25 perspective, and were included in the FAC for an improper purpose”; (2) Plaintiffs’
   26 RICO claims are frivolous; and (3) Plaintiffs’ RICO claims were brought “for the
   27 improper purpose of naming Darren’s mother . . . and sister . . . as Defendants . . . solely
   28 to harass Darren and his family.” Id. at 2.

                                                  - 14 -                           16cv2186-WQH-MDD



                                            441
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3528
                                             08/28/17     PageID.4665Page
                                                                       Page
                                                                          15449 of
                                                                            of 16
                                    1196


    1         Plaintiffs contend that the motion is without merit and that the allegations of the
    2 FAC are proper, non-frivolous, and sufficiently supported by facts. (ECF No. 75).
    3         Rule 11 of the Federal Rules of Civil Procedure provides in part,
    4         b) Representations to the Court. By presenting to the court a pleading,
              written motion, or other paper--whether by signing, filing, submitting, or
    5         later advocating it--an attorney or unrepresented party certifies that to the
              best of the person's knowledge, information, and belief, formed after an
    6         inquiry reasonable under the circumstances:
    7         (1) it is not being presented for any improper purpose, such as to harass,
              cause unnecessary delay, or needlessly increase the cost of litigation;
    8
              (2) the claims, defenses, and other legal contentions are warranted by
    9         existing law or by a nonfrivolous argument for extending, modifying, or
              reversing existing law or for establishing new law;
   10
              (3) the factual contentions have evidentiary support or, if specifically so
   11         identified, will likely have evidentiary support after a reasonable
              opportunity for further investigation or discovery;...
   12
        Fed. R. Civ. P. 11(b)(3). When a “complaint is the primary focus of Rule 11
   13
        proceedings, a district court must conduct a two-prong analysis to determine (1)
   14
        whether the complaint is legally or factually baseless from an objective perspective, and
   15
        (2) if the attorney has conducted a reasonable and competent inquiry before signing and
   16
        filing it.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (quotation
   17
        omitted). “As shorthand for this test, we use the word ‘frivolous’ to denote a filing that
   18
        is both baseless and made without a reasonable and competent inquiry.” Holgate v.
   19
        Baldwin, 425 F.3d 671, 676 (9th Cir. 2005) (quotation omitted).
   20
              After reviewing the motion and the submissions of the parties, the Court finds
   21
        that the record in this case does not support the imposition of sanctions at this stage in
   22
        the proceedings. The motion for sanctions is denied. (ECF No. 66).
   23
        VIII. CONCLUSION
   24
              IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion to dismiss
   25
        the First Amended Complaint is granted. (ECF No. 56). The First Amended Complaint
   26
        (ECF No. 25) is dismissed without prejudice as to Defendant Darren Chaker.
   27
        Accordingly, Defendant Darren Chaker’s motion to strike portions of the First
   28
        Amended Complaint pursuant to Federal Rule of Civil Procedure 12(f) is denied as

                                                  - 15 -                           16cv2186-WQH-MDD



                                            442
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1  Filed
                                    83 Filed    09/23/22PageID.3529
                                             08/28/17     PageID.4666Page
                                                                       Page
                                                                          16450 of
                                                                            of 16
                                    1196


    1 moot. (ECF No. 55).
    2         IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion for sanctions
    3 is denied. (ECF No. 66)
    4         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion to dismiss
    5 the First Amended Complaint is granted. (ECF No. 35). The First Amended Complaint
    6 (ECF No. 25) is dismissed without prejudice as to Defendant Nicole Chaker. Defendant
    7 Nicole Chaker’s anti-SLAPP motion to strike and for attorneys’ fees and costs is denied
    8 as moot. (ECF No. 36).
    9         IT IS HEREBY ORDERED that Defendant Vania Chaker’s motion to quash the
   10 service of process is granted. (ECF No. 59). The Court quashes service upon Defendant
   11 Vania Chaker and grants Plaintiffs sixty (60) days from the date any amended
   12 complaint is filed upon which to perfect service upon Vania Chaker in accordance with
   13 the requirements of Federal Rule of Civil Procedure 4.
   14         IT IS FURTHER ORDERED that the First Amended Complaint (ECF No. 25)
   15 is dismissed without prejudice as to Defendant Vania Chaker. Plaintiffs shall file any
   16 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   17 thirty (30) days of the date this Order is issued.
   18 DATED: August 28, 2017
   19
                                                 WILLIAM Q. HAYES
   20                                            United States District Judge
   21
   22
   23
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                                                 - 16 -                         16cv2186-WQH-MDD



                                           443
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1 Filed01/26/17
                                       50 Filed  09/23/22 PageID.2629
                                                           PageID.4667 Page
                                                                        Page1451
                                                                             of 1of
                                     1196


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 5 PLATINUM HOLDINGS GROUP TRUST, dba COUNTER FORENSICS
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                                SOUTHERN DISTRICT
10
11 SCOTT A. MCMILLAN, et al.,                  )   Case No. 3:16-CV-02186-WQH-MD
                                               )
12                                             )   Judge: Hon. William Q. Hayes
               Plaintiffs,                     )   Courtroom: 14B
13                                             )
         v.                                    )   Magistrate: Hon. Mitchell D. Dembin
14                                             )   Courtroom: 11th Floor
                                               )
15 DARREN D. CHAKER, et al.,                   )   ORDER RE: STIPULATION TO
                                               )   EXTEND TIME TO RESPOND TO
16                                             )   FIRST AMENDED COMPLAINT
               Defendants.                     )
17                                             )   Complaint Filed: August 29, 2016
                                               )
18
19                                       ORDER
20       IT IS HEREBY ORDERED that based upon the stipulation between the affected
21 parties concurrently submitted herewith, and for other demonstrated good cause, the
22 responsive pleadings to Plaintiffs’ First Amended Complaint by Defendant, DARREN
23 D. CHAKER, an individual, and as trustee of PLATINUM HOLDINGS GROUP
24 TRUST, dba COUNTER FORENSICS, are to be filed and served no later than February
25 17, 2017.
26 Dated: January 26, 2017
27
28

                                               1
         ORDER RE: STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT
                                         444
  Case
   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                               Document127-1
                                        104 Filed
                                             Filed03/16/18
                                                   09/23/22 PageID.4009
                                                            PageID.4668 Page
                                                                        Page1452
                                                                              of 1of
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                           March 16, 2018


       Nos.:             17-56676, 18-55343 Cross Appeals
       D.C. No.:         3:16-cv-02186-WQH-MDD
       Short Title:      Scott McMillan, et al v. Nicole Chaker


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.




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 Case3:16-cv-02186-WQH-MDD
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                                     1196


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   The McMillan Law Firm, APC
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   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   Corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              AMENDED PROOF OF SERVICE
14   v.                                       RE: NOTICE OF CROSS APPEAL;
                                              STATEMENT OF
15   DARREN D. CHAKER an individual,          REPRESENTATION [9TH Cir. R. 3-
     and as trustee of PLATINUM               2]
16   HOLDINGS GROUP TRUST, dba
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as trustee
     of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA
19   CHAKER, an individual and as
     beneficiary of The Island Revocable
20   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
21   trustee of The Island Revocable Trust
     under Declaration of Trust dated June
22   2, 2015,

23   Defendants.

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  Case3:16-cv-02186-WQH-MDD
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                                                                             of 2of
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 1                     AMENDED CERTIFICATE OF SERVICE
 2         I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5         On March 16, 2018, I caused service of the following documents:
 6
 7 NOTICE OF CROSS-APPEAL; STATEMENT OF REPRESENTATION
 8 [9TH Cir. R. 3-2].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court's Electronic Filing Program on the designated
12 recipients via electronic transmission through the CM/ECF system on the Court's
13 website. The Court's CM/ECF system will generate a Notice of Electronic Filing
14 (NEF) to the filing party, the assigned judge, and any registered users in the case.
15 The NEF will constitute service of the document(s). Registration as a CM/ECF
16 user constitutes consent to electronic service though the court's transmission
17 facilities.
18
19         I certify that the foregoing is true and correct.
20
21         Dated: March 16, 2018
22                                                  /s/ Scott A. McMillan
23                                                  ______________________
24
25                                                  Scott A. McMillan
26
27
28
                            AMENDED PROOF OF SERVICE RE:
     3:16-CV-02186            NOTICE OF CROSS-APPEAL                                      2

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     3 BAKER MARQUART LLP
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     4 Los Angeles, California 90067
       Telephone: (424) 652-7800
     5 Facsimile: (424) 652-7850
     6 Attorneys for Specially Appearing
     7 Defendant Vania Chaker
     8
                             UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
    10
    11
       SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
    12 THE MCMILLAN LAW FIRM, APC,                MDD
       a California professional corporation,
    13                                            SPECIALLY APPEARING
                    Plaintiffs,                   DEFENDANT VANIA CHAKER’S
    14                                            EVIDENTIARY OBJECTIONS TO
              vs.                                 THE DECLARATION OF JOSHUA
    15                                            VAN NOORD IN OPPOSITION TO
       DARREN D. CHAKER, an individual,           DEFENDANT VANIA CHAKER’S
    16 and as trustee of PLATINUM                 MOTION TO DISMISS
       HOLDINGS GROUP TRUST, dba                  PLAINTIFFS’ FIRST AMENDED
    17 COUNTER FORENSICS; NICOLE                  COMPLAINT, OR, IN THE
       CHAKER, an individual, and as trustee      ALTERNATIVE, TO QUASH
    18 of THE NICOLE CHAKER TRUST,                DEFECTIVE SERVICE
       U/A dated August 18, 2010, VANIA
    19 CHAKER, and individual and as
       beneficiary of The Island Revocable        The Hon. William Q. Hayes
    20 Trust under Declaration of Trust dated
       June 2, 2015, MARCUS MACK as               Date: April 10, 2017
    21 trustee of The Island Revocable Trust      Courtroom: 14B
       under Declaration of Trust dated June 2,   Complaint Filed: August 29, 2016
    22 2015,
                                                  [PER CHAMBERS ORDER, NO
    23              Defendants.                   ORAL ARGUMENT UNLESS
                                                  ORDERED BY THE COURT]
    24
    25
    26
    27
    28
               SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                       DECLARATION OF JOSHUA VAN NOORD
                                           448
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                                           Case3:16-cv-02186-WQH-MDD
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                                                                   1         Specially Appearing Defendant Vania Chaker hereby submits the following
                                                                   2   Evidentiary Objections to the Declaration of Joshua Van Noord in Opposition to
                                                                   3   Specially Appearing Defendant Vania Chaker’s Motion to Dismiss Plaintiffs’ First
                                                                   4   Amended Complaint, or in the Alternative, to Quash Defective Service (Dkt. 59)
                                                                   5   (the “Van Noord Declaration”):
                                                                   6
                                                                   7   ¶         Testimony                                Objections
                                                                       ¶5        “I then proceeded to 5924 Stadium        Foundation/Lack of Personal
                                                                   8             Street San Diego, CA 92192. I            Knowledge. (Fed. R. Evid. 602,
                                                                   9             parked the car I was driving in, and     et seq.). Relevance (Fed. R.
                                                                                 walked up to the property. As I was      Evid. 402, 403.).
                                                                  10             walking toward the front door, a         Hearsay.
                                                                  11             truck appeared and the driver started
                                                                                 to shout “Get the fuck off the           The events related by Mr. Van
                                                                  12             property now!” repeatedly. I             Noord are irrelevant to the legal
                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850




                                                                                 informed the driver that I’m simply      and factual issues in this motion.
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                                                                  13
                                                                                 there to deliver the package as he
                               LOS ANGELES, CA 90067




                                                                  14             called in my description over his cell   Mr. Van Noord’s testimony
                                                                  15             phone. (The following day, I look at     lacks foundation and credibility.
                                                                                 pictures of Daren Chaker found           Mr. Van Noord does not provide
                                                                  16             online and recalled that it was him      foundation for his claim that he
                                                                  17             driving the truck.)                      viewed pictures of Daren Chaker
                                                                                                                          online. He does not identify the
                                                                  18                                                      websites he allegedly visited or
                                                                  19                                                      provide any reason to believe
                                                                                                                          that the pictures he viewed
                                                                  20                                                      online were of Daren Chaker.
                                                                  21                                                      Nor does he attach printouts to
                                                                                                                          his declaration from the alleged
                                                                  22                                                      websites that he visited to look
                                                                  23                                                      for pictures of Daren Chaker.
                                                                                                                          Mr. VanNoord was not able to
                                                                  24                                                      identify the man in the truck
                                                                  25                                                      from personal knowledge at the
                                                                                                                          time the encounter allegedly
                                                                  26                                                      occurred. His claim that he
                                                                  27                                                      “recalled” that the man was
                                                                                                                          Daren Chaker is not credible.
                                                                  28
                                                                                                                     SPECIALLY APPEARING DEFENANT VANIA
                                                                                                              1     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                        449           DECLARATION OF JOSHUA VAN NOORD
                                          Case
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                                                                   1
                                                                                                                      The driver’s alleged profane
                                                                   2                                                  statement is hearsay not within
                                                                   3                                                  an exception. That particular
                                                                                                                      quotation is unduly prejudicial,
                                                                   4                                                  and offered improperly to
                                                                   5                                                  impugn the character of Mr.
                                                                                                                      Daren Chaker.
                                                                   6
                                                                   7
                                                                       ¶8   “As I was driving away from the area      Foundation/Lack of Personal
                                                                   8        I was pursued by the S.U.V. driven        Knowledge (Fed. R. E. 602.).
                                                                   9        by the female. At one point during        Relevance (Fed. R. Evid. 402,
                                                                            her pursuit I heard cars honking          403.).
                                                                  10        which indicated she drove through
                                                                  11        the red left turn signal after I passed   The events related by Mr. Van
                                                                            through it while yellow.”                 Noord are irrelevant to the legal
                                                                  12                                                  and factual issues in this motion.
                     2029 CENTURY PARK EAST, 16TH FLOOR

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                                                                  13
                                                                                                                       Mr. Van Noord’s testimony
                               LOS ANGELES, CA 90067




                                                                  14                                                  lacks foundation. Mr. Van
                                                                  15                                                  Noord did not observe a vehicle
                                                                                                                      commit a traffic infraction.
                                                                  16                                                  Rather, he infers the infraction
                                                                  17                                                  from car horns honking, but does
                                                                                                                      not know why the horns
                                                                  18                                                  allegedly honked. Mr. Van
                                                                  19                                                  Noord also lacks foundation to
                                                                                                                      testify as to the identity of the
                                                                  20                                                  SUV’s drivers. Mr. Van Noord
                                                                  21                                                  does not provide any
                                                                                                                      information about the SUV that
                                                                  22                                                  might connect it to its owner,
                                                                  23                                                  such as license plate information
                                                                                                                      or the make and model of the
                                                                  24                                                  vehicle. Mr. Van Noord use of
                                                                  25                                                  the term “pursuit” is also
                                                                                                                      inflammatory, vague and
                                                                  26                                                  ambiguous and unduly
                                                                  27                                                  prejudicial.
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          2    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    450          DECLARATION OF JOSHUA VAN NOORD
                                          Case
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                                                                                                                       of 5of
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                                                                   1                                                  Mr. Van Noord’s testimony is
                                                                                                                      also unduly prejudicial and
                                                                   2                                                  offered to impugn the character
                                                                   3                                                  of the Chakers by suggesting
                                                                                                                      that they violated a traffic law.
                                                                   4
                                                                   5
                                                                       ¶13,    “On March 27, 2017, I drove from       Foundation/Lack of Personal
                                                                   6   Exhibit 4670 Nebo Drive, La Mesa, CA           Knowledge (Fed. R. E. 602.)
                                                                   7   B       91941 to 5654 Scripps Street San       Relevance (Fed. R. Evid. 402,
                                                                               Diego, CA 92192 to re-attempt          403.).
                                                                   8           service of a summons and arrived at
                                                                   9           11:48 a.m. As I was knocking her       The events related by Mr. Van
                                                                               front door I noticed a drape move in   Noord are irrelevant to the legal
                                                                  10           the bottom corner which suggested      and factual issues in this motion.
                                                                  11           someone inside peering out. [Exhibit
                                                                               B] I gave 2 more knock attempts and    Mr. Van Noord’s testimony
                                                                  12           then returned to the car. I waited     lacks foundation. Mr. Van
                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850




                                                                               within sight of her driveway for 45    Noord lacks personal knowledge
BAKER MARQUART LLP




                                                                  13
                                                                               minutes to see if she would come out   as to the owners or occupants of
                               LOS ANGELES, CA 90067




                                                                  14           and stand up her trash can.”           the address identified in his
                                                                  15                                                  declaration. Mr. Van Noord also
                                                                                                                      lacks personal knowledge as to
                                                                  16                                                  what caused the drape to move
                                                                  17                                                  or whether anyone was at home
                                                                                                                      at the house.
                                                                  18
                                                                  19                                                  Mr. Van Noord does not
                                                                                                                      authenticate Exhibit B or relate
                                                                  20                                                  who took the picture, the date
                                                                  21                                                  the picture was taken or how the
                                                                                                                      white text on the picture and red
                                                                  22                                                  arrow were added to the picture.
                                                                  23                                                  The picture in any case does not
                                                                                                                      show a human being “peering
                                                                  24                                                  out” of the window as claimed
                                                                  25                                                  by Mr. Van Noord. House pets
                                                                                                                      commonly move window
                                                                  26                                                  curtains, and Mr. Van Noord
                                                                  27                                                  does not know whether the
                                                                                                                      curtain was moved by a human,
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                           3   CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                     451         DECLARATION OF JOSHUA VAN NOORD
                                          Case
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                                                                                                                       of 5of
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                                                                   1                                            an animal or a draft.

                                                                   2
                                                                   3
                                                                   4   DATED: April 3, 2017             BAKER MARQUART LLP
                                                                   5
                                                                                                        /s/ Ryan G. Baker
                                                                   6                                    Ryan G. Baker
                                                                   7                                    Brian T. Grace
                                                                                                        Attorneys for Specially Appearing
                                                                   8                                    Defendant Vania Chaker
                                                                   9
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                                                                  12
                     2029 CENTURY PARK EAST, 16TH FLOOR

                      Tel: (424) 652-7800 ● Fax: (424) 652-7850
BAKER MARQUART LLP




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                               LOS ANGELES, CA 90067




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                                                                                                           SPECIALLY APPEARING DEFENANT VANIA
                                                                                                    4     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                              452           DECLARATION OF JOSHUA VAN NOORD
 Case3:16-cv-02186-WQH-MDD
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                                                                             of 4of
                                      1196




             EXHIBIT AA
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  Case3:16-cv-02186-WQH-MDD
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                               Document127-1
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This blog by Darren Chaker is a few words concerning the legal system. Additional blog, www.darren-
chaker.info will be linked here soon.


                                                                                                  Re\tew Our Business at
                                                                                                  fa\ecentral.COIll

           ShCMtng posts wth label scott-mcmillan-l.-mas.. Show all posts
                                                                                                  R8\tew Our Business at
                                                                                                  fa\ecentral.COIll
Monday, August 10, 2015

 Federal First Offender Act & Deportation                                                         Facebook Badge
                                                              While l'e\tewlng recent law
                                                                                                  Darren Chaker
                                                               concerning deportation, Darren
                                                               Chaker found the Ninth Circuit
                                                               Court of Appeals has held that
                                                               an alien whose ofI'anse would
                                                               haw qualified for treatment
                                                               under the Federal First otrendef
                                                               Act rFFOA"), but who was
                                                               COrMcted and had his
                                                               corl'otctlon expunged under
                                                               state or foreign law, may not be
                                                               remCMd on account of that
                                                               oIJense. See Dillingham v. INS,
                                                               2fiT F.3d 998 (9th Cir. 2001);
                                                               Lujan-Armendariz v: INS, 222       Create Your Badge
                                                               F.3d 728 (9th Clr. 2000). To
 qualify for treatment under the FFOA, the dafenclant must (1) haw been found guilty of an
 offense described in section 404 of the Controlled Substances Act ("CSA,,). 21 U.S.C. § 844;
 (2) ha\e not, prior to the commission of such an orrense, been COrMcted or..tolating a federal   Facebook Badge
 or state law relating to controlled substances; and (3) haw net pnNously been accorded first
 offender treatment under any law. See 18 U.S.C. § 3607(8); C8rdenas-Uriarte'li. INS, 227         Darren Chaker I Qeate Your Badge
 F.3d 1132, 1136 (9th Clr. 2000).

 A. Expungement Under State or Foreign Law

 The elien's prior com.iction must h8\9 already been expunged pursuant to the state or breign
 expungement statute; the possibility that the alien may request and haw his conviction
 expunged In the liJture Is not sutnclent to a\OId the consequences of remCMIII. See Cha\ez-
 Perez v; Ashcrcll, 388 F.3d 1284, 1292-93 (9Ih Cir. 2004).
                                                                                                  Blog Archive
 The state or foreign statute under which the com4ctlon was expunged does not haw to be an
                                                                                                  .. 2015 (2)
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1191 (9th Q. 1994). See _0 ~~andartz. 222 F.3d at 738 n.18 rIRlelafdoaa not
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depend on wh8tIw' or not thll stale RIIHIblillatNl ltaIID Is b9st undlntood _ IIIowIrQ tar                             ActlDllportalIon
'WC8IUIS,' 'HI. .ldIIa.' 'da1'8rr8d adjudlcatlorD,' or lama ether procedUIll."). ThIII*lth Circuit
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                                                                                                Darren Chaker

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Home
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      Case
       Case3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDDDocument
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                                             49 Filed  09/23/22 PageID.2627
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                  9 NICOLE CHAKER
               10                                    UNITED STATES DISTRICT COURT
               11                                   SOUTHERN DISTRICT OF CALIFORNIA
               12
               13 SCOTT A. MCMILLAN, an individual,             )    Case No. 3:16-CV-02186-WQH-MD
                  THE MCMILLAN LAW FIRM, APC, a                 )
               14 California professional corporation,          )    Judge: William Q. Hayes
                                                                )    Courtroom 14B
               15                     Plaintiffs,               )
                               vs.                              )    Magistrate Hon. Mitchell D. Dembin
               16                                               )    Courtroom 11th Floor
                        DARREN D. CHAKER an individual, and )
               17       as trustee of PLATINUM HOLDINGS         )
                        GROUP TRUST, dba COUNTER                )    NOTICE OF APPEARANCE OF
               18       FORENSICS; NICOLE CHAKER, an            )    TIMOTHY W. KENNA
                        individual, and as trustee of NICOLE    )
               19       CHAKER TRUST ONE, VANIA                 )
                        CHAKER, an individual and as trustee of )
               20       VANIA CHAKER TRUST ONE,                 )    Complaint Filed: August 29, 2016
                                                                )
               21                     Defendants.               )
                                                                )
               22
               23 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
               24               PLEASE TAKE NOTICE that Timothy W. Kenna of Gilbert, Kelly, Crowley
               25 & Jennett LLP, who is a member of the bar of This Court, hereby enters his
               26 appearance in this action on behalf of Defendant Nicole Chaker. Mr. Kenna’s
               27 contact information is as follows:
               28 / / /
    Gilbert, Kelly
Crowley & Jennett LLP
   Attorneys at Law                      NOTICE OF APPEARANCE OF TIMOTHY W. KENNA
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       Case3:16-cv-02186-WQH-MDD
             3:16-cv-02186-WQH-MDDDocument
                                   Document127-1 Filed01/26/17
                                             49 Filed  09/23/22 PageID.2628
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                                                                                   of 2of
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                  4                       Mailing Address:
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                  5
                                          Los Angeles, California 90071-2627
                  6
                                 Other counsel of record for Nicole Chaker shall remain as counsel of record to
                  7
                        be noticed.
                  8
                  9
                        Dated: January 26, 2017                 GILBERT, KELLY, CROWLEY & JENNETT
               10                                               LLP
               11
               12                                               By: /S/ TIMOTHY W. KENNA
               13                                                   TIMOTHY W. KENNA, A P.C.
                                                                    ARTHUR J. MCKEON, III
               14                                                   REBECCA J. SMITH
                                                                    Attorneys for Defendant
               15                                                   NICOLE. CHAKER

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   Attorneys at Law                       NOTICE OF APPEARANCE OF TIMOTHY W. KENNA
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   Case3:16-cv-02186-WQH-MDD
        3:16-cv-02186-WQH-MDD Document
                               Document127-1
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                                                   09/23/22 PageID.4151
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                                                                              of 1of
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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                         for the
                                                   SOUTHERN DISTRICT



SCOTT A. MCMILLAN, et al.                                      )
                             Plaintiff                         )
                    v.                                         )      Case No. 3:16-cv-2186-WQH-MDD
DARREN D. CHAKER, et al.                                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendant DARREN D. CHAKER


Date: June 29, 2020                                                  /s/ Eduardo A. Bravo
                                                                                          Attorney's signature

                                                                     EDUARDO A. BRAVO 327967
                                                                                      Printed name and bar number

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                                                                     (213) 312-2001
                                                                                             FAX number




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 Case3:16-cv-02186-WQH-MDD
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                             Document127-1
                                       82 Filed
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                                                 09/23/22 PageID.3509
                                                           PageID.4683 Page
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 5   Attorneys for Defendant DARREN D. CHAKER,
     individually, and as trustee of PLATINUM HOLDINGS
 6   GROUP TRUST
 7
 8                         UNITED STATES DISTRICT COURT
 9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11 SCOTT A. MCMILLAN, an individual,         )     Case No. 3:16-CV-02186-WQH-MD
   THE MCMILLAN LAW FIRM, APC, a             )
12 California professional corporation,      )     Judge: Hon. William Q. Hayes
                                             )     Courtroom: 14B
13                 Plaintiffs,               )
                                             )     Magistrate: Hon. Mitchell D. Dembin
14          v.                               )     Courtroom: 11th Floor
                                             )
15   DARREN D. CHAKER an individual, and )         OBJECTION OF DEFENDANT
     as trustee of PLATINUM HOLDINGS         )     DARREN D. CHAKER TO
16   GROUP TRUST, dba COUNTER                )     PLAINTIFFS’ CLAIM OF
     FORENSICS; NICOLE CHAKER, an            )     RELATED CASES [CivLR 40.1]
17   individual, and as trustee of NICOLE    )
     CHAKER TRUST ONE, VANIA                 )     Complaint Filed: August 29, 2016
18   CHAKER, an individual and as trustee of )
     VANIA CHAKER TRUST ONE,                 )     [PER CHAMBERS ORDER, NO
19                                           )     ORAL ARGUMENT UNLESS
                   Defendants.               )     ORDERED BY COURT]
20                                           )
                                             )
21                                           )
22        Defendant, DARREN D. CHAKER, individually and as trustee of PLATINUM
23 HOLDINGS GROUP TRUST, dba COUNTER FORENSICS (“Darren”), submits this
24 Objection to the unfounded assertion by Plaintiffs SCOTT A. MCMILLAN,
25 (“McMillan”) and THE MCMILLAN LAW FIRM, APC’s (collectively, “Plaintiffs”)
26 that the above-captioned case is “related” to a previously filed proceeding captioned
27 United States v. Chaker, Docket No. 3:15-cr-07012-LAB. (See Doc. No. 1-1, p. 1,
28 Section VIII.)

                          OBJECTION OF DEFENDANT DARREN D. CHAKER TO
                          PLAINTIFFS’ CLAIM OF RELATED CASES [CivLR 40.1]
                                            460
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       82 Filed
                                           Filed08/18/17
                                                 09/23/22 PageID.3510
                                                           PageID.4684 Page
                                                                        Page2468
                                                                             of 5of
                                     1196


 1         The Complaint in this case asserts three causes of action: two “RICO” claims
 2 along with a “civil extortion” claim. As set forth in the pending Motion to Dismiss and
 3 Motion to Strike (Doc. Nos. 55-56), these causes of action are meritless and fail to state
 4 a claim upon which relief can be granted.
 5         In the meantime, Darren’s Objection herein is filed to address the Plaintiffs’
 6 improper characterization of the aforementioned prior proceeding as “related.” As set
 7 forth in the Local Civil Rules, “[a]n action or proceeding is related to another action or
 8 proceeding where both of them:”
 9           “1.    Involve some of the same parties and are based on the same
                    or similar claims, or
10
             2.     Involve the same property, transaction, patent, trademark, or
11                  event, or
             3.     Involve substantially the same facts and the same questions
12                  of law.” (CivLR 40.1(g).)
13         If any or all of these factors are present (which they are not), counsel has specific
14 obligations to the Court and opposing counsel:
15            “Whenever counsel has reason to believe that a pending action or
              proceeding on file or about to be filed is related to another pending
16            action or proceeding on file in this or any other federal or state
              court (whether pending, dismissed, or otherwise terminated),
17            counsel must promptly file and serve on all known parties to each
              related action or proceeding a notice of related case, stating the
18            title, number and filing date of each action or proceeding believed
              to be related, together with a brief statement of their relationship
19            and the reasons why assignment to a single district judge is or is
              not likely to effect a saving of judicial effort and other economies.
20            The clerk will promptly notify the court of such filing. This is a
              continuing duty that applies not only when counsel files a case
21            with knowledge of a related action or proceeding but also applies
              after the date of filing whenever counsel learns of a related action
22            or proceeding.” (CivLR 40.1(f) (emphasis added).)
23         Although this case has been pending for nearly a year, other than checking a box
24 on the Civil Cover Sheet, Plaintiffs’ counsel has failed to fulfill his responsibilities
25 regarding the filing of a Notice of Related Cases. Notably, Plaintiffs’ counsel has failed
26 to provide the requisite statement of “relationship” or provide any of the other pertinent
27 information required by CivLR 40.1. The purportedly related case, which originated in
28 the Southern District of Texas, Houston Division (Docket No. 4:12-cr-00168) before
                                                 1
                           OBJECTION OF DEFENDANT DARREN D. CHAKER TO
                           PLAINTIFFS’ CLAIM OF RELATED CASES [CivLR 40.1]

                                             461
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       82 Filed
                                           Filed08/18/17
                                                 09/23/22 PageID.3511
                                                           PageID.4685 Page
                                                                        Page3469
                                                                             of 5of
                                     1196


 1 being transferred to this district for monitoring, arose out of a Texas real estate claim and
 2 involves none of the same (alleged) facts as the instant case. Indeed, notwithstanding
 3 Plaintiffs’ gratuitous inclusion of allegations regarding such case, the Texas case has
 4 absolutely nothing to do with Plaintiffs’ instant RICO and extortion claims. (See
 5 Complaint (Doc. No. 1), ¶¶ 23d-f, 24; First Amended Complaint (Doc. No. 21) ¶¶ 23d-f,
 6 24.)
 7         Accordingly, this Court should deny Plaintiffs’ claim of “related cases” both
 8 because the other identified case is in fact unrelated and due to Plaintiffs’ failure to
 9 comply with Local Rules regarding a Notice of Related Cases. In addition, Plaintiffs’
10 counsel’s failure to comply with their obligations regarding a Notice of Related Cases is
11 sanctionable. (See CivLR 83.1(a)1.) Moreover, Plaintiffs’ unsubstantiated claim of
12 related cases is nothing more than an ill-conceived attempt to impugn Darren’s
13 reputation (by referencing a wholly unrelated criminal proceeding) that improperly
14 “degrades or impugns the integrity of the court or in any manner interferes with the
15 administration of justice within the Court.” (CivLR 83.4(b).) As a result, this Court can
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           “Failure of counsel or of any party to comply with these rules, with the Federal
25 Rules of Civil or Criminal Procedure, or with any order of the court may be grounds for
   imposition by the court of any and all sanctions authorized by statute or rule or within
26 the inherent power of the court, including, without limitation, dismissal of any actions,
27 entry of default, finding of contempt, imposition of monetary sanctions or attorneys'
   fees and costs, and other lesser sanctions.” (CivLR 83.1(a).)
28
                                                 2
                           OBJECTION OF DEFENDANT DARREN D. CHAKER TO
                           PLAINTIFFS’ CLAIM OF RELATED CASES [CivLR 40.1]

                                             462
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       82 Filed
                                           Filed08/18/17
                                                 09/23/22 PageID.3512
                                                           PageID.4686 Page
                                                                        Page4470
                                                                             of 5of
                                     1196


 1 initiate disciplinary and/or contempt proceedings against Plaintiffs’ counsel and/or
 2 impose other appropriate sanctions. (CivLR 83.5(a)2.)
 3
 4
 5 DATED: August 18, 2017                  Respectfully Submitted,
 6
                                           SULLIVAN, KRIEGER, TRUONG,
 7                                         SPAGNOLA & KLAUSNER, LLP
 8
 9                                         By:           /s/Eliot F. Krieger
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10                                                EKrieger@SKTLawyers.com
11                                         Attorneys for Defendant DARREN D. CHAKER
                                           individually, and as trustee of PLATINUM
12                                         HOLDINGS GROUP TRUST, dba COUNTER
                                           FORENSICS
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25         “In the event any attorney engages in conduct which may warrant discipline or
   other sanctions, the court or any judge may, in addition to initiating proceedings for
26 contempt under Title 18 U.S.C. and Rule 42, Fed. R. Crim.P., or imposing other
27 appropriate sanctions, refer the matter to the disciplinary body of any court before
   which the attorney has been admitted to practice.” (CivLR 83.5(a).)
28
                                                3
                          OBJECTION OF DEFENDANT DARREN D. CHAKER TO
                          PLAINTIFFS’ CLAIM OF RELATED CASES [CivLR 40.1]

                                            463
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
                             Document127-1
                                       82 Filed
                                           Filed08/18/17
                                                 09/23/22 PageID.3513
                                                           PageID.4687 Page
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                                                                             of 5of
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 1                              CERTIFICATE OF SERVICE
 2        I certify that on the 18th day of August 2017, I filed the foregoing document with
 3 the Clerk of the Court for the United States District Court, Southern District of
 4 California by using the Court’s CM/ECF system, which will send notifications of such
 5 filing to all counsel of record.
 6
 7                                                 /s/ Eliot F. Krieger
                                              Eliot F. Krieger
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                           OBJECTION OF DEFENDANT DARREN D. CHAKER TO
                           PLAINTIFFS’ CLAIM OF RELATED CASES [CivLR 40.1]

                                             464
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      69-4 Filed
                                           Filed 04/03/17
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                                                                             of 9of
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     6 Attorneys for Specially Appearing
     7 Defendant Vania Chaker
     8
                             UNITED STATES DISTRICT COURT
     9
                           SOUTHERN DISTRICT OF CALIFORNIA
    10
    11
       SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
    12 THE MCMILLAN LAW FIRM, APC,                MDD
       a California professional corporation,
    13                                            SPECIALLY APPEARING
                    Plaintiffs,                   DEFENDANT VANIA CHAKER’S
    14                                            EVIDENTIARY OBJECTIONS TO
              vs.                                 THE DECLARATION OF SCOTT
    15                                            MCMILLAN IN OPPOSITION TO
       DARREN D. CHAKER, an individual,           DEFENDANT VANIA CHAKER’S
    16 and as trustee of PLATINUM                 MOTION TO DISMISS
       HOLDINGS GROUP TRUST, dba                  PLAINTIFFS’ FIRST AMENDED
    17 COUNTER FORENSICS; NICOLE                  COMPLAINT, OR, IN THE
       CHAKER, an individual, and as trustee      ALTERNATIVE, TO QUASH
    18 of THE NICOLE CHAKER TRUST,                DEFECTIVE SERVICE
       U/A dated August 18, 2010, VANIA
    19 CHAKER, and individual and as
       beneficiary of The Island Revocable        The Hon. William Q. Hayes
    20 Trust under Declaration of Trust dated
       June 2, 2015, MARCUS MACK as               Date: April 10, 2017
    21 trustee of The Island Revocable Trust      Courtroom: 14B
       under Declaration of Trust dated June 2,   Complaint Filed: August 29, 2016
    22 2015,
                                                  [PER CHAMBERS ORDER, NO
    23              Defendants.                   ORAL ARGUMENT UNLESS
                                                  ORDERED BY THE COURT]
    24
    25
    26
    27
    28
               SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                          DECLARATION OF SCOTT MCMILLAN
                                           465
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
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                                                                                           09/23/22 PageID.3067
                                                                                                    PageID.4689 Page
                                                                                                                Page 2473
                                                                                                                       of 9of
                                                                               1196



                                                                   1         Specially Appearing Defendant Vania Chaker hereby submits the following
                                                                   2   Evidentiary Objections to the Declaration of Scott McMillan in Opposition to
                                                                   3   Specially Appearing Defendant Vania Chaker’s Motion to Dismiss Plaintiffs’ First
                                                                   4   Amended Complaint, or, in the Alternative, to Quash Defective Service (Dkt. 59)
                                                                   5   (the “McMillan Declaration”):
                                                                   6
                                                                   7   ¶         Testimony                               Objections
                                                                       ¶6        “Mr. VanNoord updated me on             Foundation/Lack of Personal
                                                                   8             November 26, 2016 with the              Knowledge. (Fed. R. Evid. 602,
                                                                   9             alarming contact he had with Darren     et seq.). Hearsay.
                                                                                 Chaker, and a female that I assume to
                                                                  10             have been Vania Chaker. I told him      Mr. McMillan’s testimony lacks
                                                                  11             to attempt service again on             foundation and is unreliable.
                                                                                 November 27, 2016, but this time        Mr. McMillan lacks personal
                                                                  12             someone go with him.”                   knowledge of the contact
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                                                                                                                         between Mr. VanNoord and the
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                                                                  13
                                                                                                                         female described in this
                               LOS ANGELES, CA 90067




                                                                  14                                                     paragraph. Mr. McMillan also
                                                                  15                                                     provides no foundation for his
                                                                                                                         “assumption” that the female in
                                                                  16                                                     question was Vania Chaker. Mr.
                                                                  17                                                     VaNoord’s statements to Mr.
                                                                                                                         McMillan about an alleged
                                                                  18                                                     contact with Darren Chaker is
                                                                  19                                                     hearsay not within an exception.
                                                                  20   ¶7        “Mr. Van Noord’s description of the     Argumentative. Misleading.
                                                                  21             woman that he encountered who he        Relevance (Fed. R. Evid. 402,
                                                                                 described at paragraph 6 of his         403.). Hearsay.
                                                                  22             declaration of March 27, 2017, i.e.,
                                                                  23             middle aged, heavy set, with dark       Mr. McMillan mischaracterizes
                                                                                 hair, with an inappropriate laugh is    the testimony of Mr. Van Noord
                                                                  24             consistent with my interaction with     and Mr. Wing. That testimony
                                                                  25             Ms. Vania Chaker, in court in the       speaks for itself.
                                                                                 Susan A. matter. Likewise, Mr.
                                                                  26             Wing’s description of the woman in      Mr. McMillan’s opinion and
                                                                  27             his declaration of March 26, 2017 at    analysis of Mr. Wing’s prior
                                                                                 paragraph 14, that he served who ran    declaration and Mr. Van Noord’s
                                                                  28
                                                                                                                   SPECIALLY APPEARING DEFENANT VANIA
                                                                                                             1    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                       466           DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3068
                                                                                                    PageID.4690 Page
                                                                                                                Page 3474
                                                                                                                       of 9of
                                                                               1196



                                                                   1   into Ms. Vania Chaker’s residence is   description of a woman Mr.
                                                                       consistent with Ms. Vania Chaker’s     VanNoord allegedly encountered
                                                                   2   description.”                          are irrelevant to the issues in this
                                                                   3                                          case. The fact that Mr. Van
                                                                                                              Noord’s description is
                                                                   4                                          “consistent” with Mr.
                                                                   5                                          McMillan’s interactions with
                                                                                                              Ms. Vania Chaker does not
                                                                   6                                          prove the identity of the woman
                                                                   7                                          Mr. VanNoord encountered. Mr.
                                                                                                              McMillan lacks personal
                                                                   8                                          knowledge as to whether Mr.
                                                                   9                                          Van Noord encountered Vania
                                                                                                              Chaker or as to the accuracy and
                                                                  10                                          contents of Mr. Wing’s
                                                                  11                                          testimony. The fact that Mr.
                                                                                                              Wing’s declaration testimony is
                                                                  12                                          “consistent” with some
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                                                                                                              description of Ms. Vania Chaker
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                                                                  13
                                                                                                              is also irrelevant – it does not
                               LOS ANGELES, CA 90067




                                                                  14                                          establish that the woman was
                                                                  15                                          Ms. Vania Chaker.
                                                                  16                                          Mr. McMillan’s description of
                                                                  17                                          Ms. Vania Chaker is also unduly
                                                                                                              and unnecessarily prejudicial. It
                                                                  18                                          is unclear what Mr. McMillan
                                                                  19                                          means by an “inappropriate
                                                                                                              laugh” and that detail is
                                                                  20                                          insufficient to establish the
                                                                  21                                          identity of any woman. The
                                                                                                              prejudice in this description
                                                                  22                                          outweighs any minimal
                                                                  23                                          probative value it might have.
                                                                  24                                          Mr. Van Noord and Mr. Wing’s
                                                                  25                                          descriptions of a woman in their
                                                                                                              declarations is hearsay not
                                                                  26                                          within an exception.
                                                                  27
                                                                  28
                                                                                                         SPECIALLY APPEARING DEFENANT VANIA
                                                                                                   2    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                             467           DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3069
                                                                                                    PageID.4691 Page
                                                                                                                Page 4475
                                                                                                                       of 9of
                                                                               1196



                                                                   1
                                                                   2   ¶11   “On December 13, 2016, I learned        Foundation/Lack of Personal
                                                                   3         that the Chakers had gained the         Knowledge (Fed. R. Evid. 602.)
                                                                             attention of Channel 8, and that the    Relevance (Fed. R. Evid. 402,
                                                                   4         news station had run a story about      403.). Hearsay.
                                                                   5         Mr. VanNoord’s service efforts.
                                                                             Although I was concerned that Mr.       Mr. McMillan’s testimony lacks
                                                                   6         VanNoord, a very conscientious, law-    foundation. He has not
                                                                   7         abiding, and mild-mannered fellow,      established that he has personal
                                                                             was accused of an attempted home        knowledge the Chakers gained
                                                                   8         invasion. Most troubling was the        the attention of Channel 8. He
                                                                   9         false statement that the “San Diego     has not established that he has
                                                                             Police are looking for a man who was    personal knowledge about Mr.
                                                                  10         caught on camera trying to break into   Van Noord’s character. He also
                                                                  11         a University City woman’s home.”        has not established personal
                                                                                                                     knowledge that the statement he
                                                                  12                                                 quotes is false.
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                                                                  13
                                                                                                                     Mr. McMillan’s opinion that Mr.
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                                                                  14                                                 VanNoord is a “mild-mannered
                                                                  15                                                 fellow” is irrelevant as to both
                                                                                                                     Mr. VanNoord’s actions and Mr.
                                                                  16                                                 VanNoord’s potential criminal
                                                                  17                                                 and legal liability.
                                                                  18                                                 Mr. McMillan has no personal
                                                                  19                                                 knowledge and no foundation
                                                                                                                     for the claim that the San Diego
                                                                  20                                                 police were not looking for a
                                                                  21                                                 man who was caught on camera
                                                                                                                     trying to break into a University
                                                                  22                                                 City woman’s home. Mr.
                                                                  23                                                 McMillan is not affiliated with
                                                                                                                     the San Diego police and
                                                                  24                                                 provides no foundation for this
                                                                  25                                                 testimony.
                                                                  26                                                 Mr. McMillan’s reference to a
                                                                  27                                                 “home invasion” is both
                                                                                                                     irrelevant and unduly
                                                                  28
                                                                                                               SPECIALLY APPEARING DEFENANT VANIA
                                                                                                         3    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                   468           DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3070
                                                                                                    PageID.4692 Page
                                                                                                                Page 5476
                                                                                                                       of 9of
                                                                               1196



                                                                   1                                                   prejudicial. Even the statement
                                                                                                                       quoted from the Channel 8 story
                                                                   2                                                   does not reference a “home
                                                                   3                                                   invasion.”

                                                                   4                                                   The statement quoted in this
                                                                   5                                                   paragraph is hearsay not within
                                                                                                                       an exception. Mr. McMillan
                                                                   6                                                   does not provide foundation for
                                                                   7                                                   the quotation.

                                                                   8
                                                                   9   ¶12   “As a result of that false statement, I   Foundation/Lack of Personal
                                                                             spent several hours contacting the        Knowledge (Fed. R. Evid.
                                                                  10         news station, and the police              602.). Relevance (Fed. R.
                                                                  11         supervisor resolving that (1) the         Evid. 402, 403.) . Hearsay.
                                                                             police had determined that no crime
                                                                  12         had been committed, and (2) the
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                                                                             news station had been duped into          Mr. McMillan’s testimony lacks
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                                                                  13
                                                                             publishing “false news.” The news         foundation. Mr. McMillan has
                               LOS ANGELES, CA 90067




                                                                  14         station removed its video interview of    no basis to testify about what the
                                                                  15         Mr. Chaker.”                              police did or did not determine.
                                                                                                                       Mr. McMillan also has no basis
                                                                  16                                                   to testify as to why the news
                                                                  17                                                   station removed its video
                                                                                                                       interview (and fails to provide
                                                                  18                                                   any foundation that an interview
                                                                  19                                                   was actually removed). The
                                                                                                                       statement that a “news station
                                                                  20                                                   removed its video” interview
                                                                  21                                                   also makes no sense.
                                                                                                                       Presumably, Mr. McMillan
                                                                  22                                                   means the video was removed
                                                                  23                                                   from an unspecified website.
                                                                                                                       Mr. McMillan also lacks
                                                                  24                                                   personal knowledge about
                                                                  25                                                   whether a crime had been
                                                                                                                       committed; the truth of the news
                                                                  26                                                   reported by media entities; and
                                                                  27                                                   whether the news station was
                                                                                                                       somehow “duped.”
                                                                  28
                                                                                                                 SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          4     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    469            DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3071
                                                                                                    PageID.4693 Page
                                                                                                                Page 6477
                                                                                                                       of 9of
                                                                               1196



                                                                   1
                                                                                                                      Mr. McMillan’s contact with the
                                                                   2                                                  police is irrelevant to the present
                                                                   3                                                  motion. The testimony is also
                                                                                                                      unduly prejudicial. It implies
                                                                   4                                                  that the police have somehow
                                                                   5                                                  formally absolved Mr.
                                                                                                                      VanNoord of criminal conduct;
                                                                   6                                                  and that the news station
                                                                   7                                                  conducted some kind of inquiry
                                                                                                                      into the accuracy of the story
                                                                   8                                                  and determined their prior
                                                                   9                                                  reporting to be inaccurate. Mr.
                                                                                                                      McMillan has no foundation for
                                                                  10                                                  these opinions and their
                                                                  11                                                  prejudice far outweighs their
                                                                                                                      minimal probative value.
                                                                  12
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                                                                                                                      To the extent that Mr. McMillan
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                                                                  13
                                                                                                                      reports the contents of a
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                                                                  14                                                  conversation with a police
                                                                  15                                                  supervisor, the statement is
                                                                                                                      hearsay not within an exception.
                                                                  16
                                                                  17   ¶16   “I specifically engaged Mr. Wing         Foundation/Lack of Personal
                                                                             because unlike many independent          Knowledge (Fed. R. Evid. 602.)
                                                                  18         process servers, he is conscientious     Relevance (Fed. R. Evid. 402,
                                                                  19         about his success in obtaining service   403.). Improper Character
                                                                             of process. He is resourceful and        Evidence (Fed. R. Evid. 404).
                                                                  20         patient. I have given Mr. Wing
                                                                  21         numerous assignments over the years,      Mr. McMillan’s testimony lacks
                                                                             and I have not had an instance where     foundation concerning Mr.
                                                                  22         the court found that he falsified a      Wing’s character. Mr.
                                                                  23         proof of service. Had I ever any         McMillan lacks foundation both
                                                                             concern that he would falsify a proof    as to the general character of
                                                                  24         of service, I’d not engage him ever      process servers and Mr. Wing’s
                                                                  25         again.                                   specific character in relation to
                                                                                                                      other process servers. Mr.
                                                                  26                                                  McMillan’s testimony supplies a
                                                                  27                                                  prejudicial opinion that Mr.
                                                                                                                      Wing is somehow inherently
                                                                  28
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          5    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    470           DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3072
                                                                                                    PageID.4694 Page
                                                                                                                Page 7478
                                                                                                                       of 9of
                                                                               1196



                                                                   1                                                   more credible than other process
                                                                                                                       servers. Mr. McMillan lacks
                                                                   2                                                   personal knowledge as to the
                                                                   3                                                   accuracy of Mr. Wing’s proofs
                                                                                                                       of service and the accuracy of
                                                                   4                                                   the proof of service at issue here.
                                                                   5
                                                                                                                       Mr. Wing’s alleged character for
                                                                   6                                                   being conscientious cannot be
                                                                   7                                                   used as evidence that his proof
                                                                                                                       of service was accurate.
                                                                   8
                                                                   9
                                                                  10   ¶20   “I did not file a request for entry of    Relevance (Fed. R. Evid. 402,
                                                                  11         default as I anticipated the filing of    403.)
                                                                             the proof of service would result Ms.
                                                                  12         Chaker filing a responsive motion or      Mr. McMillan’s testimony is
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                                                                             pleading, and the likelihood of the       improper and is irrelevant to the
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                                                                  13
                                                                             court setting aside the default was       present motion.
                               LOS ANGELES, CA 90067




                                                                  14         more probable than not. In my
                                                                  15         experience, courts are loathe to allow    Mr. McMillan’s alleged strategic
                                                                             a default stand where the defendant       reasons for not requesting
                                                                  16         seeks to contest the matter on its        default are irrelevant to the
                                                                  17         merits in a time reasonably near the      claims and issues in this motion,
                                                                             date of the default. In sum, the effort   as are the extensions granted by
                                                                  18         to draft, respond to, and resolve a       Mr. McMillan in this case.
                                                                  19         motion to set aside a default would be
                                                                             more work for everyone: opposing
                                                                  20         counsel, myself, and the court, than
                                                                  21         simply allowing Ms. Chaker an
                                                                             extension. As the court may note,
                                                                  22         consistent with that practice, I
                                                                  23         allowed Mr. Chaker an extension
                                                                             while his former counsel was
                                                                  24         transitioning out and his new counsel
                                                                  25         was entering an appearance.”
                                                                       ¶21   “Ms. Vania Chaker certainly has           Foundation/Lack of Personal
                                                                  26
                                                                             known since November 28, 2016 that        Knowledge (Fed. R. Evid. 602.)
                                                                  27         this lawsuit was pending against her.     Argumentative. Misleading.
                                                                             She and Darren pursued Mr. Van            Relevance (Fed. R. Evid. 402,
                                                                  28
                                                                                                                 SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          6     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    471            DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3073
                                                                                                    PageID.4695 Page
                                                                                                                Page 8479
                                                                                                                       of 9of
                                                                               1196



                                                                   1         Noord in her vehicle after he tried to   403.)
                                                                             serve her and her mother Nicole
                                                                   2         Chaker. This was after Mr. Chaker
                                                                   3         had appeared in the case, without        Mr. McMillan’s testimony lacks
                                                                             being served. Further, on March 7,       foundation. He speculates that
                                                                   4         2017, Mr. Chaker included me in an       Ms. Chaker has known of this
                                                                   5         email conversation wherein he asked      lawsuit since November without
                                                                             “Mind if I sent to Vania?” with          any foundation. He lacks
                                                                   6         respect to a sanctions motion that Mr.   personal knowledge that she and
                                                                   7         Chaker’s lawyers intend to serve me      Darren Chaker “pursued” Mr.
                                                                             with. I believe that Mr. Chaker was      Van Noord.
                                                                   8         including me in an email in an effort
                                                                   9         to taunt me, rather than through         Mr. McMillan’s testimony
                                                                             inadvertence. A true and correct copy    regarding the email he received
                                                                  10         of that email chain is attached hereto   is improper and seeks to inject
                                                                  11         as Exhibit I.”                           improper argument concerning
                                                                                                                      Mr. Chaker’s intentions.
                                                                  12
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                                                                                                                      Mr. McMillan’s testimony
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                                                                  13
                                                                                                                      regarding the email he received
                               LOS ANGELES, CA 90067




                                                                  14                                                  is irrelevant to the legal and
                                                                                                                      factual issues in this motion. It is
                                                                  15
                                                                                                                      also unduly prejudicial, as Mr.
                                                                  16                                                  McMillan testified without
                                                                                                                      foundation as to Mr. Chaker’s
                                                                  17
                                                                                                                      alleged improper motive sending
                                                                  18                                                  the email. This passive
                                                                  19                                                  aggressive character
                                                                                                                      assassination is improper,
                                                                  20                                                  irrelevant, and unduly
                                                                  21                                                  prejudicial.

                                                                  22   ¶22   “I anticipate more of this tomfoolery    Argumentative. Misleading.
                                                                             from Ms. Chaker.”                        Relevance (Fed. R. Evid. 402,
                                                                  23                                                  403.). Improper Character
                                                                  24                                                  Evidence (Fed. R. Evid. 404)
                                                                  25                                                  Mr. McMillan’s statement is
                                                                  26                                                  patently argumentative and
                                                                                                                      improper. Mr. McMillan’s
                                                                  27                                                  testimony is also improper
                                                                  28                                                  character evidence. The
                                                                                                                SPECIALLY APPEARING DEFENANT VANIA
                                                                                                          7    CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                                    472           DECLARATION OF SCOTT MCMILLAN
                                          Case
                                           Case3:16-cv-02186-WQH-MDD
                                                3:16-cv-02186-WQH-MDD Document
                                                                       Document127-1
                                                                                69-4 Filed
                                                                                     Filed 04/03/17
                                                                                           09/23/22 PageID.3074
                                                                                                    PageID.4696 Page
                                                                                                                Page 9480
                                                                                                                       of 9of
                                                                               1196



                                                                   1                                            testimony lacks foundation as to
                                                                                                                Mr. McMillan’s baseless
                                                                   2                                            speculation as to Ms. Chaker’s
                                                                   3                                            future actions.

                                                                   4                                            Mr. McMillan’s name-calling
                                                                   5                                            also violates the customary
                                                                                                                professional ethical rules about
                                                                   6                                            civility in litigation.
                                                                   7
                                                                   8
                                                                   9
                                                                  10
                                                                  11
                                                                       DATED: April 3, 2017             BAKER MARQUART LLP
                                                                  12
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                                                                                                        /s/ Ryan G. Baker
BAKER MARQUART LLP




                                                                  13
                                                                                                        Ryan G. Baker
                               LOS ANGELES, CA 90067




                                                                  14                                    Brian T. Grace
                                                                  15                                    Attorneys for Specially Appearing
                                                                                                        Defendant Vania Chaker
                                                                  16
                                                                  17
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                                                                                                           SPECIALLY APPEARING DEFENANT VANIA
                                                                                                    8     CHAKER’S EVIDENTIARY OBJECTIONS TO THE
                                                                                              473            DECLARATION OF SCOTT MCMILLAN
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-26 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.4697
                                                           PageID.132 Page
                                                                       Page1481
                                                                             of 4of
                                      1196




              EXHIBIT BB
                                       474
  Case
   Case3:16-cv-02186-WQH-MDD
         3:16-cv-02186-WQH-MDD Document
                                Document127-1
                                         1-26 Filed
                                              Filed 09/23/22
                                                    08/29/16 PageID.4698
                                                             PageID.133 Page
                                                                         Page2482
                                                                               of 4of
                                        1196


 COMPUTER
 SEARCH&
 SEIZURE
 (HTTP://DARRENCHAKER. US/)
 BY DARREN CRAKER

HOME (BTIP:IIDARRENCHAKER. US/)

ABOUT DARREN CRAKER (HTlP:/fDARRENCHAKER.US/VIEWPOINT-DISCRlMINAnON-FALSE-COMPLAIN'I)

COLORADO RECORD SEALING (HTIP:! /DARRENCHAKER.US/COLORADO-RECORD-SEALING)

CONSENT AND WARRANT FOR COMPU'IER SEARCH (HT.IP:! /DARRENCHAKER.US/WARlUNT-COMPU'IER-SEARCH)


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                                                                                      destruction)

                                                                                      • Inadvertent Disclosure
                                                                                      CPRA
                                                                                      (http://darrenchaker.us/
                                                                                      cpra)

                                                                                      • Ediscovery Expert Fees
                                     Darren Olaker covers ediscovery                  (http://darrenchaker.us/
                                                                                      expert-fees-ediscovery)
                             Darren Chaker
                             (https://plus.googIe.c:om/+DarrenChak.,)found            • Utigation Hold. Policy
                             ,Ius article                                             Avoids Sanctions
                             (http://www.ediscoverylaw.com/2015/10jcourt-             (http://darrenchaker.us/
                             approves-use-of-search-terms-to-identify-                litigation-bold-sanctions)
                             materials-fur-preservation/) on California
                                                                                      • eDiscovery Sanctions in
                             edisoovery concerning document-destruction You
                                                                                      San Diego
                             v. Japan (http://www.edrm.net/archives/29312).
                             No. C 15-03257WHA, 2015 WL 5542539 (N.D.                 (http://darrenchaker.us/ Exh      BB
                                                                                      eiliscovery-sandiego)
                             Cal. Sept. 16, 2015).                                                                   1 of 3
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                 In this case, the courtDocument
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                 preservation, including "interdiction of any
                      document-destruction programs and any ongoing
                                                                              RECENT
                      erasures of e-mails, voice mails, and other             COMMENTS
                      electronically-recorded material." In the course of
                      its business, one defendant, the publisher of a daily
                      newspaper, employed a proprietary application
                      "used for laying out each edition of the
                      newspaper." The application retained a "back            ARCHIVES
                      catalog" of 90 days. In response to the court's
                      order, the defendant alleged that retention of the
                                                                              • December 2015
                      application's contents for longer than 90 days could    (http://darrenchaker.us/
                      "slow down the system or cause it to crash" and
                                                                              2015/12f)
                      that although it could install a new storage system,
                      it would cost $18 million and could take up to eight    • October 2015
                      months. Accordingly Defendant sought permission         (http://darrenchaker.us/
                      to employ certain search terms to be run across the     2015/10/)
                      application twice monthly to identify articles to be
                      preserved. Defendant alleged that it had "already       • September 2015
                      run several searches using [the proposed] terms         (http://darrenchaker.us/
                      and found they yielded duplicative results              2015/09f)
                      (https:/ /www.pinterest.com/darrenchaker f)," but       • June 2015
                      indicated it would use the terms "out of an             (http://darrenchaker.us/
                      abundance of caution." Defendant further
                                                                              2015/06f)
                      explained that because the proposal "would not
                      cease 'all ongoing erasures of electronically-stored    • May 2015
                      material,'" it sought court approval for its proposed   (http://darrenchaker.us/
                      method.                                                 201 5/ 0 5/)

                                                                              • April 2015
                      Plaintiffs opposed the proposal and argued that it
                                                                              (http://darrencl1aker.us/
                      could lead to the destruction of "evidence
                                                                              2015/04f)
                      (http://www.stunlbleupon.com/lists/ 4939745957
                      39862160/counter-forensics-darren-chaker) of            • October 2014
                      [Defendant's1state of mind in selecting and editing     (http://darrencl1aker.us/
                      its articles" which could be relevant to Plaintiffs'    2014/10f)
                      clainls of defamation and intentional infliction of
                      emotional distress. Plaintiffs also identified an       • April 2013
                      additional search term that the defendant had not       (http://darrencllaker.us/
                      proposed.                                               2013/04f)

                                                                              • Marcl12013
                      WIth the addition of Plaintiffs' proposed term, the
                                                                              (http://darrencl1aker.us/
                      court found Defendant's proposal "sufficiently
                                                                              2013/03f)
                      broad" to identify and preserve potentially
                      relevant articles and granted permission for            • January 2013
                      Defendant's proposed preservation protocol              (http://darrencl1aker.us/
                                                                              2013/01f)
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                                                                              (http://darrenchaker.us/
DELETED (RTTP:/IDABBENCHAIBB.US/CATBGOBY/BDl8COVEJ:Ly.OELETBDJ),              2012/12f)
EDI8COVBBY-SAN -DIBGO (HTTP://DARBENCHAKBB.US/CA. TEGORY/EDI8COVEBY-SAN-
DIEGO!) I TAGGED DARBKN-CIIAKER (HTTP://DA.RRENCIlAKIR.U8/TAG/DARBEN-                                     Exh BB
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(llTTP:jjDA. ••INCDA. KBL USjTAG! SCOTT-MCIOLLAN-LA-MBSAj). YOU . .JAp AN           • Apparent-Authority-
(llTTP:jjDAI.I.ENCIUIBL USj TAG/YOU-IAP AN j)   I
                                                                                    Consent
                                                                                    (http://darrenchaker.us/
                                                                                    category/apparent-
                                                                                    authority-consent!)
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(HTTP:/ / DA.''ENCHAIBB.U8/AUTHOI./8FGKVRWNCYJ)
                                                                                    • Border Search
INADVERTENT DISCLOSURE CPRA                                                         (http://darrenchaker.us/
(HTTP://DARRENCHAKER. US/CPRA)                                                      category/border-search-
                                                                                    2!)

                                                                                    • Border-Privacy
                                                                                    (http://darrenchaker.us/
Inadvertent disclosure (http://federalevidence.com/node/1606), and                  category /border-
restraining order, Darren Cbaker (http://darrenchaker.OI"gJ) posts                  privacy!)
abont an article ooncerffing Newark Unified Sch. Dist. v. Superior Court
                                                                                    • Checkpoint-Search
(http://www.therecorder.com/id=1202733765784/Newark-Unified-
                                                                                    (http://darrenchaker.us/
School-District-v-Superior-Court -Brazil?slreturn=20150827021409) ,
                                                                                    category /checkpoint-
2015 WI.. 4594095 (Cal. Ct. App. July 31, 2015). In this inadvertent
document release case, the plaintiff sought injunctive relief against the           search!)
defendant, requiring the return or destruction of privileged, exempt or             • Computer-Search
confidential records that had been inlproperly released. The plaintiff              (http://darrenchaker.us/
sought a temporary restraining order (TRO) shortly after filing a
                                                                                    category / computer-
complaint, but the defendant argued that, under a legislative law, the
                                                                                    search/)
"disclosure" of a public record constitutes a waiver of applicable
exemptions from disclosure. Examining past holdings, the court ruled               • Consent-to-Search-
that the term "waiver" did not include accidental, inadvertent                     Computer
disclosures, which included the electronically stored materials produced           (http://darrenchaker.us/
during discovery. In addition, the court found that an attorney who                category/consent-to-
receives inadvertently produced documents during discovery has an                  search-computer/)
ethical duty to "refrain from unnecessary review of the documents,
notify opposing counsel, and return the documents upon request". The               • CPRA
court vacated the lower court's decision to deny the TRO and ordered               (http://darrenchaker.us/
the defendant to refrain from dissemination of inadvertently produced              category / cpra!)
privileged documents. See article here
                                                                                   • Darren-Cbaker
(http://www.ediscovery.com/pulse/ case-
                                                                                   (http://darrenchaker.us/
law/detaii/26647/#.VgeIqW7htZE).
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                                                                                   chaker!)
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 1 FREDRICKSON, MAZEIKA & GRANT, LLP
   Timothy J. Grant, Esq. (SBN 122593)
 2 tgrant@fmglegal.com
   5720 Oberlin Drive
 3 San Diego, CA 92121-1723
   Tel: 858-642-2002; Fax: 858-642-2001
 4
   Attorneys for Defendant DARREN D. CHAKER, an individual, and as trustee of
 5 PLATINUM HOLDINGS GROUP TRUST, dba COUNTER FORENSICS
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                                  SOUTHERN DISTRICT
10
11 SCOTT A. MCMILLAN, et al.,                    )   Case No. 3:16-CV-02186-WQH-MD
                                                 )
12                                               )   Judge: Hon. William Q. Hayes
                 Plaintiffs,                     )   Courtroom: 14B
13                                               )
           v.                                    )   Magistrate: Hon. Mitchell D. Dembin
14                                               )   Courtroom: 11th Floor
                                                 )
15 DARREN D. CHAKER, et al.,                     )   STIPULATION  TO  EXTEND
                                                 )   TIME TO RESPOND TO FIRST
16                                               )   AMENDED COMPLAINT
                 Defendants.                     )
17                                               )   Complaint Filed: August 29, 2016
18         COMES NOW the parties to this stipulation, namely, Plaintiffs, SCOTT A.
19 McMILLAN and THE McMILLAN LAW FIRM, APC (“PLAINTIFFS”), and
20 Defendant, DARREN D. CHAKER, an individual, and as trustee of PLATINUM
21 HOLDINGS GROUP TRUST, dba COUNTER FORENSICS (“CHAKER”), by and
22 through their respective attorneys of record, who hereby stipulate and agree as follows:
23         1.    On August 29, 2016, PLAINTIFFS filed their Complaint in the above
24 captioned matter against CHAKER, and other Defendants;
25         2.    CHAKER made a general appearance in the instant action via Motion for
26 Dismiss for Failure to State a Claim on November 14, 2016, represented by Timothy J.
27 Grant of the law firm of Fredrickson, Mazeika & Grant, LLP (“FMG”);
28 / / /

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                STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22 PageID.2624
                                                           PageID.4702 Page
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                                                                             of 3of
                                     1196


 1        3.     Plaintiffs filed their First Amended Complaint (“FAC”) on December 15,
 2 2016, thus rendering the then pending motion to dismiss filed by CHAKER moot;
 3        4.     Based upon prior application and Order granted by the Court on December
 4 21, 2016, the current deadline for CHAKER to respond to the FAC is January 26, 2017;
 5        5.     Between December 2016 and January 2017, certain irreconcilable
 6 differences developed between CHAKER and his current counsel, FMG, necessitating
 7 the dissolution of the attorney-client relationship between CHAKER and FMG, and
 8 FMG’s subsequent request to withdraw;
 9        6.     CHAKER seeks to substitute FMG with new counsel selected by
10 CHAKER (the “replacement firm”), who are expected to be approved for retention by
11 CHAKER’s liability insurers by the end of the week ending January 27, 2017, and
12 whose substitution of attorney is expected to be on file by February 1, 2017. That
13 replacement firm will require additional time to bring themselves up to speed on the
14 case, to review the nature of the allegations in the Plaintiffs’ FAC and other information
15 currently contained in FMG’s litigation file, and to otherwise prepare and file what is in
16 their view to be an appropriate response to the FAC.
17        7.     PLAINTIFFS have agreed as a matter of courtesy to allow the replacement
18 firm additional time in which to prepare a response to the FAC, which response would
19 need to be filed and served in this matter no later than February 17, 2017.
20        NOW, THEREFORE, subject to approval by the Court, the Parties hereby
21 stipulate and agree that the deadline by which CHAKER must now respond to
22 PLAINTIFFS’ FAC should be continued to the date of February 17, 2017.
23
24 DATED: January 24, 2017                THE McMILLAN LAW FIRM, APC
25
                                          By:     /s/ Scott A. McMillan
26                                                Scott A. McMillan, Esq.
                                                  Attorney for Plaintiffs, SCOTT A.
27                                                McMILLAN, an individual, and THE
                                                  McMILLAN LAW FIRM, APC
28

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               STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT
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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 3of
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 1 DATED: January 24, 2017              FREDRICKSON, MAZEIKA & GRANT, LLP
 2
                                        By:     /s/ Timothy J. Grant
 3                                              Timothy J. Grant, Esq.
                                                Attorney for Defendants, DARREN D.
 4                                              CHAKER, an individual, and as trustee
                                                of PLATINUM HOLDINGS GROUP
 5                                              TRUST, dba COUNTER FORENSICS
 6
 7                                  CERTIFICATION
 8        Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), Timothy J. Grant, Esq., the ECF
 9 User whose identification and password are being used to file the foregoing
10 STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED
11 COMPLAINT, attests that the other signatories listed on the stipulation, and on whose
12 behalf the filing is submitted, concur in the filing’s content and have authorized the
13 filing of this document.
14 DATED:       January 24, 2017        /s/ Timothy J. Grant
15                                           Timothy J. Grant, Esq.

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                               1   STEPHEN J. ERIGERO (SBN 121616)
                                   E. LACEY RICE (SBN 266748)
                               2   EDUARDO A. BRAVO (SBN 327967)
                                   ROPERS MAJESKI PC
                               3   445 South Figueroa St, 30th Floor
                                   Los Angeles, CA 90071
                               4   Telephone: 213.312.2000
                                   Facsimile: 213.312.2001
                               5   Email:      stephen.erigero@ropers.com
                                   Email:      lacy.rice@ropers.com
                               6   Email:      eduardo.bravo@ropers.com
                               7   Attorneys for Defendant
                                   DARREN D. CHAKER
                               8

                               9                           UNITED STATES DISTRICT COURT
 A Professional Corporation




                              10                        SOUTHERN DISTRICT OF CALIFORNIA
                              11
        Los Angeles




                              12   SCOTT A. MCMILLAN, an individual;             Case No. 3:16-cv-2186-WQH-MDD
                                   THE MCMILLAN LAW FIRM, APC,
                              13   a California professional corporation,        Hon. William Q. Hayes
                                                                                 Courtroom 14B
                              14                      Plaintiffs,
(/)                                                                              DEFENDANT DARREN D.
                              15            v.                                   CHAKER’S NOTICE OF
ct                                                                               MOTION AND MOTION TO
w                             16   DARREN D. CHAKER, an individual,
                                   and as trustee of PLATINUM
                                                                                 SEAL PORTIONS OF PLAINTIFF
                                                                                 SCOTT A. MCMILLAN’S
(L                            17   HOLDINGS GROUP TRUST, dba                     COMPLAINT AND FIRST
                                   COUNTER FORENSICS; NICOLE                     AMENDED COMPLAINT
Q .                           18   CHAKER, an individual, and as trustee
ct                                 of THE NICOLE CHAKER                          [Filed Concurrently with
                              19   REVOCABLE LIVING TRUST, U/A                   Memorandum of Points and
                                   dated August 18, 2010, VANIA                  Authorities, Declaration of Eduardo
                              20   CHAKER, an individual and as                  A. Bravo, Request for Judicial
                                   beneficiary of The Island Revocable           Notice and (Proposed) Order]
                              21   Trust under,
                                                                                  DATE: AUGUST 3, 2020
                              22                      Defendants.
                                                                                 NO ORAL ARGUMENT UNLESS
                              23                                                 REQUESTED BY THE COURT
                              24
                                                                                 Action Filed:      August 29, 2016
                              25                                                 Trial Date:        None
                              26

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                              28
                                   4819-0365-6385.1


                                                                    NOTICE OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT

                                                                     481
                     Case
                      Case3:16-cv-02186-WQH-MDD
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                                                                      09/23/22 PageID.4039
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                                                                                                 of 2of
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                                 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                 2            PLEASE TAKE NOTICE that on August 3, 2020, or as soon thereafter as
                                 3   the matter may be heard in Courtroom 14B of the above-entitled court, located at
                                 4   333 West Broadway, San Diego, California 92101, Defendant DARREN D.
                                 5   CHAKER (“Defendant”) will and hereby does move the Court for an Order sealing
                                 6   certain portions of Plaintiff Scott A. McMillan’s (“Plaintiff”) Complaint and First
                                 7   Amended Complaint (“FAC”), or alternatively, for a Protective Order, pursuant to
                                 8   Rules 5.2(d)–(e) of the Federal Rules of Civil Procedure.
                                 9            This Motion is being brought following Defendant’s unsuccessful meet and
   A Professional Corporation




                                10   confer efforts requesting that Plaintiffs voluntarily stipulate to sealing at issue
                                11   portions of the Complaint and FAC, as set forth in the Declaration of Eduardo A.
          Los Angeles




                                12   Bravo filed herewith.
                                13            This Motion is based upon this Notice of Motion and Motion and supporting
                                14   Memorandum of Points and Authorities, the Declaration of Eduardo A. Bravo, the
(/)                             15   Request for Judicial Notice, all exhibits submitted in connection with this Motion,
0::
w                               16   all pleadings and papers on file in this action, and all additional evidence and oral
(l...                           17   argument (only if separately ordered by the Court) that the Court may properly
Q.                              18   receive at or before the hearing on this Motion.
0::                             19

                                20   DATED: June 25, 2020                          ROPERS MAJESKI PC
                                21

                                22                                                 By: /s/ Eduardo A. Bravo
                                                                                      STEPHEN J. ERIGERO
                                23                                                    E. LACEY RICE
                                                                                      EDUARDO A. BRAVO
                                24                                                    Attorneys for Defendant
                                                                                      DARREN D. CHAKER
                                25

                                26

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                                                                        NOTICE OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT

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Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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 1 Scott A. McMillan, SBN 212506
   The McMillan Law Firm, APC
 2 4670 Nebo Drive, Suite 200
   La Mesa, California 91941-5230
 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
   Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, and THE
 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
11   individual, THE MCMILLAN LAW
     FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
12   Corporation,                             Courtroom: 14B

13   Plaintiffs,
                                              NOTICE OF CROSS APPEAL;
14   v.                                       STATEMENT OF
                                              REPRESENTATION [9TH Cir. R. 3-
15   DARREN D. CHAKER an individual,          2]
     and as trustee of PLATINUM
16   HOLDINGS GROUP TRUST, dba
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as trustee
     of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA
19   CHAKER, an individual and as
     beneficiary of The Island Revocable
20   Trust under Declaration of Trust dated
     June 2, 2015, MARCUS MACK as
21   trustee of The Island Revocable Trust
     under Declaration of Trust dated June
22   2, 2015,

23   Defendants.

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                                            483
Case
Case3:16-cv-02186-WQH-MDD
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                                                                      Page2491
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 1         TO THE COURT, ALL INTERESTED PARTIES, AND TO THEIR
 2 RESPECTIVE ATTORNEYS OF RECORD:
 3         Notice is hereby given that Plaintiffs Scott A. McMillan and The McMillan
 4 Law Firm, APC (“Plaintiffs”), hereby file this cross-appeal to the United States
 5 Court of Appeal for the Ninth Circuit from the March 8, 2018 order granting
 6 Defendant Nicole Chaker an extension of fourteen days to file a notice of appeal
 7 pursuant to Fed. R. App. P. Rule 4(a)(5) [ECF 99], a copy of which is attached
 8 hereto, and the prior adverse rulings.
 9
10 Dated: March 15, 2018
11                                                Respectfully submitted,
12
13                                                /s/ Scott A. McMillan
                                                  Scott A. McMillan, SBN 212506
14                                                Attorneys for Plaintiffs
15
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     3:16-CV-02186             NOTICE OF CROSS-APPEAL                                  2

                                            484
Case
Case3:16-cv-02186-WQH-MDD
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                                               09/23/22 PageID.3979
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                                                                      Page3492
                                                                           of 30
                                                                               of
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 1                            NOTICE OF REPRESENTATION
                                  [Ninth Circuit Rule 3-2]
 2
 3    The McMillan Law Firm, APC             Scott A. McMillan, CBN 212506
 4    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 5                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 6
      Scott A. McMillan                      Scott A. McMillan, CBN 212506
 7    Plaintiff - Appellant                  The McMillan Law Firm, APC
                                             4670 Nebo Drive, Suite 200,
 8                                           La Mesa, CA 91941
                                             (619) 464-1500 x 14
 9
10
      Darren D. Chaker                       Represented by
11    an individual, and as trustee of       Charles Thomas Spagnola
      PLATINUM HOLDINGS GROUP                Sullivan Krieger Truong Spagnola &
12    TRUST                                  Klausner, LLP
                                             444 W. Ocean Blvd., Suite 1700
13    Defendant - Appellee                   Long Beach, CA 90802
                                             562-597-7070
14                                           Fax: 562-597-7772
                                             Email: cspagnola@sullivankrieger.com
15
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                                             Trester, LLP
17                                           801 S. Figueroa St. 15th Floor
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18                                           Ph: (213) 624-6900
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19                                           jmh@manningllp.com
20    Vania Chaker                           Represented by
      an individual and as beneficiary of The
21    Island Revocable Trust under            Ryan G. Baker
      Declaration of Trust dated June 2, 2015 Baker Marquart, LLP
22                                            2029 Century Park East
                                              Suite 1600
23    Defendant - Appellee                    Los Angeles, CA 90067
                                              (424) 652-7800
24                                            Fax: (424) 652-7850
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 1    Nicole Chaker                          Represented by
 2    an individual, and as trustee of
      The Nicole Chaker Revocable            Rebecca Jo Smith
 3    Living Trust, U/A dated August 18,     Freeman Mathis & Gary, LLP
      2010                                   550 S. Hope St.
 4                                           22nd Floor
                                             Los Angeles, CA 90071
 5    Defendant - Appellee                   213-615-7008
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 6                                           Email: rjs@gilbertkelly.com

 7                                           Timothy W Kenna
                                             Freeman Mathis & Gary, LLP
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 1                             CERTIFICATE OF SERVICE
 2         I am admitted to the United States District Court for the Southern District of
 3 California. I am employed in San Diego County, California. My business address
 4 is 4670 Nebo Drive, Suite 200, La Mesa, CA 91941-5230.
 5         On March 15, 2018, I caused service of the following documents:
 6
 7 NOTICE OF CROSS-APPEAL; STATEMENT OF REPRESENTATION [9TH
 8 Cir. R. 3-2].
 9
10   By Electronic Submission: I served the above listed document(s) described via the
11 United States District Court's Electronic Filing Program on the designated
12 recipients via electronic transmission through the CM/ECF system on the Court's
13 website. The Court's CM/ECF system will generate a Notice of Electronic Filing
14 (NEF) to the filing party, the assigned judge, and any registered users in the case.
15 The NEF will constitute service of the document(s). Registration as a CM/ECF
16 user constitutes consent to electronic service though the court's transmission
17 facilities.
18
           I certify that the foregoing is true and correct.
19
           Dated: March 15, 2018
20                                                  /s/ Scott A. McMillan
                                                    ______________________
21
                                                    Scott A. McMillan
22
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     3:16-CV-02186               NOTICE OF CROSS-APPEAL                                   5

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    8                        UNITED STATES DISTRICT COURT
    9                     SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional        ORDER
         corporation,
   12
                                     Plaintiffs,
   13          v.
   14    DARREN D. CHAKER, an individual,
         and as trustee of PLATINUM
   15    HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         The matters before the Court are the motion to dismiss and the motion to strike
   19 Plaintiffs’ third cause of action filed by Defendant Nicole Chaker (ECF Nos. 35, 36);
   20 the motion to dismiss and motion to strike filed by Defendant Darren D. Chaker (ECF
   21 Nos. 55, 56); the motion to dismiss or alternatively to quash service filed by Defendant
   22 Vania Chaker (ECF No. 59); and, the motion for sanctions by Defendant Darren Chaker
   23 (ECF No. 66).
   24 I. BACKGROUND
   25         On December 5, 2016, Plaintiffs Scott A. McMillan and The McMillan Law
   26 Firm, APC filed the First Amended Complaint (“FAC”) against Defendant Darren D.
   27 Chaker, an individual and as trustee of Platinum Holdings Group Trust, dba Counter
   28 Forensics; Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker

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 Case3:16-cv-02186-WQH-MDD
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    1 Revocable Living Trust, U/A dates August 18, 2010; Defendant Vania Chaker, an
    2 individual and as beneficiary of The Island Revocable Trust under Declaration of Trust
    3 dated June 2, 2015; and Defendant Marcus Mack, as trustee of the Island Revocable
    4 Trust under Declaration of Trust dates June 2, 2015. (ECF No. 25). The FAC alleges
    5 two causes of action under the Racketeer Influenced and Corrupt Organizations
    6 (“RICO”) Act pursuant to 18 U.S.C. § 1962(c) and (d) and a civil extortion cause of
    7 action under California law.
    8 II. ALLEGATIONS OF THE FIRST AMENDED COMPLAINT (“FAC”)
    9         Plaintiff Scott McMillan is a California licensed attorney practicing law and
   10 operating an unaccredited law school. (ECF No. 25 at ¶5). Plaintiff McMillan Law
   11 Firm, APC is a corporation operated by Scott McMillan. Id. ¶ 6. Defendants Vania and
   12 Nicole Chaker are Defendant Darren Chaker’s sister and mother, respectively.
   13         Plaintiffs allege that Defendants constitute a RICO enterprise functioning
   14 together “as a continuing unit with a common purpose to obtain the Plaintiffs’ property
   15 under fear induced by falsely imputing a deformity, disgrace, or crimes, and by threats
   16 to do an unlawful injury to the person or property . . . all in violation of Cal. Penal Code
   17 section 523 (extortion).” Id. ¶ 88. “The common purpose of the Enterprise members
   18 was to assist each other in the filing of false and meritless lawsuits under federal debt
   19 collection statutes; assist each other in the filing of lawsuits against attorneys who
   20 opposed them . . . and to conduct a campaign of harassment, defamation, and extortion
   21 against attorneys, such as the Plaintiffs, who represented parties adverse to the interests
   22 of the Enterprise members . . . .” Id. ¶ 91. “Enterprise member also assisted each other
   23 in committing vandalism against Plaintiff’s property.” Id.
   24         Defendant Darren Chaker is alleged to have committed multiple acts of
   25 racketeering activity through acts involving extortion in violation of California Penal
   26 Code sections 518, 519, and 523. Id. ¶¶ 94-109. Plaintiffs allege that Darren Chaker
   27 sent threatening letters and communications; posted defamatory and fabricated
   28 statements online; sent letters threatening Plaintiffs’ clients; and sent defamatory emails

                                                   -2-                             16cv2186-WQH-MDD



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    1 to other attorneys and colleagues of Plaintiff McMillan. Id. Plaintiffs allege that these
    2 acts constitute extortion because Defendant “obtained from Plaintiff his intangible
    3 property right to practice law free of threats, and to practice in accordance with the
    4 California Rules of Professional Conduct” and “obtained from Plaintiffs their intangible
    5 property right to practice law and publish court decisions on the internet.” Id. at ¶¶ 99-
    6 109.
    7         Plaintiffs bring the first cause of action for a violation of RICO, 18 U.S.C. §
    8 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84-114. Plaintiffs bring a second
    9 cause of action for conspiracy to violate RICO, 18 U.S.C. § 1962(d) against all
   10 Defendants. Id. ¶¶ 115-119. Plaintiffs bring a third cause of action for civil extortion
   11 under California law against Defendants Darren Chaker and Nicole Chaker. Id. ¶¶ 120-
   12 133.
   13 III. LEGAL STANDARD ON RULE 12(B)(6)
   14         Federal Rule of Civil Procedure 12(b)(6) permits dismissal for “failure to state
   15 a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). Federal Rule of
   16 Civil Procedure 8(a) provides that “[a] pleading that states a claim for relief must
   17 contain . . . a short and plain statement of the claim showing that the pleader is entitled
   18 to relief.” Fed. R. Civ. P. 8(a)(2). Dismissal under Rule 12(b)(6) is appropriate where
   19 the complaint lacks a cognizable legal theory or sufficient facts to support a cognizable
   20 legal theory. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
   21         “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’
   22 requires more than labels and conclusions, and a formulaic recitation of the elements
   23 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
   24 (quoting Fed. R. Civ. P. 8(a)). When considering a motion to dismiss, a court must
   25 accept as true all “well-pleaded factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662,
   26 679 (2009). However, a court is not “required to accept as true allegations that are
   27 merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”
   28 Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). “In sum, for a

                                                   -3-                              16cv2186-WQH-MDD



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 Case3:16-cv-02186-WQH-MDD
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                                                                           4 of  30
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    1 complaint to survive a motion to dismiss, the non-conclusory factual content, and
    2 reasonable inferences from that content, must be plausibly suggestive of a claim
    3 entitling the plaintiff to relief.” Moss v. U.S. Secret Service, 572 F.3d 962, 969 (9th Cir.
    4 2009) (internal quotation marks omitted).
    5 IV. MOTIONS TO DISMISS BY DARREN CHAKER AND NICOLE CHAKER
    6 (ECF Nos. 35, 56)
    7         Defendant Darren Chaker contends that the FAC should be dismissed with
    8 prejudice for failure to state a claim. Defendant Darren Chaker contends that the RICO
    9 cause of action pursuant to 18 U.S.C. §1962(c) must be dismissed because Plaintiffs fail
   10 to adequately allege facts to support the predicate act of extortion. (ECF No. 56-1 at
   11 10). Defendant Darren Chaker contends that Plaintiffs fail to state a claim for extortion
   12 because Plaintiffs do not allege facts to show that Defendant Darren Chaker obtained
   13 property from Plaintiffs. Id. at 13. Defendant Darren Chaker further contends that
   14 Plaintiffs lack standing because the FAC fails to allege cognizable damages. Id. at 18.
   15 Defendant Darren Chaker contends that the second cause of action for RICO
   16 conspiracy, 18 U.S.C. § 1962(d), fails for the same reasons as the first cause of action.
   17 Defendant Darren Chaker contends that the Court should decline to exercise
   18 supplemental jurisdiction over the state law claim. Id. at 19-20.
   19         Defendant Nicole Chaker also contends the FAC should be dismissed for failure
   20 to state a claim.1 (ECF No. 35). Defendant Nicole Chaker contends that her alleged
   21 conduct is protected by the Noerr-Pennington doctrine. (ECF No. 35-1 at 13-16).
   22 Defendant Nicole Chaker contends that the RICO causes of action should be dismissed
   23 because Plaintiffs fail to adequately plead an enterprise with an effect on interstate
   24 commerce, a pattern of racketeering, cognizable damages, or sufficient conduct or
   25
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              Defendant Nicole Chaker files a request for judicial notice of document in the
   26 record of a district court case from the United States District Court for the Central
      District of California. (ECF No. 35-3). Plaintiffs’ also file a request for judicial notice
   27 of court documents in other cases. (ECF No. 45-1). The Court denies the request for
      judicial notice as unnecessary. See, e.g., Asvesta v. Petroutsas, 580 F.3d 1000, 1010
   28 n. 12 (9th Cir. 2009) (denying request for judicial notice where judicial notice would
      be “unnecessary”).
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 Case3:16-cv-02186-WQH-MDD
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                                                                           5 of  30
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    1 participation in enterprise affairs. Id. at 18-25. Defendant Nicole Chaker contends that
    2 the claim under § 1962(d) necessarily fails if the § 1962(c) claim is dismissed. Id. at
    3 24. Defendant Nicole Chaker contends that Plaintiffs do not sufficiently allege any
    4 cognizable injury to support the cause of action for civil extortion. Id. at 25. Defendant
    5 Nicole Chaker contends that she is “protected by the litigation privilege under
    6 California Civil Code § 47.” Id. at 29.
    7          Plaintiffs contend that the FAC sufficiently alleges extortion pursuant to the
    8 California Penal Code as a predicate act for the RICO claims. (ECF No. 60). Plaintiffs
    9 contend that Defendant Darren Chaker “has obtained the Plaintiffs’ property, i.e. the
   10 right to publicity, the goodwill in the business, the Plaintiff’s ability to practice law, the
   11 Plaintiff’s identity and the Plaintiffs’ logo.” Id. at 14-15. Plaintiffs further contend that
   12 the FAC alleges cognizable damages in the form of injury to a business or property. Id.
   13 at 20-21. Plaintiffs contend that federal law, state law, and California state courts
   14 define “property” broadly to include the damage to intangible property interests alleged
   15 in the complaint. Id. at 20-26. Plaintiffs contend that intangible property rights were
   16 obtained by Defendant Darren Chaker. Id. at 26-30. Plaintiffs contend that the Court
   17 should exercise its supplemental jurisdiction over the state law claim of civil extortion.
   18 Id. at 30-31. Plaintiffs contend that the Noerr-Pennington doctrine has no applicability
   19 to this case. (ECF No. 43 at 25). Plaintiffs contend that Defendant Nicole Chaker is
   20 not protected by the litigation privilege under California Civil Code section 47.
   21 Plaintiffs contend that the FAC adequately alleges that Defendant Nicole Chaker
   22 conspired to violate § 1962(c). Id. at 20. Plaintiffs contend that the FAC adequately
   23 alleges a civil extortion claim. Id. at 22-23.
   24          A. RICO, 18 U.S.C. § 1962(c)
   25          “The Racketeer Influenced and Corrupt Organizations (‘RICO’) Act . . . provides
   26 for both criminal and civil liability.” Odom v. Microsoft Corp., 486 F.3d 541, 545 (9th
   27 Cir. 2007) (citing Pub. L. No. 91-452, § 901, 84 Stat. 922 (1970) (codified at 18 U.S.C.
   28 §§ 1961-1968)). “Under RICO’s civil enforcement mechanism, ‘any person injured in

                                                    -5-                              16cv2186-WQH-MDD



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 Case3:16-cv-02186-WQH-MDD
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                                                                           6 of  30
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    1 his business or property by reason of a violation of [18 U.S.C. § 1962] may sue therefor
    2 in any appropriate United States district court and shall recover threefold the damages
    3 he sustains and the cost of the suit, including a reasonable attorney’s fee . . . .’”
    4 Canyon Cty v. Sygenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008) (citing 18 U.S.C.
    5 § 1964(c)). “Subsections 1962(a) through (c) prohibit certain ‘pattern[s] of racketeering
    6 activity’ in relation to an ‘enterprise.’” United Bhd. of Carpenters & Joiners of Am. v.
    7 Bldg. & Const. Trades Dep’t, AFL-CIO, 770 F.3d 834, 837 (9th Cir. 2014). “To have
    8 standing under § 1964(c), a civil RICO plaintiff must show: (1) that his alleged harm
    9 qualifies as injury to his business or property; and (2) that his harm was ‘by reason of’
   10 the RICO violation, which requires the plaintiff to establish proximate causation.” Id.
   11 (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 268 (1992); Sedima,
   12 S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985)).
   13         Section 1962(c) provides,
   14         It shall be unlawful for any person employed by or associated with any
              enterprise engaged in, or the activities of which affect, interstate or foreign
   15         commerce, to conduct or participate, directly or indirectly, in the conduct
              of such enterprise’s affairs through a pattern of racketeering activity or
   16         collection of unlawful debt.
   17 18 U.S.C. § 1962(c). “The elements of a civil RICO claim are as follows: (1) conduct
   18 (2) of an enterprise (3) through a pattern (4) of racketeering activity (known as
   19 ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” United Bhd. of
   20 Carpenters, 770 F.3d at 837 (citing Living Designs, Inc. v. E.I. Dupont de Nemours &
   21 Co., 431 F.3d 353, 361 (9th Cir. 2005)).
   22         “A ‘pattern of racketeering activity’ requires at least two predicate acts of
   23 racketeering activity, as defined in 18 U.S.C. § 1961(1) within a period of ten years.”
   24 Canyon Cty, 519 F.3d at 972. “Racketeering activity” as defined by statute includes
   25 “any act or threat involving . . . extortion, . . . which is chargeable under State law.”
   26 18 U.S.C. § 1961(1)(A). To constitute a predicate act of extortion for purposes of a
   27 RICO cause of action, the alleged act must satisfy the generic definition of extortion –
   28 “obtaining something of value from another with his consent inducted by the wrongful

                                                   -6-                               16cv2186-WQH-MDD



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 Case3:16-cv-02186-WQH-MDD
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                                                                              of16
                                                                           7 of  30
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    1 use of force, fear, or threats.” United Bhd. of Carpenters, 770 F.3d at 843 (citing
    2 United States v. Nardello, 393 U.S. 286 (1969)).
    3         In Scheidler v. National Organization for Women, Inc., the Supreme Court
    4 considered whether the use or threat of force, violence or fear to cause a party to “‘give
    5 up’ property rights, namely, ‘a woman’s right to seek medical services from a clinic, the
    6 right of the doctors, nurses or other clinic staff to perform their jobs, and the right of the
    7 clinics to provide medical services free from wrongful threats, violence, coercion and
    8 fear” constituted Hobbs Act extortion or a state extortion offense for purposes of a
    9 RICO predicate act. 537 U.S. 393, 400-01 (2003). The Court determined that although
   10 “[t]here was no dispute . . . that petitioners interfered with, disrupted, and in some
   11 instances completely deprived, respondents of their ability to exercise their property
   12 rights . . . . such acts did not constitute extortion because petitioners did not ‘obtain
   13 respondents’ property.” Id. at 404-05. The Court further stated, “Petitioners may have
   14 deprived or sought to deprive respondents of their exclusive control of their business
   15 assets, but they did not acquire any such property. Petitioners neither pursued nor
   16 received ‘something of value from’ respondents that they could exercise, transfer or
   17 sell.” Id. (citing Nardello, 393 U.S. at 290)).
   18         In this case, Plaintiffs allege that the requisite predicate acts are multiple acts of
   19 extortion in violation of California Penal Code sections 518, 519, and 523.2 An act of
   20 extortion which is chargeable under state law can constitute racketeering activity
   21 sufficient to support a RICO claim. See 18 U.S.C. § 1961(1)(A). However, to plead
   22 extortion as a predicate act, Plaintiffs must allege facts to show that the act involved
   23 “obtaining something of value from another.” United Bhd. of Carpenters, 770 F.3d at
   24 843; Scheidler, 537 U.S. at 410 (“[W]here as here the Model Penal Code and a majority
   25 of States recognize the crime of extortion as requiring a party to obtain or to seek to
   26
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               Plaintiffs allege the cause of action pursuant to 18 U.S.C. § 1962(c) solely
      against Defendant Darren Chaker. Plaintiffs do not allege the cause of action pursuant
   28 to 18 U.S.C. § 1962(c) against Defendant Nicole Chaker. (ECF No. 25 at 33; ECF No.
      43 at 6).
                                                   -7-                               16cv2186-WQH-MDD



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                                                                              of16
                                                                           8 of  30
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    1 obtain property, as the Hobbs Act requires, the state extortion offense for purposes of
    2 RICO must have a similar requirement.”). Plaintiffs allege that various acts by
    3 Defendant Darren Chaker constitute state extortion offenses and predicate acts under
    4 RICO because Defendant Darren Chaker obtained from Plaintiffs the “intangible right
    5 to practice law and publish decisions on the internet” and the “intangible property right
    6 to practice law free of threats, and to practice in accordance with the California Rules
    7 of Professional Conduct.” (ECF No. 25 at ¶¶ 99-109). The Court concludes that these
    8 factual allegations are insufficient to establish that Defendant Darren Chaker obtained
    9 something of value from Plaintiffs. Scheidler, 537 U.S. at 410. Because Plaintiffs fail
   10 to sufficiently allege a predicate act, Plaintiffs fail to state a claim pursuant to 18 U.S.C.
   11 § 1962(c). See, e.g., United Bhd. of Carpenters, 770 F.3d at 837 (stating that a plaintiff
   12 must properly allege a predicate act to state a claim under RICO). The motion to
   13 dismiss the cause of action under 18 U.S.C.§ 1962(c) filed by Defendant Darren Chaker
   14 is granted.
   15          B. RICO Conspiracy, 18 U.S.C. § 1962(d)
   16          Plaintiffs bring a RICO conspiracy cause of action against all Defendants and
   17 allege that
   18          commencing in 2004 and during and continuing at all times to the present,
               RICO defendants conspired to violate section 1962(c), i.e. each defendant
   19          agreed that a conspirator (DARREN) would conduct or participate in the
               affairs of the Enterprise through a pattern of racketeering, including acts
   20          involving extortion in violation of California state law, as more fully
               described in the First Claim for Relief.
   21
        (ECF No. 25 at ¶ 116).
   22
               A civil RICO cause of action is available for a violation of 18 U.S.C. § 1962(d).
   23
        See 18 U.S.C. § 1964(c). Pursuant to 18 U.S.C. § 1962(d), it is “unlawful for any
   24
        person to conspire to violate any of the provisions of subsection (a), (b), or (c) of this
   25
        section.” 18 U.S.C. § 1962(d). In Howard v. Am. Online Inc., the Ninth Circuit Court
   26
        of Appeals held that “Plaintiffs cannot claim that a conspiracy to violate RICO existed
   27
        if they do not adequately plead a substantive violation of RICO.” 208 F.3d 741, 751
   28
        (9th Cir. 2000). The Court has determined that Plaintiffs did not adequately plead a

                                                    -8-                              16cv2186-WQH-MDD



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Case
 Case3:16-cv-02186-WQH-MDD
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                             Document127-1
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                                                08/28/17   PageID.4720Page
                                                          PageID.3522  Page
                                                                      Page 15504
                                                                              of16
                                                                           9 of  30
                                                                                  of
                                     1196


    1 substantive violation of 18 U.S.C § 1962(c). The motions to dismiss the RICO
    2 conspiracy cause of action under 18 U.S.C. § 1962(d) filed by Defendants Nicole
    3 Chaker and Darren Chaker are granted.
    4         C. Civil Extortion Under State Law
    5         The civil extortion cause of action alleged by Plaintiffs against Defendants
    6 Darren Chaker and Nicole Chaker does not arise under federal law. The FAC states that
    7 this case is properly in federal court based on federal question jurisdiction3 and that this
    8 Court has supplemental jurisdiction over the remaining state law claim pursuant to 28
    9 U.S.C. § 1367(a) because it is “so related to the claims in the action within the Court’s
   10 original jurisdiction that they form part of the same case or controversy under Article
   11 III of the United States Constitution.” (ECF No. 25 at 2). The federal supplemental
   12 jurisdiction statute provides:
   13         [I]n any civil action of which the district courts have original jurisdiction,
              the district courts shall have supplemental jurisdiction over all other
   14         claims that are so related to claims in the action within such original
              jurisdiction that they form part of the same case or controversy under
   15         Article III of the United States Constitution.
   16 28 U.S.C. § 1367(a). “The district courts may decline to exercise supplemental
   17 jurisdiction over a claim under subsection (a) if . . . the district court has dismissed all
   18 claims over which it has original jurisdiction[.]” 28 U.S.C. § 1367(c).
   19         Having dismissed the only federal claims asserted against Defendant Darren
   20 Chaker and Nicole Chaker, the Court declines to exercise supplemental jurisdiction over
   21 this state law claim pursuant to 28 U.S.C. § 1367(c). See San Pedro Hotel Co., Inc. v.
   22 City of Los Angeles, 159 F.3d 470, 478 (9th Cir. 1998). The motions to dismiss the civil
   23 extortion cause of action filed by Defendants Nicole Chaker and Darren Chaker are
   24 granted.
   25 V. MOTIONS TO STRIKE BY DARREN CHAKER AND NICOLE CHAKER
   26
   27         3
              Plaintiffs also allege, “This Court has subject-matter jurisdiction over this action
      pursuant to 28 U.S.C. § 1332.” (ECF No. 25 at ¶ 1). Plaintiffs have failed to allege
   28 sufficient facts to establish diversity jurisdiction and this statement appears to be in
      reference to 28 U.S.C. § 1331.
                                                   -9-                              16cv2186-WQH-MDD



                                            497
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Case3:16-cv-02186-WQH-MDD
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                                                                        Page
                                                                           16505
                                                                           10 of16
                                                                              of 30
                                                                                  of
                                    1196


    1 (ECF Nos. 55, 36)
    2         Defendant Darren Chaker filed a motion to strike portions of the FAC pursuant
    3 to Federal Rule of Civil Procedure 12(f). (ECF No. 55). The Court has dismissed the
    4 FAC as to Darren Chaker. Accordingly, the Court denies as moot Defendant Darren
    5 Chaker’s motion to strike. (ECF No. 55).
    6         Defendant Nicole Chaker filed an anti-SLAPP motion to strike the third cause of
    7 action pursuant to California Code of Civil Procedure section 425.16 and for an award
    8 of attorney’s fees pursuant to California Code of Civil Procedure section 425.16(c).
    9 (ECF No. 36). As a result of the Court’s decision to decline supplemental jurisdiction
   10 over the state law civil extortion claim, the Court does not reach the merits of this
   11 motion. The Court denies as moot Defendant Nicole Chaker’s anti-SLAPP motion to
   12 strike and for attorney’s fees and costs. (ECF No. 36).
   13 VI. MOTION TO DISMISS OR QUASH SERVICE BY VANIA CHAKER (ECF
   14 No. 59)
   15         “Specially Appearing Defendant” Vania Chaker moves the Court pursuant to
   16 Rule 12(b)(5) for an order dismissing the complaint or alternatively, for an order
   17 quashing defective service. (ECF No. 59). Defendant Vania Chaker contends that
   18 Plaintiffs failed to serve her prior to the Court’s February 27, 2017 deadline for service.
   19 Id. at 4. Defendant Vania Chaker contends that Plaintiffs failed to serve her by personal
   20 service on February 6, 2017 at 6:02 p.m. as represented to the Court by Plaintiffs. Id.
   21 at 3. Defendant Vania Chaker contends that she has “strong and convincing” evidence
   22 that Plaintiff’s purported proof of service is fabricated because Defendant Vania Chaker
   23 was not at this location at that time.4 Id. at 3-5. Defendant Vania Chaker further
   24
   25         4
              Defendant Vania Chaker requests judicial notice of decision of the California
      Court of Appeal, Fourth District, Division 1. (ECF No. 59-3). Plaintiffs object to the
   26 request for judicial notice. (ECF No. 64-5). The Court does not rely on this material
      in reaching its decision and denies the request for judicial notice. See, e.g., Asvesta v.
   27 Petroutsas, 580 F.3d 1000, 1010 n. 12 (9th Cir. 2009) (denying request for judicial
      notice where judicial notice would be “unnecessary”). Additionally, Defendant Vania
   28 Chaker filed evidentiary objections to declarations filed by Plaintiffs. (ECF Nos. 69-2,
      69-3, 69-4). The Court has reviewed and considered these objections. A ruling on
                                                  - 10 -                           16cv2186-WQH-MDD



                                            498
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Case3:16-cv-02186-WQH-MDD
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                                              08/28/17   PageID.3993
                                                           PageID.4722Page
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                                                                           17506
                                                                           11 of16
                                                                              of 30
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                                    1196


    1 contends that the Summons filed by Plaintiffs incorrectly names Vania Chaker as an
    2 individual and as trustee of Vania Chaker Trust. Id. at 3. Defendant Vania Chaker
    3 contends she should be dismissed from this action because Plaintiffs have failed to
    4 complete service despite two extensions of time and have failed to establish good cause
    5 for another extension of time. Id. at 7.
    6         Plaintiffs contend that Defendant Vania Chaker was properly served on Feburary
    7 6, 2017. Plaintiffs contend that the evidence offered in support of Defendant Vania
    8 Chaker’s motion is not credible and does not establish that she was not home at the time
    9 stated in the proof of service filed with the Court.5 (ECF No. 64). Plaintiffs contend
   10 that the Court should find service proper based on the substantial compliance doctrine.
   11 Id. at 5-6. Plaintiffs request that the Court deny this motion and order Defendant Vania
   12 Chaker to respond to the complaint within ten days. Plaintiffs request that, if the Court
   13 grants any portion of the motion, the Court extend time for service, designate counsel
   14 for Vania Chaker as agent for service of process, and order that her counsel accept the
   15 service by email. Id. at 8.
   16         A. Legal Standard
   17         “Without a proper basis for jurisdiction, or in the absence of service of process,
   18 the district court has no power to render any judgment against the defendant’s person
   19 or property unless the defendant has consented to jurisdiction or waived the lack of
   20 process.” S.E.C. v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007). “A federal court is
   21 without personal jurisdiction over a defendant unless the defendant has been served in
   22 accordance with Fed.R.Civ.P. 4.” Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986),
   23 amended, 807 F.2d 1514 (9th Cir. 1987) (citing Jackson v. Hayakawa, 682 F.2d 1344,
   24 1347 (9th Cir. 1982)). Federal Rule of Civil Procedure 12(b)(5) authorizes a defendant
   25 to move to dismiss the complaint for insufficient service of process. Fed. R. Civ. P.
   26
        these objections is not necessary to resolve this motion.
   27
              5
              Plaintiffs filed evidentiary objections to the declaration filed by Vania Chaker
   28 in support of her motion. (ECF No. 64-4). The Court has reviewed and considered
      these objections. A ruling on these objections is not necessary to resolve this motion.
                                                 - 11 -                           16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
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                                              08/28/17   PageID.3994
                                                           PageID.4723Page
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                                                                           12 of16
                                                                              of 30
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    1 12(b)(5). Once a party challenges service, the plaintiff bears the burden to show that
    2 service was valid under Rule 4. Brockmeyer v. May, 383 F.3d 798, 801 (9th Cir. 2004).
    3 The court has discretion to dismiss an action or quash service if there is insufficiency
    4 of process or insufficiency of service. See SHJ v. Issaquah School District No. 411, 470
    5 F.3d 1288, 1293 (9th Cir. 2006) (citing Stevens v. Security Pac. Nat’l Bank, 538 F.2d
    6 1387, 1389 (9th Cir. 1976)).
    7         Under Federal Rule of Civil Procedure 4(e), a plaintiff may serve an individual
    8 within a judicial district of the United States by (1) following state law service
    9 requirements, or (2) service may be effected upon an individual by (A) delivering a
   10 copy of the summons and complaint to the individual personally, (B) by leaving a copy
   11 of each “at the individual’s dwelling or usual place of abode” with someone of suitable
   12 age and discretion who resides there; or (C) by delivering a copy of each to an “agent
   13 authorized by appointment or by law to receive service of process.” Fed. R. Civ. P.
   14 4(e).
   15         California Code of Civil Procedure section 415.20(a) states,
   16         In lieu of personal delivery of a copy of the summons and complaint to the
              person to be served...a summons may be served by leaving a copy of the
   17         summons and complaint during usual office hours in his or her office, or
              if no physical address is known, at his or her usual mailing address... with
   18         the person who is apparently in charge thereof, and by thereafter mailing
              a copy of the summons and complaint by first-class mail, postage prepaid
   19         to the person to be served at the place where a copy of the summons and
              complaint were left....
   20
        Cal. Code of Civ. P. § 415.20(a).
   21
              If a party receives sufficient notice of the complaint, Rule 4 is to be “liberally
   22
        construed” to uphold service. Chan v. Soc’y Expeditions, Inc., 39 F.3d 1398, 1404 (9th
   23
        Cir. 1994). “However, ‘neither actual notice nor simply naming the defendant in the
   24
        complaint will provide personal jurisdiction without substantial compliance with Rule
   25
        4.’” Travelers Cas. & Sur. Co. of Am. v. Brenneke, 551 F.3d 1132, 1135 (9th Cir. 2009)
   26
        (citing Benny, 799 F.2d at 492 (citation and quotes omitted)).
   27
              B. Discussion
   28
              Plaintiffs filed their original complaint on August 29, 2016 (ECF No. 1) and the

                                                  - 12 -                          16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
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                                                                           19508
                                                                           13 of16
                                                                              of 30
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                                    1196


    1 FAC on December 5, 2016 (ECF No. 25). On December 20, 2016, this Court issued an
    2 order granting Plaintiffs a second extension of time in which to complete service upon
    3 Defendant Vania Chaker. (ECF No. 38). The Order stated, “Plaintiffs’ new deadline
    4 to achieve service on Vania Chaker is Monday, February 27, 2017.” Id.
    5         On February 27, 2017, Plaintiffs filed Proof of Service of Summons in the
    6 Complaint. (ECF No. 58). The document states that Defendant Vania Chaker was
    7 served by personal service on February 6, 2017 at 6:02 p.m. in San Diego by a
    8 registered process server. (ECF No. 58). Defendant Vania Chaker asserts she was not
    9 served on February 6, 2017. Defendant Vania Chaker provides receipts from purchases
   10 she made in Manhattan Beach, California around the time of service on February 6,
   11 2017 to establish that she was not in San Diego at this time and date.
   12         In a declaration filed in support of Plaintiffs’ opposition, the process server states
   13 that on February 6, 2017 around 6 p.m., he observed Vania Chaker at the address stated
   14 in the proof of service document. He states that he
   15         jogged up towards the driveway, calling out “Hey you, Vania” or words
              to that effect. When I made the statement Ms. Chaker was in speaking
   16         distance to me, and my voice was sufficiently elevated to provide her
              notice that I was attempting to contact her. However, upon hearing my
   17         shout, Ms. Chaker, who had exited from the garage . . . made a dash for
              the front floor of the house. . . . Ms. Chaker entered the house and closed
   18         the door behind her. . . . I called out service by stating “your served Vania
              Chaker”, and I tossed the papers over the fence, . . . I was not able to
   19         actually ‘touch’ her with the papers as she was behind a closed gate, and
              I did not intend to go off the public sidewalk onto private property.
   20         However I was within 10 yards of her, and as close as I could get in light
              of the barrier imposed by her fence.
   21
        (ECF No. 64-1 at 4).
   22
              Based on the statements offered in the declaration by the process server, the
   23
        Court cannot conclude that Plaintiffs delivered a copy of the summons and complaint
   24
        to Defendant Vania Chaker personally. See Fed. R. Civ. P. 4(e). Plaintiffs further
   25
        contend that the Court should uphold service as proper under the substantial compliance
   26
        doctrine. In Travelers Cas. & Sur. Co. of Am. v. Brenneke, the Ninth Circuit Court of
   27
        Appeals held,
   28
              Sufficient service may be found where there is a good faith effort to

                                                   - 13 -                            16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
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                                                                           20509
                                                                           14 of16
                                                                              of 30
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                                    1196


    1         comply with the requirements of Rule 4(e)(2) which has resulted in
              placement of the summons and complaint within the defendant’s
    2         immediate proximity and further compliance with Rule 4(e)(2) is only
              prevented by the defendant’s knowing and intentional actions to evade
    3         service.
    4 551 F.3d at 1136. While Plaintiffs assert that Defendant Vania Chaker has attempted
    5 to evade service and that the process server left the papers in her proximity, Defendant
    6 Vania Chaker provides evidence that she was not present at the address when the
    7 alleged service was completed. The Court concludes that Plaintiffs have failed to
    8 satisfy their burden to demonstrate that service upon Defendant Vania Chaker was
    9 proper under Rule 4. See id. at 1135 (“neither actual notice nor simply naming the
   10 defendant in the complaint will provide personal jurisdiction without substantial
   11 compliance with Rule 4.”). The Court grants Defendant Vania Chaker’s motion to
   12 quash service of process. See Issaquah School District No. 411, 470 F.3d at 1293
   13         However, the Court has determined that Plaintiffs did not adequately plead a
   14 substantive violation of 18 U.S.C § 1962(c). Accordingly, Plaintiffs’ claim for a
   15 conspiracy to violate RICO pursuant to 18 U.S.C. § 1962(d) necessarily fails. See supra
   16 Part IV.B; Howard, 208 F.3d at 751. Conspiracy to violate RICO pursuant to 18 U.S.C.
   17 § 1962(d) is the only cause of action alleged against Defendant Vania Chaker. The
   18 Court dismisses the FAC without prejudice as to Defendant Vania Chaker. (ECF No.
   19 25).
   20 VII. MOTION FOR SANCTIONS BY DARREN CHAKER (ECF No. 66)
   21         Defendant Darren Chaker filed a motion for sanctions against Plaintiffs pursuant
   22 to Rule 11 of the Federal Rules of Civil Procedure, or alternatively, the Court’s inherent
   23 power. (ECF No. 66). Defendant Darren Chaker contends that sanctions are warranted
   24 because (1) the allegations in the FAC are “factually baseless from an objective
   25 perspective, and were included in the FAC for an improper purpose”; (2) Plaintiffs’
   26 RICO claims are frivolous; and (3) Plaintiffs’ RICO claims were brought “for the
   27 improper purpose of naming Darren’s mother . . . and sister . . . as Defendants . . . solely
   28 to harass Darren and his family.” Id. at 2.

                                                  - 14 -                           16cv2186-WQH-MDD



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Case3:16-cv-02186-WQH-MDD
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                                                                           15 of16
                                                                              of 30
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                                    1196


    1         Plaintiffs contend that the motion is without merit and that the allegations of the
    2 FAC are proper, non-frivolous, and sufficiently supported by facts. (ECF No. 75).
    3         Rule 11 of the Federal Rules of Civil Procedure provides in part,
    4         b) Representations to the Court. By presenting to the court a pleading,
              written motion, or other paper--whether by signing, filing, submitting, or
    5         later advocating it--an attorney or unrepresented party certifies that to the
              best of the person's knowledge, information, and belief, formed after an
    6         inquiry reasonable under the circumstances:
    7         (1) it is not being presented for any improper purpose, such as to harass,
              cause unnecessary delay, or needlessly increase the cost of litigation;
    8
              (2) the claims, defenses, and other legal contentions are warranted by
    9         existing law or by a nonfrivolous argument for extending, modifying, or
              reversing existing law or for establishing new law;
   10
              (3) the factual contentions have evidentiary support or, if specifically so
   11         identified, will likely have evidentiary support after a reasonable
              opportunity for further investigation or discovery;...
   12
        Fed. R. Civ. P. 11(b)(3). When a “complaint is the primary focus of Rule 11
   13
        proceedings, a district court must conduct a two-prong analysis to determine (1)
   14
        whether the complaint is legally or factually baseless from an objective perspective, and
   15
        (2) if the attorney has conducted a reasonable and competent inquiry before signing and
   16
        filing it.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (quotation
   17
        omitted). “As shorthand for this test, we use the word ‘frivolous’ to denote a filing that
   18
        is both baseless and made without a reasonable and competent inquiry.” Holgate v.
   19
        Baldwin, 425 F.3d 671, 676 (9th Cir. 2005) (quotation omitted).
   20
              After reviewing the motion and the submissions of the parties, the Court finds
   21
        that the record in this case does not support the imposition of sanctions at this stage in
   22
        the proceedings. The motion for sanctions is denied. (ECF No. 66).
   23
        VIII. CONCLUSION
   24
              IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion to dismiss
   25
        the First Amended Complaint is granted. (ECF No. 56). The First Amended Complaint
   26
        (ECF No. 25) is dismissed without prejudice as to Defendant Darren Chaker.
   27
        Accordingly, Defendant Darren Chaker’s motion to strike portions of the First
   28
        Amended Complaint pursuant to Federal Rule of Civil Procedure 12(f) is denied as

                                                  - 15 -                           16cv2186-WQH-MDD



                                            503
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Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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                                                                           16 of16
                                                                              of 30
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    1 moot. (ECF No. 55).
    2         IT IS HEREBY ORDERED that Defendant Darren Chaker’s motion for sanctions
    3 is denied. (ECF No. 66)
    4         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion to dismiss
    5 the First Amended Complaint is granted. (ECF No. 35). The First Amended Complaint
    6 (ECF No. 25) is dismissed without prejudice as to Defendant Nicole Chaker. Defendant
    7 Nicole Chaker’s anti-SLAPP motion to strike and for attorneys’ fees and costs is denied
    8 as moot. (ECF No. 36).
    9         IT IS HEREBY ORDERED that Defendant Vania Chaker’s motion to quash the
   10 service of process is granted. (ECF No. 59). The Court quashes service upon Defendant
   11 Vania Chaker and grants Plaintiffs sixty (60) days from the date any amended
   12 complaint is filed upon which to perfect service upon Vania Chaker in accordance with
   13 the requirements of Federal Rule of Civil Procedure 4.
   14         IT IS FURTHER ORDERED that the First Amended Complaint (ECF No. 25)
   15 is dismissed without prejudice as to Defendant Vania Chaker. Plaintiffs shall file any
   16 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   17 thirty (30) days of the date this Order is issued.
   18 DATED: August 28, 2017
   19
                                                 WILLIAM Q. HAYES
   20                                            United States District Judge
   21
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                                                 - 16 -                         16cv2186-WQH-MDD



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                                                                            of 30
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 Case3:16-cv-02186-WQH-MDD
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                                                                            1513
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    7
    8                        UNITED STATES DISTRICT COURT
    9                      SOUTHERN DISTRICT OF CALIFORNIA
   10    SCOTT A. MCMILLAN, an                       CASE NO. 16cv2186-WQH-MDD
         individual; THE MCMILLAN LAW
   11    FIRM, APC, a California professional        ORDER
         corporation,
   12
                                     Plaintiffs,
   13          v.
   14    DARREN D. CHAKER, an individual,
         and as trustee of PLATINUM
   15    HOLDINGS GROUP TRUST doing
         business as Counter Forensics, et al.,
   16
                                    Defendants.
   17 HAYES, Judge:
   18         On August 28, 2017, the Court granted a motion to dismiss and dismissed the
   19 First Amended Complaint without prejudice. The Order stated, “Plaintiffs shall file any
   20 motion for leave to file an amended complaint pursuant to Local Rule 7.1 and within
   21 (30) days of the date this Order is issued.” (ECF No. 83). The docket reflects that no
   22 motion for leave to file an amended complaint was filed within this period. The Clerk
   23 of Court is directed to close this case.
   24 DATED: October 10, 2017
   25
                                                 WILLIAM Q. HAYES
   26                                            United States District Judge
   27
   28

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Case 3:16-cv-02186-WQH-MDD Document 127-1
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                                                                     Page25514
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 Case3:16-cv-02186-WQH-MDD
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                                                          PageID.3928  Page
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                                                                              of530
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 6                         UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   SCOTT A. MCMILLAN, an                            Case No.: 16cv2186-WQH-MDD
     individual; THE MCMILLAN
10
     LAW FIRM, APC, a California                      ORDER
11   professional corporation,
12                                  Plaintiffs,
13   v.
14   DARREN D. CHAKER, an
     individual, and as trustee of
15
     PLATINUM HOLDINGS GROUP
16   TRUST doing business as
     COUNTER FORENSICS;
17
     NICOLE CHAKER, an individual,
18   and as trustee of Nicole Chaker
     Trust One; VANIA CHAKER, an
19
     individual and as beneficiary of
20   The Island Revocable Trust under
     Declaration of Trust dated June 2,
21
     2015; MARCUS MACK, as
22   trustee of The Island Revocable
     Trust under Declaration of Trust
23
     dated June 2, 2015; NICOLE
24   CHAKER, an individual, and as
     trustee of The Nicole Chaker
25
     Revocable Living Trust, U/A dated
26   August 18, 2010
27                                Defendants.
28   HAYES, Judge:

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 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                                                  09/23/22PageID.4003
                                                 03/08/18  PageID.4732Page
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                                                                              of530
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 1           The matter before the Court is the motion for extension of time to file cross-appeal
 2   filed by Defendant Nicole Chaker. (ECF No. 90).
 3      I.      BACKGROUND
 4           On December 5, 2016, Plaintiffs Scott A. McMillan and The McMillan Law Firm,
 5   APC filed the First Amended Complaint (“FAC”) against Defendant Darren D. Chaker, an
 6   individual and as trustee of Platinum Holdings Group Trust, dba Counter Forensics;
 7   Defendant Nicole Chaker, an individual and as trustee of The Nicole Chaker Revocable
 8   Living Trust, U/A dated August 18, 2010; Defendant Vania Chaker, an individual and as
 9   beneficiary of The Island Revocable Trust under Declaration of Trust dated June 2, 2015;
10   and Defendant Marcus Mack, as trustee of the Island Revocable Trust under Declaration
11   of Trust dated June 2, 2015. (ECF No. 25). Plaintiffs brought a cause of action for a
12   violation of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C.
13   § 1962(c) against Defendant Darren Chaker. Id. ¶¶ 84–114. Plaintiffs brought a second
14   cause of action for conspiracy to violate RICO, 18 U.S.C. § 1962(d) against all Defendants.
15   Id. ¶¶ 115–119. Plaintiffs brought a third cause of action for civil extortion under
16   California law against Defendants Darren Chaker and Nicole Chaker. Id. ¶¶ 120–133.
17           On August 28, 2017, the Court dismissed the First Amended Complaint without
18   prejudice and granted Plaintiffs thirty days to file any motion for leave to file an amended
19   complaint. (ECF No. 83). The docket reflects that Plaintiffs did not file any subsequent
20   motion for leave to file an amended complaint. Pursuant to its August 28, 2017 Order, the
21   Court issued an order directing the Clerk of Court to close the case on October 10, 2017.
22   (ECF No. 86).
23           On November 5, 2017, Plaintiffs filed a notice of appeal to the United States Court
24   of Appeals for the Ninth Circuit. (ECF No. 87).
25           On December 12, 2017, Defendant Nicole Chaker filed a motion for extension of
26   time to file cross-appeal. (ECF Nos. 90, 91). On December 29, 2017, Plaintiffs filed a
27   response in opposition. (ECF No. 92). On January 8, 2018, Defendant Nicole Chaker filed
28   a reply. (ECF No. 93).

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 Case3:16-cv-02186-WQH-MDD
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                                                                              of530
                                                                             of   of
                                     1196


 1      II.      CONTENTIONS OF THE PARTIES
 2            Defendant moves the Court for an order extending the time to file a notice of cross-
 3   appeal by fourteen days pursuant to Federal Rule of Appellate Procedure 4(a)(5).
 4   Defendant contends that the late filing of the notice of cross-appeal is due to the excusable
 5   neglect of counsel for two reasons: (1) counsel for Defendant did not receive notice of the
 6   November 5, 2017 notice of appeal until November 9, 2017 after receiving a letter from
 7   the Ninth Circuit Court of Appeals and checking the Court website, and; (2) there was a
 8   delay in receiving confirmation from Defendant’s insurance carrier that Defendant’s
 9   counsel was also retained for the appeal. Defendant contends that there is no prejudice to
10   Plaintiff, the length of the delay is minimal and will not impact judicial proceedings, and
11   that counsel has acted in good faith. (ECF No. 90-1).
12            Plaintiff contends that the docket reflects that Defendant’s counsel did receive notice
13   of the appeal through the Court’s CM/ECF system on November 5, 2017. Plaintiff
14   contends that even if Defendant’s counsel did not receive notice until November 9, 2017,
15   Defendant’s counsel had sufficient time to file the cross-appeal. Plaintiff contends that
16   “neither good cause nor excusable neglect save the untimeliness of the motion.” (ECF No.
17   92 at 5). Plaintiff contends that the delay in receiving confirmation from the insurance
18   carrier is “irrelevant and similarly unpersuasive.” Id. at 8.
19      III.     DISCUSSION
20            Pursuant to Rule 4(a)(3) of the Federal Rules of Appellate Procedure, “If one party
21   timely files a notice of appeal, any other party may file a notice of appeal within 14 days
22   after the date when the first notice was filed, or within the time otherwise prescribed by
23   this Rule 4(a), whichever period ends later.” Fed. R. App. P. 4(a)(3). Federal Rule of
24   Appellate Procedure 4 provides,
25            The district court may extend the time to file a notice of appeal if: (i) a party
              so moves no later than 30 days after the time prescribed by this Rule 4(a)
26
              expires; and (ii) regardless of whether its motion is filed before or during the
27            30 days after the time prescribed by this Rule 4(a) expires, that party shows
              excusable neglect or good cause.
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     Fed. R. App. P. 4(a)(5)(A); see also State of Or. v. Champion Int’l Corp., 680 F.2d 1300,
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     1301 (9th Cir. 1982). An extension under Rule 4(a)(5) may not “exceed 30 days after the
 3
     prescribed time or 14 days after the date when the order granting the motion is entered,
 4
     whichever is later.” Fed. R. App. P. 4(a)(5)(C). Courts rely on a four-part balancing test
 5
     to determine whether there has been excusable neglect warranting an extension of time to
 6
     file a notice of appeal. Pincay v. Andrews, 289 F.3d 853, 855 (9th Cir. 2004) (citing
 7
     Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380 (1993)). These
 8
     factors include: “(1) the danger of prejudice to the non-moving party, (2) the length of
 9
     delay and its potential impact on judicial proceedings, (3) the reason for the delay,
10
     including whether it was within the reasonable control of the movant, and (4) whether the
11
     moving party’s conduct was in good faith.” Id. (citing Pioneer, 507 U.S. at 395). “[T]he
12
     decision whether to grant or deny an extension of time to file a notice of appeal should be
13
     entrusted to the discretion of the district court . . . .” Id. at 859.
14
            Plaintiffs filed a notice of appeal in this action on November 5, 2017. (ECF No. 87).
15
     Defendant’s time to file a notice of appeal under Rule 4(a)(3) therefore expired on
16
     November 19, 2017. See Fed. R. App. P. 4(a)(3). The docket reflects that Defendant did
17
     not file any notice of appeal. Defendant filed a motion for an extension of the time to
18
     appeal on December 12, 2017. (ECF No. 90). This motion was filed within thirty days of
19
     November 19, 2017 and is therefore timely under Rule 4(a)(5)(A)(i). Accordingly, the
20
     Court has the discretion to grant Defendant’s request upon a finding excusable neglect and
21
     good cause. See Fed. R. App. P. 4(a)(5)(A)(ii).
22
            In this case, Defendant contends that an extension of time to file a cross-appeal is
23
     justified by excusable neglect. Defendant provides a declaration by Rebecca J. Smith,
24
     Defendant’s counsel, stating that counsel for Defendant did not receive any notice from
25
     this Court on November 5, 2017 when the notice of appeal was filed. Smith states that
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     counsel was not notified of the appeal until November 9, 2017 upon receipt of a letter from
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     the Ninth Circuit Court of Appeals. Smith states that this notice inadvertently was not
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                                                                              of530
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 1   properly processed by counsel’s firm and the relevant dates were not properly calendared.
 2   (ECF No. 91 at 2–3). Smith further states that her office had been retained to represent
 3   Defendant in the underlying matter through her insurance carrier and that there was a delay
 4   in receiving notice from the insurance carrier that they had also been retained to represent
 5   Defendant in the appeal. Id. at 3–4. The Court concludes that Defendant’s conduct was in
 6   good faith and that the actions of counsel constitute excusable neglect. Further, the Court
 7   concludes that there is little danger of prejudice to Plaintiff and that any delay in this case
 8   will have a minimal impact on judicial proceedings. The Court concludes that Defendant’s
 9   failure to timely file the notice of appeal in this case constitutes excusable neglect and
10   warrants an extension of time pursuant to Rule 4(a)(5).
11         IT IS HEREBY ORDERED that Defendant Nicole Chaker’s motion for an extension
12   of time to file a notice of cross-appeal is GRANTED. (ECF No. 90). Defendant is granted
13   an extension of fourteen (14) days from the date of this Order to file a notice of appeal
14   pursuant to Federal Rule of Appellate Procedure 4(a)(5).
15    Dated: March 8, 2018
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 7   GROUP TRUST
 8                          UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11 SCOTT A. MCMILLAN, an individual,         )      Case No. 3:16-CV-02186-WQH-MD
   THE MCMILLAN LAW FIRM, APC, a             )
12 California professional corporation,      )      Judge: Hon. William Q. Hayes
                                             )      Courtroom: 14B
13                 Plaintiffs,               )
                                             )      Magistrate: Hon. Mitchell D. Dembin
14          v.                               )      Courtroom: 11th Floor
                                             )
15   DARREN D. CHAKER an individual, and )          REPLY MEMORANDUM OF
     as trustee of PLATINUM HOLDINGS         )      POINTS AND AUTHORITIES IN
16   GROUP TRUST, dba COUNTER                )      SUPPORT OF DEFENDANT
     FORENSICS; NICOLE CHAKER, an            )      DARREN D. CHAKER’S MOTION
17   individual, and as trustee of NICOLE    )      TO SEAL OR FOR PROTECTIVE
     CHAKER TRUST ONE, VANIA                 )      ORDER [Fed. R. Civ. P. 5.2]
18   CHAKER, an individual and as trustee of )
     VANIA CHAKER TRUST ONE,                 )      Hearing Date: June 26, 2017
19                                           )      Courtroom: 14B
                   Defendants.               )
20                                           )      Complaint Filed: August 29, 2016
                                             )
21                                           )      [PER CHAMBERS ORDER, NO
                                             )      ORAL ARGUMENT UNLESS
22                                           )      ORDERED BY COURT]
                                             )
23                                           )
24        Defendant, DARREN D. CHAKER, individually and as trustee of PLATINUM
25 HOLDINGS GROUP TRUST, dba COUNTER FORENSICS (“Darren”), submits this
26 Reply Memorandum of Points and Authorities in support of his Motion to Seal pursuant
27 to Fed. R. Civ. P. 5.2(d), or, alternatively, for a Protective Order pursuant to Fed. R. Civ.
28 P. 5.2(e).

                         DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                    IN SUPPORT OF HIS MOTION TO SEAL, OR FOR PROTECTIVE ORDER
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 Case3:16-cv-02186-WQH-MDD
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 1 I.     INTRODUCTION
 2        The Opposition of Plaintiffs SCOTT A. MCMILLAN, (“McMillan”) and THE
 3 MCMILLAN LAW FIRM, APC’s (collectively, “Plaintiffs”) concedes the improper
 4 inclusion of Darren’s date of birth and other private information in the previously filed
 5 Exhibit FF (to the original and First Amended Complaint) and Exhibit C (to Plaintiffs’
 6 Opposition to Darren’s Motion for Sanctions). (Dkt. 1-30; Dkt. 21-29, p. 3-10; Dkt. 75-
 7 1, p. 122.) Outrageously, Plaintiffs have also exacerbated the problem by filing
 8 additional copies of these same exhibits – still only partially redacted – with their
 9 Opposition papers.1 Indeed, because Plaintiffs have done so despite knowing that the
10 impropriety of including such information in court filings is the issue in this motion, this
11 Court should exercise its inherent authority and issue sanctions against Plaintiffs for so
12 blatantly thumbing their collective noses at the judicial process.
13 II.    LEGAL ANALYSIS
14        A.     DARREN HAS A PROTECTED PRIVACY INTEREST IN HIS
15               DRIVER’S LICENSE NUMBERS
16        Plaintiffs’ Opposition suggests that, simply because driver’s license numbers are
17 not specifically set forth in F.R. Civ. P. 5.2 amongst the list of mandatory redactions,
18 they may, with impunity, include (and continue to include) such personal identification
19 information in court filings unless or until the Court orders them to cease. Plaintiffs’
20 suggestion is incorrect.
21        The list of mandatory redactions set forth in Rule 5.2 was never intended to be an
22 exclusive one:
23
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          In addition, Plaintiffs have filed an additional four (4) copies of Darren’s
26 Arizona driver’s license as part of their Exhibit 7 to their Opposition and a fifth, greatly
27 enlarged copy of Darren’s Arizona driver’s license as part of Exhibit 8 to their
   Opposition.
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                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22PageID.3497
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                                                                      Page3 of
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 1            It may also be necessary to protect information not covered by the
 2            redaction requirement – such as driver’s license numbers and alien
 3            registration numbers – in a particular case. In such cases,
 4            protection may be sought under subdivision (d) or (e)… (Notes of
 5            Advisory Committee on 2007 amendments to Fed Rules Civ Proc
 6            R 5.2 (emphasis added).)
 7        Indeed, Rule 5.2 has provided the basis for district courts to seal and/or redact
 8 driver’s license numbers. (See Abdullah-El v. King Cty. Mun. Court, No. 14-cv-
 9 1437RSM, 2015 U.S. Dist. LEXIS 10585, at *9 (W.D. Wash. Jan. 28, 2015) (sealing
10 exhibits that included “sensitive personal identifying information” such as driver’s
11 license numbers); Macias v. Cleaver, No. 1:13-cv-01819-BAM, 2016 U.S. Dist. LEXIS
12 85529, at *21 (E.D. Cal. June 30, 2016) requiring redaction of, amongst other things,
13 driver’s license information after “[w]eighing the public interest involved against the
14 individual privacy concerns”).) Other district courts have sealed and/or redacted driver’s
15 license information without specifically relying upon Rule 5.2. (See Myles v. Cnty. of
16 San Diego, No. 15-cv-1985-BEN (BLM), 2017 U.S. Dist. LEXIS 8363, at *7 (S.D. Cal.
17 Jan. 19, 2017) (ordering driver’s license of police officers and third parties after
18 “[w]eighing the public interest involved against the individual privacy concerns” as well
19 as “safety considerations”); Casey v. Unitek Glob. Servs., No. 14-2671, 2015 U.S. Dist.
20 LEXIS 15715, at *26 (E.D. Pa. Feb. 9, 2015) (ordering that exhibits containing, amongt
21 other things, driver’s license number remain under seal and that redacted exhibits be
22 filed thereafter); but see Acedo v. Pinedo, No. 14cv903-JAH-MDD, 2016 U.S. Dist.
23 LEXIS 141420, at *4 (S.D. Cal. Oct. 12, 2016) (noting that Rule 5.2 does not require
24 redaction of driver’s license number).) Moreover, federal courts should properly
25 consider the “interests of California privacy rights” such as driver’s license information.
26 (Centeno v. City of Fresno, No. 1:16-cv-00653-DAD-SAB, 2016 U.S. Dist. LEXIS
27 180013, at *42 (E.D. Cal. Dec. 29, 2016).) Finally, some district courts require
28 redaction of driver’s license information as a matter of course. (See W.D. Wash. Local
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                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 Case3:16-cv-02186-WQH-MDD
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 1 Rule 5.2(a) (requiring redaction of dates of birth to the year, the names of minor children
 2 to the initials, social security number and taxpayer identification numbers, financial
 3 accounting information to the last four digits, and passport and driver license numbers).)
 4         In sum, even if Rule 5.2 does not require sealing or redaction of driver’s license
 5 information, as set forth above, this Court can and should order that such information be
 6 sealed and/or redacted. As the Opposition and the exhibits thereto have demonstrated
 7 better than any argument that Darren could have made, Plaintiffs will continue to include
 8 such sensitive personal information in court filings unless or until this Court puts a stop
 9 to such abuse.
10         B.    EXHIBIT FF TO THE COMPLAINT AND FIRST AMENDED
11               COMPLAINT SHOULD BE STRICKEN OR ALTERNATIVELY,
12               SEALED AND/OR FULLY REDACTED
13         Exhibit FF should be stricken, or alternatively sealed and/or fully redacted. As
14 Plaintiffs concede, although the warrant set forth therein may be subject to an exception
15 as a record in a prior state court proceeding under F.R.Civ.P. 5.2(b)(3)-(4), the
16 remaining portion of that exhibit is not. Plaintiffs do not seriously contest the warrant
17 itself, as it states on its face, is only one page long.2 (Dkt. 1-30; Dkt. 21-29.) The rest of
18 Exhibit FF should have been redacted before filing to remove personal identification
19 information such as a Social Security number, a date of birth, and a home address.3
20
21         2
             Plaintiffs concede that Exhibit FF is comprised of more than just the warrant
22 itself: “It includes a bench warrant, instructions for service to the Sheriff, and
   identification material for Defendant’s various identities.” (Opposition, Dkt. 80, p. 7.)
23
           3
             See Electronic Case Filing Administrative Policies and Procedures Manual,
24 United States District Court for the Southern District of California, Section 1 h. Privacy:
25 “Unless otherwise ordered by the court, parties must refrain from including, or must
   partially redact where inclusion is necessary, the following personal identifiers from all
26 pleadings and documents filed with the court, including exhibits thereto: 1. Social
27 Security numbers…. 2. Names of minor children…. 3. Dates of birth…. 4. Financial
   account numbers…. 5. Home address….”
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                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                                      Page5 of
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 1 Including Darren’s personal identification information under the guise of the warrant is
 2 nothing more than an improper attempt to bootstrap such information into the Court file.
 3        Plaintiffs concede that including Darren’s date of birth was improper but
 4 “overlooked.” (Opposition, Dkt. 80, pp. 6-7.) By comparison, Plaintiffs cannot
 5 legitimately claim to have “overlooked’ the inclusion of Darren’s various alleged
 6 addresses and Social Security number, especially not now that they have re-published
 7 Exhibit FF without redacting such personal information despite knowing full well that
 8 this Court is considering the impropriety of the Social Security number and addresses.
 9        As for including Darren’s Social Security number for a third time in a document
10 filed in this Court, Plaintiffs claim to be baffled by the claim that Exhibit FF contains a
11 Social Security number. (Opposition, Dkt. 80, p. 4.) Plaintiffs then misrepresent the
12 stated basis of such claim, arguing that Darren’s alleged Arizona driver’s license that
13 they improperly included as part of Exhibit FF contains no such number. (Id.) In fact, as
14 plainly set forth in the Motion, it was Darren’s alleged Nevada driver’s license that
15 includes the Social Security number. (Motion, Dkt. 78-1, 5:18-19 (referencing page 10,
16 not page 11 of Exhibit FF to the FAC.) As for the 9-digit number (set forth in a 3-2-4
17 format) on the alleged Nevada license, the most Plaintiffs say is that it does not match
18 what Plaintiffs believe is Darren’s Social Security number and that they would be
19 “surprised” if it was. (Dkt. 80-1, pp. 4-5, ¶¶ 11-12.) This is hardly a sufficient basis to
20 justify the repeated filing of such Social Security number. Finally, Plaintiffs claim that
21 this is a no-harm, no-foul situation because the font was so small on the original Exhibit
22 FF as to make the Social Security number illegible. (Dkt. 80, p. 4.) Even if that claim
23 was true (it is not), Plaintiffs have neutered it by including another copy of Darren’s
24 alleged Nevada driver’s license that has been enlarged several times over so that the
25 Social Security number is very much legible. (Dkt. 80-9, p. 5.)
26        As for the addresses listed in Exhibit FF, Plaintiffs attempt to raise factual issues
27 regarding whether such addresses are residential or commercial. Such factual disputes –
28
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                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 Case3:16-cv-02186-WQH-MDD
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                                                                      Page6 of
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 1 directed at the propriety of what personal identification information should have been
 2 redacted from the pleadings – cannot be resolved at this stage of the litigation.
 3        Finally, while defendants claim that too much time has gone by since the original
 4 filing, “any delay by [the party] in bringing the violation to the [other party’s] attention
 5 certainly is not the equivalent of a waiver.” Weakley v. Redline Recovery Servs., LLC,
 6 2011 U.S. Dist. LEXIS 423750 at *5.
 7        C.     EXHIBIT C TO THE OPPOSITION TO THE MOTION FOR
 8               SANCTIONS SHOULD BE STRICKEN OR ALTERNATIVELY,
 9               SEALED AND/OR FULLY REDACTED
10        For the same reasons applicable to the “warrant,” this Court should also strike or
11 alternatively, seal and/or redact Exhibit C. Notably, Darren’s date of birth, addresses,
12 and the existence of a medical condition, as well as his sister’s driver’s license number
13 should never have been included in documents filed with the Court. Although Plaintiffs
14 suggest that Darren does not have standing to object on his sister’s behalf, this Court can
15 (and should) act to protect the privacy rights of third parties. (See Myles, supra, 2017
16 U.S. Dist. LEXIS 8363, at *7; Keith H. v. Long Beach Unified Sch. Dist., 228 F.R.D.
17 652, 657 (C.D. Cal. 2005) (recognizing federal court protection for constitutionally-
18 based right of privacy of third parties).)
19        Exhibit C also contains Social Security records (such as a letter from the Social
20 Security Administration) which is beyond the mere number. In Puckett v. Dyer, U.S.
21 Dist. LEXIS 98560 (2007), the Eastern District of California found that Social Security
22 records “may contain private, confidential information,” and ordered such records to be
23 “subject to a PROTECTIVE ORDER prohibiting disclosure to anyone other than
24 Defendants; counsel and experts.” Id. at *4.
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                         DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                    IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22PageID.3501
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 1         EXHIBITS 1, 2, 4, 5, 6, 7, AND 8 TO THE OPPOSITION TO THE INSTANT
 2         MOTION SHOULD BE STRICKEN OR ALTERNATIVELY, SEALED
 3         AND/OR FULLY REDACTED
 4         If there was any question as to whether Plaintiffs’ disclosure of Darren’s personal
 5 identification information was intentional, the answer was made abundantly clear when
 6 Plaintiffs filed their Opposition to the instant Motion. Despite knowing full well that
 7 Exhibit FF and Exhibit C had exposed Darren’s personal information and were the
 8 express subjects of this Motion, Plaintiffs attached and filed with this Court more copies
 9 of those very exhibits while continuing to leave Darren’s Social Security number,
10 addresses, and driver’s license information exposed to potential identity thieves. (See
11 Exhibits 1-2 to Plaintiffs’ Opposition, Dkt. 80-2 and 80-3). Moreover, Plaintiffs further
12 compounded the problem by including such information in Exhibits 4, 5, 6, 7, and 8 to
13 their Opposition hereto (See Dkt. 80-5 through 80-9). For the same reasons applicable
14 to the previously filed Exhibit FF and Exhibit C, this Court should also strike or
15 alternatively, seal and/or redact Exhibits 1, 2, 4, 5, 6, 7 and 8 attached to Plaintiffs’
16 Opposition to the instant Motion.
17         D.    PLAINTIFFS SHOULD BE SANCTIONED FOR KNOWINGLY RE-
18               FILING DARREN’S SENSITIVE PERSONAL IDENTIFICATION
19               INFORMATION IN BAD FAITH
20         Plaintiffs’ re-filing of Darren’s personal identification information in the face of
21 this pending Motion demonstrates a special kind of vindictiveness that warrants
22 sanctions. Although Darren did not request sanctions in this Motion in an attempt to put
23 this matter to rest, Plaintiffs’ repeated, knowing exposure of his personal identification
24 information in their Opposition was wholly unjustified. As the United States Supreme
25 Court has explained, “It has long been understood that ‘certain implied powers must
26 necessarily result to our Courts of justice from the nature of their institution,’ powers
27 "which cannot be dispensed with in a Court, because they are necessary to the exercise
28 of all others.” (Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S. Ct. 2123, 2132
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                          DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

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 1 (1991).) “A primary aspect of that discretion is the ability to fashion an appropriate
 2 sanction for conduct which abuses the judicial process. (Chambers, 501 U.S. at 44-45;
 3 A-Z Int'l v. Phillips, 323 F.3d 1141, 1144 n.2 (9th Cir. 2003) (district court has an
 4 inherent power to sanction contempt).) Specifically, “a court may assess attorney’s fees
 5 when a party has ‘acted in bad faith, vexatiously, wantonly, or for oppressive reasons.’”
 6 (Chambers, 501 U.S. at 45-46.) See also, Weakley v. Redline Recovery Servs., LLC,
 7 2011 U.S. Dist. LEXIS 423750 (finding that the Court has the inherent power to issue
 8 sanctions where the court finds counsels’ conduct is tantamount to bad faith in
 9 publishing a party opponent’s social security number). Now that it is evident that
10 Plaintiffs intentionally and in bad faith included Darren’s personal identification
11 information in a fourth pleading (following the original Complaint, FAC, and Opposition
12 to the Motion for Sanctions), if left undeterred, Plaintiffs will continue to abuse the
13 judicial process by filing such personal identification information yet again until this
14 Court orders them to stop. Sanctions are thus appropriately entered against Plaintiffs.
15 III.   CONCLUSION
16        As set forth in the moving papers and herein, Exhibit FF to the Plaintiff’s original
17 and FAC and Exhibit C to the Opposition to Darren’s Motion for Sanctions, as well as
18 their re-filed counterparts attached as Exhibit 1and Exhibit 2 to the Opposition herein
19 (plus Exhibits 4-8 thereto), contain voluminous private, personal, and sensitive
20 information which is protected by numerous federal and state statutes, as well as the
21 California constitution. That information is entirely irrelevant to Plaintiffs’ claims, and
22 was included for the sole purpose of harassing Darren. As such, the Court should find
23 that Exhibit FF to Plaintiffs’ original and FAC, as well as Exhibit C to the Opposition to
24 Darren’s Motion for Sanctions, should be stricken from the record as immaterial and
25 included for an improper purpose under Fed. R. Civ. P. 12(f).
26        However, at minimum, the Court should either seal these exhibits under Fed. R.
27 Civ. P. 5.2(d) or its inherent authority, or enter a protective order making Darren’s
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                          DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
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 1 private information unavailable for public inspection or review pursuant to Fed. R. Civ.
 2 P. 5.2(e).
 3        In addition, Darren requests that this Court order that all counsel be restrained
 4 from publicly disseminating any portion of any underseal document from this case
 5 without further order of this Court and that all counsel should file all documents in
 6 compliance with Rule 5.2 and “[f]ailure to do so in the future may result in the
 7 imposition of sanctions.” (Cooke v. Borough of Keansburg (D.N.J. Feb. 26, 2016, Civil
 8 Action No. 14-6798 (MAS) (LHG)) 2016 U.S.Dist.LEXIS 24009, at *9.). Finally, in
 9 light of Plaintiffs’ bad faith conduct in repeatedly filing such personal identification
10 information, this Court should also impose sanctions against Plaintiffs pursuant to its
11 inherent authority to do so.
12
13 DATED: June 19, 2017                     Respectfully Submitted,
14
                                            SULLIVAN, KRIEGER, TRUONG,
15                                          SPAGNOLA & KLAUSNER, LLP
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17                                          By:           /s/Eliot F. Krieger
                                                   Eliot F. Krieger, SBN 159647
18                                                 ekrieger@sullivankrieger.com
                                                   Charles T. Spagnola, P.C., SBN 144983
19                                                 cspagnola@sullivankrieger.com
20                                          Attorneys for Defendant DARREN D. CHAKER
                                            individually, and as trustee of PLATINUM
21                                          HOLDINGS GROUP TRUST, dba COUNTER
                                            FORENSICS
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 1                             CERTIFICATE OF SERVICE
 2        I certify that on the 19th day of June 2017, I filed the foregoing document with the
 3 Clerk of the Court for the United States District Court, Southern District of California by
 4 using the Court’s CM/ECF system, which will send notifications of such filing to all
 5 counsel of record.
 6
 7                                               /s/ Eliot F. Krieger
                                            Eliot F. Krieger
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                               -rhe Government .eeks I protective order lilTiting the di"elTinltion of the discovery
                               .,..teltlol. It hIS produced, Ind will be producing, to Defendlnt •. In Plrtlcur.r. tile
                               Govemment's proposed protective order seeks to prevent Defendlnt. from making tile
                               d"covery matert,l. 1Vlllibie to the public, Including the rnedr..·IJnItted.5IIItIN 11'. Sbt#tll,
                               995 F. SUpp. 2d 506, 516, 2013 U.S. DI$!:. LEXIS 177999, "'12. 2013 WL 6576791
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                               With the ,bove In mnd, there 1$ little doubt fede.,.1 court$ will continue to protect tile
                               exIItence or I pendlnglnve$!:lgltlon being le,ked Ind use proper court orders to IRep
                               .uch under the clOlk of $ecrecy.

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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 11of
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                       2014      [,~ Damm-Chaker
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                                  Darren-Chaker, after
                                   conference on post-
                                     conviction relief

                              Arizona court order to seal records, Dan-en Chaker
                              https:l/plus.google.com/+DarrenChaker/ I it is common to include to seal a juvenile
                              record. Some convictions are set aside but do not entitle a person to sealing. Pursuant to
                              A.R.S. § 8-349, an applicant is eligible to have his records destroyed, provided that
                              various conditions are satisfied. One of the provisions that rrust be satisfied is that the
                              person rray not have 'been convicted of a felony offense." A.R.S. § 8-349(E)(2). A.R.S.
                              § 8-348 provides that an applicant is eligible to have his adjudications set aside, again,
                              provided certain conditions are satisfied. "A person may not apply to set aside the
                              adjudication if the person ... has been convicted of a criminal offense." A.R.S. § 8-348(C)
                              (1).

                              While a conviction may be subsequently set aside, that set aside does not negate the
                              fact that a person has been convicted of a felony offense. See Russell v. Royal
                              Ifaa:abees Life Ins. Co., 193 Ariz. 464, 467-471, 27, 974 P.2d 443, 446-450 (App.
                              1998). "If the court grants the application, the court shall set aside the judgment of
                              guilt, dismiss the accusations or information and order that the person be released from
                              all penalties and disabilities resulting from the conviction other than those irrposed by the
                              department of transportation ... except that the conviction may be used as a conviction if
                              it would be admissible had it not been set aside and may be pleaded and proved in any
                              subsequent prosecution of such person by the state ... or used by the department of
                              transportation ... as if the judgment of guilt had not been set aside." Id. at ~14 (emphasis
                              in the original).
                              The statute is clear regarding a felony conviction. There are no exceptions, including no
                              exception for the circumstance in which a felony conviction was set aside. "The primary
                              rule of statutory construction Is to find and *7 gIVe effect to legislative Intent." Mall
                              Boxes, Etc., U.S.A v. IndustrlalComm'n, 181 Ar1z. 119, 121, 888 P.2d 777, 779
                              (1995). As the Arizona Supreme Court has stated, "If a statute is clear and unarrbiguous,
                              we apply it without using other means of statutory construction." Aros v. Benef"lCial
                              Arizona, Inc., 194 Ariz. 62, 66, 977 P.2d 784, 788 (1999) (en banc) (citations omitted);
                              UNUM Ufe Ins. Co. of America v. Craig, 200 Ariz. 327, 330, 26 P.3d 510, 513 (2001) (en
                              banc). A.R.S. §§ 8-348 and 8-349 are undeniably clear: they do not apply to anyone who
                              has been convicted of a felony.
                              The cases are equally clear on the effect of a set aside: the set aside does not remove
                              the fact of a conviction In Arizona. State v. Barr, Ariz. 445, 449, 175 p.3d 694, 698 (App.
                              2008); Russell v. Royal Maccabees Life Ins. Co., supra, 217 Ariz. at 467-468, 974 P.2d at
                              446-447; accord .state v. Green, 173 Ariz. 464, 469, 844 P.2d 631, 636 (App. 1992),
                              vacated in part, 174 Ariz. 586, 852 P.2d 401 (1993) (noting statute "specifically
                              authorizes the conviction to be used as a prior conviction in subsequent prosecutions");
                              see also state v. Key, 128 Ariz. 419, 421, 626 P.2d 149, 151 (App. 1981) (noting statute
                              pennlts a person to be released of all penalties and disabilities "with the exception that
                              the conviction may be proved as a prior conviction in a subsequent criminal action").
                              Moreover, there is nothing in the statute that bestows upon the Juvenile Court the
                              authority to grant requests pursuant to A.R.S. §§ 8-348 and 8-349 when a felony
                              conviction has been set aside since the person "[h]as been convicted of a criminal
                              offense." A.R.S. § 8-348(C)(1); see also A.R.S. §§ 8-349(D)(2) and (E)(2). Hence, a
                              Court's order granting an applicant's application for destruction of records and setting
                              aside his adjudications would be error since he would not be entitled to such order. Given
                              the above, if you need an attorney to pursue a legal matter, contact an attorney and do
                              not rely on the this article or any information on this blog as it is not updated or intended
                              to be construed as legal advice.

                               Arizona Record Sealing, Darren-Chaker, Expungement, Juvenile Records, Seal-
                               Juvenile-Record I Tags: arizona-expunge, arlzona-Juvenlle-record, arlzona-
                               record-sealing, darren-chaker, seal-court-record, seal-juvenile-record



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                                                   527                                                 4 of 10
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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             09 California law, says Darren Chaker, '''has been consistently interpreted to vest the
                             2014 juvenile court with exclusive authority to determine when a release of juvenile court
                            !!!!' records to a third party is appropriate. ", In re R.G., 79 Cal.App.4th 1408, 1414, 94
                                   Cal.Rptr.2d 818 (2000)(errphasis added). The luvenile Court is in the best pos~ion to
                                   deterrrine whether disclosure is in the best interests of the rrinor. See Cal. Welf. & Inst.
                                   Code § 827 (a); T.N.G. v. Superior Court, 4 Cal. 3d 767, 781 (1971). Long-established,
                                   black letter California precedent required notice and hearing before plaintiff 5 Juvenile
                                   Court records were released to defendants. California Rule of Court 1433(b). "The
                                   'petitioner seeking access to juvenile court records rrust first show good cause.'
                                   [Citation.] In addition, '[t]he rrinor and other interested parties rT'IJst be given notice and
                                   an opportunity to be heard.'" In re R. G., 79 Cal.App.4th at 1416. An exarT1lle of the
                                   notice plaintiff should have gotten is found at AER 223 et seq.

                                      ~~   DarrenChaker




                                        California-Record-
                                      Sealing, Seal-Juvenile-
                                      Record, Darren-Chaker

                                   The first obligation of a petitioner seeking Juvenile Court records is adequately to identify
                                   the information sought. In Cimarusti v. Superior Court (Department of the Youth
                                   Authority), the Court of Appeal held that:
                                   Petitioners first need to make clear and specific the type of information they seek from
                                   the records to assist the designated court to perfonn its in camera review of the
                                   records.Cimarusti, 79 Cal.App.4th 799, 806, 94 Cal.Rptr.2d 336 (2000); see also Foster v
                                   Superior Court, 107 Cal. App. 3d 218, 165 Cal. Rptr. 701 (1980) (request properly denied
                                   as overly broad). In addition to specifically identifying the type of information sought, the
                                   petitioner seeking disclosure of juvenile records rT'IJst show the "records in question will
                                   disclose information or evidence of substantial relevance to the pending litigation .... "
                                   California Rule of Court 1423 (errphasis added). This Rule of Court 'sets forth the proper
                                   balancing test for the juvenile court to undertake." In re R. G., supra, 79 Cal.App.4th at
                                   1414-15. Further, "Any balancing must be guided by the principle that [f]irst, and
                                   foremost, the court's discretion rT'IJst be directed at determining what is in the best
                                   interests of the minors, for that obviously is its primary concern at all times in the juvenile
                                   proceeding."' Id. at 1417.
                                   If the Juvenile Court decides to release records, It "should made a record of Its findings
                                   adequate for review of its ruling." In re Kelsha T., supra, 38 Cal.App.4th at 241. Of
                                   course, the !Tinor then has the right to appeal. Id. at 226 ("the minors appeal from the
                                   court order'").

                                    California Expungement, Callfornla-Seal-Juvenlle-Rscord, Darren-Chaker,
                                    Juvenile Records I Tags: california-juvenile-record, criminal-record-seal,
                                    criminal-record-sealing, danen-chaker, juvenile-record-sealing, TNG-v-
                                    Superior-Court

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                                    Arizona Record Sealing                     1--
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                             DB    Arizona law allows for record sealing or expungement. Darren Chaker cites to PhoenIx
                            2013   Newspapers, Inc. v. United States Dlstrlct Court, 156 F.3d 940, 949 (9th Cir. 1998),
                            ~:26   the Ninth Circuit held that cri!Tinal proceedings and documents may not be closed to the
                                   public without violating the First Amendment unless three substantive requirements are
                                   met: "1) closure serves a cOrT1lelling interest; (2) there is a substantial probability that,
                                   In the absence of closure, this cOrT1lelllng Interest would be harrred; and (3) there are no
                                   alternatives to closure that would adequately protect the cOrT1lelling interest." [d. at 949,
                                   quoting Oregonian Publishing Co. v. United States District Court, 920 F.2d 1462, 1464
                                   (9th Cir. 1990).
                                   One case I am aware of is Arizona Attorney David Gingras was arrested for sexual
                                   molestation of an underage girl. The charges were eventually dismissed due to a
                                   technicality. The young girl who was a victim passed a polyglilph test and probable cause
                                                                                                             Exh CC
                                                       528                                                    5 of 10
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                                Document127-1  1-27 Filed
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                                                                 09/23/22 PageID.142
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                          WIIS found to hllve Jllbul1l Wllk lIttomey to stlnd trllli. Nonetheless. Attom.y
                                     Glng... IIppelirs to hllYe never petitioned the court to RIIII the      ~ord    bllsed on showing
                                     he WIIS wrongfuly IIrrested. See Doclld.
                                     Furthermore. the court orderinll closure ITJJst ~lTIIIke specifIC flictUilI findings.· !'lither tIMn
                                     -bas[i'lg] its decision on conclusory nsertions Ilone.· Id. at 949. quoting Oregonien
                                     Pub(i$IJifIg Co. Y. !hiked States District COurt. 920 F.2d 1462. 1464 (9th Cir. 1990).
                                     13-4051. Entry on records; stipulltion; court order
                                     A. Ally person who is wrongfully Irrested. indicted or otherwise charged for lAy crime
                                     lTIIIy petition the superior court for entry on In court records. police records Ind lAy
                                     other records of Iny other Igency rellting to such lnest or indictment I notlton ttwlt
                                     the person has been clelred.
                                     B. After a helring on the petition. if the judge believes ttwlt justice will be served by .uch
                                     entry. the Judge Shill Issue the order requll1ng the entry ttwlt the person twI. been
                                     clellred on such records. with IIccoll1lllnylng jultlrk:lltlon therefor. lind stwln CIIUse II copy
                                     or such order to be delvered to IIIIIW enforcement llgencles lind courts. The order stwiU
                                     rurther require thlll: 1IIIIIIw enforcement Igencles Ind courts 5tw111 not relMse copies ot or
                                     provkle IIccell to luch recon:ll to Iny perlon except on order of the court.
                                     c. Any person who hIlS notice of such on:ler Ind fills to COIJ1lIy with the court order
                                     Issued pUrsUllnt to this section shllil be IlIIble to the person tor dIIrrage5 from such tiliure.
                                     Anothllr IIXIIIJ1II11 or II public I1Icon:lln cl1m1nll court cln bII _n In Rulli 26.6(e). Ariz. R.
                                     om. P., which stlltlll thlll: pl1llllntllncll reportl Ind othllr reportl Pl1lpllred under Rulli 26
                                     -ilre ITIiIttllrs or public I1ICOrd unlllil othllrwlill provided by thll court or rrade confklentlill
                                     by "w.- A.R.S. !Ii 39-121 provldlll:
                                     Pubic: I1ICOrdl ilnd othllr nattllrl In thll custody of any o1Tk:.r shilll bII oplln to IlIIpllCtlon
                                     by any Pllrson ilt ilil tllTllll dul1ng aMCIl hOUri.
                                     Arlzonil IrTlJOSIlS iI pl1lsu~lon In filvor of dlsclosul1l of pUblic reeonill. AH. lJIIJo Corp. v.
                                     "'flU  Polell D8pt., 202 ArIz. 184, 186. , 5. "'12 P.3d 615. 617 (App. 2002); _ a"
                                     Pholnbc NIWSPIlPlrs, Inc. v. pureln. 187 Ariz. 7"'1. 81. 927 P.2d :MO. :M7 (App. 1996) [It
                                     Is wII-slttlld thlll: Arlzonll IIYlncls II gllllll1ll·oplln accus- policy toward pUblic
                                     nlcords]. Thl public niltul1llly hilS lin Intlll1lst In pUblic reeonill. regard... of whllthllr thll
                                     ITIIIrrblr of thl public slIklng thlm hIlS any nilld for thoH reeonll. 80kn v. CUstodilln of
                                     RIIcords, Tucson FoIc:II o.".tttrlflnt. 193 ArIz. 35. 39. 'II 10. 969 P.2d 200. 204 (App.
                                     1998).
                                     In CIIdnm     ".1'fIryCcnmly, 141 Ariz. "'187. "'191. 687 P.2d 12"'12. 1246 (1984), the ArIzonil
                                     Supreme Court recognized the stlltutory policy flVoring disclosure. but ilisa stilted tIMt
                                     ·where the countervllllnllinterests of confidentllliity. privacy or the best Interests of the
                                     stllte should be IIpproprilltely Invoked to prevent Inspection. - I public officlill or custodilln
                                     could reruse to IIlIow public Inspection of plrticulllr rtlConis. To overcome the presurrptlon
                                     of dbclosure, the Pllrty thlt seeks nondisclosure of public rtlConis beIIrs the bunlen of
                                     show"g ""the problbility thilt specific. ITIIIterlill hIInn will result frtlm disclosure.· "'ltchel
                                     Y. Superior Court, 142 Ariz. 332, 335, 6510 P.2d 51. 54 (1994). See also ~"
                                     IInMIId MIooIDlItrlct           ".1tfIfIX
                                                                         a-dcuflnll Co •• 191 Ariz. 297. 300. 119. 955 P.2d
                                     534, 537 (151518).
                                     U the defendlnt hiS not met his burden of showing ""the prtlbllbility thllt specific, ITIIIterial
                                     him wil resut from disclosure.- Mitchel Y. Superior COurt. 142 Ariz. 332. 335, IS90 P.2d
                                     51, 54 (15104), then the rTOtion to selllTJJst be denied.

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                                      Criminal and Civil RecDrda Are Public RecDrda

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                                                             529                                                    6 of 10
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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                                 09/23/22 PageID.143
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                                                                             of 11of
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                                  Article by Darren-Chaker

                               Criminal records are public records, says Darren Chaker. When trying obtain record
                               sealing or expungerTent of a criminal record, it is ilT1lortant to note a corrrnon law right of
                               access by the public and media to crimnal judicial proceedings, which pre-dates the
                               Constitution, has long been recognized by Anglo-American courts. See Richmond
                               Newspapers v, Virginia, 448 U.S. 555, 596 (1980). After years of conflict arrong the
                               federal courts, the United States Supreme Court, when faced squarely with the issue,
                               held that a First Amendment Constitutional right to access to criminal trials existed. Id:
                               Posey-Gelber, Constitutional law Contemporaneotis Access to Judicial Records in Civil
                               Trials, - In Re Reporters Committee for Freedom of the Press, 773 F.2d 1325 (1985). 9
                               Whittier L. Rev. 67, 68 (1987). In recognizing a First Amendment right of access in
                               crirrinallTEltters, Chief Justice Burger, in a plurality opinion, reasoned that crirrinal trials
                               have historically been presumptively open to the public. Richmond NeWSpapefS, 448
                               u.s. at 564-69. In dicta, the Court in Richmond Newspapers noted "that historically both
                               civil and crirrinal trials have been presurrptively open." Id. At 580 n. 17. After Richmond
                               Newspapers, the Supreme Court decided several other cases which expanded the right of
                               access of the media and public in other areas relating to criminal proceedings. See Globe
                               Newspapers v. SUperior Court, 457 U.S. 596 (1982); Press Enterprise Co. v. SUperior
                               Court, 464 U.S. 501 (1982).
                               Additionally, Darren Chaker notes several federal circuit courts have held that a
                               constitutional right of access attaches in certain civil proceedings. See Bechal1l's, Sealed
                               Out of Court Documents: Wlien Does The Public Have A Right To Know? 66 Notre Dame L.
                               Rev. 117,133 (1990); Westmoreland v. ColumbIa BroadcastIng System . 752 F.2d 16
                               (2d Cir. 1984), cert, denied, 472 U.S. 1017 (1985); Publkker Indus., Inc. v. Cohen. 733
                               F.2d 1059 (3d Cir. 1984); In re Continental 111. Sec. Litig. 732 F.2d 1302 (7th Cir. 1984);
                               Brown & Williamson Tobacco Corp. v. FTC 710 F.2d 1165 (6th Cir. 1983), cert, denied
                               465 U.S. 1100(1980).
                               Allowing such access "enhances both the basic fairness of the crirrinal trial and the
                               appearance of fairness so essential to public confidence in the system." Press-
                               Enterprise Co. v. SUperior Court, 464 U.S. 501,508 (1984) (·Press·Enterprise I'). As
                               former Chief Justice Burger wrote, "[p]eople in an open society do not demand infallibility
                               from their institutions, but it is difficult for them to accept what they are prohibited from
                               observing.' Richmond Newspapers, Inc., 448 U.S. at 572.
                               Indeed, open access to Judicial proceedings Is not Just a benefIcIal practIce; In many
                               instances, it is a constitutional mandate. Court proceedings related to crirrinal trials in
                               particular are subject to a First Amendment right of access - a right that "pemits the
                               public to participate in and serve as a check upon the judicial process - an essential
                               cOl1l'onent in our structure of self-government." Globe Newspaper Co. v. SUperior
                               Court, 457 U.S. 596, 606 (1982); see also Richmond Newspapers, Inc., 448 U.S. at 596
                               (Brennan, J., concun1ng) (cItatIon and Internal quotatIon marks omitted) ("The knowledge
                               that every criminal trial is subject to conterrporaneous review in the forum of public
                               opinion is an effective restraint on possible abuse of judicial power[.]").

                               Thus the above factors weigh against record sealing unless it can be proven requirements
                               under state law have been met. These requirements often include proof of factual
                               innocence. For exalllJle, California "[Penal Code] section 851.8 is for the benefit of those
                               defendants who have not committed a crime. It pemits those petitioners who can show
                               that the state should never have subjected them to the cOl1l'ulsion of the crirrinallaw -
                               because no objectIve factors JustifIed offIcIal action - to purge the offIcIal records of any
                               reference to such action. .. ...• (People v. Matthews (1992) 7 Cal.App.4th 1052, 1056.)
                               ws a person to seal and destroy records based upon a showing of factual innocence.
                               Many states, like Nevada, Arizona, and Texas, have sirrilar statutes and it is wise to seek
                               the advice of an attorney in your state if record sealing and destruction is available to
                               you.




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                                                   530                                                    7 of 10
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 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                                 09/23/22 PageID.144
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                                                                             of 11of
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                               When Good Faith Is Not Enough for Probable Cause

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                              th. d....lndilnt. AI. the below polntl out, court'll tillaa iI tIuIblll but dim view on Fourth
                              AmBndnant vlalMlons.
                              Und.r th. good fillth IIXCllptlon .stlbllshlld by thll United 5t11tM Supra1r8 Court In UnIfIed
                              . ., . . If, ...em  (1984) 468 U.S. 897, .vldanell Mized In vloilltlon of the Fourth
                              AmBndlTlBnt lTIBy ba IIXII~ from ucluslon If "tIM! omcar'll conduct III objKtlvely
                              railsonilblll. w (lkIhd srlltu v. LfIon, Suprll, "168 U.S. 897, 919.) TIM! Court bliNd Its
                              ru"g ~ Iilrga Pilrt on Its parcaptlon that futura fourth AlTIBndlTlBnt vloilltlons wara
                              unlbly to ba datarT1ld by ucluslon of ralllViint IIVklllnc. obblll'lllll through anolMlOlB
                              IIIUllnca of II sallrch WlirTilnt by IIlTIIglstnll:a. (Id. lit pp. 916-17.) TIM! Court noted thllt
                              judgel lind ITIIglltnll:el were not IIdjUncts to IIIw enforcement lind could not be expected
                              to liter their behllVlor In relPonle to 9Clullon of evidence. (Ibid.)
                              In keeping with thll reillonlng, fedenlllllnd Callfomlll courts hllve dlllwn II key distinction
                              In IInlllyzlng where the good-filith exception applies, requiring suppraslon where enors
                              lelld"g to fourth Amendment violations were ITIBde by II police or IIIw enforcement
                              dePllrtment, nll:herthlln by the judicial or legllllltive bnllnches. (HlNndrI If• . " . " . , .
                              COurt (1993)13 CIII.App."Ith 1628, 1634.) These COUrtl hIIve concluded thllt ·lIppllclltlon
                              of the eXdJllonary rule dependl on the lOurce of the enor or msconduct thllt led to the
                              uncon,tltutlonlll,ellrch." (flllaple v. ~, Suprll, 28 CIII."Ith 22, 35.) Suppression Is
                              requi'ed for enol'S arising within I Ilw enforcement department becllUSII "even if lin
                              Officer ICts in good fIIith relilnce on _ inforrr.tion COl1'lTJJnicllted to him through offICial
                              chlnnels, IIIw enforcement officills Ire collectively responsible for IcI!leping those chllnnels
                              free of outdated, inco~lete, Ind inlccurlte ... inforrr.tion." (1n re Arran C. (1997) 59
                              CilI.App.4th 1365, 1369, quotation ITIBrKs Ind citltion 011'itted, ellipses in origilMll.)
                              Suppression of unconstitutionally seized evidence will deter IIIw enforcement ofrlclilis from
                              .....krlg such mstakes in the future.
                              In contrlst, where Fourth Amendment violltions occur due                 to enol'S by judicill stilff,

                              detelTllnt purpose. ~ If.            h,,,.
                              Inc-..d"g court clerks, exclusion of the lliegilily obtilined evidence Is seen ill serving no
                                                                             (1995) 514 U.S. 1.) In ~ v. ~nl, iln o1TIcer
                              hild illTllsted the defendilnt ilnd seized ITIBriJUilIMI from his Cilr upon IeIImlng during iI
                              tnllfllc: ItOP thilt thel"l!! WilS iln outstlndlng mlsdelJ'eilnor Wilmlnt out for his illT'I!!St. (rd. ilt
                              p. 4.) In fIIct, the mlldemelnor WiI.".nt hild been qUilshed 17 dilYS Qrller; the sherIIT's
                              ofllc:e ItII hild iI I"I!!cord of the WiI.".nt becluse of iI fllllul"l!! by iI Judlclill clerk to Inform
                              the IherIIT thilt It hild been qUillhed. (Id. iIt p. 5.) Thus, the illTI!!5t ilnd SHrch Incident
                              to arrelt wel"l!! unauthorized ilnd unconstltutlolMll.
                              In conckJdlng that tha uclullonilry I'IIrmdy WII not Wilmlnted, thlt Supl'llrra Court noted
                              thilt ta.tlrTllny lit thil luppl'llilion hllilrlng all:ibilihed thilt .nolll by thll judlclill clllrk
                              wel"l!! I'III"I!!, occumng once every thl"l!!e or four YI!!III'$. (Id. ilt p. 15.) Thus, there Will no
                              l"I!!a.on to be.eve thllt court e~loyeel wel"l!! Inclined to cilreleall~ ilffectlng people's
                              Fourth Amandrrant right •. (.IbId.) Most Ilgniflclntly, tIM! Court did not bIIllIIvII thllt
                              uckJdlng tha drscovarad IIVldanca would datar futUAI .nol'll by court clarks. (IbkI.)
                              This SillTlB distinction hilS baan   a~hnlz.d      In tIM! contmd: of fourth Arrandrrant vlollitlorw
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                         IIrts"g. liS In the Inltllnt cne. from erroneous cOlQluter rtlCords. Thus. courts ~ul~
                                      supp~sslon of evidence obtilined through ~llIInce on erroneous rtlCords ITlIlntlllned by
                                      IIIw enforcement oft'Iclllls. but genel1llly IIdrTlt: evidence obtilined beclluse of officers'
                                      ~"nce on l'1Iulty ~cords rmlntilined solely by judlcllli pel5Onnel. (See, e.II•• People v.
                                      WIlls. supra. 28 CIII.4th 22. 38; People v. bmbez, supra. 34 CIII.3d 541. 552; People v.
                                      OO..1MIg (1995) 33 CIII.App.04th 1641. 1645.)

                                       " g i l S.lrch. mcmmln-ll_nrm-"-m_. HOtt-mcmll"n-"-m_ I Tllgs;
                                       2013-dllTtln-chl"r. c..rtCII-lnor-... rch. co...nt-_rch. dIIlTtln-c.....r,
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                                      CilWomt.l P'nill Cod, sactlon 1203.04. DIIrTtIn ChII_r writ... ililowa for expungermnt of II
                                      conviction. PUrsUilnt to a.ctlon 1ZD3.4. subdivision (iI). iI probiltlollllr. entltilld III II
                                      rmttar of rtght to hiIVa tha plaa or vardlct cllllngad to not guilty. to hllve thll
                                      procaadlngs u:pungld from tha IlIcord. and to IIIIvl thll ilccuutlorw d.muad, If hII or
                                      sha hils althar (1) fuln.ad tha conditions of probation of thlllntllll probationary period or,
                                      (2) baan dlSchlirgad prtor to tha tarmlllltion of thll probation period. (~ v. IlnIdus
                                      (2007) 1049 CIII.App.4th 636. 6041; F'fIopIa v. !.awls (2006) 1046 CIII.App.04th 294, 297.) In
                                      othllr words. '"[Ilf tha plltltlonar astabllshlls althar of thll IlIIClS5llry fllctlllli pllldiciitas,
                                      the trllli court Is ~qul~d to glllnt the ~quested ~11ef.'· (People v. lewis. supnJ, 146
                                      CIII.App.4th lit p. 2904. quoting People v.lVwley (1991) 228 CilI.App.3d 247. 249-250.
                                      rtilic. ortglnill.)
                                      In People v. Lew.... the court noted thllt;
                                      It WIIS IIPPII~ntly Intended that when a defendant hils ntlsfied the tenm of probation,
                                      the trllli court should hllve no discretion but to Cllrry out Its part of the bargllin with the
                                      defendllnt.
                                      (People v. Le ...... supra. 1046 CIII.App.04th lit p. 294; see In .. GrlIIIn (1967) 67 CIII.2d
                                      3043,3047. tn. 3 rOn IIpplicatlon of a defendllnt who meets the ~ulrements of section
                                      1203.04 the court not only clln but ITLIIt proceed In IICCOrd with thllt stilt ute. "j.) The
                                      court Iiso reitelllted the concept that;
                                      • "The expunging of the record of conviction is. in essence. I fonn of legisllltiYely
                                      lIuthorized certificltion of cOlQllete reh'bilit'tion bilsed on I prescribed showing of
                                      eMll11)llIry conduct during the entire period of probiltion.-
                                      (Peop.\!! v. Le ..is, supr•• 146 CILApp.4th.t p. 294. quoting People v. OIIndJer (1988)
                                      203 C.1.App.3d 782. 7118-7119. quoting People v. Turner (1961) 193 CilLApp.2d. 243, 247;
                                      see People v. FIeJd (1995) 31 C.I.App.4th 17711. 1787 [relief under section 1203.04 Is
                                      Intended to rewllrd .n Indlvldu.1 who successfUlly COl11)letes problltlonl; People v.
                                      Johnson (1955) 134 C.LApp.2d 140. 143 ["The obvious purpose Is to secure IIIw
                                      co~nce through .n Itte~ at helpful coopel1ltlon I1Ither tlllln by coercion or
                                      punlshln!!nt."j .)
                                      SIIlCIIon 1203.4. subdivision (.)••Iso luthorizes. trllli court to 9111nt relief In.ny else In
                                      which thl! court detl!rmnl!s relief Is propl!r -In Its dlscretlon.nd the Interests of justice.·
                                      (See People v. CIJIIndler, supr., 203 CIILApp.3d.t p. 733, tn. 2, cltlnfJ People v. Buiter
                                      (19110) 105 CIII.App. 3d 5115. 5117.) Tha court', dacl,lon to gl1lnt or dBny rellal' Is
                                      dlscnI!tlonllry In thll third Iltulltlon. (People v. Field, supr', 31 CilI.App.4th.t p. 1786;
                                      People v. BuJter, supril, 105 Cal.App. 3d.t p. 587.) Gil!1lI!11I11y, the cOl11)lIIlnlng pIIrty rrust
                                      ast.bllsh· 'that tha court IIXfIrcllad Itl dlllcllltion In.n .rbltl1lry. c.prlclou. or pIItently
                                      ablurd rmnnar ... '. (SII. 1'IopII v. ~ (19!M) II CIII.04th 101So. 11204-1125. quoting
                                      ,..,.,. v. ~n (19116) 042 Cal.3d 3011. 316; .... Il10 IlIInllllm v. SUplirlor Court (1970) 2
                                      CilI.3d 557, 566.) Put dlffalllntly. lin Ibu.. of dlKllItlon OCCUI1l whlln an .ppellllnt c.n

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                                                             09/23/22 PageID.146
                                                                             PageID.4756Page     Page 11540
                                                                                                         of 11of
                                           1196
                         show that the lower court's decision falls outside the bounds of reason. (See People v.
                                      Bradford (1997) 15 Cal.4th 1229, 1315; People v. Parmar (2001) 86 Cal.App.4th 781,
                                      792.).

                                       California Expungement, Darren-Chaker I Tags: 1203.4, darren-chaker, Los-
                                       Angeles-Expunge, Orange-County-Expunge, PC-1203-4, ticket-expunge
                                       No comments

                                                                                                                      I
                                       Florida Criminal Record Sealing                                                               1-
                                      ~~~~~~~~~~~------------~I

                               06 S1
                               12     Record sealing under Florida law, says DBlT'Sn Chaker, can occur If a person pleads
                               2012   guilty, nolo contendere or is found guilty by a jury but the sentencing judge withholds
                              ~       adjudication of guilt, there has been no conviction. See Fla.R.Evid. 90.610, FS. § 948.01;
                                      Delaney v. State, 190 So.2d 578 (1966), appeal dism'd 387. U.S. 426 (1967).
                                      Moreover, when records relating to a person's criminal history have been
                                      expunged/sealed, the person is restored to the status the person had before the
                                      crirrinal proceedings. See F.S. §948.01: Walley v. Florida Game & Fresh Water Fish
                                      Camm., 501 So.2d 671 (1st DCA 1987). The person's status before charges were brought
                                      was that the person had not been convicted of the crime in question and therefore the
                                      expunged/sealed record would not be adrrissible. See Id.

                                      To qualify to have a record expunged/sealed, requires that the person who, is the
                                      subject, ITI.Ist (1) never previously have been adjudicated guilty of a crime; (2) not have
                                      been adjudicated guilty of any charges stelTlTing from the arrest to which the
                                      expungement/sealing petition pertains. Darren concludes if all records relating to a
                                      defendant's case are sealed pursuant to Florida law, then the defendant rrmy lawfully
                                      deny or fail to acknowledge the events covered by the sealed records. See F.S. §
                                      943.058 (1991). Fla.R.Evid. 90.610 requires evidence that a person has been convicted
                                      of a crime to be admitted.

                                      Only evidence of a crirrinal conviction is admissible; a witness rrmy not be interrogated as
                                      to former arrest or other accusations of cr1mes. Questions regarding past cr1mlnal records
                                      or convictions should not be asked unless counsel has knowledge of a conviction and a
                                      certified copy of the judgment of conviction in counsel's possession. A review of Florida
                                      court decisions hold that when a trial court withholds adjudication of guilt there is no
                                      conviction. See Roberts v. state ofRorida, 450 So.2d 1126 (Fla. 4th DCA 1984);
                                      Accredited Surety and Casualty Company, Inc. v. state of Florida, 318 So.2d 554 (Fla.
                                      1st DCA 1975); Bemhardt v. state, 288 So.2d 490 (Flo. 1974); State v. Gazda, 257
                                      So.2d 242, 243 (Fla. 1971); Weathers v. State, 56 So.2d 536 (Fla. 1952); Daughtrey v.
                                      State, 35 So. 397 (Fla. 1903); Parker v. State, 563 So.2d 1130 (Flo.5th DCA 1990);
                                      Garron v. state, 528 So.2d 353 (Flo.1988); Duffell v. South Waiton, 501 So.2d 1352
                                      (Fla. 1st DCA 1986); Clinger v. State, 53 So.2d 315 (Fla.5th DCA 1988); and 14 Fla. lor.
                                      2d, Crirrinal Law 3(1979).

                                       Darren-Chaker, Expungement, Seal Florida Record I Tags: criminal-record-
                                       sealing, dan-en-chaker, dan-en-chaker-2012, dan-en-chaker-aclu, dan-en-
                                       chaker-ripoff, expunge-florida , florida-record-sealing
                                       No comments


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                                                                                 Andreas Hultgren




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                Case
                Case 3:16-cv-02186-WQH-MDD
                     3:16-cv-02186-WQH-MDD Document
                                           Document 127-1
                                                    118-1 Filed
                                                          Filed 09/23/22
                                                                06/25/20 PageID.4757
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                                                                                     Page 541
                                                                                          1 of of
                                                                                               8
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                              6   Email:      eduardo.bravo@ropers.com
                              7   Attorneys for Defendant
                                  DARREN D. CHAKER
                              8

                              9                           UNITED STATES DISTRICT COURT
A Professional Corporation




                             10                        SOUTHERN DISTRICT OF CALIFORNIA
                             11
       Los Angeles




                             12   SCOTT A. MCMILLAN, an individual;                 Case No. 3:16-cv-2186-WQH-MDD
                                  THE MCMILLAN LAW FIRM, APC,
                             13   a California professional corporation,            Hon. William Q. Hayes
                                                                                    Courtroom 14B
                             14                      Plaintiffs,
                                                                                    MEMORANDUM OF POINTS
                             15            v.                                       AND AUTHORITIES IN
                                                                                    SUPPORT OF DEFENDANT
                             16   DARREN D. CHAKER, an individual,                  DARREN D. CHAKER’S
                                  and as trustee of PLATINUM                        MOTION TO SEAL PORTIONS
                             17   HOLDINGS GROUP TRUST, dba                         OF PLAINTIFF SCOTT A.
                                  COUNTER FORENSICS; NICOLE                         MCMILLAN’S COMPLAINT
                             18   CHAKER, an individual, and as trustee             AND FIRST AMENDED
                                  of THE NICOLE CHAKER                              COMPLAINT
                             19   REVOCABLE LIVING TRUST, U/A
                                  dated August 18, 2010, VANIA                      [Filed Concurrently with Notice of
                             20   CHAKER, an individual and as                      Motion, Declaration of Eduardo A.
                                  beneficiary of The Island Revocable               Bravo, Request for Judicial Notice
                             21   Trust under,                                      and (Proposed) Order]
                             22                      Defendants.                    DATE: AUGUST 3, 2020
                             23                                                     NO ORAL ARGUMENT UNLESS
                                                                                    REQUESTED BY THE COURT
                             24

                             25                                                     Action Filed:     August 29, 2016
                                                                                    Trial Date:       None
                             26

                             27
                             28
                                  4849-8411-1041.1
                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
                                                                       534
                  Case
                  Case 3:16-cv-02186-WQH-MDD
                       3:16-cv-02186-WQH-MDD Document
                                             Document 127-1
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                                                                  06/25/20 PageID.4758
                                                                           PageID.4041 Page
                                                                                       Page 542
                                                                                            2 of of
                                                                                                 8
                                                      1196


                              1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                              2            Defendant DARREN D. CHAKER, individually and as trustee of
                              3   PLATINUM HOLDINGS GROUP TRUST, dba COUNTER FORENSICS
                              4   (“Defendant”) hereby respectfully submits the following Memorandum of Points
                              5   and Authorities in support of his Motion to Seal pursuant to Federal Rule of Civil
                              6   Procedure 5.2(d), or alternatively, for a Protective Order pursuant to Federal Rule
                              7   of Civil Procedure 5.2(e).
                              8                      MEMORANDUM OF POINTS AND AUTHORITIES
                              9   I.       INTRODUCTION
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                             10            This motion is directed at portions of Plaintiffs SCOTT A. MCMILLAN,
                             11   (“McMillan”) and THE MCMILLAN LAW FIRM, APC’s (collectively,
       Los Angeles




                             12   “Plaintiffs”) Complaint and First Amended Complaint (“FAC”) [Dkt. Nos. 1, 25.]
                             13   This Court should enter an order sealing the portions of the Complaint and FAC
                             14   [Docket Nos. 1 at ¶¶ 39, 40, 49, and 25 at ¶¶ 40, 41, 50], as they include reference
                             15   to a California sealed paternity case (the “Paternity Case”) involving Defendant
                             16   DARREN D. CHAKER (“Defendant”).
                             17            This information is immaterial to the claims of the case and its inclusion in
                             18   the record serves no public interest. The overriding private interests of Defendant
                             19   will be prejudiced if these pleadings are not sealed and the proposed sealing has
                             20   been narrowly tailored to achieve the privacy interests. Accordingly, the Court
                             21   should either: (a) enter an order sealing portions of the Complaint and FAC
                             22   pursuant to Federal Rule of Civil Procedure 5.2(d) and common law, or (b) enter a
                             23   protective order pursuant to Federal Rules of Civil Procedure 5.2(e) and 26(c)
                             24   prohibiting any nonparty’s remote electronic access to these portions of the
                             25   Complaint and FAC.
                             26   ///
                             27   ///
                             28   ///
                                  4849-8411-1041.1                            -2-
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                                                                       535
                  Case
                  Case 3:16-cv-02186-WQH-MDD
                       3:16-cv-02186-WQH-MDD Document
                                             Document 127-1
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                                                            Filed 09/23/22
                                                                  06/25/20 PageID.4759
                                                                           PageID.4042 Page
                                                                                       Page 543
                                                                                            3 of of
                                                                                                 8
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                              1   II.      FACTS
                              2            Plaintiffs allege that Defendant operates a website that posts unpublished
                              3   judicial decisions. [Docket No. 25 at ¶ 30]. Defendant asked McMillan to remove
                              4   certain decisions involving him and McMillan refused. [Docket No. 25 at ¶ 31].
                              5   Defendant allegedly began harassing McMillan by, inter alia, posting scandalous
                              6   material about McMillan on the internet [Docket No. 25 at ¶ 36], thereby allegedly
                              7   harming McMillan’s law practice. [Docket No. 25 at ¶ 80]. Consequently,
                              8   Plaintiffs filed the instant suit alleging civil extortion and unfair business practices.
                              9            McMillan, a California attorney, filed his original Complaint on August 29,
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                             10   2016, asserting three Causes of Action against Defendant: (1) Racketeer Influenced
                             11   and Corrupt Organizations Act (18 U.S.C. § 1962(c); (2) Racketeer Influenced and
       Los Angeles




                             12   Corrupt Organizations Act (18 U.S.C. § 1962(d); and (3) Civil Extortion.
                             13   Declaration of Eduardo Bravo (“Bravo Decl.”), ¶ 3. On December 5, 2016,
                             14   Plaintiffs filed their FAC, asserting the same causes of action against Defendant.
                             15   Bravo Decl., ¶ 4. Plaintiffs included nearly identical references to Defendant’s
                             16   unrelated Paternity Case in each complaint [Docket No. 1 at ¶¶ 39, 40, 49, and No.
                             17   25 at ¶¶ 40, 41, 50], which Plaintiffs describe as relevant simply by virtue of the
                             18   fact that McMillan was counsel for a party in the Paternity Case. [Docket No. 25 at
                             19   ¶ 39]. However, the Paternity Case is wholly unrelated to the causes of action in
                             20   this matter and any document referred to in the Paternity Action bears no relevance
                             21   to the allegations against Defendant in this action. Rather, Plaintiffs apparently
                             22   include reference to this Paternity Case to harass Defendant by publicizing his
                             23   private information.
                             24            In sum, all references to the Paternity Case contain personal, private, and
                             25   familial information that is entirely irrelevant to the case at bar, and serve no
                             26   interest to the public.
                             27   ///
                             28   ///
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                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
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                                                                       536
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                  Case 3:16-cv-02186-WQH-MDD
                       3:16-cv-02186-WQH-MDD Document
                                             Document 127-1
                                                      118-1 Filed
                                                            Filed 09/23/22
                                                                  06/25/20 PageID.4760
                                                                           PageID.4043 Page
                                                                                       Page 544
                                                                                            4 of of
                                                                                                 8
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                              1   III.     LEGAL STANDARD
                              2            According to Civil Local Rule 79.2(c), “Documents to be filed under seal
                              3   must be accompanied by an order sealing them.” Additionally, as it pertains to the
                              4   instant motion, Fed. R. Civ. P. 5.2 provides that a Court may seal and/or redact
                              5   information, as follows:
                              6            (d) FILINGS MADE UNDER SEAL. The court may order that a filing be made
                              7            under seal without redaction. The court may later unseal the filing or order
                              8            the person who made the filing to file a redacted version for the public
                              9            record.
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                             10            (e) PROTECTIVE ORDERS. For good cause, the court may by order in a case:
                             11                      (1) require redaction of additional information; or
       Los Angeles




                             12                      (2) limit or prohibit a nonparty’s remote electronic access to a
                             13            document filed with the court.
                             14            In addition, Courts have inherent supervisory power over its own records and
                             15   files, even where a right of public access exists. Nixon v. Warner Communications,
                             16   Inc., 435 U.S. 589, 598 (1978). Access may be denied where the court determines
                             17   that court-filed documents may be used for improper purposes. Id. The compelling
                             18   reason standard governs the limits on the common law right of access to judicial
                             19   records. Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 677-678 (9th Cir. 2010).
                             20   A party seeking to seal most judicial records must: (1) show compelling reasons,
                             21   (2) supported by specific factual findings, and (3) the factual findings outweigh the
                             22   public policies favoring disclosure. Id. Relevant factors include: the public interest
                             23   in understanding the judicial process and whether disclosure of the material could
                             24   result in improper use of the material for scandalous or libelous purposes or
                             25   infringement upon trade secrets. Id. at 679, fn 6.
                             26            Moreover, “[i]t is well established that a federal court may consider collateral
                             27   issues after an action is no longer pending.” Cooter & Gell v. Hartmarx Corp., 496
                             28   U.S. 384, 395(1990); Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307
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                  Case 3:16-cv-02186-WQH-MDD
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                                             Document 127-1
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                                                                  06/25/20 PageID.4761
                                                                           PageID.4044 Page
                                                                                       Page 545
                                                                                            5 of of
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                              1   F.3d 1206, 1209 (9th Cir. 2002) (ruling on a motion to unseal documents which
                              2   was filed “[a]fter the case had been dismissed.”).
                              3   IV.      LEGAL ARGUMENT
                              4            Paragraphs 39, 40, and 49 of the Complaint and paragraphs 40, 41, and 50 of
                              5   the FAC all refer to the Paternity Case involving Defendant. Defendant has
                              6   compelling reasons to keep his family’s private life confidential and the public has
                              7   little to no right to access facts concerning Defendant’s relationship with his child.
                              8   In addition, the records of the Paternity Case are sealed per statute, further
                              9   diminishing any policy favoring disclosure. Thus, this Court should seal all
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                             10   portions of the Complaint and FAC that reference the Paternity Case.
                             11
       Los Angeles




                                           A.        Compelling Reasons Exist to Seal Portions of the Complaint and
                                                     FAC
                             12

                             13            Independent of Rule 5.2, the Court may order documents and/or materials
                             14   filed with the Court to be sealed despite the public’s common law right to inspect
                             15   and copy public records and documents, including judicial records, and documents.
                             16   A party seeking to seal judicial records under common law must show that
                             17   compelling reasons supported by specific factual findings outweigh the general
                             18   public policies favoring disclosure. Pintos, 605 F.3d at 677-678.
                             19            The factors relevant to a determination of whether the strong presumption of
                             20   access is overcome include the “public interest in understanding the judicial process
                             21   and whether disclosure of the material could result in improper use of the material
                             22   for scandalous or libelous purposes or infringement upon trade secrets. Id. at 679,
                             23   fn 6. As especially pertinent in this case, where Plaintiff has used his pleadings to
                             24   exact a vendetta against Defendant, courts have specifically found that sealing
                             25   records is appropriate when a party uses “records to gratify private spite, promote
                             26   public scandal, [or] circulate libelous statements.” Kamakana v. City & County of
                             27   Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006).
                             28   ///
                                  4849-8411-1041.1                             -5-
                                                                                           MEMORANDUM OF POINTS AND AUTHORITIES
                                                                    IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
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                              1            Here, the standard is met. Defendant has a particularly strong interest in
                              2   keeping his family affairs private and confidential. The intimate details of one’s
                              3   family are sensitive in nature and, in many cases, the most private details in one’s
                              4   life. California’s family laws further demonstrate the private nature of such
                              5   information as codified in the California Family Code.
                              6            California Family Code section 7643(a) provides that all papers and records,
                              7   other than the final judgment, pertaining to the action or proceeding, whether part
                              8   of the permanent record of the court or of a file in any public agency, or elsewhere,
                              9   are subject to inspection and copying only in exceptional cases on order of the court
A Professional Corporation




                             10   for good cause shown. However, all paper and records pertaining to the action or
                             11   proceeding that are part of the permanent record of the court are subject to
       Los Angeles




                             12   inspection and copying by the parties to the action and their attorneys. Cal. Fam.
                             13   Code § 7643(b). Defendant’s Paternity Case was sealed and not subject to public
                             14   inspection due to longstanding public policy considerations concerning an
                             15   individual’s right to privacy within his or her own family. Plaintiffs were not
                             16   parties to Defendant Chaker’s Paternity Case and have no right to obtain records
                             17   therefrom.
                             18            In addition to the delicately private nature of any reference to the Paternity
                             19   Case, the public has no need to access the detailed family records of Defendant.
                             20   The court in Hardaway v. District Of Columbia Housing Authority (“Hardaway”),
                             21   reversed the district court’s denial of a motion to seal all medical records and non-
                             22   dispositive materials, explaining that the “public has no need for access to
                             23   documents that describe [plaintiff’s] disability” and that the plaintiff “possesses a
                             24   strong privacy interest in keeping the details of her disability confidential.” 843
                             25   F.3d 973, 981 (D.C. Cir. 2016). Just as in Hardaway, here, Defendant has a strong
                             26   privacy interest in keeping the details of his relationship with his child private.
                             27   Most importantly, just as in Hardaway, the public has no need to access
                             28   information describing Defendant’s relationship with his inner-family members.
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                                                                                          MEMORANDUM OF POINTS AND AUTHORITIES
                                                                   IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
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                              1   Access to this information serves no interest to the public. As such, Defendant’s
                              2   privacy concern of references to the Paternity Case seriously outweighs any general
                              3   public policy favoring disclosure.
                              4            Finally, Plaintiff has demonstrated a history of improperly referencing the
                              5   same information sought to be sealed here to other complaints between the parties.1
                              6   Bravo Decl. ¶ 2. In a Tentative Ruling entered in the California Superior Court,
                              7   County of San Diego, Case No. 37-2017-00036344-CU-NP-CTL, in the matter
                              8   Scott A. McMillan v. Darren D. Chaker, et. al., on June 28, 2018, the court granted
                              9   in part Mr. Chaker’s motion to seal similar portions of plaintiff’s complaint.
A Professional Corporation




                             10            Plaintiffs have never obtained leave of court to include information or
                             11   documents from Defendant’s Paternity Case in these proceedings. Information and
       Los Angeles




                             12   documents from the Paternity Case are highly irrelevant to Plaintiffs’ claims and
                             13   included for the improper purpose of harassing Defendant. The overriding interest
                             14   in the privacy rights and confidentiality of paternity records heavily outweigh the
                             15   right to public access. Defendant is requesting a simple redaction, not a complete
                             16   sealing of the Complaint and FAC. This can easily be accomplished by the Court
                             17   redacting paragraphs 39, 40, and 49 of the Complaint, and 40, 41, and 50 of the
                             18   FAC. Therefore, the Court should seal these portions of the Complaint and FAC.
                             19   ///
                             20   ///
                             21   ///
                             22   ///
                             23   ///
                             24   1
                                    Defendant filed a Motion to Strike exhibits with reference to the Paternity Case in Plaintiff’s
                             25   appeal of this Court’s prior ruling, which the Ninth Circuit denied. McMillan v. Chaker, 791 F.
                                  App'x 666, 667 (9th Cir. 2020). However, here, Defendant is simply seeking to seal portions of
                             26   the pleadings with reference to the Paternity Case which remain part of the public record, even
                                  after judgment in Defendant’s favor. In fact, it is telling that Plaintiff filed reference to the
                             27   Paternity Case under seal at the Ninth Circuit. McMillan v. Chaker, No. 17-56676, Docket No.
                                  15 (9th Cir. April 2, 2018.)
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                              1   V.       CONCLUSION.
                              2            For the foregoing reasons, Defendant respectfully requests that the Court
                              3   grant this motion and order that paragraphs 39, 40, and 49 of the Complaint, and
                              4   paragraphs 40, 41, and 50 of the FAC previously filed be sealed for good cause
                              5   shown. In the alternative, Defendant requests that the Court enter a protective order
                              6   prohibiting any nonparty’s remote electronic access to paragraphs 39, 40, and 49 of
                              7   the Complaint, and paragraphs 40, 41, and 50 of the FAC.
                              8
                                  DATED: June 25, 2020                          ROPERS MAJESKI PC
                              9
A Professional Corporation




                             10
                                                                                By: /s/ Eduardo A. Bravo
                             11
       Los Angeles




                                                                                   STEPHEN J. ERIGERO
                                                                                   E. LACEY RICE
                             12                                                    EDUARDO A. BRAVO
                                                                                   Attorneys for Defendant
                             13                                                    DARREN D. CHAKER
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case3:16-cv-02186-WQH-MDD
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Case 3:16-cv-02186-WQH-MDD Document 127-1
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 Case3:16-cv-02186-WQH-MDD
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 UNITED STATES DISTRICT COURT                                            FOR COURT USE ONLY
 SOUTHERN DISTRICT OF CALIFORNIA
 TITLE OF CASE (Abbreviated)
 Scott A. McMillan, etc. v. Darren D. Chaker, et al.
 ATTORNEY(S) NAME AND ADDRESS       TELEPHONE
 Timothy J. Grant, Esq. (SBN 122593)
 FREDRICKSON, MAZEIKA & GRANT, LLP
 5720 Oberlin Drive            Tel: (858) 642-2002
 San Diego, CA 92121           Fax: (858) 642-2001
 ATTORNEY(S) FOR:               JUDGE: Hon. William Q. Hayes      CASE No.   16CV2186 JM MDD
 Defendant, Darren D.           Court Room: 14B
 Chaker, et al.
                                 DECLARATION OF SERVICE

       I, the undersigned, declare: I am, and was at the time of service of the papers herein
referred to, over the age of 18 years, and not a party to this action. My business address is 5720
Oberlin Drive, San Diego, California 92121.

       On January 2, 2017, I served the following document(s):
   1. STIPULATION TO EXTEND TIME TO RESPOND TO FIRST AMENDED
      COMPLAINT;
   2. [PROPOSED] ORDER RE: STIPULATION TO EXTEND TIME TO RESPOND
      TO FIRST AMENDED COMPLAINT
on the parties in this action addressed as follows:
Scott A. McMillan, CBN 212506                    Arthur J. McKeon, III; Rebecca J. Smith
THE MCMILLAN LAW FIRM, APC                       GILBERT, KELLY, CROWLEY &
4670 Nebo Drive, Suite 200                       JENNETT LLP
La Mesa, California 91941-5230                   550 South Hope Street, 22nd Floor
scott@mcmillanlaw.us                             Los Angeles, California 90071-2627
Attorney for Plaintiffs                          ajm@gilbertkelly.com; rjs@gilbertkelly.com
                                                 Attorneys for Defendant Nicole Chaker

[X]    E-FILING: By causing the document to be electronically filed via the Court’s CM/ECF
       system, which effects electronic service on counsel who are registered with the CM/ECF
       system.

      I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct and that this declaration was executed on January 2, 2017, at
San Diego, California.
                                              /s/ Denice P. Zarate
                                              DENICE P. ZARATE

                                               564OF SERVICE
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 Case3:16-cv-02186-WQH-MDD
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 1   SULLIVAN, KRIEGER, TRUONG,
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     EKrieger@SullivanKrieger.com
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 4   444 West Ocean Boulevard, Suite 1700
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 5   Telephone: (562) 597-7070
 6   Attorneys for Defendant DARREN D. CHAKER,
     individually, and as trustee of PLATINUM HOLDINGS
 7   GROUP TRUST
 8                         UNITED STATES DISTRICT COURT
 9                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11 SCOTT A. MCMILLAN, an individual,         )    Case No. 3:16-CV-02186-WQH-MD
   THE MCMILLAN LAW FIRM, APC, a             )
12 California professional corporation,      )    Judge: Hon. William Q. Hayes
                                             )    Courtroom: 14B
13                 Plaintiffs,               )
                                             )    Magistrate: Hon. Mitchell D. Dembin
14          v.                               )    Courtroom: 11th Floor
                                             )
15   DARREN D. CHAKER an individual, and )        [PROPOSED] ORDER RE
     as trustee of PLATINUM HOLDINGS         )    DEFENDANT DARREN D.
16   GROUP TRUST, dba COUNTER                )    CHAKER’S MOTION TO SEAL
     FORENSICS; NICOLE CHAKER, an            )    OR FOR PROTECTIVE ORDER
17   individual, and as trustee of NICOLE    )    [Fed. R. Civ. P. 5.2]
     CHAKER TRUST ONE, VANIA                 )
18   CHAKER, an individual and as trustee of )    Hearing Date: June 26, 2017
     VANIA CHAKER TRUST ONE,                 )    Courtroom: 14B
19                                           )
                   Defendants.               )    Complaint Filed: August 29, 2016
20                                           )
                                             )    [PER CHAMBERS ORDER, NO
21                                           )    ORAL ARGUMENT UNLESS
                                             )    ORDERED BY COURT]
22                                           )
                                             )
23                                           )
24        Having reviewed all the briefs related to Defendant DARREN D. CHAKER’S
25 (“Defendant”), Motion to Seal pursuant to Fed. R. Civ. P. 5.2(d), or, alternatively, for a
26 Protective Order pursuant to Fed. R. Civ. P. 5.2(e), including the moving papers, the
27 Opposition filed by plaintiffs Scott A. McMillan and The McMillan Law Firm, APC, a
28

                         DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                    IN SUPPORT OF HIS MOTION TO SEAL, OR FOR PROTECTIVE ORDER
                                           565
Case
 Case3:16-cv-02186-WQH-MDD
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 1
     California Professional Corporation, and Defendant’s Reply Brief, and all the files and
 2
     records in this case, it is here ORDERED that
 3
           1. Exhibit FF to the Plaintiff’s original and FAC, and Exhibit C to the Opposition
 4
              to Darren’s Motion for Sanctions (Dkt. 1-30; Dkt. 21-29, p. 3-10; Dkt. 75-1) as
 5
              well as their re-filed counterparts attached as Exhibit 1 and Exhibit 2 to the
 6
              Opposition to the Motion to Seal (Dkt 80-2 and 80-3) and Exhibits 4-8 thereto
 7
              (Dkt. 80-5 to 80-9) be stricken from the record as immaterial and included for
 8
              an improper purpose under Fed. R. Civ. P. 12(f).
 9
     Or
10
11
           1. Exhibit FF to the Plaintiff’s original and FAC, and Exhibit C to the Opposition
12
              to Darren’s Motion for Sanctions (Dkt. 1-30; Dkt. 21-29, p. 3-10; Dkt. 75-1),
13
              as well as their re-filed counterparts attached as Exhibit 1 and Exhibit 2 to the
14
              Opposition to the Motion to Seal (Dkt 80-2 and 80-3) and Exhibits 4-8 thereto
15
              (Dkt. 80-5 to 80-9) (be sealed under Fed. R. Civ. P. 5.2(d) and this Court’s
16
              inherent authority
17
     Or
18
           1. Exhibit FF to the Plaintiff’s original and FAC, and Exhibit C to the Opposition
19
              to Darren’s Motion for Sanctions (Dkt. 1-30; Dkt. 21-29, p. 3-10; Dkt. 75-1),
20
              as well as their re-filed counterparts attached as Exhibit 1and Exhibit 2 to the
21
              Opposition to the Motion to Seal (Dkt 80-2 and 80-3) and Exhibits 4-8 thereto
22
              (Dkt. 80-5 to 80-9) be placed under a protective order making Darren’s private
23
              information unavailable for public inspection or review pursuant to Fed. R.
24
              Civ. P. 5.2(e).
25
26
           2. All counsel shall be restrained from publicly disseminating any portion of any
27
              underseal document from this case without further order of this Court and that
28

                         DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                    IN SUPPORT OF HIS MOTION TO SEAL, OR FOR PROTECTIVE ORDER
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Case
 Case3:16-cv-02186-WQH-MDD
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                                                                             of 4of
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 1
             all counsel should file all documents in compliance with Rule 5.2 and failure to
 2
             do so in the future may result in the imposition of sanctions.
 3
 4        3. In light of Plaintiffs’ bad faith conduct in repeatedly filing such personal
 5           identification, the Court orders sanctions in the amount of $__________.
 6
 7
 8
 9        IT IS SO ORDERED
10
11                                    _______________________________
                                      HONORABLE WILLAM Q. HAYES
12                                    UNITED STATES DISTRICT JUDGE

13
14
15
16 Presented by:
17 SULLIVAN, KRIEGER, TRUONG,
18 SPAGNOLA & KLAUSNER LLP
19 By:          /s/Eliot F. Krieger
   Eliot F. Krieger, SBN 159647
20 ekrieger@sullivankrieger.com
21
   Eliot F. Krieger
22
   Attorneys for Defendant DARREN D. CHAKER
23 individually, and as trustee of
24 PLATINUM HOLDINGS GROUP TRUST,
   dba COUNTER FORENSIC
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                         DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                    IN SUPPORT OF HIS MOTION TO SEAL, OR FOR PROTECTIVE ORDER
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Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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 1                               CERTIFICATE OF SERVICE
           I certify that on the 19th day of June 2017, I filed the foregoing document with the
 2
     Clerk of the Court for the United States District Court, Southern District of California by
 3
     using the Court’s CM/ECF system, which will send notifications of such filing to all
 4
     counsel of record.
 5
 6
                                                   /s/ Eliot F. Krieger
 7                                            Eliot F. Krieger
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                          DEFENDANT DARREN CHAKER’S REPLY MEMORANDUM
                     IN SUPPORT OF HIS MOTION TO SEAL OR FOR PROTECTIVE ORDER

                                             568
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                                 09/23/22 PageID.3075
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                                                                      Page 1576
                                                                             of 3of
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     6
     7 Attorneys for Specially Appearing
       Defendant Vania Chaker
     8
     9                        UNITED STATES DISTRICT COURT
    10                     SOUTHERN DISTRICT OF CALIFORNIA
    11
    12 SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
       THE MCMILLAN LAW FIRM, APC,                MDD
    13 a California professional corporation,
                                                  RESPONSE TO PLAINTIFFS’
    14              Plaintiffs,                   OBJECTIONS TO SPECIALLY
                                                  APPEARING DEFENDANT VANIA
    15        vs.                                 CHAKER’S DECLARATION IN
                                                  SUPPORT OF HER MOTION TO
    16 DARREN D. CHAKER, an individual,           DISMISS PLAINTIFFS’ FIRST
       and as trustee of PLATINUM                 AMENDED COMPLAINT, OR, IN
    17 HOLDINGS GROUP TRUST, dba                  THE ALTERNATIVE, TO QUASH
       COUNTER FORENSICS; NICOLE                  DEFECTIVE SERVICE
    18 CHAKER, an individual, and as trustee
       of THE NICOLE CHAKER TRUST,
    19 U/A dated August 18, 2010, VANIA           The Hon. William Q. Hayes
       CHAKER, and individual and as
    20 beneficiary of The Island Revocable        Date: April 10, 2017
       Trust under Declaration of Trust dated     Courtroom: 14B
    21 June 2, 2015, MARCUS MACK as               Complaint Filed: August 29, 2016
       trustee of The Island Revocable Trust
    22 under Declaration of Trust dated June 2,
       2015,
    23
                    Defendants.
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            SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S RESPONSE TO PLAINTIFFS’ EVID. OBJS.
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Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                 09/23/22 PageID.3076
                                                          PageID.4793 Page
                                                                      Page 2577
                                                                             of 3of
                                     1196



     1        Specially appearing Defendant Vania Chaker (“Defendant”) hereby submits
     2 her Response to Plaintiffs’ Objections to the Declaration of Vania Chaker in Support
     3 of Her Motion to Dismiss Plaintiffs’ First Amended Complaint, or in the Alternative,
     4 to Quash Defective Service (“Chaker Declaration”) as follows:
     5        I.     PLAINTIFFS’ OBJECTION TO EXHIBIT B OF THE CHAKER
     6               DECLARATION
     7        Plaintiffs object to Exhibit B of the Chaker Declaration (“Exhibit B”), an
     8 automatically generated receipt from the Pottery Barn located at 3200 North
     9 Sepulveda Blvd, Manhattan Beach, California delivered to the email address
    10 vaniachaker@gmail.com at 8:04 p.m., February 6, 2017. Plaintiffs claim that Exhibit
    11 B is hearsay attempting to demonstrate that Ms. Chaker made the purchase.
    12 Plaintiffs argue that Ms. Chaker’s name is not on the receipt, she cannot verify that
    13 the receipt was generated “automatically,” and that it is “untrustworthy.” (Plaintiffs
    14 Objections, pp. 2-4.) These desparate argument should be rejected.
    15        Exhibit B supports Ms. Chaker’s sworn testimony that she was in Manhattan
    16 Beach, California on the evening of February 6, 2017, and not in San Diego where
    17 Plaintiffs contend she was personally served. Store receipts are regularly accepted as
    18 evidence that a purchase was made. See Spann v. J.C. Penney Corp., 2015 WL
    19 1526559, at *1 (C.D. Cal. Mar. 23, 2015); American Exp. Travel Related Services
    20 Co, Inc. v. D & A Corp., 2007 WL 3217565, at *8 (E.D. Cal. Oct. 29, 2007).
    21        More importantly, in her supplemental declaration, Ms. Chaker provides
    22 additional evidence demonstrating she made the purchase documented in Exhibit B.
    23 (Supplemental Declaration of Vania Chaker (“Supp. Chaker Decl.”), ¶¶ 5, 9; Exs. B,
    24 D.) Ms. Chaker located the paper receipt she received from the Pottery Barn that
    25 matches the information in Exhibit B. (Id., Ex. B.) She also submits a page from her
    26 credit card statement that shows on she made the purchase shown in Exhibit B. (Id.,
    27 Ex. D.)
    28                                            1
          SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S RESPONSE TO PLAINTIFFS’ EVIDENTIARY
                                                                                OBJECTOINS.

                                           570
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
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                                           Filed 04/03/17
                                                 09/23/22 PageID.3077
                                                          PageID.4794 Page
                                                                      Page 3578
                                                                             of 3of
                                     1196



     1        Based on the additional evidence supplied by Ms. Chaker, there can be no
     2 dispute that she made the purchase documented in Exhibit B, in Manhattan Beach,
     3 California, at 8:04 p.m., on February 6, 2017.
     4
         DATED: April 3, 2017
     5
                                                  BAKER MARQUART LLP
     6
                                                  /s/ Ryan G. Baker
     7
                                                  Ryan G. Baker
     8                                            Brian T. Grace
                                                  Attorneys for Specially Appearing
     9
                                                  Defendant Vania Chaker
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                   DEFENDANT VANIA CHAKER’S RESPONSE TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS

                                          571
           Case
            Case3:16-cv-02186-WQH-MDD
                 3:16-cv-02186-WQH-MDD Document
                                        Document118-2
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                                                              09/23/22 PageID.4048
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                                                                                           of 100
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                                  E. LACEY RICE (SBN 266748)
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                              6   Email:      eduardo.bravo@ropers.com
                              7   Attorneys for Defendant
                                  DARREN D. CHAKER
                              8

                              9                           UNITED STATES DISTRICT COURT
A Professional Corporation




                             10                        SOUTHERN DISTRICT OF CALIFORNIA
                             11
       Los Angeles




                             12   SCOTT A. MCMILLAN, an individual;                 Case No. 3:16-cv-2186-WQH-MDD
                                  THE MCMILLAN LAW FIRM, APC,
                             13   a California professional corporation,            Hon. William Q. Hayes
                                                                                    Courtroom 14B
                             14                      Plaintiffs,
                                                                                    DECLARATION OF EDUARDO
                             15            v.                                       A. BRAVO IN SUPPORT OF
                                                                                    DEFENDANT DARREN D.
                             16   DARREN D. CHAKER, an individual,                  CHAKER’S MOTION TO SEAL
                                  and as trustee of PLATINUM                        PORTIONS OF PLAINTIFF
                             17   HOLDINGS GROUP TRUST, dba                         SCOTT A. MCMILLAN’S
                                  COUNTER FORENSICS; NICOLE                         COMPLAINT AND FIRST
                             18   CHAKER, an individual, and as trustee             AMENDED COMPLAINT
                                  of THE NICOLE CHAKER
                             19   REVOCABLE LIVING TRUST, U/A                       [Filed Concurrently with Notice of
                                  dated August 18, 2010, VANIA                      Motion, Memorandum of Points and
                             20   CHAKER, an individual and as                      Authorities, Request for Judicial
                                  beneficiary of The Island Revocable               Notice and (Proposed) Order]
                             21   Trust under,
                                                                                    DATE: AUGUST 3, 2020
                             22                      Defendants.
                                                                                    NO ORAL ARGUMENT UNLESS
                             23                                                     REQUESTED BY THE COURT
                             24
                                                                                    Action Filed:     August 29, 2016
                             25                                                     Trial Date:       None
                             26

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                             28
                                  4814-8245-7025.1
                                                                                               DECLARATION OF EDUARDO A. BRAVO
                                                                   IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
                                                                       572
            Case
             Case3:16-cv-02186-WQH-MDD
                  3:16-cv-02186-WQH-MDD Document
                                         Document118-2
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                                                               09/23/22 PageID.4049
                                                                         PageID.4796 Page
                                                                                      Page2580
                                                                                            of 100
                                                                                                of
                                                  1196


                              1                           DECLARATION OF EDUARDO A. BRAVO
                              2            I, EDUARDO A. BRAVO, declare as follows:
                              3            1.        I am an attorney licensed to practice law before all court in the State of
                              4   California and the United States District Court, Southern District of California. I
                              5   am an associate with the law firm of Ropers, Majeski, Kohn & Bentley, counsel of
                              6   record for Defendant DARREN D. CHAKER (“Defendant”) in the matter entitled
                              7   Scott A. McMillan et al. v. Darren D. Chaker, et al. I make this declaration in
                              8   support of Defendant’s Motion to Seal Portions of Complaint and First Amended
                              9   Complaint (“FAC”). Except as otherwise indicated, I have personal knowledge of
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                             10   the matter set forth below, and could competently testify thereto if called to do so.
                             11            2.        On September 27, 2017, Plaintiffs SCOTT A. MCMILLAN,
       Los Angeles




                             12   (“McMillan”) and THE MCMILLAN LAW FIRM, APC’s (collectively, Plaintiffs”)
                             13   filed their related complaint in the Superior Court of the State of California, County
                             14   of San Diego, Case No. 37-2017-00036344-CU-NP-CTL, in the matter Scott A.
                             15   McMillan et al. v. Darren D. Chaker, et. al., alleging two causes of action against
                             16   Defendant: (1) Civil Extortion; and (2) Unfair Competition, Bus. & Prof. Code
                             17   section 17200.
                             18            3.        On or about August 29, 2016, Plaintiffs filed their Complaint in the
                             19   United States District Court, Southern District of California, alleging three causes
                             20   of action against Defendant: (1) Racketeer Influenced and Corrupt Organizations
                             21   Act (18 U.S.C. § 1962(c); (2) Racketeer Influenced and Corrupt Organizations Act
                             22   (18 U.S.C. § 1962(d); and (3) Civil Extortion. Attached hereto as Exhibit “A” is a
                             23   true and correct copy of Plaintiffs’ Complaint.
                             24            4.        On or about December 5, 2016, Plaintiffs filed their FAC in the United
                             25   States District Court, Southern District of California, alleging the same causes of
                             26   action as in the Complaint. Attached hereto as Exhibit “B” is a true and correct
                             27   copy of Plaintiffs’ FAC.
                             28            5.        On or about June 29, 2018, the court in Superior Court of the State of
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                                                                      IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
                                                                          573
            Case
             Case3:16-cv-02186-WQH-MDD
                  3:16-cv-02186-WQH-MDD Document
                                         Document118-2
                                                  127-1 Filed
                                                         Filed06/25/20
                                                               09/23/22 PageID.4050
                                                                         PageID.4797 Page
                                                                                      Page3581
                                                                                            of 100
                                                                                                of
                                                  1196


                              1   California, County of San Diego, Case No. 37-2017-00036344-CU-NP-CTL, in the
                              2   matter Scott A. McMillan et al. v. Darren D. Chaker, et. al., published a Minute
                              3   Order granting in part Defendant’s motion to seal portions of the state court
                              4   compliant related to Defendant’s paternity case. Attached hereto as “Exhibit C” is a
                              5   true and correct copy of the court’s Minute Order.
                              6            6.        In a good faith effort to meet and confer on the matters set forth in the
                              7   instant Motion, my office sent a letter on May 26, 2020 by e-mail to counsel for
                              8   Plaintiffs stating Defendant’s intention to seal portions of the Complaint and FAC.
                              9   Attached hereto as Exhibit “D” is a true and correct copy of this correspondence.
A Professional Corporation




                             10            7.        On May 26, 2020, Plaintiffs’ counsel Scott A. McMillan responded to
                             11   the issues laid out in the initial meet and confer letter dated May 26, 2020.
       Los Angeles




                             12   Attached hereto as Exhibit “E” is a true and correct copy of this correspondence.
                             13            8.        Despite these meet and confer efforts, the parties have not reached an
                             14   agreement resolving the issues raised in the instant Motion.
                             15            I declare under penalty of perjury under the laws of the State of California
                             16   that the foregoing is true and correct. Executed this 25th day of June, 2020 in Los
                             17   Angeles, California.
                             18

                             19                                                 _______________________________________
                                                                                         EDUARDO A. BRAVO
                             20

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                                                                      IN SUPPORT OF MOTION TO SEAL PORTIONS OF PLAINTIFF’S COMPLAINT
                                                                          574
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                   09/23/22 PageID.4051
                                                             PageID.4798 Page
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                                                                                of 100
                                                                                    of
                                      1196




                           EXHIBIT A


                                         575
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD
    Case                     Document
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          3:16-cv-02186-WQH-MDD       118-2
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                                                                            1 of538
                                                                                 583
                                                                                  of 100
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                                       1196


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 3   (619) 464-1500 x 14
     Fax: (619) 828-7399
 4
     Attorney for Plaintiff,
 5   Scott A. McMillan and The McMillan Law Firm, APC
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
     SCOTT A. MCMILLAN, an individual,                Civil Case No.: '16CV2186 JM MDD
11   THE MCMILLAN LAW FIRM, APC, a
     California professional corporation,             Complaint for
12                                                    1.    Racketeer Influenced and
           Plaintiffs,                                Corrupt Organizations Act (18
13                                                    U.S.C. §§ 1962(c))
           vs.                                        2.    Racketeer Influenced and
14                                                    Corrupt Organizations Act (18
     DARREN D. CHAKER an individual,                  U.S.C. §§ 1962(d))
15   and as trustee of PLATINUM                       3.    Civil Extortion
     HOLDINGS GROUP TRUST, dba
16   COUNTER FORENSICS; NICOLE
     CHAKER, an individual, and as trustee of             DEMAND FOR JURY TRIAL
17   NICOLE CHAKER TRUST ONE,
     VANIA CHAKER, an individual and as
18   trustee of VANIA CHAKER TRUST
     ONE,
19
           Defendants.
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                                                576
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD
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          3:16-cv-02186-WQH-MDD       118-2
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                                 Document 1 Filed
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                                             Filed  09/23/22 PageID.4053
                                                   08/29/16   PageID.4800
                                                             PageID.2     Page
                                                                       PagePage
                                                                            2 of638
                                                                                 584
                                                                                  of 100
                                                                                      of
                                       1196


 1   Plaintiffs allege as follows:
 2                                         JURISDICTION
 3          1. This Court has jurisdiction over the subject matter of the causes of action in this
 4   complaint by virtue of:
 5          a. federal question jurisdiction pursuant to 28 U.S.C. § 1331, involving an action
 6          pursuant to 18 U.S.C. § 1964(c), the Federal Racketeer Influenced and Corrupt
 7          Organizations Act (“RICO”). This Court has subject-matter jurisdiction over this
 8          action pursuant to 28 U.S.C. §1332;
 9          b. supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a), involving claims
10          that are so related to claims in the action within the Court’s original jurisdiction
11          that they form part of the same case or controversy under Article III of the United
12          States Constitution; and
13          2. This Court has jurisdiction over the person of the Defendant Darren Chaker
14   because Defendant transacts business within this judicial district, and Defendant is
15   amenable to service of process within the meaning of Federal Rule of Civil Procedure
16   Rules 4(e), 4(f), and 18 U.S.C. § 1965(b).
17          3. Further, this District Court, the Hon. Larry A. Burns, District Judge presiding,
18   has jurisdiction over Defendant because Defendant is under an order of supervised release
19   according to the terms of sentence of Defendant’s conviction for bankruptcy fraud,
20   United States v. Chaker, U.S.D.C., So. Dist. California, Case No. 3:15-cr-07012-LAB.
21          4. Venue is proper in this district pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
22   1391 because Defendants transacts business in this district or, alternatively, this district is
23   where a substantial part of the events or omissions giving rise to the claim occurred.
24                                          THE PARTIES
25          5. Plaintiff, SCOTT A. MCMILLAN (hereinafter referred to as “Plaintiff
26   McMillan”), is a resident of the State of California, County of San Diego. Plaintiff is a
27   California licensed attorney, and is engaged in intra-state, and interstate commerce in the
28   course of his practice. Plaintiff McMillan also operates a law school, the McMillan


                                               Complaint                                           2

                                                  577
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD
    Case                     Document
                              Document
          3:16-cv-02186-WQH-MDD       118-2
                                       127-1
                                 Document 1 Filed
                                              Filed06/25/20
                                             Filed  09/23/22 PageID.4054
                                                   08/29/16   PageID.4801
                                                             PageID.3     Page
                                                                       PagePage
                                                                            3 of738
                                                                                 585
                                                                                  of 100
                                                                                      of
                                       1196


 1   Academy of Law, a Caliornia corporation, which is unaccredited, but registered with the
 2   Committee of Bar Examiners, State Bar of California.
 3          6. Plaintiff, THE MCMILLAN LAW FIRM, APC, a California professional
 4   corporation, (hereinafter referred to as “Plaintiff TMLF”) has its principal place of
 5   business in the County of San Diego, State of California. Plaintiff McMillan operates
 6   Plaintiff TMLF.
 7          7. Defendant, DARREN CHAKER (a.k.a. Darren Del Nero a.k.a. Darren Del
 8   Nero-Chaker a.k.a. Darren Shaker, a.k.a. D. David Hunter) (hereinafter referred to as
 9   “Defendant DARREN”), is presently a resident of the State of California, County of San
10   Diego. Defendant DARREN conducts business through and holds assets as trustee in
11   PLATINUM HOLDINGS GROUP TRUST, a self-settled trust. Plaintiff is further
12   informed and believes that Defendant DARREN conducts business under the pseudonym
13   or doing-business-as “COUNTER FORENSICS.” Defendant DARREN was deemed a
14   vexatious litigant in Superior Court of California, County of San Diego Case Nos. 591421
15   (December 2, 1997) and GIC757326 (June 22, 2001).
16          8. Defendant VANIA CHAKER (hereinafter referred to as “Defendant VANIA”)
17   is presently a resident of the State of California, County of San Diego, and is Defendant’s
18   Darren’s sister. On one or more occasions, VANIA has participated in the acts set forth
19   herein, providing assistance to Defendant DARREN in committing predicate acts.
20   Plaintiff is informed and believes that Defendant VANIA conducts business through and
21   holds assets as trustee in a trust of an unknown name, which shall be referred to herein as
22   VANIA CHAKER TRUST ONE, a self-settled trust. Plaintiff intends to amend the name
23   of that trust at such time as it becomes known to Plaintiff herein, and substitute the true
24   name for that trust at that time.
25          9. Defendant NICOLE CHAKER (hereinafter referred to as “Defendant
26   NICOLE”), is the mother of Defendant DARREN and Defendant VANIA. On one or
27   more occasions, Defendant NICOLE has participated in the acts set forth herein,
28   providing assistance to Defendant DARREN in committing predicate acts. Plaintiff is


                                              Complaint                                            3

                                                 578
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD
    Case                     Document
                              Document
          3:16-cv-02186-WQH-MDD       118-2
                                       127-1
                                 Document 1 Filed
                                              Filed06/25/20
                                             Filed  09/23/22 PageID.4055
                                                   08/29/16   PageID.4802
                                                             PageID.4     Page
                                                                       PagePage
                                                                            4 of838
                                                                                 586
                                                                                  of 100
                                                                                      of
                                       1196


 1   informed and believes that Defendant NICOLE conducts business through and holds
 2   assets as trustee in a trust of an unknown name, which shall be referred to herein as
 3   NICOLE CHAKER TRUST ONE, a self-settled trust. Plaintiff intends to amend the
 4   name of that trust at such time as it becomes known to Plaintiff herein, and substitute the
 5   true name for that trust at that time.
 6                DEFENDANTS’ ENTERPRISE AND PREDICATE ACTS
 7          10. Plaintiffs are informed and believe, and based thereon allege that Defendant
 8   VANIA is an attorney, currently licensed to practice law in the State of California.
 9   Defendant VANIA has lived at various times in California and the Pennsylvania.
10   Defendant VANIA, as a profession, both individually on her own account and to assist
11   Defendants DARREN and NICOLE, engaged in litigation based on meritless or outright
12   false claims, typically relying upon the Fair Credit Reporting Act, 15 U.S.C. § 1681, and
13   on at least one occassion bringing a claim for personal injury, deriving income from such
14   fraudulent activity. As part of her pattern of racketeering activity, Defendant VANIA has
15   attempted and sometimes succeeded in collecting unlawful debts, i.e., a claim based on
16   false or meritless legal claims, and derived income from such false claims and unlawful
17   threats of suit. For instance in Vania Chaker v. Monarch Group Management, Inc.,
18   U.S.D.C. So. Dist. of Cal., Case No. 06cv1534W(AJB), Defendant VANIA borught a
19   class action complaint for violation of the Federal Fair Debt Collections Practices Act, 15
20   U.S.C. § 1692, et seq. and the California Rosenthal Fair Debt Collection Practices Act,
21   arising from her landlord’s service upon her of a three day notice to pay rent or quit.
22   Within the U.S. District Court for the Southern District of California, Defendant VANIA
23   has brought three other cases based on allegations of violations of the Fair Debt
24   Collection Practices Act, e.g., Vania Chaker v. Collection Company of America, U.S.D.C.
25   So. Dist. of Cal., Case No. 05cv390 BEN(AJB) [unpaid T-mobile cellular phone
26   charges]; Vania Chaker v. Allied Interstate, Inc., U.S.D.C. So. Dist. of Cal., Case No.
27   05cv0212 LAB(RBB)[unpaid DirectTV bills]; Vania Chaker v. CAMCO, U.S.D.C. So.
28   Dist. of Cal., Case No. 04cv1735 W(RBB).


                                              Complaint                                            4

                                                 579
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD
    Case                     Document
                              Document
          3:16-cv-02186-WQH-MDD       118-2
                                       127-1
                                 Document 1 Filed
                                              Filed06/25/20
                                             Filed  09/23/22 PageID.4056
                                                   08/29/16   PageID.4803
                                                             PageID.5     Page
                                                                       PagePage
                                                                            5 of938
                                                                                 587
                                                                                  of 100
                                                                                      of
                                       1196


 1          11. Plaintiffs are informed and believe, and based thereon allege that Defendant
 2   VANIA did not solely file such suits in the U.S. District Court for the Southern District of
 3   California, but also assisted in cases in the Central District of California, appearing as
 4   attorney in the suit brought by Defendant DARREN subnom (Darren Del Nero) and
 5   Defendant NICOLE alleging defendant’s violations of the Federal Fair Debt Collections
 6   Practices Act, 15 U.S.C. § 1692, et seq.. Specifically, Defendants DARREN and
 7   NICOLE brought suit against Midland Credit Management Inc., in the case of Del Nero
 8   & Chaker, et al., v. Midland Credit Management Inc., U.S.D.C. Cen. Dist. of Cal., Case
 9   No. 2:04-cv-01040-ABC-SH. Defendant DARREN and his attorneys were sanctioned
10   $155,979.09 after the court found that Defendant DARREN brought suit in bad faith and
11   for the purpose of harassment. (Del Nero v. Midland Credit Management Corp. et al.,
12   2:04-cv-01040-ABC-SH.(Attorneys fee award later vacated against Chaker’s counsel.)
13   The Court issued an order to show cause re contempt for Defendant VANIA’s conduct
14   during the jury trial, and barred her from the courtroom during the remainder of the trial.
15   The court’s basis for the order was that Defendant VANIA attempted to aid a witness in
16   answering counsel’s questions. [ECF 91.] Defendant VANIA also represented Defendant
17   DARREN subnom (Darren Del Nero) in Darren Del Nero v. Reliable Adjustment Bureau
18   Inc et al, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-00969-FMC-JWJ, another case
19   alleging violations of 15 U.S.C., § 1681. In each of those instances, in a likely effort to
20   avoid Defendant DARREN’s prefiling order as a vexatious litigant, Defendant VANIA
21   initially appeared on Defendant DARREN’s behalf, then substituted out to allow
22   Defendant DARREN to prosecute the case in propria persona. Defendant VANIA
23   engaged in such transitory representation of Defendant DARREN to assist him avoiding
24   the bar of the prefiling orders placed resulting from his designation as a vexatious litigant.
25          12. As to Defendant DARREN, Plaintiffs are informed and believe, and based
26   thereon allege that Defendant DARREN holds himself out to the public as operating a
27   business called COUNTER FORENSICS. The COUNTER FORENSICS web page
28   described its services as follows:


                                              Complaint                                            5

                                                 580
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
   Case                      Document
                             Document
         3:16-cv-02186-WQH-MDD        127-1
                                      118-2
                                Document    Filed
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                                         1 Filed  09/23/22
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                                                           PageID.4804
                                                            PageID.4057
                                                                    PagePage
                                                                        Page  588
                                                                               10 of
                                                                         6 of 38   of
                                      1196
                                       100


1          “Founded in 2006, the origination of CounterForensics.com can be traced to
2          the cyber security and forensics background of our consultant, Darren
3          Chaker. Mr. Chaker (www.DarrenChaker.com) previously worked in law
4          enforcement, and as a security contractor in the Middle East. More recently,
5          Mr. Chaker managed electronic discovery (e-discovery) for a leading
6          multinational law firm conducting large-scale digital forensic
7          investigations, and provided electronic discovery services involving civil,
8          corporate and criminal matters. Mr. Chaker also implemented security
9          enforcement protocols and systems with Military Grade Communications
10         for use between international offices to discuss sensitive matters. Mr.
11         Chaker has additional expertise in matters involving:
12         • Software piracy;
13         • Sexual harassment via e-mail, instant messaging and other forms of electronic
14         communications;
15         • Monitoring employee activity;
16         • Employee sabotage;
17         • Intrusion detection;
18         • Recovery of deleted files;
19         • Lost password recovery and cracking of locked files;
20         • Discovery of hidden and deleted e-mails and pictures;
21         • Internet usage and unauthorized software installed on a company machine; and
22         Removal of viruses, pictures, software and other data items which may be hidden
23         from the user.
24         See Exhibit 6,
25         https://web.archive.org/web/20150208142616/http://www.counterforensics.com/
26         (Accessed on August 23, 2016.)
27         13. At various times relevant to the facts stated herein, Defendant DARREN has
28   resided in California, Nevada and Texas, and engaged in transactions and acts affecting


                                             Complaint                                         6

                                               581
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
   Case                      Document
                             Document
         3:16-cv-02186-WQH-MDD        127-1
                                      118-2
                                Document    Filed
                                            Filed08/29/16
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                                                  06/25/20 PageID.7
                                                           PageID.4805
                                                            PageID.4058
                                                                    PagePage
                                                                        Page  589
                                                                               11 of
                                                                         7 of 38   of
                                      1196
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1    interstate commerce:
2           14. Defendant DARREN has, as a profession, engaged in litigation based on
3    meritless or outright false claims, typically relying upon the Fair Credit Reporting Act, 15
4    U.S.C. § 1681, and on at least one occassion bringing a claim for personal injury, deriving
5    income from such fraudulent activity. As part of his pattern of racketeering activity,
6    Defendant DARREN has attempted and sometimes succeeded in collecting unlawful
7    debts, i.e., a claim based on false or meritless legal claims, and derived income from such
8    false claims and unlawful threats of suit.
9           15. In another 2005 case, attorney’s fees of $42,934.84 were awarded against
10   Defendant DARREN for filing a baseless lawsuit. (Chaker v. Richland (C.D. Cal. 2005)
11   CV 05-7851-RSWL; See also Chaker v. Imperial Collection Services (C.D. Cal. 2004)
12   CV 04-2728-PA (alleging claims under the FDCPA found to be without merit); and Del
13   Nero v. Riddle & Associates PC, et al. (C.D. Cal. 2003) CV 03-6511-GHK (same).) In a
14   2007 case, Defendant DARREN and his attorneys were sanctioned $155,979.09 after the
15   court found that Defendant DARREN brought suit in bad faith and for the purpose of
16   harassment. (Del Nero v. Midland Credit Management Corp. et al. (C.D. Cal. 2007) CV
17   04-1040 GPS.) In a 2009 case, Defendant DARREN was ordered to pay $136,316.14 for
18   bad faith due to Defendant DARREN falsely claiming identity theft. (Chaker v. Nathan
19   Enterprises Corp. (C.D. Cal. 2009) CV 04-2726-RSWL.)
20          16. Defendant DARREN filed other suits based allegations of violations of Fair
21   Credit Reporting Act, 15 U.S.C. § 1681, i.e., Darren Chaker-Del Nero v. Afni, Inc.,
22   U.S.D.C. Cen. Dist. of Cal., Case No. 2:08-cv-03405-ODW-SS; Darren D Chaker v.
23   First City Bank Credit Union, U.S.D.C. Cen. Dist. of Cal., Case No.
24   2:04-cv-02727-GPS-RZ; Darren D Chaker v. Factual Data Corporation, U.S.D.C. Cen.
25   Dist. of Cal., Case No. 2:04-cv-02729-JFW-AJW; Darren D Chaker v. European Auto
26   House, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-02731-R-PJW; Darren Chaker v.
27   Arrow Financial Services LLC, U.S.D.C. Cen. Dist. of Cal., Case No.
28   2:04-cv-07050-FMC-FMO.


                                              Complaint                                         7

                                                  582
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
   Case                      Document
                             Document
         3:16-cv-02186-WQH-MDD        127-1
                                      118-2
                                Document    Filed
                                            Filed08/29/16
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                                                  06/25/20 PageID.8
                                                           PageID.4806
                                                            PageID.4059
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                                                                        Page  590
                                                                               12 of
                                                                         8 of 38   of
                                      1196
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1           17. Defendants have a pattern of attacking the attorneys which oppose them, i.e.,
2    in Darren D Chaker v. Felipa R. Richland, et al., U.S.D.C. Cen. Dist. of Cal., Case No.
3    2:05-cv-07851-RSWL-PLA, Defendant DARREN sued attorney Richland and her law
4    office, and her client Nathan Enterprises Corp. for alleged violations of the Fair Credit
5    Reporting Act, 15 U.S.C. § 1681. Plaintiff is informed and believes and based thereon
6    alleges that during her defense of the both cases, Ms. Richland was stalked, her property
7    vandalized. Ultimately, Ms. Richland and her client prevailed, with Defendant DARREN
8    held liable for costs and attorneys fees. [ECF 25, 26.]
9           18. Defendant DARREN, subnom Darren Chaker Del-Nero, brought additional
10   suits in the United States District Court for the District of Nevada based on allegations of
11   violation of the Fair Credit Billing Act, 15 U.S.C. § 1666, e.g., Chaker-Delnero v.
12   Nevada Federal Credit Union, et al, U.S.D.C. District of Nevada., Case No.,
13   2:06-cv-00008-BES-GWF; for violations of the Fair Debt Collections Practices Act, 15
14   U.S.C. § 1692, Chaker-Delnero v. Butler & Hailey, et al, U.S.D.C. District of Nevada.,
15   Case No. 2:06-cv-00022-KJD-LRL, Chaker-Delnero v. Clark County Collection Service,
16   LLC, U.S.D.C. District of Nevada, 2:06-cv-00123-JCM-PAL, and Chaker-Delnero v.
17   Collectco, U.S.D.C. District of Nevada, 2:06-cv-00244-RLH-GWF. In each of these
18   cases, docket entries reflect a voluntary dismissal. Plaintiff is informed and believes that
19   in those cases, the Defendants paid a sum to “buy their peace” rather than to spend
20   attorneys fees litigating the case, despite the lack of the merit to Defendant DARREN’s
21   claims.
22          19. Defendant DARREN, subnom Darren Chaker, brought additional suit in the
23   United States District Court for the Southern District of Texas (Houston) based on
24   allegations of violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692,
25   Chaker v. The CMI Group, U.S.D.C. Southern District of Texas (Houston),
26   4:07-cv-01802F [Time Warner Communications.] In that case, the docket entries reflect a
27   voluntary dismissal. Plaintiff is informed and believes that in that case, the Defendants
28   paid a sum to “buy its peace” rather than to spend attorneys fees litigating the case,


                                              Complaint                                             8

                                                 583
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
   Case                      Document
                             Document
         3:16-cv-02186-WQH-MDD        127-1
                                      118-2
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                                                  06/25/20 PageID.9
                                                           PageID.4807
                                                            PageID.4060
                                                                    PagePage
                                                                        Page  591
                                                                               13 of
                                                                         9 of 38   of
                                      1196
                                       100


1    despite the lack of the merit to Defendant DARREN’s claims.
2           20. Defendant DARREN, subnom David Hunter, brought additional suit in the
3    United States District Court for the District of Arizona, entitled Hunter v. Receivables
4    Performance Management, LLC, U.S.D.C. District of Arizona, 2:10-cv-00665-MHM
5    [Sprint cellular phone service]. Within that suit Defendant DARREN attached letters
6    claiming an address at 11881 S. Fortuna Road, #223, Yuma, AZ 85367 [Exhibit B, ECF
7    1-3.] In that case, the docket entries reflect a voluntary dismissal. Plaintiff is informed
8    and believes that in that case, the Defendant paid a sum to “buy its peace” rather than to
9    spend attorneys fees litigating the case, despite the lack of the merit to Defendant
10   DARREN’s claims.
11                                      SEX TRAFFICKING
12          21. Plaintiff is informed and believes and based thereon alleges that Defendant
13   DARREN also engaged, within the last ten years, in human trafficking, and derived
14   income from such activity.
15          22. Defendant DARREN’s record of arrests and prosecutions (RAP) reveals
16   arrests for insufficient funds/check, attempting to prevent/dissuade victim/witness,
17   receiving known stolen property, vehicle theft, first degree burglary, grand theft, and
18   being in possession of an assault weapon. He was convicted of invading/looking into a
19   tanning booth (1997), and possession of an assault weapon (2006). Such crimes were
20   punishable by a year or more incarceration.
21          23. Defendant DARREN also obtained mortgages on real estate through false
22   statements, and thereafter rather than paying the mortgages, Defendant DARREN kept the
23   rents from such properties to fund his enterprises, and when his mortgagors sought to
24   recover their real property collateral, Defendant DARREN filed false bankruptcy petitions
25   in order to stall or avoid the foreclosure and continue to collect rental income.
26          a. Defendant DARREN used the ill-gotten proceeds of his enterprise to fund his
27          lifestyle and further his illegal activities including through the purchase of
28          computers, paying for travel, development of various domain names and online


                                               Complaint                                           9

                                                  584
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.10
                                                08/29/16    PageID.4808
                                                             PageID.4061
                                                                     PagePage
                                                                         Page
                                                                          10 of592
                                                                               14
                                                                                38 of
                                                                                    of
                                      1196
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1        presences to the detriment of Plaintiff herein.
2        b. In order to dissuade those members of law enforcement and attorneys in private
3        practice who would challenge Defendant DARREN’s criminal conduct, including
4        Plaintiff herein, Defendant DARREN used various means and threats, including
5        harassment, stalking, defaming others, vandalizing property, hacking computers,
6        spoofing emails, and identity theft.
7        c. Defendant DARREN has used the proceeds of his racketeering activity to
8        purchase computers, equipment, and Internet access services in order to engage in
9        his and the other Defendants VANIA and NICOLE’s frauds, and efforts to
10       dissuade those who oppose their illegal conduct, including Plaintiff herein.
11       d. On March 22, 2012, Defendant DARREN was indicted in United States v.
12       Darren David Chaker, Case No. 4:12CR00168-001, and thereafter granted pre-
13       trial release under supervision with U.S. Pretrial Services. The Indictment,
14       attached as Exhibit 1, alleges a portion of Defendants’ scheme, which Plaintiff
15       incorporates by reference here.
16       e. While on supervision with U.S. Pretrial Services, through false statements to a
17       United States officer, he violated his terms of release by failing to disclose to U.S.
18       Pretrial Services and the Court the fact that he procured a U.S. Passport using the
19       alias “D. David Hunter.”
20       f. On December 17, 2013, Defendant DARREN suffered a Judgment in a
21       Criminal Case in the case entitled United States v. Darren David Chaker, Case No.
22       4:12CR00168-001, in the United States District Court for the Southern District of
23       Texas (Houston), for Bankruptcy Fraud, 18 U.S.C § 157(3). On April 14, 2016,
24       that conviction was affirmed by the United States Court of Appeals for the Fifth
25       Circuit, case number 14-20026, as reported in United States v. Chaker, 820 F.3d
26       204, 206 (5th Cir. 2016). He was sentenced to a total term of 15 months, and was
27       additionally sentenced to three years supervised release, as part of the special
28       conditions of supervision was ordered:


                                           Complaint                                         10

                                                585
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                                   06/25/20PageID.11
                                                08/29/16    PageID.4809
                                                             PageID.4062
                                                                     PagePage
                                                                         Page
                                                                          11 of593
                                                                               15
                                                                                38 of
                                                                                    of
                                      1196
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1           “The defendant shall provide the probation officer access to any requested
            financial information. If a fine or restitution amount has been imposed, the
2           defendant is prohibited from incurring new credit charges or opening
            additional lines of credit without approval of the probation officer.
3
            The defendant is prohibited from possessing a credit access device, such as
4           a credit card, unless first authorized by the probation officer.
5           The defendant is required to participate in anger management counseling as
            deemed necessary and approved by the probation officer. The defendant
6           will incur costs associated with such program, based on ability to pay as
            determined by the probation officer.
7
            The defendant is required to participate in a mental health program as
8           deemed necessary and approved by the probation officer. The defendant
            will incur costs associated with such program, based on ability to pay as
9           determined by the probation officer.
10          The defendant may not stalk and/or harrass other individuals to include, but
            not limited to, posting personal information of others or defaming a person's
11          character on the internet.”
12   (ECF 312, 4:12CR00168-001)
13    DEFENDANTS’ PRIOR ACTS OF EXTORTION AND WITNESS TAMPERING
14          24. Defendants rely on keeping their past conduct, criminal convictions, lawsuits,
15   and generally bad reputation out of public view. To accomplish this the defendants
16   regularly use pseodynms, attempt to seal documents and proceedings which may alert the
17   public to information about Defendants that if known, would provide a defense or would
18   affect a fact-finder’s view on their credibility.
19          25. Defendant DARREN falsely, and in order to gain credibility with unknowing
20   law enforcement and laypersons, holds himself out as a former law enforcement officer or
21   government security employee, including at various times claiming an “Ex-cop” or to be
22   an employee of the “Diplomatic Security Service.”
23          26. Victim Zaya: Plaintiffs are informed and believe that, in accordance with
24   Defendants’ common plan and scheme, Defendant DARREN committed one or more acts
25   of extortion against Nadine Zaya:
26          a. Plaintiff is informed and believes, and based thereon alleges, that Defendant
27          DARREN formerly had a dating relationship with Nadine Zaya. At some point
28          between August and October 2002, Defendant DARREN and Zaya, traveled from


                                               Complaint                                       11

                                                  586
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                                   06/25/20PageID.12
                                                08/29/16    PageID.4810
                                                             PageID.4063
                                                                     PagePage
                                                                         Page
                                                                          12 of594
                                                                               16
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1        Southern California to Scottsdale, Arizona. Petitioner took Zaya to a gun store,
2        where he purchased the Rifle, a licensed reproduction of a Fabrique Nationale
3        FAL (FN-FAL) battle weapon.8 At the gun store, petitioner told Zaya he once
4        owned “the exact same gun” but his mother had taken it away from him.
5        b. After Defendant DARREN purchased the Rifle, he made Zaya take pictures of
6        him with it. He also made Zaya pose with the Rifle. Defendant DARREN then
7        took Zaya to a firing range, where he fired the Rifle and showed her how to shoot,
8        hold, and load it. When Zaya held the Rifle, Defendant DARREN reassured her,
9        “It’s okay. Look, it’s fun. . . . You’re going to be okay. I’m an ex-cop. I know how
10       to shoot a gun.” Shortly thereafter, petitioner and Zaya returned to California with
11       the Rifle.
12       c. On October 14, 2002, Laguna Beach police officers visited Defendant
13       DARREN’s apartment to investigate allegations that he had sexually exploited a
14       minor. A police officer entered the apartment, knocked on a bedroom door, and
15       identified himself as a police officer. After some delay, Defendant DARREN
16       emerged from the bedroom and told the officer the room belonged to him. He
17       refused, however, to permit the police officers to search it. Defendant DARREN
18       called Zaya after the police officers left the apartment. He expressed concern that
19       the fully-assembled Rifle would be considered an illegal weapon. Defendant
20       DARREN told Zaya he was going to remove parts from the Rifle to “make it
21       legal” and asked her to keep the parts. The next day, the police officers returned to
22       Defendant DARREN’s apartment with a search warrant. During the search, an
23       officer found the Rifle in petitioner’s bedroom closet. He noticed the Rifle had a
24       detachable magazine and a pistol grip, but that it was missing its bolt carrier group.
25       The officers also found unloaded magazines and pictures of petitioner posing with
26       the Rifle at a firing range. In the pictures, the Rifle contained the bolt and the
27       magazine.
28       d. On November 18, 2002, the District Attorney of Orange County filed a felony


                                           Complaint                                          12

                                               587
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.13
                                                08/29/16    PageID.4811
                                                             PageID.4064
                                                                     PagePage
                                                                         Page
                                                                          13 of595
                                                                               17
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1        complaint charging defendant with one count of possession of an assault weapon
2        (Penal Code § 12280(b)) and one count of receiving stolen property (Penal Code §
3        496, subd. (a)). Shortly after the People filed the complaint, defendant began
4        writing letters to the court. In these letters, defendant claimed the police had
5        illegally seized privileged documents from his apartment. He also criticized the
6        judges presiding over his case and the attorneys assigned to represent him. On July
7        30, 2003 -- after defendant had written six letters to various judges -- the court
8        ordered defendant to stop. The court notified defendant it would "not take action
9        on personal communications from a represented defendant when his case is
10       pending before this court." (People v. Chaker, No. G037362, 2008 Cal. App.
11       Unpub. LEXIS 999, at *4-5 (Ct. App. Feb. 4, 2008).)
12       e. Plaintiffs are informed and believe that in July 2005, the Superior Court of
13       California, County of San Diego issued a restraining order against Darren D.
14       Chaker pursuant to the Domestic Violence Protection Act (Fam. Code, § 6200 et.
15       seq. (the Act)), requiring him to stay away from Nadine Zaya for a five-year
16       period. He appealed from that order on various grounds, contending in part that
17       Zaya's evidence was insufficient to support its issuance; the Court of Appeals of
18       California, Fourth District, Division One, however, rejected his arguments and
19       affirmed the order.
20       f. On June 15, 2006, Zaya filed a request for a temporary restraining order under
21       the Act against Chaker. In her request, Zaya stated under penalty of perjury that
22       Chaker made threatening calls to her and told her he would harm her or her family
23       if she testified in a pending criminal matter against him. (Zaya v. Chaker (Oct. 19,
24       2007, D049874) [nonpub. opn.].)
25       g. Thereafter, on or about July 19, 2006, and then again on or about December 8,
26       2006, Defendant DARREN sent nude photos of Zaya to Zaya’s brother’s
27       employer, which had been taken by Defendant DARREN.
28       27. Victims Frantz: Plaintiffs are informed and believe that the following is true


                                           Complaint                                          13

                                              588
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.14
                                                08/29/16    PageID.4812
                                                             PageID.4065
                                                                     PagePage
                                                                         Page
                                                                          14 of596
                                                                               18
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    regarding Defendant DARREN’s efforts to extort San Diego attorneys James Frantz, Jodi
2    Frantz, and Charles Kim:
3          a. On or abut December 2010, Jodi and James Frantz retained Charles Kim to
4          represent them in a civil protective action. Jodi Frantz sought a restraining order
5          against Defendant DARREN, in Hautaluoma v. Chaker, San Diego Superior Court
6          Case No. 717794.
7          b. Prior to the extortion attempt against James Frantz, Jodi Frantz, and Charles
8          Kim, Plaintiffs are informed and believe that Defendants engaged in acts of
9          vandalism to the property of James Frantz and Jodi Frantz, which they believed to
10         have been perpetrated and intended by Defendant DARREN to intimidate James
11         Frantz and Jodi Frantz and send a message.
12         c. In the preceding months to the extortion attempt, Jodi Franz was the victim of
13         financial fraud in the summer of 2010. Ms. Frantz had caused two of her then
14         current credit cards be de-activated by the issuers due to fraud alerts. The recent
15         event happened in the week preceding the extortion attempt, while she was on
16         vacation. Although Ms. Frantz believed Chaker is responsible for the fraud, she
17         believed that she had no evidence. Ms. Franz reported the thefts to her credit card
18         issuers. She had unauthorized charges on credit accounts from Bank of America,
19         Union Bank, and Nordstrom. In the Summer of 2010, Mr. Frantz had also had his
20         identity stolen, and used for credit card fraud. Although Mr. Frantz believed
21         Chaker was responsible for the fraud, he believed that he had no evidence.
22         d. On December 22, 2010, at 2:54 a.m., Defendant DARREN caused to be sent a
23         fax to the office of Charles Kim. The fax included inappropriate reference to the
24         death of James Patrick Frantz II (the son of James and Jodi Frantz). Also faxed
25         was a complete copy of the County of San Diego Investigative report #1 0-01098
26         that documented the medical examiners death investigation in that case. The fax
27         reference the social security number of Jodi Frantz, and Medical Doctor (Dr.
28         Christine Miller) who treated Jodi Frantz. The fax appears to threaten to publish


                                             Complaint                                           14

                                                589
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.15
                                                08/29/16    PageID.4813
                                                             PageID.4066
                                                                     PagePage
                                                                         Page
                                                                          15 of597
                                                                               19
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1           the social security number and "embarrassing" medical information if Attorney
2           Kim did not agree to Chaker's demands. Also included was an apparent implied
3           threat to file complaints with the state bar association against Charles Kim and
4           James Frantz if they did not comply with his demands.
5           28. Victims Mateo: Nicole Mateo was in a relationship with Defendant
6    DARREN, which resulted in the birth of a daughter. Plaintiff is informed and believes
7    that following the efforts to obtain child support, Defendant DARREN initiated a
8    campaign of harassment against Wendy Mateo and her husband Steven Mateo. Steven
9    Mateo is a deputy constable with the Harris County Constable Office, in Spring, Texas.
10   The Mateo’s hired an attorney by the name of Cynthia Tracy to address Defendant
11   DARREN’s conduct. In response, Defendant DARREN initiated a harassment campaign
12   that included sending sexually explicit photos of Nicole Mateo to the employers of the
13   Mateos, obtaining the email passwords of various Mateo accounts, and sending emails
14   containing sexually explicit material through such accounts. The Mateo’s attorney,
15   Cynthia Tracy, was targetted by a blog page that also made false and defamatory
16   statements about her. Ultimately, Attorney Tracy declined to continue to represent the
17   Mateos due to the aggravation and the expense of dealing with Defendant DARREN.
18
19            DEFENDANTS’ EFFORTS DIRECTED AT PLAINTIFF HEREIN
20          29. Plaintiff operates a website called FEARNOTLAW.COM, and has operated
21   that site since 2005. Fearnotlaw has maintains tens of thousands of unpublished decisions
22   from California’s court of appeals. The unpublished decisions were taken directly from
23   the court of appeals website and posted en masse, at various times. There was no
24   intentional targeting of Darren Chaker or any other subject of the decisions.
25          30. Defendant DARREN in this case initially contacted Plaintiff to demand
26   removal of decisions posted concerning his cases that had been decided by the Court of
27   Appeals. One of those decisions was Zaya v. Chaker, California Court of Appeal Case
28   No. D049874. In Zaya v. Chaker, the Court of Appeal affirmed a trial court’s imposition


                                             Complaint                                         15

                                                590
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.16
                                                08/29/16    PageID.4814
                                                             PageID.4067
                                                                     PagePage
                                                                         Page
                                                                          16 of598
                                                                               20
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    of a five year restraining order against Mr. Chaker imposed pursuant to the Domestic
2    Violence Protection Act, Fam. Code, 6200 et. seq. Defendant DARREN Chaker’s letter
3    to Plaintiff of November 23, 2010 contained Ms. Zaya’s original petition, which alleged
4    that Mr. Chaker posted bogus sex-service advertisements on Craigslist falsely attributed
5    to Ms. Zaya, and had threatened to post compromising photos and videos of Ms. Zaya
6    online if she testified against him in his felony assault-weapon case. Plaintiff did not
7    remove any of the appellate decisions from Fearnotlaw.
8           31. Defendant DARREN thereafter initiated a campaign of harassment and
9    vandalism against Plaintiff McMillan and his family. Usually during the holidays,
10   Plaintiff’s family’s cars would be vandalized. Plaintiff’s brother had the words
11   “fearnotlaw” scratched on the trunk of his BMW. In another instance, the driver’s side
12   mirror of Plaintiff’s brother’s truck was smashed. On that instance, a neighbor that heard
13   the noise, saw a black SUV driving rapidly away. Defendant DARREN owns a Black
14   Dodge Durango. Plaintiff is informed and believes, and based thereon alleges, that
15   Defendant VANIA Chaker accompanied Defendant DARREN during that vandalism.
16          32. Other members of Plaintiff McMillan’s family were attacked as well.
17   Plaintiff’s mother’s car had acid poured on the trunk. Plaintiff’s father’s car had its tires
18   slashed. After each event, Mr. Chaker would send Plaintiff an e-mail wishing him
19   “happy holidays” or making some other statement. It was clear to Plaintiff that Darren
20   Chaker was acknowledging the vandalism by his timing of his emails, and attempting to
21   send a message and intimidate Plaintiff.
22          33. At one point, on or about November 23, 2010, Defendants came to Plaintiff’s
23   home and delivered a letter to his mail box signed by Defendant DARREN. The letter
24   once again demanded that Plaintiff remove the posts concerning Defendant DARREN ’s
25   cases from Fearnotlaw. Thereafter, Defendant DARREN sent Plaintiff McMillan e-mails
26   referring to his dogs – which indicated to Plaintiff that he had come to his house and
27   looked into his back yard.
28          34. Because of Defendants’ activities, Plaintiff McMillan and his family members


                                                Complaint                                        16

                                                  591
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.17
                                                08/29/16    PageID.4815
                                                             PageID.4068
                                                                     PagePage
                                                                         Page
                                                                          17 of599
                                                                               21
                                                                                38 of
                                                                                    of
                                      1196
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1    installed security cameras around their houses. Plaintiff McMillan also installed security
2    cameras on the outside of the commercial building in La Mesa where Plaintiff TMLF has
3    its offices.
4           35. Defendant DARREN also began posting matters about Plaintiffs on the
5    Internet. Initially, he used his own domain names. Later, he began using Plaintiff’s name
6    under Google’s “blogspot” service. Through the years, clients have contacted Plaintiff
7    McMillan to let him know that they have seen the Defendant DARREN ’s posts
8    concerning Plaintiff on the Internet. Chaker’s posts were troubling to Plaintiffs’ clients.
9           36. Postings on Internet gripe sites and consumer review sites began appearing,
10   the posters made negative comments, but used a pseudonym. Plaintiffs are informed and
11   believe based upon the timing and the circumstances that Defendants were posting those
12   comments.
13          37. Because Defendant DARREN had posted about Plaintiff on the Internet,
14   others that had conflicts with Defendant DARREN contacted Plaintiff for advice and
15   representation in dealing with Defendant DARREN . Plaintiff has provided that
16   representation pro-bono, and advanced the expenses.
17          38. Plaintiff ultimately represented Wendy Mateo, one of the Defendant
18   DARREN’s victims, in Chaker v. Mateo, San Diego Superior Court case,
19   37-2010-00094816-CU-DF-CTL, Hon. Timothy B. Taylor, Judge presiding. Wendy
20   Mateo is the mother of Nicole Mateo. Plaintiff is informed and believes that Nicole
21   Mateo had a brief relationship with Darren Chaker, which resulted in the birth of their
22   daughter. Plaintiff began representing Ms. Wendy Mateo, the grandmother of Darren
23   Chaker’s child during the pendency of Darren Chaker’s appeal of the judgment in the
24   Chaker v. Mateo case. That appeal resulted in the published decision of Chaker v. Mateo,
25   209 Cal. App. 4th 1138 (2012). Following that appeal, the Superior Court awarded
26   Plaintiffs attorneys fees. Those attorneys fees awarded have been the subject of judgment
27   debtor examinations and orders from Judge Taylor as discussed below.
28          39. Thereafter, Plaintiff began representing Susan A. in a paternity case filed in


                                              Complaint                                          17

                                                 592
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.18
                                                08/29/16    PageID.4816
                                                             PageID.4069
                                                                     PagePage
                                                                         Page
                                                                          18 of600
                                                                               22
                                                                                38 of
                                                                                    of
                                      1196
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1    the San Diego Superior Court entitled Chaker v. A (the “Paternity Case”). Ms. A had
2    also been in a relationship with Mr. Chaker. Ms. A. sets out her experience with Chaker
3    in her declaration dated July 11, 2013, a true and correct copy of which is attached hereto
4    as Exhibit ‘A’ (Under Seal). Mr. Chaker claims that Ms. A.’s child, L, is the product of
5    that relationship. Ms. A. disputes that Mr. Chaker is the father, biological or otherwise,
6    of her child L.
7           a. On July 12, 2013, Plaintiff McMillan filed a document in the Paternity Case,
8           which included statement from Leesa Fazal, State of Nevada Office of the
9           Attorney General, who had provided her confidential investigative report for
10          submission in the Paternity Case, signed on July 11, 2013. (Exhibit 2, Submitted
11          Under Seal).
12          b. On July 22, 2013, at 8:45 a.m., Officer Fazal appeared in San Diego Superior
13          Court, according to Plaintiff’s subpoena to testify in the Paternity Case regarding
14          the facts alleged in the above mentioned Declaration. Officer Fazal and Plaintiff
15          McMillan appeared before the Superior Court, Judge Gerald Jessop, presiding.
16          The court did not have time to hear the case in the morning, and ordered Ms. Fazal
17          and Mr. Chaker back to court later that afternoon. As they exited the court,
18          Defendant DARREN followed Ms. Fazal and Plaintiff McMillan a short distance,
19          and walked at a quick pace with his mobile telephone in his hand and appeared to
20          take video of them while laughing loudly. At that time, Ms. Fazal had not yet
21          testified, and Defendant DARREN’s behavior was purposefully threatening and an
22          apparent effort to intimidate Officer Fazal, prior to her testimony.
23          c. When Plaintiff McMillan and Officer Fazal returned they were accompanied by
24          licensed private investigator Richard Rivero. Following the hearing Defendant
25          VANIA approached Richard Rivero in a rapid manner, within a couple feet, and
26          asked him what he was doing there and demanded his name. Although he had not
27          been called to testify, Rivero responded that he was a witness, he would speak to
28          Defendant VANIA in the presence of court personnel, and attempted to pass her.


                                              Complaint                                         18

                                                 593
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.19
                                                08/29/16    PageID.4817
                                                             PageID.4070
                                                                     PagePage
                                                                         Page
                                                                          19 of601
                                                                               23
                                                                                38 of
                                                                                    of
                                      1196
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1        Defendant VANIA blocked his and Plaintiff McMillan and Officer Fazal’s exit, so
2        Plaintiff, Rivero and Fazal returned to the court room, and Defendant VANIA
3        followed. Thereafter, the courtroom deputy ordered Defendant VANIA to leave,
4        and to leave Rivero, Plaintiff McMillan and Ms. Fazal alone. The courtroom
5        deputy allowed Rivero, Plaintiff McMillan and Ms. Fazal, and shortly therafter,
6        confirmed that Defendant VANIA was no awaiting them outside the courtroom.
7        d. Plaintiff McMillan, Officer Fazal and Rivero exited the courtroom, then entered
8        the elevator to descend to the lobby. After exiting the elevator and entering the
9        lobby. Defendant DARREN blocked the doorway exit and in a loud and
10       commanding voice demanded that Officer Fazal be arrested for being armed. He
11       wanted to place her under citizen's arrest. Officer Fazal was escorted to the side
12       while the deputies determined that there were no grounds to arrest. While they
13       waited, the Defendant VANIA entered the location and brushed by Rivero as she
14       entered the elevator.
15       e. Rivero left the building with Officer Fazal, Rivero then noted Defendant
16       VANIA’s black SUV following him at a high speed. Rivero pulled to the side.
17       Defendant VANIA stopped her SUV in the middle of the street adjacent to
18       Rivero’s vehicle. Rivero felt that Defendant VANIA was attempting to intimidate
19       him. Rivero noticed Defendant DARREN hunched down in the passenger’s seat so
20       as to not be identified. Such chase was intended, and did intimidate Officer
21       FAZAL in that it gave her additional concern regarding participating in the legal
22       proceedings.
23       f. On July 24, 2013, and thereafter during the pendency of the Paternity Case,
24       Plaintiff provided the United States materials and information regarding Defendant
25       DARREN, specifically that Defendant DARREN had a “go kit” which included a
26       passport under his identity “David Hunter”. Which information Plaintiff
27       understands resulted in the revocation of Defendant DARREN ’s pre-trial release.
28       During Defendant DARREN’s resulting incarceration, the Chaker v. A case was


                                          Complaint                                          19

                                             594
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.20
                                                08/29/16    PageID.4818
                                                             PageID.4071
                                                                     PagePage
                                                                         Page
                                                                          20 of602
                                                                               24
                                                                                38 of
                                                                                    of
                                      1196
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1           dormant.
2           g. During his incarceration, Darren Chaker’s mother Nicole Chaker appeared at
3           least once at a hearing in that case.
4           h. Plaintiff is informed and believes, and based thereon alleges that in that interim
5           period Defendant DARREN was incarcerated. Also during that time, i.e., on or
6           about January 21, 2014, Plaintiff received at least one letter from Mr. Chaker that
7           appeared to have been sent via Defendant NICOLE. (Exhibit 4, Submitted Under
8           Seal). The letter contained the following threat:
9           “You never considered the fact that due to your conduct your client may
10          suffer. I should remind you the First Amendment is a 2 way street and I
11          have the right to express my opinion as well.”
12          i. On February 2, 2014 Defendant NICOLE filed documents in the paternity case
13          on behalf Defendant DARREN, including executing a declaration in his name.
14          Within the letter to the Court attached to the declaration, Defendant NICOLE
15          repeats the implied threats to reveal Susan A’s applications for government
16          benefits. (Exhibit 5, Submitted Under Seal).
17          j. Because Mr. Chaker was designated a vexatious litigant, his case was dismissed
18          for his failure to obtain a pre-filing order. Mr. Chaker has exhausted his appeals in
19          that matter.
20          40. On or about September 18, 2014, during the pendency of the Paternity Case,
21   Plaintiff McMillan received an e-mail from Darren Chaker, a true and correct copy of
22   which is attached hereto as (Under Seal) Exhibit ‘B’. Within that letter, Mr. Chaker
23   threatens further actions against Plaintiffs unless he convinced his client Susan A to grant
24   him concessions in the paternity case. Plaintiff has excerpted the relevant portions below
25   (with redactions and substitutions to protect the privacy of third parties):
26          9/18/14
27          Time Sensitive – Reply Required by 8PM Today
28          Confidential Settlement Communication – California Evidence Code §
            1142

                                               Complaint                                20

                                                    595
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.21
                                                08/29/16    PageID.4819
                                                             PageID.4072
                                                                     PagePage
                                                                         Page
                                                                          21 of603
                                                                               25
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1        Dear Scott, S, and C,
2        This is a request to settle pending claims against C, and Susan A. First,
         allow me to clarify this letter is constitutionally protected communication. "
3        'As a general rule, even if subject to some exceptions, what you may do in a
         certain event you may threaten to do, that is, give warning of your intention
4        to do in that event, and thus allow the other person the chance of avoiding
         the consequences' "]. Equally well established is the fact that "[o]ne
5        legitimate purpose of a demand letter is to intimidate." (Subrin & Main, The
         Integration of Law and Fact in an Uncharted Parallel Procedural Universe
6        (2004) 79 Notre Dame L.Rev. 1981, 2003 (hereafter Subrin & Main).)
7        As you know the pending case concerning my son, L, Chaker v. A, San
         Diego Superior Court Case No. D543061 and, thankfully to Scott the case
8        was stayed, in lieu of filing a motion to dismiss – since I had no right to
         personally appear in the case while in custody. Scott, I do thank you for the
9        stay and that is why I never opposed the motion while in custody.
10                                             * **
         To keep it simple, here’s my offer:
11                                             ***
12
              * I will remove all blogs I have control over concerning Scott or his
13       firm, and am able to remove the complaintsboard.com posting and if
         unable to remove pissedconsumer.com, I will pay up to $500 to have SEO
14       performed to push down the links as I know these sites continue to hurt the
         practice. (I understand I have negative comments about me, however I do
15       not need to impress clients with my reputation. I can assure you at least
         one client a year doesn’t call due to reviews – costing you and your
16       family money.)
17            * No blogs concerning S or C’s company, have been posted, but
         various items have been set to self-publish in the event I am unable to
18       access the blog and push back the self-publish date another two weeks.
19       In short I am agreeing to things a court would not order, but am trying to be
         amicable.
20
         Scott, you once said to me “I win every time we go to court”. I think you
21       mischaracterize what winning is to me. In court, it is not the court ruling.
         It’s the time spent away from your office. Taking up your time and
22       associate’s time. Taking food out of your kids mouth. Staying up late, or
         ignoring kids and wife while spending time on litigating the instant case.
23       Costing you clients – at least one person a year doesn’t call you based on
         my blogs – which have been updated recently,
24       scott-mcmillan-law.blogspot.com. Your reputation and past performance,
         likely increases the likelihood of opposing counsel’s decision to fight a
25       pending case longer - which costs you more time and money. Out of court,
         I have a few more victories than you and will always prevail in that
26       respect, and win by having you and family spending money on
         cameras, watching the monitors, looking out the window, and drawing
27       drapes – of course there’s no proof I have not done a thing nor do I
         admit such, but if you think I am responsible, indeed I win every day.
28                                            ***


                                          Complaint                                       21

                                               596
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.22
                                                08/29/16    PageID.4820
                                                             PageID.4073
                                                                     PagePage
                                                                         Page
                                                                          22 of604
                                                                               26
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    (Exhibit ‘B’, Filed Under Seal)
2     Hacking Twitter and Unauthorized Access to Plaintiff McMillan’s Paypal Account
3           41. Plaintiffs believe that Defendant DARREN Chaker has attempted to hack into
4    Plaintiff’s twitter and paypal accounts. Specifically,
5           a. On October 22, 2014, Plaintiff McMillan received a notice from Paypal of
6           “unusual activity” on his account. Plaintiff hadn’t attempted to sign in to his
7           Paypal account at that time. A true and correct copy of that email is attached
8           hereto as Exhibit ‘C’. Due to the timing of the notice, Plaintiff is informed and
9           believes that it was Darren Chaker that hacked into Plaintiff’s account.
10          b. On November 19, 2014, Plaintiff received a notice of a “suspicious sign in
11          detected on [his] twitter account.” Plaintiff hadn’t attempted to sign in to his
12          twitter account. A true and correct copy of that email is attached hereto as Exhibit
13          ‘D’. Due to the timing of the notice, Plaintiff is informed and believes that it was
14          Darren Chaker that hacked his account.
15          42. Following that threat of September 18, 2014, Mr. Chaker began posting
16   information on the scott-mcmillan-attorney.blogspot.com site that he operated that,
17   among other things, Plaintiff had molested his daughter. The first such statement
18   appeared on Thanksgiving Day, i.e., Thursday, November 27, 2014. A copy of that post
19   is attached hereto as Exhibit ‘E.’ Plaintiff had not authorized Defendants to use
20   Plaintiff’s name in any manner. Plaintiff had not molested his daughter. That webpage
21   has since been removed.
22          43. In order to improve the likelihood of the search engines indexing his site to
23   Plaintiff’s name, Defendant DARREN optimized that page, Exhibit ‘E’, for search
24   engines with “labels” including “4760-Nebo, attorney-sex-offender, el-
25   cajon-sex-offender, la-mesa-sex-offender. Rebecca-McMillan, scott-mcmillan-law,
26   www.mcmillanlaw.us.”
27          44. Mr. Chaker also operated a Blogger site at
28   http://mcmillanlawfirm.blogspot.com/. Plaintiff had not authorized Defendant DARREN


                                              Complaint                                         22

                                                 597
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.23
                                                08/29/16    PageID.4821
                                                             PageID.4074
                                                                     PagePage
                                                                         Page
                                                                          23 of605
                                                                               27
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    to use the firm’s name in this manner. He published similarly false, scandalous, libelous
2    material on that site.
3           45. On or about November 28, 2011, Defendant DARREN Chaker posted on the
4    Blogger site at scott-mcmillan-attorney.blogspot.com, a post entitled “Maura Larkins
5    Linked to Sex Abuse.” Within that post Chaker repeats his false statements about
6    Plaintiff, and also recited a completely fabricated association between Plaintiff and Ms.
7    Larkins, who is another individual with whom Mr. Chaker has conflict. A true and correct
8    copy of that post is attached hereto as Exhibit ‘G’.
9                                         Spoofing Emails
10          46. On December 3, 2014, Plaintiff received a “spoofed” or bogus email that
11   purported to have been sent from Plaintiff’s own e-mail address “scott@mcmillanlaw.us”
12          a. The email stated:
13          “Scott McMillan and family are child molesters per a recent report,
            http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-
14          la-mesa.html”
15          b. A true and correct copy of the email is attached as Exhibit ‘H.’
16          c. A true and correct copy of the email with the header is attached as ‘I’.
17                                          Google Places
18          47. On December 4, 2014, a “Darren C.” posted a 2 star review for the McMillan
19   Law Firm, APC on Google places, wherein he stated:
20
            “I wish I knew of his interests in children, http://scott-mcmillan-
21          law.blogspot.com/2014/11/scott-mc.”
22          a. A screen shot of Plaintiff’s administration page for Google Places is attached
23          hereto as Exhibit ‘J’.
24          b. That post was later deleted. In light of the timing of that e-mail, the use of the
25          name “Darren C.”, and that the identical content was posted on his blogspot sites,
26          Defendant DARREN was the poster.
27          48. Defendant DARREN. Chaker sent e-mails to many members of the local legal
28   community, accusing Plaintiff of molesting his daughter. A copy of one such email


                                              Complaint                                         23

                                                 598
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.24
                                                08/29/16    PageID.4822
                                                             PageID.4075
                                                                     PagePage
                                                                         Page
                                                                          24 of606
                                                                               28
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    dated December 6, 2014 is attached hereto as Exhibit ‘K’. That e-mail was sent to
2    Andrew Griffin, an attorney for an opposing party in a bankruptcy case where Plaintiff
3    represented a creditor, who in turn, forwarded the e-mail to Plaintiff on December 8,
4    2014.
5            49. On December 22, 2014, at 1:57 a.m., Defendant DARREN sent Plaintiff an e-
6    mail with the subject line “Pending Paternity Case”. A copy of that email is attached
7    hereto as Exhibit ‘L.’
8            50. On December 23, 2014, at approximately 10:08 a.m., Plaintiff received an e-
9    mail from Defendant DARREN Chaker entitled “Request to See Son.” A copy of that
10   email is attached hereto as Exhibit ‘M’.
11           Threats to E-mail Colleagues in the San Diego East County Community
12           51. On December 23, 2014, Plaintiff received an e–mail from Defendant
13   DARREN where he stated:
14           “Mr. McMillan, the reported conduct I have found is very improper and
             disgusting. I have been forced to notify numerous members of the bar about
15           my blog concerning your firm, most recently the Foothills Bar Association,
             and will start naming your daughter, I believe a former Ms. El Cajon, as the
16           likely victim. I hope you have ceased your conduct and notice to hundreds
             of people has done the public some good.
17
             Dear XXXXXX,
18
             Sex offender. As a member of the bar and likely parent, I would hope notice
19           of a report concerning La Mesa Attorney Scott McMillan, who also
             operates McMillan Academy of Law without a single applicant/graduate,
20           http://campus.lawdragon.com/schools/mcmillan-academy-of-law/ was
             reported to take part in sexual molestation of a minor. See,
21           http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-la-mesa.ht
             ml
22
             The report provides great detail and hope you pass this email along, as I
23           have distributed it to 200 attorneys in San Diego. Scott McMillan is also a
             documented family friend of Kenneth Bourke who was also arrested for
24           child molestation – see report -
             http://scott-mcmillan-law.blogspot.com/2014/09/scott-mcmillan-molest-la-
25           mesa.html
             Happy Holidays to all.
26           Darren Chaker”
27           a. A copy of that email is attached hereto as Exhibit ‘N’.
28           52. On or about June 8, 2015, Google removed the scott-mcmillan-attorney.


                                              Complaint                                       24

                                                 599
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.25
                                                08/29/16    PageID.4823
                                                             PageID.4076
                                                                     PagePage
                                                                         Page
                                                                          25 of607
                                                                               29
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    blogspot.com site, which defendants had created without Plaintiffs authorization.
2           53. On or about June 16, 2015, Google removed the mcmillanlawfirm.
3    blogspot.com site, which defendants had created without Plaintiffs authorization.
4                                    COMPLAINTSBOARD.COM
5           54. Since 2011 and through the present, a person that Plaintiff McMillan believes
6    to be Defendant DARREN based on identical content posted on his website and Mr.
7    Chaker’s statements above of September 18, 2014 that he is “able to remove the
8    complaintsboard.com posting”, has posted derogatory and defamatory statements about
9    Plaintiff on the Internet at:
10   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
11   ml#comments
12          a. A true and correct copy of that post as published is attached hereto as Exhibit
13          ‘O.’
14          b. The poster is identified as “Tracy Law Houston.” Cynthia Tracy, Attorney at
15          Law, P.C., a family law attorney in Houston, Texas, formerly represented Nicole
16          Mateo in the custody and child support case against Darren Chaker.
17          55. Despite the removal of the blogspot sites, on August 23, 2015, a poster using
18   the name and search term “scott-mcmillan-la-mesa” posted the following as a comment to
19   the post at http://www. complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-
20   c571484.html#comments
21          a. “I located the police report about Scott McMillan, La Mesa, Attorney reportedly
            molesting children. I also found he operates his own law school out of a small, run
22          down office near the train tracks, but in the same breath says he's a leading law
            firm. With this reputation, I cannot imagine such is true.”
23          b. Attached as an image to the comment, he re-posted his November 27, 2014
24          post, i.e., the content at Exhibit ‘B’ herein, the repost of which is attached at
25          Exhibit ‘P.’
26          56. On September 16, 2015, a poster using the name and search term
27   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
28   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht


                                               Complaint                                        25

                                                  600
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.26
                                                08/29/16    PageID.4824
                                                             PageID.4077
                                                                     PagePage
                                                                         Page
                                                                          26 of608
                                                                               30
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    ml#comments
2          a. “Scott McMillan, McMillan Law Firm, sued the hardworking Sheriff over his
           Facebook Account. The law settled for about nothing. It is unfortunate law
3          enforcement need to pay out money to defend such nuisance lawsuits, when that
           money should be going to hiring more officers, and buying newer equipment. With
4          about 60 loses in the Court of Appeal docket, astonishing he is still in office.”
5          b. That case – Karras v. Gore, U.S. D.C. So. Dist. Cal., 14cv2564-BEN-KSC –
6          was settled for a payment of attorneys fees plus the token $20. Thus, the above
7          statement is false, as the Sheriff paid attorneys fees and agreed to change practices.
8          c. Attached as an image to the comment, he posted a partial news article, a copy of
9          which is attached as Exhibit ‘Q.'
10         57. Also on September 16, 2015, a poster using the name and search term
11   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
12   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
13   ml#comments
14         a. “McMillan Academy of Law, run by Scott McMillan appears to have not had a
           single student go through his law firm, where the class is shared in the same space
15         as the attorney, oh and also Dean McMillan (also an attorney working out of same
           office. According to LawDragon, no one has ever graduated or even applied to that
16         law school.”
17         b. Attached as an image to the comment, he posted a webpage print-out, a copy of
18         which is attached as Exhibit ‘R.'
19         58. Also on September 16, 2015, a poster using the name and search term
20   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
21   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
22   ml#comments
23         a. “McMillan sued by Yelp! for posting his own reviews. Read the story in detail,
24         sad set of circumstances, especially when you need to create your own reviews.”
25         In truth and in fact, Plaintiffs had not posted their “own reviews.” Plaintiffs had
26         represented Julian McMillan, who had been sued by Yelp.
27
           b. Attached as an image to the comment, he posted a news article, a copy of which
28
           is attached as Exhibit ‘S.' Plaintiff did not post his own reviews. Indeed, in that

                                             Complaint                                           26

                                                601
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.27
                                                08/29/16    PageID.4825
                                                             PageID.4078
                                                                     PagePage
                                                                         Page
                                                                          27 of609
                                                                               31
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1          case, Plaintiff was not accused by Yelp of posting comments. Rather, Plaintiff
2          represented another attorney, Julian McMillan, in the case. Chaker edited out the
3          part that would have otherwise explained that Plaintiff was not the Defendant
4          DARREN in that action, but rather just the attorney. Contrary to Defendants’
5          suggestion, Plaintiff was partially successful at the time of the posting of the
6          article. Plaintiff won a motion to change venue, and counsel for Yelp paid
7          Plaintiffs attorneys fees.
8          59. Most recently, on February 9, 2016, a poster using the name and search term
9    “mcmillan-law-firm” posted the following as a comment to the post at
10   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
11   ml#comments
12         a. “Williams v. The Superior Court of San Diego County/Nordstrom, Inc., Court
           of Appeal Case Number D068765. shows Scott McMillan, McMillan Law Firm in
13         Las Mesa, LOST ANOTHER case. This one where Nordstrom is vigorously
           defending itself against allegations of attorney, law professor, and law school dean
14         (Yes, Scott McMillan is all three of those titles since he runs a law school,
           McMillan Academy of Law, out of two story office near the train tracks. Despite
15         not a single student has graduated, or appears to have attended, no one has taken
           the bar exam either. Nonetheless, this is another example of Scott McMillan losing
16         another case - although he claims to be a "leading" San Diego attorney.”
17         b. Attached as an image to the comment, the docket from , a copy of which is
18         attached as Exhibit ‘T.’
19         c. This statement is also false, as the court of appeals allowed the appeal to
20         proceed in light of the law regarding final, appealable orders.
21         d. Further, the Court entered an order of stipulated reversal of such appeal.
22         60. On or about March 27, 2016, Plaintiff McMillan identified a post using
23   Plaintiff TMLF’s logo and created in a manner that suggested it was posted by Plaintiff or
24   someone else from his firm. Plaintiff did not authorize Defendant DARREN or anyone
25   else to use the McMillan Law Firm’s logo in this manner. The latest entry was posted on
26   or about December 17, 2015. Specifically, a poster using the name and search term
27   “scott-mcmillan-law-firm-la-mesa” setup a bogus page entitled “The McMillan Law Firm
28   Customer Care Service” using The McMillan Law Firm, APC logo at


                                             Complaint                                         27

                                                602
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.28
                                                08/29/16    PageID.4826
                                                             PageID.4079
                                                                     PagePage
                                                                         Page
                                                                          28 of610
                                                                               32
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    http://www.complaintsboard.com/the-mcmillan-law-firm-b121166
2           a. A true and correct copy of that page is attached hereto as Exhibit ‘U.’
3           Notably, the bogus “customer care service” repeats the same false allegations as
4           previously made by Chaker. i.e., that Plaintiff molested his daughter.
5           b. On December 8, 2015 – Plaintiff’s birthday – Mr. Chaker emailed Plaintiff the
6           following statement:
7           Good afternoon Scott,
8           I have been unable to locate a TM/Copyright for the domain
            mcmillanlaw.us or for your law firm with the USPTO or U.S. Copyright
9           Office. If there is such, kindly advise prior to 7PM today. If I do not receive
            a response, it will be presumed there is no such TM/Copyright. Prior to
10          posting additional material, I will extend this courtesy to you.
11          Also, I have updated the material on
            http://scott-mcmillan-law.blogspot.de/p/scott-mcmillan-attorney-la-mesa.ht
12          ml
13          I have also copied Maura Larkins on this email.
14          Best regards,
15          Darren”
16          c. A true and correct copy of the email dialog that occurred December 8, 2014, are
17          attached as Exhibit ‘V’.
18          d. Plaintiffs had not authorized the use of their name, the logo, or creation of a
19          customer care site on Complaintsboard.com.
20          61. Following Mr. Chaker’s posts to complaintsboard.com, individuals solicited
21   Plaintiffs purporting to be able to have the ability to remove the posts. They wanted to
22   charge Plaintiffs $4,800 to remove defendants posts.
23                                  PISSEDCONSUMER.COM
24          62. Since 2011 and through the present and as late as February, 2016, a person
25   using a pseudonym, that Plaintiff McMillan believe to be Defendant DARREN, or the
26   other defendnats, based on the content and Defendant DARREN’s statements above of
27   September 18, 2014 referring to the “pissedconsumer.com” website, has posted
28   derogatory and defamatory statements about Plaintiff on the Internet at the website


                                              Complaint                                          28

                                                 603
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.29
                                                08/29/16    PageID.4827
                                                             PageID.4080
                                                                     PagePage
                                                                         Page
                                                                          29 of611
                                                                               33
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    domain “PISSEDCONSUMER.COM”:
2             63. A Google search of “scott mcmillan site:pissedconsumer.com” returns some
3    3200 results. Most of those results appear to have been posted in 2015 and 2016.
4    Plaintiffs believe that defendants have posted all of those entries. They have done so
5    either anonymously or using some variation of the key words: “The Mcmillan Law Firm -
6    La-Mesa-Attorney-Scott-McMillan”
7             64. Unlike Complaintsboard.com, Pissedconsumer.com does not remove the
8    information posted by persons such as Defendant DARREN. Specifically, the terms of
9    service of Pissedconsumer states:
10            “5. Removal of Information
              By posting information on PC, you understand and agree that the material
11            will not be removed even at your request. You shall remain solely
              responsible for the content of your postings on PC.”
12
     http://www.pissedconsumer.com/tos.txt.
13
              65. The Pissedconsumer.com post that Chaker started on November 3, 2011, is
14
     attached hereto as Exhibit ‘W’. Within that post he misrepresents Plaintiff’s win/loss
15
     ratio.
16
              66. On August 23, 2015, Defendant DARREN made the false allegation, accusing
17
     Plaintiff of child molestation, a copy is attached hereto as Exhibit ‘X’.
18
              67. On December 4, 2015, Defendant DARREN posted a review entitled “The
19
     Mcmillan Law Firm - Scott McMillan Law Firm - La Mesa - Malpractice” which falsely
20
     accuses Plaintiff of malpractice, attached hereto as Exhibit ‘Y.’ Chaker falsely states that
21
     an appeal in Williams v. Nordstrom, Inc. was to be dismissed, and termed it
22
     “malpractice.” In fact, the appeal was not dismissed and ultimately resulted in a
23
     stipulated order of reversal.
24
              68. On February 11, 2016, Defendant DARREN posted a review “The Mcmillan
25
     Law Firm - Scott McMillan Law Firm La Mesa,” which is attached hereto as Exhibit ‘Z.’
26
     Chaker made statements that were knowingly false as he stated that the “the Court of
27
     Appeal DENIED the petition after forcing the defendant incur huge amounts of attorney
28
     fees.” In fact, the defendant did not file a response. Chaker had no basis to suggest that

                                              Complaint                                           29

                                                 604
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.30
                                                08/29/16    PageID.4828
                                                             PageID.4081
                                                                     PagePage
                                                                         Page
                                                                          30 of612
                                                                               34
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    attorneys fees were incurred resulting from the filing of the petition. Chaker further
2    falsely stated Plaintiff’s record as “almost 80 under his belt and a hand full of wins.”
3                                           Current Posts
4           69. To date Defendant DARREN continues to post material on his website in a
5    manner that is intended to optimize his websites to respond to search engine indexes with
6    his name. Specifically, he continues to use the tags “mcmillan-associates-la-mesa”,
7    “scott-mcmillan-la-mesa”:
8           70. On March 29, 2016, Plaintiff accessed
9    http://darren-chaker.blogspot.com/search/label/scott-mcmillan-la-mesa and retrieved the
10   attached article, a true and correct copy of which is attached hereto as Exhibit ‘AA’
11   which incorporates the use of the tags.
12          71. On March 29, 2016, Plaintiff accessed http://darrenchaker.us/ and retrieved
13   the attached article bearing a date of December 8, 2015, a true and correct copy is
14   attached hereto as Exhibit ‘BB’, which incorporates the use of the tags.
15          72. On March 29, 2016, Plaintiff McMillan accessed http://darrenchaker.org/ and
16   retrieved the attached article bearing a date of January 23, 2016, a true and correct copy is
17   attached hereto as Exhibit ‘CC’, which incorporates the use of the tags.
18                          Defendant DARREN’s Use of Pseudonyms
19          73. Plaintiff is informed and believe that Darren Chaker also uses the pseudonym
20   “Luis Perdomo.” On March 29, 2016, Plaintiff accessed
21   https://plus.google.com/1048021677 37415969641/posts/HySqAKY7jYR and retrieved
22   the attached page, a true and correct copy is attached hereto as Exhibit ‘DD’,
23   incorporating the same allegations and artwork published by Defendant DARREN
24   Darren Chaker.
25                Defendant DARREN admits that he knows that he is barred
26                               from posting defamatory material.
27          74. On January 22, 2016, Defendant DARREN Chaker appeared for a judgment
28   debtors exam. He had been previously ordered to produce the names of the domains that


                                               Complaint                                        30

                                                 605
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.31
                                                08/29/16    PageID.4829
                                                             PageID.4082
                                                                     PagePage
                                                                         Page
                                                                          31 of613
                                                                               35
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    he holds. On the record in the Chaker v. Mateo case, he admitted that he had such logins
2    and that his use of those could result in the revocation of his supervised release.
3    [Transcript, p. 9] Defendant DARREN was also ordered to provide the identifying
4    information as to Internet domains that he owns. A copy of relevant portions of the
5    transcript is attached hereto as Exhibit ‘EE’.
6            75. Defendant DARREN did not appear as ordered on March 11, 2016, in the
7    Superior Court to provide the information. As recited in the transcript of January 22,
8    2016, Defendant DARREN was aware that he was required to appear at the continued
9    examination. [Exh. EE, page 31]
10           76. On March 11, 2016 Defendant DARREN failed to appear for his continued
11   judgment debtor’s examination. Judge Taylor issued a bench warrant for his appearance,
12   which remains outstanding. A copy of that bench warrant is attached hereto as Exhibit
13   ‘FF’.
14           77. On March 11, 2016 the Superior Court in the Chaker v. Mateo case has
15   ordered the appointment of a receiver to take possession of Mr. Chaker’s personal
16   property, including his domain names for ultimate sale in order to satisfy the judgment.
17   Despite orders to do so, Defendant DARREN has not complied with the orders of the
18   Superior Court.
19            Defendant DARREN has created false accounts with Plaintiff’s name
20           78. Defendant DARREN created accounts using Plaintiff’s name and the name of
21   the McMillan Law Firm. One of those accounts is on Slideshare.net, and reflected on
22   Exhibit ‘GG’. Plaintiff surmise that he has prepared that account in order to upload his
23   defamatory material that he intends to falsely attribute to him. Plaintiff believes that
24   Defendant DARREN made that account because it is associated by Slideshare with an
25   account under the name of David Gingras, another attorney who successfully represented
26   a victim of Defendants and whom Chaker has also targeted for harassment.
27           Defendants have inflicted damage upon both Plaintiffs and their clients.
28           79. Attorneys rely upon their reputation in the community and before the courts


                                              Complaint                                         31

                                                 606
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.32
                                                08/29/16    PageID.4830
                                                             PageID.4083
                                                                     PagePage
                                                                         Page
                                                                          32 of614
                                                                               36
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    that they practice in. Defendant DARREN’s outrageous lies which he has published have
2    injured Plaintiffs’ practice. Opposing counsel in other, unrelated cases have mentioned
3    the existence of the posts. Clients have mentioned the existence of the posts and their
4    content. Plaintiff McMillan believes that jurors that Plaintiff has tried cases in front of
5    have accessed the posts and taken them into account in determining the cases. Thus,
6    Defendants threats made on September 18, 2014 have borne out. Plaintiffs have invested
7    substantial time in developing Plaintiff McMillan’s reputation as a zealous advocate for
8    his clients, and remaining consistent to the duties of an attorney as set forth in Business
9    and Professions Code section 6068, and particularly that set forth in subsection (h):
10          “Never to reject, for any consideration personal to himself or herself, the
11          cause of the defenseless or the oppressed.”
12   (Bus. & Prof. Code 6068(h).)
13          80. Susan A. has been, prior to representation by Plaintiffs herein, defenseless and
14   oppressed by Defendants.
15          81. Wendy Mateo was defenseless and was oppressed by Defendants.
16          82. Plaintiff understood that Defendants could resort to attacks of Plaintiff
17   McMillan’s character when Plaintiff continued to represent Susan A despite Defendants
18   threats to engage in libel against him. Defendants then performed on their threats, and has
19   engaged in the forewarned attacks against Plaintiff – and later Plaintiff’s family members
20   – following January 21, 2014, and September 18, 2014.
21                                    FIRST CLAIM FOR RELIEF
22           Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1962(c)
23                                      (Against All Defendants)
24          83. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82 as
25   though fully set forth herein.
26          84. On July 22, 2013 Defendants DARREN and VANIA used threats and violence
27   in an attempt to intimidate a witness to the Paternity Case.
28          85. On January 21, 2014, Defendants DARREN and NICOLE committed


                                               Complaint                                           32

                                                 607
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.33
                                                08/29/16    PageID.4831
                                                             PageID.4084
                                                                     PagePage
                                                                         Page
                                                                          33 of615
                                                                               37
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    extortion under 18 U.S.C. § 1961(1), by threatening to reveal alleged reporting
2    discrepancies to tax authorities contained in private and confidential tax information that
3    he had obtained regarding her. On January 21, 2014, Defendant DARREN was
4    incarcerated outside the State of California, and was unable to send the extortionate letter,
5    which was sent by certified mail, from San Diego.
6           86. On or about September 14, 2014, while Defendant DARREN was under
7    home release Bureau of Prisons custody, Defendant DARREN committed extortion under
8    18 U.S.C. § 1961(1) by threatening to stalk and defame Plaintiff if he continued to
9    represent Susan A in the Paternity Case consistent with Plaintiff’s professional duties
10   owed to his client. Defendant DARREN was engaged in threatening behavior, i.e, to
11   defame and harass Plaintiff to deprive Plaintiff of his peace of mind, his enjoyment of the
12   proceeds of the goodwill attributable to his name and reputation, if Plaintiff did not
13   consent to Defendant DARREN ’s unlawful demands.
14          87. Defendants are an “enterprise” under U.S.C. § 1961(4).
15          88. Defendants have engaged in a pattern of racketeering activity as that term is
16   used in U.S.C. § 1961(5).
17          89. Defendants have violated 18 U.S.C. § 1962, which states:
18          “(c) It shall be unlawful for any person employed by or associated with any
19          enterprise engaged in, or the activities of which affect, interstate or foreign
20          commerce, to conduct or participate, directly or indirectly, in the conduct of
21          such enterprise’s affairs through a pattern of racketeering activity or
22          collection of unlawful debt.”
23          90. The above conduct caused injury to Plaintiffs’ property and business. It made
24   it difficult for Plaintiffs to obtain clients and to recruit employees, the conduct impaired
25   Plaintiffs’ reputation in the legal community, caused lost income that Plaintiffs expected
26   to be paid, and were not, and caused Plaintiff McMillan vexation and diverted his
27   attention from his personal and professional obligations.
28          91. The above violations were made in furtherance of financial gain.


                                              Complaint                                             33

                                                  608
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.34
                                                08/29/16    PageID.4832
                                                             PageID.4085
                                                                     PagePage
                                                                         Page
                                                                          34 of616
                                                                               38
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1           92. Defendants had a discernable structure apart from the predicate acts, i.e., they
2    are biologically related.
3           93. The acts of Defendants herein were intended to unlawfully compel the targets
4    of the Defendants to take actions which were against their own interests, in order to avoid
5    the dissemination of information that was false, that was private, and that would
6    stigmatize the Defendants’ targets, including Plaintiffs herein.
7           94. The acts of Defendants as described herein, were willful and malicious in that
8    Defendant DARREN intentionally and deliberately retained monies owed to Plaintiff, and
9    in order to avoid the negative consequences of Plaintiffs’ advocacy, Defendants and each
10   of them engaged in extra-judicial conduct intended to dissuade Plaintiff from representing
11   his clients Wendy Mateo and Susan A.
12          95. As a result of Defendants bad acts and as Defendants’ objective in committing
13   such acts, Plaintiffs were damaged including but not limited to damages from losing
14   prospective clients and the revenue expected from them, Plaintiffs’ trademarks are
15   impaired as a result, and other damages. Plaintiffs’ damages were severe and extensive,
16   resulting in losses to Plaintiffs in an amount according to proof at trial.
17          96. Plaintiffs requests damages in an amount not less than $2,000,000, in an
18   amount to be trebled and attorneys fees according to 18 U.S.C. § 1964(c).
19          97. Plaintiff requests injunctive relief to prevent prevent and restrain violations of
20   section 1962 by issuing appropriate orders, including, but not limited to: ordering
21   Defendants divest themselves of any interest, direct or indirect, in any enterprise;
22   imposing reasonable restrictions on the future activities or investments of Defendants,
23   including, but not limited to, prohibiting Defendants from engaging in the same type of
24   endeavor as the enterprise engaged in, the activities of which affect interstate or foreign
25   commerce; or ordering dissolution or reorganization of any enterprise, making due
26   provision for the rights of innocent persons, including Plaintiff herein.
27          98. Plaintiffs requests that the Court revoke Defendant DARREN Chaker’s
28   supervised release, and order him to remove the posts, or execute such documents that


                                               Complaint                                           34

                                                  609
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
                               Document     Filed
                                             Filed
                                        1 Filed   09/23/22
                                                   06/25/20PageID.35
                                                08/29/16    PageID.4833
                                                             PageID.4086
                                                                     PagePage
                                                                         Page
                                                                          35 of617
                                                                               39
                                                                                38 of
                                                                                    of
                                      1196
                                       100


1    would compel the removal of those posts, all of which he has published in contempt of
2    the Court’s order for supervised release.
3           99. Plaintiffs requests that the Court also issue an order to Darren Chaker
4    requiring him to request the removal of his posts from the Internet forums in a form that
5    may be published to the third parties, i.e., Pissedconsumer.com and
6    Complaintsboard.com, that have published defendants’ harrassing and defamatory posts.
7    Plaintiff request that the Court make a finding that such posts are contrary to the
8    conditions of Defendant DARREN’s supervised release and thereby unlawful. With such
9    a finding, and an order that Chaker remove those post, those sites would willingly do so.
10          100. Plaintiffs requests that the Court also issue an order with findings such that
11   can be published to those search engines that have indexed the posts, i.e., Google, Yahoo,
12   and Bing, and findings that such posts were placed by Defendant DARREN contrary to
13   the Judgment in this case and the Court’s terms of Defendant DARREN ’s supervised
14   released. And that Defendant DARREN be ordered to request the removal of such posts
15   from such search indices. Plaintiff’s hope and expectation is that those third parties would
16   be persuaded to remove the posts from the respective index.
17                               SECOND CLAIM FOR RELIEF
18        (Against All Defendants, Racketeer Influenced and Corrupt Organizations Act,
19                                      18 U.S.C. § 1962(d))
20          101. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82,
21   and 84 through 100 as though fully set forth herein.
22          102. Defendants knowingly agreed to facilitate a scheme that included the
23   operation of a RICO enterprise.
24          103. The conspiracy was inter-familial.
25                                THIRD CLAIM FOR RELIEF
26                (Civil Extortion - Against Defendants DARREN and NICOLE)
27          104. Plaintiffs repeat and reallege the averments contained in paragraphs 1-82,
28   and 84 through 100, and 102 through 103, as though fully set forth herein.


                                              Complaint                                           35

                                                 610
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
                             Document 127-1
                                      118-2
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                                        1 Filed   09/23/22
                                                   06/25/20PageID.36
                                                08/29/16    PageID.4834
                                                             PageID.4087
                                                                     PagePage
                                                                         Page
                                                                          36 of618
                                                                               40
                                                                                38 of
                                                                                    of
                                      1196
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1           105. Defendants conduct was unlawful as a matter of law, in that Defendant
2    DARREN had been forbidden from types of expressive conduct by the terms of his Pre-
3    Trial release, the terms of his confinement and Bureau of Prisons regulations, and the
4    terms of his supervised release. Defendant NICOLE was aware of these restrictions.
5           106. Extortion is the obtaining of property from another, with his consent, or the
6    obtaining of an official act of a public officer, induced by a wrongful use of force or fear,
7    or under color of official right. (Penal Code § 518.)
8           107. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
9    continue to practice law consistent with the California Business and Professions Code,
10   and the California Rules of Professional Conduct, with respect to the advocacy on behalf
11   of Susan A..
12          108. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
13   collect on a debt due and owing by virtue of the fee award in the Chaker v. Mateo action.
14          109. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
15   continue to collect and publish cases through the website FEARNOTLAW.COM.
16          110. Defendants attempted to obtain an official act of a public officer, i.e., a
17   judge, through Plaintiffs’ clients acquiesence.
18          111. Defendants wrongfully attempted to induce fear as that term is used in Penal
19   Code section 519, which provides in pertinent part under the heading “threats”:
20          “Fear, such as will constitute extortion, may be induced by a threat of any of
21          the following:
22                  1. To do an unlawful injury to the person or property of the
23                  individual threatened or of a third person.
24                  2. To accuse the individual threatened, or a relative of his or
25                  her, or a member of his or her family, of a crime.
26                  3. To expose, or to impute to him, her, or them a deformity,
27                  disgrace, or crime.
28                  4. To expose a secret affecting him, her, or them.


                                              Complaint                                         36

                                                  611
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
  Case  3:16-cv-02186-WQH-MDDDocument
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                                                08/29/16    PageID.4835
                                                             PageID.4088
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                                                                          37 of619
                                                                               41
                                                                                38 of
                                                                                    of
                                      1196
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1                                                ***
2    (Penal Code § 519)
3           112. Defendants threats were both express, and were implied by the contents of
4    the various writings and the surrounding circumstances.
5           113. Defendants transmitted the threats comprising extortion.
6           114. The Statutes of Limitations regarding the bringing of the present claims have
7    been tolled due to Defendants’ absence from the State of California according to
8    California Code of Civil Procedure section 351:
9           “If, when the cause of action accrues against a person, he is out of the state,
            the action may be commenced within the term herein limited, after his
10          return to the state, and if, after the cause of action accrues, he departs from
            the state, the time of his absence is not part of the time limited for the
11          commencement of the action.”
12   (Cal. Civ. Proc. Code § 351.)
13          115. As a direct and proximate result of the acts of Defendants as alleged in the
14   Third Cause of Action above, Plaintiffs were injured. Plaintiff McMillan suffered
15   economic damage, expense, and humiliation, including, but not limited to, emotional
16   upset, anxiety, mental suffering, and damage to his reputation. Plaintiff McMillan also
17   suffered loss of time. Plaintiff McMillan is therefore entitled to compensatory damages
18   in an amount which will compensate for him all the detriment proximately caused by
19   Defendants' acts, whether foreseeable or not, according to proof at time of trial, in
20   accordance with Civ. Code § 3333.
21          116. Plaintiff TMLF was damaged by the loss of goodwill resulting from the false
22   statements published by Defendants’ “making good” on the threats. Plaintiff TMLF was
23   damaged by the lost advertising expenses which were negated by the false statements
24   published by defendants.
25          117. Defendants’ conduct was malicious, oppressive and/or fraudulent within the
26   meaning of California Civil Code § 3294, thereby entitling Plaintiffs to an award of
27   punitive damages in an amount according to proof at time of trial.
28                                             -oOo-


                                              Complaint                                         37

                                                 612
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Case 3:16-cv-02186-WQH-MDD
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                             Document 127-1
                                      118-2
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                                                   06/25/20PageID.38
                                                08/29/16    PageID.4836
                                                             PageID.4089
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                                                                          38 of620
                                                                               42
                                                                                38 of
                                                                                    of
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1                                    PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray for relief as follows:
3           1. For an Order enjoining Defendants, their agents, and those acting in concert or
4    conspiracy with them, temporarily during the pendency of this action and permanently
5    thereafter from and further violation of 18 U.S.C. §§ 1961 et seq.;
6           2. For compensatory damages according to proof;
7           3. For an award of treble damages pursuant to 18 U.S.C. § 1964;
8           4. For attorneys’ fees pursuant to 18 U.S.C. § 1964 or as otherwise provided by
9    law;
10          5. For punitive and exemplary damages pursuant to Cal. Civil Code § 3294 or as
11   otherwise provided by law;
12          6. For an award of costs of suit;
13          7. For an award of pre-judgment interest and post-judgment interest in the
14   maximum amount permitted by law;
15          8. For such other and further relief as the Court deems just and proper.
16   Dated: August 24, 2016                      The McMillan Law Firm, A.P.C.
17                                               /s/ Scott A. McMillan
18                                      BY:      ______________________________
19                                               Scott A. McMillan
                                                 Attorney, In Propria Persona, and on behalf of
20                                               Plaintiff The McMillan Law Firm, A.P.C.
21
                                  DEMAND FOR JURY TRIAL
22
            Plaintiff demands a jury trial on all causes of action so determinable.
23
     Dated: August 24, 2016                      The McMillan Law Firm, A.P.C.
24
                                                 /s/ Scott A. McMillan
25
                                        BY:      ______________________________
26
                                                 Scott A. McMillan
27                                               Attorney, In Propria Persona, and on behalf of
                                                 Plaintiff The McMillan Law Firm, A.P.C.
28


                                                Complaint                                     38

                                                  613
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1
                                    118-2 Filed
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                                                06/25/20 PageID.4837
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                                                                     Page621
                                                                          43 of
                                                                              of
                                    1196
                                    100




                         EXHIBIT B


                                      614
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
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                                                  06/25/20PageID.933
                                                12/05/16   PageID.4838
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                                                                          1 of 48of
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1    Scott A. McMillan, CBN 212506
     THE MCMILLAN LAW FIRM, APC
2    4670 Nebo Drive, Suite 200
     La Mesa, California 91941-5230
3    (619) 464-1500 x 14
     Fax: (619) 828-7399
4
     Attorney for Plaintiff,
5    Scott A. McMillan and The McMillan Law Firm, APC
6
7
8                           UNITED STATES DISTRICT COURT
9                         SOUTHERN DISTRICT OF CALIFORNIA
10
     SCOTT A. MCMILLAN, an individual,                Civil Case No.: 3:16-cv-2186-WQH-
11   THE MCMILLAN LAW FIRM, APC, a                    MDD
     California professional corporation,
12                                                    First Amended Complaint for
           Plaintiffs,                                1.     Racketeer Influenced and
13                                                    Corrupt Organizations Act (18
           vs.                                        U.S.C. §§ 1962(c))
14                                                    2.     Racketeer Influenced and
     DARREN D. CHAKER an individual,                  Corrupt Organizations Act (18
15   and as trustee of PLATINUM                       U.S.C. §§ 1962(d))
     HOLDINGS GROUP TRUST, dba                        3.     Civil Extortion
16   COUNTER FORENSICS; NICOLE
     CHAKER, an individual, and as trustee of
17   THE NICOLE CHAKER REVOCABLE                          DEMAND FOR JURY TRIAL
     LIVING TRUST, U/A dated August 18,
18   2010, VANIA CHAKER, an individual
     and as beneficiary of The Island
19   Revocable Trust under Declaration of
     Trust dated June 2, 2015, MARCUS
20   MACK as trustee of The Island
     Revocable Trust under Declaration of
21   Trust dated June 2, 2015,
22         Defendants.
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                                                615
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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
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                                                  06/25/20PageID.934
                                                12/05/16   PageID.4839
                                                           PageID.4092 Page
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                                                                     Page    623
                                                                             45
                                                                          2 of 48of
                                                                                  of
                                     1196
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1    Plaintiffs allege as follows:
2                                          JURISDICTION
3           1. This Court has jurisdiction over the subject matter of the causes of action in this
4    complaint by virtue of:
5           a. federal question jurisdiction pursuant to 28 U.S.C. § 1331, involving an action
6           pursuant to 18 U.S.C. § 1964(c), the Federal Racketeer Influenced and Corrupt
7           Organizations Act (“RICO”). This Court has subject-matter jurisdiction over this
8           action pursuant to 28 U.S.C. §1332;
9           b. supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a), involving claims
10          that are so related to claims in the action within the Court’s original jurisdiction
11          that they form part of the same case or controversy under Article III of the United
12          States Constitution; and
13          2. This Court has jurisdiction over the person of the Defendant Darren Chaker
14   because Defendant transacts business within this judicial district, and Defendant is
15   amenable to service of process within the meaning of Federal Rule of Civil Procedure
16   Rules 4(e), 4(f), and 18 U.S.C. § 1965(b).
17          3. Further, this District Court, the Hon. Larry A. Burns, District Judge presiding,
18   has jurisdiction over Defendant because Defendant is under an order of supervised release
19   according to the terms of sentence of Defendant’s conviction for bankruptcy fraud,
20   United States v. Chaker, U.S.D.C., So. Dist. California, Case No. 3:15-cr-07012-LAB.
21          4. Venue is proper in this district pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
22   1391 because Defendants transacts business in this district or, alternatively, this district is
23   where a substantial part of the events or omissions giving rise to the claim occurred.
24                                          THE PARTIES
25          5. Plaintiff, SCOTT A. MCMILLAN (hereinafter referred to as “Plaintiff
26   McMillan”), is a resident of the State of California, County of San Diego. Plaintiff is a
27   California licensed attorney, and is engaged in intra-state, and interstate commerce in the
28   course of his practice. Plaintiff McMillan also operates a law school, the McMillan


     16-cv-2186                        First Amended Complaint                                     2

                                                  616
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                                                12/05/16   PageID.4840
                                                           PageID.4093 Page
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                                                                     Page    624
                                                                             46
                                                                          3 of 48of
                                                                                  of
                                     1196
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1    Academy of Law, a Caliornia corporation, which is unaccredited, but registered with the
2    Committee of Bar Examiners, State Bar of California. Plaintiff McMillan has a property
3    interest in the right to practice his profession as a licensed attorney.
4           6. Plaintiff, THE MCMILLAN LAW FIRM, APC, a California professional
5    corporation, (hereinafter referred to as “Plaintiff TMLF”) has its principal place of
6    business in the County of San Diego, State of California. Plaintiff McMillan operates
7    Plaintiff TMLF. TMLF has a property interest in its “goodwill” as such term is defined at
8    California Business and Professions Code sections 14100 and 14102.
9           7. Defendant, DARREN CHAKER (a.k.a. Darren Del Nero a.k.a. Darren Del
10   Nero-Chaker a.k.a. Darren Shaker, a.k.a. D. David Hunter) (hereinafter referred to as
11   “Defendant DARREN”), is presently a resident of the State of California, County of San
12   Diego. Defendant DARREN conducts business through and holds assets as trustee in
13   PLATINUM HOLDINGS GROUP TRUST, a self-settled trust. Plaintiff is further
14   informed and believes that Defendant DARREN conducts business under the pseudonym
15   or doing-business-as “COUNTER FORENSICS.” Defendant DARREN was deemed a
16   vexatious litigant in Superior Court of California, County of San Diego Case Nos. 591421
17   (December 2, 1997) and GIC757326 (June 22, 2001).
18          8. Defendant VANIA CHAKER, also know as Valentina Chanel, (hereinafter
19   referred to as “Defendant VANIA”) is presently a resident of the State of California,
20   County of San Diego, and is Defendant’s Darren’s sister. On one or more occasions,
21   VANIA has participated in the acts set forth herein, providing assistance to Defendant
22   DARREN in committing predicate acts. Plaintiff is informed and believes that Defendant
23   VANIA conducts business through and holds assets as beneficiary in a self-settled trust,
24   which shall be referred to herein as THE ISLAND REVOCABLE TRUST, dated June 2,
25   2005. Defendant Marcus Mack is sued solely in his capacity as Trustee of the THE
26   ISLAND REVOCABLE TRUST, dated June 2, 2005.
27          9. Defendant NICOLE CHAKER (hereinafter referred to as “Defendant
28   NICOLE”), is the mother of Defendant DARREN and Defendant VANIA. On one or


     16-cv-2186                        First Amended Complaint                                  3

                                                  617
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                                                12/05/16   PageID.4841
                                                           PageID.4094 Page
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                                                                     Page    625
                                                                             47
                                                                          4 of 48of
                                                                                  of
                                     1196
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1    more occasions, Defendant NICOLE has participated in the acts set forth herein,
2    providing assistance to Defendant DARREN in committing predicate acts. Plaintiff is
3    informed and believes that Defendant NICOLE conducts business through and holds
4    assets as trustee in a trust, which shall be referred to herein as THE NICOLE CHAKER
5    REVOCABLE LIVING TRUST, U/A dated August 18, 2010. Defendant NICOLE is
6    sued both invididually and as trustee of said trust.
7                 DEFENDANTS’ ENTERPRISE AND PREDICATE ACTS
8           10. Plaintiffs are informed and believe, and based thereon allege that Defendant
9    VANIA is an attorney, currently licensed to practice law in the State of California.
10   Defendant VANIA has lived at various times in California and the Pennsylvania.
11   Defendant VANIA, as a profession, both individually on her own account and to assist
12   Defendants DARREN and NICOLE, engaged in litigation based on meritless or outright
13   false claims, typically relying upon the Fair Credit Reporting Act, 15 U.S.C. § 1681, and
14   on at least one occasion bringing a claim for personal injury, deriving income from such
15   fraudulent activity. As part of her pattern of racketeering activity, Defendant VANIA has
16   attempted and sometimes succeeded in collecting unlawful debts, i.e., a claim based on
17   false or meritless legal claims, and derived income from such false claims and unlawful
18   threats of suit. For instance in Vania Chaker v. Monarch Group Management, Inc.,
19   U.S.D.C. So. Dist. of Cal., Case No. 06cv1534W(AJB), Defendant VANIA brought a
20   class action complaint for violation of the Fair Debt Collections Practices Act, 15 U.S.C.
21   § 1692, et seq. and the California Rosenthal Fair Debt Collection Practices Act, arising
22   from her landlord’s service of a three day notice to pay rent or quit on her. Defendant
23   VANIA has brought three other cases based on allegations of violations of the Fair Debt
24   Collection Practices Act, e.g., Vania Chaker v. Collection Company of America, U.S.D.C.
25   So. Dist. of Cal., Case No. 05cv390 BEN(AJB) [unpaid T-mobile cellular phone
26   charges]; Vania Chaker v. Allied Interstate, Inc., U.S.D.C. So. Dist. of Cal., Case No.
27   05cv0212 LAB(RBB)[unpaid DirectTV bills]; Vania Chaker v. CAMCO, U.S.D.C. So.
28   Dist. of Cal., Case No. 04cv1735 W(RBB).


     16-cv-2186                       First Amended Complaint                                     4

                                                 618
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                             Document127-1
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                                       25 Filed  09/23/22
                                                  06/25/20PageID.937
                                                12/05/16   PageID.4842
                                                           PageID.4095 Page
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                                                                     Page    626
                                                                             48
                                                                          5 of 48of
                                                                                  of
                                     1196
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1           11. Plaintiffs are informed and believe, and based thereon allege that Defendant
2    VANIA did not solely file such suits in the Southern District of California, but also
3    assisted in cases in the Central District of California, appearing as attorney in the suit
4    brought by Defendant DARREN subnom (Darren Del Nero) and Defendant NICOLE
5    alleging defendant’s violations of the Fair Debt Collections Practices Act, 15 U.S.C. §
6    1692, et seq.. Specifically, Defendants DARREN and NICOLE brought suit against
7    Midland Credit Management Inc., in the case of Del Nero & Chaker, et al., v. Midland
8    Credit Management Inc., U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-01040-ABC-SH.
9    Defendant DARREN and his attorneys were sanctioned $155,979.09 after the court
10   found that Defendant DARREN brought suit in bad faith and for the purpose of
11   harassment. (Del Nero v. Midland Credit Management Corp. et al.,
12   2:04-cv-01040-ABC-SH.(Attorneys fee award later vacated against Chaker’s counsel.)
13   The Court issued an order to show cause re contempt for Defendant VANIA’s conduct
14   during the jury trial, and barred her from the courtroom during the remainder of the trial.
15   The court’s basis for the order was that Defendant VANIA attempted to aid a witness in
16   answering counsel’s questions. [ECF 91.] Defendant VANIA also represented Defendant
17   DARREN subnom (Darren Del Nero) in Darren Del Nero v. Reliable Adjustment Bureau
18   Inc et al, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-00969-FMC-JWJ, another case
19   alleging violations of 15 U.S.C., § 1681. In each of those instances, in a likely effort to
20   avoid Defendant DARREN’s prefiling order as a vexatious litigant, Defendant VANIA
21   initially appeared on Defendant DARREN’s behalf, then substituted out to allow
22   Defendant DARREN to prosecute the case in propria persona. Defendant VANIA
23   engaged in such transitory representation of Defendant DARREN to assist him avoiding
24   the bar of the prefiling orders placed resulting from his designation as a vexatious litigant.
25          12. As to Defendant DARREN, Plaintiffs are informed and believe, and based
26   thereon allege that Defendant DARREN holds himself out to the public as operating a
27   business called COUNTER FORENSICS. The COUNTER FORENSICS web page
28   described its services as follows:


     16-cv-2186                       First Amended Complaint                                      5

                                                  619
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                             Document127-1
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                                       25 Filed  09/23/22
                                                  06/25/20PageID.938
                                                12/05/16   PageID.4843
                                                           PageID.4096 Page
                                                                       Page
                                                                     Page    627
                                                                             49
                                                                          6 of 48of
                                                                                  of
                                     1196
                                      100


1           “Founded in 2006, the origination of CounterForensics.com can be traced to
2           the cyber security and forensics background of our consultant, Darren
3           Chaker. Mr. Chaker (www.DarrenChaker.com) previously worked in law
4           enforcement, and as a security contractor in the Middle East. More recently,
5           Mr. Chaker managed electronic discovery (e-discovery) for a leading
6           multinational law firm conducting large-scale digital forensic
7           investigations, and provided electronic discovery services involving civil,
8           corporate and criminal matters. Mr. Chaker also implemented security
9           enforcement protocols and systems with Military Grade Communications
10          for use between international offices to discuss sensitive matters. Mr.
11          Chaker has additional expertise in matters involving:
12          • Software piracy;
13          • Sexual harassment via e-mail, instant messaging and other forms of electronic
14          communications;
15          • Monitoring employee activity;
16          • Employee sabotage;
17          • Intrusion detection;
18          • Recovery of deleted files;
19          • Lost password recovery and cracking of locked files;
20          • Discovery of hidden and deleted e-mails and pictures;
21          • Internet usage and unauthorized software installed on a company machine; and
22          Removal of viruses, pictures, software and other data items which may be hidden
23          from the user.
24          See Exhibit 6,
25          https://web.archive.org/web/20150208142616/http://www.counterforensics.com/
26          (Accessed on August 23, 2016.)
27          13. At various times relevant to the facts stated herein, Defendant DARREN has
28   resided in California, Nevada and Texas, and engaged in transactions and acts affecting


     16-cv-2186                      First Amended Complaint                                   6

                                                620
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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDDDocument
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                             Document127-1
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                                                  06/25/20PageID.939
                                                12/05/16   PageID.4844
                                                           PageID.4097 Page
                                                                       Page
                                                                     Page    628
                                                                             50
                                                                          7 of 48of
                                                                                  of
                                     1196
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1    interstate commerce:
2           14. Defendant DARREN has, as a profession, engaged in litigation based on
3    meritless or outright false claims, typically relying upon the Fair Credit Reporting Act, 15
4    U.S.C. § 1681, and on at least one occassion bringing a claim for personal injury, deriving
5    income from such fraudulent activity. As part of his pattern of racketeering activity,
6    Defendant DARREN has attempted and sometimes succeeded in collecting unlawful
7    debts, i.e., a claim based on false or meritless legal claims, and derived income from such
8    false claims and unlawful threats of suit.
9           15. In another 2005 case, attorney’s fees of $42,934.84 were awarded against
10   Defendant DARREN for filing a baseless lawsuit. (Chaker v. Richland (C.D. Cal. 2005)
11   CV 05-7851-RSWL; See also Chaker v. Imperial Collection Services (C.D. Cal. 2004)
12   CV 04-2728-PA (alleging claims under the FDCPA found to be without merit); and Del
13   Nero v. Riddle & Associates PC, et al. (C.D. Cal. 2003) CV 03-6511-GHK (same).) In a
14   2007 case, Defendant DARREN and his attorneys were sanctioned $155,979.09 after the
15   court found that Defendant DARREN brought suit in bad faith and for the purpose of
16   harassment. (Del Nero v. Midland Credit Management Corp. et al. (C.D. Cal. 2007) CV
17   04-1040 GPS.) In a 2009 case, Defendant DARREN was ordered to pay $136,316.14 for
18   bad faith due to Defendant DARREN falsely claiming identity theft. (Chaker v. Nathan
19   Enterprises Corp. (C.D. Cal. 2009) CV 04-2726-RSWL.)
20          16. Defendant DARREN filed other suits based allegations of violations of Fair
21   Credit Reporting Act, 15 U.S.C. § 1681, i.e., Darren Chaker-Del Nero v. Afni, Inc.,
22   U.S.D.C. Cen. Dist. of Cal., Case No. 2:08-cv-03405-ODW-SS; Darren D Chaker v.
23   First City Bank Credit Union, U.S.D.C. Cen. Dist. of Cal., Case No.
24   2:04-cv-02727-GPS-RZ; Darren D Chaker v. Factual Data Corporation, U.S.D.C. Cen.
25   Dist. of Cal., Case No. 2:04-cv-02729-JFW-AJW; Darren D Chaker v. European Auto
26   House, U.S.D.C. Cen. Dist. of Cal., Case No. 2:04-cv-02731-R-PJW; Darren Chaker v.
27   Arrow Financial Services LLC, U.S.D.C. Cen. Dist. of Cal., Case No.
28   2:04-cv-07050-FMC-FMO.


     16-cv-2186                       First Amended Complaint                                   7

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Case
 Case3:16-cv-02186-WQH-MDD
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                                                                             51
                                                                          8 of 48of
                                                                                  of
                                     1196
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1           17. Defendants have a pattern of attacking the attorneys which oppose them, i.e.,
2    in Darren D Chaker v. Felipa R. Richland, et al., U.S.D.C. Cen. Dist. of Cal., Case No.
3    2:05-cv-07851-RSWL-PLA, Defendant DARREN sued attorney Richland and her law
4    office, and her client Nathan Enterprises Corp. for alleged violations of the Fair Credit
5    Reporting Act, 15 U.S.C. § 1681. Plaintiff is informed and believes and based thereon
6    alleges that during her defense of the both cases, Ms. Richland was stalked, her property
7    vandalized. Ultimately, Ms. Richland and her client prevailed, with Defendant DARREN
8    held liable for costs and attorneys fees. [ECF 25, 26.]
9           18. Defendant DARREN, subnom Darren Chaker Del-Nero, brought additional
10   suits in the United States District Court for the District of Nevada based on allegations of
11   violation of the Fair Credit Billing Act, 15 U.S.C. § 1666, e.g., Chaker-Delnero v.
12   Nevada Federal Credit Union, et al, U.S.D.C. District of Nevada., Case No.,
13   2:06-cv-00008-BES-GWF; for violations of the Fair Debt Collections Practices Act, 15
14   U.S.C. § 1692, Chaker-Delnero v. Butler & Hailey, et al, U.S.D.C. District of Nevada.,
15   Case No. 2:06-cv-00022-KJD-LRL, Chaker-Delnero v. Clark County Collection Service,
16   LLC, U.S.D.C. District of Nevada, 2:06-cv-00123-JCM-PAL, and Chaker-Delnero v.
17   Collectco, U.S.D.C. District of Nevada, 2:06-cv-00244-RLH-GWF. In each of these
18   cases, docket entries reflect a voluntary dismissal. Plaintiff is informed and believes that
19   in those cases, the Defendants paid a sum to “buy their peace” rather than to spend
20   attorneys fees litigating the case, despite the lack of the merit to Defendant DARREN’s
21   claims.
22          19. Defendant DARREN, subnom Darren Chaker, brought additional suit in the
23   United States District Court for the Southern District of Texas (Houston) based on
24   allegations of violation of the Fair Debt Collections Practices Act, 15 U.S.C. § 1692,
25   Chaker v. The CMI Group, U.S.D.C. Southern District of Texas (Houston),
26   4:07-cv-01802F [Time Warner Communications.] In that case, the docket entries reflect a
27   voluntary dismissal. Plaintiff is informed and believes that in that case, the Defendants
28   paid a sum to “buy its peace” rather than to spend attorneys fees litigating the case,


     16-cv-2186                       First Amended Complaint                                       8

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 Case3:16-cv-02186-WQH-MDD
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                                                                             52
                                                                          9 of 48of
                                                                                  of
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1    despite the lack of the merit to Defendant DARREN’s claims.
2           20. Defendant DARREN, subnom David Hunter, brought additional suit in the
3    United States District Court for the District of Arizona, entitled Hunter v. Receivables
4    Performance Management, LLC, U.S.D.C. District of Arizona, 2:10-cv-00665-MHM
5    [Sprint cellular phone service]. Within that suit Defendant DARREN attached letters
6    claiming an address at 11881 S. Fortuna Road, #223, Yuma, AZ 85367 [Exhibit B, ECF
7    1-3.] In that case, the docket entries reflect a voluntary dismissal. Plaintiff is informed
8    and believes that in that case, the Defendant paid a sum to “buy its peace” rather than to
9    spend attorneys fees litigating the case, despite the lack of the merit to Defendant
10   DARREN’s claims.
11                                      SEX TRAFFICKING
12          21. Plaintiff is informed and believes and based thereon alleges that Defendant
13   DARREN also engaged, within the last ten years, in human trafficking, and derived
14   income from such activity.
15          22. Defendant DARREN’s record of arrests and prosecutions (RAP) reveals
16   arrests for insufficient funds/check, attempting to prevent/dissuade victim/witness,
17   receiving known stolen property, vehicle theft, first degree burglary, grand theft, and
18   being in possession of an assault weapon. He was convicted of invading/looking into a
19   tanning booth (1997), and possession of an assault weapon (2006). Such crimes were
20   punishable by a year or more incarceration.
21                                     FALSE STATEMENTS
22          23. Defendant DARREN also obtained mortgages on real estate through false
23   statements, and thereafter rather than paying the mortgages, Defendant DARREN kept the
24   rents from such properties to fund his enterprises, and when his mortgagors sought to
25   recover their real property collateral, Defendant DARREN filed false bankruptcy petitions
26   in order to stall or avoid the foreclosure and continue to collect rental income.
27          a. Defendant DARREN used the ill-gotten proceeds of his enterprise to fund his
28          lifestyle and further his illegal activities including through the purchase of


     16-cv-2186                       First Amended Complaint                                      9

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 Case3:16-cv-02186-WQH-MDD
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1           computers, paying for travel, development of various domain names and online
2           presences to the detriment of Plaintiff herein.
3           b. In order to dissuade those members of law enforcement and attorneys in private
4           practice who would challenge Defendant DARREN’s criminal conduct, including
5           Plaintiff herein, Defendant DARREN used various means and threats, including
6           harassment, stalking, defaming others, vandalizing property, hacking computers,
7           spoofing emails, and identity theft.
8           c. Defendant DARREN has used the proceeds of his racketeering activity to
9           purchase computers, equipment, and Internet access services in order to engage in
10          his and Defendants VANIA and NICOLE’s frauds, and efforts to dissuade those
11          who oppose their illegal conduct, including Plaintiff herein.
12          d. On March 22, 2012, Defendant DARREN was indicted in United States v.
13          Darren David Chaker, Case No. 4:12CR00168-001, and thereafter granted pre-
14          trial release under supervision with U.S. Pretrial Services. The Indictment,
15          attached as Exhibit 1, alleges a portion of Defendants’ scheme, which Plaintiff
16          incorporates by reference here.
17          e. While on supervision with U.S. Pretrial Services, through false statements to a
18          United States officer, he violated his terms of release by failing to disclose to U.S.
19          Pretrial Services and the Court the fact that he procured a U.S. Passport using the
20          alias “D. David Hunter.”
21          f. On December 17, 2013, Defendant DARREN suffered a Judgment in a
22          Criminal Case in the case entitled United States v. Darren David Chaker, Case No.
23          4:12CR00168-001, in the United States District Court for the Southern District of
24          Texas (Houston), for Bankruptcy Fraud, 18 U.S.C § 157(3). On April 14, 2016,
25          that conviction was affirmed by the United States Court of Appeals for the Fifth
26          Circuit, case number 14-20026, as reported in United States v. Chaker, 820 F.3d
27          204, 206 (5th Cir. 2016). He was sentenced to a total term of 15 months, and was
28          additionally sentenced to three years supervised release, as part of the special


     16-cv-2186                        First Amended Complaint                                  10

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 Case3:16-cv-02186-WQH-MDD
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                                                            PageID.4101 Page
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1           conditions of supervision was ordered:
2           “The defendant shall provide the probation officer access to any requested
            financial information. If a fine or restitution amount has been imposed, the
3           defendant is prohibited from incurring new credit charges or opening
            additional lines of credit without approval of the probation officer.
4
            The defendant is prohibited from possessing a credit access device, such as
5           a credit card, unless first authorized by the probation officer.
6           The defendant is required to participate in anger management counseling as
            deemed necessary and approved by the probation officer. The defendant
7           will incur costs associated with such program, based on ability to pay as
            determined by the probation officer.
8
            The defendant is required to participate in a mental health program as
9           deemed necessary and approved by the probation officer. The defendant
            will incur costs associated with such program, based on ability to pay as
10          determined by the probation officer.
11          The defendant may not stalk and/or harrass other individuals to include, but
            not limited to, posting personal information of others or defaming a person's
12          character on the internet.”
13   (ECF 312, 4:12CR00168-001)
14          24. On November 7, 2016, the district court in United States v. Darren David
15   Chaker, U.S. District Court, Southern District of California, Case No.
16   3:15-cr-07012-LAB, struck the condition “The defendant may not stalk and/or harrass
17   other individuals to include, but not limited to, posting personal information of others or
18   defaming a person's character on the internet.”
19
        DEFENDANTS’ HISTORY OF EXTORTION AND WITNESS TAMPERING
20
            25. Defendants rely on keeping their past conduct, criminal convictions, lawsuits,
21
     and generally bad reputation out of public view. To accomplish this the defendants
22
     regularly use pseudonyms, attempt to seal documents and proceedings which may alert
23
     the public to information about Defendants that if known, would provide a defense or
24
     would affect a fact-finder’s view on their credibility.
25
            26. Defendant DARREN falsely, and in order to gain credibility with unknowing
26
     law enforcement and laypersons, holds himself out as a former law enforcement officer or
27
     government security employee, including at various times claiming an “Ex-cop” or to be
28
     an employee of the “Diplomatic Security Service.”

     16-cv-2186                       First Amended Complaint                                  11

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Case
 Case3:16-cv-02186-WQH-MDD
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                                                                              5548
                                                                          12 of  of
                                                                                  of
                                     1196
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1           27. Victim Zaya: Plaintiffs are informed and believe that, in accordance with
2    Defendants’ common plan and scheme, Defendant DARREN committed one or more acts
3    of extortion against Nadine Zaya:
4           a. Plaintiff is informed and believes, and based thereon alleges, that Defendant
5           DARREN formerly had a dating relationship with Nadine Zaya. At some point
6           between August and October 2002, Defendant DARREN and Zaya, traveled from
7           Southern California to Scottsdale, Arizona. Petitioner took Zaya to a gun store,
8           where he purchased the Rifle, a licensed reproduction of a Fabrique Nationale
9           FAL (FN-FAL) battle weapon. At the gun store, petitioner told Zaya he once
10          owned “the exact same gun” but his mother had taken it away from him.
11          b. After Defendant DARREN purchased the Rifle, he made Zaya take pictures of
12          him with it. He also made Zaya pose with the Rifle. Defendant DARREN then
13          took Zaya to a firing range, where he fired the Rifle and showed her how to shoot,
14          hold, and load it. When Zaya held the Rifle, Defendant DARREN reassured her,
15          “It’s okay. Look, it’s fun. . . . You’re going to be okay. I’m an ex-cop. I know how
16          to shoot a gun.” Shortly thereafter, petitioner and Zaya returned to California with
17          the Rifle.
18          c. On October 14, 2002, Laguna Beach police officers visited Defendant
19          DARREN’s apartment to investigate allegations that he had sexually exploited a
20          minor. A police officer entered the apartment, knocked on a bedroom door, and
21          identified himself as a police officer. After some delay, Defendant DARREN
22          emerged from the bedroom and told the officer the room belonged to him. He
23          refused, however, to permit the police officers to search it. Defendant DARREN
24          called Zaya after the police officers left the apartment. He expressed concern that
25          the fully-assembled Rifle would be considered an illegal weapon. Defendant
26          DARREN told Zaya he was going to remove parts from the Rifle to “make it
27          legal” and asked her to keep the parts. The next day, the police officers returned to
28          Defendant DARREN’s apartment with a search warrant. During the search, an


     16-cv-2186                      First Amended Complaint                                   12

                                                626
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Case
 Case3:16-cv-02186-WQH-MDD
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1           officer found the Rifle in petitioner’s bedroom closet. He noticed the Rifle had a
2           detachable magazine and a pistol grip, but that it was missing its bolt carrier group.
3           The officers also found unloaded magazines and pictures of petitioner posing with
4           the Rifle at a firing range. In the pictures, the Rifle contained the bolt and the
5           magazine.
6           d. On November 18, 2002, the District Attorney of Orange County filed a felony
7           complaint charging defendant with one count of possession of an assault weapon
8           (Penal Code § 12280(b)) and one count of receiving stolen property (Penal Code §
9           496, subd. (a)). Shortly after the People filed the complaint, defendant began
10          writing letters to the court. In these letters, defendant claimed the police had
11          illegally seized privileged documents from his apartment. He also criticized the
12          judges presiding over his case and the attorneys assigned to represent him. On July
13          30, 2003 -- after defendant had written six letters to various judges -- the court
14          ordered defendant to stop. The court notified defendant it would "not take action
15          on personal communications from a represented defendant when his case is
16          pending before this court." (People v. Chaker, No. G037362, 2008 Cal. App.
17          Unpub. LEXIS 999, at *4-5 (Ct. App. Feb. 4, 2008).)
18          e. Plaintiffs are informed and believe that in July 2005, the Superior Court of
19          California, County of San Diego issued a restraining order against Darren D.
20          Chaker pursuant to the Domestic Violence Protection Act (Fam. Code, § 6200 et.
21          seq. (the Act)), requiring him to stay away from Nadine Zaya for a five-year
22          period. He appealed from that order on various grounds, contending in part that
23          Zaya's evidence was insufficient to support its issuance; the Court of Appeals of
24          California, Fourth District, Division One, however, rejected his arguments and
25          affirmed the order.
26          f. On June 15, 2006, Zaya filed a request for a temporary restraining order under
27          the Act against Chaker. In her request, Zaya stated under penalty of perjury that
28          Chaker made threatening calls to her and told her he would harm her or her family


     16-cv-2186                       First Amended Complaint                                    13

                                                  627
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Case
 Case3:16-cv-02186-WQH-MDD
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      3:16-cv-02186-WQH-MDD Document
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                                                                          14 of  of
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                                     1196
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1           if she testified in a pending criminal matter against him. (Zaya v. Chaker (Oct. 19,
2           2007, D049874) [nonpub. opn.].)
3           g. Thereafter, on or about July 19, 2006, and then again on or about December 8,
4           2006, Defendant DARREN sent nude photos of Zaya to Zaya’s brother’s
5           employer, which had been taken by Defendant DARREN.
6           28. Victims Frantz: Plaintiffs are informed and believe that the following is true
7    regarding Defendant DARREN’s efforts to extort San Diego attorneys James Frantz, Jodi
8    Frantz, and Charles Kim:
9           a. On or about December 2010, Jodi and James Frantz retained Charles Kim to
10          represent them in a civil protective action. Jodi Frantz sought a restraining order
11          against Defendant DARREN, in Hautaluoma v. Chaker, San Diego Superior Court
12          Case No. 717794.
13          b. Prior to the extortion attempt against James Frantz, Jodi Frantz, and Charles
14          Kim, Plaintiffs are informed and believe that Defendants engaged in acts of
15          vandalism to the property of James Frantz and Jodi Frantz, which they believed to
16          have been perpetrated and intended by Defendant DARREN to intimidate James
17          Frantz and Jodi Frantz and send a message.
18          c. In the preceding months to the extortion attempt, Jodi Franz was the victim of
19          financial fraud in the summer of 2010. Ms. Frantz had caused two of her then
20          current credit cards to be de-activated by the issuers due to fraud alerts. The recent
21          event happened in the week preceding the extortion attempt, while she was on
22          vacation. Although Ms. Frantz believed Chaker is responsible for the fraud, she
23          had no evidence. Ms. Franz reported the thefts to her credit card issuers. She had
24          unauthorized charges on credit accounts from Bank of America, Union Bank, and
25          Nordstrom. In the summer of 2010, Mr. Frantz also had his identity stolen, and
26          used for credit card fraud. Although Mr. Frantz believed Chaker was responsible
27          for the fraud, he had no evidence.
28          d. On December 22, 2010, at 2:54 a.m., Defendant DARREN caused a fax to be


     16-cv-2186                       First Amended Complaint                                     14

                                                 628
Case
Case
 Case3:16-cv-02186-WQH-MDD
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                                                            PageID.4105 Page
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                                                                     Page    636
                                                                              5848
                                                                          15 of  of
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                                     1196
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1           sent to the office of Charles Kim. The fax included an inappropriate reference to
2           the death of James Patrick Frantz II (the son of James and Jodi Frantz). Also,
3           Defendant DARREN faxed a complete copy of a County of San Diego
4           Investigative report #10-01098 which documented the medical examiners death
5           investigation in that case. The fax referenced the social security number of Jodi
6           Frantz and Dr. Christine Miller who treated Jodi Frantz. The fax contained threats
7           to publish the social security numbers and "embarrassing" medical information if
8           Attorney Kim did not agree to Chaker's demands. Also included was an apparent
9           threat to file complaints with the state bar association against Charles Kim and
10          James Frantz if they did not comply with his demands.
11          29. Victims Mateo: Nicole Mateo was in a relationship with Defendant
12   DARREN, which resulted in the birth of a daughter. Plaintiff is informed and believes
13   that following the efforts to obtain child support, Defendant DARREN initiated a
14   campaign of harassment against Wendy Mateo and her husband Steven Mateo. Steven
15   Mateo is a deputy constable with the Harris County Constable Office, in Spring, Texas.
16   The Mateo’s hired an attorney by the name of Cynthia Tracy to address Defendant
17   DARREN’s conduct. In response, Defendant DARREN initiated a harassment campaign
18   that included sending sexually explicit photos of Nicole Mateo to the employers of the
19   Mateos, obtaining the email passwords of various Mateo accounts, and sending emails
20   containing sexually explicit material through such accounts. The Mateo’s attorney,
21   Cynthia Tracy, was targeted in a blog post that also made false and defamatory statements
22   about her. Ultimately, Attorney Tracy declined to continue to represent the Mateos due to
23   the aggravation and the expense of dealing with Defendant DARREN.
24
25            DEFENDANTS’ EFFORTS DIRECTED AT PLAINTIFF HEREIN
26          30. Plaintiff operates a website called FEARNOTLAW.COM, and has operated
27   that site since 2005. Fearnotlaw.com maintains tens of thousands of unpublished
28   decisions from California’s court of appeals. The unpublished decisions were taken


     16-cv-2186                      First Amended Complaint                                    15

                                                629
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4853
                                                            PageID.4106 Page
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                                                                     Page    637
                                                                              5948
                                                                          16 of  of
                                                                                  of
                                     1196
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1    directly from the court of appeals website and posted en masse, at various times. There
2    was no intentional targeting of Darren Chaker or any other subject of the decisions.
3           31. Defendant DARREN in this case initially contacted Plaintiff to demand
4    removal of decisions posted concerning his cases that had been decided by the Court of
5    Appeals. One of those decisions was Zaya v. Chaker, California Court of Appeal Case
6    No. D049874. In Zaya v. Chaker, the Court of Appeal affirmed a trial court’s imposition
7    of a five year restraining order against Mr. Chaker imposed pursuant to the Domestic
8    Violence Protection Act, Fam. Code, 6200 et. seq. Defendant DARREN Chaker’s letter
9    to Plaintiff on November 23, 2010 contained Ms. Zaya’s original petition, which alleged
10   that Mr. Chaker posted bogus sex-service advertisements on Craigslist falsely attributed
11   to Ms. Zaya, and had threatened to post compromising photos and videos of Ms. Zaya
12   online if she testified against him in his felony assault-weapon case. Plaintiff did not
13   remove any of the appellate decisions from Fearnotlaw.com.
14          32. Defendant DARREN thereafter initiated a campaign of harassment and
15   vandalism against Plaintiff McMillan and his family. Usually during the holidays,
16   Plaintiff’s family’s cars would be vandalized. Plaintiff’s brother had the words
17   “fearnotlaw” scratched on the trunk of his BMW. In another instance, the driver’s side
18   mirror of Plaintiff’s brother’s truck was smashed. On that instance, a neighbor that heard
19   the noise, saw a black SUV driving rapidly away. Defendant DARREN owns a Black
20   Dodge Durango. Plaintiff is informed and believes, and based thereon alleges, that
21   Defendant VANIA Chaker accompanied Defendant DARREN during that vandalism.
22          33. Other members of Plaintiff McMillan’s family were attacked as well.
23   Plaintiff’s mother’s car had acid poured on the trunk. Plaintiff’s father’s car had its tires
24   slashed. After each event, Mr. Chaker would send Plaintiff an e-mail wishing him
25   “happy holidays” or making some other statement. It was clear to Plaintiff that Darren
26   Chaker was acknowledging the vandalism by his timing of his emails, and attempting to
27   send a message and intimidate Plaintiff.
28          34. At one point, on or about November 23, 2010, Defendants came to Plaintiff’s


     16-cv-2186                       First Amended Complaint                                    16

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Case
 Case3:16-cv-02186-WQH-MDD
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                                                                     Page    638
                                                                              6048
                                                                          17 of  of
                                                                                  of
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1    home and delivered a letter to his mail box signed by Defendant DARREN. The letter
2    once again demanded that Plaintiff remove the posts concerning Defendant DARREN ’s
3    cases from Fearnotlaw.com. Thereafter, Defendant DARREN sent Plaintiff McMillan e-
4    mails referring to his dogs – which indicated to Plaintiff that he had come to his house
5    and looked into his back yard.
6           35. Because of Defendants’ activities, Plaintiff McMillan and his family members
7    installed security cameras around their houses. Plaintiff McMillan also installed security
8    cameras on the outside of the commercial building in La Mesa where Plaintiff TMLF has
9    its offices.
10          36. Defendant DARREN also began posting matters about Plaintiffs on the
11   Internet. Initially, he used his own domain names. Later, he began using Plaintiff’s name
12   under Google’s “blogspot” service. Through the years, clients have contacted Plaintiff
13   McMillan to let him know that they have seen the Defendant DARREN ’s posts
14   concerning Plaintiff on the Internet. Chaker’s posts were troubling to Plaintiffs’ clients.
15          37. Postings on Internet gripe sites and consumer review sites began appearing,
16   the posters made negative comments, but used a pseudonym. Plaintiffs are informed and
17   believe based upon the timing and the circumstances that Defendants were posting those
18   comments.
19          38. Because Defendant DARREN had posted about Plaintiff on the Internet,
20   others that had conflicts with Defendant DARREN contacted Plaintiff for advice and
21   representation in dealing with Defendant DARREN . Plaintiff has provided that
22   representation pro-bono, and advanced the expenses.
23          39. Plaintiff ultimately represented Wendy Mateo, one of the Defendant
24   DARREN’s victims, in Chaker v. Mateo, San Diego Superior Court case,
25   37-2010-00094816-CU-DF-CTL, Hon. Timothy B. Taylor, Judge presiding. Wendy
26   Mateo is the mother of Nicole Mateo. Plaintiff is informed and believes that Nicole
27   Mateo had a brief relationship with Darren Chaker, which resulted in the birth of their
28   daughter. Plaintiff began representing Ms. Wendy Mateo, the grandmother of Darren


     16-cv-2186                       First Amended Complaint                                   17

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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4855
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1    Chaker’s child during the pendency of Darren Chaker’s appeal of the judgment in the
2    Chaker v. Mateo case. That appeal resulted in the published decision of Chaker v. Mateo,
3    209 Cal. App. 4th 1138 (2012). Following that appeal, the Superior Court awarded
4    Plaintiffs attorneys fees. Those attorneys fees awarded have been the subject of judgment
5    debtor examinations and orders from Judge Taylor as discussed below.
6           40. Thereafter, Plaintiff began representing Susan A. in a paternity case filed in
7    the San Diego Superior Court entitled Chaker v. A (the “Paternity Case”). Ms. A had
8    also been in a relationship with Mr. Chaker. Ms. A. sets out her experience with Chaker
9    in her declaration dated July 11, 2013, a true and correct copy of which is attached hereto
10   as Exhibit ‘A’ (Under Seal). Mr. Chaker claims that Ms. A.’s child, L, is the product of
11   that relationship. Ms. A. disputes that Mr. Chaker is the father, biological or otherwise,
12   of her child L.
13          a. On July 12, 2013, Plaintiff McMillan filed a document in the Paternity Case,
14          which included statement from Leesa Fazal, State of Nevada Office of the
15          Attorney General, who had provided her confidential investigative report for
16          submission in the Paternity Case, signed on July 11, 2013. (Exhibit 2, Submitted
17          Under Seal).
18          b. On July 22, 2013, at 8:45 a.m., Officer Fazal appeared in San Diego Superior
19          Court, according to Plaintiff’s subpoena to testify in the Paternity Case regarding
20          the facts alleged in the above mentioned Declaration. Officer Fazal and Plaintiff
21          McMillan appeared before the Superior Court, Judge Gerald Jessop, presiding.
22          The court did not have time to hear the case in the morning, and ordered Ms. Fazal
23          and Mr. Chaker back to court later that afternoon. As they exited the court,
24          Defendant DARREN followed Ms. Fazal and Plaintiff McMillan a short distance,
25          and walked at a quick pace with his mobile telephone in his hand and appeared to
26          take video of them while laughing loudly. At that time, Ms. Fazal had not yet
27          testified, and Defendant DARREN’s behavior was purposefully threatening and an
28          apparent effort to intimidate Officer Fazal, prior to her testimony.


     16-cv-2186                       First Amended Complaint                                    18

                                                 632
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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                  06/25/20PageID.951
                                               12/05/16    PageID.4856
                                                            PageID.4109 Page
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                                                                              6248
                                                                          19 of  of
                                                                                  of
                                     1196
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1           c. When Plaintiff McMillan and Officer Fazal returned they were accompanied by
2           licensed private investigator Richard Rivero. Following the hearing Defendant
3           VANIA approached Richard Rivero in a rapid manner, within a couple feet, and
4           asked him what he was doing there and demanded his name. Although he had not
5           been called to testify, Rivero responded that he was a witness, he would speak to
6           Defendant VANIA in the presence of court personnel, and attempted to pass her.
7           Defendant VANIA blocked his and Plaintiff McMillan and Officer Fazal’s exit, so
8           Plaintiff, Rivero and Fazal returned to the court room, and Defendant VANIA
9           followed. Thereafter, the courtroom deputy ordered Defendant VANIA to leave,
10          and to leave Rivero, Plaintiff McMillan and Ms. Fazal alone. The courtroom
11          deputy allowed Rivero, Plaintiff McMillan and Ms. Fazal, and shortly therafter,
12          confirmed that Defendant VANIA was not awaiting them outside the courtroom.
13          d. Plaintiff McMillan, Officer Fazal and Rivero exited the courtroom, then entered
14          the elevator to descend to the lobby. After exiting the elevator and entering the
15          lobby. Defendant DARREN blocked the doorway exit and in a loud and
16          commanding voice demanded that Officer Fazal be arrested for being armed. He
17          wanted to place her under citizen's arrest. Officer Fazal was escorted to the side
18          while the deputies determined that there were no grounds to arrest. While they
19          waited, the Defendant VANIA entered the location and brushed by Rivero as she
20          entered the elevator.
21          e. Rivero left the building with Officer Fazal, Rivero then noted Defendant
22          VANIA’s black SUV following him at a high speed. Rivero pulled to the side.
23          Defendant VANIA stopped her SUV in the middle of the street adjacent to
24          Rivero’s vehicle. Rivero felt that Defendant VANIA was attempting to intimidate
25          him. Rivero noticed Defendant DARREN hunched down in the passenger’s seat so
26          as to not be identified. Such chase was intended, and did intimidate Officer
27          FAZAL in that it gave her additional concern regarding participating in the legal
28          proceedings.


     16-cv-2186                      First Amended Complaint                                    19

                                                633
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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                  06/25/20PageID.952
                                               12/05/16    PageID.4857
                                                            PageID.4110 Page
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1           f. On July 24, 2013, and thereafter during the pendency of the Paternity Case,
2           Plaintiff provided the United States materials and information regarding Defendant
3           DARREN, specifically that Defendant DARREN had a “go kit” which included a
4           passport under his identity “David Hunter”. Which information Plaintiff
5           understands resulted in the revocation of Defendant DARREN ’s pre-trial release.
6           During Defendant DARREN’s resulting incarceration, the Chaker v. A case was
7           dormant.
8           g. During his incarceration, Darren Chaker’s mother, Nicole Chaker appeared at
9           least once at a hearing in that case.
10          h. Plaintiff is informed and believes, and based thereon alleges that, in that interim
11          period Defendant DARREN was incarcerated, also during that time, i.e., on or
12          about January 21, 2014, Plaintiff received at least one letter from Mr. Chaker that
13          appeared to have been sent via Defendant NICOLE. (Exhibit 4, Submitted Under
14          Seal). The letter contained the following threat:
15          “You never considered the fact that due to your conduct your client may
16          suffer. I should remind you the First Amendment is a 2 way street and I
17          have the right to express my opinion as well.”
18          i. On February 2, 2014 Defendant NICOLE filed documents in the paternity case
19          on behalf Defendant DARREN, including executing a declaration in his name.
20          Within the letter to the Court attached to the declaration, Defendant NICOLE
21          repeats the implied threats to reveal Susan A’s applications for government
22          benefits. (Exhibit 5, Submitted Under Seal).
23          j. Because Mr. Chaker was designated a vexatious litigant, his case was dismissed
24          for his failure to obtain a pre-filing order. Mr. Chaker has exhausted his appeals in
25          that matter.
26          41. On or about September 18, 2014, during the pendency of the Paternity Case,
27   Plaintiff McMillan received an e-mail from Darren Chaker, a true and correct copy of
28   which is attached hereto as (Under Seal) Exhibit ‘B’. Within that letter, Mr. Chaker


     16-cv-2186                       First Amended Complaint                                  20

                                                    634
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4858
                                                            PageID.4111 Page
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                                                                          21 of  of
                                                                                  of
                                     1196
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1    threatens further actions against Plaintiffs unless he convinced his client Susan A to grant
2    him concessions in the paternity case. Plaintiff has excerpted the relevant portions below
3    (with redactions and substitutions to protect the privacy of third parties):
4           9/18/14
5           Time Sensitive – Reply Required by 8PM Today
6           Confidential Settlement Communication – California Evidence Code §
            1142
7
            Dear Scott, S, and C,
8
            This is a request to settle pending claims against C, and Susan A. First,
9           allow me to clarify this letter is constitutionally protected communication. "
            'As a general rule, even if subject to some exceptions, what you may do in a
10          certain event you may threaten to do, that is, give warning of your intention
            to do in that event, and thus allow the other person the chance of avoiding
11          the consequences' "]. Equally well established is the fact that "[o]ne
            legitimate purpose of a demand letter is to intimidate." (Subrin & Main, The
12          Integration of Law and Fact in an Uncharted Parallel Procedural Universe
            (2004) 79 Notre Dame L.Rev. 1981, 2003 (hereafter Subrin & Main).)
13
            As you know the pending case concerning my son, L, Chaker v. A, San
14          Diego Superior Court Case No. D543061 and, thankfully to Scott the case
            was stayed, in lieu of filing a motion to dismiss – since I had no right to
15          personally appear in the case while in custody. Scott, I do thank you for the
            stay and that is why I never opposed the motion while in custody.
16
                                                  * **
17          To keep it simple, here’s my offer:
                                                  ***
18
19               * I will remove all blogs I have control over concerning Scott or his
            firm, and am able to remove the complaintsboard.com posting and if
20          unable to remove pissedconsumer.com, I will pay up to $500 to have SEO
            performed to push down the links as I know these sites continue to hurt the
21          practice. (I understand I have negative comments about me, however I do
            not need to impress clients with my reputation. I can assure you at least
22          one client a year doesn’t call due to reviews – costing you and your
            family money.)
23
                 * No blogs concerning S or C’s company, have been posted, but
24          various items have been set to self-publish in the event I am unable to
            access the blog and push back the self-publish date another two weeks.
25
            In short I am agreeing to things a court would not order, but am trying to be
26          amicable.
27          Scott, you once said to me “I win every time we go to court”. I think you
            mischaracterize what winning is to me. In court, it is not the court ruling.
28          It’s the time spent away from your office. Taking up your time and
            associate’s time. Taking food out of your kids mouth. Staying up late, or

     16-cv-2186                       First Amended Complaint                              21

                                                  635
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.954
                                               12/05/16    PageID.4859
                                                            PageID.4112 Page
                                                                        Page
                                                                     Page    643
                                                                              6548
                                                                          22 of  of
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                                     1196
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1           ignoring kids and wife while spending time on litigating the instant case.
            Costing you clients – at least one person a year doesn’t call you based on
2           my blogs – which have been updated recently,
            scott-mcmillan-law.blogspot.com. Your reputation and past performance,
3           likely increases the likelihood of opposing counsel’s decision to fight a
            pending case longer - which costs you more time and money. Out of court,
4           I have a few more victories than you and will always prevail in that
            respect, and win by having you and family spending money on
5           cameras, watching the monitors, looking out the window, and drawing
            drapes – of course there’s no proof I have not done a thing nor do I
6           admit such, but if you think I am responsible, indeed I win every day.
                                                 ***
7
     (Exhibit ‘B’, Filed Under Seal)
8
      Hacking Twitter and Unauthorized Access to Plaintiff McMillan’s Paypal Account
9
            42. Plaintiffs believe that Defendant DARREN Chaker has attempted to hack into
10
     Plaintiff’s twitter and paypal accounts. Specifically,
11
            a. On October 22, 2014, Plaintiff McMillan received a notice from Paypal of
12
            “unusual activity” on his account. Plaintiff hadn’t attempted to sign in to his
13
            Paypal account at that time. A true and correct copy of that email is attached
14
            hereto as Exhibit ‘C’. Due to the timing of the notice, Plaintiff is informed and
15
            believes that it was Darren Chaker that hacked into Plaintiff’s account.
16
            b. On November 19, 2014, Plaintiff received a notice of a “suspicious sign in
17
            detected on [his] twitter account.” Plaintiff hadn’t attempted to sign in to his
18
            twitter account. A true and correct copy of that email is attached hereto as Exhibit
19
            ‘D’. Due to the timing of the notice, Plaintiff is informed and believes that it was
20
            Darren Chaker that hacked his account.
21
            43. Following that threat of September 18, 2014, Mr. Chaker began posting
22
     information on the scott-mcmillan-law.blogspot.com site that he operated that, among
23
     other things, Plaintiff had molested his daughter. The first such statement appeared on
24
     Thanksgiving Day, i.e., Thursday, November 27, 2014. A copy of that post is attached
25
     hereto as Exhibit ‘E.’ Plaintiff had not authorized Defendants to use Plaintiff’s name in
26
     any manner. Plaintiff had not molested his daughter. That webpage has since been
27
     removed.
28
            44. In order to improve the likelihood of the search engines indexing his site to

     16-cv-2186                       First Amended Complaint                                   22

                                                 636
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.955
                                               12/05/16    PageID.4860
                                                            PageID.4113 Page
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                                                                     Page    644
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                                                                          23 of  of
                                                                                  of
                                     1196
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1    Plaintiff’s name, Defendant DARREN optimized that page, Exhibit ‘E’, for search
2    engines with “labels” including “4760-Nebo, attorney-sex-offender, el-
3    cajon-sex-offender, la-mesa-sex-offender. Rebecca-McMillan, scott-mcmillan-law,
4    www.mcmillanlaw.us.”
5           45. Mr. Chaker also operated a Blogger site at
6    http://mcmillanlawfirm.blogspot.com/. Plaintiff had not authorized Defendant DARREN
7    to use the firm’s name in this manner. He published similarly false, scandalous, libelous
8    material on that site.
9           46. On or about November 28, 201[4], Defendant DARREN Chaker posted on
10   the Blogger site at scott-mcmillan-law.blogspot.com, a post entitled “Maura Larkins
11   Linked to Sex Abuse.” Within that post Chaker repeats his false statements about
12   Plaintiff, and also recited a completely fabricated association between Plaintiff and Ms.
13   Larkins, who is another individual with whom Mr. Chaker has conflict. A true and correct
14   copy of that post is attached hereto as Exhibit ‘G’.
15                                        Spoofing Emails
16          47. On December 3, 2014, Plaintiff received a “spoofed” or bogus email that
17   purported to have been sent from Plaintiff’s own e-mail address “scott@mcmillanlaw.us”
18          a. The email stated:
19          “Scott McMillan and family are child molesters per a recent report,
            http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-
20          la-mesa.html”
21          b. A true and correct copy of the email is attached as Exhibit ‘H.’
22          c. A true and correct copy of the email with the header is attached as ‘I’.
23                                          Google Places
24          48. On December 4, 2014, a “Darren C.” posted a 2 star review for the McMillan
25   Law Firm, APC on Google places, wherein he stated:
26
            “I wish I knew of his interests in children, http://scott-mcmillan-
27          law.blogspot.com/2014/11/scott-mc.”
28          a. A screen shot of Plaintiff’s administration page for Google Places is attached


     16-cv-2186                       First Amended Complaint                                   23

                                                 637
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.956
                                               12/05/16    PageID.4861
                                                            PageID.4114 Page
                                                                        Page
                                                                     Page    645
                                                                              6748
                                                                          24 of  of
                                                                                  of
                                     1196
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1            hereto as Exhibit ‘J’.
2            b. That post was later deleted. In light of the timing of that e-mail, the use of the
3            name “Darren C.”, and that the identical content was posted on his blogspot sites,
4            Defendant DARREN was the poster.
5            49. Defendant DARREN. Chaker sent e-mails to many members of the local legal
6    community, accusing Plaintiff of molesting his daughter. A copy of one such email
7    dated December 6, 2014 is attached hereto as Exhibit ‘K’. That e-mail was sent to
8    Andrew Griffin, an attorney for an opposing party in a bankruptcy case where Plaintiff
9    represented a creditor, who in turn, forwarded the e-mail to Plaintiff on December 8,
10   2014.
11           50. On December 22, 2014, at 1:57 a.m., Defendant DARREN sent Plaintiff an e-
12   mail with the subject line “Pending Paternity Case”. A copy of that email is attached
13   hereto as Exhibit ‘L.’
14           51. On December 23, 2014, at approximately 10:08 a.m., Plaintiff received an e-
15   mail from Defendant DARREN Chaker entitled “Request to See Son.” A copy of that
16   email is attached hereto as Exhibit ‘M’.
17           Threats to E-mail Colleagues in the San Diego East County Community
18           52. On December 23, 2014, Plaintiff received an e–mail from Defendant
19   DARREN where he stated:
20           “Mr. McMillan, the reported conduct I have found is very improper and
             disgusting. I have been forced to notify numerous members of the bar about
21           my blog concerning your firm, most recently the Foothills Bar Association,
             and will start naming your daughter, I believe a former Ms. El Cajon, as the
22           likely victim. I hope you have ceased your conduct and notice to hundreds
             of people has done the public some good.
23
             Dear XXXXXX,
24
             Sex offender. As a member of the bar and likely parent, I would hope notice
25           of a report concerning La Mesa Attorney Scott McMillan, who also
             operates McMillan Academy of Law without a single applicant/graduate,
26           http://campus.lawdragon.com/schools/mcmillan-academy-of-law/ was
             reported to take part in sexual molestation of a minor. See,
27           http://scott-mcmillan-law.blogspot.com/2014/11/scott-mcmillan-la-mesa.ht
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28
             The report provides great detail and hope you pass this email along, as I

     16-cv-2186                        First Amended Complaint                                  24

                                                  638
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.957
                                               12/05/16    PageID.4862
                                                            PageID.4115 Page
                                                                        Page
                                                                     Page    646
                                                                              6848
                                                                          25 of  of
                                                                                  of
                                     1196
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1           have distributed it to 200 attorneys in San Diego. Scott McMillan is also a
            documented family friend of Kenneth Bourke who was also arrested for
2           child molestation – see report -
            http://scott-mcmillan-law.blogspot.com/2014/09/scott-mcmillan-molest-la-
3           mesa.html
            Happy Holidays to all.
4           Darren Chaker”
5           a. A copy of that email is attached hereto as Exhibit ‘N’.
6           53. On or about June 8, 2015, Google removed the scott-mcmillan-attorney.
7    blogspot.com site, which defendants had created without Plaintiffs authorization.
8           54. On or about June 16, 2015, Google removed the mcmillanlawfirm.
9    blogspot.com site, which defendants had created without Plaintiffs authorization.
10                                   COMPLAINTSBOARD.COM
11          55. Since 2011 and through the present, a person that Plaintiff McMillan believes
12   to be Defendant DARREN based on identical content posted on his website and Mr.
13   Chaker’s statements above of September 18, 2014 that he is “able to remove the
14   complaintsboard.com posting”, has posted derogatory and defamatory statements about
15   Plaintiff on the Internet at:
16   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
17   ml#comments
18          a. A true and correct copy of that post as published is attached hereto as Exhibit
19          ‘O.’
20          b. The poster is identified as “Tracy Law Houston.” Cynthia Tracy, Attorney at
21          Law, P.C., a family law attorney in Houston, Texas, formerly represented Nicole
22          Mateo in the custody and child support case against Darren Chaker.
23          56. Despite the removal of the blogspot sites, on August 23, 2015, a poster using
24   the name and search term “scott-mcmillan-la-mesa” posted the following as a comment to
25   the post at http://www. complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-
26   c571484.html#comments
27          a. “I located the police report about Scott McMillan, La Mesa, Attorney reportedly
            molesting children. I also found he operates his own law school out of a small, run
28          down office near the train tracks, but in the same breath says he's a leading law
            firm. With this reputation, I cannot imagine such is true.”

     16-cv-2186                       First Amended Complaint                                 25

                                                639
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.958
                                               12/05/16    PageID.4863
                                                            PageID.4116 Page
                                                                        Page
                                                                     Page    647
                                                                              6948
                                                                          26 of  of
                                                                                  of
                                     1196
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1           b. Attached as an image to the comment, he re-posted his November 27, 2014
2           post, i.e., the content at Exhibit ‘B’ herein, the repost of which is attached at
3           Exhibit ‘P.’
4           57. On September 16, 2015, a poster using the name and search term
5    “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
6    http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
7    ml#comments
8           a. “Scott McMillan, McMillan Law Firm, sued the hardworking Sheriff over his
            Facebook Account. The law settled for about nothing. It is unfortunate law
9           enforcement need to pay out money to defend such nuisance lawsuits, when that
            money should be going to hiring more officers, and buying newer equipment. With
10          about 60 loses in the Court of Appeal docket, astonishing he is still in office.”
11          b. That case – Karras v. Gore, U.S. D.C. So. Dist. Cal., 14cv2564-BEN-KSC –
12          was settled for a payment of attorneys fees plus the token $20. Thus, the above
13          statement is false, as the Sheriff paid attorneys fees and agreed to change practices.
14          c. Attached as an image to the comment, he posted a partial news article, a copy of
15          which is attached as Exhibit ‘Q.'
16          58. Also on September 16, 2015, a poster using the name and search term
17   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
18   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
19   ml#comments
20          a. “McMillan Academy of Law, run by Scott McMillan appears to have not had a
            single student go through his law firm, where the class is shared in the same space
21          as the attorney, oh and also Dean McMillan (also an attorney working out of same
            office. According to LawDragon, no one has ever graduated or even applied to that
22          law school.”
23          b. Attached as an image to the comment, he posted a webpage print-out, a copy of
24          which is attached as Exhibit ‘R.'
25          59. Also on September 16, 2015, a poster using the name and search term
26   “mcmillan-law-firm-la-mesa” posted the following as a comment to the post at
27   http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
28   ml#comments


     16-cv-2186                       First Amended Complaint                                   26

                                                  640
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4864
                                                            PageID.4117 Page
                                                                        Page
                                                                     Page    648
                                                                              7048
                                                                          27 of  of
                                                                                  of
                                     1196
                                      100


1           a. “McMillan sued by Yelp! for posting his own reviews. Read the story in detail,
2           sad set of circumstances, especially when you need to create your own reviews.”
3           In truth and in fact, Plaintiffs had not posted their “own reviews.” Plaintiffs had
4           represented Julian McMillan, who had been sued by Yelp.
5
            b. Attached as an image to the comment, he posted a news article, a copy of which
6
            is attached as Exhibit ‘S.' Plaintiff did not post his own reviews. Indeed, in that
7
            case, Plaintiff was not accused by Yelp of posting comments. Rather, Plaintiff
8
            represented another attorney, Julian McMillan, in the case. Chaker edited out the
9
            part that would have otherwise explained that Plaintiff was not the Defendant
10
            DARREN in that action, but rather just the attorney. Contrary to Defendants’
11
            suggestion, Plaintiff was partially successful at the time of the posting of the
12
            article. Plaintiff won a motion to change venue, and counsel for Yelp paid
13
            Plaintiffs attorneys fees.
14
            60. Most recently, on February 9, 2016, a poster using the name and search term
15
     “mcmillan-law-firm” posted the following as a comment to the post at
16
     http://www.complaintsboard.com/complaints/the-mcmillan-law-firm-la-mesa-c571484.ht
17
     ml#comments
18
            a. “Williams v. The Superior Court of San Diego County/Nordstrom, Inc., Court
19          of Appeal Case Number D068765. shows Scott McMillan, McMillan Law Firm in
            Las Mesa, LOST ANOTHER case. This one where Nordstrom is vigorously
20          defending itself against allegations of attorney, law professor, and law school dean
            (Yes, Scott McMillan is all three of those titles since he runs a law school,
21          McMillan Academy of Law, out of two story office near the train tracks. Despite
            not a single student has graduated, or appears to have attended, no one has taken
22          the bar exam either. Nonetheless, this is another example of Scott McMillan losing
            another case - although he claims to be a "leading" San Diego attorney.”
23
            b. Attached as an image to the comment, the docket form , a copy of which is
24
            attached as Exhibit ‘T.’
25
            c. This statement is also false, as the court of appeals allowed the appeal to
26
            proceed in light of the law regarding final, appealable orders.
27
            d. Further, the Court entered an order of stipulated reversal of such appeal.
28
            61. On or about March 27, 2016, Plaintiff McMillan identified a post using

     16-cv-2186                          First Amended Complaint                                  27

                                                  641
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.960
                                               12/05/16    PageID.4865
                                                            PageID.4118 Page
                                                                        Page
                                                                     Page    649
                                                                              7148
                                                                          28 of  of
                                                                                  of
                                     1196
                                      100


1    Plaintiff TMLF’s logo and created in a manner that suggested it was posted by Plaintiff or
2    someone else from his firm. Plaintiff did not authorize Defendant DARREN or anyone
3    else to use the McMillan Law Firm’s logo in this manner. The latest entry was posted on
4    or about December 17, 2015. Specifically, a poster using the name and search term
5    “scott-mcmillan-law-firm-la-mesa” setup a bogus page entitled “The McMillan Law Firm
6    Customer Care Service” using The McMillan Law Firm, APC logo at
7    http://www.complaintsboard.com/the-mcmillan-law-firm-b121166
8           a. A true and correct copy of that page is attached hereto as Exhibit ‘U.’
9           Notably, the bogus “customer care service” repeats the same false allegations as
10          previously made by Chaker. i.e., that Plaintiff molested his daughter.
11          b. On December 8, 2015 – Plaintiff’s birthday – Mr. Chaker emailed Plaintiff the
12          following statement:
13          Good afternoon Scott,
14          I have been unable to locate a TM/Copyright for the domain
            mcmillanlaw.us or for your law firm with the USPTO or U.S. Copyright
15          Office. If there is such, kindly advise prior to 7PM today. If I do not receive
            a response, it will be presumed there is no such TM/Copyright. Prior to
16          posting additional material, I will extend this courtesy to you.
17          Also, I have updated the material on
            http://scott-mcmillan-law.blogspot.de/p/scott-mcmillan-attorney-la-mesa.ht
18          ml
19          I have also copied Maura Larkins on this email.
20          Best regards,
21          Darren”
22          c. A true and correct copy of the email dialog that occurred December 8, 2014, are
23          attached as Exhibit ‘V’.
24          d. Plaintiffs had not authorized the use of their name, the logo, or creation of a
25          customer care site on Complaintsboard.com.
26          62. Following Mr. Chaker’s posts to complaintsboard.com, individuals solicited
27   Plaintiffs purporting to be able to have the ability to remove the posts. They wanted to
28   charge Plaintiffs $4,800 to remove defendants posts.


     16-cv-2186                        First Amended Complaint                                   28

                                                 642
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.961
                                               12/05/16    PageID.4866
                                                            PageID.4119 Page
                                                                        Page
                                                                     Page    650
                                                                              7248
                                                                          29 of  of
                                                                                  of
                                     1196
                                      100


1                                   PISSEDCONSUMER.COM
2             63. Since 2011 and through the present and as late as February, 2016, a person
3    using a pseudonym, that Plaintiff McMillan believe to be Defendant DARREN, or the
4    other defendnats, based on the content and Defendant DARREN’s statements above of
5    September 18, 2014 referring to the “pissedconsumer.com” website, has posted
6    derogatory and defamatory statements about Plaintiff on the Internet at the website
7    domain “PISSEDCONSUMER.COM”:
8             64. A Google search of “scott mcmillan site:pissedconsumer.com” returns some
9    3200 results. Most of those results appear to have been posted in 2015 and 2016.
10   Plaintiffs believe that defendants have posted all of those entries. They have done so
11   either anonymously or using some variation of the key words: “The Mcmillan Law Firm -
12   La-Mesa-Attorney-Scott-McMillan”
13            65. Unlike Complaintsboard.com, Pissedconsumer.com does not remove the
14   information posted by persons such as Defendant DARREN. Specifically, the terms of
15   service of Pissedconsumer states:
16            “5. Removal of Information
              By posting information on PC, you understand and agree that the material
17            will not be removed even at your request. You shall remain solely
              responsible for the content of your postings on PC.”
18
     http://www.pissedconsumer.com/tos.txt.
19
              66. The Pissedconsumer.com post that Chaker started on November 3, 2011, is
20
     attached hereto as Exhibit ‘W’. Within that post he misrepresents Plaintiff’s win/loss
21
     ratio.
22
              67. On August 23, 2015, Defendant DARREN made the false allegation, accusing
23
     Plaintiff of child molestation, a copy is attached hereto as Exhibit ‘X’.
24
              68. On December 4, 2015, Defendant DARREN posted a review entitled “The
25
     Mcmillan Law Firm - Scott McMillan Law Firm - La Mesa - Malpractice” which falsely
26
     accuses Plaintiff of malpractice, attached hereto as Exhibit ‘Y.’ Chaker falsely states that
27
     an appeal in Williams v. Nordstrom, Inc. was to be dismissed, and termed it
28
     “malpractice.” In fact, the appeal was not dismissed and ultimately resulted in a

     16-cv-2186                       First Amended Complaint                                  29

                                                 643
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.962
                                               12/05/16    PageID.4867
                                                            PageID.4120 Page
                                                                        Page
                                                                     Page    651
                                                                              7348
                                                                          30 of  of
                                                                                  of
                                     1196
                                      100


1    stipulated order of reversal.
2           69. On February 11, 2016, Defendant DARREN posted a review “The Mcmillan
3    Law Firm - Scott McMillan Law Firm La Mesa,” which is attached hereto as Exhibit ‘Z.’
4    Chaker made statements that were knowingly false as he stated that the “the Court of
5    Appeal DENIED the petition after forcing the defendant incur huge amounts of attorney
6    fees.” In fact, the defendant did not file a response. Chaker had no basis to suggest that
7    attorneys fees were incurred resulting from the filing of the petition. Chaker further
8    falsely stated Plaintiff’s record as “almost 80 under his belt and a hand full of wins.”
9                                           Current Posts
10          70. To date Defendant DARREN continues to post material on his website in a
11   manner that is intended to optimize his websites to respond to search engine indexes with
12   his name. Specifically, he continues to use the tags “mcmillan-associates-la-mesa”,
13   “scott-mcmillan-la-mesa”:
14          71. On March 29, 2016, Plaintiff accessed
15   http://darren-chaker.blogspot.com/search/label/scott-mcmillan-la-mesa and retrieved the
16   attached article, a true and correct copy of which is attached hereto as Exhibit ‘AA’
17   which incorporates the use of the tags.
18          72. On March 29, 2016, Plaintiff accessed http://darrenchaker.us/ and retrieved
19   the attached article bearing a date of December 8, 2015, a true and correct copy is
20   attached hereto as Exhibit ‘BB’, which incorporates the use of the tags.
21          73. On March 29, 2016, Plaintiff McMillan accessed http://darrenchaker.org/ and
22   retrieved the attached article bearing a date of January 23, 2016, a true and correct copy is
23   attached hereto as Exhibit ‘CC’, which incorporates the use of the tags.
24                          Defendant DARREN’s Use of Pseudonyms
25          74. Plaintiff is informed and believe that Darren Chaker also uses the pseudonym
26   “Luis Perdomo.” On March 29, 2016, Plaintiff accessed
27   https://plus.google.com/1048021677 37415969641/posts/HySqAKY7jYR and retrieved
28   the attached page, a true and correct copy is attached hereto as Exhibit ‘DD’,


     16-cv-2186                       First Amended Complaint                                     30

                                                 644
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.963
                                               12/05/16    PageID.4868
                                                            PageID.4121 Page
                                                                        Page
                                                                     Page    652
                                                                              7448
                                                                          31 of  of
                                                                                  of
                                     1196
                                      100


1    incorporating the same allegations and artwork published by Defendant DARREN
2    Chaker.
3                 Defendant DARREN admits that he knows that he is barred
4                               from posting defamatory material.
5            75. On January 22, 2016, Defendant DARREN Chaker appeared for a judgment
6    debtors exam. He had been previously ordered to produce the names of the domains that
7    he holds. On the record in the Chaker v. Mateo case, he admitted that he had such logins
8    and that his use of those could result in the revocation of his supervised release.
9    [Transcript, p. 9] Defendant DARREN was also ordered to provide the identifying
10   information as to Internet domains that he owns. A copy of relevant portions of the
11   transcript is attached hereto as Exhibit ‘EE’.
12           76. Defendant DARREN did not appear as ordered on March 11, 2016, in the
13   Superior Court to provide the information. As recited in the transcript of January 22,
14   2016, Defendant DARREN was aware that he was required to appear at the continued
15   examination. [Exh. EE, page 31]
16           77. On March 11, 2016 Defendant DARREN failed to appear for his continued
17   judgment debtor’s examination. Judge Taylor issued a bench warrant for his appearance,
18   which remains outstanding. A copy of that bench warrant is attached hereto as Exhibit
19   ‘FF’.
20           78. On March 11, 2016 the Superior Court in the Chaker v. Mateo case has
21   ordered the appointment of a receiver to take possession of Mr. Chaker’s personal
22   property, including his domain names for ultimate sale in order to satisfy the judgment.
23   Despite orders to do so, Defendant DARREN has not complied with the orders of the
24   Superior Court.
25             Defendant DARREN has created false accounts with Plaintiff’s name
26           79. Defendant DARREN created accounts using Plaintiff’s name and the name of
27   the McMillan Law Firm. One of those accounts is on Slideshare.net, and reflected on
28   Exhibit ‘GG’. Plaintiff surmise that he has prepared that account in order to upload his


     16-cv-2186                       First Amended Complaint                                   31

                                                 645
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.964
                                               12/05/16    PageID.4869
                                                            PageID.4122 Page
                                                                        Page
                                                                     Page    653
                                                                              7548
                                                                          32 of  of
                                                                                  of
                                     1196
                                      100


1    defamatory material that he intends to falsely attribute to him. Plaintiff believes that
2    Defendant DARREN made that account because it is associated by Slideshare with an
3    account under the name of David Gingras, another attorney who successfully represented
4    a victim of Defendants and whom Chaker has also targeted for harassment.
5           Defendants have inflicted damage upon both Plaintiffs and their clients.
6           80. Attorneys rely upon their reputation in the community and before the courts
7    that they practice in. Defendant DARREN’s outrageous lies which he has published have
8    injured Plaintiffs’ practice. Opposing counsel in other, unrelated cases have mentioned
9    the existence of the posts. Clients have mentioned the existence of the posts and their
10   content. Plaintiff McMillan believes that jurors that Plaintiff has tried cases in front of
11   have accessed the posts and taken them into account in determining the cases. Thus,
12   Defendants’ threats made on September 18, 2014 have borne out. Plaintiffs have invested
13   substantial time in developing Plaintiff McMillan’s reputation as a zealous advocate for
14   his clients, and remaining consistent to the duties of an attorney as set forth in Business
15   and Professions Code section 6068, and particularly that set forth in subsection (h):
16          “Never to reject, for any consideration personal to himself or herself, the
17          cause of the defenseless or the oppressed.”
18   (Bus. & Prof. Code 6068(h).)
19          81. Susan A. has been, prior to representation by Plaintiffs herein, defenseless to
20   and oppressed by Defendants.
21          82. Wendy Mateo was defenseless to and was oppressed by Defendants.
22          83. Plaintiff understood that Defendants could resort to attacks of Plaintiff
23   McMillan’s character when Plaintiff continued to represent Susan A. despite Defendants
24   threats to engage in libel against him. Defendants then performed on their threats, and
25   have engaged in the forewarned attacks against Plaintiff – and later Plaintiff’s family
26   members – following January 21, 2014, and September 18, 2014.
27
28


     16-cv-2186                       First Amended Complaint                                      32

                                                 646
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.965
                                               12/05/16    PageID.4870
                                                            PageID.4123 Page
                                                                        Page
                                                                     Page    654
                                                                              7648
                                                                          33 of  of
                                                                                  of
                                     1196
                                      100


1                                    FIRST CLAIM FOR RELIEF
2               Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §1962(c)
3                                        (Against Darren Chaker)
4              84. Plaintiffs reallege and incorporate paragraphs 1-83 as though fully set forth
5    herein.
6              85. Defendant DARREN Chaker is a “person” cappable of holding a legal or
7    beneficial interest in property within the meaning of 18 U.S.C. § 1961(3).
8              86. Defendant DARREN Chaker listed above has violated 18 U.S.C. § 1962(c) by
9    commission of the following multiple acts.
10                                          Chaker Enterprise
11             87. Plaintiffs allege that during all the time material herein that DARREN Chaker,
12   an individual, along with other individuals, including, but not limited to, Defendants
13   VANIA Chaker and NICOLE Chaker constitutes the “Enterprise.”
14             88. Plaintiffs allege that the Enterprise constitutes a RICO ‘enterprise’ as that term
15   is defined pursuant to 18 U.S.C § 1961(4). As described above, the members of the
16   Enterprise have functioned together as a continuing unit with a common purpose to obtain
17   the Plaintiffs’ property under fear induced by falsely imputing a deformity, disgrace, or
18   crimes, and by threats to do an unlawful injury to the person or property, as described in
19   Cal Penal Code section 519, all in violation of Cal. Penal Code section 523 (extortion).
20             89. The Enterprise exists separate and apart and distinct from the conducting of
21   the pattern of racketeering as the Defendant, an individual, is one of a number of other
22   individuals which comprise the Enterprise. The alleged Enterprise herein also satisfies
23   the three “structural features” of Boyle v. United States, i.e., the group had a purpose;
24   relationships with each other; and longevity sufficient to permit the associates to pursue
25   the enterprise’s purposes.
26             90. Here, the FAC describes how the members of the Enterprise, since at least
27   year 2004 and continuously up to the present time, worked together to file meritless
28   lawsuits under the Fair Credit Reporting Act (para. 10-11; 14; 16; 19); and worked


     16-cv-2186                         First Amended Complaint                                    33

                                                    647
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.966
                                               12/05/16    PageID.4871
                                                            PageID.4124 Page
                                                                        Page
                                                                     Page    655
                                                                              7748
                                                                          34 of  of
                                                                                  of
                                     1196
                                      100


1    together for Defendant DARREN Chaker to file baseless lawsuits under the Fair Credit
2    Billing Act and other statutes (para. 18). In year 2004, Defendant VANIA Chaker
3    represented Defendant DARREN Chaker in a federal lawsuit in which DARREN, acting
4    subnom as Darren Del Nero, and his mother and enterprise member Defendant NICOLE
5    Chaker brought a baseless action against Midland Credit Management Inc. (para. 11).
6    DARREN and his attorney Defendant VANIA Chaker were sanctioned for bringing the
7    suit in bad faith and for the purpose of harassment (para. 11, supra). Morevoer,
8    Defendant VANIA Chaker also temporarily represented Defendant DARREN Chaker
9    subnom in another case in year 2004 so that Defendant DARREN could avoid the bar of
10   prefiling orders placed resulting from his designation as a vexatious litigant (para. 11,
11   supra).
12             91. The common purpose of the Enterprise members was to assist each other in
13   the filing of false and meritless lawsuits under federal debt collection statutes; assist each
14   other in the filing of lawsuits against attorneys who opposed them (para. 17, 78), and to
15   conduct a campaign of harassment, defamation, and extortion against attorneys, such as
16   the Plaintiffs, who represented parties adverse to the interests of the Enterprise members
17   (para. 29-83). Enterprise members also assisted each other in committing vandalism
18   against Plaintiff’s property (para. 31).
19             92. Further proof of these relationships, in addition to the familial relationships, is
20   described for example, in para. 40, in which during the Plaintiffs’ representation of Susan
21   A. in a lawsuit for paternity brought by Defendant DARREN, Defendant VANIA blocked
22   the entrance of the courtroom of a licensed private investigator (Rivero) hired by Plaintiff
23   while DARREN blocked the doorway exit (para. 40 a-d); and VANIA and DARREN
24   together chased Rivero in a black SUV in an effort to intimidate him (para. 40-e).
25   Another example is described in para. 40g-i, in which Defendant NICOLE, who is not an
26   attorney but was counseled by Defendant VANIA, appeared at a hearing in the Susan A.
27   case while Defendant DARREN was incarcerated. Also, on or about January 21, 2014,
28   Defendant NICOLE sent an intimidating letter to Plaintiffs and filed documents in the


     16-cv-2186                          First Amended Complaint                                    34

                                                    648
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.967
                                               12/05/16    PageID.4872
                                                            PageID.4125 Page
                                                                        Page
                                                                     Page    656
                                                                              7848
                                                                          35 of  of
                                                                                  of
                                     1196
                                      100


1    case and executed a declaration to which was attached the threatening letter.
2           93. The Enterprise was engaged in, and its activities affected, interstate commerce
3    as its members stole the identity of credit card holders (para. 28, the Frantzes). Enterprise
4    members also threatened attorneys who worked in interstate commerce and represented
5    victims (such as Plaintiff). Also see Charles Kim, para. 28(d); Defendant DARREN filed
6    false bankruptcy petitions to avoid foreclosures and collect rental income (para. 23);
7    Defendant DARREN began using Plaintiff’s name on internet postings (para. 36, 45);
8    Defendant DARREN hacked into Plaintiffs’ Paypal and Twitter accounts in which
9    payments were made in interstate commerce (para. 42); Defendant DARREN unlawfully
10   posted information on defendant’s internet “blogspot.com” account which was
11   defamatory thereby causing Plaintiffs, who operate in interstate commerce, to suffer a
12   loss of income (para. 43, 46, 83); and Enterprise members posted derogatory and
13   defamatory statements on the internet at different websites (see, e.g., para. 55 -
14   complaintsboard.com, para. 63 - pissedconsumer.com) which affected Plaintiff’s
15   business, which operated in interstate commerce. Plaintiffs thus allege that these
16   activities engaged in by said defendants injured Plaintiffs’ business and/or property
17   interests in connection with their business activities that affect federal interstate and/or
18   foreign commerce.
19                                  The Pattern of Racketeering
20          94. From in or about 2004 and continuing up through the present time, Defendant
21   DARREN Chaker, a person associated with, or employed by the Enterprise, did
22   knowingly and unlawfully conduct or participate, directly or indirectly, in the affairs of
23   the Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C.
24   § 1961(1) and § 1961(5); all in violation of 18 U.S.C. §1962(c).
25          95. The RICO Defendant DARREN worked with other Enterprise members with
26   the “intent to extort” property from Plaintiffs as described in Cal. Penal Code, Sections
27   518 and 523, i.e., to obtain under threat of fear Plaintiff’s intangible property right to
28   adequately represent victims in his practice of law and prosecute his case on behalf of his


     16-cv-2186                        First Amended Complaint                                      35

                                                  649
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.968
                                               12/05/16    PageID.4873
                                                            PageID.4126 Page
                                                                        Page
                                                                     Page    657
                                                                              7948
                                                                          36 of  of
                                                                                  of
                                     1196
                                      100


1    clients free of threats, thereby directly and proximately causing tangible harm to his
2    business and concrete financial losses. For example, Defendant DARREN has caused the
3    sending of writings, usually by email, with the intent to extort Plaintiffs intangible right to
4    represent his client by threatening further actions against Plaintiffs unless Plaintiff
5    worked to have Plaintiffs’ client provide concessions to Defendant in federal litigation
6    (see para. 40 Susan A. paternity case). Defendant intended to extort property from
7    Plaintiffs, i.e., the right to practice his legal practice by engaging in threats of violence if
8    Plaintiffs continued to collect and publish legal decisions through the website
9    FEARNOTLAW.COM.
10             96. Plaintiffs allege that these activities engaged in by Defendant DARREN
11   injured Plaintiffs’ business and/or property interests, and proximately and directly caused
12   tangible harm to Plaintiffs’ business, including proximately causing concrete financial
13   losses.
14             97. Plaintiffs allege that these activities constitute acts involving extortion in
15   violation of California Penal Code sections 518, 519, and 523, acts punishable by
16   imprisonment for more than one year, and thus racketeering activity as defined in 18
17   U.S.C. § 1961(1)(A).
18                       18 U.S.C. § 1961(5) Pattern of Racketeering Activity
19             98. Plaintiffs allege that the course of conduct engaged in by RICO defendant
20   DARREN Chaker constitutes both continuity and relatedness of the racketeering activity,
21   thereby constituting a pattern of racketeering activity, as that term is defined in 18 U.S.C.
22   § 1961(5). Plaintiffs allege that the relatedness criterion is satisfied as the predicate acts
23   were related to each other, and related to the activities and purposes of the Enterprise.
24   Plaintiffs allege the “continuity” of the pattern of racketeering activity is both closed-
25   ended inasmuch as a series of related predicate offenses extended over at least ten years
26   (a substantial period of time). The racketeering acts of extortion also are “open-ended”
27   inasmuch as the racketeering activities of extortion themselves carry a specific threat of
28   repetition extending indefinitely into the future. Moreover, the FAC describes that the


     16-cv-2186                          First Amended Complaint                                    36

                                                     650
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                            Document
                             Document127-1
                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.969
                                               12/05/16    PageID.4874
                                                            PageID.4127 Page
                                                                        Page
                                                                     Page    658
                                                                              8048
                                                                          37 of  of
                                                                                  of
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1    extortionate conduct toward attorneys who represented clients against him was the
2    “regular way the enterprise conducted its business” (see para. 28d, para. 79, extortion of
3    attorney David Gringas) and thus constitute continuing racketeering activity. Defendant
4    DARREN continues in this year 2016 to post defamatory materials on his website to
5    cause Plaintiffs injury (para. 70-73, Exhs. AA-CC).
6                                  Racketeering Acts of Extortion
7                                      Racketeering Act One
8           99. On or about November 23, 2010, Defendant DARREN, within the Southern
9    District of California, with intent to extort money or other proprty from Plaintiffs, sent and
10   delivered to Plaintiff a letter demanding Plaintiff remove posts concerning Defendant
11   DARREN’s cases from FEARNOTLAW.COM. Subsequently, DARREN sent e-mails to
12   Plaintiff making implicit threats against Plaintiff’s property (dogs) (para. 34). Defendant
13   DARREN’s letter and e-mails were writings which expressly, or implied, a threat specified
14   in Section 519(1), i.e., to do an unlawful injury to the person or property of the individual
15   threatened. These acts constituted extortion as the Defendant obtained from Plaintiffs their
16   intangible property right to practice law and publish court decisions on the internet, all in
17   violation of section 523 and 519, thereby causing tangible harm and direct injury to
18   Plaintiffs’ business.
19          100. Section 523 provides that violations of that section are punishable in the same
20   manner as if such money or property were actually obtained by means of such threat.
21   Violations of section 523 are felony violations as described in section 520.
22                                      Racketeering Act Two
23          101. On or about November 28, 2011, during the pendency of representation by
24   Plaintiff of Maura Larkins, Defendant DARREN, within the Southern District of California,
25   with intent to extort money or other property from Plaintiffs, posted on Plaintiffs’ scott-
26   mcmillan-law.blogspot.com site defamatory statements about Plaintiff and recited a
27   completely fabricated association between Plaintiff and Ms. Larkins (para. 46, Exh. G).
28   These were writings which expressly and implied a threat as specified in Section 519(3), i.e.,,


     16-cv-2186                       First Amended Complaint                                    37

                                                  651
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Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                                     Page    659
                                                                              8148
                                                                          38 of  of
                                                                                  of
                                     1196
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1    to expose or impute to Plaintiff a defamatory, disgrace, or crime. These acts constituted
2    extortion as the Defendant obtained from Plaintiff his intangible property right to practice
3    law free of threats and to practice in accordance with the California Rules of Professional
4    Conduct, all in violation of section 523 and 519, thereby causing tangible harm and direct
5    injury to Plaintiffs’ business.
6                                       Racketeering Act Three
7           102. On or about January 21, 2014, during the pendency of the Susan A. paternity
8    case, Defendant DARREN, within the Southern District of California, with intent to extort
9    money or other property from Plaintiffs, through his mother Defendant NICOLE, sent and
10   delivered to Plaintiff McMillan a letter (Exhibit 4) threatening that Plaintiff’s “client will
11   suffer” due to Plaintiff’s representation of Suan A. (para. 40). Defendant’s letter was a
12   writing which expressly and impliedly made a threat as specified in section 519(1), i.e., to
13   do an unlawful activity to the person or property of the individual by threatenting that unless
14   Plaintiff complied, Plaintiff’s client would suffer. These acts constituted extortion as the
15   Defendant obtained from Plaintiff his intangible property right to practice law free of threats,
16   and to practice in accordance with the California Rules of Professional Conduct, all in
17   violation of sections 523 and 519, thereby causing tangible harm and direct injury to
18   Plaintiffs’ business.
19                                      Racketeering Act Four
20          103. On or about September 18, 2014, during the pendency of the Susan A. paternity
21   case, 2010, Defendant DARREN, within the Southern District of California, with intent to
22   extort money or other property from Plaintiffs, sent and delivered to Plaintiff an e-mail
23   (Exhibit B) demanding Plaintiff to convince Susan A. to grant him concessions in the
24   paternity case (para. 41). Defendant’s e-mails were writings which expressly and impliedly
25   made a threat as specified in section 519(1), i.e., to do an unlawful injury to the person or
26   property of the individual by threatening that unless Plaintiff complied, the Plaintiff would
27   lose “clients,” and would “take food out of [Plaintiff’s kids mouths],” and Plaintiff would
28   incur other pecuniary losses. These acts constituted extortion as the Defendant obtained from


     16-cv-2186                        First Amended Complaint                                    38

                                                  652
Case
Case
 Case3:16-cv-02186-WQH-MDD
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                                                            PageID.4129 Page
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                                                                     Page    660
                                                                              8248
                                                                          39 of  of
                                                                                  of
                                     1196
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1    Plaintiff his intangible property right to practice law free of threats, and to practice in
2    accordance with the California Rules of Professional Conduct, all in violation of sections 523
3    and 519, thereby causing tangible harm and direct injury to Plaintiffs’ business.
4                                       Racketeering Act Five
5           104. On or about September 18, 2014, during the pendency of the Susan A. paternity
6    case, 2010, Defendant DARREN, within the Southern District of California, with intent to
7    extort money or other property from Plaintiffs, sent delivered to Plaintiff an e-mail (Exhibit
8    B) demanding Plaintiff convince Susan A. to grant him concessions in the paternity case
9    (para. 41). Defendant’s e-mails were writings which expressly and impliedly made a threat
10   as specified in section 519(1), i.e., that unless Plaintiff settled the case Defendant would
11   continue his malicious blogs on coomplaintsboard.com and pissedconsumer.com. These acts
12   constituted extortion as the Defendant deprived Plaintiff of his intangible property right to
13   practice law free of threats and in accordance with the California Rules of Professional
14   Conduct, all in violation of section 523 and 519, thereby causing tangible harm and direct
15   injury to Plaintiffs’ business.
16                                       Racketeering Act Six
17          105. On or about November 27, 2014, during the pendency of the Susan A. paternity
18   case, Defendant DARREN, within the Southern District of California, with intent to extort
19   money or other property from Plaintiffs, began posting defamatory material on the scott-
20   mcmillan-law.blogspot.com site falsely stating that Plaintiff had molested his daughter (see
21   para. 43, Exh. E). The defamatory postings were writings which expressly and impliedly
22   made a threat as specified in section 519(3), i.e., that unless Plaintiff settled the case
23   Defendant would expose and impute to Plaintiffs a defamatory, disgrace, or crime. These
24   acts constituted extortion as the Defendant obtained from Plaintiff his intangible property
25   right to practice law free of threats and to practice in accordance with the California Rules
26   of Professional Conduct, all in violation of sections 523 and 519, thereby casuing tangible
27   harm and direct injury to Plaintiffs’ business.
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     16-cv-2186                        First Amended Complaint                                  39

                                                 653
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4877
                                                            PageID.4130 Page
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                                                                     Page    661
                                                                              8348
                                                                          40 of  of
                                                                                  of
                                     1196
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1                                       Racketeering Act Seven
2           106. On or about December 6, 2014, during the representation by Plaintiff of a
3    creditor in a bankruptcy proceeding, Defendant DARREN, within the Southern District of
4    California, with the intent to extort money or other property from Plaintiffs, sent an e-mail
5    to an attorney who represented an opposing party, in which DARREN falsely accused
6    Plaintiff of molesting his daughter (see para. 49, Exh. K). The opposing attorney forwarded
7    the e-mail to Plaintiff on December 8, 2014. The defamatory e-mails were writings which
8    expressly and impliedly made a threat specified in section 519(3), i.e., it exposed and
9    imputed to Plaintiffs a deformity, disgrace, or crime. These acts constituted extortion as the
10   Defendant obtained from Plaintiff his intangible property right to practice law free of threats,
11   and to practice in accordance with the California Rules of Professional Conduct, all in
12   violation of sections 523 and 519, thereby causing tangible harm and direct injury to
13   Plaintiffs’ business.
14                                      Racketeering Act Eight
15          107. On or about December 23, 2014, during the representation by Plaintiff of clients
16   engaged in litigation in San Diego East Count Community, including clients adverse to the
17   interests of Defendant DARREN, such as Susan A. and Wendy Mateo, with the Southern
18   District of California, with intent to extort money or other property from Plaintiffs, sent an
19   e-mail to 200 attorneys in San Diego (see para. 52, Exh. N). The defamatory e-mails were
20   writings which expressly and impliedly made a threat as specified in section 519(3), i.e., it
21   exposed and imputed to Plaintiffs a deformity, disgrace, or crime. These acts constituted
22   extortion as the Defendant obtained from Plaintiff his intangible property right to practice
23   law free of threats, and to practice in accordance with the California Rules of Professional
24   Conduct, all in violation of sections 523 and 519, thereby causing tangible harm and direct
25   injury to Plaintiffs’ business.
26                                      Racketeering Act Nine
27          108. From 2011 to the present, during the representation by Plaintiff of clients
28   engaged in litigation in this district and elsewhere, including clients adverse to the interests


     16-cv-2186                        First Amended Complaint                                    40

                                                  654
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                               12/05/16    PageID.4878
                                                            PageID.4131 Page
                                                                        Page
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                                                                              8448
                                                                          41 of  of
                                                                                  of
                                     1196
                                      100


1    of Defendant DARREN, such as Susan A. and Wendy Mateo, Defendant DARREN, within
2    the Southern District of California, with intent to extort money or other property from
3    Plaintiffs, posted defamatory and derogatory comments, including false comments that
4    Plaintiff was a sex offender on the internet at complaintsboard.com. See para. 55-62; Exhs.
5    O-V. The defamatory postings were writings which expressly and impliedly made a threat
6    as specified in section 519(3), i.e., it exposed and imputed to Plaintiffs a deformity, disgrace,
7    or crime. These acts constituted extortion as the Defendant deprived Plaintiff of his
8    intangible property right to practice law free of threats, and in accordance with the California
9    Rules of Professional Conduct, all in violation of sections 523 and 519, thereby causing
10   tangible harm and direct injury to Plaintiffs’ business.
11                                       Racketeering Act Ten
12          109. From 2011 to the present, during the representation by Plaintiff of clients
13   engaged in litigation in this, including clients adverse to the interests of Defendant
14   DARREN, within the Southern District of California, with intent to extort money or other
15   property from Plaintiffs, posted defamatory and derogatory comments, including false
16   comments that Plaintiff engaged in child molestation, on the internet at pissedconsumer.com.
17   See para. 63-69; Exhs. W-Z. These defamatory postings were writings which expressly and
18   impliedly made a threat as specified in section 519(3), i.e., it exposed and imputed to
19   Plaintiffs a deformity, disgrace, or crime. These acts constituted extortion as the Defendant
20   obtained from Plaintiff his intangible property right to practice law free of threats, and to
21   practice in accordance with the California Rules of Professional Conduct, all in violation of
22   sections 523 and 519, thereby causing tangible harm and direct injury to Plaintiffs’ business.
23                                        RELIEF SOUGHT
24          110. Plaintiffs are entitled to recover, pursuant to 18 U.S.C. § 1964(c), treble damages
25   in an amount to be determined by offer of proof at time of trial. Plaintiffs are also entitled
26   to recover attorneys’ fees and costs of this litigation, as well as damages arising from lost
27   profits and/or lost business opportunities proximately caused by RICO defendants’ violations
28   of the RICO Act.


     16-cv-2186                        First Amended Complaint                                     41

                                                   655
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                                  06/25/20PageID.974
                                               12/05/16    PageID.4879
                                                            PageID.4132 Page
                                                                        Page
                                                                     Page    663
                                                                              8548
                                                                          42 of  of
                                                                                  of
                                     1196
                                      100


1           111. Plaintiff requests injunctive relief to prevent prevent and restrain violations of
2    section 1962 by issuing appropriate orders, including, but not limited to: ordering Defendants
3    divest themselves of any interest, direct or indirect, in any enterprise; imposing reasonable
4    restrictions on the future activities or investments of Defendants, including, but not limited
5    to, prohibiting Defendants from engaging in the same type of endeavor as the enterprise
6    engaged in, the activities of which affect interstate or foreign commerce; or ordering
7    dissolution or reorganization of any enterprise, making due provision for the rights of
8    innocent persons, including Plaintiff herein.
9           112.   Plaintiffs requests that the Court revoke Defendant DARREN Chaker’s
10   supervised release, and order him to remove the posts, or execute such documents that would
11   compel the removal of those posts, all of which he has published in contempt of the Court’s
12   order for supervised release.
13          113. Plaintiffs requests that the Court also issue an order to DARREN Chaker
14   requiring him to request the removal of his posts from the Internet forums in a form that may
15   be published to the third parties, i.e., Pissedconsumer.com and Complaintsboard.com, that
16   have published defendants’ harrassing and defamatory posts. Plaintiff request that the Court
17   make a finding that such posts are contrary to the conditions of Defendant DARREN’s
18   supervised release and thereby unlawful. With such a finding, and an order that Chaker
19   remove those post, those sites would willingly do so.
20          114. Plaintiffs requests that the Court also issue an order with findings such that can
21   be published to those search engines that have indexed the posts, i.e., Google, Yahoo, and
22   Bing, and findings that such posts were placed by Defendant DARREN contrary to the
23   Judgment in this case and the Court’s terms of Defendant DARREN ’s supervised released.
24   And that Defendant DARREN be ordered to request the removal of such posts from such
25   search indices. Plaintiff’s hope and expectation is that those third parties would be persuaded
26   to remove the posts from the respective index.
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     16-cv-2186                       First Amended Complaint                                    42

                                                  656
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
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                                                  06/25/20PageID.975
                                               12/05/16    PageID.4880
                                                            PageID.4133 Page
                                                                        Page
                                                                     Page    664
                                                                              8648
                                                                          43 of  of
                                                                                  of
                                     1196
                                      100


1                                 SECOND CLAIM FOR RELIEF
2         (Against All Defendants, Racketeer Influenced and Corrupt Organizations Act,
3                                         18 U.S.C. § 1962(d))
4           115. Plaintiffs repeat and reallege the averments contained in paragraphs 1-83, and
5    85 through 114 as though fully set forth herein.
6           116. Plaintiffs allege that commencing in 2004, and during and continuing at all times
7    to the present, RICO defendants conspired to violate section 1962(c), i.e., each defendant
8    agreed that a conspirator (DARREN) would conduct or participate in the affairs of the
9    Enterprise through a pattern of racketeering, including acts involving extortion in violation
10   of California state law, as more fully described in the First Claim for Relief. Plaintiffs allege
11   that the conspiratorial objective of that mutual agreement was intended to obtain Plaintiffs’
12   interests in property, thereby causing tangible harm and direct injury to Plaintiffs, and that
13   such conspiratorial conduct constitutes contravention of RICO § 1962(d).
14          117. Defendants are members of the RICO § 1962(d) conspiracy at and during the
15   time frame the criminal activities were committed that constitute the RICO § 1961(5) pattern
16   of racketeering activity. Proof of the agreement of VANIA and NICOLE that a conspirator
17   (DARREN) would engage in multiple acts of racketeering are described in paragraphs 10-11;
18   14; 16; 18; and 19, i.e., since at least year 2004 and continuously to the present time, the three
19   defendants agreed that they together would file meritless lawsuits under the Fair Credit
20   Reporting Act, the Fair Debt Collections Practices Act and other litigation (para. 18). As
21   described above in para. 40, during the Plaintiffs’ representation of Susan A. in a lawsuit for
22   paternity brought by DARREN, VANIA assisted DARREN in the intimidation of a licensed
23   private investigator (Rivero) hired by Plaintiff. Also, as described in para. 40g-i, NICOLE,
24   who is not an attorney but was counseled by VANIA, appeared at a hearing in the Susan A.
25   case while DARREN was incarcerated. Also, on or about January 21, 2014, Nicole sent an
26   intimidating letter to Plaintiffs and filed documents in the case and executed a declaration
27   to which was attached the threatening letter. See Exhs. 4 and 5.
28          118. The above allegations are sufficient to show that NICOLE, VANIA and


     16-cv-2186                        First Amended Complaint                                      43

                                                   657
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.976
                                               12/05/16    PageID.4881
                                                            PageID.4134 Page
                                                                        Page
                                                                     Page    665
                                                                              8748
                                                                          44 of  of
                                                                                  of
                                     1196
                                      100


1    DARREN agreed with each other so that at least one of the conspirators (here, DARREN)
2    would commit multiple acts of racketeering activity, i.e., extortion in violation of Cal. Penal
3    Codes 519 and 523.
4           119. RICO recovery is being sought as described in the First Claim for Relief.
5
6                                  THIRD CLAIM FOR RELIEF
7                 (Civil Extortion - Against Defendants DARREN and NICOLE)
8           120. Plaintiffs repeat and reallege the averments contained in paragraphs 1-83, and
9    84 through 114, and 116 through 119, as though fully set forth herein.
10          121. Defendants conduct was unlawful as a matter of law, in that Defendant
11   DARREN had been forbidden from types of expressive conduct by the terms of his Pre-Trial
12   release, the terms of his confinement and Bureau of Prisons regulations, and the terms of his
13   supervised release. Defendant NICOLE was aware of these restrictions.
14          122. Extortion is the obtaining of property from another, with his consent, or the
15   obtaining of an official act of a public officer, induced by a wrongful use of force or fear, or
16   under color of official right. (Penal Code § 518.)
17          123. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
18   continue to practice law consistent with the California Business and Professions Code, and
19   the California Rules of Professional Conduct, with respect to the advocacy on behalf of
20   Susan A..
21          124. Defendants attempted to obtain property from Plaintiffs, i.e., the right to collect
22   on a debt due and owing by virtue of the fee award in the Chaker v. Mateo action.
23          125. Defendants attempted to obtain property from Plaintiffs, i.e., the right to
24   continue to collect and publish cases through the website FEARNOTLAW.COM.
25          126. Defendants attempted to obtain an official act of a public officer, i.e., a judge,
26   through Plaintiffs’ clients acquiesence.
27          127. Defendants wrongfully attempted to induce fear as that term is used in Penal
28   Code section 519, which provides in pertinent part under the heading “threats”:


     16-cv-2186                        First Amended Complaint                                    44

                                                  658
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                                     118-2 Filed
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                                                  06/25/20PageID.977
                                               12/05/16    PageID.4882
                                                            PageID.4135 Page
                                                                        Page
                                                                     Page    666
                                                                              8848
                                                                          45 of  of
                                                                                  of
                                     1196
                                      100


1           “Fear, such as will constitute extortion, may be induced by a threat of any of
2           the following:
3                  1. To do an unlawful injury to the person or property of the
4                  individual threatened or of a third person.
5                  2. To accuse the individual threatened, or a relative of his or
6                  her, or a member of his or her family, of a crime.
7                  3. To expose, or to impute to him, her, or them a deformity,
8                  disgrace, or crime.
9                  4. To expose a secret affecting him, her, or them.
10                                                ***
11   (Penal Code § 519)
12          128. Defendants threats were both express, and were implied by the contents of the
13   various writings and the surrounding circumstances.
14          129. Defendants transmitted the threats comprising extortion.
15          130. The Statutes of Limitations regarding the bringing of the present claims have
16   been tolled due to Defendants’ absence from the State of California according to California
17   Code of Civil Procedure section 351:
18          “If, when the cause of action accrues against a person, he is out of the state, the
            action may be commenced within the term herein limited, after his return to the
19          state, and if, after the cause of action accrues, he departs from the state, the
            time of his absence is not part of the time limited for the commencement of the
20          action.”
21   (Cal. Civ. Proc. Code § 351.)
22          131. As a direct and proximate result of the acts of Defendants as alleged in the Third
23   Cause of Action above, Plaintiffs were injured. Plaintiff McMillan suffered economic
24   damage, expense, and humiliation, including, but not limited to, emotional upset, anxiety,
25   mental suffering, and damage to his reputation. Plaintiff McMillan also suffered loss of time.
26   Plaintiff McMillan is therefore entitled to compensatory damages in an amount which will
27   compensate for him all the detriment proximately caused by Defendants' acts, whether
28   foreseeable or not, according to proof at time of trial, in accordance with Civ. Code § 3333.


     16-cv-2186                        First Amended Complaint                                    45

                                                   659
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
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                             Document127-1
                                     118-2 Filed
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                                      25 Filed   09/23/22
                                                  06/25/20PageID.978
                                               12/05/16    PageID.4883
                                                            PageID.4136 Page
                                                                        Page
                                                                     Page    667
                                                                              8948
                                                                          46 of  of
                                                                                  of
                                     1196
                                      100


1           132. Plaintiff TMLF was damaged by the loss of goodwill resulting from the false
2    statements published by Defendants’ “making good” on the threats. Plaintiff TMLF was
3    damaged by the lost advertising expenses which were negated by the false statements
4    published by defendants.
5           133. Defendants’ conduct was malicious, oppressive and/or fraudulent within the
6    meaning of California Civil Code § 3294, thereby entitling Plaintiffs to an award of punitive
7    damages in an amount according to proof at time of trial.
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     16-cv-2186                       First Amended Complaint                                  46

                                                 660
Case
Case
 Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD
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                                     118-2 Filed
                                            Filed
                                      25 Filed   09/23/22
                                                  06/25/20PageID.979
                                               12/05/16    PageID.4884
                                                            PageID.4137 Page
                                                                        Page
                                                                     Page    668
                                                                              9048
                                                                          47 of  of
                                                                                  of
                                     1196
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1                                    PRAYER FOR RELIEF
2           WHEREFORE, Plaintiffs pray for relief as follows:
3           1. For an Order enjoining Defendants, their agents, and those acting in concert or
4    conspiracy with them, temporarily during the pendency of this action and permanently
5    thereafter from and further violation of 18 U.S.C. §§ 1961 et seq.;
6           2. For compensatory damages according to proof;
7           3. For an award of treble damages pursuant to 18 U.S.C. § 1964;
8           4. For attorneys’ fees pursuant to 18 U.S.C. § 1964 or as otherwise provided by law;
9           5. For punitive and exemplary damages pursuant to Cal. Civil Code § 3294 or as
10   otherwise provided by law;
11          6. For an award of costs of suit;
12          7. For an award of pre-judgment interest and post-judgment interest in the maximum
13   amount permitted by law;
14          8. For such other and further relief as the Court deems just and proper.
15   Dated: December 5, 2016                    The McMillan Law Firm, A.P.C.
16                                              /s/ Scott A. McMillan
17                                      BY:     ______________________________
18                                              Scott A. McMillan
                                                Attorney, In Propria Persona, and on behalf of
19                                              Plaintiff The McMillan Law Firm, A.P.C.
20
                                  DEMAND FOR JURY TRIAL
21
            Plaintiff demands a jury trial on all causes of action so determinable.
22
     Dated: December 5, 2016                    The McMillan Law Firm, A.P.C.
23
                                                /s/ Scott A. McMillan
24
                                        BY:     ______________________________
25
                                                Scott A. McMillan
26                                              Attorney, In Propria Persona, and on behalf of
                                                Plaintiff The McMillan Law Firm, A.P.C.
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     16-cv-2186                       First Amended Complaint                                47

                                                 661
Case
Case
 Case3:16-cv-02186-WQH-MDD
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      3:16-cv-02186-WQH-MDD Document
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                                                  06/25/20PageID.980
                                               12/05/16    PageID.4885
                                                            PageID.4138 Page
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1                                 CERTIFICATE OF SERVICE
2           I am admitted to the United States District Court for the Southern District of
     California. I am employed in San Diego County, California, and not a party to the
3    within-entitled action. My business address is 4670 Nebo Drive, Suite 200, La Mesa, CA
     91941-5230.
4
            On December 5, 2016, I served the following documents:
5
                                 FIRST AMENDED COMPLAINT
6
     By Electronic Submission: I served the above listed document(s) described via the United
7    States District Court’s Electronic Filing Program on the designated recipients via electronic
     transmission through the CM/ECF system on the Court’s website. The Court’s CM/ECF
8    system will generate a Notice of Electronic Filing (NEF) to the filing party, the assigned
     judge, and any registered users in the case. The NEF will constitute service of the
9    document(s). Registration as a CM/ECF user constitutes consent to electronic service though
     the court’s transmission facilities.
10
     Additional parties who are not registered CM/ECF users according to the court’s NEF, were
11   served via the following means:
12   By Mail:
13          Nicole Chaker
            5924 Stadium Street
14          San Diego, CA 92192
15          Arthur J. McKeon III
            Gilbert, Kelly, Croley & Jennett LLP
16          550 South Hope Street, 22nd Floor
            Los Angeles, California 90071-2627
17
            A copy of such documents were placed in an envelope, addressed as set forth above,
18   such envelopes were deposited in the U.S. Mail, postage prepaid.
19          Dated:        December 5, 2016
20                                                     /s/ Scott A. McMillan
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     16-cv-2186                       First Amended Complaint                                  48

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                            SUPERIOR COURT
                                         100 OF CALIFORNIA,
                                        1196
                                COUNTY OF SAN DIEGO
                                      CENTRAL
                                            MINUTE ORDER
DATE: 06/29/2018                    TIME: 08:30:00 AM                   DEPT: C-65
JUDICIAL OFFICER PRESIDING: Joan M. Lewis
CLERK: Calvin Beutler, Lori Urie
REPORTER/ERM: Not Reported
BAILIFF/COURT ATTENDANT: J. Arnold

CASE NO: 37-2017-00036344-CU-NP-CTL CASE INIT.DATE: 09/27/2017
CASE TITLE: McMillan vs Chaker [IMAGED]
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Non-PI/PD/WD tort - Other


EVENT TYPE: Motion Hearing (Civil)



APPEARANCES
Scott A McMillan, counsel, present for Plaintiff(s).
David G Molinari, specially appearing for counsel Zachariah Moura, present for Defendant(s).
Michael A Weismantel, specially appearing for counsel JOHN M HOCHHAUSLER, present for
Defendant(s).
The Court hears oral argument and CONFIRMS the tentative ruling as follows:
Defendant Darren D. Chaker, an individual and as trustee of Platinum Holdings Group Trust dba
Counter Forensics has brought a motion to seal portions of the complaint and for a protective order.
The motion to seal is granted in part.
The Court believes the addresses for the Defendant listed in the documents found at Ex. FF (the
Biometric Identification and driver licenses) should be redacted.
The Court also believes that the complaint at page 23, line 27 to page 24, line 1 should be sealed as it
appears this is language quoted from a paternity case and should not be available for public review.
See Family Code Sec. 7643.
In finding that these items should be sealed, the Court concludes the matters that are being sealed
involve an overriding interest (privacy rights/confidentiality of paternity records) that overcomes the right
of public access to this portion of the record; this overriding interest supports sealing the record; there
exists a substantial probability that the overriding interest will be prejudiced if these records are not
sealed; that the proposed sealing has been narrowly tailored and that no less restrictive means exist to
achieve the overriding interest.
The request to seal anything beyond the above is denied.




DATE: 06/29/2018                                 MINUTE ORDER                                       Page 1
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CASE TITLE: McMillan vs Chaker [IMAGED]    1196
                                            100     CASE NO: 37-2017-00036344-CU-NP-CTL


Plaintiff's counsel is directed to submit a copy of the entire complaint by July 5, 2018 – with the
above-mentioned redactions – so the Clerk may replace the sealed portions of the complaint in the
public file with the redacted version.
The request that the Court order Plaintiff to cease and desist from engaging in certain conduct is denied.
In ruling on this motion, the Court took judicial notice as requested.


                                                            Judge Joan M. Lewis




DATE: 06/29/2018                                 MINUTE ORDER                                     Page 2
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   LOS ANGELES 445 South Figueroa Street
          Boston        Suite 3000
       Las Vegas        Los Angeles, CA 90071-1619
       New York         Telephone (213) 312-2000
             Paris      Facsimile (213) 312-2001
    Redwood City        www.rmkb.com                                                 Stephen Erigero
    San Francisco                                                                    (213) 312-2013
                                                                               stephen.erigero@ropers.com
         San Jose
           Seattle                                                                     E. Lacey Rice
                                                                                     (213) 312-2058
                                                     0D\                lacey.rice@rmkb.com

                                                                                    Eduardo A. Bravo
                                                                                     (213) 312-2048
                                                                                eduardo.bravo@ropers.com
   Via Electronic Mail

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      Case3:16-cv-02186-WQH-MDD
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 Dear Mr. McMillan,

     

 Attached please find correspondence dated May 26, 2020, regarding the above-referenced matter.

 

     
 Jennie Cecchini
 Ropers Majeski Kohn & Bentley PC
 Secretary
 445 South Figueroa Street, Suite 3000 • Los Angeles • CA • 90071-1608
 Office: (213) 312-2000 • Direct: (213) 312-2064

 Jennie.cecchini@ropers.com




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Case3:16-cv-02186-WQH-MDD
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                                              03/13/18   PageID.4906Page
                                                                     Page10690  of
                                                                            of 22
                                    1196




                                       683
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3943
                                              03/13/18   PageID.4907Page
                                                                     Page11691  of
                                                                            of 22
                                    1196




                                       684
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3944
                                              03/13/18   PageID.4908Page
                                                                     Page12692  of
                                                                            of 22
                                    1196




                                       685
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3945
                                              03/13/18   PageID.4909Page
                                                                     Page13693  of
                                                                            of 22
                                    1196




                                       686
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3946
                                              03/13/18   PageID.4910Page
                                                                     Page14694  of
                                                                            of 22
                                    1196




                                       687
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3947
                                              03/13/18   PageID.4911Page
                                                                     Page15695  of
                                                                            of 22
                                    1196




                                       688
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3948
                                              03/13/18   PageID.4912Page
                                                                     Page16696  of
                                                                            of 22
                                    1196




                                       689
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3949
                                              03/13/18   PageID.4913Page
                                                                     Page17697  of
                                                                            of 22
                                    1196




                                       690
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3950
                                              03/13/18   PageID.4914Page
                                                                     Page18698  of
                                                                            of 22
                                    1196




                                       691
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3951
                                              03/13/18   PageID.4915Page
                                                                     Page19699  of
                                                                            of 22
                                    1196




                                       692
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3952
                                              03/13/18   PageID.4916Page
                                                                     Page20700  of
                                                                            of 22
                                    1196




                                       693
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3953
                                              03/13/18   PageID.4917Page
                                                                     Page21701  of
                                                                            of 22
                                    1196




                                       694
Case
Case 3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document 127-1 Filed
                                    100 Filed   09/23/22PageID.3954
                                              03/13/18   PageID.4918Page
                                                                     Page22702  of
                                                                            of 22
                                    1196




                                       695
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      69-6 Filed
                                           Filed 04/03/17
                                                 09/23/22 PageID.3078
                                                          PageID.4919 Page
                                                                      Page 1703
                                                                             of 2of
                                     1196



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       Defendant Vania Chaker
     8
     9                        UNITED STATES DISTRICT COURT
    10                     SOUTHERN DISTRICT OF CALIFORNIA
    11
    12 SCOTT A. MCMILLAN, an individual,          CASE NO. 3:16-CV-02186-WQH-
       THE MCMILLAN LAW FIRM, APC,                MDD
    13 a California professional corporation,
                                                  SPECIALLY APPEARING
    14              Plaintiffs,                   DEFENDANT VANIA CHAKER’S
                                                  REPLY IN SUPPORT OF REQUEST
    15        vs.                                 FOR JUDICIAL NOTICE IN
                                                  SUPPORT OF HER MOTION TO
    16 DARREN D. CHAKER, an individual,           DISMISS PLAINTIFFS’ FIRST
       and as trustee of PLATINUM                 AMENDED COMPLAINT, OR IN
    17 HOLDINGS GROUP TRUST, dba                  THE ALTERNATIVE, TO QUASH
       COUNTER FORENSICS; NICOLE                  DEFECTIVE SERVICE
    18 CHAKER, an individual, and as trustee
       of THE NICOLE CHAKER TRUST,
    19 U/A dated August 18, 2010, VANIA           The Hon. William Q. Hayes
       CHAKER, and individual and as
    20 beneficiary of The Island Revocable        Date: April 10, 2017
       Trust under Declaration of Trust dated     Courtroom: 14B
    21 June 2, 2015, MARCUS MACK as               Complaint Filed: August 29, 2016
       trustee of The Island Revocable Trust
    22 under Declaration of Trust dated June 2,
       2015,
    23
                    Defendants.
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              SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S REAPLY ISO REQUEST FOR JUDICIAL
                                                                                    NOTICE
                                           696
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      69-6 Filed
                                           Filed 04/03/17
                                                 09/23/22 PageID.3079
                                                          PageID.4920 Page
                                                                      Page 2704
                                                                             of 2of
                                     1196



     1           REPLY IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
     2         Specially appearing Defendant Vania Chaker (“Defendant”) submits this reply
     3 in support of her Request for Judicial Notice. (Dkt. 59-3.) The request was made
     4 pursuant to Rule 201(b) of the Federal Rules of Evidence, in connection with
     5 Defendant’s Motion to Dismiss Plaintiffs’ First Amended Complaint, or in the
     6 Alternative, to Quash Defective Service.
     7         Defendant requested that this Court take notice of a decision by the California
     8 Court of Appeal in Comeau v. Reese (Superior Ct. No. GIC868475), entered July 18,
     9 2008. Plaintiffs incorrectly characterize Defendant’s request for judicial notice as an
    10 attempt to introduce contested facts as judicially noticeable fact. (Dkt. 64-5.) But
    11 the court’s determination in Comeau was not offered by the Defendant to show that
    12 Timothy J. Wing, the process server at issue here, made a false proof of service.
    13 Rather, it was offered to alert this Court to the fact that a proof of service created by
    14 Mr. Wing has been disputed before, which is relevant to the present motion. “The
    15 authorities are clear that it is proper for the court to consider judicially noticeable
    16 records from prior lawsuits.” Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1204
    17 (N.D. Cal. 2014). Therefore, Defendant’s Request for Judicial notice should be
    18 granted.
    19
         DATED: April 3, 2017
    20
                                                        BAKER MARQUART LLP
    21
                                                        /s/ Ryan G. Baker
    22
                                                        Ryan G. Baker
    23                                                  Brian T. Grace
    24
                                                        Attorneys for Specially Appearing
    25                                                  Defendant Vania Chaker
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         SPECIALLY APPEARING DEFENDANT VANIA CHAKER’S REPLY ISO REQUEST FOR JUDICIAL NOTICE

                                            697
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      80 Filed
                                           Filed
                                               06/12/17
                                                 09/23/22PageID.3400
                                                          PageID.4921Page
                                                                      Page1 of
                                                                            70518of
                                     1196


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 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8
                       UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
     individual, THE MCMILLAN LAW
12   FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
     Corporation,                             Courtroom: 14B
13   Plaintiffs,
14   v.
15   DARREN D. CHAKER an individual,          PLAINTIFFS’ MEMORANDUM
16   and as trustee of PLATINUM               OF POINTS AND AUTHORITIES
     HOLDINGS GROUP TRUST, dba                IN OPPOSITION TO DEFENDANT
17   COUNTER FORENSICS; NICOLE                DARREN D. CHAKER’S MOTION
     CHAKER, an individual, and as trustee    TO SEAL.
18   of THE NICOLE CHAKER
     REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010, VANIA             Hearing Date: June 26, 2017
     CHAKER, an individual and as
20   beneficiary of The Island Revocable      Complaint Filed: August 29, 2016
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust    [NO ORAL ARGUMENTS UNLESS
22   under Declaration of Trust dated June    ORDERED BY COURT]
     2, 2015,
23   Defendants.
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                                            698
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      80 Filed
                                           Filed
                                               06/12/17
                                                 09/23/22PageID.3401
                                                          PageID.4922Page
                                                                      Page2 of
                                                                            70618of
                                     1196


 1                                             Table of Contents
 2
 3 I.       INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
 4
 5 II.      RELEVANT PROCEDURAL HISTORY . . . . . . . . . . . . . . . . . . . . . . . . 2
 6
 7 III.     LEGAL STANDARD . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 8
 9 IV.      ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
10          A.       There is no Compelling Reason to Seal Exhibit FF . . . . . . . . . . . . . . 3
11                   1.      There are No Social Security Numbers Listed in Exhibit FF . . 4
12                   2.      The Addresses Listed are Primarily Thoroughfares or
13                           Commercial Buildings, and, Not Being an Actual Address,
14                           Cannot be Personal Information . . . . . . . . . . . . . . . . . . . . . . . . 4
15                   3.      The Month and Dates of Birth Can be Redacted . . . . . . . . . . . 6
16                   4.      The Exhibit FF is Not Confidential . . . . . . . . . . . . . . . . . . . . . 7
17                   5.      Driver’s License Numbers are not Protected Under Rule 5.2
18                              ................................................. 7
19                   6.      Exhibit FF was Not Filed for an Improper Purpose . . . . . . . . 10
20          B.       There is no Compelling Reason to Seal Exhibit C to Plaintiff’s
21                   Opposition to Defendant Darren’s Motion for Sanctions . . . . . . . . . 11
22
23 V.       CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
24
25
26
27
28   3:16-cv-02186         PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                                                 ii




                                                         699
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80 Filed
                                            Filed
                                                06/12/17
                                                  09/23/22PageID.3402
                                                           PageID.4923Page
                                                                       Page3 of
                                                                             70718of
                                      1196


 1                                                 Table of Authorities
 2
       Federal Decisional Authority
 3
   Angioscore, Inc. v. Trireme Med., Inc. (N.D.Cal. Jan. 6, 2015, No. 12-cv-03393-
 4 YGR) 2015 U.S.Dist.LEXIS 1118, at *5-6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
 5 Chaker v. Davis (S.D.Cal. Oct. 26, 2012, No. 96cv0314) 2012 U.S.Dist.LEXIS
   155556.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
 6
   Hagestad v. Tragesser (9th Cir. 1995) 49 F.3d 1430 . . . . . . . . . . . . . . . . . . . . . . . 2
 7
   Harrell v. George (E.D.Cal. June 23, 2011, No. CIV S-11-0253 MCE DAD PS)
 8 2011 U.S.Dist.LEXIS 68229, at *4) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10
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   2:09-cv-2214-GEB-GGH) 2009 U.S.Dist.LEXIS 133645, at *17 . . . . . . . . . . . . 12
11
   Korte v. Dollar Tree Stores, Inc. (E.D.Cal. June 11, 2013) 2013 U.S.Dist.LEXIS
12 82121, at *47 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
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   U.S.Dist.LEXIS 37208, at *10 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
14
   St. Alphonsus Med. Ctr. - Nampa, Inc. v. St. Luke's Health Sys. (D.Idaho July 3,
15 2014, No. 1:12-CV-00560- BLW) 2014 U.S.Dist.LEXIS 93985, at *9 . . . . . . . 2, 3
16
       Federal Statutes
17
       18 U.S.C. § 2721 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
18
       18 U.S.C. § 2725 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 13
19
       Fed. Rules of Civ. Proc. Rule 5.2(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 8, 13
20
21 State Statutes
22 Civil Code § 1798.80(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
23 Civil Code § 1798.80-84 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
24
       State Cases
25
       Chaker v. Mateo (2012) 209 Cal.App.4th 1138 . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
26
27
28     3:16-cv-02186           PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                                                       iii




                                                                700
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      80 Filed
                                           Filed
                                               06/12/17
                                                 09/23/22PageID.3403
                                                          PageID.4924Page
                                                                      Page4 of
                                                                            70818of
                                     1196


 1 Other Authorities
 2 N.R.V. § 481.063 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
 3
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28    3:16-cv-02186          PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                                                 iv




                                                            701
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80 Filed
                                            Filed
                                                06/12/17
                                                  09/23/22PageID.3404
                                                           PageID.4925Page
                                                                       Page5 of
                                                                             70918of
                                      1196


 1 I.       INTRODUCTION
 2          Defendant Darren Chaker (“Defendant”) has a long history of using
 3 litigation and other methods to intimidate, threaten, and harass his opponents.
 4 Defendant now protests––for the first time––that Plaintiffs’ Exhibit FF in the
 5 complaint (ECF 1) and First Amended Complaint (“FAC”) (ECF 125) should be
 6 filed under seal. Exhibit FF is a filed Bench Warrant of Attachment from another
 7 case involving Defendant, filed by Plaintiff on behalf of a client. The original
 8 complaint in this case was filed on August 29, 2016, and Exhibit FF was identical
 9 to both versions of the Complaint. So, nine months after Exhibit FF first appeared,
10 and after several analysis-heavy motions to dismiss, strike, and apply sanctions,
11 Defendant belatedly objects. Defendant also takes issue with a rental application of
12 his, which was attached as Exhibit C to Plaintiffs’ Opposition (ECF 75-1) to
13 Defendant’s Motion for Sanctions (ECF 66). In both instances, Defendant claims
14 that personal information protected by statute was disclosed in the filings, and so
15 the documents should be struck or filed under seal.
16          Defendant relies on F.R.C.P. Rule 5.2(a) (redactions), 18 U.S.C. § 2725
17 (DMV may not disseminate personal information), Civil Code § 1798.80 (what
18 businesses may and may not do with customer records), and Nevada Revised
19 Statute 481.063 (What the Nevada DMV may or may not do with personal
20 information) for dates of birth, non-existent social security numbers, and purported
21 “personal” addresses. With the exception of one instance in Rule 5.2, none of the
22 cited authorities apply.
23          Plaintiffs’ use of both exhibits supports the allegations of criminal enterprise
24 between the Defendants, as outlined in the FAC. Plaintiffs request that Defendant’s
25 motion be denied or, in the alternative, allow Plaintiffs to file the original two
26 exhibits under seal, and file redacted versions of them for the public record so as to
27 avoid imposing an unneeded burden upon counsel and the Court, as well as to
28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                            1




                                              702
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80 Filed
                                            Filed
                                                06/12/17
                                                  09/23/22PageID.3405
                                                           PageID.4926Page
                                                                       Page6 of
                                                                             71018of
                                      1196


 1 avoid potential challenges to authenticity, which Defendant has already tried this
 2 case.
 3 II.      RELEVANT PROCEDURAL HISTORY
 4          On March 16, 2016, in Darren Chaker v. Wendy Mateo, San Diego Superior
 5 Court Case No. 37-2010-00094816-CU-DF-CTL, Plaintiffs filed, on behalf of Ms.
 6 Mateo, a Bench Warrant of Attachment against Defendant for his failure to appear
 7 in court for examination. (10-94816 ROA 267).
 8          On August 29, 2016, Plaintiffs filed their original Complaint. (ECF 1).
 9          On December 5, 2017, Plaintiffs filed their First Amended Complaint. (ECF
10 25).
11          III.     LEGAL STANDARD
12          There is a “strong presumption” in favor of access, and a party seeking to
13 seal judicial materials must identify “compelling reasons” that outweigh the
14 “public interest in understanding the public process.” (St. Alphonsus Med. Ctr. -
15 Nampa, Inc. v. St. Luke’s Health Sys. (D.Idaho July 3, 2014, No. 1:12-CV-00560-
16 BLW) 2014 U.S.Dist.LEXIS 93985, at *9) (citing Kamakana v. City & County of
17 Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). Further:
18
            Documents “submitted in connection with dispositive motions, the party
19          seeking to seal the record must demonstrate”compelling reasons” that
            would overcome the public’s right to view public records and
20          documents, including judicial records. Id. (citing Kamakana v. City &
            County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)).A “party
21          seeking to seal judicial records must show that ‘compelling reasons
            supported by specific factual findings ... outweigh the general history of
22          access and the public policies favoring disclosure.’” Id. (quoting
            Kamakana, 447 F.3d at 1178-79 (9th Cir. 2006)). The trial court must
23          weigh relevant factors including the “public interest in understanding the
            judicial process and whether disclosure of the material could result in
24          improper use of the material for scandalous or libelous purposes or
            infringement upon trade secrets.” Id. at 1179-1181 n. 6 (quoting
25          Hagestad v. Tragesser, 49 F.3d 1430, 1434 (9th Cir. 1995)). While the
            decision to grant or deny a motion to seal is within the trial court’s
26          discretion, the trial court must articulate its reasoning in deciding a
            motion to seal. Id. at 1179.
27
28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          2




                                              703
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80 Filed
                                            Filed
                                                06/12/17
                                                  09/23/22PageID.3406
                                                           PageID.4927Page
                                                                       Page7 of
                                                                             71118of
                                      1196


 1 Angioscore, Inc. v. Trireme Med., Inc. (N.D.Cal. Jan. 6, 2015, No. 12-cv-03393-
 2 YGR) 2015 U.S.Dist.LEXIS 1118, at *5-6.
 3 IV.      ARGUMENT
 4          A.       There is no Compelling Reason to Seal Exhibit FF
 5          Exhibit FF to the FAC is a Bench Warrant of Attachment, which was filed in
 6 December of 2016. It includes a bench warrant, instructions for service to the
 7 Sheriff, and identification material for Defendant’s various identities. Included in
 8 the exhibit are scans of government photos and identification of Defendant for his
 9 aliases including “D. David Hunter”, “Darren Chaker-DelNero”,“Darren D. Nero”,
10 “Darren D. Del Nero”, and an Arizona identification card which is so illegible as to
11 be essentially useless in identifying Defendant. The Nevada driver’s license
12 appears to be one of Defendant’s forged documents. (McMillan Dec. ¶ 11). It is a
13 judicial record.
14          Defendant must show a compelling interest that outweighs the public
15 interest in understanding the public process, and overcome the strong presumption
16 in favor of access. (St. Alphonsus Med. Ctr. - Nampa, Inc. v. St. Luke's Health Sys.
17 (D.Idaho July 3, 2014, No. 1:12-CV-00560-BLW) 2014 U.S.Dist.LEXIS 93985, at
18 *9). Indeed, Defendant argues that Plaintiff failed to redact “any part of Darren’s
19 date of birth or social security number” as well as “Darren’s driver license
20 numbers” in Exhibit FF, and so the exhibit should be sealed. (Def Memo pg. 4, 5).
21 More specifically, Defendant states that numerous types of personal information
22 was disclosed and could be used for an improper purpose. (Def. Memo pg. 1).
23 However, Defendant does not describe what “improper purpose” he is concerned
24 about. While certain information may warrant redaction, the majority of the
25 claimed improperly disclosed information does not warrant protection.
26          Because redaction would not render the document unreadable, the sealing of
27 the entire document would be an overbroad measure to protect Defendant’s
28   3:16-cv-02186       PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                         3




                                             704
 Case
  Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80 Filed
                                            Filed
                                                06/12/17
                                                  09/23/22PageID.3407
                                                           PageID.4928Page
                                                                       Page8 of
                                                                             71218of
                                      1196


 1 information. (See Korte v. Dollar Tree Stores, Inc. (E.D.Cal. June 11, 2013) 2013
 2 U.S.Dist.LEXIS 82121, at *47; see also Lahrichi v. Lumera Corp. (W.D.Wash.
 3 May 22, 2007, No. C04-2124C) 2007 U.S.Dist.LEXIS 37208, at *10). To the
 4 extent the Court will entertain such a belated objection, Plaintiff proposes that the
 5 best way to balance the interests of Defendant and the public access would be to
 6 file the original exhibits under seal, and file the attached proposed redacted
 7 versions on the public record. (McMillan Dec. Exhibits 1-2).
 8                   1.    There are No Social Security Numbers Listed in Exhibit FF
 9          Plaintiff is baffled by what Defendant believes to be a social security
10 number within the whole of Exhibit FF, let alone on page 10, which is a nearly-
11 illegible scan of Defendant’s old-style Arizona identification card. (Def. Memo pg.
12 5). The Arizona Department of Veteran Services website features a depiction of the
13 same style of driver’s license/identification card as that of Defendant in Exhibit FF.
14 (McMillan Dec. ¶ 12, Exhibit 9). Presuming the DVS website’s sample is a true
15 rendition of that style of card, there is no social security number listed anywhere.
16 Indeed, it seems highly illogical that a government-issued card used for
17 identification for common things such as traveling or making purchases would
18 have that kind of sensitive information on it. In addition, even if there was a social
19 security number on the scanned identification card, the scan is of such poor quality
20 that one can barely make out the words ‘identification card,’ let alone any
21 information in smaller font. Without more, Plaintiff sees no information warranting
22 redaction on that page, let alone filing under seal.
23                   2.    The Addresses Listed are Primarily Thoroughfares or
24                         Commercial Buildings, and, Not Being an Actual Address,
25                         Cannot be Personal Information
26          With the exception of the address for service on the warrant, the remaining
27 addresses discernable in Exhibit FF are, according to the April 2015 Google Maps
28   3:16-cv-02186        PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          4




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  Case3:16-cv-02186-WQH-MDD
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 1 image capture, either thoroughfares, post offices, or other commercial buildings.
 2 As this case was filed in 2016, the following information was then-available:
 3          Exhibit FF pg. 5: 848 N Rainbow Blvd., Las Vegas, NV 89107 is a
 4 commercial building which includes a church, Sorrento Pizza, and Go Skate
 5 Skateboard Lessons. (McMillan Dec. ¶ 6, Exhibit 4).
 6          Exhibit FF pg. 6: 20000 S Maryland Blvd., Las Vegas, NV 89123 is in the
 7 middle of a major thoroughfare next to a large parking lot with no street-facing
 8 houses. (McMillan Dec. ¶ 7, Exhibit 5).
 9          Exhibit FF pgs. 7-8: 311 N Robertson Blvd., Beverly Hills, CA is a post
10 office. (McMillan Dec. ¶ 8, Exhibit 6).
11          Exhibit FF pg. 9: [illegible street number] West Lake Mead, Las Vegas,
12 NV. As there is no non-boulevard version of “W Lake Mead” in Las Vegas,
13 according to a Google Maps search, Plaintiff searched for ‘W Lake Mead Blvd.
14 addresses. (McMillan Dec. ¶ 9, Exhibit 7). However, the street address number is
15 illegible in the scan, so the following are possibilities for the street number and a
16 description of each surrounding locale:
17
            a.       3560 W. Lake Mead Blvd - Major thoroughfare with no residential
18                   buildings nearby.
19          b.       8360 W. Lake Mead Blvd - Major thoroughfare with no street-facing
                     residential buildings.
20
            c.       8560 W. Lake Mead Blvd. - Major thoroughfare with no residential
21                   buildings nearby.
22          d.       8580 W. Lake Mead Blvd. - This address belongs to Roberto’s Taco
                     Shop inside a commercial lot with a Chevron gas station, among
23                   others.
24          This Defendant’s Nevada Driver’s license does not match the format
25 published by the Nevada Department of Motor Vehicles. Per the Nevada DMV’s
26 website, Defendant’s style of card was a film-based design issued prior to 2002.
27
28   3:16-cv-02186       PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          5




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 Case3:16-cv-02186-WQH-MDD
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 1 (McMillan Dec. ¶ 10-11, Exhibit 8). The Nevada DMV website shows that are two
 2 strings of numbers entered right below the colored top section, with one ten-digit
 3 number on the far left, and an eight-digit number (a date: mmddyyyy) on the far
 4 right, above another number and the picture. Defendant’s driver’s license has an
 5 extra nine or ten digit number in the middle of the top of his card. (Id). Regardless
 6 of that number’s purported purpose, the first three numbers do not appear to match
 7 the social security numbers of Defendant to which Plaintiff has access. (McMillan
 8 Dec. ¶ 11). But, even if that number was a social security number of Defendant,
 9 such a number should not be on that driver’s license (or any valid Nevada driver’s
10 license), according to the Nevada DMV’s license design history.
11          Other discrepancies between Defendant’s driver’s license and that of the
12 DMV’s sample 2002 license include (1) Defendant’s card has”BLUE” for his eye
13 color, rather than the DMV’s use of “BLU”, (2) the date format above Defendant’s
14 picture is 03-20-2002, whereas the DMV website indicates a date format of
15 04141998, and (3) the number below the date at the top right of the DMV’s sample
16 is indented, whereas Defendant’s number is not. (Id). These differences tend to
17 indicate that Defendant’s Nevada driver’s license is a forgery. (Id).
18          Plaintiffs would also point out that Defendant, as far as Plaintiffs are aware,
19 currently resides in San Diego, California––not Nevada, Arizona, or Beverly Hills,
20 as listed in the above addresses.
21          With regard to the service address listed on the warrant, that is proper
22 information to include on a service document for the Sheriff, and, as mentioned,
23 was previously filed in Chaker v. Mateo. (McMillan Dec. ¶ 13).
24                   3.    The Month and Dates of Birth Can be Redacted
25          Defendant states that filing of documents with a full date of birth is not
26 allowed under Fed. Rules of Civ. Proc. Rule 5.2(a). (Def. Memo pg. 4). This
27
28   3:16-cv-02186        PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                            6




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Case
Case3:16-cv-02186-WQH-MDD
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 1 requirement was overlooked at the time of filing, in December of 2016. As such,
 2 Plaintiffs respectfully request filing the originally-filed Exhibit FF under seal, and
 3 then allow Plaintiffs to file the proposed redacted version attached as Exhibit 1.
 4 The reason being that sealing creates an administrative burden to manage for the
 5 attorneys and for the Court. (McMillan Dec. ¶ 17, Exhibit 3). Defendant has a long
 6 history of demanding as many documents that refer to him being sealed such that
 7 even a Texas judge addressed it:
 8          THE COURT: Okay, the sealing thing. Mr. Chaker I don't really
            understand why you get the right to seal everything but you want to
 9          publicize everybody else’s personal information. I just -- I just throw that
            out there. (TXSD Case No. 4:12-cr-00168 ECF 337, pg. 45:4-8)
10
     (ECF 75-1 ¶ 35).
11
            In fact, Defendant previously asked this Court in 2012 to seal the entire file
12
     from a 1996 case, Chaker v. Davis, Case No. 96-cv-0314; the request was denied.
13
     (McMillan Dec. ¶ 4, Exhibit 3).
14
            Because of the sensitive nature of some of the exhibits filed with the original
15
     Complaint and the FAC, Plaintiff filed them under seal. Defendant then challenged
16
     their authenticity, resulting in much more work for the Court to manage and for
17
     Plaintiffs to defend. The fewer documents which go under seal in this case, the
18
     more smoothly the litigation may proceed. (McMillan Dec. ¶ 17).
19
                     4.    The Exhibit FF is Not Confidential
20
            The documents in Exhibit FF were filed to enforce a bench warrant in
21
     Chaker v. Mateo. (McMillan Dec. ¶ 13). Defendant argues that because the bench
22
     warrant form instructs the clerk what he or she should do with his or her copy of
23
     the document after it is sent to the Sheriff’s Office, the warrant and associated
24
     documents magically become confidential as to all persons, including the drafter
25
     and the record upon which it was entered. (Def. Memo pgs. 6-7).
26
                     5.    Driver’s License Numbers are not Protected Under Rule 5.2
27
28   3:16-cv-02186        PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                           7




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 Case3:16-cv-02186-WQH-MDD
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 1          Defendant argues, without support, that Defendant’s driver’s license
 2 numbers are protected under Fed. Rules Civ. Proc. Rule 5.2, despite listing Rule
 3 5.2(a) in his memo. (Def. Memo pg. 3-4). The Rule states:
 4
            (a) Redacted Filings. Unless the court orders otherwise, in an electronic
 5          or paper filing with the court that contains an individual’s social-security
            number, taxpayer-identification number, or birth date, the name of an
 6          individual known to be a minor, or a financial-account number, a party
            or nonparty making the filing may include only:
 7
                     (1) the last four digits of the social-security number and
 8                   taxpayer-identification number;
 9                   (2) the year of the individual’s birth;
10                   (3) the minor’s initials; and
11                   (4) the last four digits of the financial-account number.
12 (F.R.C.P. Rule 5.2(a)).
13          Nowhere in the list does it say ‘driver’s license number.’ Defendant even
14 acknowledges “this information is not specifically addressed within Rule 5.2(a).”
15 (Def. Memo pg. 9). Defendant also argues, by incorporating the December 17,
16 2016 letter from Defendant’s previous counsel to Plaintiffs, that “I am confident
17 that you are well aware that there is no real difference between the treatment of
18 confidential driver’s license information and a social security number.” (Eliot
19 Krieger Dec., Exhibit 1 pg. 2). Plaintiffs disagree with this notion, as it is not
20 commonplace to carry one’s social security card around all the time, let alone give
21 it to strangers such as store cashiers, night club bouncers, or TSA agents (traveling)
22 for review.
23          Defendant states that California and Nevada have enacted legislation
24 specifically protecting records of the Department of Motor Vehicles. (Def. Memo
25 pg. 10). While unsure how a Nevada Statute would be persuasive in this case,
26 Plaintiff would point out that the Nevada Revised Statute § 481.063 cited by
27
28   3:16-cv-02186       PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          8




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Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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 1 Defendant applies limitations on dissemination of personal information only as to
 2 the DMV itself. (N.R.V. § 481.063). Similarly, while Defendant cites California
 3 Civil Code Section 1798.80(e) as having a “nearly identical” definition for
 4 “personal information” as the Nevada statute, the cited California definition
 5 pertains to the use of customer records by businesses, as evidenced by the chapter
 6 headings:
 7          CIVIL CODE - CIV DIVISION 3. OBLIGATIONS [1427 - 3272.9]
            (Heading of Division 3 amended by Stats. 1988, Ch. 160, Sec. 14.)
 8          PART 4. OBLIGATIONS ARISING FROM PARTICULAR
            TRANSACTIONS [1738 - 3273] (Part 4 enacted 1872.)
 9          TITLE 1.81. CUSTOMER RECORDS [1798.80           - 1798.84] (Title
            1.81 added by Stats. 2000, Ch. 1039, Sec. 1.)1
10
     (Cal. Civ. Code § 1798.80) (emphasis added).
11
            Indeed, the remainder of the section describes the limitations upon
12
     businesses for disseminating customer records. (Cal. Civ. Code § 1798.80-84). As
13
     such, these sections do not apply to Plaintiffs because (1) Plaintiffs are not a
14
     business disseminating customer records, and (2) Plaintiffs are not the DMV.
15
            Finally, Defendant attempts to apply 18 U.S.C. § 2725 to Plaintiff, despite
16
     directly quoting the limitation of its applicability, that it “prohibits State Motor
17
     Vehicle Departments from disclosing” such information as found on a driver’s
18
     license, social security card, or other like-documents. (Def. Memo pg. 9) (emphasis
19
     added). Defendant also only quotes the definition section of the statute, rather than
20
     its enabling, substantive, counterpart, 18 U.S.C. § 2721. Section 2721 explains that
21
     the statute applies only to a DMV, its employees, officers, or contractors. (18
22
     U.S.C. § 2721). Plaintiffs do not fall under these categories of prohibited persons.
23
                     6.    Exhibit FF was Not Filed for an Improper Purpose
24
25          1
            California Legislative Information, Civil Code 1798.80,
26 https://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?sectionNum=1
27 798.80.&lawCode=CIV (last accessed 6/9/17).
28   3:16-cv-02186        PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          9




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 Case3:16-cv-02186-WQH-MDD
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                                                           PageID.4934Page
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 1          That Defendant clings to the assertion Plaintiffs are guilty of libel in filing
 2 the FAC (Def. Memo pg 8) is ironic, given the allegations of extortionate and
 3 defamatory conduct alleged against Defendant in this action as part of his criminal
 4 enterprise. Regardless, Plaintiffs’ filing of Exhibit FF was not for an improper
 5 purpose. (McMillan Dec. ¶ 5). Exhibit FF supports Plaintiffs’ contention that
 6 Defendant admitted he knew he was barred from posting defamatory material.
 7 (FAC ¶ 75-79). Plaintiffs’ claims of Defendant’s defamatory conduct are included
 8 in its allegations of a criminal enterprise, racketeering, and extortion. (FAC ¶ 77,
 9 91, 93, 98, 101, 105-109). The Bench Warrant of Attachment and the
10 accompanying documents in Exhibit FF go towards showing Defendant (a) cannot
11 claim he did not know about the restrictions upon his release with regard to
12 publishing defamatory statements, (b) his refusal to abide by court orders in failing
13 to appear at his examination (the bench warrant was still outstanding as of the
14 filing of the FAC per ¶ 77), and (c) his continued refusal to comply with that
15 Court’s order to turn over his website domain administrative credentials, which
16 was ordered at the hearing wherein he admitted to his limitations with defamatory
17 statements. As such, Exhibit FF was filed with a proper purpose, to support a
18 contention in the FAC.
19          As such, Exhibit FF is not the kind of “nondispositive” document which
20 warranted discretionary sealing under Harrell v. George (E.D.Cal. June 23, 2011,
21 No. CIV S-11-0253 MCE DAD PS) 2011 U.S.Dist.LEXIS 68229, at *4). (Def.
22 Memo pg. 10). Rather, Defendant misconstrues the nature of the sealing of the
23 documents in that case, as the court merely said:
24
            The documents plaintiff is seeking to have filed under seal are
25          nondispositive materials and are not judicial records. While the
            documents contain personal and sensitive information, such as plaintiff’s
26          Social Security number, Driver’s License number, and college student
            ID number, plaintiff has partially redacted that information. Nonetheless,
27
28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                               10




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Case3:16-cv-02186-WQH-MDD
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 1           out of an abundance of caution plaintiff’s request to have these
             documents filed under seal will be granted.
 2
     (Id).
 3
             The court gave no explanation as to what the documents were, nor why the
 4
     court decided to seal them other than “out of an abundance of caution.” (Id). The
 5
     case does not stand for the notion that such information must be sealed despite
 6
     redaction, as Defendant would have this Court believe. The same need not apply
 7
     here, as there are less burdensome alternatives.
 8
             B.      There is no Compelling Reason to Seal Exhibit C to Plaintiff’s
 9
                     Opposition to Defendant Darren’s Motion for Sanctions
10
             Exhibit C to Plaintiffs’ Opposition (ECF 75) to Defendant’s Motion for
11
     Sanctions (ECF 66) is a rental application signed by Defendants Darren and Vania
12
     Chaker (“Opposition Exhibit C”). Prior to filing, Plaintiffs looked for sensitive
13
     information and made redactions. In fact, Plaintiffs redacted more information than
14
     was required under Rule 5.2(a) by redacting the full social security numbers, rather
15
     than all but the last four digits.
16
             Opposition Exhibit C, was offered to support Plaintiffs’ claims of a criminal
17
     enterprise as between the Chakers:
18
19           Defendant Vania has a history of providing false employment references
             for Defendant on rental and mortgage agreements he could otherwise not
20           afford. [McMillan Dec. ¶ 28-29, 30-34, 36-37, 39-40; Exhibits A-D].
             Defendant has also offered significantly contradictory testimony and
21           statements regarding his income since 2007; because he receives
             disability income from Social Security, he cannot work, and therefore
22           had no money from which he could pay the mortgage payments on the
             property in San Diego, let alone anywhere else.[McMillan Dec. ¶ 37.]
23           Defendant initiated three bankruptcy actions from 2005 to2007 to avoid
             foreclosure and making payments, all the while claiming to have
24           received rental income during that period. [McMillan Dec. ¶ 35, 38].
25 (ECF 75, pg. 20).
26           Both Vania and Darren Chaker signed the rental application at issue in
27
28   3:16-cv-02186       PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                        11




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 Case3:16-cv-02186-WQH-MDD
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 1 Opposition Exhibit C. Darren claimed employment from his sister’s law firm, as
 2 well as having received “pay stubs” from her law firm, which were purportedly
 3 being paid to two of Darren’s identities for essentially the same pay period. How
 4 that didn’t raise red flags is anyone’s guess. Regardless, Darren frequently claims,
 5 when asked by government entities––as is discussed in Plaintiffs’ Opposition to the
 6 Motion for Sanctions––that his only income is from either disability, social
 7 security, and/or rental income. (McMillan Dec. ¶ 16). But, when it is convenient
 8 for him, Defendant uses his sister’s backing when signing things such as loans or
 9 rental applications. (Id). As such, the inclusion of Opposition Exhibit C is highly
10 probative to supporting Plaintiff’s claim of the criminal enterprise alleged in the
11 FAC.
12          Defendant claims that Exhibit C discloses Defendant’s full date of birth.
13 (Def. Memo pg. 10). This is, again, ironic, because Defendant’s date of birth is
14 never actually stated correctly on the rental agreement. (McMillan Dec. ¶ 15).
15 Instead, two different years for Defendant’s date of birth appear:1927 and 1970,
16 neither of which match the date of birth for his identities which are known to
17 Plaintiffs. (Id). As such, Plaintiffs did not disclose Defendant’s ‘full date of birth’
18 in filing Opposition Exhibit C.
19          To the extent the Court is inclined to entertain Defendant’s belated request,
20 Plaintiffs request the same treatment as with Exhibit FF in that Opposition Exhibit
21 C be filed under seal, and allow Plaintiffs to file a redacted version of the same
22 exhibit in its place on the public record. As for Vania Chaker’s personal
23 information cited by Defendant in his motion, Defendant lacks standing to seal the
24 information of Ms. Chaker because Ms. Chaker is also a party to this action and
25 has not made a motion for sealing or redaction. (See e.g. Khanna v. Inter-Con Sec.
26 Sys. (E.D.Cal. Nov. 10, 2009, No. 2:09-cv-2214- GEB-GGH) 2009
27
28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                          12




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 Case
 Case3:16-cv-02186-WQH-MDD
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                                                 09/23/22PageID.3416
                                                           PageID.4937Page
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 1 U.S.Dist.LEXIS 133645, at *17) (Defendant sought to strike or dismiss plaintiff’s
 2 allegations against the other individual defendants, but failed to show it had
 3 standing to move on behalf of the individual defendants who were not a party to
 4 defendant’s motion).
 5          Defendant also claims that Opposition Exhibit C contains his “personal
 6 address” on ECF 75-1 pgs 122 (page 2 of Opposition Exhibit C). (Def. Memo pg.
 7 10). The address is 311 N. Robertson “Apt” 123. As shown in Exhibit 6, that is a
 8 post office, not a residence. (McMillan Dec. ¶ 8).
 9          With regard to Defendant’s issues with a document disclosing the “existence
10 of a medical condition. . . Dkt. No. 75-1 pp. 134-136,” Plaintiff is hard-pressed to
11 understand the objection, as Defendant has admitted to receiving disability
12 payments from Social Security since 2002 on the record in other cases. (E.g. ECF
13 75-1 pg. 110; Exhibit B, pg. 1). The remaining financial information in the exhibit
14 is (1) nearly ten years old, and (2) pertinent to supporting Plaintiffs’ allegations
15 regarding defendants’ alleged criminal enterprise.
16          Plaintiff reiterates its argument above that neither 18 U.S.C. § 2725 nor Fed.
17 Rule Civ. Proc. Rule 5.2 apply to driver’s license numbers or home address
18 information, at least as applied to Plaintiffs. Finally, Plaintiffs argue that Defendant
19 suffers the same standing issues with Opposition Exhibit C on behalf of his sister
20 and co-defendant as with Exhibit FF.
21
22 ///
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24 ///
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28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                           13




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Case3:16-cv-02186-WQH-MDD
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                                                                          18722
                                                                            of 18
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                                    1196


 1 V.       CONCLUSION
 2          For the foregoing reasons, Plaintiffs requests that Defendant’s motion be
 3 denied or, in the alternative, allow Plaintiffs to file the original Exhibits FF to the
 4 Complaint and FAC, and Opposition Exhibit C under seal, while also filing
 5 redacted versions in their stead on the public record.
 6
                                                    Respectfully submitted,
 7
                                                    THE MCMILLAN LAW FIRM, APC
 8 Date: June 12, 2017
 9                                                  /s/ Scott A. McMillan
10                                                  Scott A. McMillan, Plaintiff
11
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28   3:16-cv-02186     PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                              14




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 Case3:16-cv-02186-WQH-MDD
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 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
                        UNITED STATES DISTRICT COURT
 8
                     SOUTHERN DISTRICT OF CALIFORNIA
 9
10 SCOTT A. MCMILLAN, an                      Case No. 3:16-CV-02186-WQH-MDD
   individual, THE MCMILLAN LAW
11 FIRM,  APC, a California Professional
   corporation,
                                              Judge: Hon. William Q. Hayes
                                              Courtroom: 14B
12                   Plaintiffs,
13                                            PLAINTIFFS’ REQUEST FOR
                                              JUDICIAL NOTICE IN SUPPORT
14          v.                                OF PLAINTIFFS’ OPPOSITION TO
                                              MOTIONS TO DISMISS FILED BY
15   DARREN D. CHAKER an individual,          NICOLE CHAKER [ECF 35, 36].
     and as trustee of PLATINUM
16   HOLDINGS GROUP TRUST, dba                Hearing Date: February 6, 2017
     COUNTER FORENSICS; NICOLE                Courtroom: 14B
17   CHAKER, an individual, and as            Complaint Filed: August 29, 2016
     trustee of THE NICOLE CHAKER
18   REVOCABLE LIVING TRUST, U/A
     dated August 18, 2010, VANIA             Plaintiff’s Opposition to Defendant
19   CHAKER, an individual and as             Nicole Chaker’s Motion to Dismiss
     beneficiary of The Island Revocable      Pursuant to FRCP 12(b)(6); and
20   Trust under Declaration of Trust dated   Opposition to Defendant Nicole
     June 2, 2015, MARCUS MACK as             Chaker’s Special Motion to Dismiss
21   trustee of The Island Revocable Trust    per Antislapp, or Alternatively, per
     under Declaration of Trust dated June    FRCP 12(b)(6) filed and served
22   2, 2015,                                 concurrently

23                  Defendants.               [PER CHAMBERS, NO ORAL
                                              ARGUMENT UNLESS ORDERED BY
24                                            COURT]

25
26
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
27
28




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 1          Plaintiffs Scott A. McMillan and The McMillan Law Firm, APC
 2 (“Plaintiffs”), hereby submit this Request for Judicial Notice, supporting
 3 Plaintiffs’ Opposition to Defendant Nicole Chaker’s Motion to Dismiss Plaintiff’s
 4 First Amended Complaint Pursuant to Federal Rules of Civil Procedure, Rule
 5 12(b)(6) [ECF 35] and Special Motion to Strike Plaintiffs’ Third Cause of Action
 6 of First Amended Complaint [ECF 36].
 7          Plaintiffs respectfully request this Court take judicial notice of the below-
 8 listed pleadings, orders, and other papers on file with the United States District
 9 Court for the Central District of California and United States Court of Appeals for
10 the Ninth Circuit.
11          Plaintiffs identifies the documents listed below in response to Defendant
12 Nicole Chaker’s Motion To Dismiss Plaintiff’s First Amended Complaint and
13 Special Motion to Strike Plaintiffs’ Third Cause of Action of First Amended
14 Complaint. (McMillan Decl. 2, 4). The below-listed documents for judicial notice
15 relate, in large part, to the disposition of Darren Del Nero, Nicole Shaker1, et al. v.
16 Midland Credit Management, et al., Case No. CV 04-1040 ABC (Shx); the
17 judgment in favor of defendants Midland Credit Management, et al; the Court’s
18 order entitling defendant to recover costs based on arguments related to the
19 conduct of the Nicole Chaker during litigation; and various transcripts and
20 declarations related to litigation. (McMillan Decl. 5).
21          “A court properly may take judicial notice of pleadings filed in other
22 actions. See Burbank-Glendale-Pasadena Airport Authority v. City of Burbank,
23 136 F.3d 1360, 1364 (9th Cir. 1998) (court took judicial notice of pleadings filed
24 in a related state-court action).” (Robertson v. Wells Fargo Home Mortg., No.
25 10-CV-1110-BR, 2011 U.S. Dist. LEXIS 54192, at *3 (D. Or. May 20, 2011)).
26 “[O]n a motion to dismiss a court may properly look beyond the complaint to
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            1
             Defendant Nicole Chaker is identified as “Nicole Shaker” in CV 04-1040 ABC

     3:16-CV-02186   PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                 2

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 Case3:16-cv-02186-WQH-MDD
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 1 matters of public record and doing so does not convert a Rule 12(b)(6) motion to
 2 one for summary judgment.” (Mack v. S. Bay Beer Distribs., 798 F.2d 1279, 1282
 3 (9th Cir. 1986) citing Phillips v. Bureau of Prisons, 192 U.S. App. D.C. 357, 591
 4 F.2d 966, 969 (D.C. Cir. 1979).
 5          Furthermore, "[d]ocuments whose contents are alleged in a complaint and
 6 whose authenticity no party questions, but which are not physically attached to the
 7 pleading, may be considered in ruling on a Rule 12(b)(6) motion to dismiss.”
 8 (Anderson v. Clow (In re Stac Elecs. Sec. Litig.), (9th Cir. 1996) 89 F.3d 1399,
 9 1405 n.4; citing Fecht v. The Price Co., (9th Cir. 1995) 70 F.3d 1078, 1080 n.1,
10 quoting Branch v. Tunnell (9th Cir. 1994) 14 F.3d 449, 454).
11          According to Federal Rules of Evidence rules 201(b)(1) and 201(b)(2) and
12 Anderson v. Clow, Plaintiffs request that this Court take Judicial Notice of the
13 following court filings in other lawsuits and content of those court filings that are
14 attached to the contemporaneously-filed Declaration of Scott A. McMillan In
15 Support of Plaintiffs’ Opposition to Defendant Nicole Chaker’s Motions to
16 Dismiss [ECF 35, ECF 36]2:
17 1.       Civil Docket for United States District Court for the Central District of
18          California (Western Division Los Angeles) Case No. 2:04-cv-01040-ABC-
19          SH. (McMillan Decl. Ex. A).
20 2.       Civil Minutes for Order to Show Cause Re Contempt in United States
21          District Court for the Central District of California (Western Division Los
22          Angeles) Del Nero, Nicole Shaker, et al v. Midland Credit Management,
23          Case No. CV 04-1040 GPS(SHx), dated March 22, 2005. (McMillan Decl.
24          Ex. B).
25 3.       Civil Minutes for Order to Show Cause Re Contempt As To Vania Chaker
26          in United States District Court for the Central District of California
27
            2
28           The attached pdf file is bookmarked with references to the specific exhibits
     attached.

     3:16-CV-02186    PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                3

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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 8of
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 1          (Western Division Los Angeles) Del Nero, Nicole Shaker, et al v. Midland
 2          Credit Management,, Case No. CV 04-1040 GPS(SHx), dated March 22,
 3          2005. (McMillan Decl. Ex. C).
 4 4.       Findings of Fact and Conclusions of Law Pursuant to FRCP 52 and LR 52-1
 5          for United States District Court for the Central District of California
 6          (Western Division Los Angeles) case Del Nero, Nicole Shaker, et al v.
 7          Midland Credit Management,, Case No. CV 04-1040 GPS(SHx), dated July
 8          6, 2006. (McMillan Decl. Ex. D).
 9 5.       Judgment for United States District Court for the Central District of
10          California (Western Division Los Angeles) case Del Nero, Nicole Shaker, et
11          al v. Midland Credit Management,, Case No. CV 04-1040 GPS(SHx),
12          dated July 11, 2006. (McMillan Decl. Ex. E).
13 6.       Civil Minutes for Defendants’ Motion for Attorneys’ Fees and Related Non-
14          Taxable Costs (filed 8/10/06) in United States District Court for the Central
15          District of California (Western Division Los Angeles) case Del Nero, Nicole
16          Shaker, et al v. Midland Credit Management,, Case No. CV 04-1040
17          GPS(SHx), dated November 27, 2006. (McMillan Decl. Ex. F).
18 7.       Order Awarding Attorneys’ Fees and Costs to Defendants for United States
19          District Court for the Central District of California (Western Division Los
20          Angeles) case Del Nero, Nicole Shaker, et al v. Midland Credit
21          Management,, Case No. CV 04-1040 GPS(SHx), dated February 20, 2007.
22          (McMillan Decl. Ex. G).
23 8.       Judgment for Defendants Midland Credit Management in United States
24          District Court for the Central District of California (Western Division Los
25          Angeles) case Del Nero, Nicole Shaker, et al v. Midland Credit
26          Management,, Case No. CV 04-1040 GPS(SHx), dated April 20, 2007.
27          (McMillan Decl. Ex. H).
28


     3:16-CV-02186   PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS               4

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 Case3:16-cv-02186-WQH-MDD
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                                                                             of 8of
                                     1196


 1 9.       Plaintiff’s Exhibit: Transcript of Ninth Circuit Oral Argument recorded
 2          October 23, 2008, in United States District Court for the Central District of
 3          California (Western Division Los Angeles) case Del Nero, Nicole Shaker, et
 4          al v. Midland Credit Management,, Case No. 2:04-cv-01040-ABC-SH.
 5          (McMillan Decl. Ex. I).
 6 10.      Mandate on June 6, 2009 for United States Court of Appeals for the Ninth
 7          Circuit case Del Nero et al v. Midland Credit Management et al., filed in
 8          United States District Court for the Central District of California (Western
 9          Division Los Angeles) case Del Nero, Nicole Shaker, et al v. Midland
10          Credit Management,, Case No. 2:04-cv-01040-ABC-SH on August 14,
11          2009. (McMillan Decl. Ex. J).
12 11.      Plaintiff’s Exhibit: Municipal Court Order on February 26, 2010 of Stay
13          Recommendation of Midland Funding LLC v. Kenneth Nedrow, filed in
14          United States District Court for the Central District of California (Western
15          Division Los Angeles) case Del Nero, Nicole Shaker, et al v. Midland
16          Credit Management,, Case No. 2:04-cv-01040-ABC-SH on March 8, 2010.
17          (McMillan Decl. Ex. K).
18 12.      Defendants’ Notice of Motion and Motion for Award of Attorneys’ Fees
19          and Costs Pursuant to 28 U.S.C. § 1927 and the Court’s Inherent Authority;
20          Memorandum of Points and Authorities in Support of Motion for United
21          States District Court for the Central District of California (Western Division
22          Los Angeles) case Del Nero, Nicole Shaker, et al v. Midland Credit
23          Management,, Case No. 2:04-cv-01040-ABC-SH, dated March 1, 2010.
24          (McMillan Decl. Ex. L).
25 13.      Plaintiff’s Exhibit: Certain excerpts from Defendants’ Answering Brief to
26          Hyde & Swigart’s appeal before the Ninth Circuit, United States District
27          Court for the Central District of California (Western Division Los Angeles)
28          case Del Nero, Nicole Shaker, et al v. Midland Credit Management,, Case


     3:16-CV-02186   PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                 5

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 Case3:16-cv-02186-WQH-MDD
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 1          No. 2:04-cv-01040-ABC-SH, dated March 8, 2010. (McMillan Decl. Ex.
 2          M).
 3 14.      Hyde & Swigart’s Opposition to Defendant’s Motion For Attorneys’ Fees
 4          and Costs; Points and Authorities for United States District Court for the
 5          Central District of California (Western Division Los Angeles) case Del
 6          Nero, Nicole Shaker, et al v. Midland Credit Management,, Case No. 2:04-
 7          cv-01040-ABC-SH, dated March 8, 2010. (McMillan Decl. Ex. N).
 8 15.      Declaration of Jeffrey A. Topor in Support of Defendants’ Motion for
 9          Award of Attorneys’ Fees and Costs Pursuant to 28 U.S.C. § 1927 and the
10          Court’s Inherent Authority, Case No. 2:04-cv-01040-ABC-SH (“Topor
11          Decl.”), dated March 18, 2010. (McMillan Decl. Ex. O).
12          a.       Trial Exhibit 28, the Petition for Injunction Prohibiting Harassment in
13                   the action Darren D. Chaker v. Nicole Chaker, Sonia Tomina, case
14                   number BS070255 in the Superior Court of California, County of Los
15                   Angeles. (Topor Decl. Ex. A)
16          b.       Trial Exhibit 29, the Complaint for Restraining Order (Amended) in
17                   the action Darren David Chaker v. Sonia Tomina, Nicole Chaker,
18                   case number RCV 057124 in the Superior Court of California,
19                   County of San Bernardino.
20          c.       The cover page, the cited pages and the reporter’s certificate to the
21                   transcript of trial proceedings dated March 17, 2005. (Topor Decl. Ex.
22                   C)
23          d.       The cover page, the cited pages and the reporter’s certificate to the
24                   transcript of trial proceedings dated March 15, 2005. (Topor Decl. Ex.
25                   D)
26          e.       Trial Exhibits 24, 39, 40, and 41, pages from Nicole Chaker’s 2003
27                   Appointment Book. (Topor Decl. Ex. E)
28


     3:16-CV-02186   PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                  6

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 Case3:16-cv-02186-WQH-MDD
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                                     1196


 1          f.       Trial Exhibit 27, the Verified Complaint for Damages in the action
 2                   Darren D. Chaker v. Imperial Collection Services, case number
 3                   CV04-2728 PA in the United States District Court, Central District of
 4                   California.(Topor Decl. Ex. F)
 5          g.       Trial Exhibit 26, the Complaint for Violating the Fair Debt Collection
 6                   Practices Act and Demand For Jury Trial in the action Darren Del
 7                   Nero v. Riddle & Assocs., P.C., et al., case number LACC03-6511 in
 8                   the United States District Court, Central District of California. (Topor
 9                   Decl. Ex. G)
10          h.       The cover page, the cited pages and the reporter’s certificate to the
11                   transcript of trial proceedings dated March 16, 2005. (Topor Decl. Ex.
12                   H)
13          i.       The cover page, the cited pages and the reporter’s certificate to the
14                   transcript of trial proceedings dated March 23, 2005. (Topor Decl. Ex.
15                   I)
16          j.       The cover page, the cited pages and the reporter’s certificate to the
17                   transcript of trial proceedings dated March 22, 2005. (Topor Decl. Ex.
18                   J)
19          k.       The cover page, the cited pages and the reporter’s certificate to the
20                   transcript of trial proceedings dated March 24, 2005. (Topor Decl. Ex.
21                   K)
22          l.       The cover page, the cited pages and the reporter’s certificate to the
23                   transcript of the hearing on Defendant’s Motion for Attorneys’ Fees
24                   dated November 27, 2006. (Topor Decl. Ex. L)
25          m.       Order on Defendants’ Motion For Attorneys’ Fees and Related
26                   Non-Taxable Costs filed by Felipa Richland, Richland & Associates,
27                   and Nathan Enterprises Corp. in the action Darren D. Chaker v.
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     3:16-CV-02186    PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                 7

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 Case3:16-cv-02186-WQH-MDD
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                                     1196


 1                   Felipa Richland, et al., case number CV 05-7851 in the United States
 2                   District Court, Central District of California.(Topor Decl. Ex. M)
 3 16.      Civil Minutes for United States District Court Central District of California
 4          case Darren Del Nero, Nicole Shaker, et al. v. Midland Credit Management,
 5          et al., Case No. CV 04-1040 ABC (Shx), dated March 30, 2010. (McMillan
 6          Decl. Ex. Q).
 7
 8                                                    Respectfully submitted,
 9 DATED: January 21, 2017                                 /s/ Scott A. McMillan
                                              ____________________________
10                                            SCOTT A. MCMILLAN, SBN 212506
                                              Attorney for Plaintiffs Scott A. McMillan,
11                                            and The McMillan Law Firm, APC,
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     3:16-CV-02186   PLS’ RJFN IN SUPP. OPPO DEF N. CHAKER’S MTN TO DISMISS                 8

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1 Scott A. McMillan, SBN 212506
  The McMillan Law Firm, APC
2 4670 Nebo Drive, Suite 200
  La Mesa, California 91941-5230
3 (619) 464-1500
  Email: scott@mcmillanlaw.us
4
     Attorney for Plaintiffs, SCOTT A. MCMILLAN, an individual, THE MCMILLAN
5    LAW FIRM, APC, a California Professional Corporation
6
7                      UNITED STATES DISTRICT COURT
8                   SOUTHERN DISTRICT OF CALIFORNIA
9
10   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
     individual, THE MCMILLAN LAW
11   FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
     corporation,                             Courtroom: 14B
12                   Plaintiffs,
13                                            DECLARATION OF SCOTT A.
                                              MCMILLAN IN SUPPORT OF
14         v.                                 PLAINTIFFS’ REQUEST FOR
                                              JUDICIAL NOTICE IN SUPPORT
15   DARREN D. CHAKER an individual,          OF PLAINTIFFS’ OPPOSITION TO
     and as trustee of PLATINUM               MOTIONS TO DISMISS FILED BY
16   HOLDINGS GROUP TRUST, dba                NICOLE CHAKER [ECF 35, 36].
     COUNTER FORENSICS; NICOLE
17   CHAKER, an individual, and as trustee
     of THE NICOLE CHAKER                     Hearing Date: February 6, 2017
18   REVOCABLE LIVING TRUST, U/A              Courtroom: 14B
     dated August 18, 2010, VANIA             Complaint Filed: August 29, 2016
19   CHAKER, an individual and as
     beneficiary of The Island Revocable      Plaintiffs’ Opposition to Defendant
20   Trust under Declaration of Trust dated   Nicole Chaker’s Special Motion to
     June 2, 2015, MARCUS MACK as             Dismiss per Antislapp, or Alternatively,
21   trustee of The Island Revocable Trust    per FRCP 12(b)(6); Opposition to
     under Declaration of Trust dated June    Defendant Nicole Chaker’s Motion to
22   2, 2015,                                 Dismiss Pursuant to FRCP 12(b)(6)
                                              filed and served concurrently herewith.
23                  Defendants.
                                              [PER CHAMBERS, NO ORAL
24                                            ARGUMENT UNLESS ORDERED
                                              BY COURT]
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Case 3:16-cv-02186-WQH-MDD
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                                                 09/23/22 PageID.2177
                                                           PageID.4948 Page
                                                                        Page2 732 of
                                                                              of 445
                                     1196


1    I, Scott A. McMillan, declare:
2          1. I am over the age of eighteen and party to this action. I am the principal
3    of plaintiff The McMillan Law Firm, APC. If called before this court, I could and
4    would testify from my own personal knowledge to the following:
5          2. I submit this declaration in support of Plaintiffs' Request for Judicial
6    Notice in Support of Plaintiffs' Opposition to Motions to Dismiss filed by Nicole
7    Chaker [ECF 35, 36].
8          3. On January 9, 2017, I accessed the United States District Court for the
9    Central District of California’s Case Management/Electronic Case Files system, and
10   downloaded the following documents related to Case No. 2:04-cv-01040-ABC-SH:
11         a.    Civil Docket for United States District Court for the Central District of
12               California (Western Division Los Angeles) Case No. 2:04-cv-01040-
13               ABC-SH. A true and correct copy, as printed on January 9, 2017, is
14               attached as Exhibit A hereto.
15         b.    Civil Minutes for Order to Show Cause Re Contempt in United States
16               District Court for the Central District of California (Western Division
17               Los Angeles) Del Nero v, Midland Credit Management, Case No.
18               CV 04-1040 GPS(SHx), dated March 22, 2005. A true and correct
19               copy is attached as Exhibit B hereto.
20         c.    Civil Minutes for Order to Show Cause Re Contempt As To Vania
21               Chaker in United States District Court for the Central District of
22               California (Western Division Los Angeles) Del Nero v, Midland
23               Credit Management, Case No. CV 04-1040 GPS(SHx), dated March
24               22, 2005. A true and correct copy is attached as Exhibit C hereto.
25         d.    Findings of Fact and Conclusions of Law Pursuant to FRCP 52 and
26               LR 52-1 for United States District Court for the Central District of
27               California (Western Division Los Angeles) case Del Nero v, Midland
28               Credit Management, Case No. CV 04-1040 GPS(SHx), dated July 6,

                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                             2
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Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                 09/23/22 PageID.2178
                                                           PageID.4949 Page
                                                                        Page3 733 of
                                                                              of 445
                                     1196


1                2006. A true and correct copy is attached as Exhibit D hereto.
2          e.    Judgment for United States District Court for the Central District of
3                California (Western Division Los Angeles) case Del Nero v, Midland
4                Credit Management, Case No. CV 04-1040 GPS(SHx), dated July
5                11, 2006. A true and correct copy is attached as Exhibit E hereto.
6          f.    Civil Minutes for Defendants’ Motion for Attorneys’ Fees and Related
7                Non-Taxable Costs (filed 8/10/06) in United States District Court for
8                the Central District of California (Western Division Los Angeles) case
9                Del Nero v, Midland Credit Management, Case No. CV 04-1040
10               GPS(SHx), dated November 27, 2006. A true and correct copy is
11               attached as Exhibit F hereto.
12         g.    Order Awarding Attorneys’ Fees and Costs to Defendants for United
13               States District Court for the Central District of California (Western
14               Division Los Angeles) case Del Nero v, Midland Credit
15               Management, Case No. CV 04-1040 GPS(SHx), dated February 20,
16               2007. A true and correct copy is attached as Exhibit G hereto.
17         h.    Judgment for Defendants Midland Credit Management in United States
18               District Court for the Central District of California (Western Division
19               Los Angeles) case Del Nero v. Midland Credit Management, Case
20               No. CV 04-1040 GPS(SHx), dated April 20, 2007. A true and correct
21               copy is attached as Exhibit H hereto.
22         i.    Plaintiff’s Exhibit: Transcript of Ninth Circuit Oral Argument recorded
23               October 23, 2008, in United States District Court for the Central
24               District of California (Western Division Los Angeles) case Del Nero
25               v. Midland Credit Management, Case No. 2:04-cv-01040-ABC-SH.
26               A true and correct copy is attached as Exhibit I hereto.
27         j.    Mandate on June 6, 2009 for United States Court of Appeals for the
28               Ninth Circuit case Del Nero et al v. Midland Credit Management et

                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                             3
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Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                                        Page4 734 of
                                                                              of 445
                                     1196


1                al., filed in United States District Court for the Central District of
2                California (Western Division Los Angeles) case Del Nero v. Midland
3                Credit Management, Case No. 2:04-cv-01040-ABC-SH on August
4                14, 2009. A true and correct copy is attached as Exhibit J hereto.
5          k.    Plaintiff’s Exhibit: Municipal Court Order on February 26, 2010 of
6                Stay Recommendation of Midland Funding LLC v. Kenneth
7                Nedrow, filed in United States District Court for the Central District of
8                California (Western Division Los Angeles) case Del Nero v. Midland
9                Credit Management, Case No. 2:04-cv-01040-ABC-SH on March 8,
10               2010. A true and correct copy is attached as Exhibit K hereto.
11         l.    Defendants’ Notice of Motion and Motion for Award of Attorneys’
12               Fees and Costs Pursuant to 28 U.S.C. § 1927 and the Court’s
13               Inherent Authority; Memorandum of Points and Authorities in Support
14               of Motion for United States District Court for the Central District of
15               California (Western Division Los Angeles) case Del Nero v. Midland
16               Credit Management, Case No. 2:04-cv-01040-ABC-SH, dated March
17               1, 2010. A true and correct copy is attached as Exhibit L hereto.
18         m.    Plaintiff’s Exhibit: Certain excerpts from Defendants’ Answering Brief
19               to Hyde & Swigart’s appeal before the Ninth Circuit, United States
20               District Court for the Central District of California (Western Division
21               Los Angeles) case Del Nero v. Midland Credit Management, Case
22               No. 2:04-cv-01040-ABC-SH, dated March 8, 2010. A true and correct
23               copy is attached as Exhibit M hereto.
24         n.    Hyde & Swigart’s Opposition to Defendant’s Motion For Attorneys’
25               Fees and Costs; Points and Authorities for United States District
26               Court for the Central District of California (Western Division Los
27               Angeles) case Del Nero v. Midland Credit Management, Case No.
28               2:04-cv-01040-ABC-SH, dated March 8, 2010. A true and correct

                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                              4
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Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                 09/23/22 PageID.2180
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                                                                        Page5 735 of
                                                                              of 445
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1                    copy is attached as Exhibit N hereto.
2           o.       Declaration of Jeffrey A. Topor in Support of Defendants’ Motion for
3                    Award of Attorneys’ Fees and Costs Pursuant to 28 U.S.C. § 1927
4                    and the Court’s Inherent Authority, Case No. 2:04-cv-01040-ABC-
5                    SH, dated March 18, 20101 (“Topor Decl.”). A true and correct copy
6                    is attached as Exhibit O hereto.
7                    i.     Trial Exhibit 28, the Petition for Injunction Prohibiting
8                           Harassment in the action Darren D. Chaker v. Nicole Chaker,
9                           Sonia Tomina, case number BS070255 in the Superior Court of
10                          California, County of Los Angeles. (Topor Decl. Ex. A)
11                   ii.    Trial Exhibit 29, the Complaint for Restraining Order
12                          (Amended) in the action Darren David Chaker v. Sonia
13                          Tomina, Nicole Chaker, case number RCV 057124 in the
14                          Superior Court of California, County of San Bernardino.
15                   iii.   The cover page, the cited pages and the reporter’s certificate to
16                          the transcript of trial proceedings dated March 17, 2005. (Topor
17                          Decl. Ex. C)
18                   iv.    The cover page, the cited pages and the reporter’s certificate to
19                          the transcript of trial proceedings dated March 15, 2005. (Topor
20                          Decl. Ex. D)
21                   v.     Trial Exhibits 24, 39, 40, and 41, pages from Nicole Chaker’s
22                          2003 Appointment Book. (Topor Decl. Ex. E)
23                   vi.    Trial Exhibit 27, the Verified Complaint for Damages in the
24                          action Darren D. Chaker v. Imperial Collection Services, case
25
26
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            Plaintiff requests the Court take further judicial notice of the exhibits attached to
27   and authenticated by the Declaration of Jeffrey A. Topor in Support of Defendants’ Motion
28   for Award of Attorneys’ Fees and Costs Pursuant to 28 U.S.C. § 1927 and the Court’s
     Inherent Authority.

                     DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186           DEF N. CHAKER’S MOTION TO DISMISS                                  5
                                                 728
Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                           PageID.4952 Page
                                                                        Page6 736 of
                                                                              of 445
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1                       number CV04-2728 PA in the United States District Court,
2                       Central District of California.(Topor Decl. Ex. F)
3                vii.   Trial Exhibit 26, the Complaint for Violating the Fair Debt
4                       Collection Practices Act and Demand For Jury Trial in the
5                       action Darren Del Nero v. Riddle & Assocs., P.C., et al., case
6                       number LACC03-6511 in the United States District Court,
7                       Central District of California. (Topor Decl. Ex. G)
8                viii. The cover page, the cited pages and the reporter’s certificate to
9                       the transcript of trial proceedings dated March 16, 2005. (Topor
10                      Decl. Ex. H)
11               ix.    The cover page, the cited pages and the reporter’s certificate to
12                      the transcript of trial proceedings dated March 23, 2005. (Topor
13                      Decl. Ex. I)
14               x.     The cover page, the cited pages and the reporter’s certificate to
15                      the transcript of trial proceedings dated March 22, 2005. (Topor
16                      Decl. Ex. J)
17               xi.    The cover page, the cited pages and the reporter’s certificate to
18                      the transcript of trial proceedings dated March 24, 2005. (Topor
19                      Decl. Ex. K)
20               xii.   The cover page, the cited pages and the reporter’s certificate to
21                      the transcript of the hearing on Defendant’s Motion for
22                      Attorneys’ Fees dated November 27, 2006. (Topor Decl. Ex. L)
23               xiii. Order on Defendants’ Motion For Attorneys’ Fees and Related
24                      Non-Taxable Costs filed by Felipa Richland, Richland &
25                      Associates, and Nathan Enterprises Corp. in the action Darren
26                      D. Chaker v. Felipa Richland, et al., case number CV 05-7851
27                      in the United States District Court, Central District of
28                      California.(Topor Decl. Ex. M)

                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                             6
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Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                           PageID.4953 Page
                                                                        Page7 737 of
                                                                              of 445
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1          p.    Reply Memorandum of Points and Authorities in Support of
2                Defendants’ Motion for Award of Attorneys’ Fees and Costs
3                Pursuant to 28 U.S.C. § 1927 and the Court’s Inherent Authority,
4                dated March 22, 2010, for Darren Del Nero, et al. v. Midland Credit
5                Management, et al., United States District Court Central District of
6                California, Case No. CV 04-1040 ABC (Shx). A true and correct copy
7                is attached as Exhibit P hereto.
8          q.    Civil Minutes for United States District Court Central District of
9                California case Darren Del Nero, et al. v. Midland Credit
10               Management, et al., Case No. CV 04-1040 ABC (Shx), dated March
11               30, 2010. A true and correct copy is attached as Exhibit Q hereto.
12         4. Defendant Nicole Chaker has moved to dismiss Plaintiffs’ First Amended
13   Complaint [ECF 35] and moved to strike the third cause of action from Plaintiff’s
14   First Amended Complaint [ECF 36]. In support of her motions, Defendant Nicole
15   Chaker made certain arguments regarding the litigation of Darren Del Nero, et al.
16   v. Midland Credit Management, et al., Case No. CV 04-1040 ABC (Shx) [ECF
17   35-1]. One such argument is that the Noerr-Pennington doctrine immunizes the
18   acts of Ms. Chaker during litigation of Darren Del Nero, et al. v. Midland Credit
19   Management, et al. [ECF 35-1 ¶ 7]. Another argument Defendant Nicole Chaker
20   made was that case resulted in a settlement on Nicole Chaker’s behalf, thereby
21   precluding her claim from being objectively baseless [ECF 35-1 ¶ 10]. Defendant
22   Nicole Chaker also argued that the conduct and communications described by
23   Plaintiffs in the First Amended Complaint is protected by California Civil
24   Procedure Code Section 425.16 [ECF 36-1 ¶ 13].
25         5. The documents listed above for judicial notice relate, in large part, to the
26   disposition of Darren Del Nero, et al. v. Midland Credit Management, et al.,
27   Case No. CV 04-1040 ABC (Shx); the judgment in favor of defendants Midland
28   Credit Management, et al; the Court’s order entitling defendant to recover costs

                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                             7
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Case 3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD Document
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                                                           PageID.4954 Page
                                                                        Page8 738 of
                                                                              of 445
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1    based on arguments related to the conduct of the Nicole Chaker during litigation;
2    and various transcripts and declarations related to litigation.
3          6. In the contemporaneously-filed Plaintiffs’ Objection to Defendant Nicole
4    Chaker’s Request to Take Judicial Notice in Support of Motions to Dismiss [ECF
5    35-3, ECF 36-3], Plaintiffs object on the basis that the “Stipulation Regarding
6    Dismissal” is not a proper document for judicial notice; and contrary to Defendant
7    Nicole Chaker’s assertion, the “Stipulation Regarding Dismissal” does not illustrate
8    a settlement on her behalf. Rather, it demonstrates the opposite, and is not relevant
9    or admissible evidence.
10         I declare under the penalty of perjury according to the laws of the United
11   States within the meaning of 28 United States Code section 1746 that the foregoing
12   is true and correct and that this declaration was executed on January 21, 2017, at
13   the City of La Mesa, County of San Diego, State of California.
14
15                                           /s/ Scott A. McMillan
                                             ______________________
16                                           Scott A. McMillan
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                   DECL. MCMILLAN IN SUPP. PLS’ RFJN IN SUPP. PLS’ OPPO.
     3:16-CV-02186         DEF N. CHAKER’S MOTION TO DISMISS                              8
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                                                                              of 445
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                         EXHIBIT A




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                                                                                                   (SHx),CLOSED,DISCOVERY,MANADR



 UNITED STATES DISTRICT COURT for the CENTRAL DISTRICT OF CALIFORNIA
                      (Western Division - Los Angeles)
             CIVIL DOCKET FOR CASE #: 2:04-cv-01040-ABC-SH


  Darren Del Nero et al v. Midland Credit Management Inc et al                        Date Filed: 02/17/2004
  Assigned to: Judge Audrey B. Collins                                                Date Terminated: 07/11/2006
  Referred to: Magistrate Judge Stephen J. Hillman                                    Jury Demand: Both
  Demand: $10,000                                                                     Nature of Suit: 890 Other Statutory Actions
  Case in other court: 9th CCA, 07-55326                                              Jurisdiction: Federal Question
  Cause: 15:1692 Fair Debt Collection Act

  Plaintiff
  Darren Del Nero                                                         represented by Craig J Stein
                                                                                         The Stein Law Firm
                                                                                         801 S Figueroa Street
                                                                                         12th Floor
                                                                                         Los Angeles, CA 90017
                                                                                         213-233-2271
                                                                                         Fax: 213-622-1444
                                                                                         Email: cstein@gswllp.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      J oshua B Swigart
                                                                                      Hyde & Swigart
                                                                                      411 Camino Del Rio South Suite 301
                                                                                      San Diego, CA 92108-3551
                                                                                      619-233-7770
                                                                                      Fax: 619-297-1022
                                                                                      Email: josh@westcoastlitigation.com
                                                                                      TERMINATED: 03/29/2007
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Robert Stempler
                                                                                      Consumer Law Office of Robert Stempler
                                                                                      APLC
                                                                                      555 South Sunrise Way Suite 200
                                                                                      PO Box 1721
                                                                                      Palm Springs, CA 92263-1721
                                                                                      760-422-2200
                                                                                      Fax: 760-479-5957
                                                                                      Email: stemplerlaw@gmail.com

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                         Vania M Chaker
                                                                                         Vania M Chaker Law Offices
                                                                                         P O Box 22001
                                                                                         San Diego, CA 92192-2001
                                                                                         858-583-1505
                                                                                         Email: vania@stanfordalumni.org
                                                                                         TERMINATED: 12/08/2004
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

  Plaintiff
  Nicole Shaker                                                           represented by Robert Stempler
  TERMINATED: 11/24/2004                                                                 (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


  V.
  M ovant
  Vania Chaker                                                            represented by J ohn Leo Wagner
                                                                                         John Leo Wagner Attorney at Law
                                                                                         1851 East First Street Suite 1450
                                                                                         Santa Ana, CA 92705
                                                                                         714-834-1340
                                                                                         Email: jwagner@wagneradr.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


  V.
  Defendant
  M idland Credit M anagement Inc                                         represented by Corinne D Orquiola
                                                                                         Carlson and Messer
                                                                                         5959 W. Centry Boulevard Suite 1214
                                                                                         Los Angeles, CA 90045
                                                                                         310-242-2200
                                                                                         Email: devezac@cmtlaw.com
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                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         J ack D Hull , II
                                                                                         Goldsmith and Hull APC
                                                                                         16933 Parthenia Street Suite 110
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                                                                      1196                   Northridge, CA 91343
                                                                                             818-990-6600
                                                                                             Fax: 818-990-6140
                                                                                             Email: govdept1@goldsmithcalaw.com
                                                                                             TERMINATED: 08/20/2004
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                        J effrey A Topor
                                                                                        Simmonds and Narita LLP
                                                                                        44 Montgomery Street Suite 3010
                                                                                        San Francisco, CA 94104-4816
                                                                                        415-283-1000
                                                                                        Fax: 415-352-2625
                                                                                        Email: jtopor@snllp.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Stephen H Turner
                                                                                        Lewis Brisbois Bisgaard and Smith LLP
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                                                                                        Los Angeles, CA 90012
                                                                                        213-250-1800
                                                                                        Fax: 213-250-7900
                                                                                        Email: turner@lbbslaw.com
                                                                                        TERMINATED: 02/09/2010
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Tomio B Narita
                                                                                        Simmonds & Narita
                                                                                        44 Montgomery Street, Suite 3010
                                                                                        San Francisco, CA 94104-4816
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                                                                                        Fax: 415-352-2625
                                                                                        Email: tnarita@snllp.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        J ohn Richard Feliton , J r.
                                                                                        Lewis Brisbois Bisgaard and Smith
                                                                                        221 North Figueroa Street, Suite 1200
                                                                                        Los Angeles, CA 90012
                                                                                        213-250-1800
                                                                                        TERMINATED: 02/09/2010

  Defendant
  M RC Receivables Corp                                                   represented by Corinne D Orquiola

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                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                         J ack D Hull , II
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         J effrey A Topor
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Stephen H Turner
                                                                                         (See above for address)
                                                                                         TERMINATED: 02/09/2010
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                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Tomio B Narita
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         J ohn Richard Feliton , J r.
                                                                                         (See above for address)
                                                                                         TERMINATED: 02/09/2010

  Defendant
  Does
  1-10

  Intervenor
  Hyde and Swigart                                                        represented by Craig J Stein
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

  Intervenor
  Robert L Hyde                                                           represented by Craig J Stein
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

  Intervenor
  J oshua B Swigart                                                       represented by Craig J Stein
                                                                                         (See above for address)


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                                                                                             ATTORNEY TO BE NOTICED


  Date Filed               #     Docket Text
  02/17/2004                1 COMPLAINT against defendants MRC Receivables Corp, Midland Credit Management Inc.
                              (Filing fee $ 150.) Jury Demanded. , filed by plaintiffs Darren Del Nero, Nicole Shaker.(rrey, )
                              (Entered: 02/20/2004)
  02/17/2004                     20 Day Summons Issued re Complaint - (Discovery) 1 as to MRC Receivables Corp, Midland
                                 Credit Management Inc. (rrey, ) (Entered: 02/20/2004)
  02/17/2004                2 CERTIFICATION AND NOTICE of Interested Parties filed by Plaintiffs Darren Del Nero,
                              Nicole Shaker. (rrey, ) (Entered: 02/20/2004)
  02/17/2004                3 NOTICE TO PARTIES OF ADR PILOT PROGRAM filed.(rrey, ) (Entered: 02/20/2004)
  02/17/2004                     FAX number for Attorney Robert H Stempler is 760-422-2820. (rrey, ) (Entered: 02/20/2004)
  02/24/2004                4 NOTICE TO COUNSEL: Counsel are advised that the Court expects strict compliance with
                              the provisions of the Local Rules and the Federal Rules of Civil Procedure (See document for
                              further details) by Judge Christina A. Snyder (ir, ) Modified on 2/24/2004 (ir, ). (Entered:
                              02/24/2004)
  03/03/2004                5 PROOF OF SERVICE Executed upon Midland Credit Management Inc served on 2/20/2004,
                              answer due 3/11/2004. The Summons and Complaint were served by Personal service, by
                              State statute, upon Robin Pruitt, Person Authorized to Accept service. Due Dilligence
                              declaration not attached. Original Summons not returned. (ir, ) (Entered: 03/08/2004)
  03/03/2004                6 PROOF OF SERVICE Executed upon MRC Receivables Corp served on 2/20/2004, answer
                              due 3/11/2004. The Summons and Complaint were served by Personal service, by State
                              statute, upon Robin Pruitt, Person Authorized to accept service. Due Dilligence declaration not
                              attached. Original Summons not returned. (ir, ) (Entered: 03/08/2004)
  03/08/2004                7 NOTICE OF ENTRY of Order dated 2/24/2004 regarding Notice to Counsel filed by plaintiff
                              Darren Del Nero. (jp, ) (Entered: 03/16/2004)
  03/10/2004                8 ANSWER to Complaint 1 filed by Defendants Midland Credit Management Inc and MRC
                              Receivables Corp.(ir, ) (Entered: 03/16/2004)
  03/10/2004                9 CERTIFICATION of Interested Parties filed by Defendants MRC Receivables Corp, Midland
                              Credit Management Inc. (ir, ) (Entered: 03/16/2004)
  03/10/2004               10 DEMAND for Jury Trial filed by Defendants MRC Receivables Corp, Midland Credit
                              Management Inc.. (ir, ) (Entered: 03/16/2004)
  03/18/2004                     PLACED IN FILE - NOT USED re memorandum of points and authorities in support of
                                 motion to withdraw submitted by plaintiffs' Darren Del Nero. (bp, ) (Entered: 03/28/2005)
  04/29/2004               11 SUBSTITUTION OF ATTORNEYE filed. Substituting attorney Vania M Chaker for Darren
                              Del Nero in place and stead of attorney Robert H Stempler by Judge Christina A. Snyder. (ir, )
                              (Entered: 04/29/2004)
  04/29/2004                     FAX number for Attorney Vania M Chaker is 815-377-4177. (ir, ) (Entered: 04/29/2004)

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                                                                                                                  15745  of
                                                                                                                     of 445
  05/17/2004                                                      1196
                           12 ADR PILOT PROGRAM QUESTIONNAIRE filed by attorney Vania M Chaker, Jack D Hull
                              II on behalf of Plaintiffs Darren Del Nero, Nicole Shaker, Defendant Midland Credit
                              Management Inc.(ir, ) (Entered: 05/27/2004)
  05/17/2004               13 REPORT of Parties Planning Meeting and Proposed Discovery Plan filed; estimated length of
                              trial 4 Court days. (ir, ) (Entered: 05/27/2004)
  06/08/2004               14 MINUTES: ORDER SETTING SCHEDULING CONFERENCE; This matter is set for a
                              Scheduling Conference on 8/2/2004 11:00 AM. Parties are reminded of their obligations to
                              disclose information and confer on a discovery plan not later than 21 days prior to the date of
                              the Rule 16(b) scheduling conference and to report to Court not later than 14 days after they
                              confer on a discovery plan. Court will issue an order setting forth at least the following dates:
                              Last day for joining parties, last date to file any motion, whether or not dispositive, and last date
                              to complete discovery. Scheduling Conferences will ordinary not be continued. Plaintiff is
                              responsible for serving this order on any party that has not yet answered the complaint. Failure
                              to comply may lead to the imposition of sanctions (See document for further details) IT IS SO
                              ORDERED by Judge Christina A. Snyder Court Reporter: None present (ir) (Entered:
                              06/09/2004)
  07/15/2004               15 NOTICE OF MOTION AND MOTION for Summary Judgment or in the alternative
                              Summary Adjudication of Issues filed by Defendants MRC Receivables Corp, Midland Credit
                              Management Inc. Motion set for hearing on 8/16/2004 at 10:00 AM before Honorable
                              Christina A. Snyder.; Declaration of Jack D Hull, Greg Meredith and John Redding;
                              Memorandum of Points and Authorities. Lodged Judgment, Separate Statement of
                              Uncontroverted Facts and Conclusion of law. (ir, ) (Entered: 07/19/2004)
  07/15/2004               16 DECLARATION of Greg Meredith in support of motion for summary judgment 15 filed by
                              Defendants MRC Receivables Corp, Midland Credit Management Inc. (ir) (Entered:
                              07/19/2004)
  07/15/2004               17 DECLARATION of John Redding in support of motion for Summary Judgment 15 filed by
                              Defendants MRC Receivables Corp, Midland Credit Management Inc. (ir) (Entered:
                              07/19/2004)
  07/15/2004               18 SEPARATE STATEMENT of Undisputed Material Facts in support of motion for Summary
                              Judgment or in the alternative summary adjudication of Issues 15 filed by Defendants MRC
                              Receivables Corp, Midland Credit Management Inc, Nicole Shaker.(ir) (Entered: 07/19/2004)
  07/22/2004               19 NOTICE OF MOTION AND MOTION of Vania Chaker to Withdraw as counsel of record
                              filed by Plaintiff Darren Del Nero. Motion set for hearing on 8/16/2004 at 10:00 AM before
                              Honorable Christina A. Snyder. Lodged Proposed Order. (ir) (Entered: 08/02/2004)
  07/22/2004               20 MEMORANDUM of Points and Authorities in Support of Motion to withdraw Vania Chaker
                              as counsel of record 19 filed by Plaintiff Darren Del Nero. (ir ) (Entered: 08/02/2004)
  07/22/2004               21 DECLARATION of Vania M Chaker in support of Vania Chaker to Withdraw as counsel of
                              record 19 filed by Plaintiff Darren Del Nero. (ir ) (Entered: 08/02/2004)
  07/22/2004               22 PROOF OF SERVICE filed by Plaintiff Darren Del Nero of Notice of Change of Address was
                              served on 7/20/04. (ir) (Entered: 08/02/2004)
  07/22/2004               23 NOTICE of Change of Address by attorney Vania M Chaker for Plaintiff Darren Del Nero,
                              changing Address to Law Office of Vania M Chaker PO Box 22001 San Diego, CA 92192-

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       Case3:16-cv-02186-WQH-MDD
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                                 2001; Telephone 858-583-1505; Fax 858-638-1926. Filed by Plaintiff Darren Del Nero (ir )
                                 (Entered: 08/02/2004)
  07/22/2004                     FAX number for Attorney Vania M Chaker is 858-638-1926. (ir ) (Entered: 08/02/2004)
  07/22/2004               24 PROOF OF SERVICE filed by Plaintiff Darren Del Nero of Notice of motion and motion to
                              withdraw as counsel of record 19 , memorandum of Points and Authorities in support 20 ,
                              Declaration of Vania M Chaker 21 was served on 7/20/04. (ir ) (Entered: 08/02/2004)
  07/28/2004               25 NOTICE OF DISCREPANCY AND ORDER: by Judge Stephen J. Hillman: ORDERING
                              Letter to Judge submitted received 7/27/04 is not to be filed but instead rejected. Denial based
                              on Local Rule 83-2.11 Attorney or parties shall refrain from writing letters to the judge.(ir)
                              (Entered: 08/03/2004)
  08/02/2004               26 MINUTES: SCHEDULING CONFERENCE; ORDER TO SHOW CAUSE; Plaintiff is
                              hereby ordered to show cause why this case should not be dismissed for lack of prosecution. A
                              response shall be filed in writing no later than 8/16/04. Scheduling Conference is continued to
                              Monday 8/30/04 at 11:00 am IT IS SO ORDERED by Judge Christina A. Snyder Court
                              Reporter: None present. (ir ) (Entered: 08/05/2004)
  08/02/2004               27 STATEMENT of Genuine Issues Opposing Defendant's MOTION for Summary Judgment
                              MOTION for Summary Adjudication 15 filed by Plaintiffs Darren Del Nero, Nicole Shaker.
                              (shb, ) (Entered: 08/05/2004)
  08/02/2004               28 JOINT MEMORANDUM by Plaintiffs Opposing Defendants MOTION for Summary
                              Judgment or Summary Adjudication AND MOTION for to STRIKE part of Declaration
                              attached to Defendants Motion; Declaration of Plaintiffs Darren Del Nero and Nicole Shaker
                              and Counsel Vania M Chaker and Robert Stempler filed by Plaintiffs Darren Del Nero and
                              Nicole Shaker. Motion set for hearing on 8/16/2004 at 10:00 AM before Honorable Christina
                              A. Snyder. (shb, ) (Entered: 08/05/2004)
  08/02/2004                     JOINT MEMORANDUM by Plaintiffs Opposing Defendants MOTION for Summary
                                 Judgment or Summary Adjudication 15 AND MOTION for to STRIKE part of Declaration
                                 attached to Defendants Motion; Declaration of Plaintiffs Darren Del Nero and Nicole Shaker
                                 and Counsel Vania M Chaker and Robert Stempler filed by Plaintiffs Darren Del Nero and
                                 Nicole Shaker. Motion set for hearing on 8/16/2004 at 10:00 AM before Honorable Christina
                                 A. Snyder. (shb, ) (Entered: 08/05/2004)
  08/02/2004             111 JOINT MEMORANDUM by Plaintiffs Opposing Defendants MOTION for Summary
                             Judgment or Summary Adjudication AND MOTION to STRIKE part of Declaration attached
                             to Defendants Motion; Declaration of Plaintiffs Darren Del Nero and Nicole Shaker and
                             Counsel Vania M Chaker and Robert Stempler 15 filed by Plaintiffs Darren Del Nero, Nicole
                             Shaker. (shb, ) (Entered: 03/29/2005)
  08/05/2004               29 DECLARATION of Robert Stempler re In Chambers Conference, Regarding Order to Show
                              Cause for lack of prosecution and failure to appear at scheduling conference on August 2, 2004
                              26 filed by Plaintiff Nicole Shaker. (shb, ) (Entered: 08/06/2004)
  08/11/2004               30 MINUTES OF In Camera Hearing held before Judge Christina A. Snyder :, Order by Judge
                              Christina A. Snyder Taking motion off calendar MOTION of Vania Chaker to Withdraw as
                              Attorney 19 , MOTION for Summary Adjudication MOTION for Summary Judgment
                              MOTION for Summary Judgment 15 , This case will be transferred to the calendar of Judge
                              Schiavelli and motions Reset as to 19 MOTION of Vania Chaker to Withdraw as Attorney, 15
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       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                   Document
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                                                                 47-1
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                                                                                Central District   PageID.4963Page
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                                                                                                                   17747  of
                                                                                                                      of 445
                                                                   1196
                                 MOTION for Summary Adjudication MOTION for Summary Judgment MOTION for
                                 Summary Judgment. Motion set for hearing on 9/13/2004 at 10:00 AM before Honorable
                                 George P. Schiavelli. Court Reporter: Not Present. (shb, ) (Entered: 08/11/2004)
  08/11/2004               31 Notice of Withdrawal of MOTION for Summary Judgment 15 filed by Defendants MRC
                              Receivables Corp, Midland Credit Management Inc. (th) (Entered: 08/12/2004)
  08/16/2004               32 ORDER OF THE CHIEF JUDGE (# 04-26) approved by Acting Chief Judge Stephen V.
                              Wilson. Pursuant to the recommended procedure adopted by the Court for the creation of the
                              calendar of Judge George P. Schiavelli, this case is transfered from Judge Christina A. Snyder
                              to the calendar of Judge George P. Schiavelli for all further proceedings. The case number will
                              now reflect the initials of the transferee Judge CV 04-1040-GPS(SHx).(stsh, ) (Entered:
                              08/16/2004)
  08/20/2004               33 Substitution of Attorney filed. Substituting attorney Stephen H Turner of Carlson Messer and
                              Turner for Defendant Midland Credit Management Inc in place and stead of attorney Jack D
                              Hull of Goldsmith and Hull by Judge Christina A. Snyder. (mch, ) (Entered: 08/20/2004)
  08/20/2004               34 MINUTES OF In Chambers Conference held before Judge George P. Schiavelli: This action
                              has been reassigned to the Honorable George P Schiavelli, United States District Judge. The
                              magistrate judge assignment remains the same. Please substitute the initials GPS in place of the
                              initials CAS. The case number will now read: CV04-1040 GPS (SHx). As documents are
                              routed using the judge's initials, it is important to use the correct initials on all subsequent filings.
                              Judge Schiavelli's courtroom deputy clerk, Krista Barrett, can be reached at (213) 894-2719.
                              (see document for further details). The scheduling conference presently set for 8/30/04 remains
                              on calendar for that date at 11:00 am. The motion to withdraw is set for 9/13/04 at 1:30 pm.
                              The reference to the ADR Pilot Program is hereby withdrawn. Court Reporter: not present. (rl,
                              ) (Entered: 08/20/2004)
  08/20/2004                     Set/Reset Deadlines as to 19 MOTION of Vania Chaker to Withdraw as Attorney. Motion set
                                 for hearing on 9/13/2004 at 01:30 PM before Honorable George P. Schiavelli. Pursuant to
                                 minute order filed 8/20/04 (rl, ) (Entered: 08/20/2004)
  08/30/2004               35 MINUTES OF Scheduling Conference held before Judge George P. Schiavelli, Case is
                              scheduled as follows: Discovery cut-off 10/18/2004; Opening Expert Reports 11/15/2004;
                              Expert Rebuttal 11/30/2004; Last date to hear motions 12/20/2004; Jury Trial set for
                              1/17/2005 09:00 AM. Pretrial Conference set for 1/3/2005 11:30 AM; Settlement conference
                              shall take place not later than 9/30/2004. Counsel shall submit a joint post-settlemetn
                              conference report not later than 10/15/2004. Ms Chaker orally withdraws her motion to be
                              relieved as counsel of record. That motion, presently set for 9/13/04 is off calendar, and shall
                              be re-noticed if counsel wishes to proceed with it. Court Reporter: Not Present. (yc, ) (Entered:
                              08/31/2004)
  09/07/2004               36 MINUTES (In Chambers) held before Judge George P. Schiavelli : The court is in receipt of a
                              letter sent via certified mail from plaintiff. The Court rejects this correspondence which, under
                              Local Rule 83-2.11 is an improper ex parte communication with the Court. The
                              correspondence is to be returned to plaintiff with a copy to be sent to his counsel. (yl, )
                              (Entered: 09/09/2004)
  10/13/2004               37 STIPULATION to Extend Discovery Cut-Off Date to 11/8/2004 filed by plaintiff Darren Del
                              Nero. Lodged proposed order. (bp, ) (Entered: 10/18/2004)


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       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD               Document
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                                                           47-1
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                                                             - California          09/23/22PageID.2193
                                                                               01/23/17
                                                                          Central District   PageID.4964Page
                                                                                                          Page
                                                                                                             18748  of
                                                                                                                of 445
  10/15/2004                                                 1196
                           38 JOINT Report regarding mediation filed by Defendant Midland Credit Management Inc. (bp, )
                              (Entered: 10/20/2004)
  10/19/2004               39 NOTICE OF MOTION AND MOTION for leave to withdraw as counsel for plaintiff Nicole
                              Shaker filed by plaintiff Nicole Shaker. Motion set for hearing on 11/8/2004 at 01:30 PM
                              before Honorable George P. Schiavelli. (bp, ) (Entered: 10/20/2004)
  10/22/2004               40 ORDER Denying extension of time for discovery dates by Judge George P. Schiavelli (bp, )
                              (Entered: 10/25/2004)
  11/08/2004               41 MINUTES: Motion by plaintiff attorney to withdraw as counsel of record for plaintiff Nicole
                              Shaker. The court was informed by the parties that they are close to reaching a settlement.
                              Court reschedules this hearing to November 22, 2004 at 1:30 p.m. If the case is settled before
                              that date, the parties do not need to appear. If the case has not been settled by the next hearing
                              date, the matter of plaintiff's counsel's motion to withdraw will be heard at that time. Judge
                              George P. Schiavelli :, 39 Court Reporter: Nancy Smith-Wells. (bp, ) (Entered: 11/09/2004)
  11/16/2004               42 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                              letter, proof of service submitted by Plaintiff Darren Del Nero received on 11/12/04 is not to be
                              filed but instead rejected. Denial based on: no correspondence to judge in letter format.(bp, )
                              (Entered: 11/22/2004)
  11/17/2004                     PLACED IN FILE - NOT USED re proposed order granting motion to withdraw as counsel
                                 of record submitted by plaintiff Darren Del Nero. (bp, ) (Entered: 11/19/2004)
  11/22/2004               43 MINUTES held before Judge George P. Schiavelli : 39 MOTION of Robert Stempler to
                              Withdraw as Attorney. Motion continued 12/7/2004 at 10:00 AM before Honorable George P.
                              Schiavelli.Court Reporter: Gail Peeples. (yc, ) (Entered: 11/24/2004)
  11/24/2004               44 STIPULATION AND ORDER by Judge George P. Schiavelli that pursuant to a settlement
                              between the parties herein, Plaintiff Nicole Shaker agrees to dismiss all causes of action against
                              Defendants Midland Credit Management Inc and MRC Receivables Corp with prejudice. All
                              parties are bear their own attorneys fees and costs. (jp, ) (Entered: 11/29/2004)
  12/07/2004               45 MINUTES: The court signs the substitution of attorney lodged this date, substituting Darren Del
                              Nero as plaintiff in pro per. The court therefore deems moot Ms. Chaker's motion to withdraw
                              as counsel of record. Mr. Del Nero is ordered, not later than December 13, 2004, to file with
                              the court and serve upon opposing counsel his current telephone number. Judge George P.
                              Schiavelli :Court Reporter: Rosalyn Adams. (bp, ) (Entered: 12/09/2004)
  12/08/2004               46 Substitution of Attorney filed. Substituting Darren Del Nero, in pro per in place and stead of
                              attorney Vania M Chaker by Judge George P. Schiavelli. (bp, ) (Entered: 12/09/2004)
  12/09/2004                     PLACED IN FILE - NOT USED re substitution of atorney submitted by plaintiff Darren Del
                                 Nero. (bp, ) (Entered: 12/13/2004)
  12/10/2004               51 NOTICE regarding court's decision and order thereon filed by plaintiff Darren Del Nero. (bp, )
                              (Entered: 12/16/2004)
  12/12/2004                     PLACED IN FILE - NOT USED re substitution of attorney submitted by plaintiff Darren Del
                                 Nero. (bp, ) (Entered: 12/16/2004)
  12/13/2004               47 MEMORANDUM of CONTENTIONS of FACT and LAW filed by defendants Midland
                              Credit Management Inc, MRC Receivables Corp.. (bp, ) (Entered: 12/15/2004)

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                                                                          741
       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                  Document
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                                                                - California          09/23/22PageID.2194
                                                                                  01/23/17
                                                                             Central District   PageID.4965Page
                                                                                                             Page
                                                                                                                19749  of
                                                                                                                   of 445
  12/13/2004                                                    1196
                           48 Witness List filed by defendants' Midland Credit Management Inc, MRC Receivables Corp..
                              (bp, ) (Entered: 12/15/2004)
  12/13/2004               49 Exhibit List filed by defendants Midland Credit Management Inc, MRC Receivables Corp..
                              (bp, ) (Entered: 12/15/2004)
  12/13/2004               50 DECLARATION of Larissa G. Nefulda regarding plaintiff's failure to meet and confer filed by
                              Defendants Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                              12/15/2004)
  12/14/2004               52 NOTICE OF DOCUMENT DISCREPANCIES AND ORDER by Judge George P.
                              Schiavelli ORDERING notice regarding court's decision and order thereon submitted by
                              Plaintiff Darren Del Nero received on 12/10/04 to be filed and processed; filed date to be the
                              date the document was stamped Received but not Filed with the Clerk.(bp, ) (Entered:
                              12/16/2004)
  12/16/2004               53 DECLARATION of LARISSA G. NEFULDA Regarding plaintiff failure to meet and confer
                              pursuant to Local Rule 16-2 filed by Defendants Midland Credit Management Inc, MRC
                              Receivables Corp. (jp, ) (Entered: 12/17/2004)
  12/21/2004               55 Plaintiff's 26(A)(3) Pretrial DISCLOSURES filed by Plaintiff Darren Del Nero (shb, ) (Entered:
                              12/27/2004)
  12/22/2004               54 Substitution of Attorney filed. Substituting attorney Joshua B Swigart for plaintiff Darren Del
                              Nero in place and stead of Darren Del Nero as pro per by Judge George P. Schiavelli. (jp, )
                              (Entered: 12/22/2004)
  12/22/2004               57 MEMORANDUM of CONTENTIONS of FACT and LAW filed by Plaintiff Darren Del
                              Nero. (mch, ) (Entered: 12/29/2004)
  12/28/2004               56 MINUTES OF IN CHAMBERS ORDER by Judge George P. Schiavelli :, Set
                              Deadlines/Hearings: Jury Trial set for 1/18/2005 08:30 AM before Honorable George P.
                              Schiavelli.Court Reporter: Not Present. (shb, ) (Entered: 12/29/2004)
  12/28/2004               58 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                              substitution of attorney submitted by Plaintiff Darren Del Nero received on 12/23/04 is not to
                              be filed but instead rejected. Denial based on: lacking signature of party.(bp, ) (Entered:
                              01/05/2005)
  01/03/2005               59 MINUTES: Pretrial Conference. Counsel are ordered to file their pretrial documents five days
                              before trial, including motions in limine. Trial is set for 1/18/05 as a 3-4 day trial. Judge George
                              P. Schiavelli :Court Reporter: Rosalyn Adams. (bp, ) (Entered: 01/07/2005)
  01/10/2005               80 FINAL PRETRIAL CONFERENCE ORDER by Judge George P. Schiavelli,(ca, ) (Entered:
                              01/21/2005)
  01/13/2005               60 PROPOSED JURY INSTRUCTIONS filed by Defendants Midland Credit Management Inc,
                              MRC Receivables Corp.. (shb, ) (Entered: 01/14/2005)
  01/13/2005               61 Defendants Midland Credit Management, Inc and MRC Receivables Corporation's REQUEST
                              for VOIR DIRE QUESTIONS filed by Defendants Midland Credit Management Inc, MRC
                              Receivables Corp. (shb, ) (Entered: 01/14/2005)
  01/13/2005               62 PROPOSED JURY INSTRUCTIONS filed by Plaintiff Darren Del Nero.(shb, ) (Entered:
                              01/14/2005)
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                                                                          742
       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                Document
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                                                                - California          09/23/22PageID.2195
                                                                                  01/23/17
                                                                             Central District   PageID.4966PagePage 20750  of
                                                                                                                       of 445
                                                                1196
  01/13/2005               63 Defendants Midland Credit Management Inc and MRC Receivables Corporation's NOTICE
                              OF MOTION AND MOTION IN LIMINE to Preclude Reference to and exclusing evidence
                              of Nicole Shaker as a plaintiff and/or party in this lawsuit filed by Defendants Midland Credit
                              Management Inc, MRC Receivables Corp.(shb, ) (Entered: 01/14/2005)
  01/13/2005               64 Defendants Midland Credit Management Inc and MRC Receivables Corporation's NOTICE
                              OF MOTION AND MOTION IN LIMINE to Preclude Reference to Settlement between
                              Defendants and Nicole Shaker filed by Defendants Midland Credit Management Inc, MRC
                              Receivables Corp.(shb, ) (Entered: 01/14/2005)
  01/13/2005               65 Defendants Midland Credit Management, Inc and MRC Receivables Corporation's NOTICE
                              OF MOTION AND MOTION IN LIMINE to Preclude Damages in Excess of $1,000 per
                              action, not violation filed by Defendants Midland Credit Management Inc, MRC Receivables
                              Corp.(shb, ) (Entered: 01/14/2005)
  01/14/2005               66 Amended Witness List filed by defendants' Midland Credit Management Inc, MRC
                              Receivables Corp.. (bp, ) (Entered: 01/18/2005)
  01/14/2005               67 Amended Exhibit List filed by defendants Midland Credit Management Inc, MRC Receivables
                              Corp.. (bp, ) (Entered: 01/18/2005)
  01/14/2005               68 JOINT JURY INSTRUCTIONS filed by defendants' Midland Credit Management Inc, MRC
                              Receivables Corp.. (bp, ) (Entered: 01/18/2005)
  01/14/2005               69 PROPOSED JURY INSTRUCTIONS filed by plaintiff Darren Del Nero.. (bp, ) (Entered:
                              01/19/2005)
  01/14/2005               70 NOTICE OF MOTION AND MOTION IN LIMINE 1 to Exclude impermissible character
                              evidence of plaintiff at trial filed by plaintiff Darren Del Nero.(bp, ) (Entered: 01/19/2005)
  01/14/2005               71 NOTICE OF MOTION AND MOTION IN LIMINE 2 to Exclude impermissible character
                              evidencr of plaintiff at trial filed by plaintiff Darren Del Nero.(bp, ) (Entered: 01/19/2005)
  01/14/2005               72 VERDICT SHEET filed by plaintiff Darren Del Nero. (bp, ) (Entered: 01/19/2005)
  01/14/2005               73 TRIAL BRIEF filed by plaintiff Darren Del Nero.. (bp, ) (Entered: 01/19/2005)
  01/14/2005               74 REQUEST FOR JURY QUESTIONNAIRE filed by plaintiff Darren Del Nero.. (bp, )
                              (Entered: 01/19/2005)
  01/14/2005               75 REQUEST FOR VOIR DIRE QUESTIONS filed by plaintiff Darren Del Nero.. (bp, )
                              (Entered: 01/19/2005)
  01/18/2005               76 OPPOSITION to MOTION IN LIMINE to Preclude Reference to and exclusing evidence of
                              Nicole Shaker as a plaintiff and/or party in this lawsuit 63 filed by defendants' Midland Credit
                              Management Inc, MRC Receivables Corp. (bp, ) (Entered: 01/20/2005)
  01/18/2005               77 OPPOSITION to plaintiff Darren Del Nero's motion in limine to preclude reference to the
                              availability of attorneys fees filed by defendants' Midland Credit Management Inc, MRC
                              Receivables Corp. (bp, ) (Entered: 01/20/2005)
  01/18/2005               78 NOTICE of request for disclosure of information obtained by plaintiffs' counsel's improper
                              contact with defendants filed by defendants Midland Credit Management Inc, MRC
                              Receivables Corp. (bp, ) (Entered: 01/20/2005)

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       Case3:16-cv-02186-WQH-MDD
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1/9/2017    3:16-cv-02186-WQH-MDD                Document
                                                Document      127-1
                                                             47-1
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                                                               - California          09/23/22PageID.2196
                                                                                 01/23/17
                                                                            Central District   PageID.4967Page
                                                                                                            Page 21751  of
                                                                                                                    of 445
  01/18/2005                                                   1196
                           79 MINUTES: Jury Trial. Matter not called on calendar. The jury trial is hereby continued to
                              3/5/05 at 8:30 a.m. Court Reporter: Not present. (bp, ) (Entered: 01/21/2005)
  01/18/2005               81 MINUTES: Jury Trial. Matter not called on calendar. The jury trial is hereby continued to
                              3/15/05 at 8:30 a.m. Judge George P. Schiavelli.Court Reporter: Not present. (bp, ) (Entered:
                              01/26/2005)
  02/02/2005               82 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                              jointly submitted jury instructions submitted by Plaintiff Darren Del Nero received on 1/15/05 is
                              not to be filed but instead rejected. Denial based on: document lacking signature of plaintiff.(bp,
                              ) (Entered: 02/03/2005)
  02/03/2005               83 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                              plaintiffs amended witness list submitted by Plaintiff Darren Del Nero received on 1/25/05 is not
                              to be filed but instead rejected. Denial based on: no proof of service attached to document.(bp,
                              ) (Entered: 02/10/2005)
  02/03/2005               84 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                              plaintiffs amended exhibit list submitted by Plaintiff Darren Del Nero received on 2/3/05 is not
                              to be filed but instead rejected. Denial based on: no proof of service atached to document.(bp,
                              ) (Entered: 02/10/2005)
  02/03/2005               85 Amended Exhibit List filed by plaintiff Darren Del Nero.. (bp, ) (Entered: 02/28/2005)
  02/24/2005             203 AMENDED DOCUMENT filed by Defendants Midland Credit Management Inc, MRC
                             Receivables Corp. Amendment to Witness List 48 (bp, ) (Entered: 03/16/2007)
  02/25/2005               86 Amended Witness List filed by plaintiff Darren Del Nero.. (bp, ) (Entered: 02/28/2005)
  03/08/2005                     PLACED IN FILE - NOT USED re proposed judgment submitted by defendant Midland
                                 Credit Management Inc. (bp, ) (Entered: 03/10/2005)
  03/08/2005                     PLACED IN FILE - NOT USED re separate statement of uncontroverted material facts and
                                 conclusions of law submitted by defendants' Midland Credit Management Inc. (bp, ) (Entered:
                                 03/10/2005)
  03/14/2005               87 NOTICE OF MOTION AND MOTION IN LIMINE to Preclude all evidence obtained as
                              the result of plaintiff's improper ex parte application communications filed by defendants'
                              Midland Credit Management Inc, MRC Receivables Corp.(bp, ) (Entered: 03/15/2005)
  03/14/2005               88 SUPPLEMENTAL OPPOSITION to plaintiff Daren Del Nero's motion in limine to exclude
                              evidence of and preclude reference to lawsuits involving plaintiff filed by defendants Midland
                              Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 03/15/2005)
  03/14/2005               89 REQUEST FOR JUDICIAL NOTICE filed by defendants' Midland Credit Management Inc,
                              MRC Receivables Corp. (bp, ) (Entered: 03/15/2005)
  03/15/2005               90 OPPOSITION to defendants' request for dislcosure of information filed by Plaintiff Darren Del
                              Nero. (bp, ) (Entered: 03/16/2005)
  03/15/2005               92 MINUTES: Jury Trial - 1st Day. Opening statements made by plaintiff and defendant.
                              Witnesses called, sworn and testified. Exhibits identified, exhibits admitted. Case continued to
                              3/16/05 at 9:00 a.m. for further trial. Report to court regarding emails sent by plaintiff Darren
                              Del Nero, filed 3/15/05, order filed under seal. Judge George P. Schiavelli.Court Reporter:
                              Rosalyn Adams. (bp, ) (Entered: 03/18/2005)
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       Case3:16-cv-02186-WQH-MDD
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1/9/2017    3:16-cv-02186-WQH-MDD                   Document
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                                                                                    01/23/17
                                                                               Central District   PageID.4968Page
                                                                                                               Page
                                                                                                                  22752  of
                                                                                                                     of 445
                                                                  1196
  03/16/2005               91 MINUTES: Order to Show Cause re Contempt. Court issues OSC re contempt to Ms. Vania
                              Chaker in regard to her attempt to aid in the witnesses in answering counsel's questions. Ms.
                              Chaker's response is due 3/18/05. Ms. Chaker is ORDERED to appear at 9:00 a.m. on March
                              22, 2005. It is also ORDERED that Ms. Chaker may not be present in court for the remainder
                              of this trial. Judge George P. Schiavelli.Court Reporter: Rosalyn Adams. (bp, ) (Entered:
                              03/17/2005)
  03/16/2005               94 MINUTES: Jury Trial - 2nd Day. Witnesses called, sworn and testified. Exhibits identified. Mr.
                              Turner resumes cross examination of Nicole Shaker. Court issues OSC re contempt to Ms.
                              Vania Chaker in regard to her attempt to aid the witness in answering questions of counsel.
                              Response due 3/18/05. Ms. Chaker Ordered to appear at 9:00 a.m. on 3/22/05. It is also
                              Ordered that Ms. Chaker may not be present in court for the remainder of this trial. Judge
                              George P. Schiavelli.Court Reporter: Rosalyn Adams. (bp, ) (Entered: 03/18/2005)
  03/16/2005               95 JOINTLY SUBMITTED JURY INSTRUCTIONS filed by defendants' Midland Credit
                              Management Inc, MRC Receivables Corp.. (bp, ) (Entered: 03/18/2005)
  03/16/2005               96 PROPOSED JURY INSTRUCTIONS filed by defendants' Midland Credit Management Inc,
                              MRC Receivables Corp.. (bp, ) (Entered: 03/18/2005)
  03/16/2005               97 PROPOSED JURY INSTRUCTIONS filed by plaintiff Darren Del Nero.. (bp, ) (Entered:
                              03/18/2005)
  03/17/2005               98 MEMORANDUM of Points and Authorities in Support of plaintiff's proposed jury instructions
                              filed by plaintiff Darren Del Nero. 97 (bp, ) (Entered: 03/22/2005)
  03/17/2005               99 NOTICE of arguments in support of jury instructions filed by defendants' Midland Credit
                              Management Inc, MRC Receivables Corp. (bp, ) (Entered: 03/22/2005)
  03/17/2005             101 MINUTES: Jury Trial - 3rd Day. Case continued to 3/22/05 at 9:00 a.m. for further trial. Judge
                             George P. Schiavelli Court Reporter: Rosalyn Adams. (bp, ) (Entered: 03/23/2005)
  03/18/2005                     PLACED IN FILE - NOT USED re motion to withdrawa as counsel of record submitted by
                                 plaintiff Darren Del Nero. (bp, ) (Entered: 03/28/2005)
  03/18/2005                     PLACED IN FILE - NOT USED re proof of service submitted by plaintiff Darren Del Nero.
                                 (bp, ) (Entered: 03/28/2005)
  03/22/2005             100 MINUTES: Vania Chaker present and addresses court. A response was delivered to the court,
                             but not filed. The court orders Ms. Chaker to file a response not later than 3/25/05. A further
                             hearing is set for 4/12/05 at 9:00 a.m. Judge George P. Schiavelli.Court Reporter: Rosalyn
                             Adams. (bp, ) (Entered: 03/23/2005)
  03/22/2005             102 RECEIPT OF REPORTERS TRANSCRIPT of proceedings for the following dates: 03/16/05
                             Court Reporter: Rosalyn Adams. (cbr, ) (Entered: 03/23/2005)
  03/22/2005             103 TRANSCRIPT filed for proceedings held on 03/16/05. Court Reporter: Rosalyn Adams. (cbr,
                             ) (Entered: 03/23/2005)
  03/22/2005             112 MINUTES: Jury Trial - 4th Day. Witnesses called, sworn and testified. Exhibits identified and
                             admitted. Plaintiff rests. Case continued to 3/23/05 at 9:00 a.m. Upom motion fo counsel and
                             with the agreement of plaintiff and defendant, court dismisses jury and agrees to proceed with
                             bench trial, due to plaintiff's disregard of court's rulings regarding motion in limine. Nicole


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       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                   Document
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                                                                  - California          09/23/22PageID.2198
                                                                                    01/23/17
                                                                               Central District   PageID.4969Page
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                                                                                                                  23753  of
                                                                                                                     of 445
                                                                  1196
                                 Chaker is ordered to return 9 am on 3/23/05 held before Judge George P. Schiavelli .Court
                                 Reporter: Rosalyn Adams. (bp, ) (Entered: 03/31/2005)
  03/23/2005             104 NOTICE OF MOTION AND MOTION for Judgment on partial findings as to plaintiff's cause
                             of action for violation of California business and professions code section 17200 filed by
                             defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                             03/24/2005)
  03/23/2005             105 NOTICE OF MOTION AND MOTION for Judgment on partial findings as to MRC
                             receivables corporation filed by defendant Midland Credit Management Inc, MRC Receivables
                             Corp. (bp, ) (Entered: 03/24/2005)
  03/23/2005             106 NOTICE OF MOTION AND MOTION for Judgment on partial findings as to plaintiff's cause
                             of action for violation of 15 USC 1692e(5) filed by defendants' Midland Credit Management
                             Inc, MRC Receivables Corp. (bp, ) (Entered: 03/24/2005)
  03/23/2005             107 NOTICE OF MOTION AND MOTION for Judgment on partial findings as to plaintiff's cause
                             of action for violation of 15 USC 1692e(8) filed by defendants' Midland Credit Management
                             Inc, MRC Receivables Corp. (bp, ) (Entered: 03/24/2005)
  03/23/2005             108 MEMORANDUM of Points and Authorities in Support of plaintiff's claims for violations of the
                             Fair Debt Collection Practices Act filed by plaintiff Darren Del Nero. (bp, ) (Entered:
                             03/25/2005)
  03/23/2005             113 MINUTES: Jury Trial - 5th Day. Witnesses called, sworn and testified. Exhibits identified and
                             admitted. Case continued to 3/24/05 at 9:00 a.m. for further trial. Judge George P. Schiavelli
                             .Court Reporter: Rosalyn Adams. (bp, ) (Entered: 03/31/2005)
  03/24/2005             109 MINUTES: Court Trial (6th Day). Witnesses called, sworn and testified. Exhibits identified.
                             Exhibits admitted. Plaintiff rest, defendant rest. Case submitted. Briefs to be filed by both sides
                             by 4/8/05 not to exceed 30 pages; response due 4/15/05 not to exceed 15 pages. All pleadings
                             to be filed and faxed served. Judge George P. Schiavelli :Court Reporter: Rosalyn Adams. (bp,
                             ) (Entered: 03/25/2005)
  03/24/2005             204 JOINT Exhibit List. (bp, ) (Entered: 03/16/2007)
  03/29/2005             110 NOTICE OF CLERICAL ERROR: Due to clerical error Re: JOINT MEMORANDUM by
                             Plaintiffs Opposing Defendants MOTION for Summary Judgment or Summary Adjudication
                             AND MOTION for to STRIKE part of Declaration attached to Defendants Motion;
                             Declaration of Plaintiffs Darren Del Nero and Nicole Shaker and Counsel Vania M Chaker and
                             Robert Stempler filed by Plaintiffs Darren Del Nero and Nicole Shaker 28 THIS
                             DOCUMENT WAS DOCKETED USING AN INCORRECT DOCKET EVENT. IT HAS
                             BEEN RE-DOCKETED AND THIS MOTION HAS BEEN MOOTED. (shb, ) (Entered:
                             03/29/2005)
  04/12/2005             114 STIPULATION AND ORDER continuing the 4/8/05 deadline to file and serve closing
                             statements to 4/13/05 and the 4/15/05 deadline to file and serve rebuttal statements to 4/20/05
                             by Judge George P. Schiavelli :(bp, ) (Entered: 04/13/2005)
  04/13/2005             116 NOTICE: Closing argument filed by defendants' Midland Credit Management Inc. (bp, )
                             (Entered: 04/15/2005)
  04/13/2005             117 NOTICE of plaintiff's closing argument filed by plaintiff Darren Del Nero. (bp, ) (Entered:
                             04/18/2005)
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                                                                          746
       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                Document
                                                Document      127-1
                                                             47-1
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                                                               - California          09/23/22PageID.2199
                                                                                 01/23/17
                                                                            Central District   PageID.4970Page
                                                                                                            Page24754  of
                                                                                                                   of 445
                                                               1196
  04/14/2005             115 MINUTES: The hearing on the order to show cause is continued to 4/26/05 at 9:00 a.m. Ms.
                             Chaker is Ordered to be present at that time. Ms. Chaker is ordered to file her response not
                             later than 4/22/05. The court declines to file any documents under seal. Judge George P.
                             Schiavelli.Court Reporter: Not present. (bp, ) (Entered: 04/15/2005)
  04/19/2005             118 STATEMENT in reply to plaintiff's closing argument filed by Defendant Midland Credit
                             Management Inc (bp, ) (Entered: 04/20/2005)
  04/19/2005             119 NOTICE of Rebuttal Argument filed by plaintiff Darren Del Nero. (bp, ) (Entered: 04/21/2005)
  04/26/2005             120 MINUTES: Ms. Chaker was specifically told when she called chambers on 4/22/05, that the
                             court would not accept a late filing of her response. Therefore, an order to show cause re failure
                             to respond timely is hereby issued. The matter is set for hearing, along with the order to show
                             cause re contempt, on 5/10/05 at 9:00 a.m. Ms. Chaker is ordered to be present at that time.
                             Ms. Chaker is ordered to file her response to the OSC re failure to respond not later than
                             5/4/05. Judge George P. Schiavelli.Court Reporter: Not present. (bp, ) (Entered: 04/28/2005)
  04/26/2005             121 RESPONSE of Vania M. Chaker filed by Plaintiff Darren Del Nero to order to show cause
                             115 (bp, ) (Entered: 04/28/2005)
  04/26/2005             122 NOTICE OF DOCUMENT DISCREPANCIES AND ORDER by Judge George P.
                             Schiavelli ORDERING response to order to show cause submitted by Vania Shaker received
                             on 4/25/05 to be filed and processed; filed date to be the date the document was stamped
                             Received but not Filed with the Clerk.(bp, ) (Entered: 04/28/2005)
  05/04/2005             123 RESPONSE filed by Plaintiff Darren Del Nero to Order to Show Cause 122 (bp, ) (Entered:
                             05/06/2005)
  05/04/2005             124 RECEIPT OF REPORTERS TRANSCRIPT of proceedings for the following dates: 3/22/05
                             Court Reporter: Rosalyn Adams. (nm, ) (Entered: 05/06/2005)
  05/04/2005             125 TRANSCRIPT filed for proceedings held on 3/22/05. Court Reporter: Rosalyn Adams. (nm, )
                             (Entered: 05/06/2005)
  05/10/2005             127 MINUTES: Order To Show Cause re Failure to Respond Timely. At the request of Ms.
                             Chaker the court permits the substitution of John Leo Wagner as Ms. Chaker's attorney of
                             record. Mr. Wagner shall file a notice of substitution not later than 5/17/05. Court hears
                             argument. Court orders that certain portions of document 123 be excised and the excised
                             version of said document be substituted in the public file. Ms. Chaker is ordered to pay
                             sanctions for failure to timely respond to the U.S. District Court in the amount of $200.00 Said
                             amount is due within ten days. Judge George P. Schiavelli :Court Reporter: Rosalyn Adams.
                             (bp, ) (Entered: 05/12/2005)
  05/16/2005             128 NOTICE that John Leo Wagner, of the Wagner Law Firm, P.C., has been substituted as
                             counsel of record for Vania Chaker, a non-party who has heretofore been proceeding pro se.
                             Filed by movant Vania Chaker. (bp, ) (Entered: 05/19/2005)
  05/16/2005             130 NOTICE OF MOTION AND MOTION for sealing certain records filed by plaintiff Darren
                             Del Nero. Motion set for hearing on 6/20/2005 at 01:30 PM before Honorable George P.
                             Schiavelli. Lodged lodged proposed order. (bp, ) (Entered: 05/19/2005)
  05/16/2005             131 MEMORANDUM of Points and Authorities in Support of MOTION to Seal 130 filed by
                             plaintiff Darren Del Nero. (bp, ) (Entered: 05/19/2005)

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       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD              Document
                                              Document    127-1
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                                                    CM/ECF              Filed
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                                                           - California          09/23/22PageID.2200
                                                                             01/23/17
                                                                        Central District   PageID.4971Page
                                                                                                        Page
                                                                                                           25755  of
                                                                                                              of 445
  05/17/2005                                               1196
                         129 NOTICE of excised document pursuant to court order filed by movant Vania Chaker. (bp, )
                             (Entered: 05/19/2005)
  05/26/2005                     PLACED IN FILE - NOT USED re notice of motion for sealing certain records submitted by
                                 plaintiff Darren Del Nero. (bp, ) (Entered: 05/27/2005)
  05/26/2005                     PLACED IN FILE - NOT USED re notice of motion for sealing certain records submitted by
                                 plaintiff Darren Del Nero. (bp, ) (Entered: 05/27/2005)
  05/26/2005                     FINANCIAL ENTRY Re: Received $200.00 payment for sanctions from Vanie Chaker
                                 (Plaintiffs attorney) per minute order dtd 5/10/05 (yl, ) (Entered: 07/05/2005)
  06/15/2005             132 MINUTES: The court, on its own motion, hereby advises counsel that the above-referenced
                             motion set for hearing on 6/20/05 at 1:30 p.m. is UNDER SUBMISSION as of that date and
                             taken off the motion calendar. Furthermore, no appearance by counsel is necessary unless
                             ordered and the court will issue a ruling after full consideration of the submitted pleadings by
                             Judge George P. Schiavelli : Court Reporter: not present. (bp, ) (Entered: 06/15/2005)
  07/06/2005             133 MINUTES OF IN CHAMBERS ORDER by Judge George P. Schiavelli : On 6/15/2005, the
                             Court took Plaintiff's Motion for Sealing Certain Records under submission. Plaintiff has moved
                             to seal certain records that were introduced into evidence during trial (see document for details).
                             Accordingly, the court finds that it is unecessary to seal the documents. The Court also finds the
                             Motion defiecient because plaintiff has failed to identify the records which he wishes to seal with
                             any specificity and has failed to proved sealed copies of any documents that he proposes to
                             seal. Accordingly, the motion is DENIED. (yl, ) (Entered: 07/06/2005)
  07/11/2005                     PLACED IN FILE - NOT USED re proposed order submitted by plaintiff Darren Del Nero.
                                 (bp, ) (Entered: 07/14/2005)
  08/26/2005             134 NOTICE of joint request for decision pursuant to L.R. 83-9.2 filed by plaintiff Darren Del
                             Nero. (bp, ) (Entered: 08/31/2005)
  02/22/2006             135 MINUTES: After a court trial and closing and rebuttal arguments submitted in writing, this
                             matter was submitted to the court for decision. The court hereby rules in favor of defendants on
                             all claims, and orders defendants to file proposed findings of fact and conclusions of law not
                             later than 3/27/06. Said findings and conclusions shall be also submitted on a disk in
                             WordPerfect. Judge George P. Schiavelli : Court Reporter: Not present. (bp, ) (Entered:
                             02/22/2006)
  03/24/2006             136 STIPULATION for Extension of Time the time period within which defendant may complete
                             the finding of fact and law filed by defendants' Midland Credit Management Inc, MRC
                             Receivables Corp. Lodged proposed order. (bp, ) (Entered: 03/27/2006)
  03/29/2006             137 ORDER: Based upon the facts, and good cause having been shown, the court hereby grans the
                             stipulation to extend the time period from 3/27/06 to 4/4/06 within which defendant Midland
                             Credit Management, Inc., may complete the findings of fact and law by Judge George P.
                             Schiavelli,(bp, ) (Entered: 03/30/2006)
  04/07/2006             138 MEMORANDUM of Law in opposition to defendant's proposed findings of fact and
                             conclusions of law filed by plaintiff Darren Del Nero. (bp, ) (Entered: 04/17/2006)
  04/27/2006             139 REPLY to plaintiff's memorandum of law in opposition to defendants proposed findings of fact
                             and conclusions of law filed by Defendants Midland Credit Management Inc, MRC
                             Receivables Corp (bp, ) (Entered: 04/28/2006)
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                                                                          748
       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                  Document
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                                                               47-1
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                                                                 - California          09/23/22PageID.2201
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                                                                              Central District   PageID.4972Page
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                                                                                                                 26756  of
                                                                                                                    of 445
                                                                 1196
  06/20/2006             140 EX PARTE APPLICATION for sanctions against plaintiff Darren Del Nero for bad faith
                             conduct by sending emails threatening physical harm upon defendants, their counsel and their
                             counsel's families filed by defendants' Midland Credit Management Inc, MRC Receivables
                             Corp. (bp, ) (Entered: 06/21/2006)
  06/21/2006             141 OPPOSITION to EX PARTE APPLICATION for Order for for sanctions against plaintiff
                             Darren Del Nero for bad faith conduct by sending emails threatening physical harm upon
                             defendants, their counsel and their counsel's families 140 filed by plaintiff Darren Del Nero. (bp,
                             ) (Entered: 06/28/2006)
  06/26/2006             142 REPLY to plaintiff's opposition to EX PARTE APPLICATION for Order for for sanctions
                             against plaintiff Darren Del Nero for bad faith conduct by sending emails threatening physical
                             harm upon defendants, their counsel and their counsel's families 140 filed by defendants'
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 06/30/2006)
  07/07/2006             143 MINUTES: The court has considered defendants' ex parte application, and all papers filed in
                             support of and in opposition thereto. The application is DENIED WITHOUT PREJUDICE.
                             Judge George P. Schiavelli :Court Reporter: Not present. (bp, ) (Entered: 07/10/2006)
  07/11/2006             144 FINDINGS OF FACT AND CONCLUSIONS OF LAW signed by George P. Schiavelli.(bp,
                             ) (Entered: 07/12/2006)
  07/11/2006             145 JUDGMENT: IT IS HEREBY ORDERED, ADJUDGED AND DECREED that plaintiff shall
                             take nothing and judgment is hereby entered for defendants on all claims for relief by Judge
                             George P. Schiavelli, (MD JS-6, Case Terminated).(bp, ) (Entered: 07/12/2006)
  07/21/2006             146 EX PARTE APPLICATION for Order for an order continuing the 7/26/06 deadline for
                             defendants to file a notice of application to the clerk to tax costs, bill of costs, and a motion for
                             attorney's fees filed by defendants' Midland Credit Management Inc, MRC Receivables Corp.
                             Lodged proposed order. (bp, ) (Entered: 07/25/2006)
  07/24/2006             147 MEMORANDUM of Law in in Opposition to EX PARTE APPLICATION for Order for an
                             order continuing the 7/26/06 deadline for defendants to file a notice of application to the clerk
                             to tax costs, bill of costs, and a motion for attorney's fees 146 filed by plaintiff Darren Del
                             Nero. (bp, ) (Entered: 07/25/2006)
  07/24/2006             154 REPLY to plaintiff Darren Del Nero's opposition to EX PARTE APPLICATION for Order for
                             an order continuing the 7/26/06 deadline for defendants to file a notice of application to the
                             clerk to tax costs, bill of costs, and a motion for attorney's fees 146 filed by defendants'
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 08/03/2006)
  07/25/2006             148 STIPULATION AND ORDER agreeing to continue the 7/21/06 deadline for defendant's
                             Midland Credit Management, Inc. and MRC Recievables Corporation to file a notice of
                             application to the clerk to tax costs, bill of costs and a motion for attorney's fees against plaintiff,
                             for twenty (20) days, or 8/10/06 by Judge George P. Schiavelli :(bp, ) (Entered: 07/25/2006)
  07/26/2006             149 APPLICATION to Tax Costs Darren Del Nero filed by defendants' Midland Credit
                             Management Inc, MRC Receivables Corp. Application set for hearing on 8/10/2006 at 10:00
                             AM before Clerk of Court. Lodged proposed bill of costs. (bp, ) (Entered: 07/27/2006)
  07/26/2006             150 NOTICE OF MOTION AND MOTION for Attorney Fees and related non-taxable costs
                             filed by defendants' Midland Credit Management Inc, MRC Receivables Corp. Motion set for


https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?958057645811405-L_1_0-1                                                           17/27
                                                                          749
       Case3:16-cv-02186-WQH-MDD
     Case
1/9/2017    3:16-cv-02186-WQH-MDD                   Document
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                                                                  - California          09/23/22PageID.2202
                                                                                    01/23/17
                                                                               Central District   PageID.4973Page
                                                                                                               Page
                                                                                                                  27757  of
                                                                                                                     of 445
                                                                  1196
                                 hearing on 8/21/2006 at 01:30 PM before Judge George P. Schiavelli. (bp, ) (Entered:
                                 07/27/2006)
  07/26/2006             151 DECLARATION of Stephen H. Turner in support of MOTION for Attorney Fees 150 filed by
                             defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                             07/27/2006)
  07/26/2006             152 REQUEST FOR JUDICAL NOTICE IN SUPPORT OF MOTION for Attorney Fees 150
                             filed by defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                             07/27/2006)
  07/27/2006             153 MINUTES: Ex parte application. The court has considered defendants' ex parte application,
                             and all papers filed in support of and in opposition thereto. The court has serious concerns
                             about the manner in which the stipulation previously signed by the court may have been handled.
                             For this reason, and for good cause shown, the order on that stipulation is hereby VACATED,
                             and the ex parte application is GRANTED. The deadline for defendants to file a notice of
                             application to the clerk to tax costs, a bill of costs, and motion for attorney's fees is extended to
                             8/10/06. Judge George P. Schiavelli :Court Reporter: Not present. (bp, ) (Entered:
                             07/28/2006)
  08/07/2006             156 OPPOSITION to MOTION for Attorney Fees 150 filed by plaintiff Darren Del Nero. (bp, )
                             (Entered: 08/11/2006)
  08/08/2006             155 Notice of Withdrawal of MOTION for Attorney Fees 150 filed by defendants' Midland Credit
                             Management Inc. (bp, ) (Entered: 08/10/2006)
  08/10/2006             157 NOTICE OF MOTION AND MOTION for Attorney Fees, MOTION for Costs filed by
                             defendants' Midland Credit Management Inc, MRC Receivables Corp. Motion set for hearing
                             on 9/18/2006 at 01:30 PM before Judge George P. Schiavelli. (bp, ) (Entered: 08/11/2006)
  08/10/2006             158 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION for Attorney Fees
                             MOTION for Costs 157 filed by defendants' Midland Credit Management Inc, MRC
                             Receivables Corp. (bp, ) (Entered: 08/11/2006)
  08/10/2006             159 DECLARATION of Keith Wier, esq. in support of defendants' motion for attorneys' fees and
                             related non-taxable costs 157 filed by defendants' Midland Credit Management Inc, MRC
                             Receivables Corp. (bp, ) (Entered: 08/11/2006)
  08/10/2006             160 DECLARATION of Stephen H. Turner in support of MOTION for Attorney Fees MOTION
                             for Costs 157 filed by defendants' Midland Credit Management Inc, MRC Receivables Corp.
                             (bp, ) (Entered: 08/11/2006)
  09/01/2006             161 MEMORANDUM of points and authorities in Opposition to MOTION for Attorney Fees
                             MOTION for Costs 157 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 09/05/2006)
  09/05/2006             162 MEMORANDUM of Points and Authorities in Opposition to MOTION for Attorney Fees
                             150 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 09/06/2006)
  09/11/2006             163 REPLY to defendants' MOTION for Attorney Fees MOTION for Costs 157 filed by
                             defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                             09/13/2006)
  09/11/2006             164 EVIDENTIARY OBJECTIONS to declaration of Joshua B. Swigart filed by Defendants
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 09/14/2006)

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     Case
1/9/2017    3:16-cv-02186-WQH-MDD             Document
                                             Document    127-1
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                                                   CM/ECF              Filed
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                                                          - California          09/23/22PageID.2203
                                                                            01/23/17
                                                                       Central District   PageID.4974Page
                                                                                                       Page
                                                                                                          28758  of
                                                                                                             of 445
  09/11/2006                                              1196
                         165 OBJECTIONS to the declaration of David J. McGlothin filed by Defendants Midland Credit
                             Management Inc, MRC Receivables Corp. (bp, ) (Entered: 09/14/2006)
  09/11/2006             166 DECLARATION of Stephen H. Turner filed in support of plaintiff's MOTION for Attorney
                             Fees MOTION for Costs 157 filed by defendants' Midland Credit Management Inc, MRC
                             Receivables Corp. (bp, ) (Entered: 09/14/2006)
  09/12/2006             171 NOTICE OF DISCREPANCY AND ORDER: by Judge George P. Schiavelli, ORDERING
                             request for approval of substitution of attorney submitted by Defendant Midland Credit
                             Management Inc received on 9/11/06 is not to be filed but instead rejected. Denial based on:
                             no order of substitution.(bp, ) (Entered: 09/18/2006)
  09/13/2006             167 REQUEST to Substitute attorney John R. Feliton in place of attorney Carlson Messer and
                             Turner filed by defendant Midland Credit Management Inc. Lodged proposed order. (bp, )
                             (Entered: 09/15/2006)
  09/13/2006             168 REQUEST to Substitute attorney John R. Feliton in place of attorney Carlson Messer and
                             Turner filed by defendant MRC Receivables Corp. Lodged proposed order. (bp, ) (Entered:
                             09/15/2006)
  09/14/2006             170 DECLARATION of Darren Del Nero filed by Plaintiff Darren Del Nero. (bp, ) (Entered:
                             09/18/2006)
  09/15/2006             169 MINUTES: Defendants' motion for attorney fees and non-taxable costs. The above entitled
                             motion is hereby continued for hearing from 9/18/06 at 1:30 p.m. to 10/2/06 at 1:30 p.m. Judge
                             George P. Schiavelli 157 . Court Reporter: Not present. (bp, ) (Entered: 09/15/2006)
  09/18/2006             172 Substitution of Attorney filed. Substituting attorney John R Feliton, Jr for MRC Receivables
                             Corp in place and stead of attorney Corinne de Rama Deveza and Stephen H Turner by Judge
                             George P. Schiavelli.(bp, ) (Entered: 09/19/2006)
  09/18/2006             173 Substitution of Attorney filed. Substituting attorney John R Feliton, Jr for Midland Credit
                             Management Inc in place and stead of attorney Corinne de Rama Deveza and Stephen H
                             Turner by Judge George P. Schiavelli.(bp, ) (Entered: 09/19/2006)
  09/19/2006             175 SUPPLEMENTAL POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF'S
                             OPPOSITION TO MOTION for Attorney Fees 150 filed by plaintiff Darren Del Nero. (bp, )
                             (Entered: 09/22/2006)
  09/20/2006             174 NOTICE of Change of Attorney Information: changing address to 411 Camino Del Rio South,
                             Suite 301, San Diego, CA 92108 for attorney Joshua B Swigart. Filed by plaintiff Darren Del
                             Nero (bb, ) (Entered: 09/21/2006)
  09/26/2006             177 RESPONSE to supplemental points and authorities filed by plaintiff and plaintiffs' counsel in
                             opposition to MOTION for Attorney Fees MOTION for Costs 157 filed by defendants'
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 09/28/2006)
  09/27/2006             176 MINUTES: The hearing on defendants' motion for attorneys' fees is hereby continued from
                             10/2/06 to 11!306 at 1:30 p.m. Judge George P. Schiavelli 157 . Court Reporter: Not present.
                             (bp, ) (Entered: 09/28/2006)
  10/05/2006             178 NOTICE of continuance of hearing for motion to tax costs filed by defendant Midland Credit
                             Management Inc, MRC Receivables Corp. (bp, ) (Entered: 10/10/2006)
  10/19/2006             179 NOTICE of clarification of notice regarding hearing on cost bill and defendants' motion for
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                                 attorneys' fees and costs filed by defendants' Midland Credit Management Inc, MRC
                                 Receivables Corp. (bp, ) (Entered: 10/24/2006)
  11/03/2006             180 NOTICE of Change of Attorney Information: Attorney John R. Feliton will no longer receive
                             service of documents from the Clerks Office for the reason indicated in the G-06 Notice;
                             adding Stephen H. Turner as attorney of record for Midland Credit Management, Inc. and
                             MRC Receivables Corp. Filed by defendant Midland Credit Management Inc, MRC
                             Receivables Corp (stsh, ) (Entered: 11/06/2006)
  11/06/2006             181 DECLARATION of Stephen H. Turner regarding the filing of an amended declaration of
                             Stephen H. Turner in support of defendants' MOTION for Attorney Fees MOTION for Costs
                             157 filed by defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, )
                             (Entered: 11/07/2006)
  11/13/2006             182 MINUTES: Defendants' Midland's motion for attorneys' fees and related non-taxable costs;
                             request for judicial notice. On the court's own motion, the above entitled matter is hereby
                             continued for hearing from 11/13/06 at 1:30 p.m. Judge George P. Schiavelli :, Set Deadlines as
                             to MOTION for Attorney Fees MOTION for Costs 157 .Court Reporter: Not present. (bp, )
                             (Entered: 11/13/2006)
  11/27/2006             183 MINUTES OF Motion Hearing held before Judge George P. Schiavelli: Court grants
                             Defendants' Motion for Attorneys' Fees and Related Non-Taxable Costs 157 in the amount of
                             $137,616.69 against Plaintiff Darren Del Nero. The Court is taking the issue of whether
                             Plaintiff's counsel should be jointly and severally liable for these fees and costs under
                             submission. Defendants' supplemental brief regarding the additional fees and costs it incurred in
                             briefing the present motion is limited to ten pages and is due no later than 12/4/2006. Any
                             opposition by Plaintiff is also limited to ten papges and is due 12/11/2006. Court Reporter:
                             Rosalyn Adams. (gk, ) (Entered: 11/28/2006)
  12/01/2006             184 DECLARATION of Robert L. Hyde in opposition MOTION for Attorney Fees MOTION for
                             Costs 157 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 12/08/2006)
  12/04/2006             185 DECLARATION of Brian Slome in support of MOTION for Attorney Fees MOTION for
                             Costs 157 filed by defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp,
                             ) (Entered: 12/14/2006)
  12/04/2006             186 DECLARATION of Stephen H. Turner in support of MOTION for Attorney Fees MOTION
                             for Costs 157 filed by defendants' Midland Credit Management Inc, MRC Receivables Corp.
                             (bp, ) (Entered: 12/14/2006)
  12/11/2006             190 OPPOSITION to additional fees and costs claimed by defendant in briefing defendants'
                             MOTION for Attorney Fees MOTION for Costs 157 filed by plaintiff Darren Del Nero. (bp, )
                             (Entered: 12/20/2006)
  12/12/2006             187 Report to court regarding receipt of additional anonymous e-mail messages filed by Defendants
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 12/19/2006)
  12/12/2006             188 DECLARATION of Stephen H. Turner in response to supplemental declaration of Robert L.
                             Hyde in opposition to defendants' motion for attorneys' fees and costs as to plaintiff's counsel
                             157 filed by defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, )
                             (Entered: 12/19/2006)
  12/12/2006             189 RESPONSE to supplemental declaration of Robert L. Hyde in opposition to defenants'

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                                 MOTION for Attorney Fees MOTION for Costs 157 filed by defendants' Midland Credit
                                 Management Inc, MRC Receivables Corp. (bp, ) (Entered: 12/19/2006)
  12/14/2006             191 NOTICE of errata re: response to supplemental declaration of Robert L. Hyde in opposition to
                             defendants' motion for attorneys fees and costs as to plaintiff's counsel filed by defendants'
                             Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 12/21/2006)
  12/18/2006             192 DECLARATION of Robert L. Hyde in opposition to MOTION for Attorney Fees MOTION
                             for Costs 157 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 12/26/2006)
  02/20/2007             193 ORDER Awarding Attorneys' Fees and Costs to Defendants. Defendants counsel are awarded
                             a total of $155,979.09 in fees and costs, which includes the $137,616.69 originally awarded as
                             well as the supplemental fees and costs of $18,362.40. Plaintiff, Darren Del Nero, is liable for
                             this entire amount for bringing this Fair Debt Collection Practices Act cases in bad faith and for
                             the purpose of harassment by Judge George P. Schiavelli,(bp, ) (Entered: 02/20/2007)
  03/01/2007             194 NOTICE OF APPEAL to 9th CCA filed by Appellants Hyde and Swigart, Robert L. Hyde,
                             Joshua B. Swigart. Appeal of Minutes, 183 , Filed On: 11/27/06, Entered On: 11/28/06;
                             Order, 193 Filed On: 2/20/07; Entered On: 2/20/07; Forms Given: Transcripts Designation
                             Ordering Form; Filing fee $450, Paid, Balance Due: $5.00, Receipt number 93649. cc: Joshua
                             B. Swigart; Stephen H. Turner. (lr, ) Modified on 3/7/2007 (lr, ). (Entered: 03/07/2007)
  03/01/2007                     Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals; re: Appeal to
                                 Circuit Court, 194 (lr, ) (Entered: 03/07/2007)
  03/01/2007             199 NOTICE OF MOTION AND MOTION to Alter or Amend the order that plaintiff's counsel is
                             jointly and severally liable for to pay $155,979.09, to defendant 193 Order, filed by plaintiff
                             Darren Del Nero. Motion set for hearing on 4/16/2007 at 01:30 PM before Judge George P.
                             Schiavelli. (bp, ) (Entered: 03/14/2007)
  03/01/2007             200 MEMORANDUM of Law in Support of MOTION to Amend/Correct 193 Order, 199 filed
                             by plaintiff Darren Del Nero. (bp, ) (Entered: 03/14/2007)
  03/05/2007             195 NOTICE OF MOTION AND MOTION of Joshua B.Swigart to Withdraw as Attorney filed
                             by plaintiff Darren Del Nero. Motion set for hearing on 4/9/2007 at 01:30 PM before Judge
                             George P. Schiavelli. (bp, ) (Entered: 03/09/2007)
  03/05/2007             196 Points and Authorities in Support of MOTION of Joshua B.Swigart to Withdraw as Attorney
                             195 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 03/09/2007)
  03/05/2007             197 DECLARATION of Robert L. Hyde in support of MOTION of Joshua B.Swigart to
                             Withdraw as Attorney 195 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 03/09/2007)
  03/05/2007             198 DECLARATION of Joshua B. Swigart in support of MOTION of Joshua B.Swigart to
                             Withdraw as Attorney 195 filed by plaintiff Darren Del Nero. (bp, ) (Entered: 03/09/2007)
  03/09/2007             205 OBJECTION to defendant's proposed judgment in favor of defendant filed by Plaintiff Darren
                             Del Nero. (bp, ) (Entered: 03/22/2007)
  03/13/2007             202 MINUTES OF IN CHAMBERS ORDER held before Judge George P. Schiavelli : Retention
                             of Exhibits. Trial exhibits 25 through 41 are ordered retained by the court until the resolution of
                             the appeal process.Court Reporter: Not present. (bp, ) (Entered: 03/16/2007)
  03/15/2007             201 NOTIFICATION by Circuit Court of Appellate Docket Number 07-55326, 9th CCA
                             regarding Appeal to Circuit Court, 194 . (lr, ) (Entered: 03/15/2007)
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  03/15/2007                     PLACED IN FILE - NOT USED re bill of costs submitted by defendant Midland Credit
                                 Management Inc. (bp, ) (Entered: 03/16/2007)
  03/26/2007             208 NOTICE of non-opposition to Hyde & Swigart's motoin to withdraw as counsel filed by
                             defendants' Midland Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered:
                             04/05/2007)
  03/28/2007             206 MINUTES OF IN CHAMBERS ORDER held before Judge George P. Schiavelli : Counsel
                             for plaintiff Darren Del Nero filed a motion to withdraw as counsel on 3/5/07. In light of
                             defendants' non-opposition, the motion to withdraw is GRANTED.Court Reporter: Not
                             present. (bp, ) (Entered: 03/29/2007)
  03/28/2007             235 In chambers ORDER by Judge George P. Schiavelli: Granting 195 Motion to Withdraw as
                             Attorney Granted via minute order filed 3/28/07 docket number 206 (Entered: 09/23/2009)
  04/02/2007             207 TRANSCRIPT DESIGNATION AND ORDERING FORM For Dates: 11/27/06, 3/24/05,
                             3/23/05, 3/22/05, 3/17/05, 3/16/05, 3/15/05 and 1/3/05; Court Reporter: Rosalyn Adams;
                             Court of Appeals Case Number: 07-55326; Re: Appeal to Circuit Court 194 . (et) (Entered:
                             04/04/2007)
  04/02/2007             209 OPPOSITION to MOTION to Amend/Correct 193 Order, 199 filed by defendants' Midland
                             Credit Management Inc, MRC Receivables Corp. (bp, ) (Entered: 04/05/2007)
  04/02/2007             210 REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEFENDANTS OPPOSITION
                             TO MOTION to Amend/Correct 193 Order, 199 filed by defendants' Midland Credit
                             Management Inc, MRC Receivables Corp. (bp, ) (Entered: 04/05/2007)
  04/04/2007             211 MINUTES OF IN CHAMBERS ORDER held before Judge George P. Schiavelli : Plaintiff's
                             counsel, Hyde and Swigart, lodged an ex parte application for order shortening time for motion
                             to intervene to be heard. The ex parte application is DENIED as moot. The court hereby
                             continues the hearing on the MOTION to Amend/Correct 193 Order, 199 . Responses due by
                             4/19/2007 Replies due by 4/23/2007. Motion set for hearing on 4/30/2007 at 01:30 PM
                             before Judge George P. Schiavelli. Court Reporter: Not present. (bp, ) (Entered: 04/05/2007)
  04/04/2007             212 Substitution of Attorney filed. Substituting attorney Craig J Stein for Darren Del Nero in place
                             and stead of Robert L. Hyde and Joshua B. Swigart by Judge George P. Schiavelli.(bp, )
                             (Entered: 04/16/2007)
  04/06/2007                     APPEAL FEE PAID: re Appeal to Circuit Court, 194 as to Plaintiff Darren Del Nero; Receipt
                                 Number: 94813 in the amount of $5.00 (dmap.) (Entered: 04/06/2007)
  04/09/2007             213 NOTICE OF MOTION AND MOTION to Intervene filed by intervenors' Hyde and Swigart,
                             Robert L Hyde, Joshua B Swigart. Motion set for hearing on 4/30/2007 at 01:30 PM before
                             Judge George P. Schiavelli. (bp, ) (Entered: 04/20/2007)
  04/19/2007             214 MINUTES OF IN CHAMBERS ORDER held before Judge George P. Schiavelli : On 4/9/07,
                             former plaintiff's counsel filed a motion to intervene. In light of the FPC's showing and the lack
                             of opposition, the court hereby GRANTS this motion. Because the court is not presuaded to
                             reconsider its 2/20/07, FPC's motion under Rule 59 is DENIED.Court Reporter: Not present.
                             (bp, ) (Entered: 04/20/2007)
  04/19/2007             215 JUDGMENT: IT IS HEREBY ORDERED, ADJUDGED AND DECREED that plaintiff shall
                             take nothing and judgment is hereby entered for defendants on all claims for relief. Because the

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       Case3:16-cv-02186-WQH-MDD
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                                                                                   Central District   PageID.4978Page
                                                                                                                   Page 32762  of
                                                                                                                           of 445
                                                                      1196
                                 court finds this action was brought in bad faith, Plaintiff and his counsel, Hyde & Swigart, are
                                 jointly and severally liable for defendants' attorneys' fees and costs in the amount of
                                 $155,979.09 for the reasons stated in the court's 2/20/07 order by Judge George P. Schiavelli,
                                 in favor of defendants' Midland Credit Management Inc, MRC Receivables Corp and against
                                 plaintiffs' Darren Del Nero(bp, ) (Entered: 04/20/2007)
  04/19/2007             217 NON-OPPOSITION TO MOTION to Intervene 213 filed by defendants' Midland Credit
                             Management Inc. (bp, ) (Entered: 05/11/2007)
  04/19/2007                     PLACED IN FILE - NOT USED re proposed judgment in favor of defendants submitted by
                                 defendants' Midland Credit Management Inc. (bp, ) (Entered: 05/11/2007)
  04/19/2007                     PLACED IN FILE - NOT USED re ex parte application for order shortening time for motion
                                 to intervene submitted by appellants Hyde and Swigart. (bp, ) (Entered: 05/11/2007)
  04/19/2007                     PLACED IN FILE - NOT USED re proposed order granting shortening time for motoin to
                                 intervene submitted by appellants' Hyde and Swigart. (bp, ) (Entered: 05/11/2007)
  04/19/2007                     PLACED IN FILE - NOT USED re declaration in support of ex parte application for order
                                 shortening time for motion to intervene submitted by appellants' Hyde and Swigart. (bp, )
                                 (Entered: 05/11/2007)
  04/20/2007             216 REQUEST to Substitute attorney Craig Stein in place of attorney Robert L. Hyde and Joshua
                             B. Swigart filed by plaintiff Darren Del Nero. Lodged proposed order. (bp, ) (Entered:
                             04/30/2007)
  08/06/2007             218 ORDER from 9th CCA filed as to Appeal to 9th Circuit Court of Appeals, 194 , CCA # 07-
                             55326. Court Reporter Rosalyn Adams motion for an extension of time to file the reporter
                             transcript is granted. This order does not waive the mandatory fee reduction. Order received in
                             this district on 8/8/2007. (dmap) (Entered: 08/09/2007)
  11/01/2007             219 TRANSCRIPT filed for proceedings held on 1/3/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             220 TRANSCRIPT filed for proceedings held on 3/15/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             221 TRANSCRIPT filed for proceedings held on 3/16/05 Court Reporter: Rosalyn Adams. (Pages
                             25-33 Sealed) (mo) (Entered: 11/08/2007)
  11/01/2007             222 SEALED DOCUMENT - REPORTER'S TRANSCRIPT for proceedings held on 11/1/07.
                             (mo) (kyc). (Entered: 11/08/2007)
  11/01/2007             223 TRANSCRIPT filed for proceedings held on 3/17/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             224 TRANSCRIPT filed for proceedings held on 3/22/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             225 TRANSCRIPT filed for proceedings held on 3/23/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             226 TRANSCRIPT filed for proceedings held on 3/24/05 Court Reporter: Rosalyn Adams. (mo)
                             (Entered: 11/08/2007)
  11/01/2007             227 TRANSCRIPT filed for proceedings held on 11/27/06 Court Reporter: Rosalyn Adams. (mo)
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                                                                                                                33763  of
                                                                                                                   of 445
                                 (Entered: 11/08/2007)          1196

  11/15/2007             228 ORDER from 9th CCA filed as to Appeal to 9th Circuit Court of Appeals, 194 , CCA # 07-
                             55326. Order received in this district on 11/20/07. The Court acknowledges receipt of
                             appellants October 25, 2007 letter to the clerk, which is construed to be an unopposed motion
                             to amend the time scheduling order based upon courtreporter default. Appellant's motion is
                             granted. The court reporter shall file transcript in district court on or before November 20,
                             2007. The Certificate of Record shall be filed by November 30, 2007. Brief schedule set. (cbr)
                             (Entered: 11/21/2007)
  11/30/2007             229 CERTIFICATE OF RECORD Transmitted to USCA re Appeal to 9th Circuit Court of
                             Appeals 194 ; Court of Appeals Case Number: 07-55326. (cbr) (Entered: 11/30/2007)
  02/06/2008             230 ORDER from 9th CCA filed re: Notice of Appeal to 9th Circuit Court of Appeals 194 , CCA
                             # 07-55326. Pursuant to the agreement of counsel and for good cause shown, the briefing
                             scheduled previously set by the court is amended as follows. Brief schedule set. (cbr) (Entered:
                             02/13/2008)
  09/11/2008             231 RECORD ON APPEAL sent to Circuit Court re: Appeal number, 07-55326. Record consists
                             of 8 volumes,3 bulky documents, 10 transcripts re Notice of Appeal to 9th Circuit Court of
                             Appeals, 194 . (dmap) Modified on 9/11/2008 (dmap). (Entered: 09/11/2008)
  09/11/2008             232 APPEAL RECORD sealed documents sent to Circuit Court re: Appeal number, 07-55326.
                             Three (3) documents were sent with this transmittal. Document numbers S0093, S0126 &
                             T0222. Re: Notice of Appeal to 9th Circuit Court of Appeals, 194 . (dmap) (Entered:
                             09/11/2008)
  08/06/2009             233 ORDER from 9th CCA filed re: Notice of Appeal to 9th Circuit Court of Appeals, 194 , CCA
                             # 07-55326. The Court has received Darren Delneros Petition for Rehearing or in the
                             Alternative to Allow Co-appellant to File his Opening Brief on the Existing Record. We order it
                             filed. We treat Delneros petition as a motion to rehear the appeal in Hyde v. Midland Credit
                             Management, 567 F.3d 1137 (9th Cir. 2009), and to add him as an appellant in that appeal.
                             We have no record in this court of Delneros having properly appealed from the district courts
                             judgment. Delnero attaches to his petition documents purporting to show that he timely filed his
                             notice of appeal in the district court, but those documents are not in the record before us. We
                             deny Delneros petition without prejudice to his applying to the district court for appropriate
                             relief in that court. (dmap) (Entered: 08/07/2009)
  08/14/2009             234 MANDATE of 9th CCA filed re: Notice of Appeal to 9th Circuit Court of Appeals, 194 ,
                             CCA # 07-55326. We reverse the district courts award of attorneys fees and cost against
                             Hyde and Swigart. Mandate received in this district on 8/14/2009. (dmap) (Entered:
                             08/18/2009)
  01/21/2010             236 MINUTES OF IN CHAMBERS ORDER Re: Case Status held before Judge Audrey B.
                             Collins: The Court has received the Ninth Circuit's mandate in this action, reversing the Court's
                             award of attorney's fees and costs against Hyde & Swigart. It appears to the Court that no
                             issues remain to be adjudicated in this matter. If the parties believe otherwise, they may file a
                             status report with the Court no later than February 8, 2010. If a status report is filed, the Court
                             will hold a status conference on February 22, 2010 at 10:00 a.m. If no status report is filed by
                             February 8, 2010, the Court ORDERS that the Judgment of the Ninth Circuit Court of Appeals
                             reversing the Judgment of the District Court be filed and spread upon the minutes of the District
                             Court. (bm) (Entered: 01/21/2010)
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       Case3:16-cv-02186-WQH-MDD
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1/9/2017    3:16-cv-02186-WQH-MDD                 Document
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                                                                            Central District   PageID.4980Page
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                                                                                                               34764  of
                                                                                                                  of 445
  02/03/2010                                                   1196
                         237 APPLICATION to Substitute attorney Tomio B. Narita and Jeffrey A. Topor in place of
                             attorney Stephen H. Turner and John R. Felton, Jr. filed by Defendant Midland Credit
                             Management Inc. Application set for hearing on 2/22/2010 at 10:00 AM before Judge Audrey
                             B. Collins. (Narita, Tomio) (Entered: 02/03/2010)
  02/03/2010             238 REQUEST to Substitute attorney Tomio B. Narita and Jeffrey A. Topor in place of attorney
                             Stephen H. Turner and John R. Felton, Jr. filed by Defendant MRC Receivables Corp. Request
                             set for hearing on 2/22/2010 at 10:00 AM before Judge Audrey B. Collins. (Narita, Tomio)
                             (Entered: 02/03/2010)
  02/08/2010             239 NOTICE OF LODGING filed re APPLICATION to Substitute attorney Tomio B. Narita and
                             Jeffrey A. Topor in place of attorney Stephen H. Turner and John R. Felton, Jr. 237
                             (Attachments: # 1 Proposed Order)(Topor, Jeffrey) (Entered: 02/08/2010)
  02/08/2010             240 NOTICE OF LODGING filed re REQUEST to Substitute attorney Tomio B. Narita and
                             Jeffrey A. Topor in place of attorney Stephen H. Turner and John R. Felton, Jr. 238
                             (Attachments: # 1 Proposed Order)(Topor, Jeffrey) (Entered: 02/08/2010)
  02/08/2010             241 STATUS REPORT filed by Defendants Midland Credit Management Inc, MRC Receivables
                             Corp. (Topor, Jeffrey) (Entered: 02/08/2010)
  02/09/2010             242 ORDER by Judge Audrey B. Collins: Request to Substitute Attorney Tomio B Narita and
                             Jeffrey A Topor for MRC Receivables Corp in place and stead of Attorneys Stephen H Turner
                             and John Richard Feliton, Jr 238 GRANTED. (ir) (Entered: 02/10/2010)
  02/09/2010             243 ORDER by Judge Audrey B. Collins: Application to Substitute Attorneys Tomio B Narita and
                             Jeffrey A Topor for Midland Credit Management Inc in place and stead of Attorneys Stephen
                             H Turner and John Richard Feliton, Jr 237 GRANTED. (ir) (Entered: 02/10/2010)
  02/18/2010             244 APPEAL RECORD RETURNED from 9th CCA Received: Volume(s): One (1) through Eight
                             (8); Ten (10) Transcripts; Three (3) bulky documents and Three (3) sealed documents. RE:
                             Appeal Record Sent to USCA (A-26), 231 . (dmap) (Entered: 02/19/2010)
  02/22/2010             245 MINUTES OF STATUS CONFERENCE held before Judge Audrey B. Collins: Matter called.
                             Court informs counsel of all papers received. Court and counsel confer regarding status of case.
                             The Court having heard from counsel, orders counsel to e-file motion for attorney fees by no
                             later than March 1, 2010, the opposition due March 08, 2010, any replies due March 15,
                             2010. The motion hearing date to be set for March 29, 2010 at 10:00 a.m. Court Reporter:
                             Katherine Stride. (bm) (Entered: 02/24/2010)
  03/01/2010             246 NOTICE OF MOTION AND MOTION for Sanctions pursuant to 28 USC section 1927 and
                             the Court's inherent authority filed by Defendant MRC Receivables Corp, Midland Credit
                             Management Inc. Motion set for hearing on 3/29/2010 at 10:00 AM before Judge Audrey B.
                             Collins. (Narita, Tomio) (Entered: 03/01/2010)
  03/08/2010             247 OPPOSITION to MOTION for Sanctions pursuant to 28 USC section 1927 and the Court's
                             inherent authority 246 filed by Intervenor Hyde and Swigart. (Attachments: # 1 Supplement
                             Ninth Circuit Oral Argument, # 2 Supplement Municipal Court Order, # 3 Supplement
                             Excerpts)(Hyde, Robert) (Entered: 03/08/2010)
  03/10/2010             248 NOTICE OF REASSIGNMENT OF CASE due to Unavailability of Judicial Officer filed. The
                             previously assigned District Judge is no longer available. Pursuant to directive of the Chief
                             District Judge and in accordance with the rules of this Court, the case has been returned to the

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       Case3:16-cv-02186-WQH-MDD
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                                 Clerk for reassignment. This case has been reassigned to Judge Audrey B. Collins for all further
                                 proceedings. Case number will now read CV 04-01040 ABC(SHx). (rn) (Entered:
                                 03/10/2010)
  03/10/2010             251 MINUTES: (In Chambers) CASE TRANSFERRED TO JUDGE COLLINS: PLEASE
                             TAKE NOTICE that this action has been reassigned to the Honorable Audrey B. Collins, Chief
                             United States District Judge. Please substitute the initials ABC in place of the initials GPS. The
                             case number will now read: CV 04-1040 ABC (SHx). Henceforth, it is imperative that the
                             initials ABC be used on all documents to prevent any delays in processing of documents. The
                             Courtroom Deputy Clerk for Judge Collins is Angela Bridges, who may be reached at (213)
                             894-6500. Judge Collinss courtroom is located on the 6th floor of the Roybal Federal Building,
                             Courtroom 680. Additional information about Judge Collins may be found on the Courts
                             website at www.cacd.uscourts.gov, Judges Procedures & Schedules.Please be advised that all
                             mandatory chambers copies should be delivered directly to chambers by noon of the business
                             day following filing. The copies shall include the E-Filed Header and/or the E-Filing
                             Confirmation sheet. Failure to comply may result in the imposition of monetary sanctions. In
                             addition, all proposed orders should be electronically mailed in WordPerfect or Microsoft
                             Word to the Judges generic e-mail address: abc_chambers@cacd.uscourts.gov. Lastly, please
                             review the Judges Motion calendar located on the courts website before noticing a motion for
                             hearing. Failure to comply may result in the motion being stricken from the record and/or in the
                             imposition of monetary sanctions by Judge Audrey B. Collins. (ir) (Entered: 03/18/2010)
  03/12/2010             249 STIPULATION TO EXTEND TIME FOR DEFENDANTS TO FILE REPLY BRIEF IN
                             SUPPORT OF MOTION FOR SANCTIONS re MOTION for Sanctions pursuant to 28
                             USC section 1927 and the Court's inherent authority 246 filed by Defendants MRC
                             Receivables Corp, Midland Credit Management Inc. (Attachments: # 1 Proposed Order
                             Granting Stipulation To Extend Time For Defendants To File Reply)(Narita, Tomio) (Entered:
                             03/12/2010)
  03/15/2010             250 ORDER by Judge Audrey B. Collins: Pursuant to Stipulation for Extension of Time for
                             Defendants to File Reply Memorandum in support of their Motion for Attorneys Fees and
                             Costs pursuant to 28 USC section 1927 and the Court's Inherent Authorities 249 of the parties
                             and good cause having been shown, that the request for the extension is granted. Midland shall
                             have up to 3/22/2010 to file its reply memorandum. The matter is taken OFF CALENDAR. It
                             will be reset if necessary. (jp) (Entered: 03/16/2010)
  03/18/2010             252 DECLARATION of Jeffrey A. Topor In Support Of MOTION for Sanctions pursuant to 28
                             USC section 1927 and the Court's inherent authority 246 filed by Defendants MRC
                             Receivables Corp, Midland Credit Management Inc. (Topor, Jeffrey) (Entered: 03/18/2010)
  03/22/2010             253 REPLY in support of MOTION for Sanctions pursuant to 28 USC section 1927 and the
                             Court's inherent authority 246 filed by Defendants MRC Receivables Corp, Midland Credit
                             Management Inc. (Topor, Jeffrey) (Entered: 03/22/2010)
  03/30/2010             254 MINUTES: ORDER DENYING Motion for Fees and Costs 246 (In Chambers) IT IS SO
                             ORDERED by Judge Audrey B. Collins. (ir) (Entered: 03/30/2010)



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Case  3:16-cv-02186-WQH-MDD Document
                             Document47-1
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                                                                              37767  of
                                                                                 of 445
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                           EXHIBIT B




                                         760
  Case
 Case  3:16-cv-02186-WQH-MDD
    Case
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          2:04-cv-01040-ABC-SH Document  127-1
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                             UNITED STATES DISTRICT COURT               P-SEND
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                                   WESTERN DIVISION
                               CIVIL MINUTES - GENERAL

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Title:     Del Nero   v,   Midland Credit Management                                         VJ




PRESENT:
                         .
===========================================================================
                   THE HONORABLE GEORGE P. SCHIAVELLI,               JUDGE

                  Krista Barrett                                 Rosalyn Adams
                 Courtroom Clerk                                 Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

Robert Hyde                                              Stephen H. Turner
Joshua Swigart                                           Larissa G. Nefuda

PROCEEDINGS:      ORDER TO SHOW CAUSE RE CONTEMPT

Court issues OSC re contempt to Ms. Vania Chaker in regard to her attempt to
aid the witness in answering counsel's questions. Ms. Chaker's response is
due March 18, 2005. Ms. Chaker is ORDERED to appear at 9:00 a.m. on March
22, 2005. It is also ORDERED that Ms. Chaker may not be present in Court for
the remainder of this trial.




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                                                                           Page
                                                                              39769  of
                                                                                 of 445
                                      1196




                           EXHIBIT C




                                         762
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
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         2:04-cv-01040-ABC-SH Document
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                                                                                    of 445
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 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
                             Document47-1
                                      127-1Filed
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                                                  01/23/17    PageID.4987Page
                                                                           Page
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                          EXHIBIT D




                                         764
 Case
Case
  Case3:16-cv-02186-WQH-MDD
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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                                                                                42#:46 of
                                                                                   of 445
                                       1196




                                          765
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Case
  Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD    Document47-1
        2:04-cv-01040-ABC-SH Document  127-1Filed
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                                                                                   of 445
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Case
  Case3:16-cv-02186-WQH-MDD
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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Case
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                                          768
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Case
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Case
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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                                                                                   of 445
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  Case3:16-cv-02186-WQH-MDD
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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                                                                                48#:52 of
                                                                                   of 445
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Case
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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  Case3:16-cv-02186-WQH-MDD
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        2:04-cv-01040-ABC-SH Document  127-1Filed
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Case
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                                                                10 of 12 Page
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                                      1196




                                         774
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Case
  Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD   Document144
       2:04-cv-01040-ABC-SH Document
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                                                                11 of 12 Page
                                                                         Page 52782
                                                                              ID #:56of
                                                                                 of 445
                                      1196




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Case
  Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD   Document144
       2:04-cv-01040-ABC-SH Document
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                                                                         Page 53783
                                                                              ID #:57of
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 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
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                           EXHIBIT E




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Case  3:16-cv-02186-WQH-MDD
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Case  3:16-cv-02186-WQH-MDD Document
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                                                                              56786  of
                                                                                 of 445
                                      1196




                           EXHIBIT F




                                         779
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document47-1
         2:04-cv-01040-ABC-SH Document
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                                                                   1 of 1 Page
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                                                                                  #:70  of
                                                                                    of 445
                                        1196




                                          780
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
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                          EXHIBIT G




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Case  3:16-cv-02186-WQH-MDD
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         2:04-cv-01040-ABC-SH Document
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                                                                   1 of 4 Page
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                                                                                  #:71  of
                                                                                    of 445
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 Case
Case  3:16-cv-02186-WQH-MDD
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     3:16-cv-02186-WQH-MDD     Document47-1
         2:04-cv-01040-ABC-SH Document
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 Case
Case  3:16-cv-02186-WQH-MDD
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     3:16-cv-02186-WQH-MDD     Document47-1
         2:04-cv-01040-ABC-SH Document
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                                        193     Filed 09/23/22PageID.2236
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                                                                   3 of 4 Page
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                                                                                  #:73  of
                                                                                    of 445
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                                          784
 Case
Case  3:16-cv-02186-WQH-MDD
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         2:04-cv-01040-ABC-SH Document
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                                                                                  #:74  of
                                                                                    of 445
                                        1196




                                          785
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
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                                                  01/23/17    PageID.5009Page
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                                                                              63793  of
                                                                                 of 445
                                      1196




                          EXHIBIT H




                                         786
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document47-1
         2:04-cv-01040-ABC-SH Document
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                                                    04/19/07    PageID.5010
                                                              Page           Page
                                                                   1 of 1 Page
                                                                           PageID64794
                                                                                  #:93  of
                                                                                    of 445
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                                          787
 Case3:16-cv-02186-WQH-MDD
Case  3:16-cv-02186-WQH-MDD Document
                             Document47-1
                                      127-1Filed
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                                                  01/23/17    PageID.5011Page
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                                                                              65795  of
                                                                                 of 445
                                      1196




                            EXHIBIT I




                                         788
 Case
Case  3:16-cv-02186-WQH-MDD
 Case3:16-cv-02186-WQH-MDD   Document
      2:04-cv-01040-ABC-SH Document
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                                                                 1 of 41 Page
                                                                         Page  66796
                                                                              ID #:197of
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                   Plaintiff's Exhibit
                Transcript of Ninth Circuit Oral Argument

                                  October 23, 2008

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             Midland Credit Management Inc.; MRC Receivables Corp.

                                                 v.

                           Darren Del Nero; Nicole Shaker

                                         04 CV-01040




                         Hyde & Swigart, San Diego, California (619) 233-7770



                                                789
 Case
Case  3:16-cv-02186-WQH-MDD
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      2:04-cv-01040-ABC-SH Document
                            Document  127-1Filed
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                                     47-1     Filed 09/23/22Page
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                                                                 2 of 41 Page
                                                                         Page  67797
                                                                              ID #:198of
                                                                                  of 445
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 Case
Case  3:16-cv-02186-WQH-MDD
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                                                                 3 of 41 Page
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                                                                              ID #:199of
                                                                                  of 445
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Case  3:16-cv-02186-WQH-MDD
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                                     47-1     Filed 09/23/22Page
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                                                                 4 of 41 Page
                                                                         Page  69799
                                                                              ID #:200of
                                                                                  of 445
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 Case
Case  3:16-cv-02186-WQH-MDD
 Case3:16-cv-02186-WQH-MDD   Document
      2:04-cv-01040-ABC-SH Document
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                                    247-1
                                     47-1     Filed 09/23/22Page
                                                  03/08/10
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                                                                 5 of 41 Page
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Case  3:16-cv-02186-WQH-MDD
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                                     47-1     Filed 09/23/22Page
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                                                  01/23/17    PageID.5017
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                                                                 6 of 41 Page
                                                                         Page  71801
                                                                              ID #:202of
                                                                                  of 445
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Case  3:16-cv-02186-WQH-MDD
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      2:04-cv-01040-ABC-SH Document
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                                     47-1     Filed 09/23/22Page
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                                                            PageID.2247    Page
                                                                 7 of 41 Page
                                                                         Page  72802
                                                                              ID #:203of
                                                                                  of 445
                                      1196




                                          795
 Case
Case  3:16-cv-02186-WQH-MDD
 Case3:16-cv-02186-WQH-MDD   Document
      2:04-cv-01040-ABC-SH Document
                            Document  127-1Filed
                                    247-1
                                     47-1     Filed 09/23/22Page
                                                  03/08/10
                                                  01/23/17    PageID.5019
                                                            PageID.2248    Page
                                                                 8 of 41 Page
                                                                         Page  73803
                                                                              ID #:204of
                                                                                  of 445
                                      1196




                                          796
 Case
Case  3:16-cv-02186-WQH-MDD
 Case3:16-cv-02186-WQH-MDD   Document
      2:04-cv-01040-ABC-SH Document
                            Document  127-1Filed
                                    247-1
                                     47-1     Filed 09/23/22Page
                                                  03/08/10
                                                  01/23/17    PageID.5020
                                                            PageID.2249    Page
                                                                 9 of 41 Page
                                                                         Page  74804
                                                                              ID #:205of
                                                                                  of 445
                                      1196




                                          797
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5021
                                                      03/08/10PageID.2250
                                                                Page 10 of 41 Page
                                                                            Page 75805
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:206




                                          798
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5022
                                                      03/08/10PageID.2251
                                                                Page 11 of 41 Page
                                                                            Page 76806
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:207




                                          799
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5023
                                                      03/08/10PageID.2252
                                                                Page 12 of 41 Page
                                                                            Page 77807
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:208




                                          800
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5024
                                                      03/08/10PageID.2253
                                                                Page 13 of 41 Page
                                                                            Page 78808
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:209




                                          801
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5025
                                                      03/08/10PageID.2254
                                                                Page 14 of 41 Page
                                                                            Page 79809
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:210




                                          802
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5026
                                                      03/08/10PageID.2255
                                                                Page 15 of 41 Page
                                                                            Page 80810
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:211




                                          803
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5027
                                                      03/08/10PageID.2256
                                                                Page 16 of 41 Page
                                                                            Page 81811
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:212




                                          804
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5028
                                                      03/08/10PageID.2257
                                                                Page 17 of 41 Page
                                                                            Page 82812
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:213




                                          805
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5029
                                                      03/08/10PageID.2258
                                                                Page 18 of 41 Page
                                                                            Page 83813
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:214




                                          806
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5030
                                                      03/08/10PageID.2259
                                                                Page 19 of 41 Page
                                                                            Page 84814
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:215




                                          807
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5031
                                                      03/08/10PageID.2260
                                                                Page 20 of 41 Page
                                                                            Page 85815
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:216




                                          808
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5032
                                                      03/08/10PageID.2261
                                                                Page 21 of 41 Page
                                                                            Page 86816
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:217




                                          809
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5033
                                                      03/08/10PageID.2262
                                                                Page 22 of 41 Page
                                                                            Page 87817
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:218




                                          810
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5034
                                                      03/08/10PageID.2263
                                                                Page 23 of 41 Page
                                                                            Page 88818
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:219




                                          811
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5035
                                                      03/08/10PageID.2264
                                                                Page 24 of 41 Page
                                                                            Page 89819
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:220




                                          812
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5036
                                                      03/08/10PageID.2265
                                                                Page 25 of 41 Page
                                                                            Page 90820
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:221




                                          813
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5037
                                                      03/08/10PageID.2266
                                                                Page 26 of 41 Page
                                                                            Page 91821
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:222




                                          814
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5038
                                                      03/08/10PageID.2267
                                                                Page 27 of 41 Page
                                                                            Page 92822
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:223




                                          815
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5039
                                                      03/08/10PageID.2268
                                                                Page 28 of 41 Page
                                                                            Page 93823
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:224




                                          816
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5040
                                                      03/08/10PageID.2269
                                                                Page 29 of 41 Page
                                                                            Page 94824
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:225




                                          817
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5041
                                                      03/08/10PageID.2270
                                                                Page 30 of 41 Page
                                                                            Page 95825
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:226




                                          818
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5042
                                                      03/08/10PageID.2271
                                                                Page 31 of 41 Page
                                                                            Page 96826
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:227




                                          819
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5043
                                                      03/08/10PageID.2272
                                                                Page 32 of 41 Page
                                                                            Page 97827
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:228




                                          820
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5044
                                                      03/08/10PageID.2273
                                                                Page 33 of 41 Page
                                                                            Page 98828
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:229




                                          821
 Case
Case  3:16-cv-02186-WQH-MDD
   Case
     3:16-cv-02186-WQH-MDD     Document
         2:04-cv-01040-ABC-SH Document  127-1
                               Document47-1     Filed
                                        247-1Filed
                                                Filed 09/23/22
                                                    01/23/17    PageID.5045
                                                      03/08/10PageID.2274
                                                                Page 34 of 41 Page
                                                                            Page 99829
                                                                               Page of  of
                                                                                    ID 445
                                        1196
                                        #:230




                                          822
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5046
                                                  03/08/10 PageID.2275    Page
                                                            Page 35 of 41 Page  830
                                                                           Page100   of
                                                                                 ID of
                                      1196
                                      #:231
                                       445




                                         823
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5047
                                                  03/08/10 PageID.2276    Page
                                                            Page 36 of 41 Page  831
                                                                           Page101   of
                                                                                 ID of
                                      1196
                                      #:232
                                       445




                                         824
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5048
                                                  03/08/10 PageID.2277    Page
                                                            Page 37 of 41 Page  832
                                                                           Page102   of
                                                                                 ID of
                                      1196
                                      #:233
                                       445




                                         825
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5049
                                                  03/08/10 PageID.2278    Page
                                                            Page 38 of 41 Page  833
                                                                           Page103   of
                                                                                 ID of
                                      1196
                                      #:234
                                       445




                                         826
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5050
                                                  03/08/10 PageID.2279    Page
                                                            Page 39 of 41 Page  834
                                                                           Page104   of
                                                                                 ID of
                                      1196
                                      #:235
                                       445




                                         827
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5051
                                                  03/08/10 PageID.2280    Page
                                                            Page 40 of 41 Page  835
                                                                           Page105   of
                                                                                 ID of
                                      1196
                                      #:236
                                       445




                                         828
Case
Case 3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD   Document127-1
                             Document 247-1 Filed
                                      47-1 Filed  09/23/22
                                            Filed01/23/17  PageID.5052
                                                  03/08/10 PageID.2281    Page
                                                            Page 41 of 41 Page  836
                                                                           Page106   of
                                                                                 ID of
                                      1196
                                      #:237
                                       445




                                         829
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1 Filed01/23/17
                                    47-1 Filed 09/23/22 PageID.2282
                                                        PageID.5053 Page
                                                                    Page107
                                                                         837of
                                                                             of
                                    1196
                                     445




                         EXHIBIT J




                                     830
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5054
                                                           Page
                                                             PageID.2283   Page
                                                                1 of 17 Page
                                                                          Page   838of
                                                                             ID #:102
                                                                                108  of
                                     1196
                                       445




                                         831
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5055
                                                           Page
                                                             PageID.2284   Page
                                                                2 of 17 Page
                                                                          Page   839of
                                                                             ID #:103
                                                                                109  of
                                     1196
                                       445




                                         832
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5056
                                                           Page
                                                             PageID.2285   Page
                                                                3 of 17 Page
                                                                          Page   840of
                                                                             ID #:104
                                                                                110  of
                                     1196
                                       445




                                         833
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5057
                                                           Page
                                                             PageID.2286   Page
                                                                4 of 17 Page
                                                                          Page   841of
                                                                             ID #:105
                                                                                111  of
                                     1196
                                       445




                                         834
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5058
                                                           Page
                                                             PageID.2287   Page
                                                                5 of 17 Page
                                                                          Page   842of
                                                                             ID #:106
                                                                                112  of
                                     1196
                                       445




                                         835
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5059
                                                           Page
                                                             PageID.2288   Page
                                                                6 of 17 Page
                                                                          Page   843of
                                                                             ID #:107
                                                                                113  of
                                     1196
                                       445




                                         836
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5060
                                                           Page
                                                             PageID.2289   Page
                                                                7 of 17 Page
                                                                          Page   844of
                                                                             ID #:108
                                                                                114  of
                                     1196
                                       445




                                         837
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5061
                                                           Page
                                                             PageID.2290   Page
                                                                8 of 17 Page
                                                                          Page   845of
                                                                             ID #:109
                                                                                115  of
                                     1196
                                       445




                                         838
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    234       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 08/14/09
                                                   01/23/17  PageID.5062
                                                           Page
                                                             PageID.2291   Page
                                                                9 of 17 Page
                                                                          Page   846of
                                                                             ID #:110
                                                                                116  of
                                     1196
                                       445




                                         839
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5063
                                                          Page
                                                             PageID.2292  Page
                                                               10 of 17 Page
                                                                          Page   847of
                                                                             ID 117
                                                                                #:111of
                                      1196
                                       445




                                         840
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5064
                                                          Page
                                                             PageID.2293  Page
                                                               11 of 17 Page
                                                                          Page   848of
                                                                             ID 118
                                                                                #:112of
                                      1196
                                       445




                                         841
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5065
                                                          Page
                                                             PageID.2294  Page
                                                               12 of 17 Page
                                                                          Page   849of
                                                                             ID 119
                                                                                #:113of
                                      1196
                                       445




                                         842
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5066
                                                          Page
                                                             PageID.2295  Page
                                                               13 of 17 Page
                                                                          Page   850of
                                                                             ID 120
                                                                                #:114of
                                      1196
                                       445




                                         843
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5067
                                                          Page
                                                             PageID.2296  Page
                                                               14 of 17 Page
                                                                          Page   851of
                                                                             ID 121
                                                                                #:115of
                                      1196
                                       445




                                         844
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5068
                                                          Page
                                                             PageID.2297  Page
                                                               15 of 17 Page
                                                                          Page   852of
                                                                             ID 122
                                                                                #:116of
                                      1196
                                       445




                                         845
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5069
                                                          Page
                                                             PageID.2298  Page
                                                               16 of 17 Page
                                                                          Page   853of
                                                                             ID 123
                                                                                #:117of
                                      1196
                                       445




                                         846
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    234
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                08/14/09
                                                   01/23/17  PageID.5070
                                                          Page
                                                             PageID.2299  Page
                                                               17 of 17 Page
                                                                          Page   854of
                                                                             ID 124
                                                                                #:118of
                                      1196
                                       445




                                         847
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1 Filed01/23/17
                                    47-1 Filed 09/23/22 PageID.2300
                                                        PageID.5071 Page
                                                                    Page125
                                                                         855of
                                                                             of
                                    1196
                                     445




                        EXHIBIT K




                                     848
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-2    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5072
                                                              PageID.2301   Page
                                                                  1 of 2 Page
                                                                           Page   856of
                                                                              ID 126
                                                                                 #:238of
                                      1196
                                       445




                   Plaintiff's Exhibit
                       MUNICIPAL COURT ORDER

                                 February 26, 2010

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             Midland Credit Management Inc.; MRC Receivables Corp.

                                                 v.

                           Darren Del Nero; Nicole Shaker

                                         04 CV-01040




                         Hyde & Swigart, San Diego, California (619) 233-7770



                                                849
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-2    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5073
                                                              PageID.2302   Page
                                                                  2 of 2 Page
                                                                           Page   857of
                                                                              ID 127
                                                                                 #:239of
                                      1196
                                       445




                                         850
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1 Filed01/23/17
                                    47-1 Filed 09/23/22 PageID.2303
                                                        PageID.5074 Page
                                                                    Page128
                                                                         858of
                                                                             of
                                    1196
                                     445




                        EXHIBIT L




                                     851
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 03/01/10
                                                   01/23/17  PageID.5075
                                                           Page
                                                             PageID.2304   Page
                                                                1 of 29 Page
                                                                          Page   859of
                                                                             ID #:135
                                                                                129  of
                                     1196
                                       445


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      6 Attorneys for Defendants
        Midland Credit Management, Inc. and
      7 MRC Receivables Corporation
      8
      9                         UNITED STATES DISTRICT COURT
     10                        CENTRAL DISTRICT OF CALIFORNIA
     11
     12
           DARREN DEL NERO and NICOLE )               CASE NO.: CV 04-1040 GPS (SHx)
     13    SHAKER,                    )
                                      )               DEFENDANTS’ NOTICE OF
     14            Plaintiffs,        )               MOTION AND MOTION FOR
                                      )               AWARD OF ATTORNEYS’ FEES
     15            vs.                )               AND COSTS PURSUANT TO 28
                                      )               U.S.C. § 1927 AND THE COURT’S
     16    MIDLAND CREDIT             )               INHERENT AUTHORITY;
           MANAGEMENT, INC. MRC       )               MEMORANDUM OF POINTS AND
     17    RECEIVABLES CORP. and DOES )               AUTHORITIES IN SUPPORT OF
           1-10,                      )               MOTION
     18                               )
                   Defendants.        )               Hearing Date: March 29, 2010
     19                               )               Time:         10:00 a.m.
                                      )               Courtroom:    680
     20                               )
                                      )               The Honorable Audrey B. Collins
     21                               )

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     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT


                                            852
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 03/01/10
                                                   01/23/17  PageID.5076
                                                           Page
                                                             PageID.2305   Page
                                                                2 of 29 Page
                                                                          Page   860of
                                                                             ID #:136
                                                                                130  of
                                     1196
                                       445


      1         TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
      2         PLEASE TAKE NOTICE that on March 29, 2010 in Courtroom 680 of this
      3   Court located at 255 East Temple Street, Los Angeles, California 90012, at 10:00
      4   a.m., the Honorable Audrey B. Collins presiding, defendants Midland Credit
      5   Management, Inc. and MRC Receivables, Corp will and hereby do move this
      6   Court for an Order, pursuant to 28 U.S.C. § 1927, and/or this Court’s inherent
      7   authority, holding Robert L. Hyde, Joshua B. Swigart, and the law firm of Hyde &
      8   Swigart jointly and severally liable for the costs and attorneys’ fees incurred by
      9   defendants in this action.
     10         The Motion is based on this Notice of Motion and Motion, the
     11   Memorandum of Points and Authorities in Support of the Motion, filed herewith,
     12   the papers on file in this action as referenced herein, and upon such other
     13   argument or evidence that the Court may consider.
     14         This motion is made following the conference between counsel pursuant to
     15   L.R. 7-3, which took place on January 19, 2010.
     16
     17   DATED: March 1, 2010                    SIMMONDS & NARITA LLP
                                                  TOMIO B. NARITA
     18                                           JEFFREY A. TOPOR
     19
     20                                           By:   s/Tomio B. Narita
                                                         Attorneys for Defendants
     21                                                  Midland Credit Management, Inc. and
                                                         MRC Receivables Corporation
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     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     i.

                                            853
Case
 Case3:16-cv-02186-WQH-MDD
Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD  Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed     09/23/22
                                                 03/01/10
                                             Filed 01/23/17  PageID.5077
                                                           Page            Page
                                                                3 of 29 Page
                                                             PageID.2306         861of
                                                                             ID #:137
                                                                          Page  131  of
                                     1196
                                       445


      1                                        TABLE OF CONTENTS
      2
          I.     INTRODUCTION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
      3
          II.    STATEMENT OF FACTS & PROCEDURAL HISTORY . . . . . . . . . . . . . 3
      4
                 A.      The Relationship Between Del Nero And Hyde & Swigart . . . . . . . . 3
      5
                 B.      The Trial . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
      6
                 C.      Post-Trial Proceedings                 .................................. 7
      7
                         1.       The Findings Of Fact & Conclusions Of Law . . . . . . . . . . . . . 7
      8
                         2.       Midland’s Motion For Attorneys’ Fees . . . . . . . . . . . . . . . . . . 8
      9
                         3.       The February 20, 2007 Order Awarding Fees And Costs . . . 10
     10
                         4.       Hyde & Swigart’s Appeal . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
     11
          III.   ARGUMENT . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
     12
                 A.      The Ninth Circuit’s Mandate Does Not Preclude This Court
     13                  From Awarding Midland Its Attorneys’ Fees And Costs
                         Pursuant To Section 1927 Or The Court’s Inherent Authority . . . . 12
     14
                 B.      The Absence Of A Remand Order Does Not Preclude This
     15                  Motion . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
     16          C.      This Motion is Timely . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
     17          D.      Midland Is Entitled To An Award Of Attorneys’ Fees And
                         Costs Pursuant To 28 U.S.C. § 1927 . . . . . . . . . . . . . . . . . . . . . . . . 19
     18
                 E.      The Court Can Sanction Hyde & Swigart Under Its Inherent
     19                  Powers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
     20   IV.    CONCLUSION . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
     21
     22
     23
     24
     25
     26
     27
     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                                                    ii.

                                                       854
Case
 Case3:16-cv-02186-WQH-MDD
Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD  Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed     09/23/22
                                                 03/01/10
                                             Filed 01/23/17  PageID.5078
                                                           Page            Page
                                                                4 of 29 Page
                                                             PageID.2307         862of
                                                                             ID #:138
                                                                          Page  132  of
                                     1196
                                       445


      1                                       TABLE OF AUTHORITIES

      2                                              FEDERAL CASES

      3    Artese v. Academy Collection Serv., Inc.,
           2000 WL 133733 (D. Conn. Jan. 18, 2000) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
      4
        B.K.B. v. Maui Police Dep’t,
      5 276 F.3d 1091 (9th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 20, 21, 22

      6 Caldwell v. Puget Sound Elec. Apprenticeship and Training Trust,
        824 F.2d 765 (9th Cir. 1987) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13, 14
      7
        Chambers v. NASCO, Inc.,
      8 501 U.S. 32 (1991) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
      9 Cooter & Gell v. Hartmarx Corp.,
        496 U.S. 384 (1990) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 17
     10
        Emich Motors Corp. v. General Motors Corp.,
     11 15 F.R.D. 354 (N.D. Ill. 1953) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     12 Exxon Chem. Patents, Inc. v. The Lubrizol Corp.,
        137 F.3d 1475 (Fed. Cir. 1998) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 13, 15
     13
        Fink v. Gomez,
     14 239 F.3d 989 (9th Cir. 2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21, 22, 23
     15 Gomez v. Vernon,
        255 F.3d 1118 (9th Cir. 2001) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
     16
        Herrington v. County of Sonoma,
     17 12 F.3d 901 (9th Cir. 1993) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
     18 Hyde v. Midland Credit Management, Inc.,
        567 F.3d 1137 (9th Cir. 2009) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2, 11, 13
     19
        In re Sanford Fork & Tool Co.,
     20 160 U.S. 247 (1895) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 13
     21 In Re Itel Secs. Litig.,
        791 F.2d 672 (9th Cir. 1986) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
     22
        Johnson v. Commissioner of Internal Revenue,
     23 289 F.3d 452 (7th Cir. 2002) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
     24 Morrison v. Mahoney,
        399 F.3d 1042 (9th Cir. 2005) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     25
        Optyl Eyeware Fashion Int’l Corp. v. Style Cos., Ltd.,
     26 760 F.2d 1045 (9th Cir. 1985) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
     27 Plaskon v. Public Hosp. Dist. No. 1 of King County,
        2008 WL 249019 (W.D. Wash. Jan. 8, 2008) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
     28
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
           DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                                             iii.

                                                        855
Case
 Case3:16-cv-02186-WQH-MDD
Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD  Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed     09/23/22
                                                 03/01/10
                                             Filed 01/23/17  PageID.5079
                                                           Page            Page
                                                                5 of 29 Page
                                                             PageID.2308         863of
                                                                             ID #:139
                                                                          Page  133  of
                                     1196
                                       445


      1    Primus Auto. Fin. Servs., Inc. v. Batarse,
           115 F.3d 644 (9th Cir. 1997) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
      2
        Ratliff v. Stewart,
      3 508 F.3d 225 (5th Cir. 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
      4 Red Carpet Studios Division of Source Advantage, Ltd. v. Sater,
        465 F.3d 642 (6th Cir. 2006) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
      5
        Religious Tech. Ctr. v. Gerbode,
      6 1994  WL 228607 (C.D. Cal. May 2, 1994) . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 17

      7 Riley v. MEBA Pension Trust,
        452 F. Supp. 117 (S.D.N.Y. 1978) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
      8
        Roadway Express, Inc. v. Piper,
      9 447 U.S. 752 (1980) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 21, 22
     10 Samsung Elec. Co., Ltd. v. Rambus, Inc.,
        440 F. Supp. 2d 512 (E.D. Va. 2006) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 18
     11
        Sprague v. Ticonic Nat’l Bank,
     12 307 U.S. 161 (1939) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
     13 United States v. Cote,
        51 F.3d 178 (9th Cir. 1995) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 13, 14
     14
        United States v. Kellington,
     15 217 F.3d 1084 (9th Cir. 2000) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

     16 United States v. Moriel-Luna,
        585 F.3d 1191 (9th Cir. 2009)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     17
        United States v. Rivera,
     18 844 F.2d 916 (2d Cir. 1988) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
     19 White v. New Hampshire Dep’t of Employment Security,
        455 U.S. 445 (1982) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
     20
        Willy v. Coastal Corp.,
     21 503 U.S. 131 (1992) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
     22
                                                  FEDERAL STATUTES
     23
        Fair Debt Collection Practices Act,
     24       15 U.S.C. § 1692 et seq. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
              15 U.S.C. § 1692c(b) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7
     25       15 U.S.C. § 1692e . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
              15 U.S.C. § 1692e(5) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
     26       15 U.S.C. § 1692e(8) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8
              15 U.S.C. § 1692k(a)(3) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
     27
           28 U.S.C. § 1927 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
     28
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
           DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                                              iv.

                                                        856
Case
 Case3:16-cv-02186-WQH-MDD
Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD  Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed     09/23/22
                                                 03/01/10
                                             Filed 01/23/17  PageID.5080
                                                           Page            Page
                                                                6 of 29 Page
                                                             PageID.2309         864of
                                                                             ID #:140
                                                                          Page  134  of
                                     1196
                                       445


      1   42 U.S.C. § 1988 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

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                                                  OTHER AUTHORITIES
      3
        Federal Rules of Appellate Procedure
      4       Rule 41(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

      5 Federal Rules of Civil Procedure
              Rule 11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
      6       Rule 52 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
              Rule 52(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
      7       Rule 59(e) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16

      8   Goelz & Watts, Rutter Group Practice Guide: Federal Ninth Circuit Civil
          Appellate Practice (The Rutter Group 2007) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13
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          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                                                   v.

                                                         857
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 03/01/10
                                                   01/23/17  PageID.5081
                                                           Page
                                                             PageID.2310   Page
                                                                7 of 29 Page
                                                                          Page   865of
                                                                             ID #:141
                                                                                135  of
                                     1196
                                       445


      1   I.    INTRODUCTION

      2         This Court previously held that plaintiff’s counsel, Robert L. Hyde and

      3   Joshua B. Swigart, of Hyde & Swigart (collectively, “Hyde & Swigart”) acted in

      4   bad faith in connection with their prosecution of this case. It issued an Order

      5   holding them jointly and severally liable for the attorneys fees and costs incurred

      6   by defendants, under the Fair Debt Collection Practices Act.1

      7         Should Hyde & Swigart now escape responsibility for payment, just because

      8   the Ninth Circuit held, as a matter of first impression, that fees and costs cannot be

      9   awarded against counsel under the FDCPA? The answer is “no.” Instead, the

     10   Court should enter an Order holding the firm responsible for the fees and costs

     11   pursuant to 28 U.S.C. § 1927 and/or the Court’s inherent authority.

     12         After sitting through a lengthy trial, the Honorable George P. Schiavelli,

     13   (now retired) entered judgment in favor of defendants Midland Credit

     14   Management, Inc. (“MCM”) and MRC Receivables Corp. (“MRC”) (collectively,

     15   “Midland”) on the claims asserted by plaintiff Darren Del Nero. Midland sought

     16   to recover its attorneys’ fees and costs, pursuant to section 1692k(a)(3) of the Act,

     17   which allows for such an award when an action is brought “in bad faith and for the

     18   purpose of harassment.”

     19         Judge Schiavelli considered extensive post-trial briefing and argument, and

     20   then awarded Midland approximately $156,000 in attorneys’ fees and costs. He

     21   found that the case “was brought to trial despite the fact that Plaintiff’s only

     22   supporting witness was wholly without credibility,” and that the case “was brought

     23   in bad faith and for the purpose of harassment” within the meaning of section

     24
     25
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     28             15 U.S.C. § 1692, et seq. (the “FDCPA” or the “Act”).
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     1.

                                            858
Case
 Case3:16-cv-02186-WQH-MDD
Case  2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD  Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed     09/23/22
                                                 03/01/10
                                             Filed 01/23/17  PageID.5082
                                                           Page            Page
                                                                8 of 29 Page
                                                             PageID.2311         866of
                                                                             ID #:142
                                                                          Page  136  of
                                     1196
                                       445


      1   1692k(a)(3). The Court also held that Hyde & Swigart were jointly and severally

      2   liable for the award.2 Hyde & Swigart appealed.3

      3         Answering a question of first impression, the Ninth Circuit held that

      4   attorneys’ fees and costs could not be imposed against a plaintiff’s attorney under

      5   section 1692k(a)(3). See Hyde v. Midland Credit Management, Inc., 567 F.3d

      6   1137, 1141-42 (9th Cir. 2009). Accordingly, the Ninth Circuit reversed. See id. at

      7   1142. The finding that the action was brought in bad faith and for the purpose of

      8   harassment, however, was left undisturbed. See id.4

      9         At the time this Court held Hyde & Swigart responsible for fees and costs

     10   under the FDCPA, there was no binding authority governing the award. With its

     11   decision in Hyde, the Ninth Circuit clarified that fees and costs may not be

     12   imposed against counsel under the FDCPA. The fact remains, however, that after

     13   observing counsel throughout an extensive trial, and upon considering detailed

     14   post-trial briefing, this Court found that Hyde & Swigart had acted in bad faith,

     15   and that it should be jointly responsible for a significant award of fees and costs.

     16   The Ninth Circuit’s decision did not impact this bad faith finding. Nor does the

     17   Ninth Circuit’s mandate prevent further proceedings here.

     18         Midland should not be penalized for failing to anticipate the outcome of a

     19   legal issue of first impression. By this motion, Midland respectfully requests that,

     20   consistent with Judge Schiavelli’s clear finding that Hyde & Swigart acted in bad

     21   faith, the Court hold Hyde & Swigart jointly and severally liable for the attorneys’

     22
     23
                2
                 The Court imposed the award against Hyde & Swigart pursuant to both
     24 section 1692k(a)(3) and Rule 11 of the Federal Rules of Civil Procedure. Midland
     25 later conceded that the award under Rule 11 was procedurally improper.
                3
     26             Del Nero did not appeal.
     27         4
               The Ninth Circuit did not address Midland’s alternative argument that the
     28 award was justified under this Court’s inherent authority.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                      2.

                                               859
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                            Document 127-1
                                    246       Filed
                                      47-1Filed
                                             Filed  09/23/22
                                                 03/01/10
                                                   01/23/17  PageID.5083
                                                           Page
                                                             PageID.2312   Page
                                                                9 of 29 Page
                                                                          Page   867of
                                                                             ID #:143
                                                                                137  of
                                     1196
                                       445


      1   fees and costs previously awarded to Midland, pursuant to 28 U.S.C. § 1927

      2   and/or the Court’s inherent authority.5

      3   II.   STATEMENT OF FACTS & PROCEDURAL HISTORY

      4         A.     The Relationship Between Del Nero And Hyde & Swigart

      5         This action began on February 17, 2004, when Del Nero and his mother

      6   filed the complaint against Midland, alleging violations of the FDCPA and state

      7   law. See Complaint (Docket Entry No. 1). Attorney Robert Stempler filed the

      8   case, but he was quickly replaced by Del Nero’s sister, attorney Vania Chaker.

      9   See Docket Entry No. 11. A few months later, Ms. Chaker moved to withdraw as

     10   her brother’s counsel. See Docket Entry Nos. 19-21. On October 19, 2004, citing

     11   his “inability to work with Mr. Del Nero,” Mr. Stempler moved to withdraw as

     12   counsel for Del Nero’s mother. See Docket Entry No. 39.6

     13         Against this backdrop, on December 22, 2004, Hyde & Swigart substituted

     14   into this case as counsel for Del Nero. See Docket Entry No. 54. Hyde & Swigart

     15   knew that Del Nero was not an ordinary litigant. He had an extensive criminal

     16   history that began nearly a decade before the trial in this action.7 Del Nero had

     17   also filed numerous civil actions, including two lawsuits against his mother (his

     18
                5
                Alternatively, the Court should issue an order to show cause why Hyde &
     19
        Swigart should not be held jointly and severally liable for the award of costs and fees,
     20 pursuant to Rule 11.
     21         6
                 Pursuant to a settlement agreement, Shaker’s claims were dismissed with
     22 prejudice on November 24, 2004. See Docket Entry No. 44. Del Nero would later
        violate the court’s order in limine, excluding any evidence at trial concerning the
     23
        settlement agreement.
     24
                7
                See Midland’s Opposition to Plaintiff’s Motion in Limine to Exclude
     25 Evidence of and Preclude Reference to Lawsuits Involving Plaintiff (Docket Entry
     26 No. 76) at Ex. 1; Midland’s Request for Judicial Notice in Support of its
        Supplemental Opposition (Docket Entry No. 89) (“RJN”) at Exs. J and K; and
     27 Amended Declaration of Stephen Turner in Support of Defendant’s Motion for
     28 Attorneys’ Fees (Docket Entry 181) at Ex. 4.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     3.

                                            860
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5084
                                                          Page
                                                             PageID.2313  Page
                                                               10 of 29 Page
                                                                          Page   868of
                                                                             ID 138
                                                                                #:144of
                                      1196
                                       445


      1   co-plaintiff and key witness in this case), Nicole Shaker (“Shaker”), where he

      2   sought to enjoin her from stalking and threatening him. See Declaration of Jeffrey

      3   A. Topor filed herewith at Ex. A (Trial Exhibit 28) and B (Trial Exhibit 29).8 He

      4   had also been declared a vexatious litigant by the San Diego County Municipal

      5   Court.9

      6         Despite Del Nero’s checkered history, Hyde & Swigart agreed to represent

      7   him in no less than eight separate lawsuits filed during a two-year period

      8   beginning in early 2004. In fact, on a single day, April 19, 2004, Hyde & Swigart

      9   filed five separate lawsuits on behalf of Del Nero in this Court. See RJN at Exs.

     10   A-G; Topor Decl. Ex. C at pp. 114-115.10

     11         Messrs. Hyde and Swigart testified that they interviewed Del Nero at length

     12   (along with his mother, his sister and his former counsel) before taking this case.11

     13   According to Mr. Hyde, they discussed Del Nero’s “general background, possible

     14
                8
     15
                Del Nero alleged, inter alia, that his mother had threatened to “finish him
        off” and to “make him pay the highest price,” and had stated that he would “be
     16 meeting God sooner than expected.” Id.
     17         9
              See Midland’s Supplemental Opposition to Plaintiff’s Motion in Limine to
     18 Exclude Evidence of and Preclude Reference to Lawsuits Involving Plaintiff, Ex. 15.
        (Docket Entry No. 88.)
     19
                10
     20             In one of those suits, Chaker v. Imperial Collection Servs., Hyde & Swigart
          alleged – as was alleged in this action – that the defendant had improperly contacted
     21   Del Nero’s mother while attempting to collect Del Nero’s debt. See Topor Decl. Ex.
     22   F (Trial Exhibit 27). Del Nero had previously made nearly identical allegations about
          alleged collection phone calls placed to his mother in yet another lawsuit filed in
     23
          2003, Del Nero v. Riddle & Associates, et al., Case No. LACV03-6511 GHK. See id.
     24   Exs. C at pp. 118, 120, G (Trial Exhibit 26).
     25         11
                 See Swigart Declaration in Opposition to Defendants’ Motion for Attorney
     26 Fees (Docket Entry No. 161) (“Swigart Decl.”) at ¶ 11; Supplemental Declaration of
        Robert Hyde in Support of Opposition (Docket Entry No. 189) (“Hyde Decl.”) at ¶¶
     27 6-11. Defendants note that Hyde & Swigart had already been representing Del Nero
     28 for nearly eight months when this alleged extensive interview process took place.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     4.

                                            861
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5085
                                                          Page
                                                             PageID.2314  Page
                                                               11 of 29 Page
                                                                          Page   869of
                                                                             ID 139
                                                                                #:145of
                                      1196
                                       445


      1   criminal history, previous civil actions filed, and the facts surrounding the

      2   pending” case against Midland. Id. at ¶ 8. Prior to trial, the firm moved in limine

      3   to exclude evidence about Del Nero’s prior criminal record and the numerous civil

      4   lawsuits. See Plaintiff’s Motion in Limine to Exclude Impermissible Character

      5   Evidence of Plaintiff at Trial (Docket Entry No. 70).

      6         Based upon his initial interviews and his review of the record, Mr. Swigart

      7   quickly concluded “there were not adequate provable facts to sustain a case

      8   against” MRC. Swigart Decl. at ¶ 18. Despite this, Hyde & Swigart never moved

      9   to dismiss MRC. They continued to press claims against MRC through trial.12

     10         B.     The Trial

     11         Hyde & Swigart called Shaker to testify that MCM had impermissibly

     12   communicated with her about her son’s debt. See Topor Decl. Exs. D at 152-181

     13   and E (Trial Exhibits 24, 39, 40-41). When cross-examined, however, Shaker’s

     14   credibility was undermined completely. At one point, Judge Schiavelli opined that

     15   Shaker was “dancing around perjury here.” Id. Ex. D at p. 197.13

     16         Shaker claimed she was “very close” to her son (Id. Exs. D at p. 193 and H

     17   at pp. 9, 50), but she did not know basic things about him.14 She admitted her son

     18
     19         12
                 On January 14, 2005, Hyde & Swigart filed a Verdict Sheet on behalf of Del
     20 Nero, which reflected that Del Nero was still pursuing claims against MRC. See
     21
        Docket Entry No. 72. On March 16, 2005, after trial had started, when joint jury
        instructions were submitted, Hyde & Swigart were still pursuing claims against MRC.
     22 See Docket Entry No. 95.
     23         13
                 During Shaker’s cross-examination, the Court observed Del Nero’s sister,
     24 Vania Chaker, trying to coach Del Nero’s mother while she was on the stand. The
        court ordered Vania Chaker to show cause why she should not be held in contempt
     25
        “for what I perceived to have been an attempt to coach the witness.” See Docket
     26 Entry No. 94; Topor Decl. Ex. H at pp. 78-82.
     27         14
                For example, she did not know his phone number or address, where he went
     28 to school, what he did for a living, if he was married or if he had children. Id. Ex. H
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     5.

                                            862
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
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                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5086
                                                          Page
                                                             PageID.2315  Page
                                                               12 of 29 Page
                                                                          Page   870of
                                                                             ID 140
                                                                                #:146of
                                      1196
                                       445


      1   had previously sought to obtain a restraining order against her, but did not know

      2   that he had done this twice. Id. Ex. I at p. 6. Asked about the other collectors Del

      3   Nero had sued, Shaker either could not remember if they had ever called her, or

      4   testified that only some of Del Nero’s allegations were true. Id. at pp. 13-15, 22-

      5   23, 25-28. She also admitted that criminal charges had been filed against her

      6   based on telephone calls she had made. Id. at pp. 34-35.

      7            Hyde & Swigart also called Del Nero, who provided detailed testimony in

      8   support of his claims. On cross-examination, however, Del Nero admitted that he

      9   takes “a litany of medication that really inhibit my memory,” including Paxil,

     10   Zyprexa, Risperdal, Klonopin, Ambien and Valium. Id. Ex. C at p. 71. He denied

     11   many of the allegations from the lawsuits he filed against his mother, claiming

     12   they were made on his behalf by unidentified volunteers at Legal Aid. Id. at 136-

     13   176.15

     14            When Del Nero rested, Midland moved under Rule 52(c) for Judgment on

     15   Partial Findings. See Docket Entry No. 104; Topor Decl. Ex. J at p. 81, Ex. I at

     16   pp. 41-65. Mr. Swigart conceded there was no evidence as to defendant MRC

     17   (“We don’t know who they are. We’re here against Midland Credit

     18   Management”), and stated that Del Nero had “no problem stipulating to dismiss”

     19   MRC. Topor Decl. Ex. I at p. 45. Del Nero also stipulated to dismiss his section

     20   17200 claim with prejudice. Id. at pp. 45-46.

     21
     22
          at pp. 17-19, 37-40, 46-50.
     23
     24            On the second day of cross-examination, Del Nero violated the Court’s order
                   15


          in limine by testifying that Midland had entered into a settlement with his mother. Id.
     25   Ex. J at pp. 13-25. The Court immediately dismissed the jury from the courtroom,
     26   and stated “As far as I’m concerned, it’s a contempt by Mr. Del Nero.” Id. at p. 15.
          After hearing argument and directing the parties to file briefs, the court tentatively
     27   granted a mistrial; the parties then stipulated that the jury would be dismissed, and
     28   that the case would proceed to conclusion as a bench trial. Id. at pp. 25-34.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     6.

                                            863
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5087
                                                          Page
                                                             PageID.2316  Page
                                                               13 of 29 Page
                                                                          Page   871of
                                                                             ID 141
                                                                                #:147of
                                      1196
                                       445


      1         For its case, Midland called Rita Melconian, who explained that MCM

      2   could not have called Del Nero at all, because it had no record of his telephone

      3   number. See id. at pp. 69-77. Nor did Midland have a number for Del Nero’s

      4   mother.16

      5         Ms. Melconian also explained that MCM did not falsely threaten to sue Del

      6   Nero. Midland regularly filed lawsuits, and when it sent Del Nero a prelegal

      7   letter, it was authorized to sue him, “intended to pursue the option” of suing him,

      8   and his account “had already passed a screen for that avenue.” Id. Ex. I at p. 92;

      9   Ex. K at 27, 30.17 Contrary to Del Nero’s final claim, Ms. Melconian testified that

     10   once it received Del Nero’s dispute letter, MCM began reporting his debt as

     11   “disputed” to all three credit reporting agencies. Id. Ex. I at pp. 93-94, 117-118.

     12         C.     Post-Trial Proceedings

     13                1.     The Findings Of Fact & Conclusions Of Law

     14         On July 11, 2006, the Court issued Findings of Fact and Conclusions of

     15   Law. See Docket Entry No. 144. Regarding the claim that MCM impermissibly

     16   communicated with Del Nero’s mother regarding his debt, Judge Schiavelli

     17   observed the claim rested “largely” upon the testimony of Shaker, whom he found

     18   was “simply not” credible. Id. at ¶ 3. MCM could not have called her because it

     19   did not have her phone number. Id. at ¶ 3. Thus, MCM did not violate section

     20   1692c(b) of the FDCPA. Id. at ¶ 6.

     21         The Court found no evidence to support the claim that MCM used a false,

     22   deceptive or misleading misrepresentation or means to collect his debt. Id. at ¶ 7.

     23
                16
     24          John Nokes, a manager of systems integration for MCM, also testified that
        MCM never had a telephone number for Del Nero or for his mother. See id. Ex. K
     25
        at pp. 65-73.
     26
                17
                 On April 2, 2003, MCM changed the status of Del Nero’s account, by taking
     27 “the first step in moving the account towards litigation.” Id. Ex. I at p. 90. As of
     28 April 8, 2003, “a prelegal letter was sent.” Id.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     7.

                                            864
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5088
                                                          Page
                                                             PageID.2317  Page
                                                               14 of 29 Page
                                                                          Page   872of
                                                                             ID 142
                                                                                #:148of
                                      1196
                                       445


      1   This section 1692e claim was based on the alleged phone calls to Shaker, but the

      2   Court found “that no such conversations took place.” Id.

      3         The Court further found that MCM “never threatened to take an action

      4   which they did not intend to take,” when it sent Del Nero a “prelegal” letter. Id. at

      5   ¶¶ 7, 8. Section 1692e(5) was not violated. Id.

      6         MCM also “presented overwhelming evidence that it” reported the debt as

      7   disputed to the credit reporting agencies. Id. at ¶¶ 8-9. The Court held that

      8   section 1692e(8) was not violated. Id. at ¶ 9.

      9         As to MRC, the Court found that Del Nero had presented no evidence of

     10   wrongful activity by it, that it had no employees, and that it was not a debt

     11   collector within the meaning of the FDCPA. Id. at ¶¶ 9-10. Judgment was entered

     12   in favor of Midland and against Del Nero. Id. at ¶ 10 and Judgment (Docket Entry

     13   No. 145).

     14         2.     Midland’s Motion For Attorneys’ Fees

     15         Midland moved to recover it attorneys’ fees and costs, pursuant to section

     16   1692k(a)(3) of the FDCPA. See Docket Entry No. 157. Defendants’ trial counsel,

     17   Stephen H. Turner, submitted a declaration detailing the time spent defending the

     18   case and the rates of the professionals involved, and authenticated voluminous

     19   invoices describing the work performed and the costs incurred. See Docket Entry

     20   Nos. 158-160, 166.

     21         At a hearing on the fee motion on November 27, 2006, Mr. Hyde explained

     22   that although it was not “the greatest case on earth,” Hyde & Swigart agreed to

     23   take it because they were “dying to go to trial” so they could “learn some things”:

     24         We took this case because we, in all honesty, were dying to go trial. And
                the reason we wanted to go to trial – and I’m not suggesting it didn’t have
     25         merit, don’t get me wrong. I thought it had merit and I still believe it had
                merit; but we took this case because we wanted to get in front of a judge,
     26         learn some things. That’s why both of us were here, and that’s why we
                took the case. We didn’t take the case because we thought it was the
     27         greatest case on earth. Like I said, I thought it had merit to it.

     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     8.

                                            865
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5089
                                                          Page
                                                             PageID.2318  Page
                                                               15 of 29 Page
                                                                          Page   873of
                                                                             ID 143
                                                                                #:149of
                                      1196
                                       445


      1   Topor Decl. Ex. L at p. 8. (emphasis added). Although Hyde & Swigart claimed

      2   they were “no longer interested and have not been interested for a couple of years

      3   in representing” Del Nero, Midland observed that the firm had continued to

      4   represent him after the trial ended, even filing a new lawsuit on his behalf. Id. at

      5   pp. 11, 19.

      6         The Court granted Midland’s motion, holding Del Nero liable for

      7   $137,616.69 of fees and costs. See Docket Entry No. 183; Topor Decl. Ex. L at 28.

      8   The Court took under submission the question of whether to hold Hyde & Swigart

      9   jointly and severally liable for this award. It permitted supplemental briefs

     10   regarding whether to award Midland fees and costs incurred in briefing the fee

     11   motion. See Docket Entry No. 183; Topor Decl. Ex. L at pp. 28-29.

     12         Mr. Hyde filed a declaration that did not address the limited issue as

     13   directed by the Court (the propriety of “fees on fees”). See Docket Entry No. 184.

     14   Instead, he declared that nothing revealed to him during the interview he allegedly

     15   conducted before substituting into the case “caused me to have any concern that

     16   this action had either been brought in bad faith or for the purposes of harassment,”

     17   and that “based upon all of the then-available facts and evidence,” he and Mr.

     18   Swigart determined that the action was meritorious. Id. at pp. 2-5.

     19         Mr. Hyde conceded, however, that during the trial “I became deeply

     20   disappointed and concerned that Mr. Del Nero had apparently been less than

     21   forthcoming” about “his representations . . . regarding his background, criminal

     22   history, [and] previous civil actions” that he had filed “and the facts surrounding

     23   the pending trial in this matter.” Id. at pp. 7-8.18 Mr. Hyde stated:

     24
     25         18
                 Despite these concerns, Hyde & Swigart continued to represent Del Nero.
     26 On September 1, 2005, months after this trial ended, Hyde & Swigart filed another
        lawsuit on behalf of Del Nero in the United States District Court, Central District of
     27 California, Darren D. Chaker v. Felipa R. Richland, et al, Case No. CV 05-7851
     28 RSLW. See Docket Entry No. 157 a p. 9. That court ultimately dismissed Del Nero’s
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                      9.

                                            866
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5090
                                                          Page
                                                             PageID.2319  Page
                                                               16 of 29 Page
                                                                          Page   874of
                                                                             ID 144
                                                                                #:150of
                                      1196
                                       445


      1           In short, had I known then, what I know now, or even 1/1,000,000th of
                  what I know now, about Mr. Del Nero, I would never have agreed to
      2           represent him in this case or any other matter.

      3   Id. at p. 9.

      4           3.     The February 20, 2007 Order Awarding Fees And Costs

      5           On February 20, 2007, the Court issued its Order Awarding Attorneys’ Fees

      6   and Costs to Defendants. See Docket Entry No. 193. Judge Schiavelli found that

      7   the “case was brought to trial despite the fact that Plaintiff’s only supporting

      8   witness was wholly without credibility.” Id. at ¶ 1. He found the “record of the

      9   present case as well as Plaintiff’s pattern of filing apparently frivolous cases

     10   asserting debt collection violations establish that the present case was brought in

     11   bad faith and for the purpose of harassment as defined in 15 U.S.C. §

     12   1692k(a)(3).” Id. at ¶ 2.

     13           The Court held Hyde & Swigart jointly and severally liable for the fee

     14   award, finding that “fees should be imposed on counsel in this case because [they]

     15   continued to file FDCPA suits on behalf of Mr. Del Nero after the court trial in

     16   this case.” Id. at ¶ 4 (italics in original). Referencing Mr. Hyde’s declaration,

     17   Judge Schiavelli noted that, although Mr. Hyde claimed he would not have agreed

     18   to represent Del Nero had he been aware of Del Nero’s problems, Hyde “appears

     19   to have said one thing and done another.” Id. Specifically, the judge observed

     20   that,

     21           The Court trial in this matter ended on March 24, 2005 and the parties
                  closing briefs were due on April 15, 2005. Yet despite what Plaintiff’s
     22           counsel stated he learned about his client during trial, his firm chose to
                  continue representing Mr. Del Nero in other FDCPA actions and even filed
     23           a new complaint on November 3, 2005. [Darren D. Chaker v. Felipa R.
                  Richland, et al, CV-05-7851 RSWL (PLAx).] This filing was months after
     24           the trial in this case where Plaintiff’s counsel claims he first learned of his
                  client’s numerous problems. Further, this November 2005 action also
     25           resulted in an award of attorneys’ fees against Plaintiff Del Nero for filing a

     26
        amended complaint and ordered him to pay $42,934.84 to the defendants. See Topor
     27 Decl. Ex. M. Judge Schiavelli later cited the Richland order in his order awarding
     28 fees. See Docket Entry No. 193 at ¶ 2.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     10.

                                             867
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5091
                                                          Page
                                                             PageID.2320  Page
                                                               17 of 29 Page
                                                                          Page   875of
                                                                             ID 145
                                                                                #:151of
                                      1196
                                       445


      1          baseless action. Taken together these post-trial facts and counsel’s
                 representation of Mr. Del Nero in numerous other FDCPA actions
      2          demonstrate that Plaintiff’s counsel participated in the filing of bad faith
                 FDCPA actions and should therefore be liable for Defendants’ attorneys’
      3          fees along with Plaintiff Del Nero.

      4   Id. (italics in original).

      5          The Court awarded Midland $155,979.09, representing the sum originally

      6   awarded on November 27, 2006, plus the additional fees and costs incurred in

      7   litigating the fee issue. Id. at ¶ 3. On March 1, 2007, Hyde & Swigart moved to

      8   alter or amend the February 20, 2007 order. See Docket Entry Nos. 199, 200.19

      9   The Court denied the motion on April 19, 2007. See Docket Entry No. 214.20

     10                 4.      Hyde & Swigart’s Appeal

     11          Hyde & Swigart filed a notice of appeal on March 1, 2007. See Docket

     12   Entry No. 194. On appeal, they challenged, inter alia, the Court’s finding that the

     13   case had been brought in bad faith and for the purpose of harassment. The firm

     14   also argued that the Court erred by awarding attorneys’ fees and costs against them

     15   under section 1692k(a)(3) of the FDCPA. See Hyde, 567 F.3d at 1139.21

     16          The Ninth Circuit filed its opinion on June 9, 2009. The court assumed that

     17   the action “‘was brought in bad faith and for the purpose of harassment’ within the

     18   meaning of § 1692k(a)(3),” but reversed, holding that fees and costs could not be

     19
                 19
     20          Hyde & Swigart also moved to withdraw as counsel, and to intervene; both
     21
        of these unopposed motions were granted. See Docket Entry Nos. 195-198, 206, 208,
        213, 214, 217, 235.
     22
                 20
                The Court stated, inter alia, that Hyde & Swigart’s “argument asks the Court
     23
        to believe that, although Mr. Hyde’s declaration details issues about his client that
     24 came up during the trial, he did not ‘know’ that these presented a problem until it
        appeared attorneys’ fees might be assessed against him.” Id. at p. 2.
     25
                 21
     26          Hyde & Swigart also argued, and Midland agreed, that the Court erred by
        awarding fees against them pursuant to Rule 11 of the Federal Rules of Civil
     27 Procedure, because the Court had not complied with the notice requirements of Rule
     28 11. See id.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     11.

                                            868
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5092
                                                          Page
                                                             PageID.2321  Page
                                                               18 of 29 Page
                                                                          Page   876of
                                                                             ID 146
                                                                                #:152of
                                      1196
                                       445


      1   awarded against a plaintiff’s attorney under section 1692k(a)(3). See id. at 1139,

      2   1141-42. The Court’s opinion concluded with the word “REVERSED.” See id. at

      3   1142. On August 14, 2009, the Ninth Circuit filed its mandate, pursuant to Rule

      4   41(a) of the Federal Rules of Appellate Procedure. See Docket Entry No. 234.

      5   III.   ARGUMENT

      6          A.    The Ninth Circuit’s Mandate Does Not Preclude This Court From
                       Awarding Midland Its Attorneys’ Fees And Costs Pursuant To
      7                Section 1927 Or The Court’s Inherent Authority

      8          Hyde & Swigart may argue that the Ninth Circuit’s mandate prevents this

      9   Court from granting the relief that Midland requests. It does not. A mandate22 has

     10   the effect of ending the proceedings in, and removing the jurisdiction of, the

     11   appellate court, and returning the case to the district court. See United States v.

     12   Rivera, 844 F.2d 916, 921 (2d Cir. 1988). In other words, when the “mandate

     13   issues, jurisdiction over [the] case revests in the district court.” United States v.

     14   Cote, 51 F.3d 178, 182 (9th Cir. 1995); see Exxon Chem. Patents, Inc. v. The

     15   Lubrizol Corp., 137 F.3d 1475, 1483 (Fed. Cir. 1998) (“[E]very appellate court

     16   judgment vests jurisdiction in the district court to carry out some further

     17   proceedings.”).

     18          Upon receipt of the Ninth Circuit’s mandate, a district court “‘cannot vary it

     19   or examine it for any other purpose than execution.’” Cote, 51 F.3d at 181

     20   (quoting In re Sanford Fork & Tool Co., 160 U.S. 247, 255 (1895)). Although a

     21   district court cannot act inconsistently with an appellate court’s opinion, the

     22   district court is free to consider issues not resolved by the appellate court. See id.

     23   at 181-82 (second criminal trial not precluded by mandate); see also United States

     24   v. Kellington, 217 F.3d 1084, 1094 (9th Cir. 2000) (district court free to address

     25   issues neither expressly nor impliedly resolved by the appeal). Thus, upon

     26
     27          22
                 “[T]he mandate consists of a certified copy of the judgment, a copy of the
     28 court’s opinion, if any, and any direction about costs.” Fed. R. App. P. 41(a).
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                       12.

                                             869
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
                             Document        Filed
                                         Filed
                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5093
                                                          Page
                                                   01/23/17               Page
                                                               19 of 29 Page
                                                             PageID.2322         877of
                                                                             ID 147
                                                                          Page  #:153of
                                      1196
                                       445


      1   remand, the district court can entertain any issues “left open” by the appellate

      2   court’s mandate. In re Sanford, 160 U.S. at 256; see Sprague v. Ticonic Nat’l

      3   Bank, 307 U.S. 161, 168 (1939) (“While a mandate is controlling as to matters

      4   within its compass, on the remand a lower court is free as to other issues.”);

      5   accord Caldwell v. Puget Sound Elec. Apprenticeship and Training Trust, 824

      6   F.2d 765, 767 (9th Cir. 1987).

      7          In other words, as the Ninth Circuit has held, the “rule of mandate allows a

      8   lower court to decide anything not foreclosed by the mandate.” Herrington v.

      9   County of Sonoma, 12 F.3d 901, 904-05 (9th Cir. 1993). “Accordingly, unless the

     10   reversing court indicates in its mandate or opinion” that further proceedings are

     11   prohibited, they are not. Cote, 51 F.3d at 182; see Exxon Chem., 137 F.3d at 1483

     12   (“[T]he nature of the district court’s remaining tasks is discerned not simply from

     13   the language of the judgment, but from the judgment in combination with the

     14   accompanying opinion.”).

     15          Here, neither the Ninth Circuit’s mandate nor its opinion prohibited further

     16   proceedings, and this motion is wholly consistent the rulings of this Court and the

     17   decision on appeal.

     18          B.      The Absence Of A Remand Order Does Not Preclude This Motion

     19          The Ninth Circuit’s opinion concluded with the word “REVERSED,” but

     20   did not explicitly state whether the case was remanded. See Hyde, 567 F.3d at

     21   1142. The absence of an explicit remand instruction, however, does not bar

     22   further proceedings in this Court. See, e.g., Sprague, 307 U.S. at 168-70 (decision

     23   that does not specifically provide for remand is not necessary incompatible with

     24   further proceedings in district court); see also Goelz & Watts, Rutter Group

     25   Practice Guide: Federal Ninth Circuit Civil Appellate Practice (The Rutter

     26   Group 2007), at p. 12-48.13, ¶ 12:317 (“Reversals . . . generally require further

     27   district court action. . . .).

     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     13.

                                            870
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
                             Document        Filed
                                         Filed
                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5094
                                                          Page
                                                   01/23/17               Page
                                                               20 of 29 Page
                                                             PageID.2323         878of
                                                                             ID 148
                                                                          Page  #:154of
                                      1196
                                       445


      1         For example, in Cote, the government moved to retry defendants after their

      2   convictions were reversed on appeal. The district court denied the government’s

      3   motion, believing that it “lacked the authority to retry the defendants because the

      4   mandates reversing defendants’ convictions did not include an order remanding

      5   the cases.” Cote, 51 F.3d at 180-81. Though the Ninth Circuit confirmed that the

      6   district court could not conduct “a proceeding inconsistent with the reversal of the

      7   defendants’ convictions,” it held that just “because the mandates did not contain

      8   an order dismissing the cases or an order directing acquittal, a second trial was not

      9   necessarily prohibited.” Id. at 181-82.

     10         Also instructive is Caldwell v. Puget Sound Elec. Apprenticeship &

     11   Training Trust, 824 F.2d 765 (9th Cir. 1987), a Title VII case, where the district

     12   court awarded the plaintiffs back pay, attorneys’ fees and front pay. The

     13   defendants appealed, and the parties stipulated “to stay the award of back pay and

     14   attorney’s fees pending appeal.” Defendants moved to stay the award of front pay

     15   pending appeal, but their motion was denied, so the front pay was provided to

     16   plaintiffs. See id. at 766.

     17         On appeal, the Ninth Circuit reversed the plaintiff’s award. See id. The

     18   Ninth Circuit’s mandate, however,

     19         [D]id not authorize or order refunding the front pay, nor did the court
                remand the case for further proceedings. The disposition read Reversed and
     20         nothing more. The district court complied with the order of the appellate
                court and entered judgment for the defendants.
     21
          Id. The defendants subsequently filed a motion in the district court, seeking
     22
          restitution of the front pay given to plaintiffs. The district court granted the
     23
          motion. See id.
     24
                Plaintiffs appealed, arguing, inter alia, that the district court exceeded the
     25
          scope of the appellate court’s mandate. They maintained that the “opinion’s
     26
          silence about front pay means that restitution of the front pay goes beyond [the
     27
          appellate court’s] mandate.” Id. at 767. The Ninth Circuit swiftly rejected this:
     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                      14.

                                            871
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
                             Document        Filed
                                         Filed
                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5095
                                                          Page
                                                   01/23/17               Page
                                                               21 of 29 Page
                                                             PageID.2324         879of
                                                                             ID 149
                                                                          Page  #:155of
                                      1196
                                       445


      1         This contention misunderstands the equitable nature of restitution. Upon
                return of its mandate, the district court cannot give relief beyond the scope
      2         of that mandate, but it may act on ‘matters left open by the mandate.’ . . .
                Restitution, therefore, need only be consistent with the mandate, not
      3         specifically mentioned in the opinion. . . . Requiring plaintiffs to refund the
                front pay was entirely consistent with our mandate.
      4
          Id.
      5
                Even when an appellate court reverses and states that “its reversal ‘was
      6
          without remand for a second trial,’” further proceedings in the trial court are not
      7
          foreclosed. See Exxon Chem., 137 F.3d at 1478, 1483. In Exxon Chem., Exxon
      8
          brought a patent infringement action and obtained a jury verdict in its favor on a
      9
          theory of literal infringement. On appeal, the Federal Circuit rejected the claim
     10
          construction advanced by Exxon, and reversed. See 137 F.3d at 1477.
     11
                Exxon sought a new trial under the doctrine of equivalents, but the district
     12
          court denied Exxon’s motion, concluding that the appellate court’s mandate
     13
          precluded such relief. On appeal, the Federal Circuit reversed again. Its prior
     14
          mandate did not prevent the district court from granting a new trial, because its
     15
          earlier opinion addressed only the issue of literal infringement. See id. at 1477-78.
     16
          The court also rejected the argument that, because “[t]he operative language of the
     17
          judgment consisted of the single word ‘reversed,’” and because the words “‘and
     18
          remanded’” were omitted from the judgment,23 no further proceedings were
     19
          allowed in the district court. See id. at 1483. Interpreting the mandate
     20
                entails more than examining the language of the court’s judgment in a
     21         vacuum. . . . As an initial matter, every appellate court judgment vests
                jurisdiction in the district court to carry out some further proceedings. In
     22         some cases, those further proceedings may be purely ministerial, as when a
                judgment for the plaintiff is reversed and the only matters that remain for
     23         the district court are to dismiss the complaint and enter the judgment in the
                docket. Frequently, however, the disposition of a case in the court of
     24         appeals will require the district court to undertake more significant
                proceedings. In either case, the nature of the district court's remaining tasks
     25
     26
                23
                 In its prior opinion, after resolving the merits of the appeal, the court stated
     27 that “Lubrizol was ‘entitled to a judgment of noninfringement as a matter of law,’”
     28 and that “its reversal was ‘without remand for a second trial.’” Id. at 1478.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     15.

                                            872
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
                             Document        Filed
                                         Filed
                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5096
                                                          Page
                                                   01/23/17               Page
                                                               22 of 29 Page
                                                             PageID.2325         880of
                                                                             ID 150
                                                                          Page  #:156of
                                      1196
                                       445


      1         is discerned not simply from the language of the judgment, but from the
                judgment in combination with the accompanying opinion.
      2
          Id.
      3
                Given these authorities, there is nothing in the Ninth Circuit’s mandate that
      4
          prevents this Court from proceeding with the present motion.
      5
                C.     This Motion Is Timely
      6
                Hyde & Swigart has suggested that this motion is untimely, but there is no
      7
          set deadline for filing this motion. They cannot rely upon the 14-day deadline set
      8
          forth in Rule 54(d)(2)(B)(i) of the Federal Rules of Civil Procedure, because it
      9
          does “not apply to claims for fees and expenses as . . . sanctions under 28 U.S.C. §
     10
          1927.” Fed. R. Civ. P. 54(d)(2)(E); see Plaskon v. Public Hosp. Dist. No. 1 of
     11
          King County, 2008 WL 249019, *1 (W.D. Wash. Jan. 8, 2008); Religious Tech.
     12
          Ctr. v. Gerbode, 1994 WL 228607, *6 n.5 (C.D. Cal. May 2, 1994). Nor does that
     13
          deadline apply to a motion for sanctions under the court’s inherent authority. See
     14
          Plaskon, 2008 WL 249019 at *1.24 As one circuit court has declared, “a court’s
     15
          jurisdiction to issue sanctions under 28 U.S.C. § 1927 or pursuant to a court’s
     16
          inherent authority is ever present.” Red Carpet Studios Division of Source
     17
          Advantage, Ltd. v. Sater, 465 F.3d 642, 645 (6th Cir. 2006).
     18
                Given that section 1927 “is silent as to when sanctions can no longer be
     19
          imposed,” it is not surprising that the Supreme Court “has consistently held that
     20
          federal courts retain jurisdiction over issues – such as sanctions – that are
     21
          collateral to the merits.” Id., citing Cooter & Gell v. Hartmarx Corp., 496 U.S.
     22
          384, 395 (1990). In Cooter, the high court held that a district court could entertain
     23
          a Rule 11 motion even after the plaintiff had voluntarily dismissed its action. See
     24
     25         24
                 Rule 59(e) of the Federal Rules of Civil Procedure also does not delimit the
     26 time for bringing this motion. See Plaskon, 2008 WL 249019, *1; see also White v.
        New Hampshire Dep’t of Employment Security, 455 U.S. 445, 452-53 (1982) (holding
     27 that Fed. R. Civ. P. 59(e) deadline does not apply to motion for attorney’s fees under
     28 42 U.S.C. § 1988).
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     16.

                                            873
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
                             Document        Filed
                                         Filed
                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5097
                                                          Page
                                                   01/23/17               Page
                                                               23 of 29 Page
                                                             PageID.2326         881of
                                                                             ID 151
                                                                          Page  #:157of
                                      1196
                                       445


      1   496 U.S. at 395; see also Willy v. Coastal Corp., 503 U.S. 131 (1992) (district

      2   court can impose sanctions under Rule 11 even where subject matter jurisdiction is

      3   lacking). The Cooter Court emphasized the importance of allowing the district

      4   court the ability to impose sanctions for misconduct, even after the litigation has

      5   concluded:

      6         Baseless filing puts the machinery of justice in motion, burdening courts
                and individuals alike with needless expense and delay. Even if the careless
      7         litigant quickly dismisses the action, the harm triggering Rule 11's concerns
                has already occurred. Therefore, a litigant who violates Rule 11 merits
      8         sanctions even after a dismissal. Moreover, the imposition of such
                sanctions on abusive litigants is useful to deter such misconduct. If a
      9         litigant could purge his violation of Rule 11 merely by taking a dismissal, he
                would lose all incentive to ‘stop, think and investigate more carefully before
     10         serving and filing papers.’

     11   Cooter, 496 U.S. at 398. The power to sanction “is critically important to the

     12   ability of district court’s to punish misconduct by the parties or counsel. That is

     13   particularly so where the misconduct can impose significant costs on the adversary

     14   of the offending party and can significantly burden the resources of the judicial

     15   system.” Samsung Elec. Co., Ltd. v. Rambus, Inc., 440 F. Supp. 2d 512, 522 (E.D.

     16   Va. 2006).

     17         Because there is “no material difference between the collateral character of

     18   sanctions under Rule 11 and sanctions awarded under 28 U.S.C. § 1927 or

     19   pursuant to a court’s inherent authority,” the court can impose the sanctions

     20   requested here at any time. See Red Carpet, 465 U.S. at 645; see also Ratliff v.

     21   Stewart, 508 F.3d 225, 231-32 (5th Cir. 2007) (request for sanctions under § 1927,

     22   like under Rule 11, is “similarly part of a court’s collateral jurisdiction”).

     23   Midland’s motion is timely.

     24         At the February 22, 2010 Status Conference, Hyde & Swigart suggested that

     25   Midland is precluded from bringing this motion because Midland did not appeal

     26   the district court’s ruling. Midland, of course, prevailed in the district court so

     27   there was nothing for it to appeal. This argument makes no sense.

     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     17.

                                             874
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
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                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5098
                                                          Page
                                                   01/23/17               Page
                                                               24 of 29 Page
                                                             PageID.2327         882of
                                                                             ID 152
                                                                          Page  #:158of
                                      1196
                                       445


      1         Regardless, even where a party did not raise an issue on appeal (which is

      2   not the case here – Midland argued to the Ninth Circuit that Judge Schiavelli’s

      3   ruling could be affirmed on alternative grounds) the party is not precluded from

      4   raising the issue, following reversal, when it prevailed previously. See Morrison

      5   v. Mahoney, 399 F.3d 1042, 1046 (9th Cir. 2005). Following reversal, it is well

      6   within the Court’s discretion to allow a party to raise an issue that could have

      7   been, but was not, raised in an earlier proceeding, particularly where the issue

      8   involves a question of law, the failure to raise it earlier was not a result of bad

      9   faith and the opposing party would not be prejudiced by its consideration. See

     10   Riley v. MEBA Pension Trust, 452 F. Supp. 117, 120 (S.D.N.Y. 1978) (considering

     11   question where “Defendant's failure to raise the question earlier, however

     12   regrettable, did not prejudice plaintiff, since the legal question can be argued now

     13   as readily as a year ago” and there was no evidence defendant acted in bad faith in

     14   failing to raise argument earlier), citing Emich Motors Corp. v. General Motors

     15   Corp., 15 F.R.D. 354, 356 (N.D. Ill. 1953). Similarly, the Ninth Circuit recently

     16   rejected an argument that by failing to raise an argument on appeal, a party had

     17   waived the argument and could not raise it in the district court following the

     18   appellate court’s reversal. See United States v. Moriel-Luna, 585 F.3d 1191, 1199

     19   n.6 (9th Cir. 2009).

     20         Just as a party should not be allowed to escape liability by offering to pay its

     21   opponent’s fees and voluntarily dismissing its action, thereby attempting to

     22   deprive the court of jurisdiction to award sanctions, counsel should not be

     23   permitted to avoid responsibility for its misconduct simply because the court

     24   elected to impose sanctions under the wrong legal provision. Cf. Samsung Elec.

     25   Co., Ltd., 440 F. Supp. 2d at 522-23 (court had jurisdiction to consider request for

     26   sanctions under inherent authority and 35 U.S.C. § 285 despite defendant’s offer

     27   to pay plaintiff’s attorneys’ fees).

     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     18.

                                             875
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
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                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5099
                                                          Page
                                                   01/23/17               Page
                                                               25 of 29 Page
                                                             PageID.2328         883of
                                                                             ID 153
                                                                          Page  #:159of
                                      1196
                                       445


      1         Whether Judge Schiavelli’s undisturbed findings warrant the imposition of

      2   sanctions under section 1927 or the Court’s inherent authority is a question of law

      3   that can be addressed as easily now as it could have been previously. Midland did

      4   not act in bad faith in not presenting the issue earlier, and addressing it now, using

      5   the existing record, would not prejudice Hyde & Swigart. This was no ordinary

      6   case, and Midland did not seek sanctions just because it won and the plaintiff lost.

      7   Judge Schiavelli clearly believed counsel’s conduct warranted the imposition of

      8   significant sanctions. The issue can and should be addressed now.

      9         D.     Midland Is Entitled To An Award Of Attorneys’ Fees And Costs
                       Pursuant To 28 U.S.C. § 1927
     10
                Hyde & Swigart should be held responsible for the attorneys’ fees and costs
     11
          incurred by Midland pursuant to 28 U.S.C. § 1927, because they recklessly and
     12
          knowingly abused the judicial process. “Any attorney . . . who so multiplies the
     13
          proceedings in any case unreasonably and vexatiously may be required by the
     14
          court to satisfy personally the excess costs, expenses, and attorneys’ fees
     15
          reasonably incurred because of such conduct.” 28 U.S.C. § 1927. Such an award
     16
          is particularly appropriate in cases like this, where the record shows that attorneys
     17
          have abused the judicial process. As the Supreme Court explains, section 1927
     18
                does not distinguish between winners and losers, or between plaintiffs and
     19         defendants. The statute is indifferent to the equities of a dispute and to the
                values advanced by the substantive law. It is concerned only with limiting
     20         the abuse of court processes.

     21   Roadway Express, Inc. v. Piper, 447 U.S. 752, 762 (1980).

     22         Even though this Court has already held that Hyde & Swigart acted in bad

     23   faith, the Ninth Circuit confirmed in B.K.B. v. Maui Police Dep’t, 276 F.3d 1091,

     24   1107 (9th Cir. 2002), that a bad faith finding is not required. Sanctions may be

     25   imposed under section 1927 against an attorney who merely acts recklessly.25

     26
     27         25
                See also Gomez v. Vernon, 255 F.3d 1118, 1134 (9th Cir. 2001) (“Section
     28 1927 requires a finding of recklessness or bad faith.” (emphasis added)).
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     19.

                                            876
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
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                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5100
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                                                   01/23/17               Page
                                                               26 of 29 Page
                                                             PageID.2329         884of
                                                                             ID 154
                                                                          Page  #:160of
                                      1196
                                       445


      1         In B.K.B., after the district court denied two pretrial motions to introduce

      2   evidence governed by Rule 412 of the Federal Rules of Evidence, defense counsel

      3   misleadingly informed the court during a sidebar conference that the testimony he

      4   was about to elicit was not governed by the rule. Though the district court stopped

      5   short of finding that counsel had acted in bad faith, it concluded that eliciting the

      6   testimony – which clearly implicated Rule 412 – “was a knowing and intentional

      7   violation” of the rule, warranting sanctions under section 1927 (as well as its

      8   inherent powers). See id. at 1098, 1106.

      9         The Ninth Circuit affirmed. The appellate court was “convinced that the

     10   district court clearly erred in stopping short of explicitly finding that the

     11   defendant’s lawyers acted in bad faith,” id. at 1106-07, but clarified that a finding

     12   of bad faith was not necessary. Rather, it “conclude[d] that the district court’s

     13   finding of recklessness plus knowledge was sufficient.” Id. at 1107.

     14         Here, Judge Schiavelli expressly found that Hyde & Swigart acted in bad

     15   faith. The Ninth Circuit did not disturb this finding. That alone is sufficient to

     16   support an award under section 1927. The record is replete with evidence that

     17   Hyde & Swigart acted recklessly in pursuing this action.

     18         For instance, the lawsuits filed by Del Nero, including this case and other

     19   cases filed for him by Hyde & Swigart, show that Del Nero often made nearly

     20   identical allegations against debt collectors. Similarly, the fact that Del Nero had

     21   twice sued his mother, and a review of allegations he made against her in those

     22   lawsuits – including that she had threatened his life – would have revealed the

     23   volatile nature of their relationship, raising serious issues about whether she

     24   should be called as a key witness to support his case. The swift withdrawal of

     25   both Mr. Stempler and Vania Chaker as Del Nero’s counsel, and Mr. Stempler’s

     26   later withdrawal as counsel for Del Nero’s mother, should have raised a red flag.

     27   Mr. Swigart’s conclusion – after the initial interview of Del Nero – that there was

     28   no basis for proceeding against MRC, shows that Hyde & Swigart acted
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     20.

                                             877
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    246
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                                      47-1          09/23/22
                                                03/01/10
                                             Filed           PageID.5101
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                                                   01/23/17               Page
                                                               27 of 29 Page
                                                             PageID.2330         885of
                                                                             ID 155
                                                                          Page  #:161of
                                      1196
                                       445


      1   knowingly and recklessly by continuing to pursue those claims through trial. In

      2   sum, sanctions are appropriate under section 1927.

      3         E.     The Court Can Sanction Hyde & Swigart Under Its Inherent
                       Powers
      4
                Hyde & Swigart should also be sanctioned under this Court’s “inherent
      5
          power,” given Judge Schiavelli’s finding that they “participated in filing bad faith
      6
          FDCPA actions.” See Docket Entry No. 193 at p. 4. A district court has certain
      7
          “inherent” powers, including the power to “levy sanctions in response to abusive
      8
          litigation practices.” See Roadway Express, 447 U.S. at 765.26 “The inherent
      9
          powers of federal courts are those that ‘are necessary to the exercise of all
     10
          others.’” Primus Auto. Fin. Servs., Inc. v. Batarse, 115 F.3d 644, 648 (9th Cir.
     11
          1997), quoting Roadway Express, 447 U.S. at 764.
     12
                These inherent powers include the power to sanction an attorney for “bad
     13
          faith” conduct by directing the attorney to pay the fees incurred by the opposing
     14
          party. See Roadway Express, 447 U.S. at 765-66 (“If a court may tax counsel fees
     15
          against a party who has litigated in bad faith, it certainly may assess those
     16
          expenses against counsel who willfully abuse judicial processes.”). Bad faith
     17
          conduct, however, is not a prerequisite to the court’s exercise of its inherent
     18
          authority: conduct “‘tantamount to bad faith’ is sanctionable,” also. B.K.B., 276
     19
          F.3d at 1108; accord Fink v. Gomez, 239 F.3d 989, 993-94 (9th Cir. 2001); Gomez
     20
          v. Vernon, 255 F.3d at 1134 (district court did not commit clear error “in finding
     21
          conduct tantamount to bad faith” and imposing sanctions under its inherent
     22
          authority where attorney knowingly disregarded advice of state bar counsel
     23
     24
     25         26
                 A district court’s inherent power to sanction parties or attorneys is not
     26 displaced by other statutes or rules that allow a court to impose sanctions, such as
        section 1927 or Rule 11. See Chambers v. NASCO, Inc., 501 U.S. 32, 42-43 (1991).
     27 Thus, whether the Court can exercise its inherent powers now is independent of the
     28 Ninth Circuit’s ruling that fees were not properly awarded under section 1692k(a)(3).
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     21.

                                            878
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
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                                                03/01/10
                                                   01/23/17  PageID.5102
                                                          Page
                                                             PageID.2331  Page
                                                               28 of 29 Page
                                                                          Page   886of
                                                                             ID 156
                                                                                #:162of
                                      1196
                                       445


      1   regarding receipt of privileged materials, and continued to intercept such

      2   materials).

      3         Reckless conduct, combined with an improper purpose or knowing

      4   misconduct, is sanctionable under the court’s inherent powers. See B.K.B., 276

      5   F.3d at 1107-08; see also Fink, 239 F.3d at 994 (sanctions permitted where

      6   attorney acts with “recklessness when combined with an additional factor such as

      7   frivolousness, harassment, or an improper purpose”); In Re Itel Secs. Litig., 791

      8   F.2d 672, 675 (9th Cir. 1986) (sanctions proper where counsel “willfully abused

      9   judicial process or otherwise conducted litigation in bad faith.”).

     10         The fact that Hyde & Swigart claim they believed certain of the claims were

     11   colorable, or that the claims survived the Rule 52 motion, does not change the

     12   analysis. An attorney may act in “bad faith” even when pursuing a colorable

     13   claim.27 The Ninth Circuit has held that a finding of bad faith “does not require

     14   that the legal and factual basis for the action prove totally frivolous; where a

     15   litigant is substantially motivated by vindictiveness, obduracy, or mala fides, the

     16   assertion of a colorable claim will not bar the assessment of attorney’s fees.

     17   (Citation).” In Re Itel Secs. Litig., 791 F.2d at 675 (emphasis supplied); see also

     18   Fink, 239 F.3d at 992 (“Itel teaches that sanctions are justified when a party acts

     19   for an improper purpose – even if the act consists of making a truthful statement

     20   or a non-frivolous argument or objection.”).

     21         Judge Schiavelli was free to consider Hyde & Swigart’s conduct in other

     22   litigation when determining if their conduct in this case supported a finding of bad

     23   faith. See Artese v. Academy Collection Serv., Inc., 2000 WL 133733, at *4 (D.

     24   Conn. Jan. 18, 2000); see also Johnson v. Commissioner of Internal Revenue, 289

     25   F.3d 452, 456-57 (7th Cir. 2002) (“The Tax Court was not required to ignore

     26
                27
                Even if the entire action was not “filed” in bad faith, an award of fees may
     27 be based upon counsel’s bad faith conduct during the litigation. See Roadway
     28 Express, 447 U.S. at 766.
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     22.

                                            879
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    246
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                                             Filed  09/23/22
                                                03/01/10
                                                   01/23/17  PageID.5103
                                                          Page
                                                             PageID.2332  Page
                                                               29 of 29 Page
                                                                          Page   887of
                                                                             ID 157
                                                                                #:163of
                                      1196
                                       445


      1   Izen’s bad conduct in other cases; indeed it would have been remiss not to

      2   consider it.”). Thus, in Itel, although the objections filed by counsel were not

      3   frivolous, the district court properly concluded that they were asserted in bad faith

      4   and solely to gain an advantage in other pending litigation. See Itel, 791 F.2d at

      5   675-76. Similarly, in Fink, the Ninth Circuit held that an attorney’s reckless

      6   misstatements of fact and law in the case before the district court could amount to

      7   bad faith if the statements were made for the purpose of gaining a tactical

      8   advantage in a separate action. See Fink, 239 F.3d at 994.

      9         Here, again, Judge Schiavelli found that Hyde & Swigart acted in bad faith,

     10   and the Ninth Circuit did not disagree. No further findings are necessary. Cf.

     11   Optyl Eyeware Fashion Int’l Corp. v. Style Cos., Ltd., 760 F.2d 1045, 1051 (9th

     12   Cir. 1985) (remand of § 1927 sanctions order “would elevate form over substance”

     13   where record showed district court necessarily found bad faith). The record amply

     14   supports a finding of bad faith and sanctions under the court’s inherent power.

     15   IV.   CONCLUSION

     16         Midland respectfully requests that the Court hold Hyde & Swigart jointly

     17   and severally liable for the entire amount of ($155,979.09) its prior award of

     18   attorneys’ fees and costs, pursuant to 28 U.S.C. § 1927, and/or the Court’s

     19   inherent authority.

     20
     21   DATED: March 1, 2010                    SIMMONDS & NARITA LLP
                                                  TOMIO B. NARITA
     22                                           JEFFREY A. TOPOR

     23
     24
                                                  By:   s/Tomio B. Narita
     25                                                  Attorneys for Defendants
                                                         Midland Credit Management, Inc. and
     26                                                  MRC Receivables Corporation

     27
     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 GPS (SHx))
          DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES; MEMO IN SUPPORT                     23.

                                            880
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
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                                    47-1 Filed 09/23/22 PageID.2333
                                                        PageID.5104 Page
                                                                    Page158
                                                                         888of
                                                                             of
                                    1196
                                     445




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                                     881
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-3    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5105
                                                              PageID.2334   Page
                                                                  1 of 5 Page
                                                                           Page   889of
                                                                              ID 159
                                                                                 #:240of
                                      1196
                                       445




                   Plaintiff's Exhibit
       Certain excerpts from Defendantsʼ Answering Brief to

          Hyde & Swigartʼs appeal before the Ninth Circuit

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             Midland Credit Management Inc.; MRC Receivables Corp.

                                                 v.

                           Darren Del Nero; Nicole Shaker

                                         04 CV-01040




                         Hyde & Swigart, San Diego, California (619) 233-7770



                                                882
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-3    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5106
                                                              PageID.2335   Page
                                                                  2 of 5 Page
                                                                           Page   890of
                                                                              ID 160
                                                                                 #:241of
                                      1196
                                       445



had later noted his "inability to work with" Del Nero, but they saw no red flags.

No discovery had been conducted in the case, but they were not concerned. They

knew they could not prove any claims against MRC, but they did not move to

 dismiss. While they claim they did not know about Del Nero's criminal history,

 his other lawsuits and his status as a vexatious litigant, they moved to exclude the

 introduction of "impermissible character evidence" about him two months before

 trial.

          During trial, Mr. Hyde "became deeply disappointed and concerned" about

 Del Nero, but appellants did not move to withdraw. Instead, they pressed forward,

 seeking a judgment on his behalf. At the November 27,2006 hearing on

 appellees' fee motion, Mr. Hyde told the district court that he and Mr. Swigart

 were "no longer interested and have not been interested for a couple of years in

 representing" Del Nero, yet they had continued to represent Del Nero after the trial

 had finished, filing suit on his behalf months later in another case. They conceded

 that they only took the case because they were "dying" to go to trial.

          Under the circumstances, the district court did not err by holding appellants

 jointly and severally liable for appellees' attorneys' fees and costs.

                B.     The District Court Had The Inherent Power To Hold Hyde
                       & Swigart Jointly And Severally Liable For Payment Of
                       Costs And Attorneys' Fees

          The district court's decision to hold Hyde & Swigart jointly and severally

  liable for the fees and costs incurred by appellees was also justified under the



                                            44


                                             883
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-3    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5107
                                                              PageID.2336   Page
                                                                  3 of 5 Page
                                                                           Page   891of
                                                                              ID 161
                                                                                 #:242of
                                      1196
                                       445



 court's "inherent power" to levy sanctions, because the district court found that

 appellants "participated in filing bad faith FDCPA actions." ER at 336. 36

          A district court has certain "inherent" powers, including the power to "levy

 sanctions in response to abusive litigation practices." See Roadway Express v.

 Piper, Inc., 447 U.S. 752, 765 (1980). These inherent 'powers include the power to

 sanction an attorney for "bad faith" conduct by directing the attorney to pay the

 fees incurred by the opposing party. Id. Even if the entire action was not "filed"

 in bad faith, an award of fees may be based upon counsel's bad faith conduct

 during the litigation. Id. at 766 ("Bad faith may be found, not only in the actions

 that led to the lawsuit, but also in the conduct of the litigation. (Citations).").

          This Court has observed that "[t]he imposition of sanctions under the

 inherent power of the court is proper where counsel has willfully abused judicial

 process or otherwise conducted litigation in bad faith." In Re Itel Sees. Litig., 791

 F.2d 672, 675 (9th Cir. 1986) (citations and internal quotation marks omitted). An

 attorney may also be sanctioned for conduct that is "tantamount to bad faith."

 Fink v. Gomez, 239 F.3d 989, 993-94 (9th Cir. 2001). Thus, inherent power

 sanctions may be awarded where an attorney acts with "recklessness when

 combined with an additional factor such as frivolousness, harassment, or an

 improper purpose." Id. at 994.


      This court may affirm on any basis supported by the record. See Hall v.
     36

 North Am. Van Lines, Inc., 476 F.3d 683,686 (9th Cir. 2007).


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                                              884
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-3    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5108
                                                              PageID.2337   Page
                                                                  4 of 5 Page
                                                                           Page   892of
                                                                              ID 162
                                                                                 #:243of
                                      1196
                                       445



       The fact that Hyde & Swigart claim they believed certain of the claims were

colorable, or that the claims survived the Rule 52 motion, does not change the

analysis. An attorney may act in "bad faith" even when pursuing a colorable

 claim. This Court has held that a finding of bad faith "does not require that the

 legal and factual basis for the action prove totally frivolous; where a litigant is

 substantially motivated by vindictiveness, obduracy, or mala fides, the assertion

 of a colorable claim will not bar the assessment of attorney's fees. (Citation)."

 In Re Itel Sees. Litig., 791 F.2d at 675 (emphasis supplied); see also Fink, 239

 F.3d at 992 ("Itel teaches that sanctions are justified when a party acts for an

 improper purpose - even if the act consists of making a truthful statement or a

 non-frivolous argument or objection.").

        The district court may consider counsel's conduct in other litigation as part

 of determining whether counsel's conduct in the case before the court supports a

 finding of bad faith. Thus, in Itel, although the objections filed by counsel were

 not frivolous, the district court properly concluded that they were asserted in bad

 faith and solely to gain an advantage in other pending litigation. See Itel, 791 F.2d

 at 675-76. Similarly, in Fink, this Court held that an attorney's reckless

 misstatements of fact and law in the case before the district court may amount to

 bad faith ifthe statements are made for the purpose of gaining a tactical advantage

 in a separate action. See Fink, 239 F.3d at 994.

        A district court's inherent power to sanction parties or attorneys is not



                                            46



                                             885
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    247-3    Filed03/08/10
                                      47-1 Filed
                                            Filed   09/23/22 Page
                                                   01/23/17   PageID.5109
                                                              PageID.2338   Page
                                                                  5 of 5 Page
                                                                           Page   893of
                                                                              ID 163
                                                                                 #:244of
                                      1196
                                       445



displaced by other statutes or rules that allow a court to impose sanctions, such as

 28 U.S.C. § 1927 or Rule 11. See Chambers v. NASCO, Inc., 501 U.S. 32, 42-43

 (1991). Thus, whether the district court properly exercised its inherent powers is

 independent of whether fees were properly awarded under section l692k(a)(3).

       Even though the district court did not expressly find bad faith under its

 "inherent power," the case need not be remanded, since the record amply supports

 such a finding. A remand is not required if "a complete understanding of the

 issues may be had [from the record] without the aid of separate findings." See

 Optyl Eyewear Fashion Intern. Corp., 760 F.2d at 1051 (remand of section 1927

 sanctions order "would elevate form over substance" where record showed district

 court necessarily found bad faith).37

 VI.   THE DISTRICT COURT CORRECTLY FOUND THAT THE
       ATTORNEYS' FEES AND COSTS INCURRED BY APPELLEES
       WERE REASONABLE

        Appellants contend that the district court erred in awarding appellees

 $155,979.09 in attorneys' fees and costs because (1) the fee request included

 admittedly erroneous items, (2) counsel spent an excessive number of hours

 reviewing Mr. Hyde's declaration and (3) counsel's hourly rate was inflated. See



     37 If, however, this Court believes that a specific finding under the district
 court's inherent power is required, the matter can be remanded for that purpose.
 On remand, appellees submit that the district court would also have the discretion
 to issue an order to show cause whether appellants' conduct violated Rule 11 or 28
 U.S.C. § 1927.


                                          47



                                           886
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1 Filed01/23/17
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                                                                         894of
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                                    1196
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                        EXHIBIT N




                                     887
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
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                                                                1 of 33 Page
                                                                          Page   895of
                                                                             ID #:164
                                                                                165  of
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                                         888
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                                                166  of
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                                         889
Case
 Case3:16-cv-02186-WQH-MDD
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                                         890
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                                4 of 33 Page
                                                                          Page   898of
                                                                             ID #:167
                                                                                168  of
                                     1196
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                                         891
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5115
                                                           Page
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                                                                5 of 33 Page
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                                                                             ID #:168
                                                                                169  of
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                                         892
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                    247       Filed
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                                                   01/23/17  PageID.5116
                                                           Page
                                                             PageID.2345   Page
                                                                6 of 33 Page
                                                                          Page   900of
                                                                             ID #:169
                                                                                170  of
                                     1196
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                                         893
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                           Page
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                                                                7 of 33 Page
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                                                                             ID #:170
                                                                                171  of
                                     1196
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                                         894
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5118
                                                           Page
                                                             PageID.2347   Page
                                                                8 of 33 Page
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                                                                             ID #:171
                                                                                172  of
                                     1196
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Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5119
                                                           Page
                                                             PageID.2348   Page
                                                                9 of 33 Page
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                                                                             ID #:172
                                                                                173  of
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                                         896
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5120
                                                          Page
                                                             PageID.2349  Page
                                                               10 of 33 Page
                                                                          Page   904of
                                                                             ID 174
                                                                                #:173of
                                      1196
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                                         897
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5121
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                                                               11 of 33 Page
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                                                                             ID 175
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                                      1196
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Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5122
                                                          Page
                                                             PageID.2351  Page
                                                               12 of 33 Page
                                                                          Page   906of
                                                                             ID 176
                                                                                #:175of
                                      1196
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Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5123
                                                          Page
                                                             PageID.2352  Page
                                                               13 of 33 Page
                                                                          Page   907of
                                                                             ID 177
                                                                                #:176of
                                      1196
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                                         900
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                               14 of 33 Page
                                                                          Page   908of
                                                                             ID 178
                                                                                #:177of
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                                         901
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
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                                                                             ID 179
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                                         902
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                                             ID 180
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                                         903
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5127
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                                                             PageID.2356  Page
                                                               17 of 33 Page
                                                                          Page   911of
                                                                             ID 181
                                                                                #:180of
                                      1196
                                       445




                                         904
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5128
                                                          Page
                                                             PageID.2357  Page
                                                               18 of 33 Page
                                                                          Page   912of
                                                                             ID 182
                                                                                #:181of
                                      1196
                                       445




                                         905
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5129
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                                                             PageID.2358  Page
                                                               19 of 33 Page
                                                                          Page   913of
                                                                             ID 183
                                                                                #:182of
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                                         906
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5130
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                                                             PageID.2359  Page
                                                               20 of 33 Page
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                                                                             ID 184
                                                                                #:183of
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                                         907
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5131
                                                          Page
                                                             PageID.2360  Page
                                                               21 of 33 Page
                                                                          Page   915of
                                                                             ID 185
                                                                                #:184of
                                      1196
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                                         908
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5132
                                                          Page
                                                             PageID.2361  Page
                                                               22 of 33 Page
                                                                          Page   916of
                                                                             ID 186
                                                                                #:185of
                                      1196
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                                         909
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5133
                                                          Page
                                                             PageID.2362  Page
                                                               23 of 33 Page
                                                                          Page   917of
                                                                             ID 187
                                                                                #:186of
                                      1196
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                                         910
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5134
                                                          Page
                                                             PageID.2363  Page
                                                               24 of 33 Page
                                                                          Page   918of
                                                                             ID 188
                                                                                #:187of
                                      1196
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                                         911
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5135
                                                          Page
                                                             PageID.2364  Page
                                                               25 of 33 Page
                                                                          Page   919of
                                                                             ID 189
                                                                                #:188of
                                      1196
                                       445




                                         912
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
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                                                   01/23/17  PageID.5136
                                                          Page
                                                             PageID.2365  Page
                                                               26 of 33 Page
                                                                          Page   920of
                                                                             ID 190
                                                                                #:189of
                                      1196
                                       445




                                         913
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                          Page
                                                             PageID.2366  Page
                                                               27 of 33 Page
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                                                                             ID 191
                                                                                #:190of
                                      1196
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                                         914
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                          Page
                                                             PageID.2367  Page
                                                               28 of 33 Page
                                                                          Page   922of
                                                                             ID 192
                                                                                #:191of
                                      1196
                                       445




                                         915
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5139
                                                          Page
                                                             PageID.2368  Page
                                                               29 of 33 Page
                                                                          Page   923of
                                                                             ID 193
                                                                                #:192of
                                      1196
                                       445




                                         916
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5140
                                                          Page
                                                             PageID.2369  Page
                                                               30 of 33 Page
                                                                          Page   924of
                                                                             ID 194
                                                                                #:193of
                                      1196
                                       445




                                         917
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
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                                                   01/23/17  PageID.5141
                                                          Page
                                                             PageID.2370  Page
                                                               31 of 33 Page
                                                                          Page   925of
                                                                             ID 195
                                                                                #:194of
                                      1196
                                       445




                                         918
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
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                                                          Page
                                                             PageID.2371  Page
                                                               32 of 33 Page
                                                                          Page   926of
                                                                             ID 196
                                                                                #:195of
                                      1196
                                       445




                                         919
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
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                                                   01/23/17  PageID.5143
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                                                             PageID.2372  Page
                                                               33 of 33 Page
                                                                          Page   927of
                                                                             ID 197
                                                                                #:196of
                                      1196
                                       445




                                         920
Case
Case3:16-cv-02186-WQH-MDD
     3:16-cv-02186-WQH-MDD Document
                           Document127-1 Filed01/23/17
                                    47-1 Filed 09/23/22 PageID.2373
                                                        PageID.5144 Page
                                                                    Page198
                                                                         928of
                                                                             of
                                    1196
                                     445




                        EXHIBIT O




                                     921
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
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                                                03/18/10
                                                   01/23/17  PageID.5145
                                                          Page
                                                             PageID.2374  Page
                                                               1 of 230 Page
                                                                          Page   929of
                                                                             ID 199
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                                      1196
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      6 Attorneys for Defendants
        Midland Credit Management, Inc. and
      7 MRC Receivables Corporation
      8
      9                         UNITED STATES DISTRICT COURT
     10                        CENTRAL DISTRICT OF CALIFORNIA
     11
     12
           DARREN DEL NERO and NICOLE )               CASE NO.: CV 04-1040 ABC (SHx)
     13    SHAKER,                    )
                                      )
     14            Plaintiffs,        )               DECLARATION OF JEFFREY A.
                                      )               TOPOR IN SUPPORT OF
     15            vs.                )               DEFENDANTS’ MOTION FOR
                                      )               AWARD OF ATTORNEYS’ FEES
     16    MIDLAND CREDIT             )               AND COSTS PURSUANT TO 28
           MANAGEMENT, INC. MRC       )               U.S.C. § 1927 AND THE COURT’S
     17    RECEIVABLES CORP. and DOES )               INHERENT AUTHORITY
           1-10,                      )
     18                               )
                   Defendants.        )
     19                               )
                                      )
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     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
          TOPOR DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR
          AW ARD OF ATTORNEYS’ FEES


                                            922
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
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                                      47-1          09/23/22
                                                03/18/10
                                             Filed           PageID.5146
                                                          Page
                                                   01/23/17               Page
                                                               2 of 230 Page
                                                             PageID.2375         930of
                                                                             ID 200
                                                                          Page  #:256of
                                      1196
                                       445


      1            I, Jeffrey A. Topor, declare:
      2            1.    I am an attorney duly licensed to practice in this district court and
      3   before all courts of the State of California. I am associated with Simmonds &
      4   Narita LLP, counsel of record for defendants Midland Credit Management, Inc.
      5   and MRC Receivables Corp. in this action. I make this declaration in support of
      6   Defendants’ Motion for Award of Attorneys’ Fees and Costs Pursuant to
      7   28 U.S.C. § 1927 and the Court’s Inherent Authority. I have personal knowledge
      8   of the facts set forth below, and could and would testify thereto if called upon to
      9   do so.
     10            2.    Attached hereto as Exhibit A is a true and correct copy of Trial
     11   Exhibit 28, the Petition for Injunction Prohibiting Harassment in the action Darren
     12   D. Chaker v. Nicole Chaker; Sonia Tomina, case number BS070255 in the
     13   Superior Court of California, County of Los Angeles.
     14            3.    Attached hereto as Exhibit B is a true and correct copy of Trial
     15   Exhibit 29, the Complaint for Restraining Order (Amended) in the action Darren
     16   David Chaker v. Sonia Tomina, Nicole Chaker, case number RCV 057124 in the
     17   Superior Court of California, County of San Bernardino.
     18            4.    Attached hereto as Exhibit C is a true and correct copy of the cover
     19   page, the cited pages and the reporter’s certificate to the transcript of trial
     20   proceedings dated March 17, 2005.
     21            5.    Attached hereto as Exhibit D is a true and correct copy of the cover
     22   page, the cited pages and the reporter’s certificate to the transcript of trial
     23   proceedings dated March 15, 2005.
     24            6.    Attached hereto as Exhibit E are true and correct copies of Trial
     25   Exhibits 24, 39, 40, and 41, pages from Nicole Chaker’s 2003 Appointment Book.
     26            7.    Attached hereto as Exhibit F is a true and correct copy of Trial
     27   Exhibit 27, the Verified Complaint for Damages in the action Darren D. Chaker v.
     28
          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
          TOPOR DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR
          AW ARD OF ATTORNEYS’ FEES                                                              1.

                                              923
Case
 Case3:16-cv-02186-WQH-MDD
Case                        Document
      2:04-cv-01040-ABC-SH Document
     3:16-cv-02186-WQH-MDD            127-1
                                    252
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                                      47-1          09/23/22
                                                03/18/10
                                             Filed           PageID.5147
                                                          Page
                                                   01/23/17               Page
                                                               3 of 230 Page
                                                             PageID.2376         931of
                                                                             ID 201
                                                                          Page  #:257of
                                      1196
                                       445


      1   Imperial Collection Services, case number CV04-2728 PA in the United States
      2   District Court, Central District of California.
      3         8.     Attached hereto as Exhibit G is a true and correct copy of Trial
      4   Exhibit 26, the Complaint for Violating the Fair Debt Collection Practices Act and
      5   Demand For Jury Trial in the action Darren Del Nero v. Riddle & Assocs., P.C., et
      6   al., case number LACC03-6511 in the United States District Court, Central
      7   District of California.
      8         9.     Attached hereto as Exhibit H is a true and correct copy of the cover
      9   page, the cited pages and the reporter’s certificate to the transcript of trial
     10   proceedings dated March 16, 2005
     11         10.    Attached hereto as Exhibit I is a true and correct copy of the cover
     12   page, the cited pages and the reporter’s certificate to the transcript of trial
     13   proceedings dated March 23, 2005.
     14         11.    Attached hereto as Exhibit J is a true and correct copy of the cover
     15   page, the cited pages and the reporter’s certificate to the transcript of transcript of
     16   trial Proceedings dated March 22, 2005.
     17         12.    Attached hereto as Exhibit K is a true and correct copy of the cover
     18   page, the cited pages and the reporter’s certificate to the transcript of trial
     19   proceedings dated March 24, 2005.
     20         13.    Attached hereto as Exhibit L is a true and correct copy of the cover
     21   page, the cited pages and the reporter’s certificate to the transcript of the hearing
     22   on Defendant’s Motion for Attorneys’ Fees dated November 27, 2006.
     23   14.   Attached hereto as Exhibit M is a true and correct copy of the Order on
     24   Defendants’ Motion For Attorneys’ Fees and Related Non-Taxable Costs filed by
     25   Felipa Richland, Richland & Associates, and Nathan Enterprises Corp. in the
     26   action Darren D. Chaker v. Felipa Richland, et al., case number CV 05-7851 in
     27   the United States District Court, Central District of California.
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          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
          TOPOR DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR
          AW ARD OF ATTORNEYS’ FEES                                                               2.

                                             924
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
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                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5148
                                                          Page
                                                             PageID.2377  Page
                                                               4 of 230 Page
                                                                          Page   932of
                                                                             ID 202
                                                                                #:258of
                                      1196
                                       445


      1         I declare under penalty of perjury that the foregoing is true and correct.
      2   Executed at San Francisco, California on this 18th day of March, 2010 at San
      3   Francisco, California.
      4
                                                  By:           s/Jeffrey A. Topor
      5                                                           Jeffrey A. Topor
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          DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
          TOPOR DECLARATION IN SUPPORT OF DEFENDANTS’ MOTION FOR
          AW ARD OF ATTORNEYS’ FEES                                                             3.

                                            925
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
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                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5149
                                                          Page
                                                             PageID.2378  Page
                                                               5 of 230 Page
                                                                          Page   933of
                                                                             ID 203
                                                                                #:259of
                                      1196
                                       445




                                                           Exhibit A
                                         926
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5150
                                                          Page
                                                             PageID.2379  Page
                                                               6 of 230 Page
                                                                          Page   934of
                                                                             ID 204
                                                                                #:260of
                                      1196
                                       445




                                         927                                     SER 305
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
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                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5151
                                                          Page
                                                             PageID.2380  Page
                                                               7 of 230 Page
                                                                          Page   935of
                                                                             ID 205
                                                                                #:261of
                                      1196
                                       445




                                         928                                     SER 306
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5152
                                                          Page
                                                             PageID.2381  Page
                                                               8 of 230 Page
                                                                          Page   936of
                                                                             ID 206
                                                                                #:262of
                                      1196
                                       445




                                         929                                     SER 307
Case
 Case3:16-cv-02186-WQH-MDD
Case 3:16-cv-02186-WQH-MDD  Document
      2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                    252
                                      47-1   Filed
                                         Filed
                                             Filed  09/23/22
                                                03/18/10
                                                   01/23/17  PageID.5153
                                                          Page
                                                             PageID.2382  Page
                                                               9 of 230 Page
                                                                          Page   937of
                                                                             ID 207
                                                                                #:263of
                                      1196
                                       445




                                         930                                     SER 308
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5154
                                                          Page
                                                             PageID.2383   Page
                                                               10 of 230 Page
                                                                          Page   938
                                                                              ID208  of
                                                                                 #:264
                                                                                    of
                                     1196
                                       445




                                         931                                     SER 309
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5155
                                                          Page
                                                             PageID.2384   Page
                                                               11 of 230 Page
                                                                          Page   939
                                                                              ID209  of
                                                                                 #:265
                                                                                    of
                                     1196
                                       445




                                         932                                     SER 310
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5156
                                                          Page
                                                             PageID.2385   Page
                                                               12 of 230 Page
                                                                          Page   940
                                                                              ID210  of
                                                                                 #:266
                                                                                    of
                                     1196
                                       445




                                         933                                     SER 311
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5157
                                                          Page
                                                             PageID.2386   Page
                                                               13 of 230 Page
                                                                          Page   941
                                                                              ID211  of
                                                                                 #:267
                                                                                    of
                                     1196
                                       445




                                         934                                     SER 312
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5158
                                                          Page
                                                             PageID.2387   Page
                                                               14 of 230 Page
                                                                          Page   942
                                                                              ID212  of
                                                                                 #:268
                                                                                    of
                                     1196
                                       445




                                         935                                     SER 313
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5159
                                                          Page
                                                             PageID.2388   Page
                                                               15 of 230 Page
                                                                          Page   943
                                                                              ID213  of
                                                                                 #:269
                                                                                    of
                                     1196
                                       445




                                         936                                     SER 314
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5160
                                                          Page
                                                             PageID.2389   Page
                                                               16 of 230 Page
                                                                          Page   944
                                                                              ID214  of
                                                                                 #:270
                                                                                    of
                                     1196
                                       445




                                         937                                     SER 315
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5161
                                                          Page
                                                             PageID.2390   Page
                                                               17 of 230 Page
                                                                          Page   945
                                                                              ID215  of
                                                                                 #:271
                                                                                    of
                                     1196
                                       445




                                         938                                     SER 316
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5162
                                                          Page
                                                             PageID.2391   Page
                                                               18 of 230 Page
                                                                          Page   946
                                                                              ID216  of
                                                                                 #:272
                                                                                    of
                                     1196
                                       445




                                         939                                     SER 317
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5163
                                                          Page
                                                             PageID.2392   Page
                                                               19 of 230 Page
                                                                          Page   947
                                                                              ID217  of
                                                                                 #:273
                                                                                    of
                                     1196
                                       445




                                         940                                     SER 318
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5164
                                                          Page
                                                             PageID.2393   Page
                                                               20 of 230 Page
                                                                          Page   948
                                                                              ID218  of
                                                                                 #:274
                                                                                    of
                                     1196
                                       445




                                         941                                     SER 319
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5165
                                                          Page
                                                             PageID.2394   Page
                                                               21 of 230 Page
                                                                          Page   949
                                                                              ID219  of
                                                                                 #:275
                                                                                    of
                                     1196
                                       445




                                         942                                     SER 320
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5166
                                                          Page
                                                             PageID.2395   Page
                                                               22 of 230 Page
                                                                          Page   950
                                                                              ID220  of
                                                                                 #:276
                                                                                    of
                                     1196
                                       445




                                         943                                     SER 321
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5167
                                                          Page
                                                             PageID.2396   Page
                                                               23 of 230 Page
                                                                          Page   951
                                                                              ID221  of
                                                                                 #:277
                                                                                    of
                                     1196
                                       445




                                         944                                     SER 322
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5168
                                                          Page
                                                             PageID.2397   Page
                                                               24 of 230 Page
                                                                          Page   952
                                                                              ID222  of
                                                                                 #:278
                                                                                    of
                                     1196
                                       445




                                         945                                     SER 323
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5169
                                                          Page
                                                             PageID.2398   Page
                                                               25 of 230 Page
                                                                          Page   953
                                                                              ID223  of
                                                                                 #:279
                                                                                    of
                                     1196
                                       445




                                         946                                     SER 324
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5170
                                                          Page
                                                             PageID.2399   Page
                                                               26 of 230 Page
                                                                          Page   954
                                                                              ID224  of
                                                                                 #:280
                                                                                    of
                                     1196
                                       445




                                         947                                     SER 325
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5171
                                                          Page
                                                             PageID.2400   Page
                                                               27 of 230 Page
                                                                          Page   955
                                                                              ID225  of
                                                                                 #:281
                                                                                    of
                                     1196
                                       445




                                         948                                     SER 326
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5172
                                                          Page
                                                             PageID.2401   Page
                                                               28 of 230 Page
                                                                          Page   956
                                                                              ID226  of
                                                                                 #:282
                                                                                    of
                                     1196
                                       445




                                         949                                     SER 327
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5173
                                                          Page
                                                             PageID.2402   Page
                                                               29 of 230 Page
                                                                          Page   957
                                                                              ID227  of
                                                                                 #:283
                                                                                    of
                                     1196
                                       445




                                         950                                     SER 328
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5174
                                                          Page
                                                             PageID.2403   Page
                                                               30 of 230 Page
                                                                          Page   958
                                                                              ID228  of
                                                                                 #:284
                                                                                    of
                                     1196
                                       445




                                         951                                     SER 329
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5175
                                                          Page
                                                             PageID.2404   Page
                                                               31 of 230 Page
                                                                          Page   959
                                                                              ID229  of
                                                                                 #:285
                                                                                    of
                                     1196
                                       445




                                         952                                     SER 330
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5176
                                                          Page
                                                             PageID.2405   Page
                                                               32 of 230 Page
                                                                          Page   960
                                                                              ID230  of
                                                                                 #:286
                                                                                    of
                                     1196
                                       445




                                         953                                     SER 331
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5177
                                                          Page
                                                             PageID.2406   Page
                                                               33 of 230 Page
                                                                          Page   961
                                                                              ID231  of
                                                                                 #:287
                                                                                    of
                                     1196
                                       445




                                         954                                     SER 332
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5178
                                                          Page
                                                             PageID.2407   Page
                                                               34 of 230 Page
                                                                          Page   962
                                                                              ID232  of
                                                                                 #:288
                                                                                    of
                                     1196
                                       445




                                         955                                     SER 333
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5179
                                                          Page
                                                             PageID.2408   Page
                                                               35 of 230 Page
                                                                          Page   963
                                                                              ID233  of
                                                                                 #:289
                                                                                    of
                                     1196
                                       445




                                         956                                     SER 334
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5180
                                                          Page
                                                             PageID.2409   Page
                                                               36 of 230 Page
                                                                          Page   964
                                                                              ID234  of
                                                                                 #:290
                                                                                    of
                                     1196
                                       445




                                         957                                     SER 335
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5181
                                                          Page
                                                             PageID.2410   Page
                                                               37 of 230 Page
                                                                          Page   965
                                                                              ID235  of
                                                                                 #:291
                                                                                    of
                                     1196
                                       445




                                         958                                     SER 336
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5182
                                                          Page
                                                             PageID.2411   Page
                                                               38 of 230 Page
                                                                          Page   966
                                                                              ID236  of
                                                                                 #:292
                                                                                    of
                                     1196
                                       445




                                         959                                     SER 337
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5183
                                                          Page
                                                             PageID.2412   Page
                                                               39 of 230 Page
                                                                          Page   967
                                                                              ID237  of
                                                                                 #:293
                                                                                    of
                                     1196
                                       445




                                         960                                     SER 338
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5184
                                                          Page
                                                             PageID.2413   Page
                                                               40 of 230 Page
                                                                          Page   968
                                                                              ID238  of
                                                                                 #:294
                                                                                    of
                                     1196
                                       445




                                         961                                     SER 339
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5185
                                                          Page
                                                             PageID.2414   Page
                                                               41 of 230 Page
                                                                          Page   969
                                                                              ID239  of
                                                                                 #:295
                                                                                    of
                                     1196
                                       445




                                         962                                     SER 340
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5186
                                                          Page
                                                             PageID.2415   Page
                                                               42 of 230 Page
                                                                          Page   970
                                                                              ID240  of
                                                                                 #:296
                                                                                    of
                                     1196
                                       445




                                                           Exhibit B
                                         963
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5187
                                                          Page
                                                             PageID.2416   Page
                                                               43 of 230 Page
                                                                          Page   971
                                                                              ID241  of
                                                                                 #:297
                                                                                    of
                                     1196
                                       445




                                         964                                     SER 341
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5188
                                                          Page
                                                             PageID.2417   Page
                                                               44 of 230 Page
                                                                          Page   972
                                                                              ID242  of
                                                                                 #:298
                                                                                    of
                                     1196
                                       445




                                         965                                     SER 342
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5189
                                                          Page
                                                             PageID.2418   Page
                                                               45 of 230 Page
                                                                          Page   973
                                                                              ID243  of
                                                                                 #:299
                                                                                    of
                                     1196
                                       445




                                         966                                     SER 343
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5190
                                                          Page
                                                             PageID.2419   Page
                                                               46 of 230 Page
                                                                          Page   974
                                                                              ID244  of
                                                                                 #:300
                                                                                    of
                                     1196
                                       445




                                         967                                     SER 344
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5191
                                                          Page
                                                             PageID.2420   Page
                                                               47 of 230 Page
                                                                          Page   975
                                                                              ID245  of
                                                                                 #:301
                                                                                    of
                                     1196
                                       445




                                         968                                     SER 345
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5192
                                                          Page
                                                             PageID.2421   Page
                                                               48 of 230 Page
                                                                          Page   976
                                                                              ID246  of
                                                                                 #:302
                                                                                    of
                                     1196
                                       445




                                         969                                     SER 346
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5193
                                                          Page
                                                             PageID.2422   Page
                                                               49 of 230 Page
                                                                          Page   977
                                                                              ID247  of
                                                                                 #:303
                                                                                    of
                                     1196
                                       445




                                         970                                     SER 347
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5194
                                                          Page
                                                             PageID.2423   Page
                                                               50 of 230 Page
                                                                          Page   978
                                                                              ID248  of
                                                                                 #:304
                                                                                    of
                                     1196
                                       445




                                         971                                     SER 348
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5195
                                                          Page
                                                             PageID.2424   Page
                                                               51 of 230 Page
                                                                          Page   979
                                                                              ID249  of
                                                                                 #:305
                                                                                    of
                                     1196
                                       445




                                         972                                     SER 349
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5196
                                                          Page
                                                             PageID.2425   Page
                                                               52 of 230 Page
                                                                          Page   980
                                                                              ID250  of
                                                                                 #:306
                                                                                    of
                                     1196
                                       445




                                         973                                     SER 350
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5197
                                                          Page
                                                             PageID.2426   Page
                                                               53 of 230 Page
                                                                          Page   981
                                                                              ID251  of
                                                                                 #:307
                                                                                    of
                                     1196
                                       445




                                         974                                     SER 351
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5198
                                                          Page
                                                             PageID.2427   Page
                                                               54 of 230 Page
                                                                          Page   982
                                                                              ID252  of
                                                                                 #:308
                                                                                    of
                                     1196
                                       445




                                         975                                     SER 352
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5199
                                                          Page
                                                             PageID.2428   Page
                                                               55 of 230 Page
                                                                          Page   983
                                                                              ID253  of
                                                                                 #:309
                                                                                    of
                                     1196
                                       445




                                         976                                     SER 353
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5200
                                                          Page
                                                             PageID.2429   Page
                                                               56 of 230 Page
                                                                          Page   984
                                                                              ID254  of
                                                                                 #:310
                                                                                    of
                                     1196
                                       445




                                         977                                     SER 354
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5201
                                                          Page
                                                             PageID.2430   Page
                                                               57 of 230 Page
                                                                          Page   985
                                                                              ID255  of
                                                                                 #:311
                                                                                    of
                                     1196
                                       445




                                         978                                     SER 355
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5202
                                                          Page
                                                             PageID.2431   Page
                                                               58 of 230 Page
                                                                          Page   986
                                                                              ID256  of
                                                                                 #:312
                                                                                    of
                                     1196
                                       445




                                                           Exhibit C
                                         979
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5203
                                                          Page
                                                             PageID.2432   Page
                                                               59 of 230 Page
                                                                          Page   987
                                                                              ID257  of
                                                                                 #:313
                                                                                    of
                                     1196
                                       445




                                         980                                     SER 224
    Case
    Case3:16-cv-02186-WQH-MDD
    Case 2:04-cv-01040-ABC-SH
         3:16-cv-02186-WQH-MDD  Document
                              Document
                                Document 127-1
                                       25247-1   Filed
                                            FiledFiled  09/23/22
                                                  03/18/10
                                                       01/23/17  PageID.5204
                                                              Page
                                                                 PageID.2433   Page
                                                                   60 of 230 Page
                                                                              Page   988
                                                                                  ID258  of
                                                                                     #:314
                                                                                        of
                                         1196
                                           445
                                                                                                                                           14




             1       THEM         TO    CONSIDER.


             2                               LET'S      GET      THE    JURY.


             3                                           (JURORS ENTER THE COURTROOM.)

             4                               THE COURT:              FOR THE RECORD, THE JURORS ARE AGAIN

             5       PRESENT IN THEIR SEATS.                             GOOD MORNING, LADIES AND GENTLEMEN.

             6       SORRY, AGAIN,                   WE'RE A LITTLE                 BIT LATE,            BUT WE WERE HANDLING A

             7       COUPLE            OF MATTERS          RELATING           TO TRIAL.                 WHAT HAPPENS          IS,   IF    WE

             8       CAN HANDLE THEM IN ADVANCE OF YOUR COMING DOWN, IT DOES ALLOW

             9       THINGS            TO MOVE MORE QUICKLY                       HERE BECAUSE              THE LAWYERS KNOW

        10           WHAT         THEY       WILL     BE   ALLOWED           TO     DO AND WHAT             THEY     WON'T     BE

        11           ALLOWED            TO    DO.


        12                                   WE'LL      RESUME         WITH       MR.     DEL     NERO      ON THE      STAND.

        13                                   YOU UNDERSTAND,                 SIR,       YOU HAVE          BEEN      SWORN     AND   YOU

        14           ARE     STILL           UNDER      OATH?


        15                                   THE WITNESS:               YES,        I   DO.

        16       1                           THE     COURT:          OKAY.          THANK        YOU.


        17                                   MR.     SWIGART,          YOU MAY RESUME THE INQUIRY.

        18                                   MR.     SWIGART:           THANK YOU,               YOUR HONOR.

        19



        20                                              DIRECT         EXAMINATION               (CONTINUED)

        21           BY     MR.        SWIGART:


        22           9.           GOOD MORNING,               MR.      DEL NERO.

        23           A.           GOOD       MORNING.


        24           Q.           LET'S       CHANGE       GEARS        A LITTLE           BIT     FROM      WHERE      WE LEFT      OFF

d       25           YESTERDAY,               GO. RIGHT         TO     THE    HEART        OF     THINGS.




                                          UNITED        STATES       DISTRICT           COURT,     CENTRAL         DISTRICT


                                                                         981
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5205
                                                          Page
                                                             PageID.2434   Page
                                                               61 of 230 Page
                                                                          Page   989
                                                                              ID259  of
                                                                                 #:315
                                                                                    of
                                     1196
                                       445




                                         982                                     SER 227
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5206
                                                          Page
                                                             PageID.2435   Page
                                                               62 of 230 Page
                                                                          Page   990
                                                                              ID260  of
                                                                                 #:316
                                                                                    of
                                     1196
                                       445




                                         983                                     SER 229
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5207
                                                          Page
                                                             PageID.2436   Page
                                                               63 of 230 Page
                                                                          Page   991
                                                                              ID261  of
                                                                                 #:317
                                                                                    of
                                     1196
                                       445




                                         984                                     SER 230
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5208
                                                          Page
                                                             PageID.2437   Page
                                                               64 of 230 Page
                                                                          Page   992
                                                                              ID262  of
                                                                                 #:318
                                                                                    of
                                     1196
                                       445




                                         985                                     SER 231
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5209
                                                          Page
                                                             PageID.2438   Page
                                                               65 of 230 Page
                                                                          Page   993
                                                                              ID263  of
                                                                                 #:319
                                                                                    of
                                     1196
                                       445




                                         986                                     SER 232
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5210
                                                          Page
                                                             PageID.2439   Page
                                                               66 of 230 Page
                                                                          Page   994
                                                                              ID264  of
                                                                                 #:320
                                                                                    of
                                     1196
                                       445




                                         987                                     SER 233
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5211
                                                          Page
                                                             PageID.2440   Page
                                                               67 of 230 Page
                                                                          Page   995
                                                                              ID265  of
                                                                                 #:321
                                                                                    of
                                     1196
                                       445




                                         988                                     SER 278
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5212
                                                          Page
                                                             PageID.2441   Page
                                                               68 of 230 Page
                                                                          Page   996
                                                                              ID266  of
                                                                                 #:322
                                                                                    of
                                     1196
                                       445




                                                           Exhibit D
                                         989
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5213
                                                          Page
                                                             PageID.2442   Page
                                                               69 of 230 Page
                                                                          Page   997
                                                                              ID267  of
                                                                                 #:323
                                                                                    of
                                     1196
                                       445




                                         990                                     SER 155
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5214
                                                          Page
                                                             PageID.2443   Page
                                                               70 of 230 Page
                                                                          Page   998
                                                                              ID268  of
                                                                                 #:324
                                                                                    of
                                     1196
                                       445




                                         991                                     SER 158
Case
Case3:16-cv-02186-WQH-MDD
Case 2:04-cv-01040-ABC-SH
     3:16-cv-02186-WQH-MDD  Document
                          Document
                            Document 127-1
                                   25247-1   Filed
                                        FiledFiled  09/23/22
                                              03/18/10
                                                   01/23/17  PageID.5215
                                                          Page
                                                             PageID.2444   Page
                                                               71 of 230 Page
                                                                          Page   999
                                                                              ID269  of
                                                                                 #:325
                                                                                    of
                                     1196
                                       445




                                         992                                     SER 159
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5216
                                                          Page
                                                             PageID.2445  Page
                                                               72 of 230 Page
                                                                          Page  1000
                                                                              ID270 ofof
                                                                                 #:326
                                       1196
                                        445




                                          993                                     SER 160
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5217
                                                          Page
                                                             PageID.2446  Page
                                                               73 of 230 Page
                                                                          Page  1001
                                                                              ID271 ofof
                                                                                 #:327
                                       1196
                                        445




                                          994                                     SER 161
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5218
                                                          Page
                                                             PageID.2447  Page
                                                               74 of 230 Page
                                                                          Page  1002
                                                                              ID272 ofof
                                                                                 #:328
                                       1196
                                        445




                                          995                                     SER 162
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5219
                                                          Page
                                                             PageID.2448  Page
                                                               75 of 230 Page
                                                                          Page  1003
                                                                              ID273 ofof
                                                                                 #:329
                                       1196
                                        445




                                          996                                     SER 163
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5220
                                                          Page
                                                             PageID.2449  Page
                                                               76 of 230 Page
                                                                          Page  1004
                                                                              ID274 ofof
                                                                                 #:330
                                       1196
                                        445




                                          997                                     SER 164
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5221
                                                          Page
                                                             PageID.2450  Page
                                                               77 of 230 Page
                                                                          Page  1005
                                                                              ID275 ofof
                                                                                 #:331
                                       1196
                                        445




                                          998                                     SER 165
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5222
                                                          Page
                                                             PageID.2451  Page
                                                               78 of 230 Page
                                                                          Page  1006
                                                                              ID276 ofof
                                                                                 #:332
                                       1196
                                        445




                                          999                                     SER 166
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5223
                                                          Page
                                                             PageID.2452  Page
                                                               79 of 230 Page
                                                                          Page  1007
                                                                              ID277 ofof
                                                                                 #:333
                                       1196
                                        445




                                         1000                                     SER 167
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5224
                                                          Page
                                                             PageID.2453  Page
                                                               80 of 230 Page
                                                                          Page  1008
                                                                              ID278 ofof
                                                                                 #:334
                                       1196
                                        445




                                         1001                                     SER 168
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5225
                                                          Page
                                                             PageID.2454  Page
                                                               81 of 230 Page
                                                                          Page  1009
                                                                              ID279 ofof
                                                                                 #:335
                                       1196
                                        445




                                         1002                                     SER 169
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5226
                                                          Page
                                                             PageID.2455  Page
                                                               82 of 230 Page
                                                                          Page  1010
                                                                              ID280 ofof
                                                                                 #:336
                                       1196
                                        445




                                         1003                                     SER 170
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5227
                                                          Page
                                                             PageID.2456  Page
                                                               83 of 230 Page
                                                                          Page  1011
                                                                              ID281 ofof
                                                                                 #:337
                                       1196
                                        445




                                         1004                                     SER 171
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5228
                                                          Page
                                                             PageID.2457  Page
                                                               84 of 230 Page
                                                                          Page  1012
                                                                              ID282 ofof
                                                                                 #:338
                                       1196
                                        445




                                         1005                                     SER 172
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5229
                                                          Page
                                                             PageID.2458  Page
                                                               85 of 230 Page
                                                                          Page  1013
                                                                              ID283 ofof
                                                                                 #:339
                                       1196
                                        445




                                         1006                                     SER 173
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5230
                                                          Page
                                                             PageID.2459  Page
                                                               86 of 230 Page
                                                                          Page  1014
                                                                              ID284 ofof
                                                                                 #:340
                                       1196
                                        445




                                         1007                                     SER 174
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5231
                                                          Page
                                                             PageID.2460  Page
                                                               87 of 230 Page
                                                                          Page  1015
                                                                              ID285 ofof
                                                                                 #:341
                                       1196
                                        445




                                         1008                                     SER 175
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5232
                                                          Page
                                                             PageID.2461  Page
                                                               88 of 230 Page
                                                                          Page  1016
                                                                              ID286 ofof
                                                                                 #:342
                                       1196
                                        445




                                         1009                                     SER 176
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5233
                                                          Page
                                                             PageID.2462  Page
                                                               89 of 230 Page
                                                                          Page  1017
                                                                              ID287 ofof
                                                                                 #:343
                                       1196
                                        445




                                         1010                                     SER 177
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5234
                                                          Page
                                                             PageID.2463  Page
                                                               90 of 230 Page
                                                                          Page  1018
                                                                              ID288 ofof
                                                                                 #:344
                                       1196
                                        445




                                         1011                                     SER 178
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5235
                                                          Page
                                                             PageID.2464  Page
                                                               91 of 230 Page
                                                                          Page  1019
                                                                              ID289 ofof
                                                                                 #:345
                                       1196
                                        445




                                         1012                                     SER 179
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5236
                                                          Page
                                                             PageID.2465  Page
                                                               92 of 230 Page
                                                                          Page  1020
                                                                              ID290 ofof
                                                                                 #:346
                                       1196
                                        445




                                         1013                                     SER 180
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5237
                                                          Page
                                                             PageID.2466  Page
                                                               93 of 230 Page
                                                                          Page  1021
                                                                              ID291 ofof
                                                                                 #:347
                                       1196
                                        445




                                         1014                                     SER 181
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5238
                                                          Page
                                                             PageID.2467  Page
                                                               94 of 230 Page
                                                                          Page  1022
                                                                              ID292 ofof
                                                                                 #:348
                                       1196
                                        445




                                         1015                                     SER 182
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5239
                                                          Page
                                                             PageID.2468  Page
                                                               95 of 230 Page
                                                                          Page  1023
                                                                              ID293 ofof
                                                                                 #:349
                                       1196
                                        445




                                         1016                                     SER 186
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5240
                                                          Page
                                                             PageID.2469  Page
                                                               96 of 230 Page
                                                                          Page  1024
                                                                              ID294 ofof
                                                                                 #:350
                                       1196
                                        445




                                         1017                                     SER 186
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5241
                                                          Page
                                                             PageID.2470  Page
                                                               97 of 230 Page
                                                                          Page  1025
                                                                              ID295 ofof
                                                                                 #:351
                                       1196
                                        445




                                         1018                                     SER 187
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5242
                                                          Page
                                                             PageID.2471  Page
                                                               98 of 230 Page
                                                                          Page  1026
                                                                              ID296 ofof
                                                                                 #:352
                                       1196
                                        445




                                                            Exhibit E
                                         1019
Case
 Case3:16-cv-02186-WQH-MDD
 Case 2:04-cv-01040-ABC-SH
      3:16-cv-02186-WQH-MDD Document
                           Document
                             Document 127-1
                                    25247-1   Filed
                                         FiledFiled 09/23/22
                                               03/18/10
                                                    01/23/17 PageID.5243
                                                          Page
                                                             PageID.2472  Page
                                                               99 of 230 Page
                                                                          Page  1027
                                                                              ID297 ofof
                                                                                 #:353
                                       1196
                                        445




                                         1020                                     SER
                                                                                  SER 188
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5244
                                                             PageID.2473   Page
                                                                 100 of 230Page
                                                                            Page1028
                                                                                  ID ofof
                                                                                298
                                       1196
                                       #:354
                                        445




                                         1021                                      SER 189
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5245
                                                             PageID.2474   Page
                                                                 101 of 230Page
                                                                            Page1029
                                                                                  ID ofof
                                                                                299
                                       1196
                                       #:355
                                        445




                                         1022                                      SER 190
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5246
                                                             PageID.2475   Page
                                                                 102 of 230Page
                                                                            Page1030
                                                                                  ID ofof
                                                                                300
                                       1196
                                       #:356
                                        445




                                                             Exhibit F
                                         1023
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5247
                                                             PageID.2476   Page
                                                                 103 of 230Page
                                                                            Page1031
                                                                                  ID ofof
                                                                                301
                                       1196
                                       #:357
                                        445




                                         1024                                      SER 293
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5248
                                                             PageID.2477   Page
                                                                 104 of 230Page
                                                                            Page1032
                                                                                  ID ofof
                                                                                302
                                       1196
                                       #:358
                                        445




                                         1025                                      SER 294
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5249
                                                             PageID.2478   Page
                                                                 105 of 230Page
                                                                            Page1033
                                                                                  ID ofof
                                                                                303
                                       1196
                                       #:359
                                        445




                                         1026                                      SER 295
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5250
                                                             PageID.2479   Page
                                                                 106 of 230Page
                                                                            Page1034
                                                                                  ID ofof
                                                                                304
                                       1196
                                       #:360
                                        445




                                         1027                                      SER 296
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5251
                                                             PageID.2480   Page
                                                                 107 of 230Page
                                                                            Page1035
                                                                                  ID ofof
                                                                                305
                                       1196
                                       #:361
                                        445




                                         1028                                      SER 297
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5252
                                                             PageID.2481   Page
                                                                 108 of 230Page
                                                                            Page1036
                                                                                  ID ofof
                                                                                306
                                       1196
                                       #:362
                                        445




                                         1029                                      SER 298
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5253
                                                             PageID.2482   Page
                                                                 109 of 230Page
                                                                            Page1037
                                                                                  ID ofof
                                                                                307
                                       1196
                                       #:363
                                        445




                                         1030                                      SER 299
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5254
                                                             PageID.2483   Page
                                                                 110 of 230Page
                                                                            Page1038
                                                                                  ID ofof
                                                                                308
                                       1196
                                       #:364
                                        445




                                         1031                                      SER 300
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5255
                                                             PageID.2484   Page
                                                                 111 of 230Page
                                                                            Page1039
                                                                                  ID ofof
                                                                                309
                                       1196
                                       #:365
                                        445




                                         1032                                      SER 301
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5256
                                                             PageID.2485   Page
                                                                 112 of 230Page
                                                                            Page1040
                                                                                  ID ofof
                                                                                310
                                       1196
                                       #:366
                                        445




                                         1033                                      SER 302
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5257
                                                             PageID.2486   Page
                                                                 113 of 230Page
                                                                            Page1041
                                                                                  ID ofof
                                                                                311
                                       1196
                                       #:367
                                        445




                                         1034                                      SER 303
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5258
                                                             PageID.2487   Page
                                                                 114 of 230Page
                                                                            Page1042
                                                                                  ID ofof
                                                                                312
                                       1196
                                       #:368
                                        445




                                                            Exhibit G
                                         1035
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5259
                                                             PageID.2488   Page
                                                                 115 of 230Page
                                                                            Page1043
                                                                                  ID ofof
                                                                                313
                                       1196
                                       #:369
                                        445




                                         1036                                      SER 279
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5260
                                                             PageID.2489   Page
                                                                 116 of 230Page
                                                                            Page1044
                                                                                  ID ofof
                                                                                314
                                       1196
                                       #:370
                                        445




                                         1037                                      SER 280
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5261
                                                             PageID.2490   Page
                                                                 117 of 230Page
                                                                            Page1045
                                                                                  ID ofof
                                                                                315
                                       1196
                                       #:371
                                        445




                                         1038                                      SER 281
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5262
                                                             PageID.2491   Page
                                                                 118 of 230Page
                                                                            Page1046
                                                                                  ID ofof
                                                                                316
                                       1196
                                       #:372
                                        445




                                         1039                                      SER 282
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5263
                                                             PageID.2492   Page
                                                                 119 of 230Page
                                                                            Page1047
                                                                                  ID ofof
                                                                                317
                                       1196
                                       #:373
                                        445




                                         1040                                      SER 283
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5264
                                                             PageID.2493   Page
                                                                 120 of 230Page
                                                                            Page1048
                                                                                  ID ofof
                                                                                318
                                       1196
                                       #:374
                                        445




                                         1041                                      SER 284
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5265
                                                             PageID.2494   Page
                                                                 121 of 230Page
                                                                            Page1049
                                                                                  ID ofof
                                                                                319
                                       1196
                                       #:375
                                        445




                                         1042                                      SER 285
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5266
                                                             PageID.2495   Page
                                                                 122 of 230Page
                                                                            Page1050
                                                                                  ID ofof
                                                                                320
                                       1196
                                       #:376
                                        445




                                         1043                                      SER 286
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5267
                                                             PageID.2496   Page
                                                                 123 of 230Page
                                                                            Page1051
                                                                                  ID ofof
                                                                                321
                                       1196
                                       #:377
                                        445




                                         1044                                      SER 287
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5268
                                                             PageID.2497   Page
                                                                 124 of 230Page
                                                                            Page1052
                                                                                  ID ofof
                                                                                322
                                       1196
                                       #:378
                                        445




                                         1045                                      SER 288
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5269
                                                             PageID.2498   Page
                                                                 125 of 230Page
                                                                            Page1053
                                                                                  ID ofof
                                                                                323
                                       1196
                                       #:379
                                        445




                                         1046                                      SER 289
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5270
                                                             PageID.2499   Page
                                                                 126 of 230Page
                                                                            Page1054
                                                                                  ID ofof
                                                                                324
                                       1196
                                       #:380
                                        445




                                         1047                                      SER 290
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5271
                                                             PageID.2500   Page
                                                                 127 of 230Page
                                                                            Page1055
                                                                                  ID ofof
                                                                                325
                                       1196
                                       #:381
                                        445




                                         1048                                      SER 291
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5272
                                                             PageID.2501   Page
                                                                 128 of 230Page
                                                                            Page1056
                                                                                  ID ofof
                                                                                326
                                       1196
                                       #:382
                                        445




                                         1049                                      SER 292
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5273
                                                             PageID.2502   Page
                                                                 129 of 230Page
                                                                            Page1057
                                                                                  ID ofof
                                                                                327
                                       1196
                                       #:383
                                        445




                                                            Exhibit H
                                         1050
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5274
                                                             PageID.2503   Page
                                                                 130 of 230Page
                                                                            Page1058
                                                                                  ID ofof
                                                                                328
                                       1196
                                       #:384
                                        445



     1                            UNITED STATES OF AMERICA

     2                          UNITED STATES DISTRICT COURT

     3                         CENTRAL DISTRICT OF CALIFORNIA

     4                               CENTRAL DIVISION
                                           - - -
     5                        HONORABLE GEORGE P. SCHIAVELLI
                          UNITED STATES DISTRICT JUDGE PRESIDING
     6                                     - - -

     7

     8     DARREN DEL NERO, ET AL.,        )
                                           )
     9                    PLAINTIFF,       )
                                           )
    10     VS.                             ) CV 04-1040-GPS(SHX)
                                           )
    11     MIDLAND CREDIT MANAGEMENT,      ) (PAGES 25-33 SEALED)
           INC., ET AL.,                   )
    12                                     )
                         DEFENDANTS.       )
    13     ________________________________)

    14

    15
                                  TRIAL PROCEEDINGS - DAY 2
    16
                                   LOS ANGELES, CALIFORNIA
    17
                                  WEDNESDAY, MARCH 16, 2005
    18

    19

    20

    21

    22
                                  ROSALYN ADAMS, CSR 11794
    23                             OFFICIAL COURT REPORTER
                                100 UNITED STATES COURTHOUSE
    24                       312 NORTH SPRING STREET, ROOM 410
                               LOS ANGELES, CALIFORNIA 90012
    25                                 (213) 894-2665



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1051                                      SER 197
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5275
                                                             PageID.2504   Page
                                                                 131 of 230Page
                                                                            Page1059
                                                                                  ID ofof
                                                                                329
                                       1196
                                       #:385
                                        445
                                                                                      4



     1     LOS ANGELES, CALIFORNIA; WEDNESDAY, MARCH 16, 2005; 9:00 A.M.

     2                                       --000--

     3

     4

     5                  THE CLERK:    IN THE MATTER OF CIVIL TRIAL, CV

     6     04-1040-GPS(SHX): DARREN DEL NERO, ET AL. V. MIDLAND CREDIT

     7     MANAGEMENT INC., ET AL., JURY TRIAL, SECOND DAY.

     8                  COUNSEL, STATE YOUR APPEARANCES.

     9                  MR. SWIGART:     GOOD MORNING, YOUR HONOR.        JOSH

    10     SWIGART ON BEHALF OF THE PLAINTIFF, DARREN DEL NERO.

    11                  MR. HYDE:    GOODE MORNING, YOUR HONOR.        ROBERT HYDE

    12     ON BEHALF OF THE PLAINTIFF, DARREN DEL NERO.

    13                  MR. TURNER:     GOOD MORNING, YOUR HONOR.        STEPHEN

    14     TURNER ON BEFORE OF MIDLAND CREDIT MANAGEMENT.

    15                  MS. NEFULDA:     GOOD MORNING, YOUR HONOR.        LARISSA

    16     NEFULDA ON BEHALF OF MIDLAND CREDIT MANAGEMENT.

    17                  MR. TURNER:     YOUR HONOR, MR. FRARY FROM MIDLAND

    18     CREDIT MANAGEMENT IS PRESENT AS WELL.

    19                  THE COURT:    THE JURORS ARE ALL PRESENT, IN THEIR

    20     SEATS.    GOOD MORNING, LADIES AND GENTLEMEN.          HOPE YOU'VE HAVE

    21     A PLEASANT EVENING.       WE'RE READY TO RESUME.

    22                  PUT MS. CHAKER BACK ON THE STAND, PLEASE.

    23                  YOU UNDERSTAND YOU HAVE BEEN SWORN, YOU ARE STILL

    24     UNDER OATH?

    25                  THE WITNESS:     YES.



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1052
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5276
                                                             PageID.2505   Page
                                                                 132 of 230Page
                                                                            Page1060
                                                                                  ID ofof
                                                                                330
                                       1196
                                       #:386
                                        445
                                                                                      9



     1     ALL THE ENTIRE STORY, BUT THAT, AGAIN, THAT WAS THE YEAR MY

     2     LITTLE SISTER DIED.       SHE WAS MUTE AND DISABLED AND SHE HAD

     3     ALL OF MY ATTENTION, AND HIS.         WE HAD WHEEL CHAIRS AND PLENTY

     4     OF THAT.     BUT IF THAT IS THE CRIME YOU'RE TALKING ABOUT, I AM

     5     A LITTLE BIT AWARE, YEAH.

     6     Q.    I WASN'T REFERRING TO ANY PARTICULAR CRIME.             I WAS JUST

     7     ASKING IF YOU WERE AWARE OF IT.

     8                  WHAT WAS THE CRIME HE WAS THE VICTIM OF IN 1999?

     9     A.    WELL, THAT'S WHAT I JUST TOLD YOU.           I'M AWARE THAT THE

    10     FBI WAS -- HE SEEKED (SIC) THE HELP OF THE FBI AND THEY

    11     PROTECTED HIM FROM AN INDIVIDUAL.          I CAN'T RECALL EXACTLY

    12     WHAT HAS HAPPENED.

    13     Q.    I'M SORRY.     IT SEEMS A BIT TRAUMATIC.

    14                  WHAT WAS THE NAME OF INDIVIDUAL THAT HE HAD TO BE

    15     PROTECTED FROM?

    16     A.    I DON'T KNOW.      I DON'T KNOW.

    17     Q.    YOUR UNDERSTANDING IS THAT MR. DEL NERO SOUGHT THE

    18     ASSISTANCE OF THE FBI?

    19     A.    MM-HUH.

    20     Q.    TO PROTECT HIM FROM SOMEONE WHO WAS STALKING HIM?

    21     A.    I BELIEVE SO.      I DON'T KNOW EXACTLY, YOU KNOW, THE

    22     DETAILS.     LIKE I SAID, I HAD A CROSS TO BEAR AND -- I MEAN

    23     DARREN AND I ARE VERY CLOSE.         LIKE WITH MY DAUGHTER, LIKE

    24     WITH FRIENDS, IF THEY NEED ASSISTANCE OR HOSPITALS AND THINGS

    25     LIKE THIS.     BUT I CANNOT KEEP A TAB ON HIM 24 HOURS.            I



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1053                                      SER 201
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5277
                                                             PageID.2506   Page
                                                                 133 of 230Page
                                                                            Page1061
                                                                                  ID ofof
                                                                                331
                                       1196
                                       #:387
                                        445
                                                                                     17



     1     IN ON THIS LINE THAT IS NOW DISCONNECTED?

     2     A.      YES.

     3     Q.      ON THIS PHONE LINE THAT'S BEEN DISCONNECTED, THE PHONE

     4     LINE THAT YOU CAN'T REMEMBER, WAS THERE A CALLER ID BLOCKER

     5     ON THAT LINE?

     6     A.      I DON'T KNOW.

     7     Q.      WAS THERE ANY WAY THAT WOULD PROHIBIT PHONE CALLS FROM

     8     COMING IN ON THAT LINE?

     9     A.      NO, NO.

    10     Q.      NOW, DURING THIS TIME IN MARCH OF 2003 --

    11     A.      YES.

    12     Q.      -- WHAT WAS -- WHAT WAS MR. DEL NERO'S PHONE NUMBER?

    13     A.      I DON'T KNOW.

    14     Q.      YOU HAD NO WAY TO CALL MR. DEL NERO?

    15     A.      I CAN'T RECALL HIS PHONE NUMBER, YOU KNOW, OFFHAND, LIKE

    16     THAT.

    17     Q.      WHAT'S MR. DEL NERO'S PHONE NUMBER NOW?

    18     A.      I HAVE IT WRITTEN DOWN AT HOME.        I DON'T KNOW IT.

    19     Q.      DO YOU RECALL KNOWING THE PHONE NUMBER FOR MR. DEL NERO,

    20     YOUR SON, IN MARCH OF 2003?

    21     A.      I CAN'T RECALL.

    22     Q.      SO YOU DON'T RECALL WHETHER YOU KNEW THE PHONE NUMBER OR

    23     NOT?

    24     A.      NO.

    25     Q.      IS IT CORRECT YOU DON'T KNOW -- YOU DON'T REMEMBER IF --



                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1054                                     SER 205
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5278
                                                             PageID.2507   Page
                                                                 134 of 230Page
                                                                            Page1062
                                                                                  ID ofof
                                                                                332
                                       1196
                                       #:388
                                        445
                                                                                     18



     1     TRY THAT ONE AGAIN.

     2                   IS IT CORRECT YOU HAVE NO MEMORY OF WHETHER OR NOT

     3     YOU KNEW MR. DEL NERO'S PHONE NUMBER IN MARCH OF 2003?

     4                   THE WITNESS:    CAN I EXPLAIN, YOUR HONOR?

     5                   THE COURT:     JUST ANSWER THE QUESTION, PLEASE.

     6                   THE WITNESS:    EXACTLY.    I CAN'T RECALL.

     7     BY MR. TURNER:

     8     Q.    OKAY.    DO YOU RECALL IF MR. DEL NERO HAD A PHONE

     9     NUMBER -- IF YOU DON'T REMEMBER, DO YOU RECALL IF THE AREA

    10     CODE WAS 206?

    11     A.    I CAN'T RECALL.

    12     Q.    DO YOU RECALL CALLING MR. DEL NERO AT ANY TIME IN

    13     MARCH OF 2003?

    14     A.    YES.

    15     Q.    BUT YOU JUST DON'T KNOW WHAT PHONE NUMBER YOU CALLED HIM

    16     AT?

    17     A.    NO.

    18     Q.    SO YOU RECALL -- YOU HAD A PHONE NUMBER FOR HIM AND YOU

    19     COULD CALL HIM.      YOU'D HAVE TO GO LOOK AT YOUR BOOK TO

    20     REMEMBER WHAT HIS PHONE NUMBER WAS.           BUT WHEN YOU LOOKED AT

    21     THE BOOK, YOU COULD THEN CALL HIM IN MARCH OF 2003; IS THAT

    22     CORRECT?

    23     A.    THAT'S RIGHT.

    24     Q.    SO WHEN DID YOU CALL HIM ABOUT THESE PHONE CALLS THAT HE

    25     WAS ALLEGEDLY RECEIVING FROM MIDLAND?



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1055                                     SER 206
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5279
                                                             PageID.2508   Page
                                                                 135 of 230Page
                                                                            Page1063
                                                                                  ID ofof
                                                                                333
                                       1196
                                       #:389
                                        445
                                                                                     19



     1     A.    WHERE DID I CALL HIM?

     2     Q.    NO.    WHEN DID YOU CALL HIM?

     3     A.    WHEN THE PHONE CALL, YOU KNOW, HAPPENED AND CAME IN.

     4     Q.    SO YOU GOT A CALL, ALLEGEDLY, FROM MIDLAND?

     5     A.    MM-HUH.

     6     Q.    YOU LOOKED AT YOUR ADDRESS BOOK AND YOU'D SEE THE NUMBER

     7     FOR YOUR SON AND YOU'D CALL HIM; IS THAT CORRECT?

     8     A.    YES.

     9     Q.    SO I BELIEVE YOUR TESTIMONY WAS THAT THE FIRST PHONE

    10     CALL CAME IN ON -- WAS IT THE 3RD OF MARCH 2003?

    11     A.    IS IT THE 4TH?

    12     Q.    I CAN'T QUITE TELL.       WE'RE GOING TO GET TO THE NOTES A

    13     LITTLE BIT LATER.

    14     A.    I BELIEVE IT WAS THE 4TH.

    15     Q.    EXCUSE ME.     I'M LOOKING AT THE NOTES AND I COULDN'T TELL

    16     WHETHER IT STARTED ON THE THIRD OR THE 4TH.            IT SAYS THE 4TH

    17     OF MARCH.

    18     A.    YES, THE 4TH.      I RECEIVED THE HANG-UP CALL ON THE 3RD,

    19     BUT IT WAS ON THE 4TH OF MARCH.

    20     Q.    NOW, LET'S GET TO THAT HANG-UP CALL, MS. CHAKER.

    21                  THE FIRST PHONE CALL YOU GOT FROM MIDLAND CREDIT

    22     WAS ON THE 4TH OF MARCH; IS THAT CORRECT?

    23     A.    THAT'S CORRECT.

    24     Q.    SO WHY DID YOU MAKE THE NOTATION ABOUT A HANG-UP CALL.

    25     A.    I JUST MADE IT.



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1056                                      SER 207
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5280
                                                             PageID.2509   Page
                                                                 136 of 230Page
                                                                            Page1064
                                                                                  ID ofof
                                                                                334
                                       1196
                                       #:390
                                        445
                                                                                     37



     1     CALLS WHICH WERE ALLEDGEDLY MADE BY MIDLAND CREDIT

     2     MANAGEMENT, DID IT?

     3     A.    NOT THAT I KNOW OF.

     4     Q.    IT HAD NOTHING WHATSOEVER TO DO WITH IT, DID IT?

     5     A.    YES.

     6     Q.    NOW, MRS. CHAKER, IN YOUR ADDRESS BOOK -- DO YOU HAVE

     7     ANY PHONE NUMBERS IN THAT ADDRESS BOOK?

     8     A.    YES.

     9     Q.    DO YOU HAVE A PHONE NUMBER FOR MR. DEL NERO IN THE

    10     ADDRESS BOOK?

    11     A.    MAYBE.

    12     Q.    COULD YOU TAKE A LOOK AND SEE IF YOU HAVE A PHONE NUMBER

    13     FOR HIM.

    14     A.    A CELL PHONE OR A REGULAR NUMBER?

    15     Q.    TELL ME EVERY PHONE NUMBER YOU HAVE FOR MR. DEL NERO IN

    16     YOUR ADDRESS BOOK.

    17     A.    SO FAR, I SEE ONE.

    18     Q.    OKAY.

    19     A.    DO YOU WANT TO HAVE IT?

    20     Q.    YES, VERY MUCH.      THANK YOU, MS. CHAKER.

    21                   WHAT IS THE CELL PHONE NUMBER?

    22     A.    IT'S 206-333-6880.

    23     Q.    6-8-8-0?

    24     A.    MM-HUH.

    25     Q.    ARE THERE ANY OTHER TELEPHONE NUMBERS THERE FOR MR. DEL



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1057                                      SER 208
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5281
                                                             PageID.2510   Page
                                                                 137 of 230Page
                                                                            Page1065
                                                                                  ID ofof
                                                                                335
                                       1196
                                       #:391
                                        445
                                                                                     38



     1     NERO?

     2     A.      NOT THAT I SEE.

     3     Q.      WOULD THERE BE ANY PHONE NUMBERS LISTED FOR HIM UNDER

     4     THE NAME OF "DARREN CHAKER"?

     5     A.      NO.     I LIST HIM ONLY UNDER "DARREN."

     6     Q.      YOU LIST HIM UNDER DARREN -- EXCUSE ME -- OF COURSE.

     7                     SO, NOW, DOES THIS REFRESH YOUR RECOLLECTION AS TO

     8     THE NUMBER YOU CALLED MR. DEL NERO AT WHEN YOU TRIED TO REACH

     9     HIM?

    10     A.      TO TELL YOU THE TRUTH, NO.

    11     Q.      BUT THAT'S THE ONLY PHONE NUMBER YOU HAVE IN YOUR DAY

    12     PLANNER; IS THAT CORRECT?

    13     A.      IN THIS -- YEAH, IN THIS ONE.        BUT IT DOESN'T, YOU

    14     KNOW -- PERHAPS IT IS, BUT I CANNOT DEFINITELY BE SURE.

    15     Q.      SURE.     NOW, DO YOU HAVE OTHER ADDRESS BOOKS WHERE YOU

    16     HAVE OTHER PHONE NUMBERS?

    17     A.      PERHAPS AT HOME.

    18     Q.      BUT YOU DON'T REMEMBER?

    19     A.      NO.

    20     Q.      SO, AS FAR AS YOU KNOW, THE ONLY ADDRESS BOOK THAT YOU

    21     CAN REMEMBER TODAY FOR THE JURY IS THIS ONE THAT HAS THE ONE

    22     PHONE NUMBER FOR MR. DEL NERO?

    23     A.      YES.

    24     Q.      DO YOU HAPPEN TO KNOW WHY MR. DEL NERO WOULD HAVE A 206

    25     AREA CODE FOR HIS CELL PHONE?



                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1058                                     SER 209
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5282
                                                             PageID.2511   Page
                                                                 138 of 230Page
                                                                            Page1066
                                                                                  ID ofof
                                                                                336
                                       1196
                                       #:392
                                        445
                                                                                     39



     1     A.      YOU CAN HAVE ANY PREFIX.

     2     Q.      THE ANSWER IS "NO," YOU DON'T KNOW?

     3     A.      NO.

     4     Q.      DO YOU KNOW IF MR. DEL NERO LIVED IN THE 206 AREA-CODE

     5     AREA?

     6     A.      WHERE IS THAT?

     7     Q.      IT'S IN SEATTLE, ACTUALLY.

     8     A.      I HAVE NO IDEA.

     9     Q.      YOU DON'T KNOW WHETHER HE WAS LIVING IN SEATTLE AT SOME

    10     POINT IN HIS LIFE?

    11     A.      IF HE WAS IN LOVE, MAYBE HE WAS LIVING THERE, I DON'T

    12     KNOW -- OR DOING BUSINESS OR SOMETHING.

    13     Q.      WHAT BUSINESS DOES HE DO?

    14     A.      I DON'T KNOW.      HE MANAGED AN APARTMENT BUILDING, A BIG

    15     UNIT; AND OTHER THINGS.

    16     Q.      HE MANAGED AN EIGHT-UNIT APARTMENT BUILDING?

    17     A.      MM-HUH.

    18     Q.      IS THAT "YES"?

    19     A.      YES.

    20     Q.      AND WHERE WAS THAT APARTMENT BUILDING LOCATED?

    21     A.      I DON'T KNOW.

    22     Q.      WAS IT LOCATED IN SEATTLE?

    23     A.      I HAVE NO IDEA.

    24     Q.      WAS IT LOCATED IN SAN DIEGO?

    25                    MR. HYDE:    OBJECTION, YOUR HONOR.      ASKED AND



                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1059                                     SER 210
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5283
                                                             PageID.2512   Page
                                                                 139 of 230Page
                                                                            Page1067
                                                                                  ID ofof
                                                                                337
                                       1196
                                       #:393
                                        445
                                                                                     40



     1     ANSWERED.

     2                    THE COURT:    OVERRULED.

     3                    MR. TURNER:    I'LL MOVE IT ALONG, YOUR HONOR.

     4                    THE COURT:    CAN WE HAVE THE ANSWER TO THE LAST

     5     QUESTION.

     6                    MR. TURNER:    I'LL GET TO THE LAST QUESTION AND

     7     WE'LL MOVE ON.

     8     Q.     WAS IT IN SAN DIEGO?

     9     A.     I DON'T KNOW.

    10     Q.     HOW DO YOU KNOW HE WAS THE MANAGER OF AN APARTMENT

    11     BUILDING?

    12     A.     I HEARD ABOUT IT, AND HE TOLD ME ABOUT IT.           HE WAS

    13     DISCUSSING --

    14     Q.     YOU HEARD -- I'M SORRY, I INTERRUPTED YOU.           I APOLOGIZE.

    15                    YOU HEARD ABOUT IT HOW, MS. CHAKER?

    16     A.     FROM A FRIEND THAT WAS VISITING.         HE'S LIKE A FATHER TO

    17     HIM.

    18     Q.     WHO IS THAT FRIEND?

    19     A.     CHRIS ROSE.    HIS NAME IS CHRIS.

    20     Q.     AND HIS LAST NAME?

    21     A.     ROSE.

    22                    THE COURT:    COULD YOU SPELL THAT FOR THE RECORD.

    23     IS THAT "K" OR "C"?

    24                    THE WITNESS:    C-H-R-I-S, R-O-S-E.

    25     BY MR. TURNER:



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1060                                     SER 211
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5284
                                                             PageID.2513   Page
                                                                 140 of 230Page
                                                                            Page1068
                                                                                  ID ofof
                                                                                338
                                       1196
                                       #:394
                                        445
                                                                                     46



     1     EXACTLY RECALL.

     2     Q.    WHO WAS HIS GIRLFRIEND IN 2003?

     3     A.    I DON'T RECALL.

     4     Q.    SO -- BUT YOU DO RECALL CALLING HIM ON THE 4TH

     5     REGARDING -- ON THE 206 LINE; IS THAT CORRECT?

     6     A.    YES.

     7     Q.    WHAT DID YOU SAY TO HIM ON THE 4TH?

     8     A.    I DIDN'T.     I COULDN'T REACH HIM.

     9     Q.    SO YOU TRIED TO CALL HIM ON THE 4TH?

    10     A.    I TRIED.

    11     Q.    YOU TRIED TO CALL HIM ON THE 206 LINE?

    12     A.    I CAN'T RECALL IF IT WAS THE 206.          I KNOW THAT THE

    13     NUMBER IS HERE, BUT IT ISN'T IN MY NOTES, YOU KNOW, THAT I

    14     TOOK DOWN.

    15     Q.    DID YOU LEAVE A MESSAGE FOR HIM?

    16     A.    I CAN'T RECALL.

    17     Q.    IF YOU ABSOLUTELY HAD TO FIND OUT THE PHONE NUMBER FOR

    18     THIS DISCONNECTED PHONE LINE, HOW WOULD YOU DO IT?

    19     A.    BY LOOKING FOR IT.       I DON'T KNOW HOW.

    20     Q.    AND WHERE WOULD YOU LOOK?         FOR THE BOXES, OR WHERE?

    21     A.    IN BOXES, OR CALL UP THE PHONE COMPANY.

    22     Q.    I NEED TO CLARIFY A COUPLE OF ISSUES NOW ABOUT WHERE

    23     EXACTLY MR. DEL NERO LIVES.

    24                  I WAS STILL UNCERTAIN AS TO WHETHER OR NOT HE STILL

    25     LIVES WITH YOU AT THE STADIUM STREET ADDRESS.             DOES HE?



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1061                                      SER 212
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5285
                                                             PageID.2514   Page
                                                                 141 of 230Page
                                                                            Page1069
                                                                                  ID ofof
                                                                                339
                                       1196
                                       #:395
                                        445
                                                                                     47



     1     A.    NO, HE DOESN'T.

     2     Q.    DO YOU KNOW WHERE HE LIVES?

     3     A.    AS FAR AS I'M CONCERNED, IN LOS ANGELES.

     4     Q.    DO YOU KNOW WHERE IN LOS ANGELES?

     5     A.    I'M NOT SUPPOSED TO KNOW A LOT BECAUSE HE'S ON A CERTAIN

     6     PROGRAM THAT HE'S TOTALLY PROTECTED, YOU KNOW.             I SHOULD

     7     RESPECT AT LEAST THAT MUCH.          I DON'T COME TO LOS ANGELES THAT

     8     OFTEN.

     9     Q.    I'M SORRY.     HE'S IN SOME KIND OF PROGRAM?

    10     A.    YEAH.

    11     Q.    AND WHAT IS THAT PROGRAM?

    12     A.    I DON'T KNOW.

    13     Q.    HOW DO YOU KNOW HE'S IN A PROGRAM?

    14     A.    BECAUSE HE SAID, "I CAN'T GIVE YOU ADDRESSES," AND SO

    15     ON.   "THE FBI HELPED ME OUT AND THEY PUT ME IN A CERTAIN

    16     PROGRAM."     I DON'T UNDERSTAND HOW IT GOES.

    17     Q.    HE TOLD YOU HE'S IN THE WITNESS PROTECTION PROGRAM?

    18     A.    HE DIDN'T SAY THAT; AND I DIDN'T SAY THAT.

    19     Q.    SO YOU DON'T KNOW ABOUT THE PROGRAM?           YOU DON'T KNOW

    20     WHAT KIND OF PROGRAM IT IS?

    21     A.    NO.

    22     Q.    SO YOU DON'T HAVE AN ADDRESS FOR MR. DEL NERO?

    23     A.    NO.

    24     Q.    DID HE EVER LIVE ON ROBERTSON BOULEVARD IN LOS ANGELES?

    25     A.    I DON'T KNOW.



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1062                                      SER 213
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5286
                                                             PageID.2515   Page
                                                                 142 of 230Page
                                                                            Page1070
                                                                                  ID ofof
                                                                                340
                                       1196
                                       #:396
                                        445
                                                                                      48



     1     Q.      DOES THE ADDRESS 311 NORTH ROBERTSON BOULEVARD, NUMBER

     2     1230, SOUND FAMILIAR -- IN BEVERLY HILLS -- WHERE HE MIGHT

     3     LIVE?

     4     A.      THE ADDRESS SOUNDS FAMILIAR.

     5     Q.      HAVE YOU EVER, SINCE MR. DEL -- DID MR. DEL NERO LIVE IN

     6     THE STADIUM STREET HOUSE WHEN HE WENT TO HIGH SCHOOL?

     7     A.      YES.

     8     Q.      NOW, AT SOME POINT HE STOPPED GOING TO HIGH SCHOOL; IS

     9     THAT CORRECT?

    10     A.      THAT'S CORRECT.

    11     Q.      HE GRADUATED?

    12     A.      MM-HUH.

    13                    THE COURT:   IS THAT A "YES"?

    14                    THE WITNESS:   YES.

    15     BY MR. TURNER:

    16     Q.      AFTER HE GRADUATED, DID HE GO TO COLLEGE OR GET A JOB?

    17     WHAT DID HE DO?

    18     A.      HE WENT TO SCHOOL AND COLLEGES.        I DON'T KNOW THEIR

    19     NAMES RIGHT NOW.

    20     Q.      WHILE HE WAS GOING TO COLLEGES, DID HE LIVE AT STADIUM

    21     STREET OR DID HE LIVE SOMEPLACE ELSE?

    22     A.      HE LIVED SOMEPLACE ELSE, IN OTHER PLACES, YOU KNOW.

    23     LIKE I SAID YESTERDAY, IF HE WANTED TO COME AND SPEND A

    24     COUPLE OF DAYS THAT, YOU KNOW, MY CHILDREN ARE WELCOME.               IF

    25     SOMEBODY NEEDS A PLACE, DARREN WOULD COME AS WELL.



                          UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                          1063                                     SER 214
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5287
                                                             PageID.2516   Page
                                                                 143 of 230Page
                                                                            Page1071
                                                                                  ID ofof
                                                                                341
                                       1196
                                       #:397
                                        445
                                                                                      49



     1     Q.     I UNDERSTAND THAT'S WHAT YOU SAID YESTERDAY, MS. CHAKER.

     2                  TODAY YOU SAID HE DOES NOT LIVE WITH YOU.           HE'S IN

     3     SOME KIND OF PROGRAM.       SO LET'S IGNORE VISITING FOR A COUPLE

     4     OF DAYS.

     5                  AFTER HE LEFT HIGH SCHOOL, DID HE EVER LIVE WITH

     6     YOU?

     7     A.     I BELIEVE SO.

     8     Q.     AT SOME POINT HE GOT MARRIED; IS THAT CORRECT?

     9     A.     I DON'T KNOW ABOUT THAT PART OF IT.

    10     Q.     YOU DON'T KNOW IF HE WAS EVER MARRIED TO A WOMAN NAMED

    11     BRENDA?

    12     A.     BRENDA?   NO.

    13     Q.     DO YOU KNOW WHETHER OR NOT YOUR SON HAS EVER BEEN

    14     MARRIED, MS. CHAKER?

    15     A.     I DON'T KNOW ANY BRENDA.

    16     Q.     I APPRECIATE THAT.      MAYBE I GOT THE NAME WRONG.         MAYBE

    17     I'M CLEARLY MISTAKEN.

    18                  MY QUESTION WAS:      AS HIS MOTHER, DO YOU KNOW IF

    19     HE'S EVER BEEN MARRIED?

    20     A.     I'M NOT SURE OF THAT.

    21     Q.     DO YOU KNOW IF HE'S CURRENTLY MARRIED?

    22     A.     NO.

    23     Q.     YOU DON'T KNOW?

    24     A.     NO.

    25     Q.     DO YOU KNOW IF HE HAS ANY CHILDREN?



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1064                                      SER 215
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5288
                                                             PageID.2517   Page
                                                                 144 of 230Page
                                                                            Page1072
                                                                                  ID ofof
                                                                                342
                                       1196
                                       #:398
                                        445
                                                                                     50



     1     A.    NO.

     2     Q.    YOU DON'T KNOW?

     3     A.    NO.

     4     Q.    LET'S GO BACK TO 2003, MARCH, THAT KEY TIME PERIOD.

     5     A.    YES.

     6     Q.    WE'VE ESTABLISHED THAT THERE'S A DIFFERENCE BETWEEN

     7     VISITING AND LIVING AT STADIUM STREET.

     8     A.    MM-HUH.

     9     Q.    WAS HE LIVING AT THE STADIUM STREET HOUSE IN 2003?

    10     A.    NO.    I MEAN -- NO.

    11     Q.    AND YOU DON'T KNOW WHERE HE WAS LIVING AT THAT TIME?

    12     A.    NO.

    13     Q.    NOW, YOU TESTIFIED BOTH YESTERDAY AND TODAY ABOUT THE

    14     FACT THAT YOU HAVE A VERY CLOSE RELATIONSHIP -- THAT'S THE

    15     LANGUAGE I HAVE ON THE TRANSCRIPT -- AS A MOTHER SHOULD WITH

    16     HER SON.

    17                  AND THAT'S STILL YOUR TESTIMONY, ISN'T IT?

    18     A.    IT IS.

    19     Q.    AND YOU TESTIFIED HE COMES BY OFTEN AND SEES YOU; IS

    20     THAT CORRECT?

    21     A.    THAT'S CORRECT.

    22     Q.    COMES BY THE STADIUM STREET HOUSE?

    23     A.    YES.

    24     Q.    CALLS YOU OFTEN; IS THAT CORRECT?

    25     A.    THAT'S CORRECT.



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1065                                      SER 216
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5289
                                                             PageID.2518   Page
                                                                 145 of 230Page
                                                                            Page1073
                                                                                  ID ofof
                                                                                343
                                       1196
                                       #:399
                                        445
                                                                                     78



     1     Q.    SO YOU TRIED TO CALL MR. DEL NERO AFTER YOU GOT THIS

     2     ALLEGED PHONE CALL ON THE 4TH OF MARCH; IS THAT RIGHT?

     3     A.    THAT'S RIGHT.

     4     Q.    SOME PHONE NUMBER FROM SOMEPLACE?

     5     A.    AND LEFT A MESSAGE.

     6     Q.    ON SOME PHONE NUMBER?

     7     A.    YEAH.

     8     Q.    DID YOU CALL ANYBODY ELSE?

     9     A.    SUCH AS WHO?      FRIEND OR --

    10     Q.    YOUR DAUGHTER?

    11     A.    NO.

    12     Q.    YOUR DAUGHTER IS A LAWYER, ISN'T SHE?

    13     A.    YES.

    14     Q.    AND YOU DIDN'T CALL HER, DID YOU?

    15     A.    NO, I DIDN'T.

    16     Q.    DID YOU CALL ANYONE ELSE?

    17                   THE COURT:    EXCUSE ME.    COULD I HAVE SIDEBAR,

    18     PLEASE.

    19                                     (SIDEBAR.)

    20                   THE COURT:    SHE IS TALKING TO MS. CHAKER.        I'M NOT

    21     GOING TO HAVE HER IN HERE.

    22                   MR. TURNER:    I'M SORRY?

    23                   THE COURT:    I WANT MS. CHAKER OUT OF HERE NOW.          SHE

    24     JUST MOUTHED TO THE WITNESS "I WAS NOT" -- AND I DIDN'T CATCH

    25     IT BEFORE, BUT I'M CLEAR I SAW IT.           I WANT HER OUT OF HERE



                        UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1066                                      SER 218
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5290
                                                             PageID.2519   Page
                                                                 146 of 230Page
                                                                            Page1074
                                                                                  ID ofof
                                                                                344
                                       1196
                                       #:400
                                        445
                                                                                      79



     1     NOW, AND AT THE NEXT BREAK I'M ORDERING HER BACK IN ON A

     2     POTENTIAL CONTEMPT.

     3                  MR. TURNER:     WHAT DO I DO NOW?

     4                  THE COURT:    PARDON ME.     NO.   I'M TALKING ABOUT THE

     5     DAUGHTER.     THE DAUGHTER IS MOUTHING WORDS TO HER MOTHER.

     6     MS. CHAKER IS SITTING OUT IN THE GALLERY AND MAKING

     7     SUGGESTIONS TO HER MOTHER, AND I'M NOT GOING TO HAVE IT.               I

     8     WANT TO LET THE JURY GO RIGHT NOW.          I'M GOING TO LET THE JURY

     9     GO FOR LUNCH RIGHT NOW.        I WANT HER HERE.

    10                                  (END SIDEBAR.)

    11                  THE COURT:    LADIES AND GENTLEMEN OF THE JURY,

    12     SOMETHING HAS JUST COME UP THAT I NEED TO TAKE CARE OF.               I'LL

    13     LET YOU TAKE AN LUNCH EARLY, UNTIL 1:15.

    14                      (THE JURORS EXIT THE COURTROOM.)

    15                  MR. TURNER:     YOUR HONOR, I WANT TO MAKE SURE WE

    16     KEEP THE PAGES.

    17                  THE COURT:    KEEP THE PAGES.

    18                  MR. TURNER:     I'LL GIVE THEM TO MR. SWIGART.

    19                  THE COURT:    THAT'S FINE.

    20                  FOR THE RECORD, THE JURY IS OUT OF THE COURTROOM.

    21     FOR THE RECORD, I'VE SEEN ON A COUPLE OF OCCASIONS AND IN

    22     RESPONSE TO THE LAST QUESTION -- I SAW MS. CHAKER, WHO IS IN

    23     THE GALLERY, WHO IS AN ATTORNEY, MOUTHING WORDS TO HER --

    24                  MS. CHAKER:     I'M SORRY.    I WAS, LIKE --

    25                  THE COURT:    SHE MOUTHED DISTINCTLY, "I WAS" -- AND



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1067                                      SER 219
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5291
                                                             PageID.2520   Page
                                                                 147 of 230Page
                                                                            Page1075
                                                                                  ID ofof
                                                                                345
                                       1196
                                       #:401
                                        445
                                                                                     80



     1     IT WAS DIRECTLY AT YOUR MOTHER.

     2                  MS. CHAKER:     I DID NOT --

     3                  THE COURT:    QUIET.    I WILL DETERMINE LATER ON HOW

     4     I'M GOING TO DEAL WITH THIS.         BUT I'VE SEEN YOU ON A COUPLE

     5     OF OCCASIONS.      AND THIS WAS DIRECTLY TO HER MOTHER.          I

     6     DISTINCTLY SAW IT.       I COULD READ HER LIPS SAYING, "I WAS

     7     NOT" -- I DID NOT CATCH THE END OF IT.           I WILL DEAL WITH IT

     8     LATER, BUT YOU ARE NOT TO BE IN THIS COURTROOM FOR THIS TRIAL

     9     FROM THIS POINT ON.

    10                  DO YOU UNDERSTAND?

    11                  MS. CHAKER:     MAY I ADDRESS THE COURT?

    12                  THE COURT:    GO AHEAD.

    13                  MS. CHAKER:     I'M SORRY.    I WAS JUST SO UPSET BY THE

    14     IMPLICATIONS.      I WAS IN A THIRD-WORLD COUNTRY AND --

    15                  THE COURT:    I DON'T CARE WHERE YOU WERE.         WHAT I'M

    16     CONCERNED ABOUT IS NOT WHERE YOU WERE, IT'S THAT YOU WERE

    17     MOUTHING WORDS DIRECTLY TO YOUR MOTHER.

    18                  MS. CHAKER:     I CAN'T SEE.

    19                  THE COURT:    I DIDN'T ASK YOU A QUESTION AT THIS

    20     POINT.    YOU ARE EXCLUDED FROM THE TRIAL.          YOU ARE NOT TO BE

    21     IN HERE AGAIN.

    22                  I'M ORDERING YOU BACK HERE ON THURSDAY RE CONTEMPT,

    23     FOR WHAT I PERCEIVED TO HAVE BEEN AN ATTEMPT TO COACH THE

    24     WITNESS.     YOU CAN FILE DOCUMENTS BY WEDNESDAY -- I'LL MAKE

    25     THAT TUESDAY.      AND YOU CAN FILE WHATEVER DOCUMENTS YOU WANT



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1068                                      SER 220
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5292
                                                             PageID.2521   Page
                                                                 148 of 230Page
                                                                            Page1076
                                                                                  ID ofof
                                                                                346
                                       1196
                                       #:402
                                        445
                                                                                     81



     1     BY FRIDAY.     BUT I'M VERY CONCERNED HERE.         YOU ARE AN OFFICER

     2     OF THE COURT.

     3                  MS. CHAKER:     I WAS NOT MOUTHING WORDS TO MY MOTHER.

     4                  THE COURT:     I SAW IT CLEARLY.      YOU'RE ORDERED BACK

     5     HERE TUESDAY MORNING AT 9:00 A.M.          YOU CAN FILE WHATEVER YOU

     6     WANT TO IN REGARD TO A POTENTIAL CONTEMPT AND FILE PAPERS ON

     7     FRIDAY, BUT YOU ARE EXCLUDED FROM HERE.

     8                  IS SHE A WITNESS?

     9                  MR. SWIGART:     SHE'S NOT ON OUR LIST.

    10                  MR. TURNER:     NO, YOUR HONOR.

    11                  THE COURT:     YOU ARE NOT TO BE IN THE ROOM DURING

    12     THE TRIAL.

    13                  DO YOU UNDERSTAND?

    14                  THE WITNESS:     I APOLOGIZE.     I FELT SHE WAS BEING

    15     TREATED -- IT WAS PAINFUL TO SEE --

    16                  THE COURT:     YOU CAN PUT WHATEVER YOU WANT TO IN THE

    17     PAPERS BUT, AT THIS JUNCTURE, YOU ARE NOT TO BE IN THE

    18     COURTROOM AT ANY POINT DURING THE PROCEEDINGS.

    19                  CLEAR?

    20                  MS. CHAKER:     ALL RIGHT.    I VERY MUCH APOLOGIZE,

    21     YOUR HONOR.

    22                  THE COURT:     REFERRING TO THE WITNESS -- YOU SAID

    23     YOU COULDN'T SEE WHAT WAS BEING SAID?

    24                  THE WITNESS:     I CAN'T SEE.

    25                  THE COURT:     THOSE GLASSES YOU HAVE, THOSE ARE



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1069                                      SER 221
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5293
                                                             PageID.2522   Page
                                                                 149 of 230Page
                                                                            Page1077
                                                                                  ID ofof
                                                                                347
                                       1196
                                       #:403
                                        445
                                                                                      82



     1     READING GLASSES; CORRECT?

     2                  THE WITNESS:     YES.

     3                  THE COURT:     YOU'RE SAYING YOU CAN'T SEE YOUR

     4     DAUGHTER FROM HERE?

     5                  THE WITNESS:     I CAN SEE A FORM.      AS A MATTER OF

     6     FACT, WHEN I CAME INTO THE COURT YESTERDAY, I COULDN'T EVEN

     7     RECOGNIZE DARREN UNTIL I CAME RIGHT BEHIND HIM, WHEN I

     8     PASSED.

     9                  THE COURT:     ALL RIGHT.    WELL, I'LL LET YOU FILE

    10     WHATEVER YOU WANT TO ON FRIDAY, BUT I'VE SEEN YOU FORMING

    11     WORDS ON A COUPLE OF OCCASIONS AND THE LAST ONE WAS VERY

    12     CLEAR.

    13                  MS. CHAKER:     I WAS, LIKE --

    14                  THE COURT:     YOU'RE AN OFFICER OF THE COURT.         YOU

    15     SHOULD KNOW BETTER.

    16                  MS. CHAKER:     I'M SORRY, YOUR HONOR.       I WASN'T --

    17                  THE COURT:     YOU CAN PUT WHATEVER YOU WANT TO IN THE

    18     PAPERS ON FRIDAY.       YOU ARE NOW EXCLUDED.       PLEASE LEAVE.

    19     THANK YOU.

    20                  COUNSEL, ANYTHING?

    21                  MR. TURNER:     NO, YOUR HONOR.

    22                  THE COURT:     COUNSEL?

    23                  MR. SWIGART:     NO, YOUR HONOR.

    24                  MR. TURNER:     BACK AT 1:30, SIR?

    25                  THE COURT:     MAYBE AT 1:15.



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1070                                        SER 222
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5294
                                                             PageID.2523   Page
                                                                 150 of 230Page
                                                                            Page1078
                                                                                  ID ofof
                                                                                348
                                       1196
                                       #:404
                                        445



     1                             CERTIFICATE OF REPORTER

     2
           COUNTY OF LOS ANGELES           )
     3                                     )    SS.
           STATE OF CALIFORNIA             )
     4

     5

     6     I, ROSALYN ADAMS, OFFICIAL COURT REPORTER, IN AND FOR THE

     7     UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF

     8     CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT TO SECTION 753,

     9     TITLE 28, UNITED STATES CODE, THE FOREGOING IS A TRUE AND

    10     CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY REPORTED

    11     PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT THE

    12     TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE REGULATIONS

    13     OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

    14

    15

    16     DATED:    OCTOBER 29, 2007

    17

    18     __________________________

    19     ROSALYN ADAMS, CSR 11794
           OFFICIAL COURT REPORTER
    20

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                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1071                                      SER 223
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5295
                                                             PageID.2524   Page
                                                                 151 of 230Page
                                                                            Page1079
                                                                                  ID ofof
                                                                                349
                                       1196
                                       #:405
                                        445




                                                              Exhibit I
                                         1072
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5296
                                                             PageID.2525   Page
                                                                 152 of 230Page
                                                                            Page1080
                                                                                  ID ofof
                                                                                350
                                       1196
                                       #:406
                                        445




                                         1073                                      SER 385
       Case
        Case3:16-cv-02186-WQH-MDD
         Case  2:04-cv-01040-ABC-SH Document
             3:16-cv-02186-WQH-MDD   Document127-1
                                    Document 252    Filed03/18/10
                                              47-1 Filed
                                                    Filed 09/23/22 Page
                                                          01/23/17  PageID.5297
                                                                    PageID.2526   Page
                                                                        153 of 230Page
                                                                                   Page1081
                                                                                         ID ofof
                                                                                       351
                                              1196
                                              #:407
                                               445


                1
                       LOSANGELES,CALIFORN~T,;
                                           G~E.DN~SDAP,
                                                    MARCH
                                                        23, 2005,9:30                           A.M.
                                                              --000--




                5 1                     THECOURT: BACKONTHERECORD.I HAVERECEIVED
                6
                       THIS MORNING
                                  THE VARIOUSMOTIONSFROMTHE DEFENDANTS.I
                7      HAVEN'THADA CHANCE
                                        TO REVIEWTHEMCAREFULLY.AS I
                8
                       UNDERSTAND,
                                WE'REGOINGTO BE TAKING
                                                     MS. CHAKER
                                                              FIRST, AND
                9      I'LL     DO THE MOTIONS.

           10                           MR. TURNER:YES, YOURHONOR,
                                                                 WE'LLTAKEMS. CHAKER
           11          FIRST.


           12                           THE COURT:     IS SHE HERE?
C9~
 ;1        13                           MR. HYDE: YES, YOURHONOR.

           14                           THE COURT: MS. CHAKER,YOUUNDERSTAND
                                                                         YOUHAVE
           15         BEEN SWORNAND YOU'RE STILL UNDEROATH?

           16                           THE WITNESS: YES, YOURHONOR.
           17                           THE COURT: PLEASE HAVEA SEAT.

           18                           MR. TURNER:YOURHONOR,
                                                            MAYI APPROACH
                                                                        THEWITNESS
           19
                      FOR A MOMENT
                                 AND MAKESURE I HAVETHE RIGHT EXHIBIT NUMBER?
           20 1                  ·      THE COURT:    YOU MAY.
          21
                                        (COUNSEL APPROACHES WITNESS.)

          22 1                         MR. TURNER: YOURHONOR,IF         I   COULD   APPROACH.   WHEN

          23
                      I EXAMINEDIT,           IAPPARENTLY MISPLACEDA COPY OF THE EXHIBIT.
          24          I'M     SORRY.

Q;:"      25                           THE   COURT:   WHAT?




                                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                                          1074
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5298
                                                             PageID.2527   Page
                                                                 154 of 230Page
                                                                            Page1082
                                                                                  ID ofof
                                                                                352
                                       1196
                                       #:408
                                        445




                                         1075                                      SER 388
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5299
                                                             PageID.2528   Page
                                                                 155 of 230Page
                                                                            Page1083
                                                                                  ID ofof
                                                                                353
                                       1196
                                       #:409
                                        445




                                         1076                                      SER 400
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5300
                                                             PageID.2529   Page
                                                                 156 of 230Page
                                                                            Page1084
                                                                                  ID ofof
                                                                                354
                                       1196
                                       #:410
                                        445




                                         1077                                      SER 401
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5301
                                                             PageID.2530   Page
                                                                 157 of 230Page
                                                                            Page1085
                                                                                  ID ofof
                                                                                355
                                       1196
                                       #:411
                                        445




                                         1078                                      SER 402
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5302
                                                             PageID.2531   Page
                                                                 158 of 230Page
                                                                            Page1086
                                                                                  ID ofof
                                                                                356
                                       1196
                                       #:412
                                        445




                                         1079                                      SER 403
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5303
                                                             PageID.2532   Page
                                                                 159 of 230Page
                                                                            Page1087
                                                                                  ID ofof
                                                                                357
                                       1196
                                       #:413
                                        445




                                         1080                                      SER 404
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5304
                                                             PageID.2533   Page
                                                                 160 of 230Page
                                                                            Page1088
                                                                                  ID ofof
                                                                                358
                                       1196
                                       #:414
                                        445




                                         1081                                      SER 405
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5305
                                                             PageID.2534   Page
                                                                 161 of 230Page
                                                                            Page1089
                                                                                  ID ofof
                                                                                359
                                       1196
                                       #:415
                                        445




                                         1082                                      SER 406
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5306
                                                             PageID.2535   Page
                                                                 162 of 230Page
                                                                            Page1090
                                                                                  ID ofof
                                                                                360
                                       1196
                                       #:416
                                        445




                                         1083                                      SER 407
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5307
                                                             PageID.2536   Page
                                                                 163 of 230Page
                                                                            Page1091
                                                                                  ID ofof
                                                                                361
                                       1196
                                       #:417
                                        445




                                         1084                                      SER 408
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5308
                                                             PageID.2537   Page
                                                                 164 of 230Page
                                                                            Page1092
                                                                                  ID ofof
                                                                                362
                                       1196
                                       #:418
                                        445




                                         1085                                      SER 409
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5309
                                                             PageID.2538   Page
                                                                 165 of 230Page
                                                                            Page1093
                                                                                  ID ofof
                                                                                363
                                       1196
                                       #:419
                                        445




                                         1086                                      SER 410
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5310
                                                             PageID.2539   Page
                                                                 166 of 230Page
                                                                            Page1094
                                                                                  ID ofof
                                                                                364
                                       1196
                                       #:420
                                        445




                                         1087                                      SER 411
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5311
                                                             PageID.2540   Page
                                                                 167 of 230Page
                                                                            Page1095
                                                                                  ID ofof
                                                                                365
                                       1196
                                       #:421
                                        445




                                         1088                                      SER 412
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5312
                                                             PageID.2541   Page
                                                                 168 of 230Page
                                                                            Page1096
                                                                                  ID ofof
                                                                                366
                                       1196
                                       #:422
                                        445




                                         1089                                      SER 413
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5313
                                                             PageID.2542   Page
                                                                 169 of 230Page
                                                                            Page1097
                                                                                  ID ofof
                                                                                367
                                       1196
                                       #:423
                                        445




                                         1090                                      SER 414
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5314
                                                             PageID.2543   Page
                                                                 170 of 230Page
                                                                            Page1098
                                                                                  ID ofof
                                                                                368
                                       1196
                                       #:424
                                        445




                                         1091                                      SER 415
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5315
                                                             PageID.2544   Page
                                                                 171 of 230Page
                                                                            Page1099
                                                                                  ID ofof
                                                                                369
                                       1196
                                       #:425
                                        445




                                         1092                                      SER 416
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5316
                                                             PageID.2545   Page
                                                                 172 of 230Page
                                                                            Page1100
                                                                                  ID ofof
                                                                                370
                                       1196
                                       #:426
                                        445




                                         1093                                      SER 417
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5317
                                                             PageID.2546   Page
                                                                 173 of 230Page
                                                                            Page1101
                                                                                  ID ofof
                                                                                371
                                       1196
                                       #:427
                                        445




                                         1094                                      SER 418
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5318
                                                             PageID.2547   Page
                                                                 174 of 230Page
                                                                            Page1102
                                                                                  ID ofof
                                                                                372
                                       1196
                                       #:428
                                        445




                                         1095                                      SER 419
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5319
                                                             PageID.2548   Page
                                                                 175 of 230Page
                                                                            Page1103
                                                                                  ID ofof
                                                                                373
                                       1196
                                       #:429
                                        445




                                         1096                                      SER 420
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5320
                                                             PageID.2549   Page
                                                                 176 of 230Page
                                                                            Page1104
                                                                                  ID ofof
                                                                                374
                                       1196
                                       #:430
                                        445




                                         1097                                      SER 421
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5321
                                                             PageID.2550   Page
                                                                 177 of 230Page
                                                                            Page1105
                                                                                  ID ofof
                                                                                375
                                       1196
                                       #:431
                                        445




                                         1098                                      SER 422
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5322
                                                             PageID.2551   Page
                                                                 178 of 230Page
                                                                            Page1106
                                                                                  ID ofof
                                                                                376
                                       1196
                                       #:432
                                        445




                                         1099                                      SER 423
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5323
                                                             PageID.2552   Page
                                                                 179 of 230Page
                                                                            Page1107
                                                                                  ID ofof
                                                                                377
                                       1196
                                       #:433
                                        445




                                         1100                                      SER 424
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5324
                                                             PageID.2553   Page
                                                                 180 of 230Page
                                                                            Page1108
                                                                                  ID ofof
                                                                                378
                                       1196
                                       #:434
                                        445




                                         1101                                      SER 435
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5325
                                                             PageID.2554   Page
                                                                 181 of 230Page
                                                                            Page1109
                                                                                  ID ofof
                                                                                379
                                       1196
                                       #:435
                                        445




                                         1102                                      SER 436
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5326
                                                             PageID.2555   Page
                                                                 182 of 230Page
                                                                            Page1110
                                                                                  ID ofof
                                                                                380
                                       1196
                                       #:436
                                        445




                                         1103                                      SER 437
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5327
                                                             PageID.2556   Page
                                                                 183 of 230Page
                                                                            Page1111
                                                                                  ID ofof
                                                                                381
                                       1196
                                       #:437
                                        445




                                         1104                                      SER 438
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5328
                                                             PageID.2557   Page
                                                                 184 of 230Page
                                                                            Page1112
                                                                                  ID ofof
                                                                                382
                                       1196
                                       #:438
                                        445




                                         1105                                      SER 439
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5329
                                                             PageID.2558   Page
                                                                 185 of 230Page
                                                                            Page1113
                                                                                  ID ofof
                                                                                383
                                       1196
                                       #:439
                                        445




                                         1106                                      SER 440
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5330
                                                             PageID.2559   Page
                                                                 186 of 230Page
                                                                            Page1114
                                                                                  ID ofof
                                                                                384
                                       1196
                                       #:440
                                        445




                                         1107                                      SER 441
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5331
                                                             PageID.2560   Page
                                                                 187 of 230Page
                                                                            Page1115
                                                                                  ID ofof
                                                                                385
                                       1196
                                       #:441
                                        445




                                                              Exhibit J
                                         1108
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5332
                                                             PageID.2561   Page
                                                                 188 of 230Page
                                                                            Page1116
                                                                                  ID ofof
                                                                                386
                                       1196
                                       #:442
                                        445




                                         1109                                      SER 356
    Case
     Case3:16-cv-02186-WQH-MDD
      Case  2:04-cv-01040-ABC-SH Document
          3:16-cv-02186-WQH-MDD   Document127-1
                                 Document 252    Filed03/18/10
                                           47-1 Filed
                                                 Filed 09/23/22 Page
                                                       01/23/17  PageID.5333
                                                                 PageID.2562   Page
                                                                     189 of 230Page
                                                                                Page1117
                                                                                      ID ofof
                                                                                    387
                                           1196
                                           #:443
                                            445



              1                        MR.     DEL     NERO,         YOU UNDERSTAND,                   SIR,~     YOU   HA~E    BEEN

              2   SWORN         AND    YOU'RE         STILL     UNDER            OATH?


              3                        THE WITNESS:                  YES,        I   DO.

              4                        THE     COURT:          MR.     TURNER.


              5                        MR.     TURNER:          YES.             THANK YOU,            YOUR HONOR.




              7                                   CROSS-EXAMINATION                         (CONTINUED)

              8   BY     MR.     TURNER:


              9   Q.           GOOD MORNING,            MR.     DEL NERO.

         10       A.           GOOD    MORNING.


         11       O.       MR.        DEL NERO,         I WANT TO MOVE ON TO --                              FROM THE SUBJECT

         12       OF     THE     LAWSUIT        AGAINST         YOUR        MOTHER            IN    SAN    BERNARDINOTO

         13       ANOTHER         AREA,        A COUPLE         OF     POINTS           I     WANTED       TO   CLARIFY       ON

         14       ANOTHER         AREA       ABOUT      THE     NAMES            YOU    USED.


         15                            YOU     SAID     THAT      YOU       SOMETIMES               USED     THE    NAME    CHAKER    TO

         16       FILE     LAWSUITS,            THE NAME CHAKER,                       AND SOMETIMES               DEL NERO,

         17       DEPENDING            ON WHETHER             OR NOT        --       THE      NAME OF        THE    DEBT    THAT'S

         18       TRYING         TO BE COLLECTED;                 IS    THAT CORRECT?

         19       A.       CORRECT.


         20       Q.       AND YOU USED THE NAME CHAKER WHEN YOU SUED YOUR MOTHER;

         21       IS     THAT     CORRECT?


         22       A.       CORRECT.


         23       Q.       BUT        YOUR     MOTHER         WASN'T        TRYING            TO COLLECT           A DEBT     FROM

         24       YOU?

c        25       A.       CORRECT.




                                      UNITED     STATES        DISTRICT              COURT,        CENTRAL      DISTRICT

                                                                  1110
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5334
                                                             PageID.2563   Page
                                                                 190 of 230Page
                                                                            Page1118
                                                                                  ID ofof
                                                                                388
                                       1196
                                       #:444
                                        445




                                         1111                                      SER 361
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5335
                                                             PageID.2564   Page
                                                                 191 of 230Page
                                                                            Page1119
                                                                                  ID ofof
                                                                                389
                                       1196
                                       #:445
                                        445




                                         1112                                      SER 362
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5336
                                                             PageID.2565   Page
                                                                 192 of 230Page
                                                                            Page1120
                                                                                  ID ofof
                                                                                390
                                       1196
                                       #:446
                                        445




                                         1113                                      SER 363
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5337
                                                             PageID.2566   Page
                                                                 193 of 230Page
                                                                            Page1121
                                                                                  ID ofof
                                                                                391
                                       1196
                                       #:447
                                        445




                                         1114                                      SER 364
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5338
                                                             PageID.2567   Page
                                                                 194 of 230Page
                                                                            Page1122
                                                                                  ID ofof
                                                                                392
                                       1196
                                       #:448
                                        445




                                         1115                                      SER 365
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5339
                                                             PageID.2568   Page
                                                                 195 of 230Page
                                                                            Page1123
                                                                                  ID ofof
                                                                                393
                                       1196
                                       #:449
                                        445




                                         1116                                      SER 366
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5340
                                                             PageID.2569   Page
                                                                 196 of 230Page
                                                                            Page1124
                                                                                  ID ofof
                                                                                394
                                       1196
                                       #:450
                                        445




                                         1117                                      SER 367
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5341
                                                             PageID.2570   Page
                                                                 197 of 230Page
                                                                            Page1125
                                                                                  ID ofof
                                                                                395
                                       1196
                                       #:451
                                        445




                                         1118                                      SER 368
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5342
                                                             PageID.2571   Page
                                                                 198 of 230Page
                                                                            Page1126
                                                                                  ID ofof
                                                                                396
                                       1196
                                       #:452
                                        445




                                         1119                                      SER 369
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5343
                                                             PageID.2572   Page
                                                                 199 of 230Page
                                                                            Page1127
                                                                                  ID ofof
                                                                                397
                                       1196
                                       #:453
                                        445




                                         1120                                      SER 370
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5344
                                                             PageID.2573   Page
                                                                 200 of 230Page
                                                                            Page1128
                                                                                  ID ofof
                                                                                398
                                       1196
                                       #:454
                                        445




                                         1121                                      SER 371
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5345
                                                             PageID.2574   Page
                                                                 201 of 230Page
                                                                            Page1129
                                                                                  ID ofof
                                                                                399
                                       1196
                                       #:455
                                        445




                                         1122                                      SER 372
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5346
                                                             PageID.2575   Page
                                                                 202 of 230Page
                                                                            Page1130
                                                                                  ID ofof
                                                                                400
                                       1196
                                       #:456
                                        445




                                         1123                                      SER 373
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5347
                                                             PageID.2576   Page
                                                                 203 of 230Page
                                                                            Page1131
                                                                                  ID ofof
                                                                                401
                                       1196
                                       #:457
                                        445




                                         1124                                      SER 383
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5348
                                                             PageID.2577   Page
                                                                 204 of 230Page
                                                                            Page1132
                                                                                  ID ofof
                                                                                402
                                       1196
                                       #:458
                                        445




                                         1125                                      SER 384
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5349
                                                             PageID.2578   Page
                                                                 205 of 230Page
                                                                            Page1133
                                                                                  ID ofof
                                                                                403
                                       1196
                                       #:459
                                        445




                                                            Exhibit K
                                         1126
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5350
                                                             PageID.2579   Page
                                                                 206 of 230Page
                                                                            Page1134
                                                                                  ID ofof
                                                                                404
                                       1196
                                       #:460
                                        445




                                         1127                                      SER 442
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5351
                                                             PageID.2580   Page
                                                                 207 of 230Page
                                                                            Page1135
                                                                                  ID ofof
                                                                                405
                                       1196
                                       #:461
                                        445



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                  LOS ANGELES, CALIFORNIA; THURSDAY,MARCH24, 2005, .9:-30 A.M,
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         5                       THE CLERK: MATTEROF CALENDAR
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         6
                 CV 04-1040-GPS(SHX): DARREN
                                           DELNERO,ET AL. V. MIDLANDDARREN
         7       CREDIT MANAGEMENT
                                INC.,              ET AL.
         8                       COUNSEL,     STATE YOUR APPEARANCES.

         9                       MR. SWIGART: GOODMORNING,YOURHONOR. JOSH

    10           SWIGARTON BEHALFOF OURCLIENT, MR. DARREN
                                                        DEL NERO, WHOIS
    11           PRESENT.


    12                           MR. HYDE: GOODMORNING,YOURHONOR. ROBERTHYDE
    13           ON BEHALF       OF PLAINTIFF.

    14                           THE COURT:      GOOD MORNING.

    15 1                       MR. TURNER: GOODMORNING,YOURHONOR. STEPHEN
    16           TURNER ON BEHALF OF DEFENDANT, MIDLAND CREDIT MANAGEMENT.

    17           MR. BRIAN FRARY IS HERE AS WELL ON BEHALF OF MIDLAND CREDIT
    18           MANAGEMENT.


    19                         MS. NEFULDA:        GOOD MORNING, YOUR HONOR. LARISSA

    20           NEFULDA ON BEHALF THE MIDLAND CREDIT MANAGEMENT.

    21                         THE COURT:        OKAY.    GOOD.      THANK YOU.

    22                         AND YOU UNDERSTANDYOU'VE BEENSWORN AND YOU'RE

    23           STILL   UNDER        OATH?


    24                         THE WITNESS:        YES, I DO.

   25                          THE COURT:        THANK YOU.        ALL RIGHT.



                             UNITEDSTATESDISTRICTCOURT,CENTRAL
                                                             DISTRICT

                                                   1128
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5352
                                                             PageID.2581   Page
                                                                 208 of 230Page
                                                                            Page1136
                                                                                  ID ofof
                                                                                406
                                       1196
                                       #:462
                                        445




                                         1129                                      SER 447
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5353
                                                             PageID.2582   Page
                                                                 209 of 230Page
                                                                            Page1137
                                                                                  ID ofof
                                                                                407
                                       1196
                                       #:463
                                        445




                                         1130                                      SER 448
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5354
                                                             PageID.2583   Page
                                                                 210 of 230Page
                                                                            Page1138
                                                                                  ID ofof
                                                                                408
                                       1196
                                       #:464
                                        445




                                         1131                                      SER 449
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5355
                                                             PageID.2584   Page
                                                                 211 of 230Page
                                                                            Page1139
                                                                                  ID ofof
                                                                                409
                                       1196
                                       #:465
                                        445




                                         1132                                      SER 450
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5356
                                                             PageID.2585   Page
                                                                 212 of 230Page
                                                                            Page1140
                                                                                  ID ofof
                                                                                410
                                       1196
                                       #:466
                                        445




                                         1133                                      SER 451
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5357
                                                             PageID.2586   Page
                                                                 213 of 230Page
                                                                            Page1141
                                                                                  ID ofof
                                                                                411
                                       1196
                                       #:467
                                        445




                                         1134                                      SER 452
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5358
                                                             PageID.2587   Page
                                                                 214 of 230Page
                                                                            Page1142
                                                                                  ID ofof
                                                                                412
                                       1196
                                       #:468
                                        445




                                         1135                                      SER 453
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5359
                                                             PageID.2588   Page
                                                                 215 of 230Page
                                                                            Page1143
                                                                                  ID ofof
                                                                                413
                                       1196
                                       #:469
                                        445




                                         1136                                      SER 454
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5360
                                                             PageID.2589   Page
                                                                 216 of 230Page
                                                                            Page1144
                                                                                  ID ofof
                                                                                414
                                       1196
                                       #:470
                                        445




                                         1137                                      SER 455
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5361
                                                             PageID.2590   Page
                                                                 217 of 230Page
                                                                            Page1145
                                                                                  ID ofof
                                                                                415
                                       1196
                                       #:471
                                        445




                                         1138                                      SER 456
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5362
                                                             PageID.2591   Page
                                                                 218 of 230Page
                                                                            Page1146
                                                                                  ID ofof
                                                                                416
                                       1196
                                       #:472
                                        445




                                         1139                                      SER 457
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5363
                                                             PageID.2592   Page
                                                                 219 of 230Page
                                                                            Page1147
                                                                                  ID ofof
                                                                                417
                                       1196
                                       #:473
                                        445




                                         1140                                      SER 459
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5364
                                                             PageID.2593   Page
                                                                 220 of 230Page
                                                                            Page1148
                                                                                  ID ofof
                                                                                418
                                       1196
                                       #:474
                                        445




                                                             Exhibit L
                                         1141
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5365
                                                             PageID.2594   Page
                                                                 221 of 230Page
                                                                            Page1149
                                                                                  ID ofof
                                                                                419
                                       1196
                                       #:475
                                        445



     1                            UNITED STATES OF AMERICA

     2                          UNITED STATES DISTRICT COURT

     3                         CENTRAL DISTRICT OF CALIFORNIA

     4                               CENTRAL DIVISION
                                           - - -
     5                        HONORABLE GEORGE P. SCHIAVELLI
                          UNITED STATES DISTRICT JUDGE PRESIDING
     6                                     - - -

     7

     8     DARREN DEL NERO, ET AL.,        )
                                           )
     9                    PLAINTIFF,       )
                                           )
    10     VS.                             ) CV 04-1040-GPS(SHX)
                                           )
    11     MIDLAND CREDIT MANAGEMENT,      )
           INC., ET AL.,                   )
    12                                     )
                         DEFENDANTS.       )
    13     ________________________________)

    14

    15
                          DEFENDANT'S MOTION FOR ATTORNEYS' FEES
    16
                          REPORTER'S TRANSCRIPT OF PROCEEDINGS
    17
                                   LOS ANGELES, CALIFORNIA
    18
                                  MONDAY, NOVEMBER 27, 2006
    19

    20

    21

    22
                                  ROSALYN ADAMS, CSR 11794
    23                             OFFICIAL COURT REPORTER
                                100 UNITED STATES COURTHOUSE
    24                       312 NORTH SPRING STREET, ROOM 410
                               LOS ANGELES, CALIFORNIA 90012
    25                                 (213) 894-2665



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1142                                      SER 857
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5366
                                                             PageID.2595   Page
                                                                 222 of 230Page
                                                                            Page1150
                                                                                  ID ofof
                                                                                420
                                       1196
                                       #:476
                                        445
                                                                                      8



     1     TRIAL.

     2                  SO WHEN MR. STEMPLAR BROUGHT THIS CASE ORIGINALLY,

     3     AND THEN EVENTUALLY DECIDED IT WAS A CONFLICT AND HANDED IT

     4     OVER TO HIS SISTER, MR. DEL NERO'S SISTER --

     5                  THE COURT:    YES, I RECALL.

     6                  MR. HYDE:    YES.   AND SHE, I THINK, TRIED TO RUN

     7     WITH IT FOR A WHILE AND DIDN'T REALIZE THAT THIS WAS GOING TO

     8     TRIAL.    AND SHE CAME TO US WITH THIS.         AND HERE I AM -- WE

     9     TOOK THIS CASE BECAUSE WE, IN ALL HONESTY, WERE DYING TO GO

    10     TO TRIAL.     AND THE REASON WE WANTED TO GO TO TRIAL -- AND I'M

    11     NOT SUGGESTING IT DIDN'T HAVE MERIT, DON'T GET ME WRONG.               I

    12     THOUGHT IT HAD MERIT AND I STILL BELIEVE IT HAD MERIT; BUT WE

    13     TOOK THIS CASE BECAUSE WE WANTED TO GET IN FRONT OF A JUDGE,

    14     LEARN SOME THINGS.       THAT'S WHY BOTH OF US WERE HERE, AND

    15     THAT'S WHY WE TOOK THE CASE.         WE DIDN'T TAKE THE CASE BECAUSE

    16     WE THOUGHT IT WAS THE GREATEST CASE ON EARTH.             LIKE I SAID, I

    17     THOUGHT I HAD MERIT TO IT.

    18                  THE COURT:    WHETHER OR NOT YOU WANTED TO GET TO

    19     TRIAL -- AND I CAN CERTAINLY UNDERSTAND YOUR DESIRE TO GET

    20     INTO A COURTROOM AND INTO TRIAL, IF THAT'S INDEED WHAT YOU

    21     WANTED TO DO.

    22                  THE QUESTION BEFORE ME IN THIS CASE INVOLVE THE

    23     MOTIVES TO THE UNDERPINNINGS IN THE CASE, NOT WHETHER OR NOT

    24     YOU WANTED TO GET INTO TRIAL.

    25                  MR. HYDE:    I UNDERSTAND THAT, YOUR HONOR.         I THINK



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1143                                      SER 862
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5367
                                                             PageID.2596   Page
                                                                 223 of 230Page
                                                                            Page1151
                                                                                  ID ofof
                                                                                421
                                       1196
                                       #:477
                                        445
                                                                                     28



     1                  THE THIRD POINT IS, YOUR HONOR, THAT THE CASES

     2     RELIED UPON BY PLAINTIFF'S AND PLAINTIFF'S COUNSEL DEAL WITH

     3     CIVIL RIGHTS VIOLATIONS.        THE STATUTE IS DIFFERENT.        THE

     4     STATUTE PERTAINS TO APPLIED -- IT SAYS THAT IT GOES TO THE

     5     PREVAILING PARTY.       CLEARLY, SUBSEQUENT CASE LAW SETS A

     6     SOMEWHAT HIGHER BURDEN, BUT IT'S A DIFFERENT BURDEN THAN WE

     7     HAVE HERE, WHERE IT IS BROUGHT IN BAD FAITH IN FOCUS OF

     8     HARASSMENT.     IF THIS WERE THE CASE, A CONSUMER COULD COME IN

     9     TO AN ATTORNEY AND SAY, "I'M GOING BRING THIS CASE IN BAD

    10     FAITH FOR PURPOSE OF HARASSMENT," THE ATTORNEYS SAY, "BOMBS

    11     AWAY.    I NEED THE TRIAL EXPERIENCE.         LET'S GO," AND THE ONLY

    12     PERSON WHO WOULD BE HELD LIABLE UNDER THE STATUTE WOULD BE

    13     THE CONSUMER.

    14                  SECOND POINT -- THE NEXT POINT WOULD BE IF SOMEHOW

    15     IT DOESN'T APPLY, WHICH I THINK IT CLEARLY DOES, THE COURT

    16     HAS THE INHERENT POWER TO IMPOSE SANCTIONS IN THIS CASE IF IT

    17     SOMEHOW DOESN'T BELIEVE THE STATUTE ALLOWS FOR IT.

    18                  AS TO MR. DEL NERO'S MOTIVATION, WE'LL LET IT GO.

    19     THE TENTATIVE WAS ORDER THE FEES AGAINST HIM --

    20                  THE COURT:    I THINK I'VE GOT IT.

    21                  MR. TURNER:     THAT'S WHAT I HAVE, YOUR HONOR.

    22                  THE COURT:    ALL RIGHT.     THE TENTATIVE, AWARDING

    23     FEES OF 137,000 -- ONE MOMENT, I THINK IT'S 616, BUT LET ME

    24     CHECK IT -- $137,616.69 AGAINST MR. DEL NERO WILL BE THE

    25     ORDER.    WITH RESPECT TO THE AWARD AGAINST COUNSEL, THAT WILL



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1144                                      SER 865
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5368
                                                             PageID.2597   Page
                                                                 224 of 230Page
                                                                            Page1152
                                                                                  ID ofof
                                                                                422
                                       1196
                                       #:478
                                        445
                                                                                     29



     1     BE SUBMITTED.      I WANT TO TAKE A LOOK AT A COUPLE OF THINGS.

     2                  MR. TURNER:     THE DEFENDANTS ARE ALLOWED ADDITIONAL

     3     FEES, YOUR HONOR, WHICH ARE DUE PROMPTLY?

     4                  THE COURT:    WHEN ARE YOU GOING TO GET YOUR FEE IN?

     5                  MR. HYDE:    WHEN WOULD BE ACCEPTABLE?        A WEEK FROM

     6     TODAY?

     7                  THE COURT:    A WEEK FROM TODAY.       I'LL LET YOU FILE A

     8     RESPONSE TO THAT, SAY, WITHIN -- IF YOU GET IT WITHIN A WEEK

     9     FROM TODAY, THAT'S A MONDAY.         HAVE IT BY THE FOLLOWING

    10     THURSDAY, YOU THINK?

    11                  MR. HYDE:    IS THAT A WEEK?      YOU MEAN THREE DAYS OR

    12     A WEEK AND THREE DAYS?

    13                  THE COURT:    I DON'T THINK IT'S GOING TO TAKE YOU

    14     THAT LONG TO ARGUE ABOUT THE FEES RELATING TO THIS,

    15     PROCEEDING, DO YOU THINK?        I'LL GIVE YOU ANOTHER WEEK.

    16                  MR. TURNER:     THERE'S SEVERAL OTHER POINTS IN THE

    17     REPLY PAPERS, EVERYTHING AFTER TODAY, YOUR HONOR, SUBSEQUENT

    18     TO THE FILING OF THE MOTION.

    19                  THE COURT:    I DON'T THINK I NEED YOUR PAPERS, HIS

    20     PAPERS, AND THE REPLY PAPERS.

    21                  MR. TURNER:     I WILL WAIVE THE REPLY.

    22                  THE COURT:    YOU JUST DID.

    23                  YOUR PAPERS ARE DUE WITHIN A WEEK.

    24                  YOUR PAPERS ARE DUE A WEEK AFTER THAT.

    25                  IF THERE'S SOMETHING IN THERE THAT I FEEL NEEDS



                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1145                                      SER 866
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5369
                                                             PageID.2598   Page
                                                                 225 of 230Page
                                                                            Page1153
                                                                                  ID ofof
                                                                                423
                                       1196
                                       #:479
                                        445



     1                             CERTIFICATE OF REPORTER

     2
           COUNTY OF LOS ANGELES           )
     3                                     )    SS.
           STATE OF CALIFORNIA             )
     4

     5

     6     I, ROSALYN ADAMS, OFFICIAL COURT REPORTER, IN AND FOR THE

     7     UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF

     8     CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT TO SECTION 753,

     9     TITLE 28, UNITED STATES CODE, THE FOREGOING IS A TRUE AND

    10     CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY REPORTED

    11     PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT THE

    12     TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE REGULATIONS

    13     OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

    14

    15

    16     DATED:    OCTOBER 24, 2007

    17

    18     __________________________

    19     ROSALYN ADAMS, CSR 11794
           OFFICIAL COURT REPORTER
    20

    21

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                       UNITED STATES DISTRICT COURT, CENTRAL DISTRICT

                                         1146                                      SER 867
Case
 Case3:16-cv-02186-WQH-MDD
  Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD   Document127-1
                             Document 252    Filed03/18/10
                                       47-1 Filed
                                             Filed 09/23/22 Page
                                                   01/23/17  PageID.5370
                                                             PageID.2599   Page
                                                                 226 of 230Page
                                                                            Page1154
                                                                                  ID ofof
                                                                                424
                                       1196
                                       #:480
                                        445




                                                           Exhibit M
                                         1147
Case
 Case3:16-cv-02186-WQH-MDD
  Case  Case
      3:16-cv-02186-WQH-MDD
        2:04-cv-01040-ABC-SH  Document
             2:05-cv-07851-RSWL-PLA
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                                Document127-1
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                                                     01/23/17   PageID.5371
                                                     Filed 04/04/2006
                                                              Page  227 Page   Page
                                                                        of 2301Page
                                                                PageID.2600          1155
                                                                                ofPage ID ofof
                                                                                   4 425
                                         1196
                                         #:481
                                          445




                                            1148                                    SER 986
Case
 Case3:16-cv-02186-WQH-MDD
  Case  Case
      3:16-cv-02186-WQH-MDD
        2:04-cv-01040-ABC-SH  Document
             2:05-cv-07851-RSWL-PLA
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                                Document127-1
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                                               29 03/18/10
                                                     01/23/17   PageID.5372
                                                     Filed 04/04/2006
                                                              Page  228 Page   Page
                                                                        of 2302Page
                                                                PageID.2601          1156
                                                                                ofPage ID ofof
                                                                                   4 426
                                         1196
                                         #:482
                                          445




                                            1149                                    SER 987
Case
 Case3:16-cv-02186-WQH-MDD
  Case  Case
      3:16-cv-02186-WQH-MDD
        2:04-cv-01040-ABC-SH  Document
             2:05-cv-07851-RSWL-PLA
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                                               Filed 09/23/22
                                               29 03/18/10
                                                     01/23/17   PageID.5373
                                                     Filed 04/04/2006
                                                              Page  229 Page   Page
                                                                        of 2303Page
                                                                PageID.2602          1157
                                                                                ofPage ID ofof
                                                                                   4 427
                                         1196
                                         #:483
                                          445




                                            1150                                    SER 988
Case
 Case3:16-cv-02186-WQH-MDD
  Case  Case
      3:16-cv-02186-WQH-MDD
        2:04-cv-01040-ABC-SH  Document
             2:05-cv-07851-RSWL-PLA
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                                               29 03/18/10
                                                     01/23/17   PageID.5374
                                                     Filed 04/04/2006
                                                              Page  230 Page   Page
                                                                        of 2304Page
                                                                PageID.2603          1158
                                                                                ofPage ID ofof
                                                                                   4 428
                                         1196
                                         #:484
                                          445




                                            1151                                    SER 989
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed 01/23/17
                                      47-1 Filed 09/23/22 PageID.2604
                                                          PageID.5375 Page
                                                                      Page 429
                                                                           1159ofof
                                      1196
                                       445




                          EXHIBIT P




                                       1152
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5376
                                                              PageID.2605  Page
                                                                 1 of 11 Page
                                                                           Page  1160ofof
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                                                                                 430
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                                        445


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       6 Attorneys for Defendants
         Midland Credit Management, Inc. and
       7 MRC Receivables Corporation
       8
       9                         UNITED STATES DISTRICT COURT
      10                        CENTRAL DISTRICT OF CALIFORNIA
      11
      12
            DARREN DEL NERO and NICOLE )               CASE NO.: CV 04-1040 ABC (SHx)
      13    SHAKER,                    )
                                       )               REPLY MEMORANDUM OF
      14            Plaintiffs,        )               POINTS AND AUTHORITIES IN
                                       )               SUPPORT OF DEFENDANTS’
      15            vs.                )               MOTION FOR AWARD OF
                                       )               ATTORNEYS’ FEES AND COSTS
      16    MIDLAND CREDIT             )               PURSUANT TO 28 U.S.C. § 1927
            MANAGEMENT, INC. MRC       )               AND THE COURT’S INHERENT
      17    RECEIVABLES CORP. and DOES )               AUTHORITY
            1-10,                      )
      18                               )               Hearing Date:     Vacated
                    Defendants.        )
      19                               )               The Honorable Audrey B. Collins
                                       )
      20                               )
                                       )
      21                               )

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      23
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      28
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES


                                            1153
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
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                                                 03/22/10
                                                    01/23/17  PageID.5377
                                                              PageID.2606  Page
                                                                 2 of 11 Page
                                                                           Page  1161ofof
                                                                              ID #:486
                                                                                 431
                                       1196
                                        445


       1   I.    INTRODUCTION
       2         Robert L. Hyde and Joshua B. Swigart of the Hyde & Swigart law firm
       3   (collectively “Hyde & Swigart”) have supplied a long list of reasons why the
       4   Court should not direct them to pay the attorneys’ fees and costs incurred by
       5   Defendants. None have merit.
       6         The Court previously made a clear finding that this case was filed and
       7   pursued in bad faith, and that Hyde & Swigart should be held jointly and severally
       8   liable for all the fees and costs incurred by Midland Credit Management, Inc. and
       9   MRC Receivables, Corp. (collectively, “Midland”). Although Hyde & Swigart
      10   now pretends that the finding was never made, the record shows that it was. In
      11   fact, the firm filed extensive briefs seeking reconsideration of the ruling, but their
      12   motion was denied.
      13         The Ninth Circuit’s subsequent opinion did not address this Court’s finding
      14   of bad faith, and did not disturb it. Midland was not required to seek rehearing in
      15   the Ninth Circuit. Nor does the Ninth Circuit’s mandate prevent Midland’s
      16   request. Hyde & Swigart has not found a procedural barrier to this motion.
      17         Nor is there a need for the Court to make “new” findings. Rather, the Court
      18   need only rule on the legal issues presented by the motion, based on the
      19   undisturbed factual findings made by Judge Schiavelli. As a matter of law, those
      20   findings support an award of sanctions against Hyde & Swigart under 28 U.S.C. §
      21   1927 and the Court’s inherent authority. The motion should be granted.
      22
      23   II.   ARGUMENT
      24         A.     Midland Was Not Required To Seek Rehearing Before Filing Its
                        Motion, Nor Is Its Motion Barred By The Doctrines Of Collateral
      25                Estoppel Or Issue Preclusion
      26         Hyde & Swigart argues that this motion is an impermissible end-run around
      27   Rule 40 of the Federal Rules Of Appellate Procedure, which governs petitions for
      28
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                            1.

                                             1154
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5378
                                                              PageID.2607  Page
                                                                 3 of 11 Page
                                                                           Page  1162ofof
                                                                              ID #:487
                                                                                 432
                                       1196
                                        445


       1   rehearing. That rule provides that a petition “must state with particularity each
       2   point of law or fact that the petitioner believes the court has overlooked or
       3   misapprehended.”1 Fed. R. App. P. 40(a)(2) (italics added). Midland was not
       4   required to petition for rehearing before bringing this motion. On its face, the
       5   Rule 40 does not authorize a petition for rehearing based on an appellate court’s
       6   failure to explicitly address each issue or argument raised on appeal. Hyde &
       7   Swigart has not cited a single case holding that the failure to file a petition for
       8   rehearing bars a losing appellee from seeking further relief in the district court.2
       9
      10
      11
                 1
                  Hyde & Swigart maintain that the Ninth Circuit considered Midland’s
      12
         suggestion that it could remand the case to this Court to consider imposing sanctions
      13 under section 1927 or the Court’s inherent authority. See Document No. 247 at 8:12-
         19. The Ninth Circuit’s opinion, however, was silent as to Midland’s suggestion.
      14
                 2
      15           None of the cases Hyde & Swigart cite at page 9 of their opposition preclude
           the Court from considering Midland’s motion. Campbell v. United States, 592 F.2d
      16   309, 312 (6th Cir. 1979) is distinguishable because Midland does not contend that the
      17   Ninth Circuit “inadvertently overlook[ed] critical facts which makes its decision
           incorrect or unjust.” United States v. Gargotto, 510 F.2d 409, 412 (6th Cir. 1974) did
      18
           not address the issue raised here. It held that absent a petition for rehearing following
      19   a previous appeal, a party could not in a subsequent appeal “re-raise issues decided
           by this court.” The Ninth Circuit did not decide the issue Midland now presents to
      20
           this Court. Burkett v. Shell Oil Co., 487 F.2d 1308, 1315 (5th Cir. 1973) simply held
      21   that a plaintiff could not reargue in the district court motions that the court had
      22
           previously decided, even though the appellate court erroneously stated that the
           motions had not been decided (and therefore did not address on appeal the issues
      23   raised by those motions). Unlike Scott v. Churchill, 377 F.3d 565 (6th Cir. 2004),
      24   Midland does not argue there was a misstatement of law or fact in the Ninth Circuit’s
           opinion. In fact, Midland is not challenging any portion of that opinion. Neither
      25   Association of Am. Physicians & Surgeons v. Brewer, 497 F.3d 1056 (9th Cir. 2007),
      26   nor United States v. Kelley, 482 F.3d 1047 (9th Cir. 2007) held that a party must file
           a motion for clarification in the appellate court before seeking relief in the district
      27   court. They granted motions for clarification, without discussing the necessity or
      28   standard for doing so.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                             2.

                                             1155
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5379
                                                              PageID.2608  Page
                                                                 4 of 11 Page
                                                                           Page  1163ofof
                                                                              ID #:488
                                                                                 433
                                       1196
                                        445


       1   Nor has the firm addressed any of the cases cited by Midland showing that this
       2   Court has the “ever present” authority to entertain its motion.3
       3         Hyde & Swigart also argues that Midland is collaterally estopped or
       4   precluded from relitigating the issues of “(bad faith, inherent authority, and 28
       5   U.S.C. § 1927)” because those issues were argued in, and decided by, the Ninth
       6   Circuit. Document No. 247 at 10:13-24. Not so.
       7         It is true that on appeal, Midland argued, as an alternative ground for
       8   affirming this Court’s decision, that Hyde & Swigart could be held jointly and
       9   severally liable under the district court’s inherent authority for the fees that had
      10   been awarded. See Document No. 247-3. But there is nothing in the Ninth Circuit
      11   opinion indicating that it considered the argument. Rather, the Court discussed
      12   section 1927 in the context of distinguishing a case cited by Midland. See Hyde v.
      13   Midland Credit Management, Inc., 567 F.3d 1137, 1141 (9th Cir. 2009)
      14   (distinguishing Chaudhry v. Gallerizzo, 174 F.3d 394 (4th Cir. 1999) (affirming
      15   sanctions award)). Neither this Court nor the Ninth Circuit have previously
      16
      17
      18
      19
      20
                 3
      21           See, e.g., Red Carpet Studios Division of Source Advantage, Ltd. v. Sater,
      22
           465 F.3d 642, 645 (6th Cir. 2006) (“a court’s jurisdiction to issue sanctions under 28
           U.S.C. § 1927 or pursuant to a court’s inherent authority is ever present.”).
      23   Following reversal, it is within the Court’s discretion to allow a party to raise an issue
      24   that could have been, but was not, raised in an earlier proceeding, particularly where,
           as here, the issue involves a question of law, the failure to raise it earlier was not a
      25   result of bad faith and the opposing party would not be prejudiced by its
      26   consideration. See Riley v. MEBA Pension Trust, 452 F. Supp. 117, 120 (S.D.N.Y.
           1978); see also United States v. Moriel-Luna, 585 F.3d 1191, 1199 n.6 (9th Cir.
      27   2009) (rejecting argument that by failing to raise argument on appeal, party had
      28   waived argument and could not raise it in district court following reversal).
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                              3.

                                              1156
Case 3:16-cv-02186-WQH-MDD
  Case
 Case  2:04-cv-01040-ABC-SH Document
      3:16-cv-02186-WQH-MDD Document
                             Document 127-1
                                     253      Filed
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                                                 03/22/10
                                              Filed 01/23/17  PageID.5380  Page
                                                                 5 of 11 Page
                                                              PageID.2609        1164ofof
                                                                              ID #:489
                                                                           Page  434
                                       1196
                                        445


       1   decided the issues of inherent authority and section 1927. Midland’s motion is not
       2   barred by collateral estoppel or issue preclusion.4
       3         B.     The Ninth Circuit’s Mandate Does Not Preclude This Court From
                        Awarding Midland Its Attorneys’ Fees And Costs Pursuant To
       4                Section 1927 Or The Court’s Inherent Authority
       5         Hyde & Swigart maintains that this motion is improper because “the Ninth
       6   Circuit opinion reversed as to the issues in the trial court’s order, that is bad faith,
       7   Rule 11, and 15 U.S.C. § 1692k(a)(3).” Document No. 247 at 5:16-18. While it is
       8   correct that the Ninth Circuit reversed the district court’s legal conclusion that
       9   section 1692k(a)(3) authorized a fee award against plaintiff’s counsel, see 567
      10   F.3d at 1141-42, it is incorrect regarding the treatment of the district court’s
      11   factual finding of bad faith. The Ninth Circuit did not address the propriety of that
      12   finding, but rather assumed that the action “‘was brought in bad faith and for the
      13   purpose of harassment’ within the meaning of § 1692k(a)(3).” See id. at 1139.
      14         Hyde & Swigart suggests the Ninth Circuit’s mandate requires the Court “to
      15   dismiss Hyde & Swigart from the proceedings.” Document No. 247 at 5:20-21.
      16   The mandate, however, did not direct this. The firm points to no authority
      17   requiring this Court to dismiss it from the lawsuit. The Court is free to consider
      18   the issues raised by Midland’s motion, which were not resolved by the appellate
      19   court. See United States v. Cote, 51 F.3d 178, 181-82 (9th Cir. 1995); see also
      20   United States v. Kellington, 217 F.3d 1084, 1094 (9th Cir. 2000) (district court
      21
      22         4
                    Hyde & Swigart contends that the question decided on appeal – whether
      23   attorneys’ fees and costs could be imposed against a plaintiff’s attorney under section
      24   1692k(a)(3) – was not a question of first impression. For this reason, it suggests that
           Midland “should have anticipated that this issue would be reversed, as nearly every
      25   circuit court in the country, including the Ninth Circuit” had addressed it. See
      26   Document No. 247 at 1:3-6, 1:13-14. Hyde & Swigart has not cited to a single
           judicial opinion that supposedly resolved the issue. The firm also ignores the Ninth
      27   Circuit’s pellucid statement that it was “an issue of first impression in this circuit.”
      28   Hyde, 567 F.3d at 1140.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                             4.

                                             1157
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
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                                                 03/22/10
                                                    01/23/17  PageID.5381
                                                              PageID.2610  Page
                                                                 6 of 11 Page
                                                                           Page  1165ofof
                                                                              ID #:490
                                                                                 435
                                       1196
                                        445


       1   free to address issues neither expressly nor impliedly resolved by the appeal);
       2   Herrington v. County of Sonoma, 12 F.3d 901, 904-05 (9th Cir. 1993) (holding
       3   that “rule of mandate allows a lower court to decide anything not foreclosed by the
       4   mandate”).
       5         Hyde & Swigart should not be permitted to avoid responsibility for its
       6   misconduct simply because this Court imposed sanctions under the wrong legal
       7   provision. Judge Schiavelli clearly believed counsel’s conduct warranted the
       8   imposition of joint and several liability for significant sanctions. The issue can
       9   and should be addressed now.
      10         C.     The Existing Findings Show Midland Is Entitled To An Award Of
                        Attorneys’ Fees And Costs Pursuant To 28 U.S.C. § 1927
      11
                 Hyde & Swigart claims there was no finding that it acted recklessly or in
      12
           bad faith. As support, the firm relies upon the Court’s July 11, 2006 post-trial
      13
           Findings of Fact and Conclusions of Law (Document No. 144). It is not surprising
      14
           there is no finding of bad faith at that earlier stage in the case, however, because
      15
           the parties had not even briefed the issue of sanctions when those early findings
      16
           were made.
      17
                 After this Court issued the findings cited by Hyde & Swigart, Midland filed
      18
           its motion to recover its costs and attorney’s fees. See Docket 157. Only then did
      19
           the parties engage in extensive briefing on the sanctions issue, which resulted in
      20
           the Court’s February 20, 2007 Order Awarding Attorneys’ Fees and Costs
      21
           (Document No. 193). See Document No. 247 at 7:2-6, 12:12-19.5
      22
      23
      24
                 5
                   Hyde & Swigart also cites to and quotes extensively from the transcript of
      25 the oral argument before the Ninth Circuit. See Document No. 247 at 1:8-12, 13:7-
      26 14:4, 20:18-21:9. With due respect, the observations of Judges Paez and Fletcher
         from the hearing are not part of the Ninth Circuit’s opinion and are irrelevant here.
      27 In re Khan, 1995 WL 150551, *2 (N.D. Cal. Mar. 27, 1995), which the firm cites,
      28 relied upon a decision of the California Supreme Court, not federal law.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                             5.

                                            1158
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5382
                                                              PageID.2611  Page
                                                                 7 of 11 Page
                                                                           Page  1166ofof
                                                                              ID #:491
                                                                                 436
                                       1196
                                        445


       1         In its February 20 Order, the Court explicitly found that the case “was
       2   brought in bad faith and for the purpose of harassment,” and, despite the firm’s
       3   extensive briefing in opposition to the motion, it determined that Hyde & Swigart
       4   should be jointly and severally liable for the fees incurred as a result of the bad
       5   faith. See Document No. 193 at 2:12, 3:13; see also Document No. 215 at 1:20-21
       6   (Judgment). When making this determination, Judge Schiavelli explicitly found
       7   that the firm had “participated in the filing of bad faith FDCPA actions.” See id. at
       8   4:17-18.6 The firm subsequently filed a motion for reconsideration of the finding
       9   of joint and several liability, but that motion was also rejected. See Document
      10   Nos. 199, 200 & 214.
      11         Hyde & Swigart attacks Midland for describing the factual and procedural
      12   history of this case, suggesting that Midland is improperly asking this Court to
      13   make additional findings. On the contrary, Midland simply pointed to portions of
      14   the record, which are reflected on the existing docket, in order to enable this Court
      15   to understand the context in which Judge Schiavelli found that Hyde & Swigart
      16   acted in bad faith and held it jointly and severally liable for Midland’s attorneys’
      17   fees and costs. Midland has not asked this Court to make any findings. It has
      18
      19
                 6
                    Hyde & Swigart argues that the February 20 fee order was reversed “in its
      20
           entirety,” Document No. 247 at 15:7-8, and therefore the factual finding that Hyde
      21   & Swigart acted in bad faith has been undone. Again, the Ninth Circuit left
      22
           untouched Judge Schiavelli’s finding of bad faith. See 567 F.3d at 1139. The
           authorities cited by the firm do not apply here and are not binding. The only Ninth
      23   Circuit decision the firm cites, State of Calif. Dept. of Soc. Servs. v. Thompson, 321
      24   F.3d 835 (9th Cir. 2003), is not accurately described. It held that the plaintiff, who
           did not appeal, would be bound by any decision reversing the district court’s ruling
      25   in an appeal brought by an intervening party. See id. at 847 (“Thus, if the judgment
      26   of the district court is reversed, the Secretary would be bound by our decision for all
           purposes.”). None of the other cases cited address the effect of an appellate court’s
      27   opinion that reverses a trial court’s ruling on a legal issue, while assuming the trial
      28   court’s factual findings were correct, as is the case here.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                             6.

                                             1159
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5383
                                                              PageID.2612  Page
                                                                 8 of 11 Page
                                                                           Page  1167ofof
                                                                              ID #:492
                                                                                 437
                                       1196
                                        445


       1   simply asked the Court apply the earlier, undisturbed findings and award its
       2   attorneys’ fees and costs pursuant to different legal theories. See Document No.
       3   246 at 2:19-3:2, 20:14-16, 21:4-6, 23:9-10 (“No further findings are necessary.”).
       4         Hyde & Swigart also accuses Midland of “selective revisionism,” and
       5   attempts to convince the Court that it has taken the high road by choosing not to
       6   respond to Midland.7 Ironically, however, Hyde & Swigart then proceeds to argue
       7   at length for the Court to revisit Judge Schiavelli’s factual finding of bad faith.8
       8   See Document No. 247 at 16:13-21:28.9
       9
      10         7
                   Hyde & Swigart claims Midland wants to “‘poison the well’”against the firm
      11   by describing the record of this case, Document No. 247 at 2:10-11, but then Hyde
      12   & Swigart proffers its own purported “poison” by suggesting other courts have found
           that Midland has acted improperly, see id. at 4:15-28. In its zeal to vilify Midland,
      13   however, Hyde & Swigart sacrifices accuracy. The February 26, 2010 Order issued
      14   by an Ohio court in Midland Funding LLC v. Nedrow, does not state that Midland
           Funding LLC committed fraud on the court. Rather, the “Stay Recommendation”
      15
           notes that “William R. Ritchey, Owner/Agent of Midland Funding LLC” served a
      16   “Judicial notice” “request[ing] that this case be stayed . . . due to the fraud committed
           upon all parties, . . . and upon us, Midland funding LLC.” See Document No. 247-
      17
           2 (emphasis added). Nor does the case of Midland Funding LLC v. Brent, 644 F.
      18   Supp. 2d 961 (N.D. Ohio 2009), hold that Midland “routinely submit[s] false
      19
           affidavits in litigation.” Regardless, there nothing to suggest Midland has mislead
           this Court.
      20
                 8
                In some instances Hyde & Swigart chooses to provide additional background
      21
         information without any citation to the record supporting its statements. See, e.g.,
      22 Document No. 247 at 2:21-3:1, 3:14-21.
      23         9
                    It is irrelevant that Hyde & Swigart believed that the claims were colorable,
      24   or that the claims survived the Rule 52 motion. Nor is Hyde & Swigart’s
           interpretation of comments by two Ninth Circuit judges during oral argument relevant
      25   to the analysis. A finding of bad faith “does not require that the legal and factual
      26   basis for the action prove totally frivolous; where a litigant is substantially motivated
           by vindictiveness, obduracy, or mala fides, the assertion of a colorable claim will
      27
           not bar the assessment of attorney’s fees. (Citation).” In Re Itel Secs. Litig., 791
      28                                                                               (continued...)
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                              7.

                                             1160
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD Document
       2:04-cv-01040-ABC-SH Document
                             Document 127-1
                                     253      Filed
                                       47-1Filed
                                              Filed 09/23/22Page
                                                 03/22/10
                                                    01/23/17  PageID.5384
                                                              PageID.2613  Page
                                                                 9 of 11 Page
                                                                           Page  1168ofof
                                                                              ID #:493
                                                                                 438
                                       1196
                                        445


       1         Hyde & Swigart relies almost exclusively on out-of-circuit authority, and
       2   does not address the binding Ninth Circuit authorities cited by Midland. Contrary
       3   to the firm’s assertion, “a clear showing of bad faith,” id. at 10:27-28 (citing
       4   Second Circuit case), is not required.
       5         Nothing in the plain language of section 1927 requires a showing of bad
       6   faith. See 28 U.S.C. § 1927 (“Any attorney . . . who so multiplies the proceedings
       7   in any case unreasonably and vexatiously may be required by the court to satisfy
       8   personally the excess costs, expenses, and attorneys’ fees reasonably incurred
       9   because of such conduct.”). The Ninth Circuit has made clear that bad faith is not
      10   required. See B.K.B. v. Maui Police Dep’t, 276 F.3d 1091, 1107 (9th Cir. 2002).
      11   Rather, reckless conduct will suffice. See Gomez v. Vernon, 255 F.3d 1118, 1134
      12   (9th Cir. 2001).10
      13         The Ninth Circuit did not disturb Judge Schiavelli’s finding that Hyde &
      14   Swigart acted in bad faith. This Court does not need to make any further findings.
      15   Based on the existing finding, Hyde & Swigart should be held responsible for the
      16   attorneys’ fees and costs incurred by Midland pursuant to 28 U.S.C. § 1927.
      17
      18
                 9
                     (...continued)
      19   F.2d at 675 (emphasis supplied); see also Fink, 239 F.3d at 992 (“Itel teaches that
      20   sanctions are justified when a party acts for an improper purpose – even if the act
           consists of making a truthful statement or a non-frivolous argument or objection.”).
      21   Judge Schiavelli was not prohibited from taking into account Hyde & Swigart’s
      22   conduct in other litigation. See Artese v. Academy Collection Serv., Inc., 2000 WL
           133733, at *4 (D. Conn. Jan. 18, 2000); see also Johnson v. Commissioner of Internal
      23
           Revenue, 289 F.3d 452, 456-57 (7th Cir. 2002) (“The Tax Court was not required to
      24   ignore Izen’s bad conduct in other cases; indeed it would have been remiss not to
           consider it.”).
      25
                 10
      26          Hyde & Swigart’s reliance on MGIC Indem. Corp. v. Moore, 952 F.2d 1120
         (9th Cir. 1991) is misplaced. There, unlike here, the district court “made no specific
      27 finding of bad faith,” and, as the Ninth Circuit observed, the event precipitating the
      28 award of sanction was “as consistent with negligence as with bad faith.” Id. at 1122.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                            8.

                                            1161
Case
 Case3:16-cv-02186-WQH-MDD
 Case 3:16-cv-02186-WQH-MDD Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    253
                                      47-1   Filed
                                         Filed
                                             Filed 09/23/22
                                                03/22/10
                                                   01/23/17 PageID.5385
                                                          Page
                                                            PageID.2614   Page
                                                               10 of 11 Page
                                                                          Page  1169
                                                                             ID 439 ofof
                                                                                #:494
                                      1196
                                       445


       1         D.     The Court Can Sanction Hyde & Swigart Under Its Inherent
                        Powers
       2
                 Hyde & Swigart relies solely on Mendez v. County of San Bernardino, 540
       3
           F.3d 1109 (9th Cir. 2008), to argue it should not be sanctioned under the Court’s
       4
           inherent authority because there is no evidence its conduct “was not in
       5
           conformance with the court’s requirements.” Document No. 247 at 22:27-28.
       6
           Mendez does not help Hyde & Swigart. In Mendez, the trial court failed to make
       7
           “an express finding of bad faith.” See 540 F.3d at 1130, 1132.11
       8
                 Here, again, there was a finding of bad faith. Based on that finding, Hyde &
       9
           Swigart should be sanctioned pursuant to the Court’s inherent authority.12 See
      10
           Roadway Express v. Piper, 447 U.S. 752, 765-66 (1980) (court’s inherent powers
      11
           include power to sanction attorney for “bad faith” conduct by directing attorney to
      12
           pay fees incurred by opposing party).
      13
                 E.     Midland Is Entitled To Recover The Full Amount Of Its Fees
      14
                 Finally, Hyde & Swigart argues that section 1927 authorizes the Court to
      15
           award only the “excess” attorneys’ fees and costs it caused Midland to incur, and
      16
      17
                 11
      18           The trial court also failed to give counsel notice that he was required to
         appear at a “show cause” hearing, see id., but given the lack of the requisite bad faith
      19 finding, sanctions were inappropriate regardless of counsel’s failure to appear. In any
      20 event, Hyde & Swigart were given notice of the possibility that the Court might hold
         them jointly and severally liable for the attorneys’ fees and were given an opportunity
      21 to respond.
      22         12
                     As with section 1927, a finding of bad faith is not required; conduct
      23   “‘tantamount to bad faith’ is sanctionable.” B.K.B., 276 F.3d at 1108; accord Fink,
      24   239 F.3d at 993-94; Gomez v. Vernon, 255 F.3d at 1134 (district court did not commit
           clear error “in finding conduct tantamount to bad faith” and imposing sanctions under
      25   its inherent authority). Reckless conduct, combined with an improper purpose or
      26   knowing misconduct, will also suffice. See B.K.B., 276 F.3d at 1107-08; Fink v.
           Gomez, 239 F.3d 989, 94 (9th Cir. 2001); see also In Re Itel Secs. Litig., 791 F.2d
      27   672, 675 (9th Cir. 1986) (sanctions proper where counsel “willfully abused judicial
      28   process or otherwise conducted litigation in bad faith.”).
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                            9.

                                            1162
Case
 Case3:16-cv-02186-WQH-MDD
 Case 3:16-cv-02186-WQH-MDD Document
      2:04-cv-01040-ABC-SH Document
                             Document127-1
                                    253
                                      47-1   Filed
                                         Filed
                                             Filed 09/23/22
                                                03/22/10
                                                   01/23/17 PageID.5386
                                                          Page
                                                            PageID.2615   Page
                                                               11 of 11 Page
                                                                          Page  1170
                                                                             ID 440 ofof
                                                                                #:495
                                      1196
                                       445


       1   that there were no such fees and costs incurred.13 But Judge Schiavelli already
       2   found that the entire case was brought in bad faith. See Document No. 193 at
       3   2:12, 3:9; Document No. 215 at 1:20-21. By awarding Midland $155,979.09 in
       4   fees and costs, and holding Hyde & Swigart jointly and severally liable for that
       5   amount, it is apparent he concluded all of these fees and costs were excess fees
       6   and costs. If the case had not been brought and litigated through trial, none of the
       7   fees and costs would have been incurred.
       8
       9   III.   CONCLUSION
      10          For the foregoing reasons, Midland respectfully requests that the Court hold
      11   Hyde & Swigart jointly and severally liable for the entire amount of its attorneys’
      12   fees and costs, pursuant to 28 U.S.C. § 1927, and/or the Court’s inherent authority.
      13
      14   DATED: March 22, 2010                  SIMMONDS & NARITA LLP
                                                  TOMIO B. NARITA
      15                                          JEFFREY A. TOPOR
      16
      17
                                                  By:   s/Jeffrey A. Topor
      18                                                 Attorneys for Defendants
                                                         Midland Credit Management, Inc. and
      19                                                 MRC Receivables Corporation
      20
      21
      22
      23
      24
      25
      26
      27          13
                  Hyde & Swigart does not argue that there is any such limit on Court’s
      28 inherent authority to impose sanctions.
           DEL NERO ET AL. V. MIDLAND CREDIT MANAGEMENT ET AL. (CASE NO. CV 04-1040 ABC (SHx))
           REPLY ISO DEFENDANTS’ MOTION FOR AW ARD OF ATTORNEYS’ FEES                            10.

                                            1163
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1 Filed 01/23/17
                                      47-1 Filed 09/23/22 PageID.2616
                                                          PageID.5387 Page
                                                                      Page 441
                                                                           1171ofof
                                      1196
                                       445




                         EXHIBIT Q




                                       1164
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD  Document
        2:04-cv-01040-ABC-SH Document 127-1
                              Document254    Filed
                                       47-1Filed
                                             Filed 09/23/22Page
                                                 03/30/10
                                                   01/23/17 PageID.5388
                                                            PageID.2617   Page
                                                                1 of 4 Page
                                                                          Page  1172ofof
                                                                            ID #:496
                                                                                442
                                       1196
                                        445
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
  Case No.         CV 04-1040 ABC (SHx)                                           Date   March 30, 2010
  Title            Darren Del Nero, et al. v. Midland Credit Management, et al.




  Present: The                    Audrey B. Collins, Chief Judge
  Honorable
                 Irene Ramirez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                Tape No.
                 Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                          None Present                                         None Present
  Proceedings:                 ORDER DENYING MOTION FOR FEES AND COSTS (In Chambers)

         Pending before the Court is Defendants’ motion for attorneys’ fees and costs pursuant to 28
 U.S.C. § 1927 and the Court’s inherent authority. (Mot. (Docket # 246).) The motion seeks fees and
 costs from Plaintiff’s counsel, Intervenor Hyde & Swigart. Intervenor filed an opposition, and
 Defendants filed a reply. (Opp’n (Docket # 247), Reply (Docket # 253).) Having reviewed the record
 and the papers submitted, the Court hereby DENIES the motion.

         Plaintiff initially brought this case for alleged violations of the Fair Debt Collection Practices
 Act (“FDCPA”) and California’s unfair competition law. This case was previously assigned to Judge
 Schiavelli, who is no longer serving on the bench. Following trial, Judge Schiavelli awarded
 Defendants fees and costs against Intervenor under the FDCPA, 15 U.S.C. § 1692k(a)(3). The Ninth
 Circuit reversed, holding as a matter of first impression within the circuit that the FDCPA does not
 authorize an award of fees and costs against a plaintiff’s attorney under Section 1692k(a)(3). Hyde v.
 Midland Credit Mgmt., Inc., 567 F.3d 1137, 1140 (9th Cir. 2009). The Ninth Circuit focused on that
 legal conclusion and made no determination with respect to Judge Schiavelli’s factual finding of bad
 faith. See id. at 1139 (assuming without deciding that action “was brought in bad faith and for the
 purpose of harassment”).1 Defendants now ask this Court to rely on Judge Schiavelli’s factual findings
 to award fees and costs against Intervenor under 28 U.S.C. § 1927 and the Court’s inherent authority.
 Defendants are seeking roughly $156,000. (See Mot. at 23.)

 I.       Section 1927

        A court has discretion to award fees under Section 1927 when an attorney unreasonably and
 vexatiously multiplies the proceedings. See B.K.B. v. Maui Police Dept., 276 F.3d 1091, 1107 (9th Cir.



          1
          Judge Schiavelli also awarded fees against Intervenor under Fed. R. Civ. P. 11. The parties
 agreed on appeal that Judge Schiavelli’s reliance on Rule 11 was misplaced. See Hyde, 567 F.3d at
 1139. Fees and costs were also awarded against Plaintiff himself, who did not appeal that ruling.
 CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 4
                                                        1165
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD  Document
        2:04-cv-01040-ABC-SH Document 127-1
                              Document254    Filed
                                       47-1Filed
                                             Filed 09/23/22Page
                                                 03/30/10
                                                   01/23/17 PageID.5389
                                                            PageID.2618   Page
                                                                2 of 4 Page
                                                                          Page  1173ofof
                                                                            ID #:497
                                                                                443
                                       1196
                                        445
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       CV 04-1040 ABC (SHx)                                           Date   March 30, 2010
  Title          Darren Del Nero, et al. v. Midland Credit Management, et al.

 2002).2 The Ninth Circuit has held that “section 1927 sanctions must be supported by a finding of
 subjective bad faith, which is present when an attorney knowingly or recklessly raises a frivolous
 argument, or argues a meritorious claim for the purpose of harassing an opponent.” Id. (quoting In re
 Keegan Mgmt. Co., Securities Litig., 78 F3d. 431, 436 (9th Cir. 1996), internal quotations omitted).
 Granting such sanctions is an extraordinary remedy, and a court should exercise its power to do so with
 “extreme caution.” Keegan, 78 F3d. at 437.

          Defendants’ pending motion rests on the conclusions reached by Judge Schiavelli in awarding
 attorneys’ fees and costs against Plaintiff and Intervenor. (February 20, 2007 Order (Docket # 193).)
 With respect to holding Intervenor liable for fees and costs, Judge Schiavelli focused on its
 representation of Plaintiff in other cases: “The Court finds that fees should be imposed on counsel in
 this case because Plaintiff’s counsel continued to file FDCPA suits on behalf of Mr. Del Nero after the
 court trial in this case.” (Id. at 3 (emphasis in original).) In particular, Mr. Hyde had represented to
 Judge Schiavelli after the trial in this case that he “would never have agreed to represent [Plaintiff] in
 this case or any other matter” had he known at that time that his client was “less than forthcoming”
 about the “facts surrounding the . . . trial in this matter.” (Id. at 3-4 (emphasis omitted).) Yet Intervenor
 continued to represent Plaintiff in other suits and even filed a new complaint on his behalf following
 trial. (Id. at 4.) Judge Schiavelli further noted that Plaintiff was sanctioned in that new suit for filing a
 baseless action. (Id.) “Taken together these post-trial facts and counsel’s representation of Mr. Del
 Nero in numerous other FDCPA actions demonstrate that Plaintiff’s counsel participated in the filing of
 bad faith FDCPA actions and should therefore be liable for Defendants’ attorneys’ fees along with
 Plaintiff Del Nero.” (Id.)

          Intervenor argues that these findings are irrelevant because they do not relate to misconduct in
 this case. (See Opp’n at 18-19.) Although not cited by either party, Intervenor’s position is supported
 by Ninth Circuit authority. The Ninth Circuit has made clear that, with respect to Section 1927, this
 Court does “not have power to sanction conduct that occurred in a different court in a different case.”
 Trulis v. Barton, 107 F.3d 685, 694 (9th Cir. 1997). In that case, the Ninth Circuit refused to consider
 the merits of an argument for sanctions based on a purported misrepresentation made in a separate
 bankruptcy proceeding. Id.; see also GRiD Sys. Corp. v. John Fluke Mfg. Co., 41 F.3d 1318, 1319 (9th
 Cir. 1994) (per curiam) (reversing sanctions imposed based on counsel’s filing of a duplicative state
 court action because “[counsel] did not multiply the proceedings in the case before the district court.
 The suit filed in state court is an entirely separate action, not subject to the sanctioning power of the
 district court.”) Thus, to the extent that Judge Schiavelli’s findings relate to misconduct in other actions,




          2
           As an initial matter, Intervenor argues that Defendants’ motion is improper because of the
 mandate issued in this case. The Court disagrees as the Ninth Circuit neither expressly or implicitly
 ruled on the merits of Defendants’ pending arguments, and the mandate does not otherwise foreclose
 consideration of the motion. See, e.g., United States v. Cote, 51 F.3d 178, 181-82 (9th Cir. 1995).
 CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                   Page 2 of 4
                                                    1166
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD  Document
        2:04-cv-01040-ABC-SH Document 127-1
                              Document254    Filed
                                       47-1Filed
                                             Filed 09/23/22Page
                                                 03/30/10
                                                   01/23/17 PageID.5390
                                                            PageID.2619   Page
                                                                3 of 4 Page
                                                                          Page  1174ofof
                                                                            ID #:498
                                                                                444
                                       1196
                                        445
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       CV 04-1040 ABC (SHx)                                           Date   March 30, 2010
  Title          Darren Del Nero, et al. v. Midland Credit Management, et al.

 they could not support this Court’s imposition of sanctions under Section 1927.3

        Some of Judge Schiavelli’s findings do relate to misconduct in this case, but the Court finds that
 such misconduct is insufficient to impose sanctions under Section 1927. For example, Judge Schiavelli
 found that this case was brought to trial without sufficient evidentiary support because Plaintiff’s only
 witness was not credible. (See February 20, 2007 Order at 2.) But there was no finding that Intervenor
 brought the case to trial with the required bad faith or recklessness for sanctions to be appropriate under
 Section 1927. Nor does the Court find the evidence in the record sufficient to make such a finding now.
 To the extent Judge Schiavelli’s order refers to Intervenor’s misrepresentation following trial that it was
 no longer representing Plaintiff in other cases, the Court does not find that the misrepresentation
 multiplied these proceedings or rises to the level of egregious misconduct for which monetary sanctions
 are generally reserved. The Court, of course, does not condone such behavior and admonishes
 Intervenor for it.

          Accordingly, the Court concludes that Defendants are not entitled to fees and costs under Section
 1927.

 II.      Inherent Authority

          The inherent power to sanction parties is “necessarily vested in courts to manage their own
 affairs so as to achieve the orderly and expeditious disposition of cases.” Chambers v. NASCO, Inc.,
 501 U.S. 32, 43 (1991). A court may exercise that power when an attorney acts in bad faith or displays
 conduct tantamount to bad faith. B.K.B., 276 F.3d at 1108. Such a finding may be appropriate where,
 among other things, a party engages in behavior that has the effect of “delaying or disrupting the
 litigation or hampering enforcement of a court order.” Primus Automotive Financial Servs., Inc. v.
 Batarse, 115 F.3d 644, 649 (9th Cir. 1997). “Because of their very potency, inherent powers must be
 exercised with restraint and discretion.” Chambers, 501 U.S. at 44. Indeed, the Ninth Circuit has
 recently emphasized that the level of misconduct must meet “a high threshold” to be sanctionable.
 Mendez v. County of San Bernardino, 540 F.3d 1109, 1132 (9th Cir. 2008) (citing Primus, 115 F.3d at
 649). “Even in a case where the district court described a litigant’s arguments as ‘totally frivolous,’
 ‘outrageous’ and ‘inexcusable’ and called his behavior ‘appalling,’ [the Ninth Circuit] nonetheless
 refused to equate this characterization of conduct as synonymous with a finding of bad faith.” Id.
 (quoting Primus, F.3d at 649).

         The Court declines to award sanctions under its inherent authority. As noted above, the conduct
 cited by Judge Schiavelli as giving rise to his finding that Intervenor acted in bad faith arose

          3
           The Ninth Circuit authority cited by Defendants does not alter this conclusion as it dealt with
 sanctionable conduct occurring in the case in which the sanctions were sought. See In re Itel Securities
 Litig., 791 F.2d 672, 674 (9th Cir. 1986) (affirming sanctions imposed on counsel who “repeatedly took
 actions in the Itel Securities Litigation for the sole purpose of obtaining fee-related concessions in
 connection with other litigation.”)
 CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                 Page 3 of 4
                                                    1167
Case
 Case3:16-cv-02186-WQH-MDD
  Case3:16-cv-02186-WQH-MDD  Document
        2:04-cv-01040-ABC-SH Document 127-1
                              Document254    Filed
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                                             Filed 09/23/22Page
                                                 03/30/10
                                                   01/23/17 PageID.5391
                                                            PageID.2620   Page
                                                                4 of 4 Page
                                                                          Page  1175ofof
                                                                            ID #:499
                                                                                445
                                       1196
                                        445
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
  Case No.       CV 04-1040 ABC (SHx)                                           Date   March 30, 2010
  Title          Darren Del Nero, et al. v. Midland Credit Management, et al.

 predominantly in other cases and after the trial in this Court had concluded.4 It did not delay or disrupt
 this litigation nor hamper the enforcement of a court order. Moreover, it appears that some of that
 misconduct has already resulted in monetary sanctions being levied in other cases. (See February 20,
 2007 Order at 4.) Accordingly, the Court declines to exercise its discretion to issue sanctions in this
 case under its inherent authority.

 III.     Conclusion

         For the foregoing reasons, Defendants failed to persuade the Court that Intervenor’s conduct is
 appropriately sanctioned for fees and costs pursuant to either Section 1927 or the Court’s inherent
 authority. Accordingly, the motion is DENIED.

          IT IS SO ORDERED.




                                                                                               :
                                                            Initials of Preparer   IR for AB




          4
           Unlike Section 1927 sanctions, the Ninth Circuit has indicated that district courts may impose
 sanctions under their inherent authority based on conduct taken in other actions. Western Sys., Inc. v.
 Ulloa, 958 F.2d 864, 873 (9th Cir. 1992) (finding that sanctions may be imposed under the district
 court’s inherent powers for conduct in Guam territorial court).
 CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                  Page 4 of 4
                                                    1168
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5392
                                                           PageID.3418 Page
                                                                       Page 1176
                                                                            1 of 7of
                                       1196


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 3 (619) 464-1500
   Email: scott@mcmillanlaw.us
 4
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 5 MCMILLAN LAW FIRM, APC, a California Professional Corporation
 6
 7
 8
                       UNITED STATES DISTRICT COURT
 9
                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   SCOTT A. MCMILLAN, an                    Case No. 3:16-CV-02186-WQH-MDD
     individual, THE MCMILLAN LAW
12   FIRM, APC, a California Professional     Judge: Hon. William Q. Hayes
     Corporation,                             Courtroom: 14B
13   Plaintiffs,
14   v.
15   DARREN D. CHAKER an individual,          DECLARATION OF SCOTT A.
16   and as trustee of PLATINUM               MCMILLAN IN SUPPORT OF
     HOLDINGS GROUP TRUST, dba                PLAINTIFFS’ OPPOSITION TO
17   COUNTER FORENSICS; NICOLE                DEFENDANT DARREN D.
     CHAKER, an individual, and as trustee    CHAKER’S MOTION TO SEAL.
18   of THE NICOLE CHAKER
     REVOCABLE LIVING TRUST, U/A
19   dated August 18, 2010, VANIA             Hearing Date: June 26, 2017
     CHAKER, an individual and as
20   beneficiary of The Island Revocable      Complaint Filed: August 29, 2016
     Trust under Declaration of Trust dated
21   June 2, 2015, MARCUS MACK as
     trustee of The Island Revocable Trust    [NO ORAL ARGUMENTS UNLESS
22   under Declaration of Trust dated June    ORDERED BY COURT]
     2, 2015,
23   Defendants.
24
25
26
27
28




                                         1169
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5393
                                                           PageID.3419 Page
                                                                       Page 1177
                                                                            2 of 7of
                                       1196


 1          I, Scott McMillan, do declare as follows,
 2          1.       I am an attorney, licensed to practice in the State of California. If
 3 called before this Court, except as to those matters which I state on information
 4 and belief, I could and would testify as follows from my own personal knowledge:
 5          2.       I submit this declaration in support of Plaintiffs’ Opposition to
 6 Defendant Darren Chaker’s (“Defendant”) Motion to Seal Exhibit FF to the
 7 Complaint and First Amended Complaint (“FAC”), as well as Exhibit C to
 8 Plaintiffs’ Opposition to Defendant’s Motion for Sanctions (“Opposition Exhibit
 9 C”).
10          3.       Plaintiffs request that Defendant’s Motion be denied or, in the
11 alternative, allow Plaintiffs to file the original Exhibit FF and Opposition Exhibit C
12 under seal, while also allowing Plaintiffs to file redacted versions in their place on
13 the public record. A true and correct copy of the proposed redacted Exhibit FF is
14 attached hereto as Exhibit 1. A true and correct copy of the proposed redacted
15 Opposition Exhibit C is attached hereto as Exhibit 2.
16          4.       Defendant has a long history of requesting sealing–often belatedly.
17 For example, in 2012, Defendant requested the Hon. Judge Willam Q. Hayes to
18 seal the case file from a 1996 case, Chaker v. Davis, Case No. 96-cv-0314; the
19 request was denied. A true and correct copy of the Order denying the request to
20 seal is attached as Exhibit 3.
21          5.       Plaintiffs did not file either Exhibit FF or Opposition Exhibit C for an
22 improper purpose – both are used to support Plaintiff’s allegations in the FAC, as
23 is outlined in the accompanying memo and Plaintiffs’ Opposition to Defendant’s
24 Motion for Sanctions.
25          6.       Upon Defendant’s opposition to having the purported “personal”
26 addresses on his numerous identification cards on file with the court, I (a) would
27 point out that Defendant appears to currently live in San Diego, and (2) I looked up
28
                         DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186          PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                         2

                                                1170
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5394
                                                           PageID.3420 Page
                                                                       Page 1178
                                                                            3 of 7of
                                       1196


 1 each address included in Exhibit FF only to find that none of the addresses were
 2 residential. On page 5 of Exhibit FF (“D. David Hunter”), the address of 848 N
 3 Rainbow Blvd., Las Vegas, NV 89107 is visible. Upon searching on Google Maps,
 4 which states an image capture date as April 2015 and was made prior to filing the
 5 Complaint, that location is a commercial building. The building includes a church,
 6 Sorrento Pizza, and Go Skate Skateboard Lessons, among others. A true and
 7 correct copy of my search is attached as Exhibit 4.
 8          7.       On page 6 of Exhibit FF (“Darren Chaker-Del Nero”), the address of
 9 20000 S Maryland Blvd., Las Vegas, NV 89123 is visible. The address lands in the
10 middle of a major thoroughfare next to a large parking lot with no street-facing
11 houses. A true and correct copy of my search results for this address is attached as
12 Exhibit 5.
13          8.       On pages 7-8 of Exhibit FF (“Darren D. Del Nero”), for a California
14 Interim Driver’s License for “Darren D. Del Nero”, the address of 311 N
15 Robertson Blvd., Beverly Hills, CA 90211 is barely discernible. Upon searching, I
16 found it to be a post office. A true and correct copy of my search results for this
17 address is attached as Exhibit 6.
18          9.       On page 9 of Exhibit FF (“Darren D. Nero”), a scan of Defendant’s
19 purported Nevada Driver’s license shows the address of [difficult to read text] W.
20 Lake Mead Las Vegas, NV [indecipherable zip code]. Based on my best guesses as
21 to what the street numbers might be, paired with the search term of “W Lake Mead
22 Blvd”, as there is no plain ‘W Lake Mead’ street in Las Vegas that I could find on
23 Google Maps, below are my findings. A true and correct copy of my searches for
24 the below addresses is attached as Exhibit 7.
25          a.       3560 W. Lake Mead Blvd - Major thoroughfare with no residential
                     buildings nearby.
26
            b.       8360 W. Lake Mead Blvd - Major thoroughfare with no street-facing
27                   residential buildings.
28
                        DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186         PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                        3

                                              1171
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5395
                                                           PageID.3421 Page
                                                                       Page 1179
                                                                            4 of 7of
                                       1196


 1          c.       8560 W. Lake Mead Blvd. - Major thoroughfare with no residential
                     buildings nearby.
 2
            d.       8580 W. Lake Mead Blvd. - This address belongs to Roberto’s Taco
 3                   Shop inside a commercial lot with a Chevron gas station, among
                     others.
 4
            10.      Because the style of the driver’s license is older, I decided to search
 5
     whether official versions of that license design was available online. The Nevada
 6
     Department of Motor Vehicles has a page on its website depicting all designs of
 7
     the Nevada driver’s license over time, which, as the very end of the website page,
 8
     includes the pre-2002 design that appears to match Defendant’s license in Exhibit
 9
     FF. I compared the design on the DMV’s website to that of the scan of Defendant’s
10
     license and noticed some discrepancies between the two. A true and correct copy
11
     of the DMV website page, as well as the scan of Defendant’s Nevada license from
12
     Exhibit FF for comparison are attached hereto as Exhibit 8 (website last accessed
13
     June 8, 2017).
14
            11.      Defendant’s purported Nevada driver’s license design indicates,
15
     according to the DMV website, it was a film-based license issued to all Nevadans
16
     prior to 2002. The Nevada DMV website shows that are two strings of numbers
17
     entered right below the colored top section, with one ten-digit number on the far
18
     left, and an eight-digit number (a date: mmddyyyy) on the far right, above another
19
     number and the picture. Defendant’s driver’s license has an extra nine or ten digit
20
     number in the middle of the top of his card. Regardless of that number’s purported
21
     purpose, the first three numbers do not appear to match the social security numbers
22
     of Defendant to which Plaintiff has access. Other discrepancies between
23
     Defendant’s driver’s license and that of the DMV’s sample 2002 license include
24
     (1) Defendant’s card has “BLUE” for his eye color, rather than the DMV’s use of
25
     “BLU”, (2) the date format above Defendant’s picture is 03-20-2002, whereas the
26
     DMV website indicates a date format of 04141998, and (3) the number below the
27
     date at the top right of the DMV’s sample is indented, whereas Defendant’s
28
                         DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186          PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                           4

                                                1172
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5396
                                                           PageID.3422 Page
                                                                       Page 1180
                                                                            5 of 7of
                                       1196


 1 number is not. These differences tend to indicate that Defendant’s identification
 2 card is a forgery.
 3          12.      Finally, I reviewed the Arizona identification card on page 10 of
 4 Exhibit FF. Because the scan is of such poor quality, I could not search the address
 5 listed on it. However, Defendant also claimed in his Memo that his full social
 6 security number was disclosed on page 10 of Exhibit, which was this card. Because
 7 of this claim, and because I could not read the content on the scan itself, I searched
 8 online for an official version of that style of Arizona identification card/driver’s
 9 license to see the information it normally contained. The Arizona DMV didn’t
10 have an equivalent to Nevada DMV’s license design history, but the Arizona
11 Department of Veteran Services’s website had a depiction of the style of card at
12 issue. I reviewed the image to determine if a social security number was included.
13 Based on the sample license on that website, there is no indication a social security
14 number was included on that card design. Frankly, I would be very surprised if any
15 State identification card or driver’s license included such sensitive information,
16 given the common uses for a driver’s license or identification card. A true and
17 correct copy of a screen shot of the Arizona Department of Veteran Services’s
18 website with the card on it, as well as a zoomed view of the card on the website,
19 are attached hereto as Exhibit 9.
20          13.      With regard to the home address listed on the bench warrant in
21 Exhibit FF, that is proper information to include on a service document for the
22 Sheriff, and it was previously filed in Darren Chaker v. Wendy Mateo, San Diego
23 Superior Court Case No. 37-2010-00094816-CU-DF-CTL, (ROA 267).
24          14.      Defendant frequently claims, when asked by government––as is
25 alleged in the Opposition to the Motion for Sanctions––that his only income is
26 from either disability and social security and/or rental income. But, when it is
27 convenient for him, he also provides his sister’s backing when signing things such
28
                        DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186         PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                       5

                                               1173
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5397
                                                           PageID.3423 Page
                                                                       Page 1181
                                                                            6 of 7of
                                       1196


 1 as loans or rental applications.
 2          15.      In Opposition Exhibit C, Defendant claims that Plaintiffs disclosed his
 3 full date of birth. In fact, Defendant’s date of birth is never actually written
 4 correctly, as the years 1927 and 1970 appear in the two places requiring such
 5 information–neither of which match the date of birth for the identities of Defendant
 6 which are known to Plaintiffs.
 7          16.      Although Defendant takes issue with the disclosure of financial
 8 information with regard to the “pay stubs” and social security payments from 2003,
 9 those documents (1) are nearly or are over ten years old, and (2) are offered to
10 support Plaintiffs’ claims of a criminal enterprise as between the Defendants. In
11 this instance, both Vania and Darren Chaker signed the rental application in the
12 exhibit. Darren claimed employment from his sister’s law firm, as well as having
13 received “pay stubs” from her law firm, which were purportedly being paid to two
14 of Darren’s identities. But, when questioned by the government or those seeking
15 repayment, Defendant’s go-to response typically is––based on reviewing his
16 bankruptcy fraud and other cases––that he has little to no income because he
17 cannot work and only receives income from either disability, social security, or, in
18 some instances, rental properties.
19
20 ///
21
22
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24 ///
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                        DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186         PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                        6

                                               1174
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       80-1 Filed
                                            Filed 09/23/22
                                                  06/12/17 PageID.5398
                                                           PageID.3424 Page
                                                                       Page 1182
                                                                            7 of 7of
                                       1196


 1          17.      Sealing documents creates an administrative burden to manage for the
 2 attorneys and for the Court. In addition, Defendant, despite demanding whenever
 3 he can that documents pertaining to him be sealed, challenged the authenticity of
 4 Plaintiffs’ sealed exhibits to the FAC with motions to strike and sanctions.
 5 Defendant has had nine months in which to look over the Complaint and its
 6 exhibits. Had the issues with the exhibit been timely raised contemporaneously
 7 with the filing of the FAC, Plaintiffs could have easily redacted the information at
 8 that time.
 9
10          I declare within the meaning of 28 U.S.C. § 1746, under penalty of perjury,
11 that the foregoing is true and correct, and that this declaration was executed on
12 June 12, 2017, in the city of La Mesa, County of San Diego, State of California,
13 United States.
14
15                                                        Respectfully submitted,
16 Dated: June 12, 2017
17                                                        /s/ Scott A. McMillan
                                                          Scott A. McMillan
18                                                        Attorneys for Plaintiffs
19
20
21
22
23
24
25
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28
                        DECLARATION OF SCOTT A. MCMILLAN IN SUPPORT OF
     3:16-cv-02186         PLAINTIFFS’ OPPOSITION TO MOTION TO SEAL                       7

                                              1175
 Case3:16-cv-02186-WQH-MDD
Case   3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5399
                                                           PageID.149 Page
                                                                       Page11183
                                                                             of 14of
                                       1196




               EXHIBIT EE
                                       1176
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
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                                                           PageID.150 Page
                                                                       Page21184
                                                                             of 14of
                                       1196



              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    IN AND FOR THE COUNTY OF SAN DIEGO
                     CENTRAL DIVISION, HALL OF JUSTICE
                              DEPARTMENT 72
                   HONORABLE TIMOTHY B. TAYLOR, JUDGE



              DARREN CHAKER,               CASE NO. 37-2010-00094816-
                                                     CU-DF-CTL
                    PLAINTIFF,
              V.
              WENDY MATEO, ET AL.,
                    DEFENDANTS.
              ______________________1




                         TRANSCRIPT OF PROCEEDINGS
                         FRIDAY, JANUARY 22, 2016




              REPORTED BY TATIANA A. KOUPRIANOVA, CSR NO. 11759
                           REPORTER PRO TEMPORE
                         SAN DIEGO SUPERIOR COURT




                                                                        Exh EE
                                                                        1 of 13

                                       1177
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5401
                                                           PageID.151 Page
                                                                       Page31185
                                                                             of 14of
                                       1196
                         Transcript of Proceedings - 1/22/2016


         1                       A P PEA R A N C E S
         2    FOR PLAINTIFF:
         3               DARREN CBAKER (IN PROPRIA PERSONA)
         4
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         5
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                              www.sscourtreporters.com         Exh EE
                                                                        2 of 13

                                       1178
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5402
                                                           PageID.152 Page
                                                                       Page41186
                                                                             of 14of
                                       1196
                                                                              1
                         Transcript of Proceedings - 1/22/2016


         1    SAN DIEGO, CALIFORNIA; JANUARY 22, 2016, 3:07 P.M.
         2                           * * * * * *
         3             THE COURT:      LET THE RECORD REFLECT THAT WE ARE
         4    PRESENT IN THE MATTER OF CHAKER VERSUS MATEO.
         5    MR. CHAKER IS PERSONALLY PRESENT, AS IS MR. MCMILLAN.
         6           THE COURT CALLED THIS MATTER AT 1:30.        MR. CHAKER
         7    WAS SWORN.     THE PARTIES WENT INTO THE CORRIDOR, WITH
         8    THE COURT REPORTER, TO CONDUCT A JUDGMENT DEBTOR
          9   EXAMINATION.     THEY HAVE NOW RETURNED WITH PROBLEMS
        10    THAT THEY WISH THE COURT TO RESOLVE.
        11              MR. MCMILLAN:     CORRECT, YOUR HONOR.
        12              THE COURT:     I THINK THAT THE IDEA OR PLAN,
        13    RATHER, WAS FOR MR. MCMILLAN TO GIVE US A LIST OF
        14    THOSE ISSUES, AND THEN WE CAN TRY TO RESOLVE THEM.            SO
        15    WHY DON'T YOU SET FORTH A LIST, MR. MCMILLAN.
        16              MR. MCMILLAN:     YOUR HONOR, MR. CHAKER HAS
        17    REFUSED TO PROVIDE THE -- WELL FIRST OFF, MR. CHAKER
        18    DIDN'T BRING ANY DOCUMENTS WITH HIM HERE TODAY AS HE
        19    WAS REQUIRED TO IN THE ORDER COMPELLING COMPLIANCE
        20    WITH THE SUBPOENA DUCES TECUM.        SO WE HAVE NO
        21    DOCUMENTS, AND SOME OF THE DOCUMENTS ARE CLEARLY THOSE
        22    WITHIN HIS CONTROL; NAMELY, HIS DOMAINS, HIS DOMAIN
        23    NAMES, AND SITES THAT HE HAS ADMINISTRATIVE PRIVILEGES
        24    TO ON THE INTERNET; HIS PHONE NUMBERS; HIS TITLE
        25    DOCUMENTS ON HIS VEHICLES, WHICH APPARENTLY THERE ARE
        26    TWO.    AND HE IS NOT PROVIDING ANY OF HIS OFFSHORE
        27    BANKING INFORMATION, AND HE IS NOT PROVIDING THE
        28    USERNAMES, AS ORDERED, ON COMPLAINTSBOARD.




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                              www.sscourtreporters.com         Exh EE
                                                                        3 of 13

                                        1179
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5403
                                                           PageID.153 Page
                                                                       Page51187
                                                                             of 14of
                                       1196
                                                                              9
                         Transcript of Proceedings - 1/22/2016


         1    HAVE ADMINISTRATIVE PRIVILEGES FOR?"         SO HE WAS TO
         2    BRING THAT, AND IT'S ALSO CONTAINED IN THE SUBPOENAS.
         3    GOES TO THE DOMAIN NAMES, DOMAIN REGISTRATIONS.           AND
         4    HE IS NOT PROVIDING THAT.
         5              THE COURT:    OKAY.   ARGUMENT?
          6            MR. CHAKER:     I DID PROVIDE A LIST OF DOMAINS
         7    THAT I CAN THINK OF.      THOSE DOMAINS ARE OWNED BY A
         8    NEVADA SPENDTHRIFT TRUST.       I PROVIDED MR. MCMILLAN
          9   THAT INFORMATION.      IT WAS AT THAT TIME HE ATTEMPTED TO
        10    INTERTWINE DOMAIN INFORMATION OR ADMINISTRATIVE WHICH
        11    IDENTIFY THE NAMES WITH LOG-IN INFORMATION.           AND IT
        12    WAS AT THAT TIME THAT I WALKED INTO COURT, AT ABOUT
        13    3:00 P.M., BECAUSE I'M NOT PROVIDING LOG-IN
        14    INFORMATION.     BUT INASMUCH -- NOR DO I KNOW THE LOG-IN
        15    INFORMATION.     THERE'S A PASSWORD THAT WOULD INPUT A
        16    RANDOM SET OF CHARACTERS.
                        BUT NONETHELESS, THE DOMAINS WERE PROVIDED,
              AND I'D SAY THAT THE TRUST OWNS THEM.          IT HAS SINCE
              THEIR INCEPTION.       SO I ANSWERED MR. MCMILLAN'S
        20    QUESTIONS AS FAR AS WHICH DOMAINS I HAVE
        21    ADMINISTRATIVE PRIVILEGES OVER.         HE THEN FOLLOWED THAT
        22    UP WITH ADDITIONAL QUESTIONS, WHICH I'LL BRING UP, AS
        23    I'M SURE MR. MCMILLAN WILL.        HE WANTED TO KNOW IF I
              POSTED DEFAMATORY MATERIAL, ET CETERA, ABOUT HIM,
              WHICH BRINGS IN ISSUES CONCERNING THE PROBATION THAT
              I'M UNDER RIGHT NOW IN FEDERAL COURT.
                        THE COURT:     I THOUGHT WE WERE HERE TO TRY TO
          8   ENFORCE A JUDGMENT.       WHY WOULD IT BE RELEVANT WHETHER




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        4 of 13

                                       1180
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5404
                                                           PageID.154 Page
                                                                       Page61188
                                                                             of 14of
                                       1196
                                                                             13
                         Transcript of Proceedings - 1/22/2016


         1    YOU'LL HAVE THAT RECORD.         BUT FOR NOW, HE'S ASKED ME
         2    TODAY, NOW, WHICH I'VE ALREADY ALREADY ORDERED YOU TO
         3    DO, TO GIVE THE LIST OF DOMAIN NAMES, NOT THE ONES YOU
         4    CAN REMEMBER, BUT THE ONES YOU CAN DO THE RESEARCH AND
         5    FIND OUT THE ONES YOU LEFT OUT, AND GIVE HIM THAT ON
          6   MARCH 11.    THAT'S MY ORDER.
         7              MR. CHAKER:    OKAY.
          8             THE COURT:    OKAY.
          9             MR. CHAKER:    IF I MAY, THE SECOND PART OF
        10    THAT, CONCERNING THE PASSWORDS, IS THAT MR. MCMILLAN
        11    ALLEGES      AND HE'S ALLEGED TO THE PROBATION
        12    OFFICER      THAT I POSTED DEFAMATORY MATERIAL ABOUT HIM
        13    ONLINE.     SOME OF THESE WEB SITES MAY INCLUDE A WEB
        14    SITE CALLED COMPLAINTSBOARD.         YOUR HONOR ORDERED ME TO
        15    PRODUCE -- OR TO NOTIFY MR. MCMILLAN OF ANY USERNAMES
        16    CONCERNING WHAT I MAY HAVE POSTED ABOUT MR. MCMILLAN
        17    ON COMPLAINTSBOARD.      HE THEN ASKED ME FOR PASSWORD
        18    INFORMATION CONCERNING IT, AND THEN HE ASKED ME TO
        19    ADMIT THAT I POSTED DEFAMATORY MATERIAL, WHICH WOULD
        20    THEN CREATE ISSUES WITH PROBATION.
        21              I INVOKED MY FIRST AMENDMENT RIGHTS, AS WELL
        22    AS FIFTH AMENDMENT.      MR. MCMILLAN MADE A POLICE REPORT
        23    WITH LA MESA POLICE DEPARTMENT, ALTHOUGH I WAS NOT
        24    ARRESTED ON IT.      HE ALSO MADE A REPORT TO THE U.S.
        25    PROBATION OFFICE ALLEGING THAT I DEFAMED HIM, AND THAT
        26    WAS ALMOST A YEAR AGO.
        27              THE COURT:    IS IT A VIOLATION OF PROBATION
        28    CONDITION TO COMPLY WITH ALL LAWS?




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        5 of 13

                                       1181
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5405
                                                           PageID.155 Page
                                                                       Page71189
                                                                             of 14of
                                       1196
                                                                             14
                         Transcript of Proceedings - 1/22/2016


         1             MR. CHAKER:      LAWS, NOT TO DEFAME, POST, AND
         2    THAT'S ACTUALLY THE ISSUE THAT'S NOW BEFORE THE 9TH
         3    CIRCUIT, ABOUT THE CONSTITUTIONALITY OF THAT ISSUE.
         4             THE COURT:      I'M NOT GOING TO GET IN THE WAY OF
         5    THE 9TH CIRCUIT.       I'M NOT UNDERSTANDING YOU,
         6    MR. MCMILLAN, TO BE ASKING ME TODAY FOR AN ORDER FOR
         7    PASSWORDS.
         8             MR. MCMILLAN:      NO.   I'M NOT ASKING FOR
         9    PASSWORDS.
        10              THE COURT:     YOU ARE NOT ASKING ME TO ORDER
        11    MR. CHAKER TO GIVE YOU PASSWORDS?
        12              MR. MCMILLAN:     I'M NOT ASKING
        13              THE COURT:     AND I'M NOT ORDERING IT.      IS THAT
        14    CLEAR ENOUGH?
        15              MR. CHAKER:     YES, BUT ALSO TO IDENTIFY
        16    ACCOUNTS WHICH LINK TO ALLEGED DEFAMATORY POSTINGS.
        17              THE COURT:     I'VE ORDERED YOU TO GIVE HIM THE
        18    DOMAIN NAMES, AND THAT ORDER IS CLEAR, IS CAPABLE OF
        19    BEING HONORED, AND I EXPECT YOU TO HONOR IT ON
        20    MARCH 1l.
        21              MR. CHAKER:     YES, YOUR HONOR.
        22              THE COURT:     THANK YOU.   WHAT'S NEXT ON THE
        23    LIST?
        24              MR. MCMILLAN:     YOUR HONOR, THE USERNAMES.       AND
        25    THIS WAS ON ITEMS 41 THROUGH 44, WHICH IS ALSO ON PAGE
        26    44.
        27              THE COURT:     41 THROUGH THROUGH 44.      IT SAYS IN
        28    THE FOURTH PARAGRAPH, "THE COURT GRANTS THE MOTION AS




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        6 of 13

                                        1182
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5406
                                                           PageID.156 Page
                                                                       Page81190
                                                                             of 14of
                                       1196
                                                                             15
                         Transcript of Proceedings - 1/22/2016


         1    TO QUESTIONS 7, 24, 26, 34, AND 41 THROUGH 44, AND
         2    46."
         3              MR. MCMILLAN:       YES.
         4              THE COURT:    OKAY.
          5             MR. MCMILLAN:       AND WE ASKED FOR THE USERNAMES
          6   ON COMPLAINTSBOARD.
          7             THE COURT:    THE USERNAMES THAT THE PLAINTIFF
          8   -- THAT THE JUDGMENT DEBTOR, RATHER, HAS USED ON THE
          9   USER BOARDS?
        10              MR. MCMILLAN:       COMPLAINTSBOARD.
        11              THE COURT:    COMPLAINTSBOARD.      EXCUSE ME.
        12    OKAY.   AND THAT WILL LEAD YOU TO INFORMATION REGARDING
        13    COLLECTION OF THIS DEBT HOW?
        14              MR. MCMILLAN:       HOLD ON, YOUR HONOR.    ACTUALLY,
        15    IT WAS ON 35 THROUGH 37.         BECAUSE WE'VE BEEN -- I WAS
        16    CONTACTED AND TOLD IF I WANT TO PAY $5,000 OR $4,000,
        17    I THINK I NEGOTIATED IT DOWN TO, THAT THE MATERIAL
        18    THAT IS POSTED ON THIS COMPLAINTSBOARD, WHICH IS
        19    SIMILAR MATERIAL THAT MR. CHAKER HAS POSTED ELSEWHERE,
        20    TO BE REMOVED.     SO USING IT AS A MEANS TO COLLECT
        21    MONEY AND --
        22              THE COURT:    OH, I SEE WHAT YOU ARE SAYING.        SO
        23    YOU THINK THAT HE IS BOTH POSTING DEFAMATORY MATERIAL
        24    AND SEEKING TO CHARGE YOU, PRESUMABLY, THROUGH A
        25    STRAWMAN?
        26              MR. MCMILLAN:       EXACTLY.
        27              THE COURT:    OH.      I WONDER IF I'M ON THERE.
        28              MR. CHAKER:     IF I MAY, PLEASE.




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                         7 of 13

                                        1183
Case
 Case3:16-cv-02186-WQH-MDD
       3:16-cv-02186-WQH-MDD Document
                              Document127-1
                                       1-29 Filed
                                            Filed 09/23/22
                                                  08/29/16 PageID.5407
                                                           PageID.157 Page
                                                                       Page91191
                                                                             of 14of
                                       1196
                                                                             16
                         Transcript of Proceedings - 1/22/2016


         1              THE COURT:    HAVE YOU NOTICED?
         2              MR. MCMILLAN:     I HAVEN'T SEARCHED, YOUR HONOR.
         3              THE COURT:    I WOULDN'T KNOW HOW TO GO ABOUT
         4    DOING IT.
         5              MR. MCMILLAN:    MR. CH.AKER CAN SHOW YOU, I'M
          6   SURE.
         7              THE COURT:    YOU KNOW WHAT?      I'M NOT
         8    INTERESTED.     PEOPLE SAY BAD THINGS ABOUT JUDGES ALL
          9   THE TIME.     I'M USED TO IT.
        10              SO YOU THINK THAT HE IS BOTH POSTING IT AND
        11    OFFERING FOR PAYMENT, AND SO THE INCOME STREAM FROM
        12    THE PAYMENT FOR THAT IS A LINK TO COLLECTABILITY?
        13              MR. MCMILLAN:     CORRECT.
        14              THE COURT:    GOT IT.    RESPONSE?
        15              MR. CHAKER:     COMPLAINTSBOARD IS A FREE WEB
        16    SITE THAT ANYONE CAN REGISTER AND POST THEIR
        17    COMPLAINTS ON.     THERE ARE COMPANIES, IF YOU ARE LISTED
        18    ON IT, THAT SEARCH PEOPLE WHO ARE LISTED ON IT BY
        19    SIMPLY GOING ON THE WEB SITE.          THEN THEY CONTACT THEM
        20    TO REMOVE OR TO PUSH DOWN THOSE SEARCH RESULTS.
        21              I'M NOT USING A STRAWMAN.       MR. MCMILLAN CAN
        22    CONTACT WHATEVER COMPANY THAT CONTACTED HIM AND FIND
        23    OUT WHERE THEY GOT THIS INFORMATION FROM.             THE ISSUE
        24    IS -- THE POINT OF MR. MCMILLAN IS TO, ONE, FIND OUT
        25    WHAT I POSTED; TWO, PROVE IT'S DEFAMATORY; THREE, GO
        26    TO THE U.S. PROBATION OFFICE TO PUT ME IN JAIL.
        27    AGAIN, THIS CASE IS PENDING IN THE 9TH CIRCUIT,
        28    APPEALED AT ACLU.       THE LIST GOES ON.      AND, ACTUALLY,




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                         8 of 13

                                        1184
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-29 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.158
                                                          PageID.5408 Page
                                                                       Page101192
                                                                              of 14of
                                      1196
                                                                              17
                        Transcript of Proceedings - 1/22/2016


          1   THE REPLY BRIEF WAS JUST FILED TODAY.
          2             IF MR. MCMILLAN THINKS SOME THIRD PARTY IS
          3   ACTING ON MY BEHALF TO EXTORT MONEY, GO SUBPOENA THEM,
          4   FIND OUT IF THEY ARE A REAL BUSINESS.          I DON'T THINK
          5   VIOLATING THE FIRST AMENDMENT OR PUTTING THE FIFTH
          6   AMENDMENT IN JEOPARDY IS THE PROPER AVENUE TO GO,
          7   GIVEN SPECIFICALLY THE CONDITIONS OF PROBATION, SO
          8             THE COURT:     HOW WOULD GIVING HIM THE

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        10
        11    A POST ON COMPLAINTSBOARD THAT SAYS SOMETHING
        12    DEFAMATORY AND I SAY, "MY USERNAME IS THIS," WELL,
        13     "THAT USERNAME POSTED SOMETHING DEFAMATORY ABOUT ME.
        14    WHILE YOU ARE ON PROBATION, I'M NOW GOING TO GO TO THE
        15     PROBATION OFFICER AND GET YOU VIOLATED ON PROBATION,"
        16    BECAUSE THE ANONYMITY OF USING A PSEUDONYM ONLINE HAS
        17    NOW BEEN PIERCED.
                        THE COURT:     RESPONSE?
         19             MR. MCMILLAN:     WELL, I WENT THROUGH IT, AND
         20    YOUR HONOR PREVIOUSLY ORDERED IT ON 35 -- ACTUALLY, IT
         21    WAS 36 AND 37 OF THE ITEMS AND, WELL, TIME FOR
         22    RECONSIDERATION HAS PASSED, AND I BELIEVE I'VE
         23    EXPLAINED MY REASONING.         IT'S THE SAME REASONING I
         24    EXPLAINED AT OUR FIRST HEARING.         I BELIEVE IT'S HIS
         25    METHOD OF
         26             THE COURT:     WHAT INFORMATION DO YOU HAVE
         27    SUGGESTING THAT MR. CHAKER CONTROLS THE ENTITY THAT
         28    CONTACTED YOU AND OFFERED, FOR PAY, TO REMOVE OR TO




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                         9 of 13

                                        1185
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-29 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.159
                                                          PageID.5409 Page
                                                                       Page111193
                                                                              of 14of
                                      1196
                                                                              29
                        Transcript of Proceedings - 1/22/2016


         1              MR. CHAKER:     I HAVE NO NONPOSSESSORY INTEREST
          2   IN ANY FIREARMS.
          3             MR. MCMILLAN:     SAME QUESTION FOR THE TRUST.
          4             THE COURT:    DOES THE TRUST HAVE ANY
          5   NONPOSSESSORY INTEREST IN ANY FIREARMS AT THE PRESENT
          6   TIME, SIR?
          7             MR. CHAKER:     CORRECT.
          8             THE COURT:    ANSWER YES OR NO.
          9             MR. CHAKER:     IT DOES NOT.
        10              THE COURT:     YOU'VE GOT YOUR ANSWER.
        11              MR. MCMILLAN:     THERE WE GO.
        12              THE COURT:     ANYTHING FURTHER THAT YOU WISH ME
        13     TO ADDRESS, OTHER THAN SETTING A -- CONFIRMING THE
        14     SETTING OF A FUTURE DATE?
         15             MR. MCMILLAN:     JUST INSTRUCTING HIM TO RESPOND
         16    TO THE SUBPOENA, THE SUBPOENA DUCES TECUM, THE
         17    DOCUMENTS.
         18             THE COURT:     THE DOCUMENTS.     YEAH.    SO MARCH --
         19    REMIND ME --
         20             MR. MCMILLAN:     MARCH 11.
         21             THE COURT:        MARCH 11, 2016, AT 1:30 P.M.,
         22    IN THIS DEPARTMENT.      WE ALREADY HAVE A HEARING SET.          I
         23    DON'T KNOW IF THE MOVING PAPERS ARE ON FILE.           I DOUBT
         24    IT.
         25             MR. MCMILLAN:     NOT YET.
         26             THE COURT:     BUT IT IS RESERVED, FOR A HEARING
         27    ON A REQUEST TO HAVE ME IMPOSE A LIMITED-PURPOSE
         28    RECEIVERSHIP FOR THE PURPOSE OF LIQUIDATING PERSONAL




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        10 of 13

                                        1186
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-29 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.160
                                                          PageID.5410 Page
                                                                       Page121194
                                                                              of 14of
                                      1196
                                                                              30
                        Transcript of Proceedings - 1/22/2016


         1    PROPERTY TO SATISFY THE JUDGMENT.
         2              MR. MCMILLAN:        YES.
          3             THE COURT:    AT THAT SAME TIME, I AM ORDERING
          4   YOU TO APPEAR IN DEPARTMENT 72 TO PROVIDE THE
          5   INFORMATION THAT I'VE ORDERED YOU TO PROVIDE TODAY,
          6   THAT HAS NOT ALREADY BEEN PROVIDED.             SOME OF THE
          7   ORDERS THAT I MADE, YOU ANSWERED RIGHT AWAY, AS YOU
          8   JUST DID.    AND SO THERE'S SOME OUTSTANDING ISSUES
          9   WHERE YOU NEED TO DO SOME RESEARCH.             I EXPECT YOU TO
        10    DO THAT AND BRING THAT AND PROVIDE THAT TO
        11    MR. MCMILLAN ON MARCH 11, AT 1:30, IN THIS DEPARTMENT.
        12              YOU ARE NOT PRESENTLY AT WARRANT.           DO YOU
        13    PROMISE TO APPEAR AS ORDERED?
        14              MR. CHAKER:     I DO.        I WOULD ONLY ASK -- IT'S
        15    MY BIRTHDAY THAT WEEK.
        16              THE COURT:     WHAT?
        17              MR. CHAKER:     I WOULD ONLY ASK, BECAUSE MY
        18    BIRTHDAY IS THAT WEEK, IF THAT HEARING DATE COULD BE
         19    PUSHED OUT ANOTHER WEEK OR TWO.
         20             THE COURT:     NO.     SORRY WE ARE INTERRUPTING
        21    YOUR BIRTHDAY, BUT IT'S ALREADY BEEN CONTINUED.
        22              MR. CHAKER:     OH, OKAY.
        23              THE COURT:     YEAH.        AND SO THE CONTINUANCE
         24   REQUEST IS DENIED.       THE COURT AGAIN INQUIRES, DO YOU
         25    PROMISE TO APPEAR ON THAT DAY?
         26             MR. CHAKER:     I DO.
         27             THE COURT:     THANK YOU.        YOU ARE ORDERED TO DO
         28    SO.   TO THE EXTENT THAT THERE'S A WARRANT ORDERED AND




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        11 of 13

                                        1187
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-29 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.161
                                                          PageID.5411 Page
                                                                       Page131195
                                                                              of 14of
                                      1196
                                                                               31
                         Transcript of Proceedings - 1/22/2016


          1   HELD, THAT ORDER IS SET ASIDE.          IT WILL BE RE-ISSUED
          2   IF YOU FAIL TO APPEAR ON MARCH 11, AS I'M SURE YOU
          3   UNDERSTAND.     DO YOU UNDERSTAND?
          4              MR. CHAKER:    CORRECT.
          5              THE COURT:    OKAY.     SO YOU ARE NOT PRESENTLY AT
          6   WARRANT.     THERE'S NOT EVEN ONE ISSUE THAT'S HELD.
          7   RIGHT NOW THERE IS NO WARRANT.          THAT SITUATION CHANGES
          8   IF YOU FAIL TO APPEAR ON MARCH 11, AT 1:30, IN THIS
          9   DEPARTMENT.     IS THAT CLEAR?
        10               MR. CHAKER:    CORRECT.     AND
        11               THE COURT:    IS THAT CLEAR?      YES OR NO.
        12               MR. CHAKER:    YES, YOUR HONOR.
        13               THE COURT:    THANK YOU.
        14               MR. CHAKER:    AND --
        15               THE COURT:    ALL RIGHT.     NOW, AT THAT SAME
        16    TIME, AT THAT SAME HOUR, I'M EXPECTING YOU TO RESPOND
        17    TO THE SUBPOENA THAT I PREVIOUSLY ORDERED YOU TO
        18    RESPOND TO.     YOU DON'T HAVE THE ARGUMENT ON MARCH 11
         19    THAT YOU WERE UNAWARE OF MY NOVEMBER ORDER BECAUSE,
        20    CLEARLY, YOU ARE NOW AWARE OF IT, AND I EXPECT YOU TO
        21    READ IT AND COMPLY WITH IT.
         22              IF YOU NO LONGER HAVE POSSESSION OR CONTROL OF
         23    THE DOCUMENTS FOR ANY REASON, SUCH AS YOU GAVE THEM TO
         24    YOUR EX-PARTNER AND SHE KEPT THEM AND THEN YOU CAN'T
         25    GET THEM BACK, I EXPECT YOU TO LAY THAT OUT IN DETAIL,
         26   WHAT DOCUMENTS YOU USED TO HAVE, THE REASON YOU NO
         27    LONGER HAVE THEM AND NO LONGER HAVE CONTROL OF THEM.
         28    IF I'M SATISFIED THAT ALL THOSE THINGS ARE SO, THAT




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        12 of 13

                                       1188
Case
 Case3:16-cv-02186-WQH-MDD
      3:16-cv-02186-WQH-MDD Document
                             Document127-1
                                      1-29 Filed
                                           Filed 08/29/16
                                                 09/23/22 PageID.162
                                                          PageID.5412 Page
                                                                       Page141196
                                                                              of 14of
                                      1196
                                                                              32
                        Transcript of Proceedings - 1/22/2016


         1    WILL BE THE END OF IT.         BUT IF THERE'S SOMETHING OUT
         2    THERE THAT YOU JUST DECIDE NOT TO GO GET, THAT I
          3   CONCLUDE THAT YOU CAN READILY GET, SUCH AS SOMETHING
          4   FROM THE SPENDTHRIFT TRUST IN LAS VEGAS OR WHEREVER IN
          5   NEVADA IT IS, THEN THERE'D BE FURTHER PROCEEDINGS.
          6   OKAY?
          7             MR. CHAKER:     YES, YOUR HONOR.
          8             THE COURT:    THANK YOU.       DO YOU HAVE A QUESTION
          9   FOR ME?
        10              MR. CHAKER:     I DO.      THE PURPOSE OF THE PHONE
        11    NUMBER IS       TO CLARIFY, THE PURPOSE OF THE PHONE
        12    NUMBER IS TO NOT OBTAIN TELEPHONE RECORDS BUT TO
        13    OBTAIN THE BILLING OR THE MANNER IN WHICH THE BILL IS
        14    PAID?
        15              THE COURT:     NO.     I'M SATISFIED THAT THE
        16     PURPOSE IS REASONABLY CALCULATED TO LEAD TO
        17     INFORMATION THAT WILL HELP MR. MCMILLAN COLLECT THIS
         18    FINAL NON-APPEALABLE DEBT, JUDGMENT.          THAT'S ALL I'M
        19    GOING TO SAY.
        20              MR. CHAKER:     OKAY.
         21             THE COURT:     ALL RIGHT.      ANYTHING FURTHER,
         22   MR. MCMILLAN?
         23             MR. MCMILLAN:        NO.   THANK YOU FOR YOUR TIME,
         24    YOUR HONOR.
         25             THE COURT:     I'LL SEE YOU ON MARCH 11, FELLAS.
         26    THANK YOU.
         27                          * * * * *
         28           (THE PROCEEDINGS WERE ADJOURNED AT 4:00 P.M.)




                SHELBURNE SHERR COURT REPORTERS, INC. (619) 234-9100
                              www.sscourtreporters.com         Exh EE
                                                                        13 of 13

                                        1189
